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                           ORAL ARGUMENT NOT YET SCHEDULED

                         IN THE UNITED STATES COURT OF APPEALS
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT

                    Nos. 20-1449, 21-1006, 21-1090, 21-1108, 21-1173, and 21-1246
                                            (consolidated)

                                     ———————————
                             AMERICAN MUNICIPAL POWER, INC., ET AL.,
                                         Petitioners,
                                                 v.
                            FEDERAL ENERGY REGULATORY COMMISSION,
                                         Respondent.
                                     ———————————
                            ON PETITIONS FOR REVIEW OF ORDERS OF THE
                            FEDERAL ENERGY REGULATORY COMMISSION
                                     ———————————
                                     DEFERRED JOINT APPENDIX
                                  VOLUME I OF V: JA0001-JA0592
                                     ———————————


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          September 6, 2022




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                        ORAL ARGUMENT NOT YET SCHEDULED

                                        JOINT APPENDIX

                               VOLUME I OF V: JA0001-JA0592

          Record No.    Description                                        Joint Appendix Page
          20-1449R 2    Filed By: American Transmission Systems,           JA0001-JA0104
                        Incorporated
                        Filed Date: 6/12/2020
                        Accession No: 20200612-5124
                        Description: American Transmission Systems,
                        Incorporated submits tariff filing per
                        35.13(a)(2)(iii: Amendments to Attachment M-
                        3 to be effective 8/11/2020 under ER20-2046.

          20-1449R 16   Filed By: American Municipal Power, Inc.           JA0105-JA0106
                        Filed Date: 6/18/2020
                        Accession No: 20200618-5180
                        Description: (doc-less) Motion to Intervene of
                        American Municipal Power, Inc. under ER20-
                        2046.

          20-1449R 18   Filed By: Old Dominion Electric Cooperative        JA0107-JA0117
                        AMP Transmission, LLC
                        Filed Date: 6/18/2020
                        Accession No: 20200618-5187
                        Description: Motion to Dismiss Filing, Without
                        Prejudice, and Suspend Procedural Schedule
                        until Ruling on Motion to Dismiss, et al. of
                        AMP Transmission, LLC and Old Dominion
                        Electric Cooperative under ER20-2046.

          20-1449R 35   Filed By: Office of the People's Counsel for the   JA0118-JA0119
                        District of Columbia
                        Filed Date: 7/2/2020
                        Accession No: 20200702-5254
                        Description: (doc-less) Motion to Intervene of
                        Office of the People's Counsel for the District
                        of Columbia under ER20-2046.




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          20-1449R 52   Filed By: Office of the People's Counsel for the   JA0120-JA0140
                        District of Columbia Delaware Division of the
                        Public Advocate Old Dominion Electric
                        Cooperative
                        Filed Date: 7/6/2020
                        Accession No: 20200706-5234
                        Description: Interested Parties' Protest of PJM
                        Transmission Owners Proposal and Comments
                        in Support of the Joint Stakeholder Proposal
                        under ER20-2046, et al.

          20-1449R 53   Filed By: New Jersey Board of Public Utilities     JA0141-JA0159
                        Filed Date: 7/6/2020
                        Accession No: 20200706-5235
                        Description: Protest of the Office of the New
                        Jersey Board of Public Utilities to June 12,
                        2020 Attachment M-3 tariff filing under ER20-
                        2046.

          20-1449R 54   Filed By: American Municipal Power, Inc., et       JA0160-JA0211
                        al.
                        Filed Date: 7/6/2020
                        Accession No: 20200706-5236
                        Description: Joint Protest of the Load Group to
                        June 12, 2020 Attachment M-3 tariff filing
                        under ER20-2046.

          20-1449R 55   Filed By: LSP Transmission Holdings II, LLC        JA0212-JA0305
                        Filed Date: 7/6/2020
                        Accession No: 20200706-5238
                        Description: Protest of LSP Transmission
                        Holdings II, LLC to June 12, 2020 Attachment
                        M-3 tariff filing under ER20-2046.

          20-1449R 59   Filed By: FirstEnergy Companies, et al.            JA0306-JA0369
                        Filed Date: 7/21/2020
                        Accession No: 20200721-5166
                        Description: Answer of the PJM Transmission
                        Owners to July 26, 2020 Protests and
                        Comments, and Motion for Consolidation or
                        Requests for Additional Procedures under
                        ER20-2046.




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          20-1449R 64   Filed By: LSP Transmission Holdings II, LLC       JA0370-JA0385
                        Filed Date: 7/30/2020
                        Accession No: 20200730-5057
                        Description: Motion for Leave to Answer and
                        Limited Answer of LSP Transmission Holdings
                        II, LLC to July 21, 2020 Answer by the
                        Sponsoring Transmission Owners under ER20-
                        2046.

          20-1449R 65   Filed By: Old Dominion Electric Cooperative,      JA0386-JA0419
                        et al.
                        Filed Date: 7/31/2020
                        Accession No: 20200731-5324
                        Description: Motion for Leave to Answer and
                        Answer of the Load Group to July 21, 2020
                        Answer by the PJM Transmission Owners
                        under ER20-2046.

          20-1449R 69   Issued By: Secretary of the Commission, FERC      JA0420-JA0456
                        Commissioners & Immediate Staff (THE
                        COMMISSION)
                        Filed Date: 8/11/2020
                        Accession No: 20200811-3078
                        Description: Order Accepting Proposed Tariff
                        Revisions re PJM Interconnection, L.L.C. et al
                        under ER20-2046.

          20-1449R 71   Filed By: American Municipal Power, Inc.          JA0457-JA0530
                        Filed Date: 9/10/2020
                        Accession No: 20200910-5284
                        Description: Request for Rehearing of the
                        Protesting Parties of the August 11, 2020 Order
                        under ER20-2046.

          20-1449R 73   Filed By: New Jersey Board of Public Utilities    JA0531-JA0551
                        Filed Date: 9/10/2020
                        Accession No: 20200910-5286
                        Description: Request for Rehearing of New
                        Jersey Board of Public Utilities under ER20-
                        2046.




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          20-1449R 75   Issued By: Secretary of the Commission, FERC         JA0552-JA0553
                        Filed Date: 10/13/2020
                        Accession No: 20201013-3048
                        Description: Notice of Denial of Rehearing by
                        Operation of Law and Providing for Further
                        Consideration re PJM Interconnection, L.L.C.
                        et al under ER20-2046.

          20-1449R 76   Filed By: American Municipal Power, Inc., et         JA0554-JA0559
                        al.
                        Filed Date: 11/20/2020
                        Accession No: 20201120-5203
                        Description: Petition for Review filed in U.S.
                        Court of Appeals for D.C. Circuit of American
                        Municipal Power Inc., et al. under ER20-2046.
                        (Case No. 20-1449)
                        *Petition only, removed Disclosure Statement,
                        Service List, and Exhibits

          20-1449R 79   Issued By: Secretary of the Commission, FERC         JA0560-JA0592
                        Commissioners & Immediate Staff (THE
                        COMMISSION)
                        Filed Date: 12/17/2020
                        Accession No: 20201217-3044
                        Description: Order Addressing Arguments
                        Raised on Rehearing re PJM Interconnection,
                        L.L.C. et al. under ER20-2046. Commissioner
                        Clements is not participating.

          21-1090R 2    Filed By: PJM Interconnection, L.L.C.                JA0593-JA0871
                        Filed Date: 7/2/2020
                        Accession No: 20200702-5115
                        Description: PJM Interconnection, L.L.C.
                        submits tariff filing per 35.13(a)(2)(iii): End of
                        Life Joint Stakeholder Proposal Filing to be
                        effective 1/1/2021 under ER20-2308.

          21-1090R 8    Filed By: Office of the People's Counsel for the     JA0872-JA0873
                        District of Columbia
                        Filed Date: 7/2/2020
                        Accession No: 20200702-5255
                        Description: (doc-less) Motion to Intervene of
                        Office of the People's Counsel for the District
                        of Columbia under ER20-2308.



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          21-1090R 10   Filed By: PJM Interconnection, L.L.C.                JA0874-JA0907
                        Filed Date: 7/2/2020
                        Accession No: 20200702-5407
                        Description: Comments of PJM
                        Interconnection, L.L.C. on the July 2, 2020
                        tariff filing of a proposal developed by the Joint
                        Stakeholders under ER20-2308.

          21-1090R 38   Filed By: American Municipal Power, Inc.             JA0908-JA0909
                        Filed Date: 7/21/2020
                        Accession No: 20200721-5026
                        Description: (doc-less) Motion to Intervene of
                        American Municipal Power, Inc. under ER20-
                        2308.

          21-1090R 40   Filed By: FirstEnergy Transmission Companies         JA0910-JA1033
                        Filed Date: 7/21/2020
                        Accession No: 20200721-5159
                        Description: Motion of the Indicated
                        Transmission Owners for Summary Rejection
                        of July 2, 2020 PJM Interconnection, L.L.C.
                        tariff filing under ER20-2308.

          21-1090R 57   Filed By: American Municipal Power, Inc., et         JA1034-JA1106
                        al.
                        Filed Date: 7/23/2020
                        Accession No: 20200723-5148
                        Description: Comments of the Joint
                        Stakeholders in Support of July 2, 2020 PJM
                        Interconnection, L.L.C. tariff filing under
                        ER20-2308.

          21-1090R 61   Filed By: LSP Transmission Holdings II,              JA1107-JA1220
                        Central Transmission, LLC
                        Filed Date: 7/23/2020
                        Accession No: 20200723-5152
                        Description: Comments of LSP Transmission
                        Holdings II, LLC and Central Transmission,
                        LLC in Support of July 2, 2020 PJM
                        Interconnection, L.L.C. tariff filing under
                        ER20-2308.




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          21-1090R 63   Filed By: LSP Transmission Holdings II,          JA1221-JA1525
                        Central Transmission, LLC
                        Filed Date: 7/24/2020
                        Accession No: 20200724-5191
                        Description: Supplemental Exhibits to July 23,
                        2020 Comments of LSP Transmission Holdings
                        II, LLC and Central Transmission, LLC in
                        Support of July 2, 2020 PJM Interconnection,
                        L.L.C. tariff filing under ER20-2308.

          21-1090R 65   Filed By: Joint Stakeholders                  JA1526-JA1555
                        Filed Date: 8/4/2020
                        Accession No: 20200804-5271
                        Description: Answer of the Joint Stakeholders
                        to July 21, 2020 Motion for Summary Rejection
                        by the Indicated Transmission Owners under
                        ER20-2308.

          21-1090R 68   Filed By: American Municipal Power, Inc., et     JA1556-JA1574
                        al.
                        Filed Date: 8/11/2020
                        Accession No: 20200811-5144
                        Description: Answer of the Joint Stakeholders
                        to July 23, 2020 Protest by the Indicated
                        Transmission Owners under ER20-2308.

          21-1090R 69   Filed By: LSP Transmission Holdings II,          JA1575-JA1920
                        Central Transmission, LLC
                        Filed Date: 8/17/2020
                        Accession No: 20200817-5256
                        Description: Motion to Answer and Answer of
                        LSP Transmission Holdings II, LLC and
                        Central Transmission, LLC to Protests and
                        Comments under ER20-2308.

          21-1090R 75   Filed By: LSP Transmission Holdings II,          JA1921-JA1939
                        Central Transmission, LLC
                        Filed Date: 11/23/2020
                        Accession No: 20201123-5155
                        Description: Supplemental Comments of LSP
                        Transmission Holdings II, LLC, et. al.
                        regarding PJM Members Committee Approved
                        Section 205 Filing on Transmission End of Life
                        Planning under ER20-2308.



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          21-1090R 77   Issued By: Secretary of the Commission, FERC      JA1940-JA1969
                        Commissioners & Immediate Staff (THE
                        COMMISSION)
                        Filed Date: 12/17/2020
                        Accession No: 20201217-3117
                        Description: Order Rejecting Proposed Tariff
                        Revisions re PJM Interconnection, L.L.C. under
                        ER20-2308. Commissioner Clements is not
                        participating.

          21-1090R 78   Filed By: American Municipal Power, Inc., et      JA1970-JA2020
                        al.
                        Filed Date: 1/19/2021
                        Accession No: 20210119-5239
                        Description: Request for Rehearing of the Joint
                        Stakeholders re the December 17, 2020 Order
                        under ER20-2308.

          21-1090R 80   Issued By: Secretary of the Commission, FERC      JA2021-JA2023
                        Filed Date: 2/19/2021
                        Accession No: 20210219-3009
                        Description: Notice of Denial of Rehearing by
                        Operation of Law and Providing for Further
                        Consideration re PJM Interconnection, L.L.C.
                        under ER20-2308.

          21-1090R 82   Issued By: Secretary of the Commission, FERC      JA2024-JA2064
                        Commissioners & Immediate Staff (THE
                        COMMISSION)
                        Filed Date: 7/29/2021
                        Accession No: 20210729-3073
                        Description: Order Addressing Arguments
                        Raised on Rehearing re
                        PJM Interconnection, L.L.C. under ER20-2308.
                        Commissioner Chatterjee is not participating.
                        Commissioner Danly and Commissioner
                        Clements are concurring with a separate
                        statement attached.

          21-1090R 89   Issued By: Secretary of the Commission, FERC      JA2065-JA2067
                        Filed Date: 09/30/2021 002
                        Accession No: 20210930-3023
                        Description: Notice of Denial of Rehearings By
                        Operation of Law re PJM Interconnection,
                        L.L.C. under ER20-2308.


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          N/A.1        PJM Operating Agreement                            JA2068-2151

                       Sec. 1. – Definitions, M-N and S-T
                       Sec. 8
                       Sec. 10
                       Schedule 6


          N/A.2        PJM Tariff                                         2152-2306

                       Section I.1. – Definitions, R-S and T-U
                       Section 9
                       Schedule 12
                       Attachment H-1B
                       Attachment M-3

          N/A.3        PJM Transmission Owners Agreement                  JA2307-JA2489

          N/A.4        PJM Order 1000 Compliance Filing, Docket           JA2490-JA2492
                       No. ER13-198-000 (filed Oct. 25, 2012).
                       Cover Page
                       Page 3
                       Page 11




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                                  CERTIFICATE OF SERVICE


                In accordance with Fed. R. App. P. 25(d) and the Court’s Administrative

         Order Regarding Electronic Case Filing, I hereby certify that I have, this 6th day of

         September, 2022 served the foregoing upon the counsel listed in the Service

         Preference Report via email through the Court’s CM/ECF system.

                                                       Respectfully submitted,

                                                       /s/ Christina R. Switzer
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                 June 12, 2020



                 VIA ELECTRONIC FILING

                 Hon. Kimberly D. Bose, Secretary
                 Federal Energy Regulatory Commission
                 888 First Street, N.E.
                 Washington, D.C. 20426

                     Re:     Amendments to Attachment M-3 to the PJM Interconnection, L.L.C. Open
                             Access Transmission Tariff
                             Docket No. ER20-_____


                 Dear Secretary Bose:

                         Pursuant to Section 205 of the Federal Power Act (“FPA”), 1 Section 35.13 of the
                 Rules and Regulations of the Federal Energy Regulatory Commission (“Commission”),
                 Section 9.1(a) of the PJM Interconnection, L.L.C. (“PJM”) Open Access Transmission Tariff
                 (“Tariff”) and Attachment M-3 of the Tariff, the PJM Transmission Owners, acting through
                 the PJM Consolidated Transmission Owners Agreement (“CTOA”), 2 respectfully submit for
                 filing amendments to Attachment M-3 of the Tariff (“Proposed Revisions”). 3


                 1
                     16 U.S.C. § 824d(d) (2018).
                 2
                  The amendments to the PJM Tariff described herein were authorized pursuant to the individual and
                 weighted voting requirements in Section 8.5 of the CTOA on June 10, 2020. In addition, on May 7,
                 2020, pursuant to Section 9.1(b) of the PJM Tariff, the PJM Transmission Owners initiated
                 consultation with PJM and with the PJM Members Committee by providing notice of the
                 modifications proposed in this filing together with a draft of those modifications. That notice
                 requested the submission of written comments by June 8, 2020. The PJM Transmission Owners also
                 provided an overview of the modifications during a May 15, 2020 special session of the PJM Markets
                 and Reliability Committee and held an open webinar for the PJM Members Committee on June 1,
                 2020.
                 3
                  Pursuant to Order No. 714, this filing is submitted by PJM on behalf of the PJM Transmission
                 Owners as part of an XML filing package that conforms with the Commission’s regulations. PJM has

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                     The Proposed Revisions will expand the scope of the Attachment M-3 from solely
             prescribing procedures governing the planning of Supplemental Projects in PJM to also (1)
             encompass certain PJM Transmission Owner asset management activities and projects
             despite the fact that they are not subject to the transmission planning requirements of Order
             No. 890 4 and (2) improve coordination between the Transmission Owners’ planning for
             certain asset management projects to replace Transmission Facilities nearing the end of their
             useful lives (“EOL Need”) with PJM’s development of the Regional Transmission Expansion
             Plan under Schedule 6 of the PJM Operating Agreements (“RTEP Planning Process”) when a
             single solution would address both the EOL Need and the need to plan for a Required
             Transmission Enhancement under the RTEP Planning Process. The Proposed Revisions,
             explained in further detail below, will enhance transparency, enrich the opportunities for
             stakeholder input with respect to asset management activities and projects beyond any
             Commission requirements, and codify the Transmission Owners’ coordination with PJM in
             its development of the RTEP.

                     The Transmission Owners respectfully request that the Commission allow for
             expeditious implementation of these transparency improvements as early as PJM’s upcoming
             planning cycle as possible by accepting the Proposed Revisions without hearing,
             modification or condition, effective sixty (60) days from the date of this filing. Acceptance
             within the 60-day period provided in Section 205(d) of the FPA and the Commission’s
             regulations 5 is essential for PJM and the Transmission Owners to implement the additional
             requirements and procedures under the Proposed Revisions in time for the 2021 planning
             cycle that begins in the fall of this year.

             I.        EXECUTIVE SUMMARY

                    In Docket No. ER17-179, the Commission approved Attachment M-3 of the Tariff,
             which the Transmission Owners submitted pursuant to Section 205 of the FPA. 6 Attachment



             agreed to make all filings on behalf of the PJM Transmission Owners in order to retain administrative
             control over the PJM Tariff. Thus, the PJM Transmission Owners have requested PJM submit this
             Agreement in the eTariff system as part of PJM’s electronic Intra PJM Tariff.
             4
              Preventing Undue Discrimination and Preference in Transmission System Service, Order No. 890,
             FERC Stats. & Regs. ¶ 31,241 (“Order No. 890”), order on reh’g, Order No. 890-A, FERC Stats. &
             Regs. ¶ 31,261 (2007), order on reh’g, Order No. 890-B, 123 FERC ¶ 61,299 (2008), order on reh’g,
             Order No. 890-C, 126 FERC ¶ 61,228, order on clarification, Order No. 890-D, 129 FERC ¶ 61,126
             (2009).
             5
                 18 C.F.R. § 35.3 (2019).
             6
               Monongahela Power Co., 162 FERC ¶ 61,129 (2018) (“Monongahela Power Co.”), order on
             rehearing and compliance, 164 FERC ¶ 61,217 (2018) (“Monongahela Power Co. Rehearing Order”).
             The Commission accepted the Transmission Owners’ submission of a revised Attachment M-3 in
             compliance with the Commission’s conditions on September 26, 2018. Monongahela Power Co.
             Rehearing Order. The discussion of Attachment M-3 in this transmittal refers to the attachment, as
             the Commission accepted it in that order.


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             M-3 sets forth the procedures that the Transmission Owners employ to plan Supplemental
             Projects, which are expansions and enhancements to the Transmission System that are not
             required to satisfy certain PJM regional planning criteria, in a manner that satisfies the
             requirements of Order No. 890 for openness and transparency. Such expansions and
             enhancements do not, however, represent all the planning activities the Transmission Owners
             undertake. Nor do transmission projects subject to the transmission planning requirements of
             Order No. 890 encompass all transmission investments that Transmission Owners must
             undertake.

                      In addition to planning Supplemental Projects, the Transmission Owners engage in
             asset management activities, which the Commission defines as “activities necessary to
             maintain a safe, reliable, and compliant grid, based on existing grid topology.” 7 Each
             Transmission Owner’s asset management activities include projects required to maintain,
             repair, or replace transmission facilities, including those approaching the end of their useful
             lives, in order to maintain the Transmission Owner’s existing electric transmission system
             and meet regulatory compliance requirements. The Commission has found that these asset
             management activities are not subject to the transmission planning requirements of Order No.
             890, 8 and the Transmission Owners retain responsibility under the CTOA for planning to
             address the needs driving these activities. However, with the Commission’s acceptance of
             this filing, the Transmission Owners will plan certain asset management activities through
             the open and transparent Attachment M-3 planning procedures, providing greater
             transparency and the opportunity for stakeholder comment.

                     Specifically, the Proposed Revisions will improve planning coordination between
             Transmission Owners and PJM by significantly expanding the scope of the Attachment M-3
             process to include asset management projects that affect PJM’s modeling of the Transmission
             System, even though they do not expand the capability of the transmission system (and hence
             are not Supplemental Projects under the PJM Tariff). 9 Although the Commission has ruled
             that asset management activities and projects are not transmission planning subject to the
             requirements of Order No. 890, the Transmission Owners believe that it would be beneficial
             to enhance transparency and the opportunity for stakeholder comment with respect to the
             planning of these asset management projects. Rather than create wholly new planning
             procedures for these projects, the Transmission Owners are proposing to expand the scope of
             Attachment M-3’s open and transparent planning process to provide for the review of
             planning for asset management project needs meeting the criteria discussed below. The


             7
              Calif, Publ. Util. Com’n. v. Pacific Gas & Electric Co., 168 FERC ¶ 61,171, at P 7, n. 19 (2019)
             (“PGE Rehearing Order”) denying reh’g of California Public Utilities Commission, et al. v. Pacific
             Gas & Electric Company, 164 FERC ¶ 61,161 (2018) (“PG&E Order”); Southern Calif.,Edison Co.,
             168 FERC ¶ 61,170, at P 7 n. 15 (2019) (“SCE Rehearing Order”), denying reh’g of Southern
             California Edison Co., 164 FERC ¶ 61,160 (2018) (“SCE Order”) (together, the “California Orders”).
             8
                 See SCE Order at P 33; PG&E Order at P 68.
             9
               As discussed below, consistent with Commission precedent, an asset management project may result
             in an incidental increase in the capacity of the transmission system, but the purpose of such a project
             is not to increase capacity. See SCE Order at P 33; PG&E Order at P 68.


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             Proposed Revisions would expand an existing process that provides more opportunity for
             stakeholder input into the Transmission Owners’ planning of asset management projects than
             the Commission has required, either in Order No. 890 or in orders addressing asset
             management activities and projects in other regions.

                     The Proposed Revisions also support the objectives constructively identified by PJM
             in a recent PJM stakeholder process for improved coordination of the Transmission Owners’
             planning for the replacement of transmission facilities approaching the end of their useful
             lives as part of their asset management activities and PJM’s planning of the bulk electric
             system to satisfy regional criteria. The Transmission Owners endorse the principles of PJM’s
             proposal and, having the sole right to submit tariff language with respect to these asset
             management activities, have developed the Proposed Revisions so that the Transmission
             Owners’ planning activities will support these objectives. In particular, the Proposed
             Revisions require each Transmission Owner to present its criteria for assessing whether a
             need exists to replace an existing transmission facility for stakeholder input at least annually.
             The Proposed Revisions also respond to PJM’s request for non-binding forecasts of each
             Transmission Owner’s anticipated transmission replacement needs so that PJM can use that
             information in its preparation of regional transmission expansion plans. In addition, the
             Proposed Revisions recognize that PJM’s regional expansion plan may identify solutions to
             regional planning needs that also address end of useful life needs identified by a
             Transmission Owner. In such cases, the Transmission Owner will consider whether the
             regional solution obviates the need for an asset management project and, if it determines that
             the regional solution does not, present its conclusion to stakeholders through the Attachment
             M-3 process. 10 The Proposed Revisions thus promote effective, coordinated planning among
             PJM and the Transmission Owners to identify cost-effective solutions both to regional and
             asset management needs.

                    Finally, the Proposed Revisions maintain and build on the existing allocation of
             planning responsibilities in the PJM governing documents by articulating the roles of PJM
             and the Transmission Owners in planning transmission projects in PJM. They expand the
             successful Attachment M-3 process by improving transmission planning transparency and
             coordination.

                     The key elements of the Proposed Revisions are:

                        •   The mandatory inclusion of asset management projects meeting certain
                            criteria in the Attachment M-3 process to provide opportunities for
                            stakeholder input;



             10
                The Proposed Revisions’ coordination provisions in Section (d) also apply to projects that PJM
             plans because a Transmission Owner has included end of useful life criteria in its Form No. 715.
             However, where a Transmission Owner has included end of useful life criteria in its Form No. 715,
             projects required to satisfy those criteria will continue to be planned through PJM’s regional
             transmission planning process; the Proposed Revisions do not bring them into the Attachment M-3
             process.


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                          •   A new mandatory requirement for Transmission Owners to document their
                              respective end of useful life determination methodologies beyond levels
                              required by the current Attachment M-3 process;

                          •   A new mandatory requirement for Transmission Owners to provide a non-
                              binding five-year forecast of end of useful life candidates to PJM; and

                          •   A new process to ensure that end of useful life candidates that overlap with
                              PJM Planning Criteria violations that qualify for the Order No. 1000 proposal
                              window process will be posted to ensure efficient and cost-effective solutions
                              in areas where there may be multiple system issues (violations and
                              candidates).

                    For the reasons discussed below, the Transmission Owners respectfully urge the
             Commission to accept these Proposed Revisions to the PJM Tariff without hearing,
             modification or condition, and allow these new transparency and coordination measures to
             become effective in sixty (60) days so that they can be fully implemented in time for the
             imminent PJM planning cycle that begins this fall.

             II.     BACKGROUND

                    As noted above, the Proposed Revisions bring into the Attachment M-3 planning
             process certain Transmission Owner asset management projects and establish procedures for
             the coordination of PJM planning with Transmission Owner end of useful life asset
             management activities. These improvements bring greater transparency and enhance
             stakeholder input into two areas that, as discussed below, have been reserved to the
             Transmission Owners. They are also consistent with PJM’s objectives in the recently
             concluded stakeholder process.

                     A.       Asset Management and End of Useful Life

                     The transmission system consists of thousands of components, such as circuit
             breakers, transformers, switches, communication systems, filters, and other equipment
             necessary for operations that must be periodically replaced due to wear and tear or upgraded
             because of obsolescence. Asset management activities and projects include, but are not
             limited to: (i) maintenance, repair and replacement activities, including but not limited to
             capital additions; (ii) work on infrastructure at the end of its useful life; (iii) work to satisfy
             compliance requirements; (iv) infrastructure security; (v) system reliability and automation;
             (vi) information technology; (vii) work requested by others (including generator
             interconnection); and (viii) increases in transmission capacity that are incidental to, and not
             reasonably severable from, the asset management project or activity. 11 Addressing a



              See SCE Order at P 31, n. 55, SCE Rehearing Order at P 7, n. 15; PG&E Order at P 65, n. 119;
             11

             PGE Rehearing Order at P7, n. 19.


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             transmission facility as it nears the end of its useful life is a subset of asset management
             activities. 12

                     The concept of utility asset management takes its cue from the world of finance,
             particularly with respect to risk and the predictability of future performance. Fundamentally,
             asset management is a strategy that seeks to balance performance, cost and risk.
             Transmission Owners, as the asset owners, bear both the liability and responsibility for
             maintaining their assets and maintaining reliability.

                      The Commission has held that Order No. 890 does not apply to asset management
             activities and projects, including “work on infrastructure at the end of its useful life,” because
             Order No. 890 was adopted to remedy opportunities for undue discrimination in the
             expansion of the transmission grid. 13 And, to the extent a transmission owner’s asset
             management activities and projects do not expand the transmission system, they do not fall
             within the scope of Order No. 890. In addition, the Commission recognized that there may
             be instances in which a transmission owner’s asset management activity or project may result
             in an incidental increase in transmission capacity that is not reasonably severable from the
             asset management activity or project, e.g., advancements in technology of replaced
             equipment and changes in design and industry standards. 14 However, such an incidental
             increase would not render the asset management activity or project a transmission expansion
             subject to Order No. 890.

                     The line the Commission drew in the California Orders between planning for projects
             to expand the transmission grid and asset management activities that do not expand the grid’s
             capacity (or do so only incidentally) parallels the division of planning responsibility between
             PJM and the Transmission Owners. As discussed briefly below, PJM is responsible for the
             preparation of regional plans for the enhancement and expansion of the transmission system
             as necessary to ensure compliance with certain regional standards. Transmission expansions
             and enhancements required for other reasons remain the responsibility of the individual
             Transmission Owners. As the Commission has recognized, such expansions and
             enhancements are referred to in PJM as Supplemental Projects. 15 Asset management
             activities and projects that do not expand the grid or do so only incidentally are also the
             responsibility of the individual Transmission Owners, but, as the Commission has
             recognized, they are not the same as Supplemental Projects, as defined in the PJM Operating




             12
                  SCE Order at P 33; PG&E Order at P 68.
             13
                  SCE Order at PP 31-32; PG&E Order at PP 66-67.
             14
                  SCE Order at P 33; PG&E Order at P 68.
             15
               PG&E Rehearing Order at P 58 (“PJM defines a Supplemental Project as a transmission expansion
             or enhancement . . . .”) (Emphasis in the original); see also id. at P 59 (“This language shows that
             activities that expand the grid are an element of the definition of Supplemental Projects”).


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             Agreement. 16 Accordingly asset management activities are not within the current scope of
             the planning procedures set forth in Attachment M-3, which apply only to Supplemental
             Projects.

                        B.      Allocation of Planning Authority and Responsibilities in PJM

                      Although they predated Order No. 890 and the California Orders, PJM’s founding
             agreements, as approved by the Commission in 1997, 17 reflected the same distinction
             between asset management and expansion planning responsibility described in those seminal
             orders. As part of the package of governing agreements creating PJM as the independent
             system operator, although not required by Order No. 888, 18 the Transmission Owners
             delegated to PJM the responsibility to prepare the Regional Transmission Expansion Plan
             (“RTEP”) to plan for the “enhancement and expansion” of the PJM Transmission System. 19
             This delegation was also incorporated into the original version of the PJM Regional
             Transmission Expansion Planning Protocol. 20 PJM’s responsibility was to plan for the
             expansion of Transmission Facilities as necessary to comply with applicable reliability
             principles, guidelines and standards. 21 The focus of PJM’s role on planning for the expansion
             of the transmission system it operates was confirmed in 2006, when PJM became a party to
             the CTOA, under provisions that remain in force today. 22 In the CTOA, Transmission


             16
               See SCE Order at P 33; PG&E Order at P 68; Amended and Restated Operating Agreement of PJM
             Interconnection, L.L.C., Rate Schedule No. 24 (“Operating Agreement”), § 1, OA
             Definitions – S – T.
             17
                  PJM Interconnection, L.L.C., 81 FERC ¶ 61,257 (1997) (“November 1997 Order”).
             18
               See Promoting Wholesale Competition Through Open Access Non-Discriminatory Transmission
             Services by Public Utilities; Recovery of Stranded Costs by Public Utilities and Transmitting
             Utilities, Order No. 888, 61 Fed. Reg. 21,540, 21,595-97 (1996), FERC Stats. & Regs., Regulations
             Preambles January 1991-June 1996 ¶ 31,036 (1996), order on reh”g, Order No. 888-A, 62 Fed. Reg.
             12,274 (1997), FERC Stats. & Regs. ¶ 31,048 (1997), order on reh”g, Order No. 888-B, 62 Fed.
             Reg. 64,688 (1997), 81 FERC Stats. & Regs. ¶ 61,248 (1997); see also Order No. 888 at 21,596 (ISO
             Principle 4) (“An ISO may also have a role with respect to reliability planning.”).
             19
                November 1997 Order at 62,236; see Atlantic City Electric Company, et al., Filing of the PJM
             Supporting Companies (“Supporting Companies Filing”), Docket No. ER97-3189, et al. at
             Attachment F, Transmission Owners Agreement dated as of June 2, 1997 (“Original TOA”) at § 2.3.7
             (filed June 2, 1997).
             20
               November 1997 Order at 62,266, 62,275; Supporting Companies Filing, Amended and Restated
             Operating Agreement Of PJM Interconnection, L.L.C., Schedule 6 (“Original Schedule 6”), § 1.1
             (“This Regional Transmission Expansion Planning Protocol shall govern the process by which the
             Members shall rely upon the Office of the Interconnection to prepare a plan for the enhancement and
             expansion of the Transmission Facilities in order to meet the demands for firm transmission service in
             the PJM Control Area.”).
             21
                  Original Schedule 6, § 1.2.
             22
               As PJM expanded beyond its original Mid-Atlantic transmission owners, the separate agreements
             among different groups of transmission owners were superseded by the CTOA, which explicitly
             retained the Transmission Owners’ rights under the superseded agreements and, with Commission’s


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             Owners only agreed to transfer to PJM the responsibility to prepare a “Regional
             Transmission Expansion Plan.” Similarly, PJM agreed to “[c]onduct its planning for the
             expansion and enhancement of transmission facilities.” 23

                      Thus, the Transmission Owners retained responsibility for planning and constructing
             their own facilities, including expansions not delegated to PJM. Each agreed to operate and
             maintain its Transmission Facilities in accordance with applicable reliability standards and
             Good Utility Practice, 24 retaining “the right to build, acquire, sell, dispose, retire, merge or
             otherwise transfer or convey all or any part of its assets, including any Transmission
             Facilities . . . .” 25 The Transmission Owners retained these rights and responsibilities in the
             CTOA, including the responsibility to “physically operate and maintain all Transmission
             facilities that it owns,” the right to “build, finance, own [and] retire . . . all or any part of its
             assets, including Transmission Facilities,” 26 and all“[r]ights not specifically transferred . . . to
             PJM pursuant to [the CTOA] or any other agreement . . . .” 27 Thus, from the very inception
             of PJM’s existence as an entity distinct from the Transmission Owners, its role in
             transmission planning was to focus on expanding the PJM Transmission System 28 while the
             Transmission Owners’ role was to address the needs unique to their Transmission Zones and
             to maintain and build their transmission facilities. 29




             encouragement, made PJM a party to the superseding agreement. See PJM South Order, 109 FERC ¶
             61,012 at P 24 (2004). In approving the CTOA, the Commission noted, “As a general matter, we
             agree that the Consolidated TO Agreement largely tracks the [superseded] Agreements and will be
             beneficial to all market participants to the extent it provides a single articulation of the parties’
             respective rights and obligations.” PJM Interconnection L.L.C. and the PJM Transmission Owners,
             114 FERC ¶ 61, 283, at P 10 (2006). See also CTOA, § 9.22.
             23
                  Id. § 6.3.4. (Emphasis added).
             24
                  Original TOA, §§ 2.3.3, 4.5.
             25
               Id. § 2.2.3. This right under the Original TOA was to be maintained, “[n]otwithstanding any other
             provision of [the Original TOA], or any other agreement or amendment made in connection with the
             restructuring of PJM . . . .”. Id. at § 2.2. It was also reflected in the Original Schedule 6, which
             stated, “[The RTEP] shall . . . (iii) take into account the legal and contractual rights and obligations of
             the Transmission Owners;” Original Schedule 6, § 1.4(d)(iii). This provision has been retained in the
             in the current version of Schedule 6. See Operating Agreement, Schedule 6, § 1.4(d)(iii).
             26
                  CTOA, § 5.2.
             27
                  CTOA, § 5.6.
             28
               PJM’s planning responsibility for reliability projects was subsequently expanded in compliance
             with Order No. 2000 to include reduction of congestion, see PJM Interconnection, LLC, 109 FERC ¶
             61,067 at PP 48-52, 59-62 (2004), order on rehearing and compliance filing, 110 FERC ¶ 61, 377 at
             PP 14-19 (2005) and public policy, see PJM Interconnection, L.L.C., 147 FERC ¶ 61,128 at PP 66-71
             (2014)(Order on Rehearing and Compliance).
              In an appeal from the November 1997 Order, the court of appeals ruled that when the Transmission
             29

             Owners joined PJM “there was no transfer of ownership or even physical operation of their


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                     The Transmission Owners’ retention of planning responsibility for expansions and
             enhancements beyond those delegated to PJM was confirmed when the Commission
             approved the addition of Attachment M-3 to the Tariff. In response to an Order to Show
             Cause regarding the Transmission Owners’ compliance with Order No 890, 30 the
             Transmission Owners and PJM jointly submitted Attachment M-3 to provide additional
             detail regarding the Transmission Owners’ process for planning Supplemental Projects,
             including a minimum of three public stakeholder meetings (an Assumptions Meeting, a
             Needs Meeting, and a Proposed Solutions Meeting), as well as an opportunity to submit
             comments on Supplemental Projects included in the Local Plan. Rejecting various
             arguments that challenged the Transmission Owners’ rights to plan Supplemental Projects,
             the Commission ruled that the Transmission Owners retain responsibility for planning
             Supplemental Projects, and therefore retain the filing rights to make modifications to the
             Supplemental Project planning provisions in the Tariff. 31 On rehearing, the Commission
             explained that under Order No. 890, transmission owners participating in an RTO are not
             required to have the RTO perform all planning for local or Supplemental Projects. 32 The
             Commission concluded:

                       Unlike the RTEP transmission projects, for which the PJM Transmission
                       Owners have ceded planning to PJM as part of establishing an RTO, the PJM
                       Transmission Owners remain responsible for planning Supplemental Projects,
                       and we find that it is just and reasonable for the PJM Transmission Owners to
                       establish the process for planning these transmission projects and to initiate
                       under section 205 any proposed revisions. 33

                       C.      PJM Proposal

                     In response to recent stakeholder processes in PJM to address planning for the
             replacement of Transmission Facilities approaching the end of their useful lives, PJM
             developed a proposal, endorsed by its Board of Managers, to better coordinate end of useful
             life planning with PJM planning under Schedule 6 of the Operating Agreement. 34 The
             principal features of the PJM proposal were the submission to PJM by each Transmission
             Owner, a five-year projection of end of useful life planning needs, on a confidential basis to



             facilities . . . [and] each of the [transmission owners] retained both ownership and physical control of
             their facilities[.]” Atlantic City Electric Co., v. FERC, 295 F.3d 1, 6 (D.C. Cir. 2002).
             30
                  Monongahela Power Co., et al., 156 FERC ¶ 61,134 (2016) (“Show Cause Order”).
             31
                  Monongahela Power Co. at PP 96-97.
             32
                  Monongahela Power Co. Rehearing Order at P 13.
             33
               Id. at P 14. See also Appalachian Power Company, et al, 170 FERC ¶ 61,196, at PP 57-59 (2020)
             (affirming the Transmission Owners’ right to add planning procedures for a subset of Supplemental
             Projects (i.e., CIP-014 Mitigation Projects) as Attachment M-4 to the PJM Tariff).
             34
               See Markets and Reliability Committee, PJM EOL Planning Package, May 28, 2020 at 35, attached
             as Exhibit E. Exhibit E incorporated PJM’s earlier presentation to a special session of the Markets
             and Reliability Committee on April 17, 2020.


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             maintain the security of such information, 35 and the formulation of a process allowing PJM to
             plan transmission projects where a single project might more efficiently and cost-effectively
             address both PJM planning criteria needs and a Transmission Owner’s end of useful life
             needs. As described by PJM, among the benefits of its proposal are that it reinforces PJM’s
             role as the regional planner while respecting both the authority granted PJM as part of the
             CTOA and Commission precedent regarding asset management projects and activities,
             enhances system reliability and transparency by requiring an annual presentation of a
             Transmission Owners’ end-of-useful life program and posting of end-of-useful-life needs that
             interact with RTEP violations and promotes competition by identifying potential broader
             regional solutions where end-of-useful-life needs interact with RTEP violations. 36 As
             described below, the elements of the PJM Proposal implicating the Transmission Owners’
             asset management activities are effectively incorporated into the Proposed Revisions at
             section (d).

                     In the course of presenting its solution package in these stakeholder proceedings, PJM
             explicitly recognized the rights and responsibilities of the Transmission Owners to plan asset
             management projects and advised stakeholders that “to the extent that [a competing proposal
             by some stakeholders] is proposing to require that all proposed EOL facilities are planned for
             by PJM through its RTEP process, such authority was not transferred to PJM under the
             CTOA.” 37 Although noting that under CTOA, Section 4.1.4, the Transmission Owners
             explicitly transferred to PJM the responsibility to prepare an RTEP and the authority to
             reasonably request from the Transmission Owners information needed by PJM to prepare the
             RTEP, PJM concluded that Transmission Owners did not transfer to PJM the decision to
             retire Transmission Owners’ transmission facilities, citing CTOA, Sections 5.2 and 5.6. It
             was thus PJM’s position that, based on CTOA, Section 5.2, “PJM does not have planning
             authority over the Transmission Owners EOL program/process . . . .” 38

                     The PJM Board confirmed this position in a letter to stakeholders dated May 27,
             2020. In that letter, the Board noted that the PJM Package takes a reasonable approach
             because, among other things, it respects the authorities defined within the governing
             documents. 39 The May 27, 2020 Board Letter attached a thorough analysis of PJM’s and the
             Transmission Owners’ responsibilities for planning under PJM’s governing documents and
             the California Orders. That analysis concluded that “[i]mportantly, FERC determined that
             asset management activities are not ‘planning’ so long as any capacity increase is only




             35
                  See Operating Agreement, Schedule 6, § 1.5.4(e).
             36
                  See Exhibit E at 6, 8.
             37
                  See Exhibit E at 35.
             38
                  Id.
             39
               Letter from Dean Oskvig, Chair-Board Reliability & Security Committee, PJM Board of Managers
             to the Jolene M. Harris, President/CEO, American Municipal Power, Inc. and others, dated May 27,
             2020 (“May 27, 2020 PJM Board Letter”). This letter is included as Exhibit D to this filing.


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             incidental to the replacement project.” 40 The PJM Board’s position has been consistent
             throughout the stakeholder end of life processes. In fact, a letter dated October 4, 2019, the
             PJM Board acknowledged that “PJM does not have the authority or expertise to assume
             responsibility for asset management decisions or to determine when a facility is at the end of
             its useful life or otherwise needs to be replaced. Those decisions are the sole responsibility
             of the Transmission Owner.” 41

                    The Proposed Revisions will support the objectives PJM identified in the stakeholder
             process in a manner consistent with PJM’s governing documents and Commission precedent.

             III.       OVERVIEW OF THE CHANGES

                     The Proposed Revisions, if approved by the Commission, would achieve two
             important goals. First, they would expand the scope of the Transmission Owners’
             Attachment M-3 planning procedures to asset management projects that affect PJM’s
             modeling of the transmission system, which will enhance transparency and the opportunity
             for stakeholder review of these projects. 42

                     Second, the Proposed Revisions would better coordinate the Transmission Owners’
             end of useful life asset management activities with PJM’s planning to address RTEP
             planning criteria. In support of that goal, the Proposed Revisions increase transparency
             regarding the process that Transmission Owners use to evaluate the need to replace
             Transmission Facilities and provide PJM, for the first time (on a confidential basis), up to
             five years of projected replacements that a Transmission Owner has identified. This second
             goal would implement through the PJM Tariff those elements of the PJM Package that were
             developed during the recently concluded PJM stakeholder process.

                        A.      Section (a) - PJM Transmission Owner Planning Responsibilities.

                      The Proposed Revisions will expand the scope of Attachment M-3 to include
             transmission projects that are not required to be planned through an Order No. 890-compliant
             transmission planning process. As the preamble to Section (a) of the Proposed Revisions
             states, the process set out in Attachment M-3 would include certain asset management
             projects and all Supplemental Projects. As discussed above, under the Commission’s
             California Orders, asset management projects are not subject to Order No. 890. 43 Thus, the
             Proposed Revisions would codify in the PJM Tariff a significant expansion of stakeholder


             40
               Exhibit D at 7. See id. (“While there may be a desire to broaden the category of projects under
             PJM’s authority by creating a new category of projects and thus effectively amending the definition
             of Supplemental Projects, such an amendment is beyond the scope of the authority transferred to PJM
             by the PJM Transmission Owners.”)
              Letter from Dean Oskvig, Chair-Board Reliability Committee, PJM Board of Managers to the PJM
             41

             Members Committee, dated October 4, 2019. This letter is included as Exhibit C to this filing.
             42
                  See infra at Section III.B, discussing the definition of “Attachment M-3 Project.”
             43
                  See supra, Section II.A.


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             involvement in Transmission Facility replacement that even exceeds the Southern California
             Edison procedures approved by the Commission in the California Orders. 44

                      Supplemental Projects are already covered by Attachment M-3. However, the
             definition of Supplemental Project in the Operating Agreement is defined in the negative,
             generally referring to transmission enhancement or expansions not falling within categories
             of transmission planning under Schedule 6 of the Operating Agreement. To implement the
             expansion of Attachment M-3 to cover Transmission Owner planning not transferred to PJM,
             it is necessary to articulate precisely the complementary planning roles of PJM and the
             Transmission Owners. Section (a) of the Proposed Revisions provides that articulation.
             Section (a) memorializes the planning responsibilities transferred to PJM under the CTOA
             and its predecessor Transmission Owners Agreements. Four broad categories of planning
             have been transferred to PJM: (1) NERC issued or approved reliability criteria, including
             operational performance (section (a)(1)); 45 (2) individual transmission owner planning
             criteria filed in FERC Form No. 715 (section (a)(2)); 46 (3) criteria to address economic
             constraints under Schedule 6 of the Operating Agreement and the PJM-MISO Joint
             Operating Agreement (section (a)(3)); 47 and (4) planning for public policy projects as
             specified in Schedule 6 (section (a)(4)).

                     Section (a) recognizes that PJM’s planning to meet these needs could result in its
             identification of an expansion or enhancement that could more efficiently and cost-
             effectively address both a PJM planning criterion and a need to replace an existing
             Transmission Facility nearing the end of its useful life. This category implements the
             transmission planning coordination goal of the Proposed Revisions and will be discussed in
             detail below in section D.2.

                       B.      Section (b) - Definitions

                     Section (b) includes definitions used in the Attachment M-3 Amendments. The
             definitions address, among other things, the type of asset management project that will be



             44
               See SCE Order at PP 39-40. For example, under the Southern California Edison procedures,
             Southern California Edison holds only one meeting with stakeholders to discuss asset management
             projects. Attachment M-3 provides for a minimum of three public stakeholder meetings: (1) an
             Assumptions Meeting; (2) a Needs Meeting; and (3) a Proposed Solutions Meeting.
             45
                  See Operating Agreement, § 1.2.
             46
                  See Operating Agreement, § 1.2(e).
             47
               See Operating Agreement, Schedule 6, § 1.5.7; Coordinated System Plan Periodically Developed
             Pursuant to the Joint Operating Agreement Between the Midwest Independent Transmission System
             Operator, Inc. and PJM Interconnection, L.L.C. (“PJM-MISO JOA”) at § 9.3.7.2(c). Schedule 12 –
             Appendix B lists interregional joint planning and coordination agreements between PJM and
             neighboring regions. Although joint planning to address economic constraints has only taken place
             under the PJM-MISO JOA, the language of the Proposed Revisions has been drafted to account for
             the possibility that such joint planning could take place under other interregional agreements. Joint
             planning between PJM and another region to address reliability issues is covered under section (a)(1).


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             subject to the Attachment M-3 planning procedures under section (c) and the transmission
             replacement needs that will be addressed by the coordinated planning procedures described
             in section (d). Following is a description of each of the definitions to be added by the
             Proposed Revisions.

                               1.      “Asset Management Project”

                      “Asset Management Project” describes the range of planning activities undertaken by
             Transmission Owners to maintain and repair their systems, including replacing Transmission
             Facilities, as necessary, where the project as planned does not result in more than an
             Incidental Increase in transmission capacity. The definition encompasses the scope of
             activities described by the Commission in the California Orders. 48

                               2.      “Attachment M-3 Project”

                      “Attachment M-3 Project” is defined to include both Supplemental Projects and
             certain Asset Management Projects that would become subject to Attachment M-3 planning.
             Since Asset Management Projects could range from transmission line replacements to repairs
             of transmission towers, to individual component replacements such as transmission towers or
             substation equipment, in order to utilize the Attachment M-3 process efficiently, only Asset
             Management Projects that affect PJM’s modeling of the Transmission System are included
             within the definition of Attachment M-3 Project. In engineering terms, this includes projects
             that affect the connectivity of Transmission Facilities or significantly affect Transmission
             Facility ratings or impedance. Asset Management Project needs that meet any of these
             criteria will be subject to the Attachment M-3 planning process. To the extent that the
             Transmission Owners have utilized the current Attachment M-3 process to solicit stakeholder
             input on Asset Management Projects, this definition conforms to the current practices.

                     The definition of “Attachment M-3 Project” also includes “any other expansion or
             enhancement of Transmission Facilities that is not excluded from this Attachment M-3 under
             any of clauses (1) through (5) of section (a).” This additional clause is intended to ensure
             that Order No. 890 compliant planning procedures under Attachment M-3 extend to any need
             to expand or enhance Transmission Facilities not delegated to PJM planning under Schedule
             6 of the Operating Agreement. Finally, the definition of “Attachment M-3 Project” clarifies
             that Attachment M-3 planning does not apply to projects to address planning criteria filed by
             a Transmission Owners in Form No. 715. These are planned by PJM under Schedule 6 of the
             Operating Agreement. 49




             48
                  SCE Order at PP 30-32 and n. 55; PG&E Order at PP 66-68 and n. 119.
             49
                  Operating Agreement, Schedule 6, § 1.2(e).


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                                3.       “Incidental Increase”

                  The definition of “Incidental Increase” is based on the description used by the
             Commission in the California Orders. 50

                                4.       “Transmission Facilities”

                    “Transmission Facilities” are defined in the CTOA, section 1.27. It covers all
             transmission facilities as defined in the Commission’s Uniform System of Accounts that have
             been integrated into the planning and operation of PJM to serve the power and transmission
             customers within the PJM Region. This existing definition is used in defining the scope of
             the Proposed Revisions, including the extension of Attachment M-3 planning procedures to
             Asset Management Projects.

                                5.       “EOL Need”

                     “EOL Need” is defined to include a whole transmission line operating at or above 100
             kV and a transformer, the high side of which operates at or above 100 kV and the low side of
             which is not connected to distribution facilities. This definition is used to identify the
             universe of projected Transmission Facility replacement needs that the Transmission Owners
             will identify to PJM and that would be eligible for PJM planning when a single project could
             address the EOL Need as well as PJM Planning Criteria Need(s). This definition should
             cover the vast majority of potential Transmission Facility replacement needs that could
             reasonably benefit from such coordinated planning. It is designed to exclude normal
             maintenance and repair, such as replacement of several poles or towers, but include the
             reconstruction of a whole transmission line. The 100 kV threshold is also consistent with the
             generally accepted definition of the Bulk Electric System. 51

                                6.       “Candidate EOL Needs List”

                    “Candidate EOL Needs List” is the list of projected EOL Needs provided to PJM
             under section (d)(1)(iii). The Candidate EOL Needs List will be discussed in detail below. 52

                                7.       “Form No. 715 EOL Planning Criteria”

                     “Form No. 715 EOL Planning Criteria” recognizes that some Transmission Owners
             have included EOL Need planning criteria in their FERC Form No. 715. This definition is
             used in Section (d) to extend the additional coordination procedures specified in that section
             to such needs. It does not in any way change PJM planning responsibility for Form No. 715



             50
                  SCE Order at P 33; PG&E Order at P 68.
             51
               NERC Rules of Procedure, App. 5B, Statement of Compliance Registry Criteria § I (Oct. 31, 2016),
             https://www.nerc.com/FilingsOrders/us/RuleOfProcedureDL/Appendix_5B_RegistrationCriteria_201
             61031.pdf.
             52
                  See infra, Section III.D.1.


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             projects. 53 In addition, this section clarifies that Transmission Owners shall not be required
             to file Form No. 715 EOL Planning Criteria other than as required by Commission
             regulations generally applicable to Form No. 715.

                               8.      “Attachment M-3 EOL Planning Criteria”

                      “Attachment M-3 EOL Planning Criteria” are PJM Transmission Owner planning
             criteria to address EOL Needs. This definition is used in section (d) to require Transmission
             Owners to articulate and identify the planning criteria they use to address EOL Needs to be
             presented at the annual Assumptions Meeting along with other planning criteria, models and
             assumptions used in Attachment M-3 Project planning. 54

                               9.      “PJM Planning Criteria Need”

                     “PJM Planning Criteria Need” is any one of the PJM planning needs specified in
             section (a), clauses (1) through (4). This would include both reliability and economic
             projects planned by PJM. This definition is used in section (d) in connection with the
             determination of an overlap between of a PJM Planning Criteria Need and an EOL Need.

                               10.     “RTEP Planning Process”

                    “RTEP Planning Process” is the planning process to develop the RTEP under
             Schedule 6 of the Operating Agreement. This term is used in connection with what happens
             under section (d)(2)(ii) when PJM determines under the RTEP Planning Process that an
             RTEP Project would more efficiently and cost-effectively address the identified PJM
             Planning Criteria Need and may, as well, address the projected confirmed EOL Need.

                       C.      Section (c) - Procedure for Review of Attachment M-3 Projects

                    Section (c) is identical to Sections 1 to 7 of the current text of Attachment M-3 with
             four changes. These changes either expand or clarify the scope of the original seven sections
             of Attachment M-3, but in no way alter the Order No. 890-compliant planning procedures
             already approved by the Commission.

                     The first and most significant change, as noted above, is the extension of the
             Attachment M-3 process to certain Asset Management Projects. This is accomplished by
             substituting the defined term, “Attachment M-3 Project,” for “Supplemental Project”
             everywhere the latter is used in Section (c). As noted above, an Attachment M-3 Project
             includes Supplemental Projects, any other project need to expand or enhance the
             Transmission System for which the Transmission Owners have not transferred planning
             responsibility to PJM, and Asset Management Projects that affect PJM’s modeling of the



             53
                  See Operating Agreement, Schedule 6, § 1.2(e).
             54
               See Tariff, Attachment M-3, § 2. Under the Proposed Revisions, this section is essentially
             unchanged and renumbered as § (c)(2).


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             Transmission System. 55 This last category would include projects to address needs to replace
             transmission lines and transmission level transformers. 56 While several Transmission
             Owners have been presenting such projects at the Subregional RTEP Committees and the
             Transmission Expansion Advisory Committee (“TEAC”), this change would require all
             qualifying asset management needs and solutions to be presented at the relevant committee
             for stakeholder input.

                     The second change codifies the existing practice of presenting Supplemental Project
             needs for facilities operating at 200 kV and above to the TEAC, rather than the Subregional
             RTEP Committees. The TEAC reviews both RTEP and Supplemental Project needs where
             the solution is likely to operate at 200 kV and above. Thus, under the existing text of
             Attachment M-3, when the TEAC is reviewing a Supplemental Project need it is in effect
             acting as the relevant Subregional RTEP Committee. Section (c)(1) codifies this practice by
             stating that when the TEAC considers an Attachment M-3 Project need, the TEAC is subject
             to the requirements of Attachment M-3.

                     The third change clarifies the procedure for submission of comments on Solutions to
             be included in the Local Plan. The existing text of Attachment M-3 specified the period of
             time that Transmission Owners must consider Stakeholder comments on the Solutions to be
             included in the Local Plan, but did not specify how Stakeholders would know that Solutions
             have been selected, thus initiating their opportunity to comment on those Solutions. A
             sentence has been added to Section (c)(5) providing for the posting of the selected Solutions
             which begins a comment period of at least ten days, following which the PJM Transmission
             Owner will begin the ten day period of consideration of any comments received on the
             Solutions as specified in the current language of Attachment M-3. This clarification is
             consistent with the structure of the existing Attachment M-3 provisions as well as current
             practice under Attachment M-3.

                     The fourth change is the addition of a provision to Section (c)(7) acknowledging that
             a PJM Transmission Owner is free to use the Attachment M-3 process for Asset Management
             Project needs that are not subject to Attachment M-3, but which the PJM Transmission
             Owner believes would benefit from consideration through its processes. For example, a
             Transmission Owner may seek stakeholder input regarding an Asset Management Project
             need that would not affect PJM’s modeling of the Transmission System. This addition is
             comparable to the existing provision in section (c)(7) acknowledging a PJM Transmission
             Owner’s ability to conduct additional meetings or communications with Stakeholders
             regarding Attachment M-3 Projects in addition to those provided for in Attachment M-3, as
             several Transmission Owners currently do.




             55
                  See supra, Section III.B.2.
             56
                  See supra, Section III.B.5.


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                        D.       Section (d) - EOL Planning Documentation and Coordination.

                      Section (d) describes additional procedures applicable to planning to address EOL
             Needs and the coordination with PJM planning when PJM identifies a potential overlap
             between a PJM planning need and a need to address a Transmission Facility nearing the end
             of its useful life. This section effectively implements proposals in the PJM Package to
             address end of useful life planning presented in the recent stakeholder process. 57

                                 1.     End of Useful Life Documentation

                     Section (d)(1) requires that each Transmission Owner document its criteria for
             assessing whether a need exists to replace an existing Transmission Facility (section
             (d)(1)(i)) and that such planning criteria be presented at least annually (section (d)(1)(ii)). 58
             While several Transmission Owners have documented these criteria and presented them
             during the Annual Assumptions meeting, Section (d)(1) would make this requirement
             universal. Importantly, there is no requirement—and there can be no requirement—of
             uniformity among the Transmission Owners in the adoption and documentation of end of
             useful life criteria. Each Transmission Owner transmission system is different. While all
             Transmission Owners must operate and maintain their systems in accordance with Good
             Utility Practice and reliability principles, 59 that does not require a single set of specifications
             or technical implementation. Rather, each Transmission Owner’s system reflects differing
             customer requirements, engineering approaches and decisions, technical standards, economic
             judgments, risk assessments and prioritizations, local needs, operating conditions, system
             designs and topologies that have driven its development over time.

                      Although each Transmission Owner will be required to disclose and explain the
             criteria it employs, it is important to remember, as the name “Asset Management” implies,
             that decisions to replace transmission facilities involve the use of judgment with respect to
             performance, physical condition, and risk of failure, as well as maximizing the efficient
             deployment of human and capital resources. While the objective factors that go into those
             decisions can be documented and explained, the judgmental factors are not readily capable of
             replication. As Order No. 890 recognizes, ultimately planning decisions are the
             responsibility of the entities that bear the risks and costs. An Order No. 890-compliant
             planning process is not one in which planning decisions are shared with stakeholders, rather
             it is one in which stakeholders have a meaningful opportunity to provide input into those
             decisions. 60

                    Section (d)(1)(iii) requires each PJM Transmission Owner to provide to PJM annually
             an updated “Candidate EOL Needs List” which is a five-year non-binding projection of its


             57
                  See supra, Section II.C
             58
               For Transmission Owners who address EOL Needs through the Attachment M-3 process, the
             criteria could be presented at the annual Assumptions Meeting. See Proposed Revisions, Section C.2.
             59
                  CTOA, § 4.5.
             60
                  See Order No. 890 at P 454; Order No. 890-A at P 188.


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             EOL Needs identified under its documented Attachment M-3 EOL Planning Criteria.
             Projections up to five years into the future as to when specific facilities may need
             replacement are, as discussed above, based on judgment weighing numerous factors, and are
             inherently subject to change. For example, successful maintenance and repair could extend
             the lives of facilities, while weather and other factors could shorten them. Thus, the
             Candidate EOL Needs List needs to be non-binding since conditions could change and an
             EOL Need could be accelerated or postponed, or even drop off the list. Accordingly, any
             projection of future needs to replace Transmission Facilities is proprietary and must remain
             highly confidential. Thus, disclosure of the Candidate EOL Needs List is limited to PJM.
             The only exception to this limitation is the need to disclose a projected EOL Need in
             connection with the planning to address an identified overlap between the projected EOL
             Need and a PJM Planning Criteria Need under the RTEP Planning Process under section
             (d)(2) of the Proposed Revisions.

                     During the stakeholder consultation process with respect to the Proposed Revisions, a
             concern was raised regarding state regulatory commission access to projected Transmission
             Owner identified EOL Needs included in the Candidate EOL Need List. While section
             (d)(1)(iii) obligates PJM to maintain the confidentiality of the Candidate EOL Needs List,
             nothing in the Proposed Revisions is intended to govern or regulate the availability of
             information to state regulatory commissions or other state regulators. Thus, state regulators
             are not prohibited from requesting, nor is a Transmission Owner prohibited from providing
             its projected EOL Needs to its state commission or other governmental agencies with
             responsibilities in the area in which the projected EOL Needs exist. Of course, any such
             disclosure would be subject to any conditions and limitations applicable to such agency or
             agreed to between such agency and the relevant Transmission Owner.

                                2.      Coordination of EOL Needs and RTEP Project Planning

                     Section (d)(2) sets forth the procedures for coordinating PJM planning under
             Schedule 6 of the Operating Agreement with Transmission Owner planning to address end of
             useful life issues. The process begins with PJM engaging in its normal planning activity to
             identify and then validate, for example, reliability violations or economic projects to reduce
             congestion, as defined in the Proposed Revisions, “PJM Planning Criteria Needs.” Under the
             Proposed Revisions, PJM would then be able to examine the Transmission Owners’
             Candidate EOL Needs Lists and, after confirming with the Transmission Owner that the EOL
             Need still exists,61 make an initial determination whether an overlap exists between the
             identified PJM Planning Criteria Need and an EOL Need such that a single solution could
             address both needs.

                    Section (d)(2)(i) also requires a Transmission Owner to consult with PJM if PJM
             makes an initial determination that a projected EOL Need on the Transmission Owner’s
             Candidate EOL Needs List could be addressed by a single Solution that also addresses one or
             more PJM Planning Criteria Needs. This provision is intended to facilitate PJM’s ability to
             confirm the scope of the overlap, the current status of the relevant Transmission Owner’s


             61
                  As noted above, EOL Needs can be accelerated or postponed, or even drop off the list.


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             planning to address the projected EOL Need, and the feasibility of PJM’s planning a single
             project that fully addresses both needs.

                     The Proposed Revisions anticipate that PJM would then proceed under Schedule 6 of
             the Operating Agreement to identify the reliability or economic project need to be
             addressed. 62 This would include the procedures for developing projects under section 1.5.8
             of Schedule 6 of the Operating Agreement, including opening up an Order No. 1000 proposal
             window for project proposals 63 and applying the other Schedule 6 provisions regarding
             project selection.

                     Section (d)(2)(ii) establishes what happens if the PJM Planning Process results in a
             single Solution that is intended to address both a projected EOL Need confirmed by the
             relevant Transmission Owner and the PJM Planning Criteria Needs. If the Solution is not
             one proposed by the affected Transmission Owner, the Transmission Owner must determine
             whether the Solution does, in fact, address its projected EOL Need. If the Transmission
             Owner determines it does not and the Transmission Owner determines it must still address
             the projected EOL Need through an Attachment M-3 Project, the Transmission Owner must
             provide documentation to PJM and Stakeholders supporting its determination at the next
             meeting of the TEAC or Subregional RTEP Committee that considered the single Solution.
             If the EOL Need was identified by a Transmission Owner with Form No. 715 end of useful
             life planning criteria, the Transmission Owner would determine if it needed to propose a
             project to PJM to address that EOL Need to be planned by PJM, although the Transmission
             Owner would be obligated to support its determination that it needed to propose such a
             project at the next meeting of the TEAC or Subregional RTEP Committee, and the ultimate
             determination regarding planning to satisfy the Form No. 715 criterion would remain with
             PJM. This process is comparable to that set out in PJM Manual 14B. 64

                     Section (d)(2)(ii) provides for the provision of information to the relevant PJM
             planning committee, in which the state commissions can participate. However, nothing in
             the proposed revisions prevents a Transmission Owner from providing the documentation
             provided to the TEAC under Section (d)(2)(ii) to the interested state commissions where the
             need is located. The Transmission Owners are committed to providing state commissions
             with the information they need to perform their functions while respecting jurisdictional
             boundaries. The filing will not change in any respect the ongoing working relationship that
             each Transmission Owner has maintained with its state regulators with respect to information
             on EOL Needs or any other matter.




             62
               PJM could also identify an overlap with a State Agreement Approach project under Schedule 6,
             § 1.5.9 or Multi-Driver Project under § 1.5.10.
             63
                  See Operating Agreement, Schedule 6, § 1.5.8(c).
             64
                  PJM Manual 14B, § 1.4.2.3.


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             IV.       THE PROPOSED REVISIONS ARE JUST AND REASONABLE

                     The Transmission Owners respectfully request that the Commission find the Proposed
             Revisions just and reasonable and accept them without hearing, modification or condition.
             As discussed above, the Proposed Revisions expand the scope of Attachment M-3 to include
             asset management projects. This will give stakeholders additional opportunities for input
             into the Transmission Owners’ planning of asset management projects that go beyond the
             obligations established in Order No. 890 and other utilities’ procedures for planning asset
             management projects. The Proposed Revisions also provide PJM with additional forward
             looking information to enhance its planning capabilities, achieving a stated goal of the PJM
             Board. 65 Moreover, the Proposed Revisions require the documentation and review of
             Transmission Owner end of useful life planning criteria, which also will increase the amount
             of information available to PJM to support its RTEP planning responsibilities. This level of
             transparency surpasses the requirements applicable in other regions. In addition, the
             Proposed Revisions provide for an open and transparent asset management planning process.
             The Proposed Revisions provide opportunities for stakeholder review and input with respect
             to asset management planning that go far beyond the procedures the Commission has
             accepted as just and reasonable in the SCE Order. Finally, the Proposed Revisions authorize
             PJM to coordinate RTEP and end of life planning where those needs overlap to develop a
             more efficient and cost-effective result.

                    In sum, the Transmission Owners’ Proposed Revisions are just and reasonable, not
             unduly discriminatory or preferential and should be approved without hearing, modification,
             or condition.

             V.        EFFECTIVE DATE

                     The Transmission Owners request that the Proposed Revisions be made effective
             sixty (60) days from the date of this filing. As discussed above, if the Commission accepts
             the Proposed Revisions with this effective date, PJM and the Transmission Owners can begin
             implementing the additional requirements and procedures under the Proposed Revisions in
             time for the 2021 planning cycle that begins this fall.

             VI.       CORRESPONDENCE AND COMMUNICATIONS

             Correspondence and communications with respect to this filing should be sent to:




             65
                  See May 27, 2020 PJM Board Letter at 2.


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             VII.    ADDITIONAL INFORMATION REQUIRED UNDER 18 C.F.R. § 35.13(b)

                     A.    Documents Submitted with this Filing

                     Along with this transmittal letter, the Transmission Owners submit the following
             exhibits with this filing:

                           1.      Exhibit A – Marked versions of Attachment M-3 to the PJM Tariff
                                   reflecting the changes proposed herein.

                           2.      Exhibit B – Clean versions of Attachment M-3 to the PJM Tariff
                                   reflecting the changes proposed herein.

                           3.      Exhibit C – Letter from Dean Oskvig, Chair-Board Reliability
                                   Committee, PJM Board of Managers to the PJM Members Committee,
                                   dated October 4, 2019.

                           4.      Exhibit D –Letter from Dean Oskvig, Chair-Board Reliability &
                                   Security Committee, PJM Board of Managers to the Jolene M. Harris,
                                   President/CEO, American Municipal Power, Inc. and others, dated
                                   May 27, 2020.

                           5.      Exhibit E – PJM EOL Planning Package, Transparency and End of
                                   Life Planning, May 28, 2020.




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                       B.      Service

                      PJM has served a copy of this filing on all PJM Members and on all state utility
             regulatory commissions in the PJM Region by posting this filing electronically. In
             accordance with the Commission’s regulations, 66 PJM will post a copy of this filing to the
             FERC filings section of its internet site, located at the following link:
             http://www.pjm.com/documents/ferc-manuals/ferc-filings.aspx with a specific link to the
             newly-filed document, and will send an e-mail on the same date as this filing to all PJM
             Members and all state utility regulatory commissions in the PJM Region 67 alerting them that
             this filing has been made by PJM and is available by following such link. If the document is
             not immediately available by using the referenced link, the document will be available
             through the referenced link within 24 hours of the filing. Also, a copy of this filing will be
             available on the Commission’s eLibrary website located at the following link:
             http://www.ferc.gov/docs-filing/elibrary.asp in accordance with the Commission’s
             regulations and Order No. 714.

                       C.      Description of and Reason for Rate Change

                       A detailed description of the rate change is included in Section III, above.

                       D.      Agreement Required for Rate Change

                    As indicated in note 2, above, this rate change has been authorized pursuant to the
             individual and weighted voting requirements in Section 8.5 of the CTOA.

                       E.      Request for Waivers

                     To the extent necessary, the Transmission Owners request waiver of the requirement
             to submit the cost of service data required by 18 C.F.R. § 35.13. Further, the information
             submitted with this filing substantially complies with the requirements of Part 35 of the
             Commission's rules and regulations applicable to filings of this type. The Transmission
             Owners request a waiver of any applicable requirement of Part 35 for which a waiver is not
             specifically requested, if necessary, in order to permit this filing to become effective as
             proposed.




             66
                  18 C.F.R. §§35.2(e), 385.2010(f)(3).
             67
               PJM already maintains, updates and regularly uses e-mail lists for all PJM members and affected
             state commissions.


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             VIII. CONCLUSION

                     For the reasons set forth herein, the PJM Transmission Owners respectfully request
             that the Commission accept these Proposed Revisions to the PJM Tariff without hearing,
             modification or condition, and allow these changes to become effective sixty (60) days from
             the date of this filing, as requested herein.


                                   Respectfully submitted,


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                     Companies                               Corporation

                                     On behalf of the PJM Transmission Owners




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                                        EXHIBIT A




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                                    ATTACHMENT
                                         M-3
                          ADDITIONAL PROCEDURES FOR PLANNING
                OF SUPPLEMENTAL PROJECTS AND ASSET MANAGEMENT PROJECTS

          (a) Applicability. Each Transmission Owner shall be responsible for planning and
              constructing in accordance with Schedule 6 of the Operating Agreement as provided in this
              Attachment M-3, to the extent applicable, (i) Asset Management Projects, as defined herein,
              (ii) Supplemental Projects, as defined in section 1.42A.02 of the Operating Agreement, and
              (iii) any other transmission expansion or enhancement of Transmission Facilities that is not
              planned by PJM to address one or more of the following planning criteria:This document
              provides additional details of the process that PJM and the PJM Transmission Owners will
              follow in connection with planning Supplemental Projects, as defined in section 1.42A.02
              of the Operating Agreement, in accordance with Schedule 6 of the Operating Agreement.
              This process will only apply to Transmission Owners that plan Supplemental Projects

                1.     NERC Reliability Standards (which includes Applicable Regional Entity
                       reliability standards);

                2.     Individual Transmission Owner planning criteria as filed in FERC Form No. 715
                       and posted on the PJM website, provided that the Additional Procedures for the
                       Identification and Planning of EOL Needs, set forth in section (d), shall apply, as
                       applicable

                3.     Criteria to address economic constraints in accordance with section 1.5.7 of the
                       Operating Agreement or an agreement listed in Schedule 12-Appendix B;

                4.     State Agreement Approach expansions or enhancements in accordance with
                       section 1.5.9(a)(ii) of the Operating Agreement; or

                5.     An expansion or enhancement to be addressed by the RTEP Planning Process
                       pursuant to section (d)(2) of this Attachment M-3 in accordance with RTEP
                       Planning Process procedures in Schedule 6 of the Operating Agreement.

          This Attachment M-3 shall not apply to CIP-014 mitigation projects that are subject to
          Attachment M-4.

          (b) Definitions.

                1.     Asset Management Project. “Asset Management Project” shall mean any
                       modification or replacement of a Transmission Owner’s Transmission Facilities
                       that results in no more than an Incidental Increase in transmission capacity
                       undertaken to perform maintenance, repair, and replacement work, to address an
                       EOL Need, or to effect infrastructure security, system reliability, and automation
                       projects the Transmission Owner undertakes to maintain its existing electric
                       transmission system and meet regulatory compliance requirements.




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                2.    Attachment M-3 Project. “Attachment M-3 Project” means (i) an Asset
                      Management Project that affects the connectivity of Transmission Facilities that
                      are included in the Transmission System, affects Transmission Facility ratings or
                      significantly changes the impedance of Transmission Facilities; (ii) a
                      Supplemental Project; or (iii) any other expansion or enhancement of
                      Transmission Facilities that is not excluded from this Attachment M-3 under any
                      of clauses (1) through (5) of section (a). “Attachment M-3 Project” does not
                      include a project to address Form No. 715 EOL Planning Criteria.

                3.    Incidental Increase. “Incidental Increase” shall mean an increase in transmission
                      capacity achieved by advancements in technology and/or replacements consistent
                      with current Transmission Owner design standards, industry standards, codes,
                      laws or regulations, which is not reasonably severable from an Asset Management
                      Project. A transmission project that results in more than an Incidental Increase in
                      transmission capacity is an expansion or enhancement of Transmission Facilities.

                4.    Transmission Facilities. “Transmission Facilities” shall have the meaning set
                      forth in the Consolidated Transmission Owners Agreement, section 1.27.

                5.    EOL Need. “EOL Need” shall mean a need to replace a transmission line
                      between breakers operating at or above 100 kV or a transformer, the high side of
                      which operates at or above 100 kV and the low side of which is not connected to
                      distribution facilities, which the Transmission Owner has determined to be near
                      the end of its useful life, the replacement of which would be an Attachment M-3
                      Project.

                6.    Candidate EOL Needs List. “Candidate EOL Needs List” shall have the meaning
                      ascribed to it in section (d)(1)(iii).

                7.    Form No. 715 EOL Planning Criteria. “Form No. 715 EOL Planning Criteria”
                      shall mean planning criteria filed by a Transmission Owner in FERC Form No.
                      715 to address EOL Needs. No Transmission Owner may be compelled to file a
                      Form No. 715 EOL Planning Criteria not required to be filed pursuant to FERC
                      regulations applicable to Form No. 715.

                8.    Attachment M-3 EOL Planning Criteria. “Attachment M-3 EOL Planning
                      Criteria” shall mean planning criteria utilized by a Transmission Owner under
                      Attachment M-3 to address EOL Needs.

                9.    PJM Planning Criteria Need. “PJM Planning Criteria Need” shall mean a need to
                      plan a transmission expansion or enhancement of Transmission Facilities other
                      than those reserved to each Transmission Owner in accordance with section (a).

                10.   RTEP Planning Process. “RTEP Planning Process” shall mean the process by
                      which PJM develops the Regional Transmission Expansion Plan under Schedule 6
                      of the Operating Agreement.




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          (c) Procedures for Review of Attachment M-3 Projects. The following procedures shall
          be applicable to the planning of Attachment M-3 Projects:

                1.    Review of Supplemental Attachment M-3 Projects. As described in sections
                      1.3(c) and (d) of Schedule 6 of the Operating Agreement, the Subregional RTEP
                      Committees shall be responsible for the review of SupplementalAttachment M-3
                      Projects. The Subregional RTEP Committees shall have a meaningful
                      opportunity to participate and provide feedback, including written comments,
                      throughout the transmission planning process for SupplementalAttachment M-3
                      Projects. Disputes shall be resolved in accordance with the procedures set forth
                      at Schedule 5 of the Operating Agreement. For purposes of this section (c),
                      reference to the Subregional RTEP Committees shall be deemed to include the
                      Transmission Expansion Advisory Committee (TEAC) when the TEAC reviews
                      Attachment M-3 Projects in accordance with these procedures.

                2.    Review of Assumptions and Methodology. In accordance with sections 1.3(d),
                      1.5.4(a), and 1.5.6(b) and 1.5.6(c) of Schedule 6 of the Operating Agreement,
                      each Subregional RTEP Committee shall schedule and facilitate a minimum of
                      one Subregional RTEP Committee meeting to review the criteria, assumptions,
                      and models Transmission Owners propose to use to plan and identify
                      SupplementalAttachment M-3 Projects (Assumptions Meeting). Each
                      Transmission Owner shall provide the criteria, assumptions, and models to PJM
                      for posting at least 20 days in advance of the Assumptions Meeting to provide
                      Subregional RTEP Committee Participants sufficient time to review this
                      information. Stakeholders may provide comments on the criteria, assumptions,
                      and models to the Transmission Owner for consideration either prior to or
                      following the Assumptions Meeting. The Transmission Owner shall review and
                      consider comments that are received within 10 days of the Assumptions Meeting
                      and may respond or provide feedback as appropriate.

                3.    Review of System Needs. No fewer than 25 days after the Assumptions
                      Meeting, each Subregional RTEP Committee shall schedule and facilitate a
                      minimum of one Subregional RTEP Committee meeting per planning cycle to
                      review the identified criteria violations and resulting system needs, if any, that
                      may drive the need for a Supplementalan Attachment M-3 Project (Needs
                      Meeting). Each Transmission Owner will review the identified system needs and
                      the drivers of those needs, based on the application of its criteria, assumptions,
                      and models that it uses to plan SupplementalAttachment M-3 Projects. The
                      Transmission Owners shall share and post their identified criteria violations and
                      drivers no fewer than 10 days in advance of the Needs Meeting. Stakeholders
                      may provide comments on the criteria violations and drivers to the Transmission
                      Owner for consideration prior to, at, or following the Needs Meeting. The
                      Transmission Owner shall review and consider comments that are received
                      within 10 days of the Needs Meeting and may respond or provide feedback as
                      appropriate.




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                4.   Review of Potential Solutions. No fewer than 25 days after the Needs Meeting,
                     each Subregional RTEP Committee shall schedule and facilitate a minimum of
                     one Subregional RTEP Committee meeting per planning cycle to review
                     potential solutions for the identified criteria violations (Solutions Meeting). The
                     Transmission Owners shall share and post their potential solutions, as well as
                     any alternatives identified by the Transmission Owners or stakeholders, no fewer
                     than 10 days in advance of the Solutions Meeting. Stakeholders may provide
                     comments on the potential solutions to the Transmission Owner for
                     consideration either prior to or following the Solutions Meeting. The
                     Transmission Owner shall review and consider comments that are received
                     within 10 days of the meeting and may respond or provide feedback as
                     appropriate.

                5.   Submission of SupplementalAttachment M-3 Projects. Each Transmission
                     Owner will finalize for submittal to the Transmission Provider
                     SupplementalAttachment M-3 Projects for inclusion in the Local Plan in
                     accordance with section 1.3 of Schedule 6 of the Operating Agreement and the
                     schedule established by the Transmission Provider. Stakeholders may provide
                     comments on the SupplementalAttachment M-3 Projects in accordance with
                     section 1.3 of Schedule 6 of the PJM Operating Agreement before the Local Plan
                     is integrated into the Regional Transmission Expansion Plan. Stakeholders shall
                     have at least 10 days to comment on the Local Plan after the solutions selected
                     by the Transmission Owner for inclusion in the Local Plan are posted. Each
                     Transmission Owner shall review and consider comments that are received at
                     least 10 days before the Local Plan is submitted for integration into the Regional
                     Transmission Expansion Plan.

                6.   Information Relating to SupplementalAttachment M-3 Projects. Information
                     relating to each Transmission Owner’s SupplementalAttachment M-3 Projects
                     will be provided in accordance with, and subject to the limitations set forth in,
                     section 1.5.4 of Schedule 6 of the Operating Agreement. Local Plan Information
                     will be provided to and posted by the Office of Interconnection as set forth in
                     section 1.5.4(e) of Schedule 6 of the Operating Agreement.

                7.   No Limitation on Additional Meetings and Communications. or Use of
                     Attachment M-3 For Other Transmission Projects.

                     i.     Nothing in this Attachment M-3 precludes any Transmission Owner from
                            agreeing with stakeholders to additional meetings or other
                            communications regarding SupplementalAttachment M-3 Projects, in
                            addition to the Subregional RTEP Committee process.

                     ii.    Nothing in this Attachment M-3 precludes a Transmission Owner from
                            using the procedures set forth in section (c) to solicit stakeholder input in
                            the planning of Transmission Facilities not subject to this section (c) or
                            the RTEP Planning Process.



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          (d)   Additional Procedures for the Identification and Planning of EOL Needs.

                1.    EOL Need Planning Criteria Documentation and Identification

                      i.     Each PJM Transmission Owner shall develop documentation for its
                             Attachment M-3 EOL Planning Criteria and/or its Form 715 EOL
                             Planning Criteria through which each identifies EOL Needs.

                      ii.    Each Transmission Owner’s Attachment M-3 EOL Planning Criteria
                             and/or Form 715 EOL Planning Criteria shall be clearly and separately
                             delineated and presented by the Transmission Owner at least once
                             annually pursuant to section (c)(2) and/or in its FERC Form No. 715 at a
                             meeting of the TEAC.

                      iii.   Annually, each Transmission Owner will provide to PJM a Candidate
                             EOL Needs List comprising its non-public confidential, non-binding
                             projection of up to 5 years of EOL Needs that it has identified under the
                             Transmission Owner’s processes for identification of EOL Needs
                             documented under section (d)(1)(i). Each Transmission Owner may
                             change its projection as it deems necessary and will update it annually.
                             Any Candidate EOL Needs List provided to PJM shall remain
                             confidential within PJM, except to the extent necessary for PJM to make
                             the determination referenced in clause (a) of section (d)(2)(ii).

                2.    Coordination of EOL Needs Planning With PJM Planning Criteria Needs.

                      i.     If, as part of the RTEP Planning Process, PJM initially determines that a
                             substantial electrical overlap exists such that a single Solution may
                             address a validated PJM Planning Criteria Need(s) identified during the
                             current PJM planning cycle under the RTEP Planning Process and
                             address a projected EOL Need on the Candidate EOL Needs List, which
                             the relevant Transmission Owner has confirmed remains a projected EOL
                             Need, the relevant Transmission Owner shall consult with PJM regarding
                             such potential overlap.

                      ii.    If, (a) PJM determines through the RTEP Planning Process that a proposed
                             Required Transmission Enhancement would more efficiently and cost-
                             effectively address the identified PJM Planning Criteria Need and may, as
                             well, address the projected EOL Need confirmed under section (d)(2)(i),
                             and (b) the proposed Required Transmission Enhancement is not a
                             solution proposed by the Transmission Owner pursuant to section (c)(4),
                             and (c) the Transmission Owner determines that the projected EOL Need
                             is not met by the proposed Required Transmission Enhancement and
                             determines that it will plan an Attachment M-3 Project to address the
                             projected EOL Need or propose a project to address the Form No. 715
                             EOL Planning Criteria, the Transmission Owner will provide



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                              documentation to PJM and stakeholders on the rationale supporting its
                              determination at the next appropriate meeting of the TEAC or Subregional
                              RTEP Committee that considered the proposed Required Transmission
                              Enhancement.

          (e)    Modifications. This Attachment M-3 may only be modified under section 205 of the
                 Federal Power Act if the proposed modification has been authorized by the PJM
                 Transmission Owners Agreement-Administrative Committee in accordance with
                 section 8.5 of the Consolidated Transmission Owners Agreement.




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                                        EXHIBIT B




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                                       ATTACHMENT
                                            M-3
                             ADDITIONAL PROCEDURES FOR PLANNING
                     SUPPLEMENTAL PROJECTS AND ASSET MANAGEMENT PROJECTS

          (a) Applicability. Each Transmission Owner shall be responsible for planning and
              constructing in accordance with Schedule 6 of the Operating Agreement as provided in this
              Attachment M-3, to the extent applicable, (i) Asset Management Projects, as defined herein,
              (ii) Supplemental Projects, as defined in section 1.42A.02 of the Operating Agreement, and
              (iii) any other transmission expansion or enhancement of Transmission Facilities that is not
              planned by PJM to address one or more of the following planning criteria:

                1.      NERC Reliability Standards (which includes Applicable Regional Entity
                        reliability standards);

                2.      Individual Transmission Owner planning criteria as filed in FERC Form No. 715
                        and posted on the PJM website, provided that the Additional Procedures for the
                        Identification and Planning of EOL Needs, set forth in section (d), shall apply, as
                        applicable;

                3.      Criteria to address economic constraints in accordance with section 1.5.7 of the
                        Operating Agreement or an agreement listed in Schedule 12-Appendix B;

                4.      State Agreement Approach expansions or enhancements in accordance with
                        section 1.5.9(a)(ii) of the Operating Agreement; or

                5.      An expansion or enhancement to be addressed by the RTEP Planning Process
                        pursuant to section (d)(2) of this Attachment M-3 in accordance with RTEP
                        Planning Process procedures in Schedule 6 of the Operating Agreement.

          This Attachment M-3 shall not apply to CIP-014 mitigation projects that are subject to
          Attachment M-4.

          (b) Definitions.

                1.      Asset Management Project. “Asset Management Project” shall mean any
                        modification or replacement of a Transmission Owner’s Transmission Facilities
                        that results in no more than an Incidental Increase in transmission capacity
                        undertaken to perform maintenance, repair, and replacement work, to address an
                        EOL Need, or to effect infrastructure security, system reliability, and automation
                        projects the Transmission Owner undertakes to maintain its existing electric
                        transmission system and meet regulatory compliance requirements.

                2.      Attachment M-3 Project. “Attachment M-3 Project” means (i) an Asset
                        Management Project that affects the connectivity of Transmission Facilities that
                        are included in the Transmission System, affects Transmission Facility ratings or
                        significantly changes the impedance of Transmission Facilities; (ii) a


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                      Supplemental Project; or (iii) any other expansion or enhancement of
                      Transmission Facilities that is not excluded from this Attachment M-3 under any
                      of clauses (1) through (5) of section (a). “Attachment M-3 Project” does not
                      include a project to address Form No. 715 EOL Planning Criteria.

                3.    Incidental Increase. “Incidental Increase” shall mean an increase in transmission
                      capacity achieved by advancements in technology and/or replacements consistent
                      with current Transmission Owner design standards, industry standards, codes,
                      laws or regulations, which is not reasonably severable from an Asset Management
                      Project. A transmission project that results in more than an Incidental Increase in
                      transmission capacity is an expansion or enhancement of Transmission Facilities.

                4.    Transmission Facilities. “Transmission Facilities” shall have the meaning set
                      forth in the Consolidated Transmission Owners Agreement, section 1.27.

                5.    EOL Need. “EOL Need” shall mean a need to replace a transmission line
                      between breakers operating at or above 100 kV or a transformer, the high side of
                      which operates at or above 100 kV and the low side of which is not connected to
                      distribution facilities, which the Transmission Owner has determined to be near
                      the end of its useful life, the replacement of which would be an Attachment M-3
                      Project.

                6.    Candidate EOL Needs List. “Candidate EOL Needs List” shall have the meaning
                      ascribed to it in section (d)(1)(iii).

                7.    Form No. 715 EOL Planning Criteria. “Form No. 715 EOL Planning Criteria”
                      shall mean planning criteria filed by a Transmission Owner in FERC Form No.
                      715 to address EOL Needs. No Transmission Owner may be compelled to file a
                      Form No. 715 EOL Planning Criteria not required to be filed pursuant to FERC
                      regulations applicable to Form No. 715.

                8.    Attachment M-3 EOL Planning Criteria. “Attachment M-3 EOL Planning
                      Criteria” shall mean planning criteria utilized by a Transmission Owner under
                      Attachment M-3 to address EOL Needs.

                9.    PJM Planning Criteria Need. “PJM Planning Criteria Need” shall mean a need to
                      plan a transmission expansion or enhancement of Transmission Facilities other
                      than those reserved to each Transmission Owner in accordance with section (a).

                10.   RTEP Planning Process. “RTEP Planning Process” shall mean the process by
                      which PJM develops the Regional Transmission Expansion Plan under Schedule 6
                      of the Operating Agreement.




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          (c) Procedures for Review of Attachment M-3 Projects. The following procedures shall
          be applicable to the planning of Attachment M-3 Projects:

                1.    Review of Attachment M-3 Projects. As described in sections 1.3(c) and (d) of
                      Schedule 6 of the Operating Agreement, the Subregional RTEP Committees
                      shall be responsible for the review of Attachment M-3 Projects. The Subregional
                      RTEP Committees shall have a meaningful opportunity to participate and
                      provide feedback, including written comments, throughout the transmission
                      planning process for Attachment M-3 Projects. Disputes shall be resolved in
                      accordance with the procedures set forth at Schedule 5 of the Operating
                      Agreement. For purposes of this section (c), reference to the Subregional RTEP
                      Committees shall be deemed to include the Transmission Expansion Advisory
                      Committee (TEAC) when the TEAC reviews Attachment M-3 Projects in
                      accordance with these procedures.

                2.    Review of Assumptions and Methodology. In accordance with sections 1.3(d),
                      1.5.4(a), and 1.5.6(b) and 1.5.6(c) of Schedule 6 of the Operating Agreement,
                      each Subregional RTEP Committee shall schedule and facilitate a minimum of
                      one Subregional RTEP Committee meeting to review the criteria, assumptions,
                      and models Transmission Owners propose to use to plan and identify Attachment
                      M-3 Projects (Assumptions Meeting). Each Transmission Owner shall provide
                      the criteria, assumptions, and models to PJM for posting at least 20 days in
                      advance of the Assumptions Meeting to provide Subregional RTEP Committee
                      Participants sufficient time to review this information. Stakeholders may provide
                      comments on the criteria, assumptions, and models to the Transmission Owner
                      for consideration either prior to or following the Assumptions Meeting. The
                      Transmission Owner shall review and consider comments that are received
                      within 10 days of the Assumptions Meeting and may respond or provide
                      feedback as appropriate.

                3.    Review of System Needs. No fewer than 25 days after the Assumptions
                      Meeting, each Subregional RTEP Committee shall schedule and facilitate a
                      minimum of one Subregional RTEP Committee meeting per planning cycle to
                      review the identified criteria violations and resulting system needs, if any, that
                      may drive the need for an Attachment M-3 Project (Needs Meeting). Each
                      Transmission Owner will review the identified system needs and the drivers of
                      those needs, based on the application of its criteria, assumptions, and models that
                      it uses to plan Attachment M-3 Projects. The Transmission Owners shall share
                      and post their identified criteria violations and drivers no fewer than 10 days in
                      advance of the Needs Meeting. Stakeholders may provide comments on the
                      criteria violations and drivers to the Transmission Owner for consideration prior
                      to, at, or following the Needs Meeting. The Transmission Owner shall review
                      and consider comments that are received within 10 days of the Needs Meeting
                      and may respond or provide feedback as appropriate.




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                4.   Review of Potential Solutions. No fewer than 25 days after the Needs Meeting,
                     each Subregional RTEP Committee shall schedule and facilitate a minimum of
                     one Subregional RTEP Committee meeting per planning cycle to review
                     potential solutions for the identified criteria violations (Solutions Meeting). The
                     Transmission Owners shall share and post their potential solutions, as well as
                     any alternatives identified by the Transmission Owners or stakeholders, no fewer
                     than 10 days in advance of the Solutions Meeting. Stakeholders may provide
                     comments on the potential solutions to the Transmission Owner for
                     consideration either prior to or following the Solutions Meeting. The
                     Transmission Owner shall review and consider comments that are received
                     within 10 days of the meeting and may respond or provide feedback as
                     appropriate.

                5.   Submission of Attachment M-3 Projects. Each Transmission Owner will
                     finalize for submittal to the Transmission Provider Attachment M-3 Projects for
                     inclusion in the Local Plan in accordance with section 1.3 of Schedule 6 of the
                     Operating Agreement and the schedule established by the Transmission
                     Provider. Stakeholders may provide comments on the Attachment M-3 Projects
                     in accordance with section 1.3 of Schedule 6 of the PJM Operating Agreement
                     before the Local Plan is integrated into the Regional Transmission Expansion
                     Plan. Stakeholders shall have at least 10 days to comment on the Local Plan
                     after the solutions selected by the Transmission Owner for inclusion in the Local
                     Plan are posted. Each Transmission Owner shall review and consider comments
                     that are received at least 10 days before the Local Plan is submitted for
                     integration into the Regional Transmission Expansion Plan.

                6.   Information Relating to Attachment M-3 Projects. Information relating to
                     each Transmission Owner’s Attachment M-3 Projects will be provided in
                     accordance with, and subject to the limitations set forth in, section 1.5.4 of
                     Schedule 6 of the Operating Agreement. Local Plan Information will be provided
                     to and posted by the Office of Interconnection as set forth in section 1.5.4(e) of
                     Schedule 6 of the Operating Agreement.

                7.   No Limitation on Additional Meetings and Communications or Use of
                     Attachment M-3 For Other Transmission Projects.

                     i.     Nothing in this Attachment M-3 precludes any Transmission Owner from
                            agreeing with stakeholders to additional meetings or other
                            communications regarding Attachment M-3 Projects, in addition to the
                            Subregional RTEP Committee process.

                     ii.    Nothing in this Attachment M-3 precludes a Transmission Owner from
                            using the procedures set forth in section (c) to solicit stakeholder input in
                            the planning of Transmission Facilities not subject to this section (c) or
                            the RTEP Planning Process.




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          (d)   Additional Procedures for the Identification and Planning of EOL Needs.

                1.    EOL Need Planning Criteria Documentation and Identification

                      i.     Each PJM Transmission Owner shall develop documentation for its
                             Attachment M-3 EOL Planning Criteria and/or its Form 715 EOL
                             Planning Criteria through which each identifies EOL Needs.

                      ii.    Each Transmission Owner’s Attachment M-3 EOL Planning Criteria
                             and/or Form 715 EOL Planning Criteria shall be clearly and separately
                             delineated and presented by the Transmission Owner at least once
                             annually pursuant to section (c)(2) and/or in its FERC Form No. 715 at a
                             meeting of the TEAC.

                      iii.   Annually, each Transmission Owner will provide to PJM a Candidate
                             EOL Needs List comprising its non-public confidential, non-binding
                             projection of up to 5 years of EOL Needs that it has identified under the
                             Transmission Owner’s processes for identification of EOL Needs
                             documented under section (d)(1)(i). Each Transmission Owner may
                             change its projection as it deems necessary and will update it annually.
                             Any Candidate EOL Needs List provided to PJM shall remain
                             confidential within PJM, except to the extent necessary for PJM to make
                             the determination referenced in clause (a) of section (d)(2)(ii).

                2.    Coordination of EOL Needs Planning With PJM Planning Criteria Needs.

                      i.     If, as part of the RTEP Planning Process, PJM initially determines that a
                             substantial electrical overlap exists such that a single Solution may
                             address a validated PJM Planning Criteria Need(s) identified during the
                             current PJM planning cycle under the RTEP Planning Process and
                             address a projected EOL Need on the Candidate EOL Needs List, which
                             the relevant Transmission Owner has confirmed remains a projected EOL
                             Need, the relevant Transmission Owner shall consult with PJM regarding
                             such potential overlap.

                      ii.    If, (a) PJM determines through the RTEP Planning Process that a proposed
                             Required Transmission Enhancement would more efficiently and cost-
                             effectively address the identified PJM Planning Criteria Need and may, as
                             well, address the projected EOL Need confirmed under section (d)(2)(i),
                             and (b) the proposed Required Transmission Enhancement is not a
                             solution proposed by the Transmission Owner pursuant to section (c)(4),
                             and (c) the Transmission Owner determines that the projected EOL Need
                             is not met by the proposed Required Transmission Enhancement and
                             determines that it will plan an Attachment M-3 Project to address the
                             projected EOL Need or propose a project to address the Form No. 715



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                             EOL Planning Criteria, the Transmission Owner will provide
                             documentation to PJM and stakeholders on the rationale supporting its
                             determination at the next appropriate meeting of the TEAC or Subregional
                             RTEP Committee that considered the proposed Required Transmission
                             Enhancement.

         (e)    Modifications. This Attachment M-3 may only be modified under section 205 of the
                Federal Power Act if the proposed modification has been authorized by the PJM
                Transmission Owners Agreement-Administrative Committee in accordance with section
                8.5 of the Consolidated Transmission Owners Agreement.




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                                        EXHIBIT C




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                                                                                            Audubon, PA 19403




         October 4, 2019


         PJM Members Committee

         Dear Members:

         The PJM Board of Managers is pleased with the progress on Supplemental Projects that PJM and stakeholders
         have accomplished in the last few months. The PJM Manual 14B revisions that were approved with stakeholder
         support at the Aug. 22 Markets & Reliability Committee clarify the interaction of Supplemental Projects with the
         Regional Transmission Expansion Plan process. The result is more comprehensive and transparent documentation
         of this interaction.

         The vote demonstrated how stakeholders and PJM can work together to build consensus through the stakeholder
         process, even when issues are complex and controversial. The Board appreciates stakeholders’ attention to these
         issues and commends everyone involved for their commitment to identifying solutions.

         Over the last few months, the PJM Board has undertaken a review of Supplemental Project issues. This review was
         informed by the letters from stakeholders, the discussions at stakeholder meetings, and a review of our governing
         documents, together with the relevant FERC orders and policy statements.

         Through this review, the PJM Board has determined that PJM’s role in the Supplemental Projects process can be
         expanded in some areas but also remains appropriately constrained in others, such as asset management decisions
         by Transmission Owners.

         PJM will continue to focus its efforts on enhancing the transparency of the Supplemental Projects processes. PJM
         does not have the authority or expertise to assume responsibility for asset management decisions or to determine
         when a facility is at the end of its useful life or otherwise needs to be replaced. Those decisions are the sole
         responsibility of the Transmission Owner. PJM has the authority, expertise, and the obligation, to develop the
         RTEP. In some circumstances, PJM may be in the best position to determine the more cost-effective regional
         solution to replace a retired facility. PJM welcomes input from stakeholders to determine under what circumstances
         PJM might assert that authority.

         The PJM Board is committed to continuing the progress that has been made toward clarifying PJM’s role regarding
         Supplemental Projects and PJM’s regional planning authority. The PJM Board recognizes that the concerns
         regarding Supplemental Projects may not be ameliorated and will continue to work with the PJM management to
         ensure that the appropriate actions are being taken by PJM.


         Sincerely,

         Dean Oskvig

         Dean Oskvig, Chair-Board Reliability Committee
         Board of Managers




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                                        EXHIBIT D




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                                                                             Dean Oskvig
                                                                             Chair, Board Reliability & Security Committee


         May 27, 2020

         VIA ELECTRONIC MAIL

         Jolene M. Thompson                                  Brian Vayda
         President/CEO                                       Executive Director
         American Municipal Power, Inc.                      Public Power Association of New Jersey

         Marcus Harris                                       Sandra Mattavous-Frye
         President/CEO                                       People’s Counsel
         Old Dominion Electric Cooperative                   Karen R. Sistrunk
                                                             Deputy People’s Counsel
         Sharon K. Segner                                    Anjali G. Patel
         Vice President, LS Power                            Senior Ast. People’s Counsel
                                                             Frederick (Erik) Heinle III
         Robert A. Weishaar, Jr.                             Ast. People’s Counsel
         Susan E. Bruce                                      Office of the People’s Counsel for the
         Counsel to PJM Industrial Customer                  District of Columbia
         Coalition
                                                             Andrew Slater
         Alice Wolfe                                         Public Advocate
         General Manager                                     The Delaware Division of the Public Advocate
         Blue Ridge Power Agency

         Patrick E. McCullar
         President & CEO
         Delaware Municipal Electric
         Corporation, Inc.

         Re: End of Life (EOL) Conditions and Replacement Projects

         Dear Stakeholders:

         Thank you for your letter of May 12th presenting your concerns and vision regarding the management of
         end of life conditions and replacement projects. Thank you also for sharing your proposal and Operating
         Agreement changes. The PJM Board of Managers appreciates the significant time and effort expended by
         stakeholders in considering these issues.

         The PJM Board has been aware of, and engaged on, the issues surrounding investment in Supplemental
         Projects, including end of life condition assessments and replacement projects. Indeed, the PJM Board
         has been closely involved with the issues surrounding Supplemental Projects since 2016, including the
         prior senior task force and the proceedings before the Federal Energy Regulatory Commission.


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         Such matters are regularly addressed before the Board Reliability Committee (recently rechartered as the
         Board Reliability & Security Committee) that has been delegated primary responsibility for these topics, and
         are regularly reported to the full Board. As stated in the PJM Board letter cited in your correspondence, the
         PJM Board views the execution of its responsibilities in regional planning as requiring the proper exercise
         of its authority, appropriate transparency, and a commitment to a non-discriminatory independent process,
         including the consideration of competitive solutions where appropriate. 1 As noted therein, the PJM Board
         believes that, in some circumstances, PJM may be in the best position to determine the appropriate
         regional solution to replace a facility that has been identified as nearing its end of life.

         PJM’s end of life solution package presented at the recent meetings of the Markets & Reliability Committee
         appropriately applies PJM’s authority. Specifically, the PJM Board supports the conclusion that an
         appropriate exercise of PJM’s regional planning authority is to identify the intersection of potential end of
         life conditions with regional planning needs, and to identify and plan the cost-effective and efficient regional
         solution, utilizing a competitive window process where appropriate. The PJM end of life solution package
         takes a reasonable approach that (i) reflects the guidance provided by FERC in its orders, (ii) respects the
         authorities defined within the governing documents, and (iii) enhances the existing PJM’s Regional
         Transmission Expansion Plan (RTEP) process. PJM has prepared a more detailed response and feedback
         to your proposed Operating Agreement revisions, and the PJM Board is providing that feedback as part of
         its response and its comments on the proposed Operating Agreement revisions.

         These are complicated issues and it is apparent that there is not an alignment among the stakeholders and
         many of the Transmission Owners who are parties to the Consolidated Transmission Owners Agreement.
         We expect that these issues will be presented to the Commission for resolution in the near future. The
         PJM Board recognizes its responsibility to ensure that PJM is fulfilling its role as the independent regional
         planner, maintaining compliance with its governing agreements and system reliability into the future.

         Sincerely,
         Dean Oskvig
         Dean Oskvig
         Chair of the Board Reliability & Security Committee

         Attachment




         1 See the October 4, 2019 Letter to the PJM Members Committee from Dean Oskvig, Chair-Board Reliability Committee (available at:

         https://www.pjm.com/-/media/about-pjm/who-we-are/public-disclosures/20191004-pjm-board-reliability-committee-chair-dean-oskvig-regarding-
         supplemental-projects.ashx?la=en).



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                                                                    Attachment

         Comments on the Stakeholder Proposed Operating Agreement Revisions Provided May 12th

         In your letter, you inquire how PJM, as the independent regional transmission organization (RTO), will carry
         out its regional planning functions in planning the “Grid of the Future.” In the relatively narrow context of
         end of life replacement projects, this question cannot be addressed without first considering PJM’s role as
         the regional planner and its core functions.

         PJM’s primary planning responsibility is to provide for the safe and reliable operation of the transmission
         system. In addition to compliance with reliability standards, PJM’s regional planning in this context means
         planning to serve the native load on PJM’s system, as well as any other firm transmission service
         obligations. PJM’s RTEP process was designed to ensure that the expansion of the transmission system
         to deliver power to its customers occurs in an efficient, reliable, and non-discriminatory manner. Indeed, a
         principal focus of PJM’s RTEP is ensuring that the needs of municipalities, cooperatives, and other
         transmission-dependent utilities are considered on a level playing field with the needs of the larger investor-
         owned utilities. PJM’s RTEP process has been a tremendous success in this regard.

         In ensuring non-discriminatory open access transmission service, PJM must plan for new transmission
         service requests. Attendant to that obligation, and as part of its commitment to ensure a robust,
         competitive, and non-discriminatory power market, PJM is charged with the planning associated with the
         processing of generator (and merchant transmission) interconnection service requests. Finally, among
         other things, PJM is also charged with enabling market-driven expansions to prevent and relieve
         congestion, accommodating state-agreement projects, and interregional planning. These regional planning
         responsibilities provide PJM with the opportunity to utilize the economy of scale provided by PJM’s large
         regional footprint, leading to more efficient and cost-effective transmission planning. These are the nature
         of the “planning” responsibilities conferred to PJM. But PJM did not assume all of the Transmission Owner
         operation, maintenance or planning responsibilities – and it is the interplay of PJM’s regional transmission
         planning responsibilities and the Transmission Owner reserved responsibilities that make these issues so
         complex.

         I.         PJM’s Planning Authority as the Independent Regional Planner

         PJM’s regional planning role is partially defined in the FERC’s regulations for RTOs, 2 in the Operating
         Agreement, 3 and in the Consolidated Transmission Owners Agreement (CTOA) wherein the PJM
         Transmission Owners transfer to PJM the responsibility to prepare a regional transmission expansion
         plan. 4 The RTEP is defined in the Operating Agreement as the plan prepared by PJM for the expansion

         2 18 C.F.R. § 35.34(7)(k)(7) (2019).

         3 See Amended and Restated Operating Agreement of PJM Interconnection, L.L.C. (Operating Agreement), Schedule 6.

         4 Consolidated Transmission Owners Agreement (CTOA), Rate Schedule FERC No. 42, section 4.1.4.




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         and enhancement of the transmission system to meet the demands for firm transmission service within its
         region. 5

         PJM’s role has limitations. The Transmission Owners were explicit in the CTOA that any rights not
         specifically transferred by the Transmission Owners to PJM therein were expressly reserved by the
         Transmission Owners. 6 Thus, PJM’s role is bounded by numerous regulatory constraints and contractual
         obligations that define the limits of its authority over the planning process.

         II.        Determinations of Transmission Asset Condition

         We are appreciative that the stakeholder proposal recognizes that PJM does not have the information or
         authority to make assessments or determinations regarding asset condition. The physical operation and
         maintenance of all transmission facilities was reserved to the Transmission Owners, and clear obligations
         were placed upon the Transmission Owners to perform these responsibilities in accordance with Good
         Utility Practice. 7 All physical inspections, condition assessments, and asset condition determinations are
         the domain of the Transmission Owners. Importantly, the Transmission Owners explicitly reserved the right
         to determine when their facilities have reached their end of useful life. 8

         III.       Criteria Used to Assess End of Life Conditions

         Notwithstanding the foregoing, PJM is supportive of transparency regarding such end of life determinations
         and replacement projects. Currently, a significant amount of transparency is provided regarding end of life
         replacement project determinations through the recently adopted Attachment M-3 process for
         Supplemental Projects, including a review of the assumptions, the need, and the solution. 9 Indeed, in the
         California orders discussed further herein, FERC observed that, to the extent Supplemental Projects
         included projects that were identified as “asset management activities,” the level of transparency that was
         being provided in PJM for Supplemental Projects through the Attachment M-3 process exceeded that which
         would be required by FERC for the California utilities. 10 To the extent that certain end of life replacement
         projects are addressed through a Transmission Owner’s FERC Form 715 criteria, those projects are
         addressed as baseline projects under PJM’s Operating Agreement with appropriate transparency.



         5 Operating Agreement, Schedule 6, section 1.1 (as well as to support competition).
                                                                                        Hand-in-hand with preparing the RTEP is the responsibility
         to include in the models used by PJM all system changes to ensure open, non-discriminatory access to the transmission system. And it is
         important that those models be as accurate as reasonably possible to support the processing of transmission service requests, including
         generator and merchant transmission interconnection service requests.
         6 CTOA, section 5.6.

         7 CTOA, section 4.5; see also CTOA, section 4.1.4.

         8 CTOA, sections 4.4 and 5.2

         9 Tariff, Attachment M-3, sections 2 and 3.

         10 Southern Cal. Edison Co., et al., 164 FERC ¶ 61,160 (2018) (SoCal Edison Order), order on reh’g, 168 FERC ¶ 61,170 (Sept. 19, 2019) (SoCal.

         Edison Order on Rehearing); Cal. Pub. Util. Comm’n v. Pac. Gas & Elec. Co., 164 FERC ¶ 61,161 (2018) (PG&E Order), order on reh’g, 168
         FERC ¶ 61,171 (Sept. 19, 2019) (PG&E Order on Rehearing) (collectively, the California Orders).



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         However, we believe more could be done with respect to the Transmission Owners providing transparency
         regarding how they assess their assets and make end of life determinations. Thus, PJM is supportive of a
         requirement that each Transmission Owner make available, in writing, its criteria for making an end of life
         determination and, that each Transmission Owner review such criteria surrounding such determinations
         annually. PJM should not assume the role of specifying what the criteria should be, or otherwise providing
         guidelines to the Transmission Owners.

         It is a legitimate expansion of PJM’s authority to require that the Transmission Owners clearly delineate
         their end of life planning criteria to identify end of life needs. Specifically, in connection with its preparation
         of the RTEP, PJM has the general authority to request planning criteria from the Transmission Owners.
         Under the terms of the CTOA, the Transmission Owners have explicitly agreed to provide information
         reasonably requested by PJM to prepare the RTEP and to otherwise cooperate with PJM in the preparation
         of the RTEP. 11 This transfer of authority was memorialized in the Operating Agreement. Specifically,
         Schedule 6 of the Operating Agreement requires the Transmission Owners to provide to PJM in the form
         and manner specified by PJM all criteria, assumptions and models used by the Transmission Owners,
         including those used to develop Supplemental Projects. 12

         Additionally, FERC made clear in its recent Show Cause Orders relative to the Transmission Owners’
         Supplemental Projects that, while the Transmission Owners’ Tariff, Attachment M-3 process and the PJM
         Operating Agreement are adequate to ensure compliance with Order No. 890’s transparency requirements,
         the Transmission Owners must make available the criteria guiding their decisions. 13 Thus, while PJM does
         not want the role of specifying what the criteria should be, nor did FERC assign that responsibility to PJM,
         PJM has the authority to require that the Transmission Owners provide their criteria and explain their
         programs.

         IV.       Advance Notice of End of Life Candidates

         Although PJM does have the ability to look further forward, given the lack of material load growth, PJM
         plans system improvements five years forward and uses the resulting five-year model generated from its
         RTEP process to evaluate service requests and any resulting necessary improvements. Thus, requiring
         each Transmission Owner to provide advance notice of its potential end of life facilities (i.e., “candidates”)
         five years forward at the start of an annual RTEP cycle is appropriate because it aligns with PJM’s planning
         process. There is little value to PJM to attempt to identify end of life facilities ten years forward because of
         the uncertainty of any determination made that far ahead and, such an advance notice would not be utilized
         in PJM’s five-year forward planning process. Furthermore, any requirement for such notice, even at the
         five year mark, must provide the Transmission Owners with the flexibility to add projects, delay retirements

         11 CTOA, section 4.1.4.

         12 Amended and Restated Operating Agreement of PJM Interconnection, L.LC. Schedule 6, section 1.5.4(a).        Moreover, the Operating
         Agreement, Schedule 6, section 1.5.4(e) requires PJM to provide access through its website to all of the Transmission Owner’s criteria,
         assumptions and models used by the Transmission Owners in their internal planning processes, including the development of Supplemental
         Projects.
         13 Monongahela Power Co., et al., 164 FERC ¶ 61,217 at P 30 (Sept. 26, 2018) (September 26 Order on Rehearing and Compliance).




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         or replacements, or otherwise adjust course due to changes in condition assessments, unforeseen
         conditions, changes in circumstances (e.g., weather/wind damage), or other developments. And
         Transmission Owners also need the flexibility to both expedite replacement projects to avoid run-to-failure
         scenarios and to delay replacement projects when condition assessments indicate that the continued
         operation of the facilities can be done without jeopardizing reliability.

         V.         End of Life Replacement Projects – Form 715

         Under the PJM RTEP planning processes, the determination of when and how to replace facilities at their
         end of useful life can occur in two ways. 14 One occurs when a Transmission Owner chooses to include end
         of life replacement criteria in its FERC Form 715. 15 Under the Operating Agreement, because FERC Form
         715 is designed to set forth a Transmission Owner’s planning criteria, PJM includes projects identified by
         Transmission Owners as Form 715 projects in its planning process and, historically, has treated projects
         stemming from Form No. 715 criteria as baseline reliability projects. 16 And, as a result of a recent order
         issued by FERC, 17 PJM will have a role in planning Form 715 projects, and such projects may be subject to
         its competitive planning process (unless certain exemptions apply) and to regional cost-allocation. It is not
         apparent that any changes are needed or appropriate for such Form 715 projects.

         VI.        End of Life Replacement Projects – Supplemental Projects

         The other category or type of end of life replacement projects can be found in Supplemental Projects.
         Supplemental Projects are defined in the Operating Agreement as any transmission expansion or
         enhancement that is not required for compliance with the PJM planning criteria. While the placement of
         this definition in the Operating Agreement may suggest an ability for the stakeholders to modify this
         definition, the definition is closely tied back to the rights transferred to PJM and to the rights reserved by the
         Transmission Owners under the CTOA. Indeed, this definition has served as the foundation for the
         boundary between PJM’s regional planning role and the individual Transmission Owners’ reserved




         14 End of life replacement projects initiated by a Transmission Owner that do not enhance or expand the transmission system could be

         conducted outside of both the Form No. 715 and Supplemental Project processes.
         15 FERC Form 715 requires “submission of transmission planning reliability criteria that the Transmission Owner uses to assess and test the

         strength and limits of its transmission system.”

         16 See PJM Interconnection, L.L.C., 171 FERC ¶ 61,013 (Apr. 3, 2020) (Order on Compliance supporting PJM’s reassignment of Form 715

         projects using reliability cost allocation methodology)..
         17 See PJM Interconnection, L.L.C., 170 FERC ¶ 61,049 at P 2 (Jan. 23, 2020) (accepting PJM’s revisions to its Operating Agreement to eliminate

         the exemption from the competitive proposal window process for transmission projects addressing Form 715 criteria); see also PJM
         Interconnection, L.L.C., 168 FERC ¶ 61,133 at P 34 (August 30, 2019) (accepting PJM Transmission Owners removal of the Form 715 cost
         allocation methodology from Tariff, Schedule 12).



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         authority. This authority was recognized in Order No. 1000, 18 as well the Commission’s Orders relative to
         the creation of the Transmission Owners’ Attachment M-3 process. 19 While there may be a desire to
         broaden the category of projects under PJM’s authority by creating a new category of projects and thus
         effectively amending the definition of Supplemental Projects, such an amendment is beyond the scope of
         the authority transferred to PJM by the PJM Transmission Owners. 20 Moreover, these issues were recently
         litigated before FERC in the Attachment M-3 dockets and FERC rejected the attempts to move the planning
         of Supplemental Projects under PJM’s RTEP processes and determined that the Attachment M-3 process
         provides the appropriate level of transparency to satisfy Order No. 890 requirements. 21 In so doing, FERC
         reaffirmed Supplemental Projects as being Transmission Owner directed.

         VII.       Asset Management Activities

         In addition, the two California Orders involving California utilities provide precedential guidance regarding
         the boundary between asset management activities and transmission planning activities subject to the
         Order No. 890 planning requirements. 22 In those orders, FERC offered clarity as to the meaning and
         characterization of asset management activities and projects. Importantly, FERC determined that asset
         management activities are not “planning” so long as any capacity increase is only incidental to the
         replacement project. 23 Some stakeholders disagree as to the relevance of the California orders to the PJM
         paradigm, but we believe that FERC was simply observing that Supplemental Projects is a broader


         18 Transmission Planning & Cost Allocation by Transmission Owning & Operating Pub. Utils., Order No. 1000, 136 FERC ¶ 61,051 at P 64 (2011),

         order on reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g and clarification, Order No. 1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub
         nom. S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014) clarifying that:
                    In some regions, transmission facilities not selected for purposes of regional or interregional cost allocation nonetheless
                    may be in a regional transmission plan for informational purposes, and the presence of such transmission projects in the
                    regional transmission plan does not necessarily indicate an evaluation whether such transmission facilities are more
                    efficient or cost-effective solutions to a regional transmission need . . . . [and] we do not intend to disturb regional practices
                    with regard to other transmission facilities that also may be in the regional transmission plan.
         See also PJM Interconnection, L.L.C., 142 FERC ¶ 61,214 at P 65 (Mar. 22, 2013) (accepting PJM’s Order No. 1000 Compliance Filing, including:
         “Supplemental Projects, which are projects that are not identified by PJM as necessary for reliability or economic reasons, but may address local
         planning criteria or public policy requirements . . . . that may be included in the RTEP for information purposes and its costs are not eligible for
         cost allocation under Schedule 12.”).
         19 See Monongahela Power Co., 162 FERC ¶ 61,129 (Feb. 15, 2018) (accepting in part and requiring further compliance filing relative to Tariff,

         Attachment M-3 provision); see also September 26 Order on Rehearing and Compliance at P 37 (finding Attachment M-3 and the Operating
         Agreement, as revised, adequate to ensure compliance with Order No. 890).
         20 Arguments that Transmission Facilities turned over to PJM’s operational control are subject to PJM’s planning authority are without basis.

         Under the CTOA, the Transmission Owners explicitly separated the authority transferred to PJM relative to the operational control of their assets
         and the authority transferred to PJM relative to planning the transmission system.
         21 See, e.g., Appalachian Power Co., et al., 170 FERC ¶ 61,196 at P 59 (Mar. 17, 2020) (citing to September 26 Order on Rehearing and

         Compliance at PP 13, 14, and 22 stating “[i]n Monongahela Power Co., the Commission made clear that the PJM Transmission Owners retain
         responsibility for planning Supplemental Projects, and therefore ‘retain the filing rights to make modifications to [the Supplemental Project
         planning] provisions’ in the Tariff.”
         22 See SoCal Edison Order at P 55 and PG&E Order at P 37:


                    Whether or not other transmission planning regions are considering asset management projects and activities through their
                    regional transmission planning process does not, in and of itself, determine whether Order No. 890 requires them to do so.
         23 In the stakeholder process, PJM proposed to clarify the definition of incidental:“Incidental expansion is defined as those achieved by
         advancements in technology and/or replacements consistent with current TO design standards, industry standards, codes, laws or regulations.”



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         category than asset management activities, including replacement projects that increase the capacity of the
         grid beyond an incidental increase. 24 The question before FERC in the show cause orders related to
         Attachment M-3 was simply whether Supplemental Projects were being treated consistent with PJM’s
         Order No. 890-compliant transmission planning process. 25 As recognized by FERC in the CPUC v. PG&E
         orders, to the extent PJM’s Supplemental Projects include asset management activities, then the
         Attachment M-3 process actually provides greater transparency than what FERC ultimately required in
         California for asset management activities. 26

         VIII.     Intersection of Supplemental Projects and Regional Needs

         PJM’s role in regional planning and the intersection of end of life replacement facilities can be further
         clarified. Specifically, PJM has proposed reviewing the five-year forward candidate list and comparing that
         list with any identified regional needs. Where there is an intersection of a candidate with a regional need, it
         is appropriate for PJM, as the regional planner, to pursue the more efficient and cost-effective solution for
         the regional need, which may include an end-of-life replacement project. In those cases where there is an
         intersection, the solution may be different than a Transmission Owner-identified replacement project and,
         accordingly, would be part of the baseline regional solution.




         24 In the California Orders, the Commission observed that PJM’s Supplemental Projects provided greater transparency than was required under

         Order No.890. See SoCal Edison Order on Rehearing at P 57 and PG&E Order on Rehearing at P 57.
         25 See Southern California Edison Co., 168 FERC ¶ 61,170 at P 54 (Sept. 19, 2019).

         26 Id.




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                                         PJM EOL Planning Package

                                                                            Markets and Reliability Committee
                                                                            May 28, 2020
                                                                            Dave Souder, Senior Director – System Planning




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                                                                                                            Key Tenets


         Adhere to PJM Board                                         Enhance existing planning processes
         Directive
          • Enhance transparency                                     Ensure PJM Package respects
          • Honor Transmission Owner (TO)                            authorities within governing documents
            responsibility over asset management
            decisions                                                Allow FERC Orders to inform the PJM
          • Use PJM’s expertise and authority to                     Package
            develop the RTEP and, in some
            circumstances, determine the more
            cost-effective regional solution to                      Reflect stakeholder education and
            replace a retired facility                               interest identification


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                                                                                        EOL Package
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                                                                                                           Comparison

   Areas of Alignment                                                          Areas of Divergence
     • Both packages require similar TO-                                        • Differences in timing of EOL Notification
       specific end-of-life determination                                         and Determination
       program/process.
                                                                                • Recognition of the time horizon in which
     • Both packages promote transparency:                                        end-of-life determinations are made

             – Annual presentation of the details of TO                         • Honoring existing Competitive Proposal
               EOL program as part of stakeholder                                 Window Rules
               meeting
                                                                                • Differentiation between asset management
             – Conceptual 5 years EOL list                                        and planning and resultant subset of EOL
                                                                                  facilities that may be part of a broader
     • Both packages incorporate a component                                      regional solution
       that includes EOL replacement analysis
       consistent with RTEP.                                                    • Fundamental disagreement about PJM’s
                                                                                  jurisdiction
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                                           Legal Analysis – PJM Authority
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                                              • Under the CTOA, section 5.2, the TOs retained the authority to build, finance,
                                                own, acquire, sell, dispose, retire, merge or otherwise transfer or convey all or any
                                                part of its assets, including any Transmission Facilities. Section 5.2 further clarified that “PJM shall not
                                                challenge any such sale, disposition, retirement, merger, or other action under this Section 5.2.”
   Under the Consolidated
   Transmission Owners                        • Nowhere in the CTOA did the TOs transfer any authority over asset management activities or projects.
   Agreement (CTOA), the                      • Under CTOA, sec. 5.6, the TOs explicitly reserved all rights not specifically
   TOs transferred to PJM the                   transferred to PJM.
   “authority to prepare a                    • Asset management projects include maintenance, repair and replacement work on existing facilities to
   regional transmission                        maintain a safe, reliable and compliant grid based on existing topology. See Cal. Pub. Utils. Comm’n,
   expansion plan (RTEP).”                      et al. v. Pacific Gas and Elec. Co., 164 FERC 61,161 at 30, n. 119.
   CTOA, sec. 4.1.4.                          • Additionally, the Commission further clarified in the California Orders that asset management is not
                                                regional planning as defined in Order No. 890. More specifically, Order No. 890 was intended to
   RTEP is a plan prepared by                   address concerns regarding undue discrimination in grid expansion; thus, to the extent asset
   PJM for the enhancement and                  management projects and activities do not expand the grid, they do not fall within the scope of Order
   expansion of the transmission                No. 890. See PG&E Order at P 66.
   system in order to meet demand             • Under the PGE Rehearing Order, the Commission found identification of EOL facilities to be “asset
   for firm transmission service in             management,” i.e., replacing equipment that has reached the end of its operation life” and “replacing
   PJM. Tariff, Definitions R-S                 failed equipment.” See California Public Utilities Commission, et al. v. Pacific Gas and Electric Co.,
                                                168 FERC ¶ 61,171 P 57 (Sept. 19, 2019) (“PGE Rehearing Order”); see also Southern Cal. Edison
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End-of-Life      Program         Filed Date: 06/12/2020
                               Look-Ahead
                              USCA             Determination
                                   Case #21-1246              (1a, 1d, 3a) Filed:Planning
                                                    Document #1962371                      Analysis
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Program (1b, 2b) Transparency Process (2a)
                 (1c, 2c, 2d)
Mandatory TO-         TO will annually    TOs shall           PJM runs its annual RTEP analysis         PJM performs planning processes for all TO EOL retirement
specific              present the         provide to PJM a    to identify potential reliability         determinations for facilities identified as under PJM’s Markets & Reliability
program/process       details of the TO   five years EOL      violations, and identifies other          and Reliability BES, ensuring the current level of reliability and considering
for (i) asset         EOL program         retirement/         issues which may be included in the       impacts to operational performance; market efficiency and to ensure the
condition             as part of the      replacement         review of the RTEP short-term             solution does not result in the creation of CIP-014 critical facilities. PJM
assessments which     TEAC meeting.       candidate           proposal window, e.g. FERC Form           runs its annual RTEP analysis to identify potential reliability
may consider                              projection list     715 violations. If PJM identifies any     violations, and identifies other issues which may be included in the review
frequency of                              (limited to         overlap with a facility(ies) on the       of the RTEP short-term proposal window, e.g. FERC Form 715 violations. If
assessments based                         transmission        EOL retirement/replacement                PJM identifies any overlap with a facility(ies) on the EOL
upon age and (ii)                         lines, including    candidate projection list and             retirement/replacement candidate projection list and potential RTEP
EOL determination                         associated          potential RTEP issues to be               issues to be included in the short-term proposal window, PJM will note
process which may                         transmission line   included in the short term                the EOL facility(ies) in the posting of the identified RTEP issues and include
consider industry                         support             proposal window, PJM will note the        both in a competitive proposal window problem statement for the short
averages,                                 equipment such      EOL facility(ies) in the posting of the   term window. Otherwise, where TOs address EOL through Attachment
manufacturers                             as tower            identified RTEP issues and include        M-3, the design component is provided through Assumptions presented in
recommendations                           structures, and     both in a competitive proposal            the Assumptions Meetings and Needs presented in the Needs Meetings.
and Good Utility                          transformers).      window problem statement for the          Additionally, consistent with current practices (M14B Section 1.4.2.1 &
Practice.                                                     short-term window. Otherwise, where       1.4.2.2), PJM will provide notice of the potential interaction associated
                                                              TOs address EOL through                   with EOL needs in the M-3 process or EOL supplemental project(s)
                                                              Attachment M-3, the design                submitted for inclusion in the Local Plan and any identified violation,
                                                              component is provided through             system condition, economic constraint, or public policy requirement
                                                              Assumptions presented in the              included in the PJM open proposal window.
                                                              Assumptions Meetings and Needs
                                                              presented in the Needs Meetings.

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    End-of-Life                          Program                         Look-ahead                EOL Determination
    Program:                             Transparency:                   Program:                  and Planning Process:
    Mandatory Asset                      Annual                          Five-year                 Posting EOL candidates
    Management                           presentation of                 notification of           that interact with RTEP
    programs support                     the details of the              potential EOL             violations as part of a
    system reliability                   methodology of                  candidates                competitive window allows
    and are consistent                   TO EOL program                  coincides with the        for potential broader regional
    with good utility                    promoting                       RTEP cycle.               solutions, while also allowing
    practice, eliminating                transparency and                                          asset owner to prolong asset
    a “run to failure”                   understanding.                                            life for the remaining
    approach to asset                                                                              facilities based on EOL
    management.                                                                                    Determination programs.



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    Stakeholder Package:
   •    Introduces a dichotomy by                                                       • Incorrectly assert their
                                        •                  Incorrectly asserts that       package” has an added benefit
        requiring EOL determination 6
                                                           Final EOL Determinations       of greatly reducing the need to
        years in advance while also
                                                           resulting in mandatory EOL     ‘retool’ generation queues
        verifying asset management
                                                           Replacement Projects/EOL       because of Supplemental
        determinations, when actual
                                                           Retirements can easily be      Projects coming in throughout
        final EOL determinations
                                                           delayed by PJM similar to      the year.”
        typically occur at the 1–3 year
                                                           any other system
        timeframe.
                                                           reinforcement without fully • Incorrectly asserts the PJM
   •    Mandates a six year final                          considering NERC               Package only requires
        EOL determination for all                          Compliance (modeling) and      notification of lines and poles.
        facilities which may result in                     Generator Impacts
                                                           (Interconnection Queue,      • Incorrectly asserts PJM
        the forced replacement of
                                                           Deliverability / Performance   Package “Might reduce
        facilities not at their end-of-
                                                           Assessment).                   transparency and certainly does
        life.
                                                                                          not increase it.”
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                                                                                                                    Conclusion

    PJM Package:
    • Reinforces PJM’s Role as Regional                                  • Increases transparency by requiring an
      Planner while respecting the authority                               annual presentation of Transmission
      granted PJM as part of the CTOA and the                              Owners EOL program and posting of EOL
      precedent set by the FERC CA orders                                  Candidates that interact with RTEP
      regarding the planning of asset                                      violations.
      management projects and activities.
                                                                         • Promotes competition by identifying
    • Enhances system reliability by requiring                             potential broader regional solutions where
      Mandatory EOL Program as opposed to                                  EOL Candidates interact with RTEP
      “run to failure approach”.                                           violations




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                                                                                                                     Appendix




                                         PJM EOL Planning Package

                                                                            Transparency and End of Life Planning
                                                                            April 17, 2020
                                                                            Dave Souder, Senior Director – System Planning
                                                                            Pauline Foley, Associate General Counsel
                                                                            Aaron Berner, Manager – Transmission Planning


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                                                                                             Package
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                                                                                                            Key Tenets


         Adhere to PJM Board                                         Enhance existing planning processes
         Directive
          • Enhance transparency                                     Ensure PJM Package respects
          • Honor Transmission Owner (TO)                            authorities within governing documents
            responsibility over asset management
            decisions                                                Allow FERC Orders to inform the PJM
          • Use PJM’s expertise and authority to                     Package
            develop the RTEP and, in some
            circumstances, determine the more
            cost-effective regional solution to                      Reflect stakeholder education and
            replace a retired facility                               interests


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                                                                                        EOL Package
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                                                                                                           Comparison

   Areas of Alignment                                                          Areas of Divergence
     • Both packages require similar TO-                                        • Differences in timing of EOL Notification
       specific end-of-life determination                                         and Determination
       program/process.
                                                                                • Recognition of the time horizon in which
     • Both packages promote transparency:                                        end-of-life determinations are made

             – Annual presentation of the details of TO                         • Honoring existing Competitive Proposal
               EOL program as part of stakeholder                                 Window Rules
               meeting
                                                                                • Differentiation between asset management
             – Conceptual 5 years EOL list                                        and planning and resultant subset of EOL
                                                                                  facilities that may be part of a broader
     • Both packages incorporate a component                                      regional solution
       that includes EOL replacement analysis
       consistent with RTEP.                                                    • Fundamental disagreement about PJM’s
                                                                                  jurisdiction
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                                                                                                              Process Flow




   End-of-Life                        Program                       Look-Ahead          Determination         Planning
                                      Transparency                  Process                                   Analysis
   Program




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                                                                                                    EOL      Program (1b, 2b)
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     PJM Solution Option:                                     Business Rationale:
                                                              Asset Management programs support system reliability
     Mandatory TO-specific
                                                              and are consistent with good utility practice, eliminating a
     program/process for (i) asset
                                                              “run to failure” approach to asset management.
     condition assessments which
     may consider frequency of
     assessments based upon age
     and (ii) EOL determination                               Business Thoughts on Stakeholder Packages:
     process which may consider                               PJM does not see the benefit associated with a 10-year
     industry averages,                                       look-ahead program since it does not align with the PJM
     manufacturers                                            RTEP process nor does it reflect the time horizon in
     recommendations and Good                                 which EOL decisions are made.
     Utility Practice.


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    Legal Analysis:                                          •     Nothing in the governing documents requires the TOs to
    Under the PJM governing                                        have an EOL program using a “10-year” planning horizon.
    documents, transmission                                  •     Order 890 at P 461 requires that transmission providers
    owners are required to provide                                 (transmission owners) reduce to writing and make available
    criteria, assumptions and                                      the basic methodology, criteria and processes they use to
    methodology used by them to                                    develop their transmission plans, including how they treat
    plan Supplemental Projects.                                    retail native loads, in order to ensure that standards are
    OA, Schedule 6, Section                                        consistently applied. FERC contemplated that this
    1.5.4(e) and Tariff, Attachment                                information should enable customers, other stakeholders or
    M-3(2). See also Order 890, PP                                 an independent third party to replicate the results of
    471, 477 and 478.                                              planning studies and thereby reduce the incidence of after-
                                                                   the-fact disputes regarding whether planning has been
                                                                   conducted in an unduly discriminatory fashion.


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                                                                                                    EOL      Program (1b, 2b)
                                                                                                     Page 75 of 602




              Legal Thoughts on Stakeholder Packages:
              If AMP/ODEC is proposing that TOs submit their specific methodology
              for the EOL program in sufficient detail to understanding and use the
              results as input to subsequent planning studies, PJM agrees as this
              would be consistent with Order 890 and the Commission’s February 15
              Order relative to Attachment M-3. See Monongahela Power Co., et al.,
              162 FERC ¶ 61,129 (Feb. 15, 2018) (February 15 Order). However, any
              proposals seeking to be able to replicate the TOs determination of the
              solution is beyond what the Commission required under Order 890 or the
              February 15 Order (at P 73).

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                                                                                                            (1c, 2c, 2d)


      PJM Solution                           Business Rationale:
      Option:
                                             Annual presentation of the details of the methodology of TO EOL program
      TO will annually                       promotes transparency and understanding.
      present the
      details of the TO
                                             Business Thoughts on Stakeholder Packages:
      EOL program as
                                              • PJM has concerns with requirements to “replicate the results for individual
      part of the TEAC                          facilities determined to be EOL”
      meeting.
                                               • PJM has defined “models” within M14B to powerflow, short circuit and stability
                                                 models and not TO asset management or EOL determination models.

                                               • Stakeholder and TOs should work constructively to continue to improve the
                                                 existing Attachment M-3 process.


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       Legal                                                                    Legal Thoughts on
       Analysis:                                                                Stakeholder Packages:
       In terms of annually updating the details                                Agree with requiring TOs to
       of their EOL programs, OA, Schedule 6,                                   annually or periodically
       Sections 1.5.4(a) and (e) require that the                               communicate updates their EOL
       PJM TOs provide to PJM on an annual or                                   programs.
       periodic basis all criteria, assumptions
       and models used by the TOs to develop
       Supplemental Projects.




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                                                                                                            Process (2a)

                                                Business Rationale:
     PJM Solution Option:
                                                 • Five-year notification for potential for EOL candidates coincides
     TOs to provide to PJM                         with the identification of RTEP needs
     a five years EOL
     retirement/                                 • Providing PJM the EOL retirement/replacement candidate list
     replacement candidate                         (limited to transmission lines and transformers) and PJM posting
     projection list (limited                      “candidate EOL facilities” that interact with RTEP violations
     to transmission lines,                        provides the appropriate level of actionable transparency,
     including associated                          recognizes the difference between asset management and
     transmission line                             planning, and addresses the TO liability risk if list made public
     support equipment
     such as tower
     structures, and                            Business Thoughts on Stakeholder Packages:
     transformers).                             PJM does not see the benefit associated with a 10-year look-ahead
                                                program since it does not align with the PJM RTEP process nor does
                                                it reflect the time horizon in which EOL decisions are made.

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                                                                                                                 Process (2a)

  Legal                      • No prohibition to requiring TOs to provide information within a specific timeframe regarding
                               potential EOL facilities based on its EOL Program. See CTOA, Section 4.1.4 requiring TOs
  Analysis:                    “to provide information reasonably requested by PJM to prepare the RTEP and shall
  With regard                  otherwise cooperate with PJM in such preparation.”
  to the                     • CTOA, Section 6.3.4 requires PJM to conduct its planning for the expansion and
  requirement                  enhancement of transmission facilities based on a planning horizon of at least 10 years, or
  that TOs                     such longer period as may be required by the PJM Tariff or Operating Agreement, including
  provide a five-              the Regional Transmission Expansion Planning Protocol.
  year candidate                – This obligation is specific to PJM, not the TOs.
  list for potential             – This obligation is specific to “expansions and enhancements” of facilities, not asset management
  EOL facilities:                  (replacement-in-kind or not more than incidental increases to the capability of the transmission system).
                                 – Identification of EOL facilities is not an activity under PJM’s authority. Under the California Rehearing
                                   Orders, the Commission found identification of EOL facilities to be “asset management,” i.e., replacing
                                   equipment that has reached the end of its operation life” and “replacing failed equipment.” See e.g.,
                                   California Public Utilities Commission, et al. v. Pacific Gas and Electric Co., 168 FERC ¶ 61,171 P 57
                                   (Sept. 19, 2019) (“PGE Rehearing Order”).

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                                                                                                               Process (2a)

     Legal Analysis:
     Manual 14B, Section 2.1                          Manual 14B, Attachment B.2 states PJM prepares an RTEP
     provides that PJM uses a                         which consolidates the region’s transmission needs into a
     15-year planning horizon for                     single plan that includes:
     consideration of expansion                        • A five-year plan (“near-term plan”) to address needs for which a
     or enhancements projects.                           commitment to expand or enhance the transmission system must be
                                                         made in the near term in order to meet scheduled in-service dates.

                                                       • A 15-year plan (“long-term plan”) to address new transmission
                                                         construction and right-of-way acquisition. System evaluations will be
                                                         performed to address on 200 kV above transmission system.




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                                                                                                               Process (2a)


         Legal Thoughts on Stakeholder Packages:
         PJM agrees that TOs should be required to comply with a
         look-ahead process for notification of potential EOL
         facilities. Stakeholders are proposing a ten-year look
         ahead. PJM proposes a five-year look ahead based on
         PJM’s current planning process




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                                                                                EOL        Determination
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                                                                                                                  (1a, 1d, 3a)

    PJM                   PJM runs its annual RTEP analysis to identify potential reliability violations,
    Solution              and identifies other issues which may be included in the review of the RTEP
    Option:               short-term proposal window, e.g. FERC Form 715 violations. If PJM
                          identifies any overlap with a facility(ies) on the EOL retirement/replacement
                          candidate projection list and potential RTEP issues to be included in the
                          short term proposal window, PJM will note the EOL facility(ies) in the
                          posting of the identified RTEP issues and include both in a competitive
                          proposal window problem statement for the short-term window. Otherwise,
                          where TOs address EOL through Attachment M-3, the design component is
                          provided through Assumptions presented in the Assumptions Meetings and
                          Needs presented in the Needs Meetings.


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                                                                                                                  (1a, 1d, 3a)

   Business Rationale:                                                                   Business Thoughts on
     • Five-year notification for potential for EOL candidates                           Stakeholder Packages:
       that coincide with the identification of RTEP needs                                • Mandating a six- to eight-year
                                                                                            final EOL determination for all
     • Providing to PJM a confidential EOL candidate list                                   facilities would result in the
       (limited to transmission lines and transformers) and                                 forced replacement of facilities
       then PJM posts publicly the EOL candidates that                                      that are not at their end-of-life.
       interact with RTEP violations, providing the
       appropriate level of actionable transparency,                                      • Requiring TO to make early EOL
       recognizing the difference between asset                                             determinations would be
       management and planning, while addressing the                                        dictating their asset
       TO liability risk if the list was made public.                                       management practices and is
                                                                                            outside of PJM’s and
     • Allows for potential broader regional solutions                                      stakeholders’ authority.
       when EOL Supplemental Projects and RTEP
       violations overlap

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                                                                                                                 (1a, 1d, 3a)

     Legal                                As part of the review of Supplemental Projects PJM will also
     Analysis:                            apprise the relevant TO if a baseline upgrade might alleviate
     See, e.g.,                           or partially mitigate the need for a Supplemental Project. In
     Manual 14B,
     Section 1.1                          addition, PJM will determine if a Supplemental Project might
     which provides                       impact a baseline need identified through the RTEP
     that:                                process, which might be in progress. A discussion of
                                          guidelines associated with potential for overlapping needs is
                                          included in this Manual below in Section 1.4.2.




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     Legal                             During a review of the RTEP analysis, it may become apparent
     Analysis:                         that a supplemental need identified in the Attachment M-3
     See, e.g.,                        Process may interact with an identified violation, system
     Manual 14B,                       condition, economic constraint, or public policy requirement
     Section 1.4.2
     provides in                       posted on the PJM website. In this case, PJM will provide
     part:                             notice of the potential interaction associated with the posted
                                       system condition by posting the newly available information to
                                       the PJM website and provide notification to stakeholders.




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                                                                                                                 (1a, 1d, 3a)


        Legal Thoughts on Stakeholder Packages:
        It is unclear what stakeholders mean by “information for understanding?” or
        “allow stakeholders to ensure determination was done consistent with TO
        program.” Under Attachment M-3, phases one, two and three, including
        comment periods, are intended to provide the information up front and allow
        the opportunity for comment so that stakeholders can see the rationale for a
        TO’s project selection to address EOL facilities. Without being more precise as
        to what AMP/ODEC are inferring is not provided for under Attachment M-3, it
        is unclear whether this proposal intends to revise the Tariff, Attachment M-3
        process approved by FERC.


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                                                                                                          Analysis (3c)

    PJM                   PJM performs planning processes for all TO EOL retirement determinations for facilities
                          identified as under PJM’s Markets & Reliability and Reliability BES, ensuring the current level
    Solution
                          of reliability and considering impacts to operational performance; market efficiency and to
    Option:               ensure the solution does not result in the creation of CIP-014 critical facilities. PJM runs its
                          annual RTEP analysis to identify potential reliability violations, and identifies other issues
                          which may be included in the review of the RTEP short-term proposal window, e.g. FERC
                          Form 715 violations. If PJM identifies any overlap with a facility(ies) on the EOL
                          retirement/replacement candidate projection list and potential RTEP issues to be included in
                          the short-term proposal window, PJM will note the EOL facility(ies) in the posting of the
                          identified RTEP issues and include both in a competitive proposal window problem statement
                          for the short term window. Otherwise, where TOs address EOL through Attachment M-3, the
                          design component is provided through Assumptions presented in the Assumptions Meetings
                          and Needs presented in the Needs Meetings. Additionally, consistent with current practices
                          (M14B Section 1.4.2.1 & 1.4.2.2), PJM will provide notice of the potential interaction
                          associated with EOL needs in the M-3 process or EOL supplemental project(s) submitted for
                          inclusion in the Local Plan and any identified violation, system condition, economic constraint,
                          or public policy requirement included in the PJM open proposal window.
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www.pjm.com                                                               28                                      JA0077
                                                                                                                    PJM©2020
                         EOL Process
 Document Accession #: 20200612-5124
                                         Integration    Into
                                       Filed Date: 06/12/2020
                               USCA Case #21-1246 Document      the Annual
                                                           #1962371              RTEPPage
                                                                      Filed: 09/06/2022 Cycle     (Part 1)
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             Start    PJM                                  PJM aggregates all analysis performed by PJM and Transmission        PJM reviews aggregate
                      establishes                          Owners including RTEP violations and FERC Form 715 issues            analysis list, which
                      RTEP                                                                                                      includes RTEP
PJM                   schedule                                                                          Confidential            violations and FERC
                                                                                                        candidate list          Form 715 issues and
                                                                                                        received by PJM         determines if candidate
                                                                                                                                list overlaps exist
                                                TO presents EOL program information                                                     Continued
TEAC / SRRTEP                                   during annual assumptions meeting
Meeting(s)


                                                TO prepares information associated with
                                                EOL program for inclusion in annual
                                                assumptions presentation
Transmission                                                                                       Submit Confidential EOL
Owners                Transmission                        Is Facility judged                       Candidate List, to include
                      Owner EOL                        to be reaching it’s EOL            Yes      transmission lines and
                      Program                           5 years in the future?                     transformers, to PJM

                                                                                                   TO continues to monitor
                                                                                          No
                                                                                                   facilities in EOL Program
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                                                                          29                                                          JA0078
                                                                                                                                        PJM©2020
                         EOL Process
 Document Accession #: 20200612-5124
                                         Integration    Into
                                          Filed Date: 06/12/2020
                               USCA Case #21-1246 Document      the Annual
                                                           #1962371              RTEPPage
                                                                      Filed: 09/06/2022 Cycle     (Part 2)
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                         PJM determines and          PJM posts list of                PJM determines if any           PJM posts list of
         Continued       notes in posting            preliminary violations for       changes to the list of          violations for the          Continued
                         materials those             the competitive window           violations is required          competitive window
PJM                      violations which may        and notes on the list any        due to continued                and notes on the list
                         fall under competitive      overlaps from candidate          refinement of analysis,         any overlaps from
                         proposal exemptions         list of EOL facilities           feedback received from          candidate list of EOL
                                                                                      stakeholders, etc.              facilities


                                                     PJM determines if any changes to the list
TEAC / SRRTEP                                                                                                         Posting of violations,    Competitive
                                                     of violations is required due to continued
Meeting(s)                                                                                                            noting exclusions,
                                                     refinement of analysis, feedback received                                                  Proposal
                                                                                                                      EOL overlaps, etc.
                                                     from stakeholders, etc.                                                                    Window
Transmission
Owners
Non-Incumbent
Entities
                                                     Review preliminary violations posted to determine if there are
                                                     any questions concerning the violations or the competitive
Stakeholders                                         proposal exemptions – Advise PJM of any issues / questions


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                                                                              30                                                               JA0079
                                                                                                                                                 PJM©2020
                         EOL Process
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                                         Integration    into
                                         Filed Date: 06/12/2020
                               USCA Case #21-1246 Document      the Annual
                                                           #1962371              RTEPPage
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                                                                  PJM evaluates solutions submitted through the
                              Continued                           competitive proposal window to determine if the
PJM                                                               projects mitigate the violations posted in the
                                                                  competitive proposal window


TEAC / SRRTEP                                                                                                       PJM discusses
Meeting(s)                                                                                                          project proposals



Transmission          Submit proposals to mitigate
                      violations identified in
Owners                competitive proposal window


Non-Incumbent          Submit proposals to mitigate
                       violations identified in
Entities               competitive proposal window



Stakeholders

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                                                                    31                                                         JA0080
                                                                                                                                 PJM©2020
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                                                                                      EOL Planning
                                                                                Filed: 09/06/2022
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                                                                                                          Analysis (3c)
 Business Rationale:                                                                                Business Thoughts on
   • PJM performs planning processes for all TO EOL retirement                                      Stakeholder Packages:
     determinations for facilities identified as under PJM’s Markets &                              • The stakeholder package
     Reliability and Reliability BES, ensuring the current level of reliability                       introduces a dichotomy by
     and considering impacts to operational performance; market efficiency                            requiring EOL determination
     and to ensure the solution does not result in the creation of CIP-014                            6–8 years in advance while
     critical facilities.                                                                             also verifying asset
                                                                                                      management
   • PJM’s five-year notification for potential EOL candidates links to RTEP                          determinations, which
     needs identification.                                                                            typically occur within a
                                                                                                      1–3 year timeframe.
   • Posting a subset of EOL retirement/replacement candidate list that
     interact with RTEP violations provides the appropriate level of                                • The stakeholder package
     actionable transparency allowing for potential broader regional                                  does not honor the
     solutions when EOL and RTEP violations overlap.                                                  difference between asset
   • A five year candidate list permits broader regional solution when RTEP                           management and system
     violations overlap while allowing asset owner to prolong asset life                              planning.
     based on EOL Determination program

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www.pjm.com                                                               32                                            JA0081
                                                                                                                          PJM©2020
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                                                                                        EOL Planning
                                                                                Filed: 09/06/2022
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                                                                                                           Analysis (3c)

     Legal                               As part of the review of Supplemental Projects PJM will
     Analysis:                           also apprise the relevant TO if a baseline upgrade might
     See, e.g.,                          alleviate or partially mitigate the need for a Supplemental
     Manual 14B,                         Project. In addition, PJM will determine if a Supplemental
     Section 1.1
                                         Project might impact a baseline need identified through the
     which provides
     that:                               RTEP process, which might be in progress. A discussion of
                                         guidelines associated with potential for overlapping needs
                                         is detailed in Manual 14B, in Section 1.4.2.




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www.pjm.com                                                               33                                      JA0082
                                                                                                                    PJM©2020
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                                       USCA Case #21-1246   Document #1962371
                                                                                        EOL Planning
                                                                                Filed: 09/06/2022
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                                                                                                           Analysis (3c)

     Legal                               During a review of the RTEP analysis, it may become
     Analysis:                           apparent that a supplemental need identified in the
     Manual 14B,                         Attachment M-3 Process may interact with an identified
     Section 1.4.2                       violation, system condition, economic constraint, or public
     provides in
                                         policy requirement posted on the PJM website. In this
     part:
                                         case, PJM will provide notice of the potential interaction
                                         associated with the posted system condition by posting
                                         the newly available information to the PJM website and
                                         provide notification to stakeholders.




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www.pjm.com                                                               34                                      JA0083
                                                                                                                    PJM©2020
 Document Accession #: 20200612-5124      Filed Date: 06/12/2020
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                                                                                        EOL Planning
                                                                                Filed: 09/06/2022
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                                                                                                           Analysis (3c)

  Legal Thoughts on Stakeholder Package:
    • To the extent the stakeholder proposal is proposing to                     • CTOA, Section 5.2 did not transfer to PJM the
      require that all proposed EOL facilities are planned for                     decision to retire TOs’ transmission facilities.
      by PJM through its RTEP process, such authority was                          In fact, Section 5.2 specifically stated that
      not transferred to PJM under the CTOA. Specifically,                         “PJM shall not challenge any such sale,
         – Regarding planning, the TOs explicitly transferred to PJM per           disposition, retirement, merger, or other action
           CTOA, Section 4.1.4:                                                    under this Section 5.2 on the basis that they
                                                                                   are a signatory to this Agreement.”
               • The responsibility to prepare an RTEP, which is defined in
                 the Tariff as “the plan prepared by [PJM] pursuant to           • CTOA, Section 5.6 reserves to the TOs rights
                 Operating Agreement, Schedule 6 for the enhancement               not specifically transferred by the TOs to PJM
                 and expansion of the Transmission System in order to              under the CTOA. Based on Section 5.2
                 meet the demands for firm transmission service in the PJM         above, PJM does not have planning authority
                 Region.”                                                          over the TOs EOL program/process such as
               • The authority to reasonably request from the TOs                  requiring that the TOs utilize a 10-year
                 information need by PJM to prepare the RTEP.                      planning horizon.



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                                       USCA Case #21-1246   Document #1962371
                                                                                               Status
                                                                                Filed: 09/06/2022
                                                                                                           Quo (3b, 4, 6, 8)
                                                                                                 Page 95 of 602




                                                                     Business Rationale:
          PJM Solution Option:                                        • The PJM solution separates asset
          No change to Competition,                                     management from system planning.
          Documentation
          (Summarizing EOL Look-                                       • The PJM solution leverages existing
          Ahead by zone),                                                committee processes, which are
          Supplemental and RTEP                                          continuously modified in an effort to
          definition Design                                              strive for continuous improvement.
          Components.




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                                       USCA Case #21-1246   Document #1962371   Filed: 09/06/2022
                                                                                                    Status       Quo (3b, 4, 6, 8)
                                                                                                     Page 96 of 602




   Legal Analysis:
   • To the extent the stakeholder proposal is                                    • CTOA, Section 5.2 did not transfer to PJM
     proposing to require that all proposed EOL                                     the decision to retire TOs’ transmission
     facilities are planned for by PJM through its RTEP                             facilities. In fact, Section 5.2 specifically
     process, such authority was not transferred to PJM                             stated that “PJM shall not challenge any
     under the CTOA. Specifically,                                                  such sale, disposition, retirement, merger,
                                                                                    or other action under this Section 5.2 on
         – Regarding planning, the TOs explicitly transferred to PJM                the basis that they are a signatory to this
           per CTOA, Section 4.1.4:                                                 Agreement.”
               • The responsibility to prepare an RTEP, which is defined in       • CTOA, Section 5.6 reserves to the TOs
                 the Tariff as “the plan prepared by [PJM] pursuant to
                                                                                    rights not specifically transferred by the
                 Operating Agreement, Schedule 6 for the enhancement and
                                                                                    TOs to PJM under the CTOA. Based on
                 expansion of the Transmission System in order to meet the
                                                                                    Section 5.2 above, PJM does not have
                 demands for firm transmission service in the PJM Region.”
                                                                                    planning authority over the TOs EOL
               • The authority to reasonably request from the TOs                   program/process such as requiring that
                 information need by PJM to prepare the RTEP.                       the TOs utilize a 10-year planning horizon.
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www.pjm.com                                                               37                                               JA0086
                                                                                                                             PJM©2020
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                                       USCA Case #21-1246   Document #1962371
                                                                                               Status
                                                                                Filed: 09/06/2022
                                                                                                           Quo (3b, 4, 6, 8)
                                                                                                 Page 97 of 602




          Legal Thoughts on Stakeholder Package:
          Based on PJM’s review of the governing documents, the PJM TOs did
          not transfer to PJM the authority to plan for enhancements or
          expansions not needed to address PJM planning criteria set forth in
          the OA, Schedule 6 or a TO’s asset management activity or projects;
          and, therefore, the stakeholders cannot accord to PJM through
          revisions to the OA authority not specifically transferred to PJM under
          the CTOA. See CTOA, Section 5.6.



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                                                                                          PJMPage
                                                                                              Package
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                                                                                                            Next Steps


        Documentation Impacts                                      Answer               Solicit        Evaluate
        PJM is investigating impact to                             Questions            Feedback       Feedback to
        Governing Document and Manuals
                                                                                                       Improve PJM
         • PJM believes PJM’s Package                                                                  Package
           does not substantially impact
           Governing Documents
              ‒ No impact to CTOA
              ‒ PJM is performing a more detailed
                review of Operating Agreement

         • PJM’s Package will result in
           modifications to Manual 14B




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                                  Overlapping Issues in the RTEP

                                                                               Aaron Berner, Manager – Transmission Planning




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                                                                                                                        PJM©2020
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                                       USCA Case #21-1246
                                                                    Intersection
                                                             Document #1962371
                                                                                     of Baseline
                                                                              Filed: 09/06/2022
                                                                                                           and EOL Needs
                                                                                                Page 100 of 602




                       OVERLAP IDENTIFIED FOR BASELINE AND EOL CANDIDATES

                                                                                                   Review circumstances
                                                            PJM determines that                    associated with all needs
       Baseline and                                         baseline and EOL
                                                            candidates intersect                   Determine path forward
       EOL candidates
                                                                                                   for RTEP
       are identified
       that have
       potential for                                        One solution does not
                                                                                                   RTEP Baseline proceeds
       overlap of                                           solve both needs
                                                                                                   and TO determines next
       solutions                                            (baseline upgrade does not
                                                                                                   step for EOL candidate
                                                            eliminate the need for an
                                                                                                   project
                                                            EOL project)


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www.pjm.com                                                                 41                                     JA0090
                                                                                                                     PJM©2020
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                                      USCA Case #21-1246
                                                                   ViolationFiled:
                                                            Document #1962371
                                                                               and       EOLPageon
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                                                                                                     Different Circuits
                                                                                                 101 of 602




     Example 1


       A
                                            B              A thermal violation           on circuit C-D
          C
                                      D


       A
                                            B              An EOL candidate               is identified on
         C                                                 circuit A-B
                                  D                                                         Thermal violation   EOL candidate

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                                                                           42                                     JA0091
                                                                                                                    PJM©2020
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                                                                               and       EOLPageon
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                                                                                                     Different Circuits
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     Example 1

     •      The project that upgrades A-B may or may not be able to
            address the issues identified on circuit C-D, and vice                               A
            versa. If A-B has load tapped from the circuit or the                                                      B
            network for A-B and C-D beyond the endpoints of this
            diagram for each circuit shown diverges, then upgrades                                 C
            made to circuit C-D are not guaranteed to eliminate the                                              D
            issues with EOL on A-B

     •      If A-B and C-D do not share common facilities then it may
            be unlikely that a baseline upgrade to C-D eliminates the
            EOL issue on A-B

            If PJM determines no overlap, no note of EOL
            candidate in posting for competitive window                                    Thermal violation   EOL candidate

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                                                                           43                                     JA0092
                                                                                                                    PJM©2020
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                                                                               and       EOLPageon
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                                                                                                     Different Circuits
                                                                                                 103 of 602




     Example 2


    A
                                         B                 A thermal violation           on circuit C-D
       C
                                 D


    A                                                   An EOL candidate        is identified on
                                         B              circuit A-B (Circuits C-D and A-B are on
      C                                                 same structures)
                               D
                                                                                            Thermal violation   EOL candidate

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                                                                           44                                     JA0093
                                                                                                                    PJM©2020
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                                                                               and       EOLPageon
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     Example 2


    The project that upgrades A-B may or may not be able to
    address the issues identified on circuit C-D. If A-B and C-D                                 A
    share common facilities, and the upgrade to C-D appears to                                                         B
    require a rebuild of C-D then it is likely that A-B should be                                 C
    replaced at the same time work is completed for the C-D                                                      D
    circuit (rebuild requirement will be based on magnitude of
    overload and conductor rating information)

    PJM notes in posting for the competitive process that the EOL issue is identified
    along with a violation that PJM believes may overlap the EOL issue

                                                                                           Thermal violation   EOL candidate

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                                                                           45                                     JA0094
                                                                                                                    PJM©2020
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                                      USCA Case #21-1246
                                                                        Violation
                                                            Document #1962371
                                                                                       and EOL
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                                                                                                        on Same Circuits
                                                                                                Page 105 of 602




     Example 3


       A                                                   A thermal violation    on circuit A-B is
                                         B                 identified which requires mitigation


       A                                                   Circuit A-B is identified as an
                                         B                 EOL candidate

      PJM notes in posting for the competitive process that the EOL issue is identified
      along with a violation that PJM believes may overlap the EOL issue

                                                                                             Thermal violation   EOL candidate

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                                                                           46                                      JA0095
                                                                                                                     PJM©2020
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                                      USCA Case #21-1246    Document #1962371
                                                                                       Violation
                                                                                Filed: 09/06/2022
                                                                                                    and EOL <200 kV
                                                                                             Page 106 of 602




  Example 4


       A                                          An EOL candidate                          is identified on circuit A-B
                                         B
         C                                        A thermal violation on circuit C-D at < 200
                                D
                                                  kV with no other violations
     In this example, the single violation on the < 200 kV facility does not meet the requirement to list
     the facility as available for competition in accordance with the Operating Agreement Schedule 6,
     Section 1.5.8(n)(i) & (ii). This determination does not change if the facility A-B and C-D are the
     same facility (both violations on a single facility)

     The EOL facility from the EOL Candidate List would not be noted on the posting of the violation.
     A note would indicate the facility would not be available for competition due to the exemption for
     the facility being < 200 kV
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                                                                           47                                     JA0096
                                                                                                                    PJM©2020
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                                                                                       Violation
                                                                                Filed: 09/06/2022
                                                                                                    and EOL <200 kV
                                                                                             Page 107 of 602




     Example 5

      A                   B              C
                                                  An EOL candidate                           is identified on circuit B-F
                      D
                                                  Thermal violations are identified on circuits
                                F                 B-C and D-E at < 200 kV
               E
    In this example, the multiple violations on the < 200kV facilities meets the requirement to list the
    facility as available for competition in accordance with the Operating Agreement Schedule 6,
    Section 1.5.8(n)(i) & (ii). This determination does not change if the EOL candidate directly
    overlaps any of the thermal violations
    A note would be placed in the posting indicating the exception to the < 200 kV exemption from
    competition, and the EOL facility from the EOL Candidate List would be listed as well.
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                                                                           48                                      JA0097
                                                                                                                     PJM©2020
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         FERC rendition of the electronically filed tariff records in Docket No. ER20-02046-000
         Filing Data:
         CID: C000030
         Filing Title: Amendments to Attachment M-3
         Company Filing Identifier: 5016
         Type of Filing Code: 10
         Associated Filing Identifier:
         Tariff Title: Intra-PJM Tariffs
         Tariff ID: 23
         Payment Confirmation:
         Suspension Motion:


         Tariff Record Data:
         Record Content Description, Tariff Record Title, Record Version Number, Option Code:
          OATT ATT M-3, OATT Attachment M-3, 1.0.0, A
         Record Narative Name:
         Tariff Record ID: 1655
         Tariff Record Collation Value: 430060800      Tariff Record Parent Identifier: 357
         Proposed Date: 2020-08-11
         Priority Order: 500
         Record Change Type: CHANGE
         Record Content Type: 1
         Associated Filing Identifier:

                                         ATTACHMENT
                                              M-3
                               ADDITIONAL PROCEDURES FOR PLANNING
                       SUPPLEMENTAL PROJECTS AND ASSET MANAGEMENT PROJECTS

          (a) Applicability. Each Transmission Owner shall be responsible for planning and
              constructing in accordance with Schedule 6 of the Operating Agreement as provided in this
              Attachment M-3, to the extent applicable, (i) Asset Management Projects, as defined herein,
              (ii) Supplemental Projects, as defined in section 1.42A.02 of the Operating Agreement, and
              (iii) any other transmission expansion or enhancement of Transmission Facilities that is not
              planned by PJM to address one or more of the following planning criteria:

                  1.        NERC Reliability Standards (which includes Applicable Regional Entity
                            reliability standards);

                  2.        Individual Transmission Owner planning criteria as filed in FERC Form No. 715
                            and posted on the PJM website, provided that the Additional Procedures for the
                            Identification and Planning of EOL Needs, set forth in section (d), shall apply, as
                            applicable;

                  3.        Criteria to address economic constraints in accordance with section 1.5.7 of the
                            Operating Agreement or an agreement listed in Schedule 12-Appendix B;

                  4.        State Agreement Approach expansions or enhancements in accordance with
                            section 1.5.9(a)(ii) of the Operating Agreement; or

                  5.        An expansion or enhancement to be addressed by the RTEP Planning Process
                            pursuant to section (d)(2) of this Attachment M-3 in accordance with RTEP
                            Planning Process procedures in Schedule 6 of the Operating Agreement.




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          This Attachment M-3 shall not apply to CIP-014 mitigation projects that are subject to
          Attachment M-4.

          (b) Definitions.

                1.     Asset Management Project. “Asset Management Project” shall mean any
                       modification or replacement of a Transmission Owner’s Transmission Facilities
                       that results in no more than an Incidental Increase in transmission capacity
                       undertaken to perform maintenance, repair, and replacement work, to address an
                       EOL Need, or to effect infrastructure security, system reliability, and automation
                       projects the Transmission Owner undertakes to maintain its existing electric
                       transmission system and meet regulatory compliance requirements.

                2.     Attachment M-3 Project. “Attachment M-3 Project” means (i) an Asset
                       Management Project that affects the connectivity of Transmission Facilities that
                       are included in the Transmission System, affects Transmission Facility ratings or
                       significantly changes the impedance of Transmission Facilities; (ii) a
                       Supplemental Project; or (iii) any other expansion or enhancement of
                       Transmission Facilities that is not excluded from this Attachment M-3 under any
                       of clauses (1) through (5) of section (a). “Attachment M-3 Project” does not
                       include a project to address Form No. 715 EOL Planning Criteria. 3.
                               Incidental Increase. “Incidental Increase” shall mean an increase in
                       transmission capacity achieved by advancements in technology and/or
                       replacements consistent with current Transmission Owner design standards,
                       industry standards, codes, laws or regulations, which is not reasonably severable
                       from an Asset Management Project. A transmission project that results in more
                       than an Incidental Increase in transmission capacity is an expansion or
                       enhancement of Transmission Facilities.

                4.     Transmission Facilities. “Transmission Facilities” shall have the meaning set
                       forth in the Consolidated Transmission Owners Agreement, section 1.27.

                5.     EOL Need. “EOL Need” shall mean a need to replace a transmission line
                       between breakers operating at or above 100 kV or a transformer, the high side of
                       which operates at or above 100 kV and the low side of which is not connected to
                       distribution facilities, which the Transmission Owner has determined to be near
                       the end of its useful life, the replacement of which would be an Attachment M-3
                       Project.

                6.     Candidate EOL Needs List. “Candidate EOL Needs List” shall have the meaning
                       ascribed to it in section (d)(1)(iii).

                7.     Form No. 715 EOL Planning Criteria. “Form No. 715 EOL Planning Criteria”
                       shall mean planning criteria filed by a Transmission Owner in FERC Form No.
                       715 to address EOL Needs. No Transmission Owner may be compelled to file a
                       Form No. 715 EOL Planning Criteria not required to be filed pursuant to FERC
                       regulations applicable to Form No. 715.



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                8.    Attachment M-3 EOL Planning Criteria. “Attachment M-3 EOL Planning
                      Criteria” shall mean planning criteria utilized by a Transmission Owner under
                      Attachment M-3 to address EOL Needs.

                9.    PJM Planning Criteria Need. “PJM Planning Criteria Need” shall mean a need to
                      plan a transmission expansion or enhancement of Transmission Facilities other
                      than those reserved to each Transmission Owner in accordance with section (a).

                10.   RTEP Planning Process. “RTEP Planning Process” shall mean the process by
                      which PJM develops the Regional Transmission Expansion Plan under Schedule 6
                      of the Operating Agreement.

          (c) Procedures for Review of Attachment M-3 Projects. The following procedures shall
          be applicable to the planning of Attachment M-3 Projects:

                1.    Review of Attachment M-3 Projects. As described in sections 1.3(c) and (d) of
                      Schedule 6 of the Operating Agreement, the Subregional RTEP Committees
                      shall be responsible for the review of Attachment M-3 Projects. The Subregional
                      RTEP Committees shall have a meaningful opportunity to participate and
                      provide feedback, including written comments, throughout the transmission
                      planning process for Attachment M-3 Projects. Disputes shall be resolved in
                      accordance with the procedures set forth at Schedule 5 of the Operating
                      Agreement. For purposes of this section (c), reference to the Subregional RTEP
                      Committees shall be deemed to include the Transmission Expansion Advisory
                      Committee (TEAC) when the TEAC reviews Attachment M-3 Projects in
                      accordance with these procedures.

                2.    Review of Assumptions and Methodology. In accordance with sections 1.3(d),
                      1.5.4(a), and 1.5.6(b) and 1.5.6(c) of Schedule 6 of the Operating Agreement,
                      each Subregional RTEP Committee shall schedule and facilitate a minimum of
                      one Subregional RTEP Committee meeting to review the criteria, assumptions,
                      and models Transmission Owners propose to use to plan and identify Attachment
                      M-3 Projects (Assumptions Meeting). Each Transmission Owner shall provide
                      the criteria, assumptions, and models to PJM for posting at least 20 days in
                      advance of the Assumptions Meeting to provide Subregional RTEP Committee
                      Participants sufficient time to review this information. Stakeholders may provide
                      comments on the criteria, assumptions, and models to the Transmission Owner
                      for consideration either prior to or following the Assumptions Meeting. The
                      Transmission Owner shall review and consider comments that are received
                      within 10 days of the Assumptions Meeting and may respond or provide
                      feedback as appropriate.

                3.    Review of System Needs. No fewer than 25 days after the Assumptions
                      Meeting, each Subregional RTEP Committee shall schedule and facilitate a
                      minimum of one Subregional RTEP Committee meeting per planning cycle to
                      review the identified criteria violations and resulting system needs, if any, that
                      may drive the need for an Attachment M-3 Project (Needs Meeting). Each



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                      Transmission Owner will review the identified system needs and the drivers of
                      those needs, based on the application of its criteria, assumptions, and models that
                      it uses to plan Attachment M-3 Projects. The Transmission Owners shall share
                      and post their identified criteria violations and drivers no fewer than 10 days in
                      advance of the Needs Meeting. Stakeholders may provide comments on the
                      criteria violations and drivers to the Transmission Owner for consideration prior
                      to, at, or following the Needs Meeting. The Transmission Owner shall review
                      and consider comments that are received within 10 days of the Needs Meeting
                      and may respond or provide feedback as appropriate.

                4.    Review of Potential Solutions. No fewer than 25 days after the Needs Meeting,
                      each Subregional RTEP Committee shall schedule and facilitate a minimum of
                      one Subregional RTEP Committee meeting per planning cycle to review
                      potential solutions for the identified criteria violations (Solutions Meeting). The
                      Transmission Owners shall share and post their potential solutions, as well as
                      any alternatives identified by the Transmission Owners or stakeholders, no fewer
                      than 10 days in advance of the Solutions Meeting. Stakeholders may provide
                      comments on the potential solutions to the Transmission Owner for
                      consideration either prior to or following the Solutions Meeting. The
                      Transmission Owner shall review and consider comments that are received
                      within 10 days of the meeting and may respond or provide feedback as
                      appropriate.

                5.    Submission of Attachment M-3 Projects. Each Transmission Owner will
                      finalize for submittal to the Transmission Provider Attachment M-3 Projects for
                      inclusion in the Local Plan in accordance with section 1.3 of Schedule 6 of the
                      Operating Agreement and the schedule established by the Transmission
                      Provider. Stakeholders may provide comments on the Attachment M-3 Projects
                      in accordance with section 1.3 of Schedule 6 of the PJM Operating Agreement
                      before the Local Plan is integrated into the Regional Transmission Expansion
                      Plan. Stakeholders shall have at least 10 days to comment on the Local Plan
                      after the solutions selected by the Transmission Owner for inclusion in the Local
                      Plan are posted. Each Transmission Owner shall review and consider comments
                      that are received at least 10 days before the Local Plan is submitted for
                      integration into the Regional Transmission Expansion Plan.

                6.    Information Relating to Attachment M-3 Projects. Information relating to
                      each Transmission Owner’s Attachment M-3 Projects will be provided in
                      accordance with, and subject to the limitations set forth in, section 1.5.4 of
                      Schedule 6 of the Operating Agreement. Local Plan Information will be provided
                      to and posted by the Office of Interconnection as set forth in section 1.5.4(e) of
                      Schedule 6 of the Operating Agreement.




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                7.    No Limitation on Additional Meetings and Communications or Use of
                      Attachment M-3 For Other Transmission Projects.

                      i.     Nothing in this Attachment M-3 precludes any Transmission Owner from
                             agreeing with stakeholders to additional meetings or other
                             communications regarding Attachment M-3 Projects, in addition to the
                             Subregional RTEP Committee process.

                      ii.    Nothing in this Attachment M-3 precludes a Transmission Owner from
                             using the procedures set forth in section (c) to solicit stakeholder input in
                             the planning of Transmission Facilities not subject to this section (c) or
                             the RTEP Planning Process.

          (d)   Additional Procedures for the Identification and Planning of EOL Needs.

                1.    EOL Need Planning Criteria Documentation and Identification

                      i.     Each PJM Transmission Owner shall develop documentation for its
                             Attachment M-3 EOL Planning Criteria and/or its Form 715 EOL
                             Planning Criteria through which each identifies EOL Needs.

                      ii.    Each Transmission Owner’s Attachment M-3 EOL Planning Criteria
                             and/or Form 715 EOL Planning Criteria shall be clearly and separately
                             delineated and presented by the Transmission Owner at least once
                             annually pursuant to section (c)(2) and/or in its FERC Form No. 715 at a
                             meeting of the TEAC.

                      iii.   Annually, each Transmission Owner will provide to PJM a Candidate
                             EOL Needs List comprising its non-public confidential, non-binding
                             projection of up to 5 years of EOL Needs that it has identified under the
                             Transmission Owner’s processes for identification of EOL Needs
                             documented under section (d)(1)(i). Each Transmission Owner may
                             change its projection as it deems necessary and will update it annually.
                             Any Candidate EOL Needs List provided to PJM shall remain
                             confidential within PJM, except to the extent necessary for PJM to make
                             the determination referenced in clause (a) of section (d)(2)(ii).

                2.    Coordination of EOL Needs Planning With PJM Planning Criteria Needs.

                      i.     If, as part of the RTEP Planning Process, PJM initially determines that a
                             substantial electrical overlap exists such that a single Solution may
                             address a validated PJM Planning Criteria Need(s) identified during the
                             current PJM planning cycle under the RTEP Planning Process and
                             address a projected EOL Need on the Candidate EOL Needs List, which
                             the relevant Transmission Owner has confirmed remains a projected EOL
                             Need, the relevant Transmission Owner shall consult with PJM regarding
                             such potential overlap.



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                       ii.    If, (a) PJM determines through the RTEP Planning Process that a proposed
                              Required Transmission Enhancement would more efficiently and
                              cost-effectively address the identified PJM Planning Criteria Need and
                              may, as well, address the projected EOL Need confirmed under section
                              (d)(2)(i), and (b) the proposed Required Transmission Enhancement is not
                              a solution proposed by the Transmission Owner pursuant to section (c)(4),
                              and (c) the Transmission Owner determines that the projected EOL Need
                              is not met by the proposed Required Transmission Enhancement and
                              determines that it will plan an Attachment M-3 Project to address the
                              projected EOL Need or propose a project to address the Form No. 715
                              EOL Planning Criteria, the Transmission Owner will provide
                              documentation to PJM and stakeholders on the rationale supporting its
                              determination at the next appropriate meeting of the TEAC or Subregional
                              RTEP Committee that considered the proposed Required Transmission
                              Enhancement.

          (e)    Modifications. This Attachment M-3 may only be modified under section 205 of the
                 Federal Power Act if the proposed modification has been authorized by the PJM
                 Transmission Owners Agreement-Administrative Committee in accordance with
                 section 8.5 of the Consolidated Transmission Owners Agreement.




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   Document Content(s)
   5016-2d09a376-7433-42b5-b618-36fa67bf158f.PDF.............................1
   5016-8357baf0-5e7f-42f0-981f-86bfd73cf134.PDF............................24
   5016-1715ec54-d046-4a5e-93a9-641a0a87ed55.PDF............................31
   5016-747cb36d-2e9a-43ae-a22e-66aa368e39a0.PDF............................38
   5016-2d2cfd26-3e7a-4c6e-872f-db97e6aca375.PDF............................40
   5016-f0d18f5b-6f64-4c94-b527-886216c89584.PDF............................49
   FERC GENERATED TARIFF FILING.RTF.........................................98




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         Submission Description: (doc-less) Motion to Intervene of American Municipal
         Power, Inc. under ER20-2046-000.

         Submission Date:         6/18/2020 4:51:16 PM

         Filed Date:              6/18/2020 4:51:16 PM

         Dockets
         -------
         ER20-2046-000        PJM Interconnection, L.L.C. submits tariff filing per
         35.13(a)(2)(iii): Amendments to Attachment M-3 submitted on 6/12/2020 2:07:24
         PM, Filing Type code: 10

         Filing Party/Contacts:

         Filing Party                              Signer (Representative)
             Other Contact (Principal)
         ------------                              -----------------------
             -------------------------
         American Municipal Power, Inc.            lmcalister@amppartners.org
             ghull@amppartners.org

         Basis for Intervening:
         American Municipal Power, Inc. (â€œAMPâ€) is a nonprofit Ohio corporation
         with members in Delaware, Indiana, Kentucky, Maryland, Michigan, Ohio,
         Pennsylvania, Virginia, and West Virginia, the majority of which are
         load-serving entities within the PJM Interconnection, L.L.C. (â€œPJMâ€)
         region. To meet those membersâ€™ load service responsibilities, AMP purchases
         transmission and related services from PJM and also purchases and sells
         electricity products in the markets operated by PJM. On June 12, 2020, the
         PJM Transmission Owners filed amendments to Attachment M-3 of PJMâ€™s Open
         Access Transmission Tariff (â€œTariffâ€). As entities that may be impacted
         by these revisions to the Tariff, AMP and its members have an interest in
         this proceeding that cannot be adequately represented by any other party.
         Accordingly, and since it is in the public interest, AMP moves to intervene
         herein.




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   Document Content(s)
   1106007_Interv.TXT........................................................1




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                                        UNITED STATES OF AMERICA
                                               BEFORE THE
                                 FEDERAL ENERGY REGULATORY COMMISSION


             PJM Interconnection, L.L.C.                    )
                                                            )                     Docket No. ER20-2046-000
             American Transmission Systems,                 )
                   Incorporated, et al                      )

                     MOTION TO DISMISS FILING, WITHOUT PREJUDICE, AND SUSPEND
                   PROCEDURAL SCHEDULE UNTIL RULING ON MOTION TO DISMISS AND
                             MOTION FOR SHORTENED ANSWER PERIOD

                   Pursuant to Rules 212, 213 and 217 of the Federal Energy Regulatory Commission’s

         Rules of Practice and Procedure,1 AMP Transmission, LLC. (“AMPT”) and Old Dominion

         Electric Cooperative (“ODEC” and collectively with AMPT “Movants”) move the Commission

         to dismiss, without prejudice, the June 12, 2020 Federal Power Ace (“FPA”) Section 2052 filing

         by PJM Interconnection, L.L.C. (“PJM”) on behalf of the PJM Transmission Owners seeking to

         Amend Attachment M-3 to the PJM Open Access Transmission Tariff (“Tariff”) (“TO Filing”).3

         As discussed herein, the TO Filing arose after the Sponsoring Transmission Owners (or group

         thereof), acting outside the terms of the Consolidated Transmission Owner Agreement

         (“CTOA”), had a “notice” issued that purported to be on behalf of the Transmission Owners

         Agreement Administrative Committee (“TOA-AC”). That Notice violated the terms of the

         CTOA and in doing so violated the rights of AMPT and ODEC as PJM Transmission Owners




         1
                   18 CFR § 385.212, 18 CFR § 385.213 & 18 CFR § 385.217.
         2
                   16 U.S.C. § 824d.
         3
                   Amendments to Attachment M-3 to PJM Interconnection L.L.C. Open Access Transmission Tariff,
                   filed June 12, 2020 by PJM on behalf of the PJM Transmission Owners (“June 12 Filing”). For
                   purposes of this Motion the sponsoring PJM Transmission Owners are referred to as the
                   “Sponsoring Transmission Owners”.
                                                                1


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         and parties to the CTOA. Because the Section 205 Filing was dependent on proper Notice, the

         June 12 Filing is ultra vires, fatally deficient and should be dismissed.

                As a consequence of the Filing being fatally deficient, thus requiring summary dismissal,

         the Movants request that the Commission suspend the Comment Date in this proceeding,

         currently set for July 6, 2020, until ruling on the Motion to Dismiss. Further, because of the

         request to suspend the Comment Date and the fact that the underlying deficiency is unassailable

         (i.e., that the TOA-AC violated its requirements for action), the Movants request a shortened

         answer period to this Motion of five business days from filing.

                Although dismissal of a Section 205 filing is unusual, the Commission must demand that

         the Sponsoring Transmission Owners, and more importantly the TOA-AC, follow the

         requirements of the CTOA in order to ensure compliance with this contract, and in order to

         ensure that the rights of all Transmission Owners, particularly minority Transmission Owners,

         are appropriately respected, as well as those of PJM stakeholders who rely on adherence to those

         obligations in an open and transparent forum.

         I.     FACTUAL BACKGROUND

                On June 12, 2020, the PJM Transmission Owners made a filing with the Commission to

         amend Attachment M-3 to the PJM Tariff. AMPT and ODEC, among other Transmission

         Owners who are signatories to the CTOA, voted against the proposal and its filing. This Motion

         is unrelated the outcome of that vote. The vote should never have occurred because the TOA-

         AC failed to follow its obligation to hold a meeting and take a formal vote before initiating

         action purporting to be on behalf of the TOA-AC, i.e., the Notice required by Section 9.1(b) of

         the PJM Tariff.4 Section 9.1(b) requires that “[t]he Transmission Owners shall consult with PJM


         4
                In making this Motion, the Movants do not concede that the PJM Transmission Owners have the
                unilateral right to make a collective Section 205 filing related to planning matters and reserve
                                                                  2


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         and the PJM Members Committee beginning no less than thirty (30) days prior to any Section

         205 filing . . ..”5 The June 12 Filing acknowledges this requirement.6

                In their filing letter, the PJM Transmission Owners assert that they were “acting through”

         the CTOA with respect to the filing. In the footnote to that assertion, the Sponsoring

         Transmission Owners further assert that “on May 7, 2020, pursuant to Section 9.1(b) of the PJM

         Tariff, the PJM Transmission Owners initiated consultation with PJM and with the PJM

         Members Committee by providing notice of the modifications proposed in this filing together

         with a draft of those modifications.”7 This statement is vague as “Transmission Owners” is not

         defined.

                The May 7, 2020 Notice states “the CTOA Administrative Committee hereby initiates

         consultation with the PJM Members Committee with regard to proposed changes to Attachment

         M-3 of the PJM Tariff (“Proposed Attachment M-3 Amendments”).”8 Although the Notice

         unequivocally states that the TOA-AC is initiating the required consultation, the TOA-AC held

         no meeting nor took any vote authorizing the TOA-AC to initiate such action.            The Movants

         were given no prior notice that the TOA-AC would send notice or otherwise take action that

         could be construed as being taken on behalf of all PJM Transmission Owners. In fact, when the

         TOA-AC did hold a meeting on June 10, 2020, to vote on whether to file the proposal, AMPT




                their right to demonstrate no such right exists under the PJM Tariff. Nevertheless, even if such a
                right existed under Section 9.1, the instant filing is fatally deficient as the TOA-AC did not follow
                the requirements of the CTOA before issuing the Notice upon which the Filing was premised.
         5
                PJM Tariff Section 9.1(b)
         6
                June 12 Filing at 1.
         7
                Id.
         8
                A copy of the Notice is attached hereto as Exhibit 1.
                                                                 3


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         requested that the TOA-AC meeting minutes reflect the objection by a minority of Transmission

         Owners to the May 7 2020 and May 30 2020 Notices being issued without a TOA-AC vote.9

         II.    OBLIGATIONS OF THE CTOA

                With respect to actions of the TOA-AC, the CTOA is very specific:

                        8.5 Manner of Acting.
                        Subject to the limitations of Section 9.7.1(a), any action taken by
                        the Administrative Committee shall require a combination of the
                        concurrence of the representatives’ Individual Votes of the
                        representatives of those Parties entitled to vote on such matters and
                        Weighted Votes as specified in this Section 8.5.10 (emphasis
                        added.)

         No vote was taken by the TOA-AC prior to the action of the TOA-AC providing Notice to PJM

         and the PJM Members Committee that certain transmission owners desired a change to

         Attachment M-3. The requirement that all actions of the TOA-AC are subject to a vote is

         further confirmed by Sections 8.5.1 and 8.5.2 addressing the “Action By Two-thirds Majority”

         and “Action by Simple Majority” respectively. Section 8.5.1 starts out that “[t]he following

         actions of the Administrative Committee shall require” and then lists actions requiring a vote by

         two-thirds majority. Section 8.5.2 states:

                        Action by the Administrative Committee on any matter other
                        than those specified in Section 8.5.1 shall require: (i) the
                        presence of a quorum at the time of the vote; and (ii) the
                        concurrence of: (a) representatives’ whose combined Individual
                        Votes exceed one-half of the total Individual Votes cast at a
                        meeting; and (b) representatives’ whose combined Weighted
                        Votes exceed one-half of the total Weighted Votes cast at a
                        meeting. (emphasis added.)




         9
                The meeting minutes from the June 10, 2020 Open Meeting of the TOA-AC have not yet been
                issued or approved by the TOA-AC but there were no objections to the request.
         10
                Referenced Section 9.7.1(a) related to Defaults by Parties to the CTOA and thus the loss of vote.
                                                                4


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         Finally, Section 8.4 of the CTOA addresses “Meetings” and the requirements for such meetings.

         Those requirements include:

                   [8.4] that “matters to be addressed at all meetings shall be specified in the agenda
                    provided in the notice distributed pursuant to Section 8.4.1. . ..”
                   [8.4.1] “Notice of a meeting shall be distributed to the representatives not later than ten
                    (10) days prior to the meeting, provided, however, that meetings may be called on shorter
                    notice at the discretion of the Chair as the Chair shall deem necessary to deal with an
                    emergency or to meet a deadline for action. The notice shall state the time and place of
                    such meeting, and shall include an agenda sufficient to notify the representatives of the
                    substance of the matters to be considered at the meeting. In addition, notice of all
                    meetings shall be provided over the PJM website at the same time as it is provided to the
                    representatives.”
                   [8.4.4] “all meetings of the Administrative Committee shall be open to entities that are
                    signatories to the Operating Agreement and to personnel of PJM, and all matters upon
                    which the representatives vote shall be open to such entities and to such personnel.”

         The TOA-AC violated every one of the above enumerated requirements by issuing a Notice on

         behalf of the TOA-AC, simply because transmission owners with sufficient votes to compel such

         action asked.

         III.       THE JUNE 12 FILING IS FATALLY DEFICIENT AND MUST BE DISMISSED

                    The Sponsoring Transmission Owners concede that prior to making a Section 205 filing,

         even on areas reserved to their unilateral filing, Notice must be provided to PJM and the PJM

         Members Committee 30 days prior to making such a filing. Although Section 9.1(b) of the

         Tariff does not specify the manner of Notice, in this instance, because the Sponsoring

         Transmission Owners deemed it worthwhile that the Notice come from the TOA-AC. However,

         in their haste to circumvent an ongoing PJM stakeholder process, the TOA-AC violated multiple

         provisions of the CTOA, and in doing so, Movants’ rights. As set forth unquestionably above,

         for the TOA-AC to take any action, including issuing a Notice pursuant to Tariff Section 9.1(b),

         required that the TOA-AC do so after a vote, at an open meeting, for which an agenda was sent a



                                                                 5


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         least 10 days prior.11 Because these did not happen, the Notice was improper and violated the

         rights of the Movants.

                The fact that the Sponsoring Transmission Owners potentially could have provided

         Section 9.1(b) notice through a means other than the TOA-AC is of no relevance to this Motion

         to Dismiss as, for reasons known only to them, they chose to have the Notice issued by the TOA-

         AC in violation of the provisions of the CTOA. The provisions of the CTOA provide important

         safeguards for not just PJM stakeholders (through the requirement for open meetings) but for the

         transmission owners themselves. For one, the requirement for a vote after proper advance notice

         protects transmission owners that may not be in the majority to have advance knowledge of

         actions taken on their behalf by the TOA-AC. Although it may be correct that there would have

         been sufficient votes to take the action of issuing a Notice, the very act of doing so protects the

         rights of minority position transmission owners like the Movants.

                Equally important, the requirement that collective action only occur after notice to all

         transmission owners and at a meeting open to PJM and PJM members is protection for the

         transmission owners against their collective action being construed as an antitrust violation.

         Every agenda for a PJM meeting incudes an Antitrust statement to the effect:

                Antitrust:

                You may not discuss any topics that violate, or that might appear to
                violate, the antitrust laws including but not limited to agreements between
                or among competitors regarding prices, bid and offer practices, availability
                of service, product design, terms of sale, division of markets, allocation of
                customers or any other activity that might unreasonably restrain
                competition. If any of these items are discussed the chair will re-direct the
                conversation. If the conversation still persists, parties will be asked to
                leave the meeting or the meeting will be adjourned.


         11
                While there are limited exceptions to both the open meeting and prior notice agenda
                requirements, neither are applicable here as no meeting or vote was held.
                                                               6


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          When a group of transmission owners circumvent the provisions of the CTOA to take self-

         interested action purporting to be on behalf of all transmission owners and through the TOA-AC,

         they call into question whether their concerted actions were in violation of antitrust laws, causing

         harm to all transmission owners.

                 Because the Section 9.1(b) Notice, a prerequisite to collective Transmission Owner

         action under Section 205, was issued as: “the CTOA Administrative Committee hereby initiates

         consultation with the PJM Members Committee”, and because that Notice was not authorized by

         the CTOA-AC as required by the CTOA, the June 12 Filing is ultra vires, and as such, is fatally

         deficient and must be dismissed. It is also of no consequence that the purpose of Section 9.1(b)

         is to provide notice to PJM and the PJM Members, who received the Notice even though it was

         deficient. Although the purpose of the notice may have been achieved, the contractual

         protections afforded Movants as Parties to the CTOA were breached. The Sponsoring

         Transmission Owners chose their backroom approach to the Notice, and must bear the

         consequences.12



         IV.    MOTION TO SUSPEND DEADLINE FOR INTERVENTION, PROTESTS AND
                COMMENTS AND FOR A SHORTENED ANSWER PERIOD

                Movants have established that the Sponsoring Transmission Owners breached the

         requirements of the CTOA and that their Section 205 Filing is fatally deficient. The June 12

         Filing was made through eTariff in an effort to put the Commission on a 60 day clock for action.



         12
                Moreover, the only right the PJM Transmission Owners have to initiate consultation with the
                PJM Members through the Members Committee is by virtue of the TOA-AC acting. A group of
                Sponsoring Transmission Owners has no such right absent action of the TOA-AC. Thus, the
                consultation was also invalid.


                                                              7


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         The Commission set July 6, 2020 as the date for intervention and comment. Although the

         Commission could issue a deficiency letter at any point before the required action date, in light

         of the clear and intentional breach of multiple provisions of the CTOA, the Movants request that

         the Commission suspend the date for intervention and comments during the pendency of this

         motion as it is unjust to require parties to move forward with extensive responses to an ultra

         vires filing. If, notwithstanding the breaches of the CTOA outlined above, the Commission

         ultimately determines that the Section 205 filing can move forward, an appropriate comment

         period can be set. Alternatively, the Movants request that the Commission immediately issue a

         deficiency letter requiring that the Sponsoring Transmission Owners refile through eTariff once

         they have cured any deficiency in the meeting and voting requirements for an appropriately

         issued Notice and comment period.

                Pursuant to Rule 213 of the Commission’s Rules of Practice and Procedure, the Movants

         request a shortened answer period for this Motion. Parties should be able to quickly respond

         given that the Motion raises simple issues of CTOA compliance. In light of the July 6 Comment

         Date, Movants request expedited ruling on this Motion.



         V.     CONCLUSION

                As set forth fully above, the June 12 Filing must be dismissed as the Sponsoring

         Transmission Owners breached the CTOA in convincing the TOA-AC to take action through the

         issuance of a notice of consultation, without complying with the requirements for TOA-AC

         action. Specifically, Movants were deprived of notice of a meeting, an agenda identifying the

         item to be voted on with 10 days’ notice, an actual meeting and the right to vote pursuant to

         Section 8.5 of the CTOA. Further, because the Movants and all other PJM stakeholders will be


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         harmed by preparing a response to a fatally deficient filing, the Commission should suspend the

         Comment Date during the pendency of this Motion or immediately issue a deficiency letter

         tolling the statutory action period. The Movants believe the better course is to summarily

         dismiss the deficient filing.


                                                      Respectfully submitted,



          /s/ Adrienne E. Clair                                   /s/ Lisa G. McAlister
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          Washington, DC 20006
          Tel: (202) 585-6919                                    Counsel for AMP Transmission , LLC
          Email: aclair@thompsoncoburn.com

          Counsel for Old Dominion Electric Cooperative


         Dated: June 18, 2020




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                                              CERTIFICATE OF SERVICE


                 I hereby certify that I have this day served the foregoing document upon each person designated

         on the official service list compiled by the Secretary in this proceeding.

                 Dated at Washington, DC this 18th day of June 2020.



                                                           By: /s/ Adrienne E. Clair




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   ER20-2046 Motion to Dismiss.PDF...........................................1




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         Submission Description: (doc-less) Motion to Intervene of Office of the
         People's Counsel for the District of Columbia under ER20-2046-000.

         Submission Date:         7/2/2020 2:46:50 PM

         Filed Date:              7/2/2020 2:46:50 PM

         Dockets
         -------
         ER20-2046-000        PJM Interconnection, L.L.C. submits tariff filing per
         35.13(a)(2)(iii): Amendments to Attachment M-3 submitted on 6/12/2020 2:07:24
         PM, Filing Type code: 10

         Filing Party/Contacts:

         Filing Party                             Signer (Representative)
             Other Contact (Principal)
         ------------                             -----------------------
             -------------------------
         Office of the People's Counsel for the District of Columbia
         fheinle@opc-dc.gov                       apatel@opc-dc.gov


         Basis for Intervening:
         The Office of the People's Counsel for the District of Columbia was created
         by statute to protect consumer interests in matters involving public
         utilities before federal and local regulatory authorities. D.C. Code
         Â§34-804(d)(2).




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                                       UNITED STATES OF AMERICA
                                             BEFORE THE
                               FEDERAL ENERGY REGULATORY COMMISSION


         American Transmission Systems, Incorporated                          )                ER20-2046-000
                                                                              )
         PJM Interconnection, L.L.C.                                          )                ER20-2308-000
                                                                              )                (not consolidated)


          INTERESTED PARTIES’ PROTEST OF PJM TRANSMISSION OWNERS PROPOSAL
             AND COMMENTS IN SUPPORT OF THE JOINT STAKEHOLDER PROPOSAL


                 Pursuant to Rule 211 of the Federal Energy Regulatory Commission (“FERC” or

         “Commission”) Rules of Practice and Procedure, 18 C.F.R § 385.211, the Office of the People’s

         Counsel for the District of Columbia, Delaware Division of the Public Advocate, and Old

         Dominion Electric Cooperative (“ODEC”) (together the “Interested Parties”) respectfully submit

         this protest of the PJM Transmission Owners’ (“PJM TOs”) June 12, 2020 Proposed Amendments

         to Attachment M-3 of the PJM Interconnection, L.L.C. (“PJM”) Open Access Transmission Tariff

         (“Tariff”)1 and separately provide comments in support of the Joint Stakeholders’ July 2, 2020

         End of Life Proposal.2 Because of the unusual procedural posture the Commission finds itself in

         – two Section 205 filings that are incompatible with each other – the Interested Parties appreciate

         the opportunity to provide the Commission a broader perspective as it relates to regional

         transmission organization (“RTO”) governance, planning, and achieving the goals articulated in




         1
           American Transmission Systems, Incorporated Amendments to Attachment M-3, eLibrary No. 20200612-5124
         (June 12, 2020) (“PJM TO Proposal”).
         2
          Joint Stakeholder End of Life Proposal, eLibrary No. 20200702-5115 (July 2, 2020) (“Joint Stakeholder
         Proposal”). The Joint Stakeholders are American Municipal Power, Inc., Old Dominion Electric Cooperative, LS
         Power, PJM Industrial Customer Coalition, Blue Ridge Power Agency, Delaware Municipal Electric Corporation,
         Inc., Public Power Association of New Jersey, Office of People’s Counsel for the District of Columbia, and the
         Delaware Division of the Public Advocate.




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         Order Nos. 890 and 1000.3             Unlike a traditional single application under Section 205, the

         Commission will invariably weigh the respective merits of each proposal and will come to the

         following conclusions:

                           Only one proposal was thoroughly vetted through an extensive stakeholder process.

                           Only one proposal received the required two-thirds sector-weighted super-majority
                            support for approval by the PJM Members Committee, including support from
                            members of each of PJM’s five sectors.

                           Only one proposal adheres to PJM’s governing documents.

                           Only one proposal fulfills PJM’s role as a regional transmission planner.

                           Only one proposal is consistent with the policy goals of Orders No. 890 and 1000.

                           And only one proposal is just and reasonable.

                    The impact of the Commission’s decision could not be more significant. In recent written

         comments to the Commission, PJM transmission owner FirstEnergy noted that “two-thirds of all

         transmission assets in [PJM] are more than 40 years old and approximately half of those assets are

         over 50 years old.”4 This is not only a question of how much money will be spent, but how that

         money will be spent. Again, citing FirstEnergy, “infrastructure investments are particularly critical

         now as our industry faces a rapidly changing energy mix.” 5 It is not hyperbole to state that the

         decisions made regarding transmission investment over the next decade will impact the grid for

         the next half-century. In rejecting the PJM TO Proposal and accepting, by September 1, 2020, the

         Joint Stakeholder Proposal, the Commission has the opportunity to affirm that: (i) regional

         transmission planning should be conducted by the regional transmission planner; (ii) in an


         3
          This protest and comments are not intended to address all aspects of either the PJM TO Proposal or the Joint
         Stakeholder Proposal. Members of the Interested Parties have filed separate comments addressing the PJM TO
         Proposal and/or will fill separate comments addressing the Joint Stakeholder Proposal on or before July 23, 2020. In
         any event, each of the Interested Parties reserves the right to supplement the record as appropriate.
         4
             Comment of FirstEnergy Service Company, eLibrary No. 20200630-5221 (June 30, 2020), p. 2.
         5
             Id.

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         increasingly diverse and multi-faceted electric market, stakeholder input on critical issues like

         transmission planning has never been more important; and (iii) Order Nos. 890 and 1000 serve as

         the guideposts for the development of the grid of the future.

         I.        THE JOINT STAKEHOLDER PROPOSAL IS THE PRODUCT OF AN
                   EXTENSIVE STAKEHOLDER PROCESS, HAS THE SUPPORT OF A SUPER-
                   MAJORITY OF PJM MEMBERS, AND ITS APPROVAL IS CONSISTENT WITH
                   COMMISSION RESPECT FOR THE STAKEHOLDER PROCESS.

                   A. Addressing End-of-Life Transmission Planning is a Significant and Longstanding
                   Concern for PJM Members.

                   At the December 2019 Markets and Reliability Committee (“MRC”) meeting, PJM

         Members, by a sector-weighted vote of 3.83 in favor,6 endorsed an Issue Charge brought by

         American Municipal Power (“AMP”) and ODEC to “develop specific governing document

         language to establish criteria that will apply to all transmission projects that address end of life

         drivers on PJM Tariff transmission assets, address planning horizon requirements, and improve

         overall transparency, consistency, and clarity in the [Regional Transmission Expansion Plan

         (“RTEP”)] planning process.”7 The Issue Charge received the support of seventy-three Members

         in total and had the support of eighty-nine percent or more of the Members in four out of the five

         PJM sectors.8 Of the fourteen “no” votes, all but three were from the transmission owner sector. 9

                   It is not surprising that the Issue Charge garnered widespread Member support. As

         explained in the accompanying Problem Statement, in 2018 “a majority of the Baseline and


         6
           PJM Interconnection, L.L.C., Dec. 5, 2019 Markets and Reliability Committee, Voting Report,
         https://www.pjm.com/-/media/committees-groups/committees/mrc/20191205/20191205-summarized-mrc-voting-
         report.ashx. (“Dec. 5 MRC Voting Report”).
         7
          PJM Interconnection, L.L.C., Dec. 5, 2019 Markets and Reliability Committee, Item 1 - AMP-ODEC
         Transparency & End of Life Planning - Issue Charge - Clean – Updated, https://www.pjm.com/-/media/committees-
         groups/committees/mrc/20191205/20191205-item-01-3-amp-odec-transparency-and-end-of-life-planning-issue-
         charge-clean.ashx. (“Issue Charge”).
         8
             Dec. 5 MRC Voting Report.
         9
             Id.

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         Supplemental Projects proposed had end of life drivers,” and end-of-life (“EOL”) transmission

         planning accounted for more than seventy-eight percent of the projects in PJM’s $7.8 billion

         transmission planning spend.10 In addition to the significant dollars involved, EOL projects impact

         other areas of transmission planning.           For example, the Problem Statement notes the

         “unprecedented number of generation interconnection projects in the PJM queue” and that

         “inherent uncertainty surrounding the Supplemental Projects contributes to significant time delays

         in PJM generation queue retools.”11

                    The Problem Statement finds that although many transmission owners employ

         sophisticated models to assess aging infrastructure and determine whether continued maintenance

         or replacement is the appropriate course of action, that information is not shared with other

         stakeholders. This lack of transparency prevents other stakeholders from conducting their own

         due diligence, a concern that is only exacerbated because PJM limits its review to a do-no-harm

         analysis. Furthermore, EOL projects are often addressed as either Supplemental Projects or FERC

         Form 715 criteria projects, minimalizing any effective oversight by either PJM or stakeholders.

                    Rather than addressing these deficiencies, the PJM TO Proposal compounds them,

         unlawfully expanding the reach of its Supplemental Projects Attachment M-3 Process. This

         approach falls well short of the goals Members sought in approving the Problem Statement.

         Because “[s]takeholders need to have more confidence that PJM and the TOs are proposing the

         most cost-effective transmission solution for the future and that competition is not being unduly

         thwarted,” the Member-endorsed Problem Statement calls for revisions to PJM’s governing



         10
            PJM Interconnection, L.L.C., Oct. 31, 2019 Markets and Reliability Committee, Item 2 - AMP ODEC
         Transparency & End of Life Planning - Problem Statement, https://www.pjm.com/-/media/committees-
         groups/committees/mrc/20191031/20191031-item-02-amp-odec-transparency-and-end-of-life-planning-problem-
         statement.ashx.
         11
              Id.

                                                             4

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         documents “to ensure that the entire PJM stakeholder community will have meaningful input into

         how end of life planning should occur.”12

                    The desire to reform the EOL transmission planning process is not new. For over two

         years, the Transmission Replacement Senior Task Force (“TRPSTF”) 13 met to develop the

         following deliverables:

                           1. Presentation of recommendations to the MRC for increasing transparency
                    and consistency in the communication and review of End of Life projects.

                            2. Potential guidelines or criteria for establishing, communicating,
                    reviewing, and setting forth the process for inclusion of Transmission Owner
                    initiated End of Life projects within the RTEP,

                           3. Changes to PJM Manuals(s) as required to address recommendations
                    from the group. No Tariff, Operating Agreement or other documentation changes
                    are expected to be necessary.14

         While the TRPSTF was initially expected to complete its work by the end of third quarter of

         2016,15 it continued for an additional eighteen months with extensive education 16 as well as interest

         identification, design component formation, and the development of solutions packages as is

         typical under PJM’s Consensus Based Issue Resolution (“CBIR”) stakeholder process. Despite

         the development of solutions packages by both AMP/ODEC and PJM and the Member-approved




         12
              Id.
         13
          The TRPSTF or its predecessor, the End of Life Senior Task Force, met a total of twenty-five times between
         March 2016 and June 2018.

         14
            PJM Interconnection, L.L.C., April 27, 2016 End of Life/Transmission Replacement Senior Task Force, Item 3 -
         Draft Charter – Clean, https://www.pjm.com/-/media/committees-groups/task-forces/trpstf/20160427/20160427-
         item-03-eolstf-draft-charter-clean.ashx.

         15
              Id.

         16
              The TRPSTF education component was incorporated into the Issue Charge.


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         charge to bring those packages forward for review, the TRPSTF was suspended by PJM in June

         2018 due to a perceived “impasse” in stakeholder negotiations. 17

                    Building on the work of the TRPSTF, AMP/ODEC brought proposed PJM Manual 14B

         revisions to the January 2019 MRC.18 AMP/ODEC’s revisions sought to “ensure that planned

         facilities are indeed necessary and economical;” that planning was done based on “transparent

         criteria, assumptions and models” with a “meaningful opportunity for review and input;” and that

         planning criteria had “consistency and uniformity to the extent practical.” 19 Again, PJM Members

         strongly supported reforms to EOL transmission planning, approving AMP/ODEC’s proposal by

         a sector-weighted vote of 3.46.20 And again, PJM acted unilaterally to stop any significant reform

         by refusing to implement manual changes that had received majority support in every sector but

         the transmission owner sector.21

                    Over the past four plus years, PJM Members have worked constructively and diligently to

         address a well-documented problem: the lack of transparency, oversight, and regional planning for

         EOL projects. They have done so across various stakeholder forums and with the consistent

         support of two-thirds or more of PJM Members. In each instance these efforts have been rebuffed



         17
              PJM Seeks to Suspend Task Force in ‘Unprecedented’ Move, R. Sweeney, RTO Insider (July 3, 2018).

         18
           The PJM package developed in the TRPSTF was also brought before the MRC with FirstEnergy as the mover and
         Public Service Electric & Gas as the second. As the first alternative it was not voted on. PJM Interconnection,
         L.L.C., Jan. 24, 2019 Markets and Reliability Committee, Agenda, https://www.pjm.com/-/media/committees-
         groups/committees/mrc/20190124/20190124-agenda.ashx.

         19
           PJM Interconnection, L.L.C., Jan. 24, 2019 Markets and Reliability Committee, Item 2A - Transmission
         Replacement Process - AMP Presentation, https://www.pjm.com/-/media/committees-
         groups/committees/mrc/20190124/20190124-item-02a-transmission-replacement-process-amp-presentation.ashx.

         20
           PJM Interconnection, L.L.C., Jan. 24, 2019 Markets and Reliability Committee, Voting Report,
         https://www.pjm.com/-/media/committees-groups/committees/mrc/20190124/20190124-summarized-voting-
         report.ashx.

         21
              PJM Rebuffs Stakeholders on Supplemental Projects, C. Smith, RTO Insider (Jan. 28, 2019).


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         by the very organization that is charged with that transparency, oversight, and regional planning

         responsibility: PJM.

                    B. The Transparency and End of Life Planning Meetings Represent the Most
                    Comprehensive, Stakeholder-Driven Effort to Address EOL Transmission Planning.

                    Following approval of the Issue Charge, a series of seven special MRC meetings were

         held.22 Building off of previously discussed efforts, and consistent with the directive from the

         Members, Key Work Activities included:

                              a. Establish requirements for an end of life (EOL) determination process;

                           b. Improve transparency in the TO EOL determination process such that
                    stakeholders can confirm that EOL processes were followed (e.g., development or
                    adoption of TO EOL criteria, development of minimum requirements for EOL
                    determinations, etc.);

                          c. Establish requirements for EOL replacement planning process in the
                    RTEP plan, including specification of the planning horizon requirements and;

                            d. Improve consistency by having PJM review, plan and ultimately approve
                    as part of the RTEP approved by the PJM Board EOL replacement projects. 23

         Utilizing the CBIR process to develop solutions that represented the interest of a broad swath of

         Members, most stakeholders reviewed packages offered by AMP/ODEC, LS Power, and PJM. 24

                    Briefly, the Joint Stakeholder Package creates a non-binding, ten-year look-ahead of

         potential EOL projects. The Joint Stakeholder Package also requires a six-year notification when

         a transmission asset has reach EOL status and will need to be retired. This timeframe aligns with

         PJM’s existing five-year RTEP planning models. Both of these provisions will provide needed

         transparency for PJM and stakeholders regarding future asset retirements and necessary




         22
           Special MRCs on Transparency and End of Life Planning were held on December 18, 2019, January 15, 2020,
         February 7, 2020, February 28, 2020, March 24, 2020, April 17, 2020, and May 15, 2020.
         23
              Issue Charge.
         24
              The LS Power Package was combined with the AMP/ODEC Package to form the Joint Stakeholder Package.

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         replacements. Once the notification process occurs, PJM will, subject to certain exemptions,

         regionally plan through the RTEP process expansions, if any, made necessary by the expected

         retirement of any asset. This allows PJM to consider a broader spectrum of solutions as it

         integrates asset replacement into its larger, region-wide, transmission planning process. PJM will

         be able to place EOL needs in competitive open windows, and EOL needs may be potentially

         combined with other needs for the most cost-effective solutions.

                The end result of the Joint Stakeholder Package will be less costly, more competitive, and

         more diverse transmission assets that will meet the needs of many stakeholders rather than a few

         and a planning process that allows PJM to develop the transmission grid necessary to support its

         dynamic energy markets. The Joint Stakeholder Proposal is entirely consistent with the Joint

         Stakeholder Package filed with the Commission. It easily meets the statutory requirements of

         being just and reasonable and should be approved by the Commission.

                Conversely, the PJM Package did not comply with many of the Key Work Activities

         outlined in the Issue Charge. The PJM Package utterly failed to meet Members’ desire for a more

         transparent EOL planning process. The PJM Package completely avoided the non-binding, ten-

         year look-ahead and replaced the required six-year notification of EOL status with a voluntary

         five-year notice that would only have been shared with PJM. Rather than enhancing transparency

         to allow stakeholders to better align their own commercial and regulatory activities with the

         changing topography of the grid, the PJM Proposal created a black box around transmission

         planning into which only the transmission owner and PJM may look. Furthermore, it is not entirely

         clear what PJM would do with its increased “transparency,” as its Proposal still left the vast

         majority of EOL planning to the transmission owner. Only when there is a related PJM reliability

         open window violation and the EOL need can be combined with a PJM open window reliability



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         violation and the EOL project is over 200 kV and the EOL project relates only to poles and wires

         (i.e., no substation equipment, including transformers) would PJM plan the EOL project. For those

         counting, three “ands” add up to an average of less than ten percent of all EOL projects that PJM

         would actually plan under its Package.25 The PJM Package did not, as it claims, “[e]nhance

         existing planning processes” or “[r]einforce[] PJM’s Role as Regional Planner,” and it certainly

         did not “[r]eflect stakeholder education and interest identification.” 26 Instead, the PJM Package

         doubled down on an opaque and flawed EOL planning process that Members have repeatedly

         voiced their desire to reform.

                 The PJM TOs claim that their Proposal “support[s] the principles”27 of the PJM Package,

         if that description weren’t damning enough. In fact, the PJM TO Proposal filed before the

         Commission would place limitations on PJM and stakeholders that not even the PJM Package

         envisioned: it is a brazen attempt to undermine the stakeholder process, prevent PJM and

         stakeholders from designing changes to the planning process in the future and virtually eliminate

         stakeholder input into EOL planning; to codify, through Tariff changes, a subservient role for PJM

         in transmission planning; and to undo the Commission’s mandates in Order Nos. 890 and 1000 for

         the vast majority of transmission planning in the PJM region. To accomplish this, it relies on the




         25
           PJM Interconnection, L.L.C., April 30, 2020 Markets and Reliability Committee, Item 8A - Joint Stakeholder
         Package End of Life Package - Presentation , https://www.pjm.com/-/media/committees-
         groups/committees/mrc/2020/20200430/20200430-item-08a-1-joint-stakeholder-package-end-of-life-package-
         presentation.ashx.
         26
           PJM Interconnection, L.L.C., May 28, 2020 Markets and Reliability Committee, Item 4B - PJM Solutions
         Package – Presentation, https://www.pjm.com/-/media/committees-
         groups/committees/mrc/2020/20200528/20200528-item-04b-1-pjm-solutions-package-presentation.ashx.
         27
           PJM Interconnection, L.L.C., June 1, 2020 Transmission Owners Agreement-Administrative Committee, Item 2 -
         Amendments Attachment M-3 – Presentation, https://www.pjm.com/-/media/committees-groups/committees/toa-
         ac/2020/20200601-special/20200601-item-02-amendments-attachment-m-3-presentation.ashx.

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         mischaracterization of Commission precedent that is not even applicable to PJM.28 The PJM TO

         Proposal is unjust and unreasonable and must be rejected by the Commission.

                    C. The Commission Should Respect the Judgement of PJM Members and Approve the
                    Joint Stakeholder Proposal.

                    Upon the completion of the Transparency and End of Life Planning stakeholder process,

         two fully developed packages were brought before the May 2020 MRC. While neither the Joint

         Stakeholder Package nor the PJM Package received the required two-thirds sector-weighted super-

         majority vote for approval, the difference in Member support was stark. While the PJM Package

         was decisively rejected, receiving only 1.77 in favor (or approximately sixty-five percent

         opposed), the Joint Stakeholder Package narrowly missed receiving the required two-thirds sector-

         weighted super-majority with a vote of 3.23 support (or approximately sixty-five percent in

         favor).29 Additionally, while the Joint Stakeholder Package received support from Members of

         each of PJM’s five sectors, the PJM Package was rejected by Members of each of PJM’s five

         sectors.30 The unmistakable message from the May 2020 MRC is that PJM Members do not

         believe that the PJM Package appropriately addresses their longstanding concerns regarding the

         EOL planning process.




         28
            See, Cal. Pub. Utils. Comm’n v. Pac. Gas & Elec. Co., 164 FERC ¶ 61,161 (2018), order denying reh’g., 168
         FERC ¶ 61,171 (2019); see also S. Cal. Edison Co., 164 FERC ¶ 61,160 (2018), order denying reh’g, 168 FERC ¶
         61,170 (2019) (together the “California Orders”). The Joint Stakeholders submit that the California Orders are
         inapplicable; first, because they explicitly do not apply to transmission planning in PJM and, second, because
         nothing in the Joint Stakeholder Proposal alters the transmission owners’ management of their existing assets.
         29
           PJM Interconnection, L.L.C., May 28, 2020 Markets and Reliability Committee, Voting Report,
         https://www.pjm.com/-/media/committees-groups/committees/mrc/2020/20200528/20200528-summarized-voting-
         report.ashx.
         30
              Id.

                                                               10

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                    At the June 2020 Members Committee (“MC”) meeting, the Joint Stakeholder Package

         was again placed before PJM Members.31 By a sector-weighted vote of 3.444 in favor,32 the

         required two-thirds super-majority of PJM Members endorsed the Joint Stakeholder Package as

         the appropriate approach for providing necessary reform to the PJM EOL planning process.

         Ninety-four Members supported the Joint Stakeholder Package, with “yes” votes coming from

         each of PJM’s five sectors.33 In all but one sector, the transmission owner sector, the Joint

         Stakeholder Package received a majority (fifty-one percent or greater) support and in three of the

         five sectors Member support exceeded eighty percent. 34 On July 2, 2020, PJM, fulfilling its

         obligations under the Operating Agreement (“OA”) to “[f]ile with FERC on behalf of the Members

         any amendments to this Agreement,”35 submitted the Joint Stakeholder Proposal for the

         Commission’s consideration and approval.

                    PJM’s Members have spoken clearly. They desire greater transparency in the EOL process

         and a more active role for PJM as the regional transmission planner. But under the PJM TO

         Proposal only PJM will have any advance notice of a transmission owner EOL determination, and

         even then will have little to no authority to do anything about them. This is the very antithesis of

         what Order Nos. 890 and 1000 demand.




         31
              It is worth noting that neither PJM nor any other Member offered the PJM Package to the MC.
         32
           PJM Interconnection, L.L.C., June 18, 2020 Members Committee, Voting Report, https://www.pjm.com/-
         /media/committees-groups/committees/mc/2020/20200618/20200618-voting-report.ashx.
         33
              Id.
         34
              Id.
         35
              OA §10.4 (xiii).

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                    D. Approval of the Joint Stakeholder Proposal is Consistent with Established Commission
                    Preference for Stakeholder Vetted and Approved Proposals.

                    The Commission has a well-established preference for proposals that have been vetted and

         approved by RTO members and stakeholders. As far back as 1993, the Commission embraced the

         role of regional transmission groups to “provide mechanisms for encouraging negotiated

         agreements and resolving transmission issues.”36 To reinforce the back-and-forth that is the

         hallmark of any stakeholder process, the Commission’s Policy Statement Regarding Regional

         Transmission Groups held that “substantial deference”37 would be afforded to outcomes that are a

         product of a regional transmission group’s dispute resolution or stakeholder process. A decade

         later, when accepting revisions to New England Power Pool’s (“NEPOOL”) transmission cost

         allocation revisions, the Commission wrote approvingly of the stakeholder process and specifically

         NEPOOL’s Participants Committee. The Commission noted that the Participants Committee is

         comprised of five separate sectors: generation, transmission, supplier, end user and publicly-

         owned entities – sound familiar – and is “broadly representative” of member interests. 38 For that

         reason, the stakeholder process exercised by NEPOOL in this instance was one the Commission

         “will not disturb.”39 Similarly, in Southwest Power Pool, Inc., the Commission chose to “accord

         an appropriate degree of deference to RTO stakeholder processes” 40 in finding that a proposal is

         just and reasonable. Federal appellate courts have also supported the importance of and deference

         for the stakeholder process, even when the outcome “may not represent complete stakeholder




         36
              FERC Stats. & Regs., Regulations Preambles January 1991-June 1996 ¶ 30,976 (1993).
         37
              Id.
         38
              New England Power Pool, 105 FERC ¶ 61,300, P 34 (2003),
         39
              Id.
         40
              127 FERC ¶ 61,283, P 33 (2009).

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         consensus” so long as there is no “evidence of majority overreaching” or that “the process was

         not open or did not allow for extensive participation.”41

                    PJM’s CBIR stakeholder process, a “structured problem-solving process in which

         stakeholders attempt to develop and achieve consensus around a proposal in the best interest of

         the whole,”42 clearly meets the criteria for an open stakeholder process that allows for extensive

         participation by all parties. Likewise, actions by the MC, which is composed of all PJM Members,

         are broadly representative of the policy choices of PJM Members and should be given substantial

         deference when they are just and reasonable. In approving the Joint Stakeholder Proposal, the

         Commission will accord an appropriate degree of deference to RTO stakeholder processes.

         II.        THE PJM TO PROPOSAL IGNORES THE STAKEHOLDER PROCESS AND
                    VIOLATES SEVERAL PJM GOVERNING DOCUMENTS.

                    A. The PJM TO Proposal Circumvents the Stakeholder Process and Ignores the
                    Commission’s Guidance on the Importance of Stakeholder Collaboration.

                    As previously discussed, during the seven Transparency and End of Life Planning special

         MRC meetings PJM and stakeholders participated in discussions around different solutions to

         address EOL transmission planning with three packages, from AMP/ODEC, LS Power, and PJM,

         respectively, emerging. At the April 2020 MRC, packages from the Joint Stakeholders (which

         represented the combined efforts of AMP/ODEC and LS Power) and PJM were given First

         Readings.43 The PJM TOs also provided a “Statement of Legal and Contractual Issues and

         Reservation of Rights,” in which they essentially disavowed PJM’s well-established stakeholder




         41
              Pub. Serv. Comm'n of Wisconsin v. FERC, 545 F.3d 1058, 1062-63 (D.C. Cir. 2008) (internal quotes removed).
         42
              Joint Stakeholder Proposal, fn. 23.
         43
           PJM Interconnection, L.L.C., April 30, 2020 Markets and Reliability Committee, Agenda, https://www.pjm.com/-
         /media/committees-groups/committees/mrc/2020/20200430/20200430-agenda.ashx.

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         process, at least as far as transmission planning goes.44 In their statement, the PJM TOs threatened

         to not only raise “objections to any further consideration of [the Joint Stakeholder] package or any

         similar proposal in the stakeholder process,” but also to “raise additional issues and objections

         with respect to the subject matter of this process in any and all future PJM processes and any

         regulatory or judicial proceedings.”45

                    A week later, on May 7, 2020, the PJM TOs provided their required 30-day notice under

         the Consolidated Transmission Owners Agreement (“CTOA”) of their intent to file the PJM TO

         Proposal.46 While the PJM TO Notice approvingly cites the PJM Package presented at the April

         2020 MRC, the PJM TOs decided not to wait for PJM Members to weigh in on either the PJM or

         Joint Stakeholder Packages at the May 2020 MRC. Instead, the PJM TOs announced their intent

         to ignore the views of their fellow Members and to move forward with a proposal that, in their

         words, “would expand the scope … to cover certain asset management projects.” 47 Even after

         Members rejected the PJM Package at the May 2020 MRC by a margin of nearly two to one, the

         PJM TOs made no substantive changes to their Notice to make it more reflective of broader

         Member concerns. Likewise, stakeholder feedback provided to the PJM TOs through both written

         submissions and at the CTOA-required June 1, 2020 webinar, yielded minimal changes. Finally,

         although the Joint Stakeholder Package was properly noticed for a vote at the June 2020 MC on

         June 11, 2020, the PJM TO Proposal was filed the very next day, June 12, 2020, by the PJM TOs



         44
           PJM Interconnection, L.L.C., April 30, 2020 Markets and Reliability Committee, Item 8 - PJM TO Legal
         Statement & Reservation of Rights, https://www.pjm.com/-/media/committees-
         groups/committees/mrc/2020/20200430/20200430-item-08-pjm-to-legal-statement-and-reservation-of-rights.ashx.
         45
              Id.
         46
           PJM Interconnection, L.L.C., June 1, 2020 Transmission Owners Agreement-Administrative Committee, Item 3 -
         Amendments Attachment M-3 – Notice, https://www.pjm.com/-/media/committees-groups/committees/toa-
         ac/2020/20200601-special/20200601-item-03-amendments-attachment-m-3-notice.ashx. (“PJM TO Notice”).
         47
              Id.

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         and at PJM’s discretion.48         In deciding not to wait the additional week until the MC had an

         opportunity to consider the Joint Stakeholder Package the PJM TOs engaged in one final attempt

         to avoid accountability to the rest of the PJM membership. The PJM TO Proposal is not the

         product of an extensive stakeholder process but is rather a deliberate series of actions designed to

         avoid and ignore input from other PJM Members and stakeholders. For that reason alone it should

         be rejected.

                      B. The PJM TO Proposal was Filed in Violation of the CTOA.

                      The PJM TO Proposal arrived at FERC by short-circuiting the stakeholder process and

         violating the very agreement that provides for certain transmission owner Section 205 filing rights.

         As extensively discussed in AMP and ODEC’s Motion to Dismiss, 49 in their rush to circumvent

         the stakeholder process the PJM TOs ignored various provisions of the CTOA. Specifically, the

         Transmission Owners Agreement-Administrative Committee (“TOA-AC”) did not provide the

         proper notice, open meeting, or vote prior to the “act” of issuing the PJM TO Notice on May 7,

         2020 to “initiate[] consultation with the PJM Members Committee with regard to proposed

         changes to Attachment M-3.”50 Whatever consultative process the TOA-AC undertook was done

         without either AMP or ODEC, both parties to the CTOA, and in violation not only of the CTOA

         but PJM’s Antitrust Code of Conduct. 51 The Commission should either grant the Motion to

         Dismiss or, because the PJM TO Notice is an integral first step preceding the filing of the PJM TO




         48
           Tariff § 9.1(b), “…the Office of Interconnection may, but shall not be required to, make the Section 205 filing
         with FERC on behalf of the Transmission Owners” (emphasis added).
         49
           Motion to Dismiss Filing, Without Prejudice, and Suspend Procedural Schedule until Ruling on Motion to
         Dismiss, eLibrary No. 20200618-5187 (June 18, 2020) (“Motion to Dismiss”).
         50
              Id., p. 3.
         51
              Id., p 6.

                                                                  15

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         Proposal, reject the PJM TO Proposal on the grounds that the actions surrounding its submission

         violate the governing documents that serve as the basis for the filing.

         III.       THE PJM TO PROPOSAL UNDERMINES THE COMMISSION’S POLICY
                    GOALS REGARDING REGIONAL TRANSMISSION PLANNING AS
                    ARTICULATED IN ORDER NOS. 890 AND 1000.

                    Because the decisions on EOL planning will impact the PJM transmission grid for the next

         half-century, it is important to place both the PJM TO Proposal and the Joint Stakeholder Proposal

         in the larger context of the Commission’s transmission policy goals. For nearly thirty years the

         Commission has extolled the benefits of regional transmission planning to “serve the public

         interest by enabling the market for electric power to operate in a more competitive, and thus more

         efficient manner, and by providing coordinated regional planning of the transmission system to

         assure that system capabilities are adequate to meet system demands.” 52 To facilitate these goals

         the Commission issued the landmark Order No. 888 53 which provided for non-discriminatory,

         open-access transmission service.

                    Order No. 89054, issued in 2007, built on this foundation by requiring, among other things:

         (i) “a process that allows for a reasonable and meaningful opportunity to meet or otherwise interact

         meaningfully” between transmission providers and customers; 55 (ii) “meaningful input and




         52
              FERC Stats. & Regs., Regulations Preambles January 1991-June 1996 ¶ 30,976 (1993).
         53
           Promoting Wholesale Competition Through Open Access Nondiscriminatory Transmission Servs. by Pub. Utils.;
         Recovery of Stranded Costs by Pub. Utils. & Transmitting Utils., Order No. 888, FERC Stats. & Regs. Preambles
         ¶ 21,541, 61 Fed. Reg. 21,540 (May 10, 1996), clarified, 76 FERC ¶¶ 61,009 and 61,347 (1997), order on reh’g,
         Order No. 888-A, FERC Stats. & Regs. Preambles ¶ 31,048, 62 Fed. Reg. 12,274 (Mar. 14, 1997), order on reh’g,
         Order No.888-B, 81 FERC ¶ 61,248 (1997), order on reh’g, Order No. 888-C, 82 FERC ¶ 61,046 (1998), aff’d,
         Transmission Access Policy Study Grp. v. FERC, 225 F.3d 667 (D.C. Cir. 2000), aff’d sub nom. New York v. FERC,
         535 U.S. 1 (2002).
         54
           Preventing Undue Discrimination and Preference in Transmission Service, Order No. 890, FERC Stats. & Regs.
         31,241 (2007)
         55
              Id., P 453

                                                                 16

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         participation” by customers “into the development of transmission plans;” 56 (iii) disclosure of “the

         basic criteria, assumptions, and data that underlie their transmission system plans;” 57 and (iv) “a

         regional participation principle.”58 Order No. 890 represented a significant step forward towards

         increasing transparency, stakeholder participation, and regional coordination in transmission

         planning.

                     In 2011, the Commission promulgated Order No. 100059 to codify and implement the full

         benefits of regional transmission planning by requiring transmission providers, including RTOs,

         to participate in a regional transmission planning process that satisfies the principles of Order No.

         89060 and to develop a regional transmission plan.61 Additionally, the Commission directed RTOs

         to remove from their Commission–jurisdictional tariffs and agreements language granting a right

         of first refusal (“ROFR”) to transmission providers vis-à-vis facilities that are selected in regional

         transmission plans.62       ROFRs, the Commission found, “have the potential to undermine the

         identification and evaluation of a more efficient or cost-effective solution to regional transmission

         needs, which in turn can result in rates for Commission-jurisdictional services that are unjust and

         unreasonable or otherwise result in undue discrimination by public utility transmission

         providers.”63




         56
              Id., P 454
         57
              Id., P 471
         58
              Id., P 523
         59
           Transmission Planning and Cost Allocation by Transmission Owning and Operating Public Utilities, Order No.
         1000, FERC Stats. & Regs. ¶ 31,323 (2011), order on reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g
         and clarification, Order No. 1000-B, 141 FERC ¶ 61,044 (2012).
         60
              Id., P 146.
         61
              Id., P 66.
         62
              Id., P 392.
         63
              Id., P 7.

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                The PJM TO Proposal would undo many of the policy goals listed in Orders No. 890 and

         1000. It would significantly reduce transparency and limit meaningful stakeholder participation,

         contrary to the requirements of Order No. 890. Because of the prevalence of EOL projects in the

         PJM footprint, allowing the transmission owner to address them through the Attachment M-3

         Process all but guarantees that PJM will be unable to develop the type of regional planning

         envisioned under Order No. 1000. Instead, PJM will continue to have a balkanized transmission

         topology that will leave it unprepared to adapt to the dynamic technologies and markets that will

         continue to transform the power market over the coming decades. For these reasons the PJM TO

         Proposal is neither just nor reasonable and must be rejected by the Commission.

                Only the Joint Stakeholder Proposal effectively incorporates the goals of Order Nos. 890

         and 1000. It provides for the transparency and meaningful participation Order No. 890 requires

         and will allow PJM to meet its regional transmission planning obligations under Order No. 1000.

         Simply put, the Joint Stakeholder Proposal is just and reasonable and should be accepted because

         it adheres to and furthers these long established Commission policy goals, the Joint Stakeholder

         Proposal is just and reasonable and should be accepted.




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         IV.    CONCLUSION

                For the foregoing reasons the Commission should reject the PJM TO Proposal as unjust

         and unreasonable and accept the Joint Stakeholder Proposal.

                        Respectfully submitted,

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                                          CERTIFICATE OF SERVICE



                I hereby certify that I have this day caused the foregoing document to be served upon each

         person designated on the official service list compiled by the Secretary in this proceeding.

                Dated on this 6th day of July, 2020.



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   Interested Parties Protest.PDF............................................1




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                                     UNITED STATES OF AMERICA
                                            BEFORE THE
                              FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                                 )                Docket No. ER20-2046
                                                                     )
         American Transmission Systems,                              )
           Incorporated, et al.                                      )

                                            PROTEST OF THE
                                  NEW JERSEY BOARD OF PUBLIC UTILITIES

                 Pursuant to Rule 2111 of the Rules of Practice and Procedure of the Federal Energy

         Regulatory Commission (“Commission” or “FERC”), the New Jersey Board of Public Utilities

         (“NJBPU” or “Board”) submits this protest in opposition to the M-3 amendments filed by the PJM

         Transmission Owners. 2 The Commission must reject the filing as it is unjust, unreasonable, and

         unduly discriminatory for limiting competition. The proposal also violates the transparency

         requirements of Order 8903 and the cost causation principle of Order 1000.4 For these reasons, the

         Commission should reject the amendments and, in so doing, coordinate its action in this docket

         with related dockets.

                                                        COMMENTS

                 The Board urges the Commission to reject the Transmission Owners’ proposal as unjust

         and unreasonable. Under Section 205 of the Federal Power Act (“FPA”) FERC may only accept




         1
           18 C.F.R. § 385.211
         2
           American Transmission Systems, Inc., and PJM Interconnection, L.L.C., Amendments to Attachment M-3 to the
         PJM Interconnection, L.L.C. Open Access Transmission Tariff, Docket No. ER20-2046 (June 12, 2020) (“TO
         Filing”).
         3
           Preventing Undue Discrimination and Preference in Transmission System Service, Order No. 890, FERC Stats. &
         Regs. ¶ 31,241 (“Order No. 890”), order on reh’g, Order No. 890-A, FERC Stats. & Regs. ¶ 31,261 (2007), order on
         reh’g, Order No. 890-B, 123 FERC ¶ 61,299 (2008), order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on
         clarification, Order No. 890-D, 129 FERC ¶ 61,126 (2009) (hereinafter “Order 890”).
         4
           Transmission Planning and Cost Allocation by Transmission Owning and Operating Public Utilities, Order No.
         1000, 136 FERC ¶ 61,051 (2011), order on reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g and
         clarification, Order No. 1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub. Serv. Auth. v. FERC, 762
         F.3d 41 (D.C. Cir. 2014) (hereinafter “Order 1000”).

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         or reject a utility’s tariff filing in accord with the just and reasonable standard.5 Because the

         Transmission Owners propose amendments to Attachment M-3 of the PJM Open Access

         Transmission Tariff (“Tariff”), they have the legal burden of demonstrating that the proposed

         amendments are just and reasonable. The Board’s comments explain how the Transmission

         Owners have failed to carry this burden. First, the Board contends that the proposal will unjustly

         and unreasonably limit competition. The Board will then address the transparency issues with the

         Transmission Owners’ proposal. Next, the Board’s comments explain how application of the

         amendments will ultimately violate the cost-causation principle. Finally, the Board will note

         overlapping proceedings for the Commission’s consideration, which should be reviewed in

         coordination with this proceeding.            Ultimately, these arguments weigh in favor of the

         Commission’s rejection of the Transmission Owners’ amendments to Attachment M-3.

                 A. The Transmission Owners’ Proposed Amendments Will Unjustly and
                    Unreasonably Limit Competition.

                 The Transmission Owners’ proposed amendments to Attachment M-3 will limit

         competition. The FPA requires that FERC ensure just, reasonable, and non-discriminatory rates.6

         The Commission issued Order 1000 to open up transmission planning to competition in order to

         ensure that rates would be just, reasonable, and not unduly discriminatory. 7 In Order 1000, the

         Commission used its authority under Section 206 to eliminate federal rights of first refusal, which

         the Commission found “create[d] opportunities for undue discrimination and preferential treatment

         against nonincumbent transmission developers.”8 The Commission explained that it is unjust and



         5
           NRG Power Marketing, L.L.C. v. FERC, 862 F.3d 108, 113 (D.C. Cir. 2017).
         6
           16 U.S.C. §§ 824d, 824e.
         7
           Transmission Planning and Cost Allocation by Transmission Owning and Operating Public Utilities, Order No.
         1000, 136 FERC ¶ 61,051 (2011), order on reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g and
         clarification, Order No. 1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub. Serv. Auth. v. FERC, 762
         F.3d 41 (D.C. Cir. 2014).
         8
           Order 1000, 76 Fed. Reg. 49,842 at P 286.
                                                               2

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         unreasonable to restrict “the universe of transmission developers offering potential solutions,”

         because it could “result in the failure to consider more efficient or cost-effective solutions to

         regional needs.”9       In Order 1000, the Commission acknowledged its “duty to maintain

         competition.”10

                 The Commission has identified that PJM has a problem with competition.11 Where the

         Commission sought to eliminate the right of first refusal, PJM sought an exemption.12 Where the

         Commission granted that exemption, in very limited circumstances, PJM and the Transmission

         Owners allowed that exemption to swallow the rule.13 PJM must now submit a compliance filing

         that increases transparency and enables greater competition in the region.14

                 Planning end-of-life projects outside of the competitive process will create an opportunity

         for undue discrimination and exacerbate PJM’s competition issues. By PJM’s own admission,

         end-of-life needs represented over a quarter of transmission owner-driven planning in the PJM

         region in 2019.15 Preferential treatment for the incumbent Transmission Owners likely results in

         a failure to consider more efficient or cost-effective solutions for these projects. The Commission

         has recognized competition as a just and reasonable solution to this problem. As the Commission

         articulated in Order 1000, it is unjust and unreasonable to restrict the number of developers offering

         solutions to projects because doing so may result in failure to consider the more efficient or cost-

         effective solution. Thus, the Commission should reject the filing.




         9
           Id. at P 284.
         10
            Id. at P 286.
         11
            PJM Interconnection, L.L.C., Order on Section 206 Investigation and Directing Compliance, Docket No. EL19-
         91, 171 FERC ¶ 61,212 (2020).
         12
            Id. at P 3.
         13
            Id. at P 1.
         14
            Id.
         15
            See Mark Sims, PJM RTEP Update (May 18, 2020) at slide 4.

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                 B. The Commission Must Reject the Transmission Owners’ Proposed Amendments
                    Because They Do Not Satisfy the Transparency Requirements of Order 890.

                 The proposal limits stakeholder opportunities for meaningful input in at least three ways,

         as described below. In the end, the proposal reduces much of the end-of-life planning process to

         a closed-door consultation between PJM and the Transmission Owner.

                 The Commission issued Order 890 to address deficiencies and undue discrimination in

         transmission planning.16 The Commission characterized some of these deficiencies as a lack of

         transparency that arose as the wholesale industry became more open to competition in the 1980s.

         Specifically, the Commission stated that “the [then] existing [PJM Tariff] provides [customers]

         very little information on how transmission plans are developed.”17 The Commission acted “to

         remedy these deficiencies by requiring transmission providers to open their transmission planning

         process to customers, coordinate with customers regarding future system plans, and share

         necessary planning information with customers.”18 Transparency has been, and continues to be, a

         challenge in the PJM region, as evidenced by the process to add Attachment M-3 to the Tariff19

         and the Commission’s recent Order in Docket No. EL19-9120.

                 The transparency principle, as recently reaffirmed by the Commission,21 “require[s]

         transmission providers to disclose to all customers and other stakeholders the basic criteria,

         assumptions, and data that underlie their transmission system plans.”22 Transmission providers are

         further required to “reduce to writing and make available the basic methodology, criteria, and




         16
            Order 890 at P 1, 3, 23.
         17
            Id. at P 3.
         18
            Id. (emphasis added).
         19
            See, e.g., Monongahela Power Company, et al., 162 FERC ¶ 61,129 at P 73 (2018) (“Show Cause Order”).
         20
            PJM Interconnection, L.L.C., 171 FERC ¶ 61,212 (2020).
         21
            Show Cause Order at P 73.
         22
            Order No. 890 at PP 461, 471.

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         processes [] use[d] to develop their transmission plans.”23 It is not enough for the process to satisfy

         the requirements of Order 890 “on its face,” when, in practice, stakeholders are not afforded the

         necessary transparency to avoid undue discrimination.24

                 Stakeholders must receive the opportunity for meaningful input, or the planning process

         violates Order 890.25        The objective of these requirements are to “enable customers, other

         stakeholders, or an independent third party to replicate the results of planning studies and thereby

         reduce the incidence of after-the-fact disputes regarding whether planning has been conducted in

         an unduly discriminatory fashion.”26 Without adequate transparency, stakeholders are unable “to

         determine whether the plan developed by the transmission provider in isolation is unduly

         discriminatory” other than through “after-the-fact” disputes.27

                 The Commission previously investigated whether the procedures for planning

         Supplemental Projects in PJM complied with the transparency requirements of Order 890.28 In

         response to the Order to Show Cause, the Transmission Owners filed the first iteration of

         Attachment M-3 under Section 205.29 This filing was rejected.30 Separately, under Section 206,

         the Commission determined that the “PJM Operating Agreement and OATT, as applied by the

         PJM Transmission Owners, did not fully comply with Order 890 and were therefore unjust and

         unreasonable and unduly discriminatory and preferential.”31 The Commission then established a



         23
            Id. at P 471.
         24
            See Show Cause Order at PP 86-87 (“…may have contributed to a situation in which the PJM Operating
         Agreement appears, on its face, to comply with Order No. 890, even though, in practice, stakeholders do not receive
         the opportunity for meaningful input that it might appear to provide. Based on this evidence, we find that the PJM
         Transmission Owners are implementing the transmission planning process for Supplemental Projects in a manner
         that is inconsistent with Order No. 890’s coordination principle.”) (internal citations omitted).
         25
            See id.
         26
            Id. (emphasis added).
         27
            Order 890 at P 424; Show Cause Order at P 73 n.159.
         28
            Show Cause Order PP 2-8.
         29
            Monogahela Power Co. et al., 164 FERC 61,217 at P 5 (2018) (“Order on Rehearing and Compliance”).
         30
            Id. at P 7.
         31
            Id.
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         replacement rate that accepted, in part, and rejected, in part, the Transmission Owners’ Attachment

         M-3 filing and directed revisions to the PJM Operating Agreement and Attachment M-3 to the

         Tariff.32

                 On rehearing, the Commission confirmed that the planning process for Supplemental

         Projects, through Attachment M-3, complied with the transparency requirements of Order 890.33

         In making this determination, the Commission noted that customers must be included in early

         stages of development of the transmission plan and not merely provided with an opportunity to

         comment on transmission plans that were developed without their input.34 The Commission noted

         that it is more concerned with the “substance” of transmission providers’ coordination with

         stakeholders, and less concerned with the “form” of that communication.35

                 Similarly, the Commission recently concluded another investigation by finding, among

         other things, that PJM’s planning process was not adequately transparent.36 With regard to

         “immediate need” projects, the Commission found “one-line labels (e.g., “short circuit,” “end-of-

         life,” “overstressed”) identifying a reliability violation driving the immediate need reliability

         project insufficient to comply with [Commission criteria].”37 The Commission further found

         “sufficient evidence in the record to demonstrate that PJM does not . . . provide to stakeholders

         and post on its website a full and supported written description explaining” why an incumbent

         Transmission Owner was designated construction responsibility and why the need was immediate,

         and not identified earlier.38       The Commission also held that PJM’s implementation of the



         32
            Id.
         33
            Id. at P 41 (“We accept the Attachment M-3 Compliance Filing. . . . [W]e find that PJM and the PJM
         Transmission Owners have complied with . . . Order No. 890.”).
         34
            Order on Rehearing and Compliance, at P 81.
         35
            Id.
         36
            PJM Interconnection, L.L.C., 171 FERC ¶ 61,212 (2020).
         37
            Id. at P 50.
         38
            Id. at P 51.

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         immediate need exemption is unjust and unreasonable in part because stakeholders must be

         permitted time to provide comments in response to the project description, and that PJM must

         make such comments publicly available. 39 “With respect to [ ] transparency,” the Commission

         found that “PJM must do more.”40

                 While this investigation was pending at the Commission, PJM and the Transmission

         Owners developed the proposal to amend Attachment M-3. Just as it has before, the Commission

         must reject the Transmission Owners’ proposal.41 This proposal fails to satisfy the transparency

         requirements of Order 890, because it limits the stakeholders’ opportunities for meaningful

         comment in at least three critical ways.

                 First, the Transmission Owners will provide to PJM, and only PJM, a Candidate EOL

         Needs List comprising the non-public confidential, non-binding projection of up to 5 years of EOL

         Needs that it identified through the Transmission Owners’ processes for identification of EOL

         Needs.42 Disclosure of the Candidate EOL Needs List is limited to PJM, which must keep the list

         confidential.43 “The only exception to this limitation is the need to disclose a projected EOL Need

         in connection with the planning to address an identified overlap between the projected EOL Need

         and a PJM Planning Criteria Need under the RTEP Planning Process under section (d)(2) of the

         Proposed Revisions.”44 Following this determination, if PJM believes an overlap exists, it will

         first consult with the transmission owner regarding the overlap.45 Only after satisfaction of that

         consultation requirement, and three additional conditions, will the Transmission Owner provide

         documentation to stakeholders on the rationale supporting its determination at the next appropriate


         39
            Id. at P 53 (requiring more than three days and recognizing that Attachment M-3 provides 10 days).
         40
            Id. at 55.
         41
            See, e.g., Monongahela Power Co. et al., 164 FERC ¶ 61,217, at P 7 (2018).
         42
            TO Filing, Exhibit A, Attachment M-3 § (d)(2)(i).
         43
            TO Filing at 17-18.
         44
            Id. at 18.
         45
            See TO Filing, Exhibit A, Attachment M-3 § (d)(2)(i).

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         meeting of the Transmission Expansion Advisory Committee or Subregional RTEP Committee

         meeting.46 There appear to be no temporal limits on the time it could take to satisfy the consultation

         or other conditions, thus creating an uncertain delay before stakeholders might review this narrow

         subset of projects. And the Board does anticipate that the number of projects opened to some form

         of stakeholder review will be a small percentage of the overall projects identified on the

         Transmission Owners’ EOL Candidate Needs Lists. The transmission planning process is not

         open and devoid of discrimination when everyone except for PJM and the Transmission Owner

         are shut out. Thus, the proposal falls short of Order 890’s requirements to afford the necessary

         transparency to avoid undue discrimination.

                 Second, the Transmission Owners’ did not even deign to explicitly open their process to

         state utility commissions.47        The Transmission Owners claim that “state regulators are not

         prohibited from requesting, nor is a Transmission Owner prohibited from providing its projected

         EOL Needs to its state commission or other governmental agencies with responsibilities in the area

         in which the projected EOL Needs exist.”48 If state regulators are not intended to be limited by

         the Tariff language, the Transmission Owners could have accepted the OPSI language.49 Instead,

         the Transmission Owners put the onus on the state commissions to request the information. The

         Board fully intends to exercise its general regulatory authority over electric public utilities, which

         includes all of the Transmission Owners in New Jersey, to seek the EOL Candidate Needs Lists

         and other information. 50 However, a truly transparent process would not cut the Board, or any



         46
            Id. at § (d)(2)(ii).
         47
            TO Filing at P 18.
         48
            Id.
         49
            Letter from Gregory V. Carmean, Executive Director, OPSI, to Transmission Owners (June 8, 2020), available at
         https://www.pjm.com/-/media/committees-groups/committees/toa-ac/2020/20200610/20200610-comments-
         provided-by-opsi.ashx
         50
            N.J. Stat. Ann. § 48:2-13(a); 48:3-51; New Jersey Energy Master Plan, Strategy 5.2.1, at 181-82, NJ.gov (2019),
         available at https://www.nj.gov/emp/docs/pdf/2020_NJBPU_EMP.pdf.

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         other state regulatory authority, out of the process in an area where it is required to regulate. This

         lack of prohibitive language in the proposed M-3 attachment falls short of Order 890’s

         transparency requirement.51

                 Finally, Transmission Owners’ are given a significant advantage over stakeholders, who

         will be less likely to replicate results of planning studies in order to determine whether planning

         has been done in a discriminatory fashion. Stakeholders’ ability to replicate results will likely be

         impacted because they will not be presented with the same information as PJM.                             Indeed

         stakeholders may only receive altered information after the consultation has occurred. Under the

         proposal, stakeholders are only guaranteed ten days to provide comments on the Local Plan after

         the solutions selected by the Transmission Owner in the Local Plan are posted. If PJM and the TO

         both begin the planning process ahead of the regional (Form 715) or subregional (M-3) projects,

         stakeholders are inherently disadvantaged.               An acceptable Tariff provision provides for

         meaningful input throughout the planning process. Stakeholders must be presented with needs,

         have opportunity to comment, and then be presented with solutions.

                 By so limiting this process, the Transmission Owners’ have presented an unjust and

         unreasonable amendment to the Tariff. This Commission has recently ordered PJM to increase

         transparency in the context of immediate need projects.52 Similarly, the Commission has required

         transparency in Supplemental Projects.53              In that prior case, the Commission rejected a

         Transmission Owners’ proposal when they failed to sufficiently carry their burden.54 The same

         remedy is appropriate in this case.55


         51
            Show Cause Order at PP 86-87.
         52
            PJM Interconnection, LLC¸ 171 FERC ¶ 62,212, ¶¶ 47-55 (2020).
         53
            Show Cause Order at P 7.
         54
            Id.
         55
            The Board is not opposed to the Commission opening a Section 206 proceeding to evaluate the justness and
         reasonableness of the current Tariff and fashion an appropriate replacement rate – rather than accepting the
         Transmission Owners’ filing under Section 205.

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                 C. The Transmission Owners’ Proposed Amendments Will Violate the Cost-
                    Causation Principle.

                 The Transmission Owners’ filing recognizes two planning paths for EOL Needs. First, the

         filing defines “Form No. 715 EOL Planning Criteria,” because the filing “recognizes that some

         Transmission Owners have included EOL Need planning criteria in their FERC Form No. 715.”56

         Second, the filing defines “Attachment M-3 EOL Planning Criteria,” which are “PJM

         Transmission Owner planning criteria to address EOL Needs” under the pending proposal. The

         definitions may sound the same, but they can result in different cost allocations. Attachment M-3

         Projects, such as Supplemental Projects, are allocated to the local zone. Form No. 715 projects

         are allocated to the beneficiaries, not necessarily the local zone.

                 Cost allocation matters. Under the Federal Power Act, electric utilities must charge rates

         that are “just and reasonable.”57 Under Section 205, the utility has the burden to prove the justness

         and reasonableness of the Tariff amendments.58 Where, as here, the Transmission Owners do not

         address the cost allocation implications of their filing, they have failed to carry their burden.

                 The Commission issued Order 1000 to promote more efficient coordination among electric

         utilities.59 Order 1000 requires utilities in PJM to jointly produce a regional transmission plan to

         determine what new facilities would best meet regional needs for electricity. 60 It also requires

         utilities to include in their tariffs a formula "for allocating the costs of new transmission facilities

         selected in the regional transmission plan for purposes of cost allocation."61 The formula must

         satisfy the Commission’s six general cost allocation principles, the first of which is the cost-




         56
            TO Filing at 14.
         57
            16 U.S.C. § 824d(a).
         58
            NRG Power Marketing, L.L.C. v. FERC, 862 F.3d 108, 113 (D.C. Cir. 2017)
         59
            Order 1000, 136 FERC ¶ 61,051.
         60
            Id. at P 148.
         61
            Id. at P 558.
                                                              10

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         causation principle. 62 Order 1000’s fifth cost allocation principle requires a transparent method

         for determining benefits and identifying beneficiaries for both regional and interregional cost

         allocation.63 Each utility must show, through compliance filings, that its cost-allocation formula

         is consistent with the six specified principles.64

                 To comply with the regional planning requirement of Order 1000, PJM maintains a

         Regional Transmission Expansion Plan (“RTEP”).65 Three categories of projects are included in

         this plan: “(1) projects to satisfy PJM’s own planning and reliability criteria; (2) projects to satisfy

         reliability criteria . . . ; and (3) projects to satisfy planning criteria established by individual

         utilities.”66 Projects to satisfy local planning criteria are submitted to the Commission and to PJM

         on Form 715.67 As the Transmission Owners’ acknowledge, “some Transmission Owners have

         included EOL Need planning criteria in their FERC Form No. 715.”68 “These are planned by PJM

         under Schedule 6 of the Operating Agreement.”69

                 Schedule 12 of the Tariff addresses the cost-sharing requirements of Order 1000.70 The

         RTEP includes certain types of reliability projects, such as Regional Facilities, Necessary Lower

         Voltage Facilities, and Lower Voltage Facilities. PJM allocated cost responsibility for these RTEP

         projects    pursuant    to   the     cost   allocation    method     that   the    Commission    accepted

         as   part    of   PJM’s      Order     1000    compliance       filing.71      For    Regional   Facilities

         and Necessary Lower Voltage Facilities, costs are allocated pursuant to a hybrid cost allocation



         62
            Id. at P 622.
         63
            Id. at P 665-67.
         64
            Id. at P 603.
         65
            Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254, 1256 (D.C. Cir. 2018) (hereinafter ODEC).
         66
            Id.
         67
            Id.
         68
            TO Filing at 14.
         69
            TO Filing at 13.
         70
            ODEC, 898 F.3d at 1256.
         71
            PJM Interconnection L.L.C., 171 FERC ¶ 61,013 at P 7 (2020).

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         method in which 50% of the costs of those facilities are allocated on a load-ratio share basis and

         the other 50% are allocated to the transmission owner zones based on the solution-based

         distribution factor (DFAX) method.72 All of the costs of Lower Voltage Facilities are allocated

         using the solution-based DFAX method.73

                 In ODEC, the court considered the Commission’s approval of a Tariff amendment

         requiring allocation of the costs of projects included in the Regional Plan to satisfy only Form 715

         planning criteria entirely to the zone of the utility that filed the criteria, “[n]otwithstanding” other

         provisions of Schedule 12.74 Petitioners challenged that the cost allocation violated the cost

         causation principle established in Order 1000.75 The court agreed, finding the Commission acted

         arbitrarily and capriciously in approving the tariff amendment.76 The court remanded the matter

         for further proceedings.77

                 On remand, the Commission rejected the tariff amendment.78 The Commission noted that

         the PJM Transmission Owners “continue[d] to believe that allocation of the costs of high-voltage

         projects solely to address a transmission owner's Form No. 715 local planning criteria to the

         transmission zone of the individual transmission owner whose Form No. 715 local planning

         criteria underlie each project is reasonably commensurate with the benefits they provide and that

         there are valid reasons to distinguish such projects from those needed to satisfy PJM's regional

         reliability criteria.”79 However, the Commission was unpersuaded by the Transmission Owners’




         72
            Id.
         73
            Id.
         74
            ODEC, 898 F.3d at 1259.
         75
            Id.
         76
            Id. at 1264
         77
            Id.
         78
            PJM Interconnection, L.L.C., 168 FERC ¶ 61,133 at P 2 (2019).
         79
            Id. at P 19.

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         argument.80 PJM was ordered to make a compliance filing and to refile assignment of cost

         responsibility for Form No. 715 projects that were previously allocated incorrectly.81

                 In its compliance filing, PJM explained that it reviewed the cost responsibility assignments

         for 443 Form No. 715 transmission projects and determined that revisions were needed for only

         44 projects, the so-called “Remand Projects.”82 Of the 44 Remand Projects, PJM proposed cost

         allocation revisions for 11 Regional Facilities and 33 Lower Voltage Facilities.83 Included among

         those projects is the PSE&G Metuchen-Trenton-Burlington Project (“MTB Project”). In that

         filing, the Metuchen-Trenton-Burlington (“MTB”) project’s cost was allocated using the DFAX

         methodology, not exclusively to the local zone comprised of solely New Jersey ratepayers. 84

         Notably, LIPA and Neptune argued that the MTB project should not be included in regional cost

         allocation, because it was only needed to address PSEG end of life criteria and not PJM or

         reliability criteria. 85 Ultimately, the Commission accepted the compliance filing, including the

         reallocation of the MTB Project.86

                 The Remand Projects were thus reallocated to align with the cost causation principle of

         Order 1000. Although PSE&G’s MTB line was an end-of-life project, the DFAX calculations

         determined that there were other beneficiaries of the project, outside of the PSE&G zone. Indeed,

         despite being included in PSE&G’s end-of-life planning criteria, its costs were justly and

         reasonably allocated to the identified beneficiaries. 87




         80
            Id. at P 28.
         81
            Id. at PP 28-31.
         82
            PJM Interconnection L.L.C., 171 FERC ¶ 61,013 at P 12 (2020).
         83
            Id. at P 13.
         84
            See id. at P 18.
         85
            Id. at P 20.
         86
            Id. at P 37.
         87
            Id. at P 37.
                                                               13

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                 In ODEC, the court was “sensitive to the concern . . . that individual utilities should not

         have free rein to impose unjustified costs on an entire region by unilaterally adopting overly

         ambitious planning criteria.”88 However, the court explained that its holding did not prevent PJM

         or its member utilities “from amending the Tariff, the Operating Agreement, or PJM's own

         planning criteria to address any problem of prodigal spending, to establish appropriate end-of-life

         planning criteria, or otherwise to limit regional cost sharing—as long as any amendment respects

         the cost-causation principle.”89 “Indeed, the cost-causation principle, by allocating project costs

         consistent with project benefits, creates the best incentives for PJM member utilities themselves

         to agree on when to invest their scarce resources in transmission improvements.”90

                 The Transmission Owners now come before the Commission with their amendments for

         end-of-life planning criteria. These amendments are neither appropriate nor consistent with the

         cost causation principle. As proposed, some end of life projects may be allocated using the

         corrected Form No. 715 cost allocation methodology, but others will be allocated, like

         Supplemental Projects, to the local zone. The Transmission Owners’ proposal does not accord

         with the ODEC decision.

                 The MTB Project provides a prime example of the flaw in the Transmission Owners’

         proposal. Having heard the court in ODEC, the Commission, on remand, ordered PJM to identify

         projects needing reallocation to align with the cost causation principle of Order 1000. The MTB

         Project was identified as one of the Remand Projects. As such, its costs were reallocated beyond

         the local zone. If PSE&G had planned the same MTB project under the proposed “Attachment

         M-3 EOL Planning Criteria,” its cost would be allocated to the local zone comprised solely of New



         88
            ODEC, 898 F.3d at 1263.
         89
            Id. (emphasis added).
         90
            Id.
                                                         14

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         Jersey ratepayers. The Transmission Owners that continued to seek local allocation of Form No.

         715 projects even after the remand have found a new means of getting that local allocation. The

         Commission may rightly view the amendment as an effort to circumvent its orders.

                 In its filing with the Commission, the Transmission Owners are notably silent as to the cost

         allocation implications of their amendments. In the stakeholder process, in response to the cost-

         causation concerns, the Transmission Owners complained of stakeholders combining the planning

         and cost allocation process. But that is precisely what the court did when it stated that PJM and

         the Transmission Owners were free to amend the Tariff “to establish appropriate end-of-life

         planning criteria . . . as long as any amendment respects the cost-causation principle.”91 It is the

         Transmission Owners’ burden to show that their Section 205 filing is “appropriate” and “respects

         the cost-causation principle.” It is the Transmission Owners’ burden to demonstrate the justness

         and reasonableness of their proposed rate. The Transmission Owners’ silence shows that they

         have failed to carry their burden. Therefore, the Commission should reject the filing.

                 D. The Commission Should Address Related Proceedings in a Coordinated Fashion.

                 The Board urges the Commission to address related proceedings in a coordinated fashion.

         In light of the foregoing, the Commission must recognize the relationship between this proceeding

         and its ongoing proceedings regarding Form 715. In addition, on July 2, PJM filed amendments

         to its Operating Agreement at the behest of its members, but over the thunderous objections of the

         Transmission Owners.92 Where matters are interrelated, but distinct, the Board has previously

         encouraged the Commission to take necessary procedural steps to dispose of all related issues in a

         coordinated fashion. 93        This coordination can advance the public interest and promote


         91
            Id.
         92
            This filing has been assigned Docket No. ER20-2308.
         93
            See NJBPU v. PJM Interconnection, L.L.C., et al., Complaint of the New Jersey Board of Public Utilities, Docket
         No. EL18-54 (December 22, 2017) at 2 (urging the Commission to take the necessary procedural steps to handle the
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         administrative efficiency by reducing confusion and room for error or after-the-fact litigation by

         stakeholders.

                 A coordinated approach is important, because the instant filing arose from the same PJM

         stakeholder process that the other filing, in Docket No. ER20-2308, arose from.94 In fact, the two

         filings were developed as competing solution packages to the same problem statement and issue

         charge directing PJM to examine transparency in end-of-life transmission planning.95 Under the

         Operating Agreement filing, the Transmission Owners would make decisions regarding when

         facilities reach end-of-life, but PJM would then govern the planning process after this decision is

         made. By contrast, under the Transmission Owners’ filing in the within docket, the Transmission

         Owners would both make end-of-life decisions and govern the subsequent planning process. The

         Commission is now in a position to choose one solution package over the other, or institute a

         Section 206 proceeding and determine the appropriate rate for itself. Coordinating its approach to

         these two filings will enable the Commission to do so. Therefore, the Board urges the Commission

         to coordinate its review of these proceedings.

                 .




         related issues in several of these dockets in a coordinated fashion); see also PJM Interconnection, L.L.C., Comments
         of the New Jersey Board of Public Utilities, Docket No. ER19-469 (Feb. 7, 2019) at 7 (“there are several other
         matters closely linked to the disposition of this case that the Commission should consider to reach a just and
         reasonable outcome”).
         94
            See PJM Interconnection, L.L.C., End of Life Joint Stakeholder Proposal, Docket No. ER20-2308 (July 2, 2020).
         95
            See Issue Details, Transparency and End of Life Planning, PJM, https://pjm.com/committees-and-groups/issue-
         tracking/issue-tracking-details.aspx?Issue={23B82425-6796-4B0C-8C4A-5FF9B6B5F061}.
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                                                 CONCLUSION

                For the foregoing reasons, the Board urges the Commission to reject PJM’s amendments

         to the M-3 attachment. In the alternative, the Board urges the Commission to direct PJM to adopt

         changes consistent with this protest, to address the concerns related to transparency, and submit a

         compliance filing.



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         UTILITIES                                    ATTORNEY GENERAL OF NEW JERSEY

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         DATE: July 6, 2020




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                                            CERTIFICATE OF SERVICE
                 I hereby certify that, on this 6th day of July 2020, I have caused the foregoing document
         to be served upon each party designated on the official service list compiled by the Secretary in
         this proceeding, by email.
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                                        UNITED STATES OF AMERICA
                                               BEFORE THE
                                 FEDERAL ENERGY REGULATORY COMMISSION


             American Transmission Systems, Incorporated, )                       Docket No. ER20-2046-000
             PJM Interconnection, L.L.C.                  )



                                          JOINT PROTEST
                        OF AMERICAN MUNICIPAL POWER, INC., OLD DOMINION
                        ELECTRIC COOPERATIVE, PJM INDUSTRIAL CUSTOMER
                       COALITION, PUBLIC POWER ASSOCIATION OF NEW JERSEY,
                      PEOPLE’S COUNSEL FOR THE DISTRICT OF COLUMBIA, WEST
                     VIRGINIA CONSUMER ADVOCATE, BLUE RIDGE POWER AGENCY

                    On June 12, 2020, the PJM Transmission Owners (“PJM TOs”) filed pursuant to section

         205 of the Federal Power Act,1 Section 35.13 of the Rules and Regulations of the Federal Energy

         Regulatory Commission (“Commission”), Section 9.1(a) of the PJM Interconnection, L.L.C.

         (“PJM”) Open Access Transmission Tariff (“Tariff”), acting through the PJM Consolidated

         Transmission Owners Agreement (“CTOA”) proposed modifications to Attachment M-3 of the

         Tariff (“TO Proposal”). The PJM TOs propose in the June 12 filing to create a new, expansive

         application of the transmission planning procedures in Attachment M-3 that would authorize

         Transmission Owners, rather than PJM, to plan for all new transmission projects that expand or

         enhance the Transmission System2 with the limited exception of projects to address NERC

         Reliability Standards, State Public Policies, Transmission Owner FERC Form 715 criteria, 3 or



         1
             16 U.S.C. § 824d (2020).
         2
           "Transmission System" is defined as “the facilities controlled or operated by the Transmission Provider within
         the PJM Region that are used to provide transmission service under Tariff, Part II and Part III.” PJM Tariff, I.
         Common Service Provisions.
         3
          The TO Proposal does include new requirements as part of the Attachment M-3 planning process for FERC Form
         715 Projects. See, for example, TO Proposal at Exhibit A, Paragraph (d).
                                                                1


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         projects to relieve economic constraints (Market Efficiency Projects). The TO Proposal also adds

         a new category of projects to the Attachment M-3 transmission planning process, under an

         umbrella label of “Asset Management Projects,” for maintenance activities and new transmission

         that replaces existing Transmission Facilities that are not expansions or enhancements of the

         Transmission System.4 As proposed, the described purpose of an Asset Management Project is

         virtually unlimited and can be any maintenance or new transmission replacement for any aging

         infrastructure drivers, security, reliability, automation, or to meet regulatory compliance

         requirements.5 To determine whether a transmission-related project (whether maintenance or new

         transmission) is an expansion or enhancement of the Transmission System, the Transmission

         Owner must determine whether the project will result in an Incidental Increase, which is a new

         term included in the TO Proposal. 6              Specifically, an Incidental Increase is an increase in

         transmission capacity that results from updated technology or replacements to meet Transmission

         Owner design standards, industry standards, codes, laws or regulations. 7 The PJM Transmission

         Owners attempt to make all of these changes through a FPA section 205 filing. The PJM

         Transmission Owners request that the Commission accept the TO Proposal for filing and allow the

         proposed Tariff modifications to become effective sixty days from the filing, on August 11, 2020.

                    For the reasons set forth below, American Municipal Power, Inc. (“AMP”), Old Dominion

         Electric Cooperative (“ODEC”), the PJM Industrial Customer Coalition, Public Power Association

         of New Jersey, People’s Counsel for the District of Columbia, Delaware Division of the Public



         4
             TO Proposal Exhibit A at Paragraph (b)(1).
         5
             Id.
         6
             Id. at Paragraph (b)(3).
         7
             Id.
                                                                2


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         Advocate, West Virginia Consumer Advocate, Indiana Office of Utility Consumer Counselor,

         Blue Ridge Power Agency, and Central Virginia Electric Cooperative (collectively, the “Load

         Group”) hereby protests the PJM TO Proposal pursuant to Rule 211 of the Commission’s Rules of

         Practice and Procedure, 18 C.F.R. § 385.211 (2020). The Load Group’s review of the PJM TOs’

         filing has identified a number of respects in which the TO Proposal fails to adhere to established

         Commission precedent or practice or is otherwise unjust, unreasonable or unlawful. Accordingly,

         and because the Commission does not have the opportunity to condition acceptance upon

         substantial reforms to the filing, the PJM TOs’ proposed Tariff modifications should be rejected. 8

                 The Load Group’s objections to the PJM TOs’ filing are set forth below.

         I.      BACKGROUND

                 As the Commission is well aware, PJM stakeholders, including the Load Group, have been

         attempting since at least 2015 to get additional clarity, transparency and accountability in the PJM

         transmission planning process, particularly as it regards end of life transmission facilities. The

         Load Group will not rehash the entire history here; however, the fact is that the main driver of

         transmission development and construction in the PJM footprint for the foreseeable future is likely

         to be replacing aging infrastructure (colloquially referred to as “End of Life” or “EOL” projects). 9




         8
           NRG Power Mktg., LLC, & GenOn Energy Mgmt., LLC v. Fed. Energy Regulatory Comm’n, 862 F.3d 108, 110
         (D.C. Cir. 2017) (When reviewing a utility’s filing under FPA Section 205, FERC may not “transform the proposal
         into an entirely new rate of FERC’s own making.”); see also, Midcontinent Independent System Operator, Inc., 167
         FERC ¶ 61,258 at P 66 (The Commission determined that because one aspect of a proposal was unjust and
         unreasonable, it must reject the filing as a whole.).
         9
          Cost Savings Offered by Competition in Electric Transmission Experience to Date and the Potential for Additional
         Customer                     Value                 at               43,               available                 at:
         https://brattlefiles.blob.core.windows.net/files/16726_cost_savings_offered_by_competition_in_electric_transmissio
         n.pdf (“Brattle Study”).
                                                                 3


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         In fact, PJM reported that “[t]wo-thirds of all system assets in PJM are more than 40 years old;

         over one-third are more than 50 years old.” 10

                 The reality is that the PJM Region has experienced severe imbalance in PJM transmission

         planning as compared to PJM TO-only transmission planning, with the latter undertaking the vast

         majority of new transmission investment. According to PJM’s presentation at the May 4, 2020

         Annual Members Committee, in 2018, over 76 percent of the project expenses within the PJM

         RTEP were Supplemental Projects ($6.5 billion) as opposed to regionally planned projects ($2.0

         billion). The largest component of the spending on Supplemental Projects in 2018 was on projects

         that were claimed to be necessary due to EOL conditions. The statistics for 2019 also show that

         the vast majority of projects were based on claims of EOL conditions and were not subject to

         regional planning pursuant to the PJM RTEP.11 In fact, as can be determined from the data

         extracted from PJM information in Table 1 below, new transmission projects that expand or

         enhance the Transmission System driven by EOL conditions have made up the largest category of

         transmission being planned and built in the PJM footprint for most of the last five years and are

         on target to be the same this year.




         10
           See “The Benefits of the PJM Transmission System” PJM Interconnection at 5 (April 16, 2019), available
         at: https://www.pjm.com/-/media/about-pjm/newsroom/fact-sheets/the-value-of-transmission.ashx.
         11
           See 2019 Project Statistics presented at the May 12, 2020 PJM Transmission Expansion Advisory Committee,
         available at: https://www.pjm.com/~/media/committees-groups/committees/teac/2020/20200512/20200512-item-10-
         2019-project-statistics.ashx.

                                                             4


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                                                                 Table 1




                    From 2015 through June 2020, $17.7 billion of EOL projects have been proposed.12

         Trending the 2010-2019 cost data forward through 2028, the cost of EOL projects would total

         $46.52 billion from 2020 through 2028. 13




         12
              Affidavit of Edward D. Tatum supporting the basis for the calculations in Table 1.
         13
              Id.

                                                                     5


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                                                                          Table 2

                                    Forecasted End-Of-Life Project Totals
                                2010-2019 Actual Data, 2020-2028 Forecasted
              $8.00
              $7.00                                               $6.18                                                    $6.89
                                                                                                                      $6.51
              $6.00                                                                                              $6.13
                                                                                                            $5.76
                                                                                                       $5.38
              $5.00                                                                          $4.62
                                                                                                  $5.00
                                                         $3.41             $3.54
              $4.00                                                                     $4.25
                                                $2.78
              $3.00
                                            $0.98   $0.67
              $2.00                                                                 $1.99
                             $0.73$0.87$0.43
              $1.00     $0.26
                $-



                                                        Actuals             Forecast-Linear



                      Thus, replacement projects for Transmission Facilities with EOL conditions comprise the

         largest component of transmission additions; additions that will determine whether the

         Transmission System is planned and operated with an eye towards the next 50 years, or one built

         through balkanized, piecemeal replacements of assets built for the world of 50 (or more) years

         ago. The PJM TOs’ Proposal would have the Commission bless the latter, which results in an

         unjust and unreasonable outcome for consumers across the PJM Region. The Load Group urges

         the Commission to consider and adopt the former, by rejecting the PJM TOs’ Proposal. 14

                      Not only does PJM, as the regional transmission organization (“RTO”), have the broader

         regional view, more comprehensive information regarding new generation in the interconnection

         queue, congestion and other market data to plan the transmission system of the future on a

         coordinated basis, but planning needed new transmission projects through the RTEP would open



         14
              See Joint Stakeholder Proposal.
                                                                      6


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         such projects to competition that is precluded by the TO Proposal. The cost impact of competitive

         transmission is significant. In an April 2019 report from the Brattle Group, using competitive

         solicitations in transmission development is estimated to save 20% to 30% of project costs

         compared to traditionally developed transmission projects. 15 As shown in Table 3 below, applying

         Brattle’s estimated savings of 30% had the existing EOL projects been open to competition

         through PJM’s RTEP process, a customer savings of $5.9 billion could have been realized from

         2010 through 2019. Astonishingly, having PJM, instead of the TOs, plan EOL projects could save

         customers between $8.91 and $13.36 billion from 2021 through 2028, or an average of between

         $1.11 billion and $1.67 billion each year, based on current projections, also as shown in Table 3.

                 There is no argument that the expected magnitude of EOL projects will have regional

         impacts on the Transmission System. In fact, at least one PJM Transmission Owner has stated that

         “[t]he age and condition of the transmission system in the PJM region poses a significant risk to

         reliability.”16 Given the volume, cost, and importance for reliability of new transmission required

         to replace existing Transmission Facilities with EOL conditions, the planning responsibility should

         be PJM’s.




         15
           Cost Savings Offered by Competition in Electric Transmission Experience to Date and the Potential for Additional
         Customer                     Value                 at               43,               available                 at:
         https://brattlefiles.blob.core.windows.net/files/16726_cost_savings_offered_by_competition_in_electric_transmissio
         n.pdf.
         16
           See FERC Technical Conference, Panel 4, Written Introductory Remarks as Filed with FERC, FERC Docket AD20-
         17 at 2 (July 2, 2020).
                                                                 7


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                           Table 3: EOL Project Savings If Open to Competition

                                 Year       Actuals ($B)       Forecast-Linear ($B)
                                 2010   $            0.26
                                 2011   $            0.73
                                 2012   $            0.87
                                 2013   $            0.43
                                 2014   $            0.98
                                 2015   $            2.78
                                 2016   $            0.67
                                 2017   $            3.41
                                 2018   $            6.18
                                 2019   $            3.54
                                 2020   $            1.99      $              1.99
                                 2021                          $              4.25
                                 2022                          $              4.62
                                 2023                          $              5.00
                                 2024                          $              5.38
                                 2025                          $              5.76
                                 2026                          $              6.13
                                 2027                          $              6.51
                                 2028                          $              6.89

                                 Total Estimated Savings
                                                               $              8.91
                                          At 20%
                                 Total Estimated Savings
                                                               $             13.36
                                          At 30%

                                 Total Estimated Annual
                                                               $              1.11
                                     Savings At 20%
                                 Total Estimated Annual        $              1.67
                                     Savings At 30%

                At the PJM Markets and Reliability Committee (“MRC”) meeting on December 5, 2019,

         the committee members approved an issue charge sponsored by AMP and ODEC, the stated

         purpose of which was to develop PJM governing document changes to establish requirements for

         an EOL planning determination process; improve transparency in the TO EOL determination


                                                           8


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         process such that stakeholders can confirm that EOL processes were followed; establish

         requirements for EOL replacement planning process in the RTEP, including specification of the

         planning horizon requirements for end of life projects; and improve consistency by having PJM

         review, plan and ultimately approve EOL replacement projects as part of the RTEP approved by

         the PJM Board. The stakeholders utilized PJM’s consensus-based issue resolution (“CBIR”)

         process to develop two distinct solution packages to address the issues set forth in the issue charge:

         one supported primarily by PJM staff and the other by a diverse group of PJM stakeholders. At

         the May 21, 2020 MRC meeting, following discussion, both proposals failed in sector-weighted

         votes, with the joint stakeholders’ proposal receiving 3.23 in favor (65% in support) and the PJM

         proposal receiving only 1.77 in favor (35% in favor, 65% against). However, at the June 18, 2020

         meeting, by a 69% sector-weighted supermajority vote, the Members Committee voted to approve

         the stakeholder proposal to modify the PJM Operating Agreement regarding planning of

         transmission projects to replace Transmission Facilities under PJM’s control that the Transmission

         Owners determine have reached the end of their operational lives. On July 2, 2020, PJM submitted

         in Docket No. ER20-2308-000, the proposal developed by joint stakeholders to provide for

         transparency in end of life transmission planning (“Joint Stakeholder Proposal”). 17

                    In complete disregard of the ongoing stakeholder process, on June 12, 2020, the PJM

         Transmission Owners made a unilateral filing with the Commission to amend Attachment M-3 to

         the PJM Tariff for the purported purpose of: (1) expanding the scope of Tariff Attachment M-3 to

         include limited PJM Transmission Owner maintenance or “asset management activities” and

         projects that are not otherwise required to be included in an Order No. 890-compliant transmission

         planning process; and, (2) improving coordination between the Transmission Owners’ planning


         17
              PJM Interconnection, L.L.C., FERC Docket ER20-2308-000 (July 2, 2020)(“Joint Stakeholder Proposal”).
                                                                  9


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         for Transmission Facilities to replace facilities nearing the end of their operational lives with

         PJM’s development of baseline RTEP projects by giving the TOs the authority to supersede PJM’s

         determination that the baseline RTEP project resolves the EOL need.

                    As a result of the TOs’ blatant attempt to circumvent the PJM Stakeholder process, now

         before the Commission are two very different transmission planning proposals, both filed under

         Section 205 of the Federal Power Act. One is the Joint Stakeholder Proposal, supported by a

         supermajority of PJM Members that proposes to modify Schedule 6 of the Operating Agreement,

         where the RTEP Protocols reside.18 The other is the TO Proposal, a unilateral attempt to

         circumvent the will of the PJM Members with a proposal that was never part of the CBIR process

         and vetted only through a consultation process whereby the PJM Transmission Owners could and

         did reject or ignore nearly all recommendations for improvements. The TO Proposal changes are

         solely to the Tariff Attachment M-3 that are based upon a PJM proposal that was soundly rejected

         by the majority of PJM Members, and that has been modified in a way that renders it unjust,

         unreasonable and unlawful.

                    The Commission should reject the TO Proposal because it is unjust, unreasonable and

         otherwise unlawful, as discussed herein. Instead, the Commission should approve the Joint

         Stakeholder Proposal, which is a just and reasonable resolution of the long-contested issues

         regarding planning for expansions and enhancements resulting from Transmission Facilities

         reaching an EOL condition. In the event the Commission does not reject the TO Proposal outright,

         then it should consolidate the proceedings.




         18
              Joint Stakeholder Proposal.
                                                           10


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         II.        PROTEST

                    A.       The PJM TO Proposal exceeds the PJM Transmission Owners’ authority to
                             unilaterally file.

                    The PJM Transmission Owners have special rights to modify certain portions of the PJM

         Tariff. However, those rights are not unlimited. The June 12 filing by the PJM Transmission

         Owners exceeded the limited authority and, thus, the Commission should dismiss the TO Proposal.

                    Section 9.1(a) of PJM’s Tariff gives the Transmission Owners the exclusive and unilateral

         right to file FPA section 205 filings relating to “the establishment and recovery of the Transmission

         Owners' transmission revenue requirements or the transmission rate design under the PJM Tariff,

         and such filing rights shall also encompass any provisions of the PJM Tariff governing the

         recovery of transmission-related costs incurred by the Transmission Owners.” The Tariff specifies

         that the Transmission Owners can “only file under Section 205 to change the transmission rate

         design for the PJM Region pursuant to a filing approved in accordance with Section 8.5.1 of the

         CTOA.”19

                    This exclusive and unilateral right to retain the authority under FPA section 205 (16 U.S.C.

         824d) to seek recovery from the RTO of the revenue requirements associated with the transmission

         facilities that they own serves as an important check and balance to RTOs’ independence

         requirement.20 It ensures that Transmission Owners, who turned over operational control and the

         majority of planning responsibilities to the RTO, still have the ability to recover their costs of




         19
           Section 8.5.1(e) of the CTOA requires a vote of two-thirds of the total individual votes of CTOA signatory
         Transmission Owners for approval of “changes in or relating to Joint Transmission Rate or the PJM Regional Rate
         Design, or any provisions governing the recovery of transmission-related costs incurred by the Transmission Owners.”
         20
              Public Utility District No. 1 of Snohomish County, Washington v. FERC, 272 F.3d 607, 611-612 (2001).

                                                                  11


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         transmission ownership, particularly when the RTO has the authority to require the Transmission

         Owner to construct new transmission.21 But the Transmission Owners’ authority stops there.

                    With the exception of the recently approved and limited transmission planning process for

         local Supplemental Projects contained in Tariff Attachment M-3, the regional transmission

         planning process is set forth in Schedule 6 to the PJM Operating Agreement. The PJM Operating

         Agreement specifies what is included in the RTEP criteria: (1) “PJM’s planning procedures;” (2)

         NERC Reliability Standards; (3) Regional Entity reliability principles and standards; and, (4) “the

         individual Transmission Owner FERC filed planning criteria as filed in FERC Form No. 715.” 22

         PJM planning procedures include the methods PJM uses to conduct modeling and the details of

         data collection, among other things. Additionally, “Supplemental Project” is defined only in the

         Operating Agreement.

                    Unlike the limited Tariff provisions under which the PJM Transmission Owners have FPA

         section 205 rights, the PJM Members have authority to change the Operating Agreement through

         FPA section 205 filing rights. Specifically, Section 8.8 of the PJM Operating Agreement provides

         that the Members Committee shall have the power to take actions specified in the Operating

         Agreement, including, in accordance with Section 18.6 of the Operating Agreement, amending

         any portion of the Operating Agreement. Section 18.6, in turn, provides in part that the Operating

         Agreement may be amended only upon (i) submission to Board for its review and comments; (ii)

         approval of the amendment or new Schedule by the Members Committee, after consideration of

         the comments of the PJM Board; and, (iii) approval and/or acceptance for filing of the amendment

         by FERC.” This division of authority was not an oversight in the formation of PJM. Rather, it


         21
              See Operating Agreement, Schedule 6, Section 1.7 Obligation to Build.
         22
              Operating Agreement, Schedule 6, Section 1.2(e).
                                                                   12


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         was well recognized that competitive markets would require an independent RTO planning the

         future grid lest incumbent TOs conduct planning in favor of their generation affiliates. This

         essential ingredient to successful competitive markets is as compelling today as it was in 1997

         when it was first adopted by the PJM members and approved by the Commission.

                    Although the Show Cause Order recognized that the PJM TOs “retain primary authority

         for planning local Supplemental Projects” and that it is “just and reasonable for the Supplemental

         Projects planning process to be contained in the PJM OATT,” 23 the TO Proposal is not limited to

         modification of the Supplemental Project planning process in Attachment M-3.

                    As the TOs explain, the TO Proposal, “significantly expand[s] the scope of the Attachment

         M-3 process to include asset management projects that affect PJM’s modeling of the

         Transmission.”24 More significant is the PJM TO Proposal’s attempt to dramatically expand the

         applicability of the Attachment M-3 process and explicitly limit PJM’s flexibility to improve its

         structure and operations to meet demands by restricting the PJM planning criteria. The TO

         Proposal achieves this monumental change to the PJM RTEP by adding an “applicability”

         provision to Attachment M-3 such that the Transmission Owners have authority to plan both

         Supplemental Projects and “any other transmission expansion or enhancement of Transmission

         Facilities that is not planned by PJM to address one or more” of a limited list of PJM planning

         criteria, including: NERC Reliability Standards, State Public Policies, Transmission Owner FERC

         Form 715 criteria, or projects to relieve economic constraints. 25 Notably absent from the TO



         23
           See Monongahela Power Co., et al., Order to Show Cause, 156 FERC 61,134 (2016); order accepting in part
         proposed tariff revisions and requiring tariff revisions pursuant to section 206,162 FERC 61,129 (2018) (“M-3
         Order”), order on rehearing and compliance, 164 FERC 61,217 at P13 (2018) (“Show Cause Order on Rehearing”).
         24
              TO Proposal, Transmittal Letter at 3.
         25
              Id., Exhibit A at Paragraph (a).
                                                              13


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         Proposal list of regional transmission planning criteria that is not within the TOs’ rights under

         Attachment M-3 is “Office of the Interconnection planning procedures,” which is currently part of

         the Operating Agreement list of RTEP planning criteria.26

                    It is important to note that in defining Supplemental Projects as a “transmission expansion

         or enhancement that is not required for compliance with the following PJM criteria,” 27 “PJM

         criteria” is not a defined term under the Operating Agreement. Likewise, “system reliability,

         operational performance or economic criteria” 28 are not specifically defined in the PJM Operating

         Agreement. This is not surprising because those terms are intended to be flexible to reflect the

         changing determinations by PJM and its stakeholders as to the regional criteria that PJM should

         be addressing. Indeed, this is precisely why the definition of Supplemental Projects was further

         restricted to exclude “state public policy project pursuant to Operating Agreement, Schedule 6,

         section 1.5.9(a)(ii)” after that category of PJM planned facilities was added as part of PJM’s Order

         No. 1000 compliance filing in 2014.29 It is also reflected in the fact that the definition requires “a

         determination by the Office of the Interconnection” that the proposed Supplemental Project does

         not meet any of the referenced PJM criteria – which criteria are determined by PJM and its

         stakeholders, not the PJM Transmission Owners. 30 Again, the authority of the independent RTO

         was carefully crafted in support of competitive markets.




         26
              Operating Agreement, Schedule 6, 1.2(3)
         27
              Id., Section 1, Definitions S-T.
         28
              Id.
         29
              PJM Interconnection, L.L.C., 147 FERC ¶ 61,128 at P 69 (2014).
         30
              Operating Agreement, Schedule 6, Section 1.5.6(n).
                                                                   14


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                But the TO Proposal’s addition of the above-referenced new terms in Attachment M-3 flips

         on its head the division of planning authority allocated to PJM versus the Transmission Owners.

         Whereas under the current Attachment M-3 process and the RTEP Protocols, the Transmission

         Owners’ planning authority is limited to a narrow category of local Supplemental Projects, under

         the TO Proposal, the TOs would have planning authority over all “Attachment M-3 Projects,”

         which includes: (1) Supplemental Projects, (2) Asset Management Projects, and (3) “any other

         expansion or enhancement of Transmission Facilities that is not excluded from this Attachment

         M-3” through the applicability provisions. (emphasis added).

                By including the PJM planning criteria in the Tariff section over which the Transmission

         Owners have exclusive authority to change through an FPA section 205 filing, the TO Proposal

         prohibits PJM or PJM Members from ever expanding the PJM planning criteria absent

         Transmission Owner acquiescence. This attempt to rewrite the Operating Agreement exceeds the

         Transmission Owners’ authority regarding amendments that the Transmission Owners may make

         unilaterally through an FPA section 205 filing.

                While PJM Transmission Owners may retain authority to plan the narrow list of local

         projects that Supplemental Projects represent under prior Commission orders, the list of RTEP

         planning criteria resides in the Operating Agreement, a document controlled by PJM and the PJM

         stakeholders. PJM stakeholders have full authority to change the referenced RTEP planning

         criteria at any time based on their desires as to the scope of regional planning.

                Contrary to the TO Proposal, the Transmission Owners cannot turn Attachment M-3 into

         an expansive catchall that allows the PJM Transmission Owners to declare whatever they choose

         to be an “Attachment M-3 Project” absent defined PJM criteria. Nor may the Commission approve

         a Section 205 filing that reflects an expansion of the Transmission Owner transmission planning

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         responsibility beyond the holding of prior Commission orders or the wishes of PJM stakeholders

         absent a finding pursuant to an FPA section 206 complaint that the existing Operating Agreement

         is unjust and unreasonable. Instead, the Supplemental Project definition and the RTEP, both in

         the Operating Agreement, allow PJM and its stakeholders to declare what Supplemental Projects

         can (and cannot) be and the Attachment M-3 is limited to Supplemental Projects.

                     B.       Even if the TO Proposal did not exceed the PJM TOs’ authority, the Proposal
                              is unjust and unreasonable.

                              1.      PJM, and not the individual PJM TOs, has the right and obligation to
                                      plan regional and subregional transmission projects.

                     The TO Proposal attempts to add to Attachment M-3 a new category of transmission

         projects to be included in Attachment M-3 – asset management – which the Transmission Owners

         contend need not comply with the transmission planning requirements of Order No. 890, and

         which would encompass replacement of Transmission Facilities that have an EOL condition. 31 As

         noted above, given the volume and magnitude of EOL projects, effectively rebuilding the

         integrated Transmission System and impacting reliability, the planning for the new transmission

         to replace existing Transmission Facilities is transmission planning for regional and subregional

         projects and that is beyond the Transmission Owners’ rights and authority.

                     The purpose of the CTOA is to facilitate coordination of planning and operating of

         Transmission Facilities and to transfer certain planning and operating responsibilities from the

         PJM Transmission Owners to PJM.32 The PJM Transmission Owners reserved the authority and

         responsibility to operate and maintain the transmission facilities they own. 33 However, the CTOA



         31
              TO Proposal, Transmittal Letter at 2.
         32
              CTOA Article 2.
         33
              Id. at Section 4.5.
                                                            16


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         imposes on PJM the responsibility to prepare the RTEP.34 The RTEP includes, among other

         things, Regional and Subregional RTEP projects developed to comply with all applicable

         reliability and other delineated criteria, including, for example, market efficiency projects and

         Public Policy Requirements.35

                     The Transmission Owners conflate CTOA Section 4.1 as support for the view that they

         may conduct transmission planning essentially as they see fit absent a specific PJM RTEP

         criterion. That section, however, addresses operation and maintenance – not planning. They also

         reference CTOA Sections 5.1-5.6, but those sections also fail to identify planning rights retained

         by the Transmission Owners.36 Rather, the CTOA explicitly transfers the RTEP responsibility to

         PJM and there is nothing referenced by the Transmission Owners in the CTOA that permits them

         to conduct transmission planning. In fact, the CTOA does not even describe or authorize the

         Transmission Owners to plan for Supplemental Projects. Rather, Supplemental Project is defined

         in the Operating Agreement and the limited right to plan for local Supplemental Projects was

         exclusively embedded in the Operating Agreement until the Show Cause Orders permitted the

         Transmission Owners to add Attachment M-3 to the Tariff. 37 Quite simply, maintenance ends

         when a TO makes the determination that it is no longer cost effective to maintain the asset. That’s

         where planning begins.



         34
              Id. at Section 4.1.4.
         35
              Operating Agreement, Article I, Definitions, 3.1.0.

         36
            Specifically, CTOA Section 5.1 addresses the prevention of physical damage to persons or property; Section 5.2
         retains the right to build, finance, own, acquire, sell, dispose, retire, merge or otherwise transfer transmission facilities;
         Section 5.3 permits the PJM TOs to take actions they deem necessary to fulfill local, state or federal law; Section 5.4
         retains the respective rights of PJM and the PJM TOs as set forth in the Federal Power Act and the Commission’s
         rules and regulations thereunder to the extent not provided for in the CTOA; Section 5.5 expressly permits the parties
         to enforce their obligations; and, Section 5.6 retains rights not transferred to PJM to the PJM TOs.
         37
              Operating Agreement, Article 1, Definitions.
                                                                      17


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                    Although the Show Cause Order recognized that the PJM TOs “retain primary authority

         for planning local Supplemental Projects” and that it is “just and reasonable for the Supplemental

         Projects planning process to be contained in the PJM OATT,” 38 the authority granted by the Show

         Cause Orders to the Transmission Owners is not unfettered. The Commission’s acceptance of the

         PJM TOs’ M-3 proposal through the Show Cause Order proceedings was on the basis that the

         Attachment M-3 process would be a stand-alone transmission planning process for local

         Supplemental Projects that complies with the requirements of Order No. 890. 39 Specifically, the

         Commission found that while Order No. 890 requires individual transmission owners’ local

         planning processes to comply with specified requirements, even when transmission owners

         participate in an RTO, they are not required to allow the RTO to do all planning for local or

         Supplemental Projects. Therefore, so long as the individual Transmission Owners’ local planning

         process is compliant with the Order No. 890 requirements, the PJM Transmission Owners may

         retain primary authority for planning local Supplemental Projects.40

                    That PJM is the regional entity responsible for transmission planning, as opposed to the

         PJM Transmission Owners, is evidenced by the fact that the transmission planning provisions are

         included in the Operating Agreement - which can only be revised by super-majority vote of the

         PJM Members - as opposed to the Tariff which can be unilaterally modified by the Transmission

         Owners. As discussed above, although the Commission permitted the Transmission Owners to

         place their planning for Supplemental Projects in Tariff Attachment M-3, the TO Proposal here

         goes well beyond what the Commission permitted in approving Attachment M-3. The import of



         38
              Show Cause Order on Rehearing at P 13.
         39
              Id.
         40
              Id.
                                                             18


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         these extensive proceedings is that the Commission has consistently held firm that in order to

         comply with Order No. 890 and Order No. 1000, local and regional transmission planning must

         be fully integrated into PJM’s overall transmission planning process, not treated as a one-off

         process to be developed by the Transmission Owners alone.

                         2. The TO Proposal Will Unreasonably Limit the Scope of PJM’s RTEP Process

                    The TO Proposal will exempt from the PJM RTEP planning process a significant amount

         of transmission projects. In the past three years (2017-2019), the PJM Transmission Owners have

         proposed $13.13 billion in end of life related projects, out of a total $21.44 billion in total

         projects.41 While this includes both Baseline and Supplemental Projects, the TO Proposal will

         impact planning for a significant amount of transmission facilities in PJM. The TO Proposal would

         exempt from PJM’s RTEP planning process certain “Asset Management Projects” and even for

         “Asset Management Projects” that would not qualify as Attachment M-3 Projects, the TO Proposal

         gives the Transmission Owners the ultimate authority over planning – not PJM. As transmission

         customers “embedded within the service areas of individual transmission owners,” 42 the lack of

         open, coordinated, and transparent planning for projects as proposed by the Transmission Owners

         is an issue of critical importance to the Load Group.

                    Despite the Commission’s efforts in the Attachment M-3 proceeding to bring the PJM

         Transmission Owners’ transmission planning into compliance with Order No. 890 and Order No.




         41
              See Table 1, supra.
         42
           Preventing Undue Discrimination and Preference in Transmission Service, Order No. 890, FERC Stats. & Regs. ¶
         31,241, at P 440; order on reh’g, Order No. 890-A, FERC Stats. & Regs. ¶ 31,261 (2007), order on reh’g, Order No.
         890-B, 123 FERC ¶ 61,299 (2008), order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on clarification,
         Order No. 890-D, 129 FERC ¶ 61,126 (2009) (“Order No. 890”).

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         1000, there is mounting evidence that the majority of transmission planning in PJM is not

         occurring on a regional basis.43

                    The Transmission Owners’ representation that their proposal “will improve planning

         coordination between Transmission Owners and PJM”44 and that the proposal will “enhance

         transparency and the opportunity for stakeholder comment” 45 with respect to their asset

         management projects, is inaccurate. In fact, the TO Proposal would take significant planning

         authority away from PJM, at a critical time when PJM should be responsible for planning the Grid

         of the Future and to the detriment of transmission customers whose interests in non-discriminatory

         access to transmission the Commission sought to protect in Order No. 890 and Order No. 1000.

                    As an example, the TO Proposal revises the very scope of the Transmission Owners’

         planning authority as compared to PJM’s. The existing Attachment M-3 “provides additional

         details of the process that PJM and the PJM Transmission Owners will follow in connection with

         planning Supplemental Projects . . .”46 As a replacement, for this coordinated approach, the TO

         Proposal states that “[e]ach Transmission Owner shall be responsible for planning and

         constructing in accordance with Schedule 6 of the Operating Agreement as provided in this

         Attachment M-3, to the extent applicable, (i) Asset Management Projects . . . (ii) Supplemental

         Projects . . . and (iii) any other transmission expansion or enhancement of Transmission Facilities

         that is not planned by PJM to address one or more of the following criteria:

                         1. NERC Reliability Standards (which includes Applicable Regional Entity
                            reliability standards);


         43
              See Tables 1-3, supra.
         44
              TO Proposal, Transmittal Letter at page 3.
         45
              Id.
         46
              PJM Tariff, Attachment M-3, Applicability.
                                                                 20


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                        2. Individual Transmission Owner planning criteria as filed in FERC Form
                           No. 715 and posted on the PJM website, provided that the Additional
                           Procedures for the Identification and Planning of EOL Needs, set forth in
                           section (d) shall apply, as applicable;

                        3. Criteria to address economic constraints in accordance with section 1.5.7 of
                           the Operating Agreement or an agreement listed in Schedule 12-Appendix
                           B;

                        4. State Agreement Approach expansions or enhancements in accordance with
                           section 1.5.9(a)(ii) of the Operating Agreement; or

                        5. An expansion or enhancement to be addressed by the RTEP Planning
                           Process pursuant to section (d)(2) of this Attachment M-3 in accordance
                           with RTEP Planning Process procedures in Schedule 6 of the Operating
                           Agreement.”47

         Under the TO Proposal, a PJM Planning Criteria Need is defined as “a need to plan a transmission

         expansion or enhancement of Transmission Facilities other than those reserved to each

         Transmission Owner in accordance with section (a) [above].” Thus, the PJM Transmission

         Owners clearly want the Commission to approve a transmission planning structure where the

         Transmission Owners, not PJM, have the responsibility for planning and constructing a broad

         range (and likely the majority) of transmission projects, with PJM’s responsibility limited to only

         specific categories.

                    Moreover, as ODEC and AMP have expressed in the past, having these critical planning

         provisions in Attachment M-3 to the PJM Tariff as opposed to the Operating Agreement, gives the

         PJM Transmission Owners control and veto authority over adding additional regional planning

         categories to the PJM RTEP, because their proposed Attachment M-3 reserves for the

         Transmission Owners authority over planning and constructing all but those limited enumerated




         47
              TO Proposal, Exhibit A at Paragraph (a).

                                                               21


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         areas for PJM planning.48 The Commission’s assurance that any changes to Attachment M-3 must

         nevertheless be found to be just and reasonable does not address this concern, because if

         Attachment M-3 is approved as proposed by the TOs, PJM will only have planning authority over

         the enumerated items in Attachment M-3, as opposed to authority as provided and may be set forth

         in the future in the RTEP provisions of the Operating Agreement. The TO Proposal is a

         fundamental shift away from the assurances and division of PJM responsibility for independently

         planning the transmission system in the PJM region, to the Transmission Owners as the primary

         authority over the scope and process for transmission planning. This defeats the purpose of an

         RTO in the first place.

                    There is a critical need for PJM’s role as the entity responsible for regional and sub-regional

         transmission planning. The Commission and PJM have been focused on efforts toward building a

         grid of the future, to accommodate not only the 15-year planning horizon, but also helping the

         power grid adapt to change, address aging and end of life infrastructure, grid resilience and the

         shifting fleet of generation resources.49 A regional organization with a long term planning horizon

         is best suited to plan for our energy future in determining how best to accommodate renewables,

         distributed resources, microgrids, and storage. Permitting the Transmission Owners to usurp

         PJM’s role in the planning process as well as the open, transparent and coordinated process with

         interested stakeholders, will critically threaten those goals.




         48
            See Request for Rehearing filed by the Load Group in Docket Nos. ER17-179, et al. on March 19, 2018 at 6-12;
         Monongahela Power Co., 162 FERC ¶ 61,129 at P 58 n.132 (citing AMP, Motion to Dismiss and Answer filed
         November 15, 2016 in Docket No. EL16-71 at 8; ODEC Protest filed in Docket No. EL16-71 on November 22, 2016
         at 10; AMP Protest filed in Docket No. EL16-71 on November 22, 2016 at 3-4).
         49
              See https://insidelines.pjm.com/how-pjms-regional-planning-process-prepares-the-grid-for-the-future/.
                                                                   22


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                              2.    The TO Proposal prohibits PJM from complying with FERC Rules.

                     Transmission planning and expansion is one of eight essential, minimum functions of an

         RTO as determined in Order No. 2000.50 In Order No. 2000, the Commission concluded, “the

         RTO must have ultimate responsibility for both transmission planning and expansion within its

         region that will enable it to provide efficient, reliable and non-discriminatory service and

         coordinate such efforts with the appropriate state authorities.” 51 This requirement is memorialized

         in the Commission’s Rules at Section 35.43(k). Another essential function of an RTO is an “open

         architecture” policy to allow the RTO the flexibility to improve its structure and operations to meet

         demands.52

                     Specifically, the “open architecture” rule requires that “any proposal to participate in a

         RTO must not contain any provision that would limit the capability of the RTO to evolve in ways

         that would improve its efficiency, consistent with the requirements in paragraphs (j) and (k) of this

         section.”53 Further, under this rule, RTOs must have the ability to “evolve with respect to its

         organizational design, market design, geographic scope, ownership arrangements, or methods of

         operational control, or in other appropriate ways if the change is consistent with the requirements

         of this section”.54




         50
           Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶ 31,089, at 31,163 (1999), order on
         reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000), aff’d sub nom. Pub. Util. Dist. No. 1 v. FERC, 272
         F.3d 607 (D.C. Cir. 2001)(“Order No. 2000”).
         51
            18 C.F.R. § 35.34(k)(7) (2018); Order No. 2000 (affirming that “the RTO must have ultimate responsibility for both
         transmission planning and expansion within its region”).
         52
              See id. § 35.34(l).
         53
              Id.
         54
              Order 2000.

                                                                  23


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                    As discussed herein, the TO Proposal changes the PJM RTEP by adding an “applicability”

         provision to Attachment M-3 that gives the Transmission Owners exclusive authority to plan both

         Supplemental Projects and “any other transmission expansion or enhancement of Transmission

         Facilities that is not planned by PJM to address one or more” of a truncated list of PJM planning

         criteria.55 This limits PJM’s ability to add additional regional planning categories to the PJM

         RTEP absent Transmission Owners approval to modify the tariff, thus preventing PJM from

         independently making changes to the RTEP deemed necessary. This is the exact opposite of the

         spirit and letter of Order 2000 and the Commission’s rules for RTOs. A transmission planning

         system that puts the Transmission Owners in complete control of future transmission planning

         preempts open architecture and PJM’s ability to evolve.

                             3.       The PJM TOs’ reliance on the California Orders is misplaced.

                    The TO Proposal attempts to create asset management as a category of transmission

         projects separate and apart from Supplemental Projects, and to apply proposed Attachment M-3 to

         Asset Management Projects. The TO Proposal purports to be based on the Commission’s orders

         regarding asset management activities for two Participating Transmission Owners (“PTOs”) in the

         CAISO – Pacific Gas & Electric Company (“PG&E” and Southern California Edison Company

         (“SoCal Edison”). However, their reliance on those unrelated proceedings is misplaced and, in

         any event, the Orders do not apply to the breadth of projects included in the Transmission Owners’

         definition of Asset Management Projects.




         55
              TO Proposal, Exhibit A at Paragraph (a).
                                                               24


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                                      a. California Orders are expressly not applicable to PJM.

                    The TO Proposal for asset management projects relies heavily on the California Orders for

         both the proposed language in Attachment M-3 and for authority. 56 However, the Commission

         made clear that its rulings in the California Orders were based on the specific circumstances of

         those proceedings. In the orders regarding PG&E’s transmission planning, the Commission

         specifically based its findings regarding PG&E’s asset management activities on the information

         in the record of the proceeding and the specific activities at issue in that proceeding. 57 The

         Commission rejected arguments seeking to align the CAISO Participating Transmission Owners’

         (“PTOs”) asset management activities with the Commission’s orders on PJM’s Supplemental

         Project planning.58 To be clear, the Commission stated as follows:

                    The Commission did not address the question whether Supplemental Projects must
                    be included in PJM’s Order No. 890-compliant transmission planning process in
                    either the PJM Show Cause Order or the February 15 PJM Order. Rather, those
                    orders addressed the question whether Supplemental Projects were being treated in
                    accordance with PJM’s Order No. 890-compliant transmission planning process
                    once PJM had elected to include them in that process. Thus the Commission stated
                    in the Order on Complaint, “[t]he question of whether asset management projects
                    and activities that do not increase the capacity of the grid must go through an Order
                    No. 890-compliant transmission planning process was not at issue in the February
                    15 PJM Order.59

         The Commission further stated that “[i]n light of the specific criteria set forth in the definition of

         Supplemental Projects in the PJM Tariff, there is no basis to conclude that based on their definition,


         56
              See PJM TO Proposal, Transmittal Letter at 3-5.
         57
            California Pub. Utils. Comm’n, et al. v. Pacific Gas and Elec. Co., 164 FERC ¶61,161 at P 67 (2018) (“Based on
         the information in the record, we find that the specific asset management projects and activities at issue here do not,
         as a general matter, expand the CAISO grid.”); see also id. at P 73 (“[T]he scope of this proceeding is therefore limited
         to whether PG&E’s self-approval of asset management projects and activities violates the requirements of Order No.
         890.”).
         58
          California Pub. Utils. Comm’n, et al. v. Pacific Gas and Elec. Co., 168 FERC ¶ 61,171 at PP 51-59 (2019) (“PG&E
         Rehearing Order”).
         59
              Id. at P 54 (emphasis added).
                                                                   25


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         Supplemental Projects are in many cases identical to asset management projects[.]”60 Similarly,

         in an order on SoCal Edison’s proposal to create an asset management review process, the

         Commission rejected attempts to apply orders regarding PJM transmission planning practices to

         the CAISO asset management issues.61

                     Thus, the Commission has made clear that the CAISO asset management orders were

         limited to those proceedings. Nothing in those orders indicates that the Commission intended to

         broaden the applicability of its asset management determinations. The Commission should not

         simply import and impose its determinations in the California Orders, which were based on the

         specific circumstances of those proceeding, on PJM’s transmission planning process as the PJM

         TOs would inappropriately suggest occur.

                                      b.       Even if applicable, which they are not, the California Orders do
                                               not stand for what the PJM TOs represent in their proposal.

                     In addition to the fact that the Commission explicitly specified that the California Orders

         were limited to their facts, the Transmission Owners have exaggerated what the Commission did

         in those orders.

                     First, the Transmission Owners’ mischaracterize the California Orders by claiming that the

         Commission adopted a definition of “asset management.” The TO Proposal states that they

         “engage in asset management activities, which the Commission defines as ‘activities necessary to

         maintain a safe, reliable, and compliant grid, based on existing topology.’” 62 In support, they cite




         60
              Id. at P 59.
         61
           See Southern California Edison Co., 164 FERC ¶ 61,160 at P 37 (2018)(“We are also not persuaded by Protesters’
         assertions that the transmission planning practices in other ISOs/RTOs are instructive here.”)(“SoCalEd Order”);
         order on reh’g, 168 FERC ¶ 61,170 at PP 51-59 (2019) (“SoCal Ed Rehearing Order”).
         62
              TO Proposal, Transmittal Letter at 3.
                                                               26


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         the PG&E Rehearing Order at paragraph 7, note 19.63 However, this is not the Commission’s

         definition at all. Instead, in that footnote, the Commission referred to the initial Order on

         Complaint in the PG&E proceeding, in which the Commission made clear that the definition of

         asset management came from the transmission owners. 64                          The Commission was simply

         summarizing its prior determination in the proceeding.” 65

                    Next, in the California Orders, the Commission addressed the “specific asset management

         projects and activities at issue” as “items such as maintenance, compliance, work on infrastructure

         at the end-of-useful life, and infrastructure security[.]” 66 The Transmission Owners here go well

         beyond anything in the California Orders even as they claim that their Proposal is consistent with

         those Orders. For example, the TO Proposal does not include a proposed definition for “Asset

         Management,” but defines an “Asset Management Project” as “any modification or replacement

         of a Transmission Owner’s Transmission Facilitates that results in no more than an Incidental

         Increase in transmission capacity undertaken to perform maintenance, repair and replacement

         work, to address an EOL Need, or to effect infrastructure security, system reliability, and

         automation projects the Transmission Owner undertakes to maintain its existing electric

         transmission system and meet regulatory compliance requirements.” 67 This definition far exceeds


         63
           TO Proposal, Transmittal Letter at 3, n. 7, citing California Pub. Utils. Comm’n, et al. v. Pacific Gas and Elec. Co.,
         168 FERC ¶ 61,171 at P 7, n. 19 (2019).
         64
            PG&E Complaint Order, 164 FERC ¶ 61,161 at P 46 (“During discussions, the PTOs utilized the term ‘asset
         management’ to encompass the transmission-related maintenance and compliance projects at issue in the proceedings.
         According to the PTOs, asset management refers to the activities necessary to maintain a safe, reliable, and compliant
         grid, based on existing grid topology. These activities include operations and maintenance and capital expenditure
         activities as part of the PTOs’ compliance with the TCA. CAISO reiterated that the TCA does not require non-
         expansion, non-reinforcement, maintenance, or compliance-type projects that do not change the topology of the grid
         to be approved through the TPP.”) (emphasis added).
         65
              PG&E Rehearing Order at P 7.
         66
              SCE Order, 164 FERC ¶ 61,160 at P 33.

                                                                   27


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         what the Commission considered in the California Orders. The TO Proposal also misinterprets

         the California Orders with regard to the line the Commission drew between asset management

         projects, which might have an incidental increase in capacity and are not subject to regional

         planning, and expansions, which are subject to the regional planning process. In the PG&E

         Rehearing Order, the Commission noted that “[a]ccording to the CAISO and the PTOs, an asset

         management project that involves an incidental increase in capacity is not required to be reviewed

         and approved through CAISO’s TPP because the incidental increase in capacity is a function of

         the more advanced technology of the equipment rather than the driver for the project.” 68 On the

         basis of such representations, the Commission determined as follows:

                     We recognize that there may be instances in which a PTO’s asset management
                     project or activity may result in an incidental increase in transmission capacity that
                     is not reasonably severable from the asset management project or activity[.] . . .Such
                     an increase in transmission capacity would be incidental to, and not reasonably
                     severable from, the asset management project or activity required to meet the PTO’s
                     need. We find that this type of incidental increase in transmission capacity that is
                     a function of advancements in technology of the replaced equipment, and is not
                     reasonably severable from the asset management project or activity, would not
                     render the asset management project or activity in question a transmission
                     expansion that is subject to the transmission planning requirements of Order No.
                     890.69

         The TO Proposal includes a new term, Incidental Increase, defined as follows:

                     “Incidental Increase” shall mean an increase in transmission achieved by
                     advancements in technology and/or replacements consistent with current
                     Transmission Owner design standards, industry standards, codes, laws or
                     regulations which is not reasonably severable from an Asset Management project.
                     A transmission project that results in more than an Incidental Increase in
                     transmission capacity is an expansion or enhancement of Transmission Facilities. 70


         67
              TO Proposal, Exhibit A at Paragraph (b)(1).
         68
              PG&E Complaint Order, 164 FERC ¶ 61,161 at P 48 (citations omitted).
         69
              Id. at P 68.
         70
              TO Proposal, Exhibit A at Paragraph (b)(3).
                                                                  28


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         The Transmission Owner definition adds “replacements” as well as “current Transmission Owner

         design standards, industry standards, codes, laws or regulations” as reasons for “achievement” of

         an increase in capacity which would take a project out of being considered an expansion or

         enhancement of Transmission Facilities.                   The inclusion of new standards, particularly

         Transmission Owner design standards, means that just adding new transmission to meet updated

         standards that are developed exclusively by the individual Transmission Owners and do not have

         any review and approval process or other regulatory oversight, could significantly increase the

         transmission capacity to meet those standards. For example, replacing 1/0 copper with 795 ACSR

         conductor (the new standard) at 69 kilovolts to comply with updated Transmission Owner

         standards would increase the line carrying capability by 4-5 times. Similarly, if the new standard

         was determined to require all 138 kilovolt transmission (no more 69 kilovolt transmission), this

         “incidental increase” could be 8-11 times the current standard. This definition threatens to swallow

         the years-long efforts PJM, stakeholders, the Commission and even Transmission Owners have

         invested in achieving compliance with the Commission’s transmission planning principles. It’s

         broad, non-quantifiable and apparently self-policing nature makes it likely that far more

         transmission projects will be removed from PJM-facilitated open, transparent and coordinated

         transmission planning.

                    Another distinction between the California Orders and the PJM TOs Proposal is the

         consideration of transmission “enhancements.” The California Orders used “expansions” as the

         indicator of transmission planning as opposed to maintenance. 71 There is no consideration of how

         “enhancements” should be treated for purposes of asset management in those Orders because the

         planning structures are distinctly different. In PJM, enhancements are a critical yet undefined


         71
              California Pub. Utils. Comm’n, et al. v. Pacific Gas and Elec. Co., 164 FERC ¶ 61,161 at PP 66, 67 (2018).
                                                                   29


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         component of the PJM RTEP process, and could be described exactly as the Transmission Owners

         have defined “Incidental Increases” in the TO Proposal.72 The precedent of the California Orders

         is inapplicable because the California Orders did not, and would not have been expected to,

         account for this fundamental category of transmission planning unique to PJM vis-à-vis California.

         The Transmission Owners, PJM, and the Commission cannot simply ignore the inclusion of

         “enhancements” throughout the PJM governing documents.

                             4.       The PJM TO rights are limited to existing transmission facilities – not
                                      planning future facilities.

                    The PJM Transmission Owners claim that, through the CTOA, they retained the

         “responsibility for planning and constructing their own facilities, including expansions not

         delegated to PJM.”73 The Transmission Owners assert that the only right transferred to PJM

         through the CTOA is the responsibility to prepare a “Regional Transmission Expansion Plan” and

         that PJM’s planning role is limited exclusively to expanding the Transmission System. 74 The

         inference of the Transmission Owners’ argument, which is never stated explicitly, is that new

         transmission projects to replace existing facilities are not expansions or enhancements of the

         Transmission System. This argument doesn’t hold water.

                    While there is no argument that the PJM Transmission Owners have the right and

         obligation to maintain their respective Transmission Facilities as well as plan Supplemental

         Projects pursuant to PJM OATT Attachment M-3, they do not have a perpetual right to rebuild

         every asset they brought into PJM. The Transmission Owners create an inextricable identity

         between original transmission facilities—those that may have been planned many decades ago


         72
              TO Proposal, Exhibit A at Paragraph (b)(3).
         73
              TO Proposal, Transmittal Letter at 8.
         74
              Id.
                                                                  30


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         under a single-system paradigm and which were in existence when PJM was formed as an RTO

         with regional planning responsibility—and the EOL projects that replace original facilities at the

         end of their operational lives. Their error is their belief that the link between an EOL project and

         the original facilities it replaces mandates that the transmission owner that owns the original

         transmission facility necessarily has the right to plan for its replacement. This error follows from

         the Transmission Owners’ view that the CTOA prohibits PJM from planning projects to replace

         transmission originally built for service limited to a vertically integrated transmission owner’s own

         load regardless of any role the facilities have come to play in regional operations since the original

         facilities were planned and built and irrespective of the fact that replacement facilities are planned

         to meet current and future system needs. But the Transmission Owners’ position, as reflected in

         the TO Proposal, is both unsupported by the CTOA and counter to Commission precedent and

         law. Such an outcome would have us rebuilding the balkanized, uncoordinated grid of the past.

                    Transmission planning and expansion is one of eight essential, minimum functions of an

         RTO as determined in Order No. 2000.75 In Order No. 2000, the Commission concluded that “the

         RTO must have ultimate responsibility for both transmission planning and expansion within its

         region that will enable it to provide efficient, reliable and non-discriminatory service and

         coordinate such efforts with the appropriate state authorities.” 76 This requirement is memorialized

         in the Commission’s Rules at Section 35.43(k).77              In addition to expanding the transmission



         75
           Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶ 31,089, at 31,163 (1999), order on
         reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000), aff’d sub nom. Pub. Util. Dist. No. 1 v. FERC, 272
         F.3d 607 (D.C. Cir. 2001).
         76
            18 C.F.R. § 35.34(k)(7) (2018); Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶
         31,089, at 31,163 (1999), order on reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000), aff’d sub nom.
         Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607 (D.C. Cir. 2001) (affirming that “the RTO must have ultimate
         responsibility for both transmission planning and expansion within its region”).
         77
              18 C.F.R. § 35.34(k)(7) (2018);
                                                               31


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         system, PJM and the Transmission Owners have made PJM responsible for planning for

         transmission facilities that enhance the transmission system in addition to expansion throughout

         the Tariff, Operating Agreement and CTOA. In fact, CTOA Section 4.1, entitled “Rights and

         Responsibilities Transferred to PJM” clearly transfers to PJM the responsibility for transmission

         planning for expansions and enhancements to the Transmission System. Specifically, CTOA

         Section 4.1.4 transfers to PJM the responsibility to prepare the RTEP, which is defined in CTOA

         Section 1.22 as it is defined in the PJM Tariff: as "the plan prepared by PJM pursuant to

         Operating Agreement, Schedule 6 for the enhancement and expansion of the Transmission

         System in order to meet the demands for firm transmission service in the PJM Region.” Thus,

         PJM has both the right and the obligation to plan new transmission that expands or enhances the

         transmission grid.

                    The TO Proposal, however, would seize control of planning responsibilities for

         transmission expansions and enhancements for future transmission facilities in contravention of

         the CTOA delineation of responsibilities and the RTEP planning responsibilities in the Operating

         Agreement. Specifically, the TO Proposal expands the applicability of the Attachment M-3

         transmission planning process, over which the Transmission Owners have exclusive control, to

         include: “any other transmission expansion or enhancement of Transmission Facilities that is not

         planned by PJM to address one or more” of a limited list of PJM planning criteria, including:

         NERC Reliability Standards, State Public Policies, Transmission Owner FERC Form 715 criteria,

         or projects to relieve economic constraints.78 Nothing in the referenced sections of the CTOA

         provides the Transmission Owners with a definitive right to determine what future assets will make

         up the PJM-administered Transmission System.


         78
              TO Proposal at Exhibit A, Paragraph (a).
                                                               32


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                 The TO Proposal produces untenable results. In essence, the result of the TO Proposal is

         that the planning process for replacing existing facilities that are no longer cost-effective to

         maintain would not take into account the future needs of the system. Transmission system

         planners, however, plan the system to meet current and future needs, which are significantly

         different than the needs that existed when the original facilities (those being replaced) were

         planned.     By fixating exclusively on historical customer needs that may have necessitated

         construction of a transmission facility decades ago, the Transmission Owners disregard the

         fundamental changes in the industry and marketplace that have occurred since PJM was formed.

         Today, a vast array of capacity, energy and ancillary services products are traded in PJM through

         centrally operated day-ahead and real-time markets that aim to make the most efficient uses of

         resources. Those operations are made possible by the integration of all elements of the network,

         not simply those that happened to be planned under PJM’s post-formation RTEP process. The line

         drawn by the TO Proposal between existing/EOL facilities on the one hand and “RTEP-planned”

         facilities on the other assumes a sharp division or dichotomy in market operations that simply does

         not exist.

                 Although the issue being addressed was cost allocation, the Commission recognized the

         diminishing role of existing transmission facilities over time as PJM plans more regional and

         subregional Transmission Facilities. As stated in paragraph 47 of Opinion 494 issued April 19,

         2007:

                 We add that, in the future, PJM’s continued use of a zonal rate design to allocate
                 the costs of existing transmission facilities will be of declining significance. Under
                 PJM’s market rules, as PJM pursues region-wide transmission planning and as
                 more centrally-planned transmission facilities are built, utilities will pay for new
                 transmission increasingly in proportion to benefits they realize from new
                 transmission. As new facilities are added, and as existing facilities depreciate, such


                                                          33


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                    an allocation will move cost allocation increasingly towards a sharing of costs
                    based on benefits received.79


                    Moreover, prohibiting EOL projects from being planned regionally through the PJM RTEP

         ignores that the role particular facilities play in today’s marketplace is very different from the role

         played by the facilities an EOL project replaces. Pretending otherwise simply to balkanize

         transmission planning by the “original” zone disserves the economic efficiency goals that (in

         addition to equity) also lie at the heart of centralized transmission planning. The result of the PJM

         TO approach is that loads in zones with higher-cost transmission facilities would be locked into

         bearing those higher costs for the foreseeable future, even as the facilities are replaced at the end

         of their useful lives, notwithstanding contributions the facilities make to enable the efficient

         operation of PJM’s centralized markets. Instead, EOL projects should be planned with an eye

         toward the needs of what the system requires for the operational life of the replacement facility

         and thus must be planned in accordance with the RTEP methodology the PJM TOs have already

         agreed to and that the Commission has determined is just and reasonable.

                            5.       The PJM TO Proposal would reduce transparency in the Attachment
                                     M-3 Process, counter to Order No. 890 and Order No. 1000
                                     requirements.

                    The Commission made clear in Order No. 890 that individual Transmission Owners in an

         RTO or ISO must also comply with the planning principles set forth in that Order. 80 The

         Commission explained that this requirement means that transmission providers must facilitate the

         timely and meaningful input and participation of customers in the development of transmission


         79
            PJM Interconnection, L.L.C., 119 FERC ¶ 61,063 at P 47 (2007). In footnote 56 to P 47, the Commission notes
         that for “new transmission facilities that are planned by individual utilities for local purposes and that do not directly
         advance PJM’s objectives as an RTO,” (i.e., Supplemental Projects), the use of a zonal rate design to allocate the costs
         is just and reasonable.
         80
              Order No. 890 at P 440 (emphasis added).
                                                                    34


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         plans and, more specifically, that “customers must be included at the early stages of the

         development of the transmission plan and not merely given an opportunity to comment on

         transmission plans that were developed in the first instance without their input.” 81 In short, Order

         No. 890 requires that transmission planning “not [be] limited to the mere exchange of information

         and then review of transmission provider plans after the fact.” 82 Instead, stakeholders must have

         “a meaningful opportunity to engage in planning along with their transmission providers.”

                     Order No. 1000 requires transmission providers “to evaluate, in consultation with

         stakeholders, alternative transmission solutions that might meet the needs of the transmission

         planning region more efficiently or cost-effectively than solutions identified by individual public

         utility transmission providers in their local transmission planning process.” 83 This requirement

         applies equally to baseline RTEP projects and Local Plans, including Supplemental Projects. 84

                     The TO Proposal would introduce a veil of secrecy that does not currently exist, making

         the Attachment M-3 process non-compliant with the requirements of Order No. 890 and Order No.

         1000. Specifically, and mystifyingly for the purpose of increasing transparency, the TO Proposal

         only requires Transmission Owners to provide to PJM, and then only on a confidential basis, up

         to five years of projected replacements that a Transmission Owner has identified. 85 Creating secret

         lists as part of the Attachment M-3 process certainly does not increase transparency; rather, it




         81
              Id. at P 454.
         82
              Id. at P 488.
         83
              Order No. 1000 at P 6 (emphasis added).
         84
              Id. at P 148.
         85
              TO Proposal, Transmittal Letter at 11.
                                                              35


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         creates opportunities for abuse. Secret transmission projects do not comply with the openness and

         transparency requirements of Order No. 890 and Order No. 1000.

         III.   ALTERNATIVE
                The Commission should dismiss the TO Proposal because it exceeds the Transmission

         Owners’ authority and because it is unjust and unreasonable. Moreover, a superior proposal,

         thoughtfully developed and supported by a super-majority of PJM Members, has been filed for the

         Commission’s consideration in Docket No. ER20-2308-000. This, member-supported proposal is

         the proposal that should be approved by the Commission. The Load Group does not believe that

         normal maintenance or asset management of Transmission Facilities in keeping with good utility

         practice has any place in the transmission planning realm. While it may be useful to better

         understand Transmission Owner maintenance programs, the Transmission Owners are mistaken if

         they believe that this is what stakeholders have been requesting for the last six years. Rather,

         stakeholders seek to have the regional transmission organization use all of its tools and insights to

         centrally plan, on a regional and cost effective basis, for new transmission expansions and

         enhancements that are required to replace Transmission Facilities that have reached the end of

         their operational lives for the grid of the future.      The TO Proposal conflates true “asset

         management” projects (repairs, individual component replacement) which are not currently part

         of planning and should not be, with building new transmission, at today’s industry standards.

                As a prime example of the Transmission Owners’ obfuscation of the issue, the

         Transmission Owners rely on analogies like the following:

                        A good analogy to help dispel that myth is homeownership. Say you’ve got
                        an old roof that’s leaking, and it’s over 40 years old, like most PJM
                        transmission assets. You can keep patching it, or you can replace the roof
                        and preserve the integrity of the house. If you don’t replace the aging roof
                        and it fails, then you don’t just have a roof problem anymore; you’ve got
                        floor damage and foundation issues, too. That’s what we’re trying to avoid
                                                          36


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                         on our transmission system. We’re replacing deteriorating assets before
                         they fail in order to preserve the structural integrity and reliability of the
                         whole system.

                         And like homeowners, who are best positioned to manage their own homes,
                         transmission owners are best positioned to understand the condition of their
                         assets and determine the need for maintenance, replacement and
                         improvement. Asset management is a living, breathing, ever-changing
                         process, and it’s [sic] transmission owners who operate their systems every
                         day and carry the legacy knowledge required to make decisions that impact
                         the performance of the electric grid. It’s essential that we continue to depend
                         on their expertise in asset management and cost-effective transmission
                         planning.86

         No one is asking the PJM Transmission Owners to stop or even change their maintenance programs

         and activities, which they fully recover through rates. No one is suggesting that the Transmission

         Owners are not best positioned to determine when Transmission Facilities can no longer be cost-

         effectively maintained and need to be replaced. However, when every house in a community is

         going to reach the end of its operational life at the same time and needs to be torn down, the

         community planning department may want to examine whether each house should simply be

         rebuilt exactly as it was designed 50 years ago, or whether more modern homes with open floor

         plans and walk-in closets should replace the old homes. Or, whether condos, duplexes, apartments,

         or something else would better suit the current and future needs of the community. Just like

         community planning, PJM, as the regional transmission organization, should be the entity planning

         the current and future transmission needs in the PJM footprint.

                 The Commission should reject the TO Proposal and accept the Stakeholder Proposal.




         86
           See FERC Technical Conference, Panel 4, Written Introductory Remarks of Charles E. Jones, Chief Executive
         Officer, FirstEnergy, as Filed with FERC, FERC Docket AD20-17 at 2 (July 2, 2020).
                                                             37


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         IV.        SPECIFIC ERRORS OF THE PROPOSED ATTACHMENT M-3 CHANGES

                    For the reasons set forth above, the TO Proposal is unjust, unreasonable and unlawful. In

         addition, the Load Group specifically identifies the errors in each proposed change in the redline

         of Attachment M-3 that was attached to the transmittal letter as Exhibit A, as summarized below.

         Paragraph A (Applicability): The proposed addition of the applicability paragraph is unlawful
         because it modifies the RTEP planning criteria in the Operating Agreement and the PJM
         Transmission Owners may not unilaterally modify the Operating Agreement through an FPA
         Section 205 filing. It is also unlawful as it is in contravention of the Commission’s Rules at
         Section 35.43(k) and Order No. 2000’s requirement that “the RTO must have ultimate
         responsibility for both transmission planning and expansion within its region that will enable it to
         provide efficient, reliable and non-discriminatory service and coordinate such efforts with the
         appropriate state authorities.”87 Finally, it is also unjust and unreasonable as it expands
         Transmission Owner authority to plan transmission projects beyond local Supplemental Projects.

         Paragraph B (Definitions):
                 1.     The proposed definition of “Asset Management Project” is unjust and
         unreasonable as it seeks to apply an interpretation of a Commission Order that is explicitly
         inapplicable to PJM.88

                2.       The proposed definition of “Attachment M-3 Project” is unjust, unreasonable and
         unlawful because it confers authority for transmission planning beyond local Supplemental
         Projects to the Transmission Owners. 89

                 3.     The proposed definition of “Incidental Increase” is unjust and unreasonable as it
         seeks to apply an interpretation of a Commission Order that is explicitly inapplicable to PJM.
         Additionally, by including a Transmission Owner’s design standards, which is not defined, the
         definition is unreasonably broad and susceptible to manipulation through a modification of
         Transmission Owner design standards.

                 4.          The definition of Transmission Facilities is unnecessary as it is already defined in
         the Tariff.



         87
            18 C.F.R. § 35.34(k)(7) (2018); Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶
         31,089, at 31,163 (1999), order on reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000), aff’d sub nom.
         Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607 (D.C. Cir. 2001) (affirming that “the RTO must have ultimate
         responsibility for both transmission planning and expansion within its region”).
         88
              See discussion, supra, at Paragraph 4.
         89
              Show Cause Order on Rehearing at P 13.

                                                               38


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                5.     The proposed definition of “EOL Need” is unjust and unreasonable because it
         confers authority for transmission planning, beyond local Supplemental Projects, to the
         Transmission Owners.

                6.     The proposed definition of “Candidate EOL Needs List” is unjust and
         unreasonable because it is not transparent in contravention of Order No. 890 requirements.

                7.     The proposed definition of “Form No. 715 EOL Planning Criteria” is unjust,
         unreasonable and unlawful because it modifies the RTEP and, thus exceeds the authority of the
         Transmission Owners to modify through a FPA Section 205 filing.

                8.       The proposed definition of “Attachment M-3 EOL Planning Criteria” is unjust and
         unreasonable because it confers authority for transmission planning beyond local Supplemental
         Projects to the Transmission Owners. 90

                 9.     The proposed definition of “PJM Planning Criteria” is unjust and unreasonable
         because it confers authority for transmission planning beyond local Supplemental Projects to the
         Transmission Owners and modifies the RTEP, which is beyond the Transmission Owners’
         authority.

                 10.       The definition of RTEP Planning Process is unnecessary as it is already defined in
         the Tariff.

         Paragraph C (Procedures for Review of Attachment M-3 Projects). The revisions to
         Paragraph C(7), which expand the use of Attachment M-3 to other undefined “Transmission
         Projects,” is unjust and unreasonable because it confers authority for the Transmission Owners to
         use the Attachment M-3 transmission planning process beyond local Supplemental Projects. 91



         V.         MOTION TO CONSOLIDATE

                    As demonstrated above, the TO Proposal is unjust, unreasonable and otherwise unlawful.

         Therefore, the Commission should reject it outright. Instead, the Commission should approve the

         Joint Stakeholder Proposal, as filed in Docket No. ER20-2308-000. However, if the Commission

         does not reject the TO Proposal outright, then the Load Group moves to consolidate this




         90
              Id.
         91
              Id.
                                                           39


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         proceeding with Docket No. ER20-2308-000. Consolidation is appropriate where the proceedings

         involve common issues of law and fact. 92

         VI.     CONCLUSION
                 WHEREFORE, the Load Group respectfully requests that the Commission: (1) reject the

         June 12 filing and (2) grant such further relief as the Commission may deem appropriate.

                                                      Respectfully submitted,


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         92
           See, e.g., California Independent System Operator Corp., 94 FERC ¶ 61,147 at 61,558 (2001); Pacific Gas and
         Elec. Co, 106 FERC ¶ 61,036 at P 20 (2004); Seminole Elec. Cooperative, Inc., 149 FERC ¶ 61,210 at P 29 (2014).
                                                               40


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                                          CERTIFICATE OF SERVICE

                I hereby certify that I have on this date caused a copy of the foregoing document to be

         served on each person included on the official service list maintained for this proceeding by the

         Commission’s Secretary, by electronic mail or such other means as a party may have requested,

         in accordance with Rule 2010 of the Commission’s Rules of Practice and Procedure, 18 C.F.R. §

         385.2010.

         Dated this the 6th day of July, 2020.


                                                 /s/ Lisa G. McAlister
                                                    Lisa G. McAlister




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                                  UNITED STATES OF AMERICA
                                         BEFORE THE
                           FEDERAL ENERGY REGULATORY COMMISSION


          American Transmission Systems, Incorporated, )                Docket No. ER20-2046-000
          PJM Interconnection, L.L.C.                  )

                                 AFFIDAVIT OF EDWARD D. TATUM. JR.


         I.     QUALIFICATIONS AND PURPOSE

         Q1.    PLEASE STATE YOUR NAME, PROFESSIONAL POSITION AND BUSINESS

                ADDRESS.


         A1.    My name is Edward D. Tatum, Jr. I am Vice President of Transmission for American

                Municipal Power, Inc. (“AMP”). My business address is 1111 Schrock Road, Suite 100,

                Columbus, Ohio 43229.


         Q2.    PLEASE SUMMARIZE YOUR PROFESSIONAL QUALIFICATIONS.


         A2.    I have significant professional knowledge and experience with electric power markets that

                includes competitive power market design and transmission planning. Before joining

                AMP, I spent 29 years at Old Dominion Electric Cooperative, where I served in a variety

                of positions, the last of which was as Vice President of RTO & Regulatory Affairs. I have

                over 40 years working in the energy industry with public power, in system planning

                (transmission, generation and distribution), forecasting, environmental licensing and

                compliance, and competitive wholesale and retail markets. I have spent over 30 years

                developing utility industry federal policy, including open access transmission, competitive

                markets (generation interconnection, energy markets, resource adequacy constructs, RTO

                governance), transmission planning and demand response.           I have been an active



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                participant in the PJM stakeholder process for over 22 years and served as a sector

                representative on the Finance, Nominating and Liaison Committees, as the Vice-Chair then

                Chair of the Reliability Assurance Agreement Reliability Committee, the Vice-Chair, then

                Chair of the Members Committee and the Chair of the Liaison Committee. I also served on

                the MAAC Board. I hold a B.S. degree in electrical engineering from the University of

                Virginia and a Master of Business Administration from the University of Richmond.


         Q3.    ON WHOSE BEHALF ARE YOU OFFERING THIS AFFIDAVIT, AND WHAT IS ITS

                PURPOSE?


         A3.    I am submitting this affidavit on behalf of the intervenors in this case that are jointly

                supporting a protest against the Transmission Owners’ Proposal, which includes, American

                Municipal Power, Inc. (“AMP”), Old Dominion Electric Cooperative (“ODEC”), the PJM

                Industrial Customer Coalition, Public Power Association of New Jersey, People’s Counsel

                for the District of Columbia, Delaware Division of the Public Advocate, West Virginia

                Consumer Advocate, Indiana Office of Utility Consumer Counselor, Blue Ridge Power

                Agency, and Central Virginia Electric Cooperative (collectively, the “Load Group”). I was

                asked by these parties to review publicly available information on the PJM website

                regarding the number and cost of transmission projects that have an end of life (“EOL”)

                condition listed as a driver and to quantify both the historical projects and forecast the

                future projects.   This affidavit presents the analysis and methodology regarding the

                historical and forecasted EOL projects in the PJM Interconnection, L.L.C. footprint that

                was conducted under my direction.




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         Q4.       WHERE DID YOU OBTAIN THE INFORMATION ON HISTORICAL EOL

                   PROJECTS?


         A4.       The information was obtained from the PJM website at:


                  https://www.pjm.com/pub/account/gen-queues/TOUP_planned_baseline.xml

                  https://www.pjm.com/pub/account/gen-queues/TOUP_post_baseline.xml

                  https://www.pjm.com/pub/account/gen-queues/TOUP_planned_TO.xml

                  https://www.pjm.com/pub/account/gen-queues/TOUP_post_TO.xml

                  https://www.pjm.com/pub/account/gen-queues/TOUP_post_TO.xml


                   However, PJM’s tracking of the designations of the transmission projects based on the

                   drivers is not consistently represented in one consolidated publicly available data set, but

                   rather, multiple data sets that must be aggregated. Accordingly, each Baseline and

                   Supplemental project was reviewed and assigned as “EOL-driven” if: (1) the driver of the

                   “TO Criteria Violation” project was associated with Dominion’s or PSEG’s End-Of-Life

                   criteria, or (2) if the TO Supplemental driver was listed as “Equipment Material

                   Condition.”


         Q5.       PLEASE EXPLAIN HOW THE HISTORICAL, ACTUAL COST OF THE EOL

                   PROJECTS WAS DETERMINED.


         A5.       The historical cost of EOL projects resulted from simply summing the cost of each of the

                   projects assigned with an EOL driver, by year, starting with 2010 through year to date for

                   June 2020. The results of this process are summarized in the table below.




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               Year        2010 2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023 2024 2025 2026 2027 2028
              Actuals ($B)     $0.26 $0.73 $0.87 $0.43 $0.98 $2.78 $0.67 $3.41 $6.18 $3.54 $1.99
          Forecast-Linear ($B)                                                             $1.99 $4.25 $4.62 $5.00 $5.38 $5.76 $6.13 $6.51 $6.89



         Q6.      PLEASE EXPLAIN HOW THE FORECASTED COSTS OF EOL PROJECTS FROM

                  2020 THROUGH 2028 WAS DETERMINED.


         A6.      For July through December 2020, the difference between the yearly averages and the

                  current six-month 2020 totals was added to the actual six-month total. To populate the table

                  for years 2021 through 2028, a simple linear regression in Excel was applied to the ten

                  years of actual EOL project costs from 2010 through June 2020 plus the forecasted period

                  of July through December 2020. See the prior table.


         Q7.      PLEASE EXPLAIN HOW THE EOL PROJECT COSTS COMPARE TO THE TOTAL

                  TRANSMISSION PROJECT COSTS FOR THE SAME TIME PERIOD.


         A7.      The following table summarizes the EOL project costs compared to the total transmission

                  costs with the blue bars representing the EOL project costs and the orange bar representing

                  the non-EOL project costs.




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         Q8.    PLEASE SUMMARIZE THE CONCLUSIONS REACHED FROM YOUR REVIEW OF

                HISTORICAL, ACTUAL COST DATA AND FORECASTED COSTS OF EOL

                PROJECTS.


         A8.    The conclusions are demonstrated in the chart below. Specifically, the chart

                demonstrates that EOL project costs are expected to increase from current levels over

                roughly the next decade.




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                                 Forecasted End-Of-Life Project Totals
                             2010-2019 Actual Data, 2020-2028 Forecasted
           $8.00
           $7.00                                               $6.18                                                   $6.89
                                                                                                                  $6.51
           $6.00                                                                                        $5.76
                                                                                                             $6.13
                                                                                                   $5.38
           $5.00                                                                         $4.62
                                                                                              $5.00
                                                      $3.41             $3.54
           $4.00                                                                    $4.25
                                             $2.78
           $3.00
                                         $0.98   $0.67
           $2.00                                                                $1.99
                          $0.73$0.87$0.43
           $1.00     $0.26
             $-



                                                     Actuals            Forecast-Linear



         Q9.       DO YOU BELIEVE THAT THE CHARTS PROVIDE A REALISTIC PREDICTION OF

                   THE PROJECTED EOL PROJECT COST IN THE PJM FOOTPRINT?

         A9.       Yes. This projected buildout is consistent with forecasts conducted by Brattle (July, 2015

                   “Investment Trends and Fundamentals in US Transmission and Electricity Infrastructure”

                   and April 2019 “Cost Savings Offered by Competition in Electric Transmission”) as well

                   as 2019 data cited by PJM (available at: https://pjm.com/-/media/committees-

                   groups/committees/teac/2020/20200512/20200512-item-10-2019-project-statistics.ashx).

                   According to Brattle, given the dearth of transmission investment between 1985-2005, one

                   may expect anywhere from $5-$10B annual investment in replacing aging infrastructure

                   over the next decade (2015-2025). The PJM analysis reveals approximately two thirds of

                   all transmission assets in the PJM region are more than 40 years old and approximately

                   half are over 50 years old (See PJM Value of Transmission, Spring 2019).




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         Q10.   BASED UPON THE FORECASTED EOL PROJECT COSTS AND BRATTLE’S PRIOR

                ANALYSIS, WHAT WOULD BE THE UNREALIZED FORECASTED COST

                SAVINGS FOR RATEPAYERS IF FERC WERE TO APPROVE THE TRANSMISSION

                OWNER’S PROPOSAL?

         A10.   Applying Brattle’s 2019 analysis that concluded that ratepayers under a FERC Order No.

                1000 competitive paradigm could realize an estimated 30% savings if aging infrastructure

                projects were subject to competition, PJM ratepayers would save, on average $1.67 billion

                annually. This annual savings equates to a net total of $13.36 billion over an eight-year

                period of 2021-2028.




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                                Year       Actuals ($B)     Forecast-Linear ($B)
                                2010   $            0.26
                                2011   $            0.73
                                2012   $            0.87
                                2013   $            0.43
                                2014   $            0.98
                                2015   $            2.78
                                2016   $            0.67
                                2017   $            3.41
                                2018   $            6.18
                                2019   $            3.54
                                2020   $            1.99    $               1.99
                                2021                        $               4.25
                                2022                        $               4.62
                                2023                        $               5.00
                                2024                        $               5.38
                                2025                        $               5.76
                                2026                        $               6.13
                                2027                        $               6.51
                                2028                        $               6.89

                                Total Estimated Savings
                                                            $               8.91
                                         At 20%
                                Total Estimated Savings
                                                            $             13.36
                                         At 30%

                                Total Estimated Annual
                                                            $               1.11
                                    Savings At 20%
                                Total Estimated Annual      $               1.67
                                    Savings At 30%

         Q11.   DOES THIS CONCLUDE YOUR AFFIDAVIT?

         A11.   Yes, it does.




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                                   UNITED STATES OF AMERICA
                                          BEFORE THE
                            FEDERAL ENERGY REGULATORY COMMISSION


          American Transmission Systems, Incorporated, )                 Docket No. ER20-2046-000
          PJM Interconnection, L.L.C.                  )

                                  AFFIDAVIT OF EDWARD D. TATUM. JR.


                I, Edward D. Tatum, do hereby swear and affirm under penalty of law that the statements

         in the foregoing affidavit are true to the best of my knowledge, information and belief.


                Executed this 6th day of July, 2020


                                                               /s/ Edward D. Tatum, Jr.
                                                               Edward D. Tatum, Jr.




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                                        UNITED STATES OF AMERICA
                                               BEFORE THE
                                 FEDERAL ENERGY REGULATORY COMMISSION



             PJM Interconnection, L.L.C.                      )
                                                              )                     Docket No. ER20-2046-000
             American Transmission Systems,                   )
                   Incorporated, et al                        )

                                PROTEST OF LSP TRANSMISSION HOLDINGS II, LLC

                  Pursuant to Rule 211 of the Rules of Practice and Procedure of the Federal Energy

         Regulatory Commission (“FERC” or “Commission”), 1 LSP Transmission Holdings II, LLC (“LS

         Power”) 2 protests the June 12, 2020 filing by PJM Interconnection, L.L.C. (“PJM”) in the above

         captioned proceeding. PJM made this filing under Section 205 of the Federal Power Act

         (“FPA”) 3 on behalf of the PJM Transmission Owners 4 seeking to amend Attachment M-3 (“TO

         Filing”). 5 The Commission should reject the TO Filing as unjust and unreasonable and accept

         the Stakeholders Operating Agreement proposal filed in Docket No. ER20-2038. 6

                  In addition, LS Power, with an affiliate that is now a signatory to the Consolidated

         Transmission Owners Agreement (“CTOA), 7 supports the AMP and ODEC Motion to Dismiss



         1
                  18 CFR § 385.211.
         2
                  LS Power filed a doc-less motion to intervene on June 17, 2020.
         3
                  16 U.S.C. § 824d.
         4
                  For purposes of this Protest, the sponsoring PJM Transmission Owners are referred to as the
                  “Sponsoring Transmission Owners.” “PJM Transmission Owners” refers to the transmission
                  owners in PJM generically, and is used only to refer to the transmission owners collectively.
         5
                  Amendments to Attachment M-3 to PJM Interconnection L.L.C. Open Access Transmission Tariff,
                  filed June 12, 2020 by PJM on behalf of the PJM Transmission Owners.
         6
                  See PJM Interconnection, L.L.C., Tariff Filing per 35.13(a)(2)(iii): End of Life Joint Stakeholder
                  Proposal Filing, Docket No. ER20-2308-000 (filed July 2, 2020)(“Stakeholder OA Filing”).
         7
                  Rate Schedule FERC No. 42 (“CTOA”). Silver Run Electric, LLC, a LS Power affiliate, became
                  a PJM Transmission Owner on May 1, 2020.
                                                                  1


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         the TO Filing, as based on an improperly-issued Notice of Consultation (“Notice”) with the PJM

         Members Committee. 8 LS Power is very concerned about the precedent set by the actions that

         led to this filing. A super-majority voting bloc of the PJM Transmission Owners 9 met in secret,

         without the benefit and protection of PJM antitrust code of conduct rules, and directed the

         Transmission Owners Agreement - Administrative Committee (“TOA-AC”) Chair to take action

         on behalf of all PJM Transmission Owners, on a proposal to which only a select few

         Transmission Owners were privy. That action (of issuing the Notice on behalf of the TOA-AC

         of mandatory consultation with PJM and the Members Committee) directly led to this unjust and

         unreasonable filing. 10



         8
                On June 18, 2020, two PJM Transmission Owners, AMP Transmission, LLC. (“AMPT”) and Old
                Dominion Electric Cooperative (“ODEC”), filed a Motion to Dismiss the TO Filing for violating
                the CTOA Sections 8.4 and 8.5 because the Transmission Owners Agreement – Administrative
                Committee (“TOA-AC”) issued a Notice on May 7, 2020 without holding a meeting or a vote of
                the PJM Transmission Owners to authorize that action.
         9
                “PJM Transmission Owners” refers to the transmission owners in PJM generically, and is used
                only to refer to the transmission owners collectively.
         10
                Section 9.1(b) of the OATT outlines that a minimum 30-day Members Committee and PJM
                consultation is required prior to PJM making a Section 205 filing on behalf of the Transmission
                Owners. The minority members of the TOA-AC only learned about the “action” of the TOA-AC
                when the Notice was provided to the entirety of the PJM Members Committee on May 8, 2020.
                From a PJM governance standpoint, PJM (as a signatory to the CTOA) and the PJM Members
                Committee both should have checked to ensure that the TOA-AC had followed its rules before
                starting the 30-day clock required by Section 9.1(b). Neither PJM nor the PJM Members
                Committee has formal processes to deal with Section 205 consultations with the PJM Members
                Committee. It is not only a governance problem, it is a legally fatal flaw for the entirety of this
                TO Filing. A super-majority of the TOA-AC members cannot be permitted to secretly ask the
                TOA-AC Chair to take the formal action of initiating the required consultation with the PJM
                Members Committee on behalf of the TOA-AC, absent the TOA-AC following the CTOA
                requirements for such action. The 30-day Notice to the PJM Members Committee prior to a
                proposed group Section 205 filing is a significant action of the TOA-AC and a Tariff
                requirement. As LS Power’s affiliate is the newest minority member of the TOA-AC, we look at
                this situation with grave legal concern for the rights of minority transmission owners of the TOA-
                AC. While our LS Power affiliate was a signatory of the CTOA and a member of the TOA-AC
                as of May 1, 2020, the first that we too learned of the Section 205 proposal was the general email
                to the entirety of the PJM Members Committee on May 8, 2020, asserting that the TOA-AC was
                providing Notice of the initiation of the required Section 205 consultation process with the PJM
                Members Committee.
                                                                 2


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                The Sponsoring Transmission Owners that secretly plotted to move forward a Section

         205 filing by having the TOA-AC Chair provide notice on behalf of the committee committed

         serious violations. The issue is not that that the Sponsoring Transmission Owners meeting in

         secret had a sufficient amount of votes to support an action. LS Power’s transmission owning

         affiliate is willing to accept that it can sometimes lose on a vote. But such acceptance is subject

         to one important caveat -- the process required prior to taking a vote must be followed. The

         TOA-AC exists for a reason and have meetings so that important matters can be deliberated on

         and debated by all of the committee’s members, ensuring that all voices and perspectives are

         heard and taken into account before official action is taken, in this case to move forward with a

         TO FERC filing. To that end, a vote cannot be taken until members have the opportunity to vote

         at the meeting by giving them notice of the meeting and the items to be discussed. Moreover, the

         meeting is to be public, with the ability of the entities that have signed the Operating Agreement

         and PJM personnel to attend. The ability of others to observe the meeting deters antitrust

         violations, deterrence so critical when competitors are involved. Yet in this case a meeting that

         was not noticed and not public, resulted in a group of transmission owners initiating a FERC

         filing limiting the ability of other transmission owners to compete without the ability of those

         with different views on competition to participate. This is more than a formality. These are

         serious matters that require further review by PJM. 11



         11
                While the actions of the involved entities raise legal concerns, LS Power is also concerned that
                PJM (as a signatory to the CTOA) and the Members Committee (as the designated PJM Members
                voice for Section 205 consultation) offered little review of the legality of the TOA-AC Notice
                provided to the PJM Members Committee and whether the TOA-AC had followed the CTOA
                requirements and PJM antitrust procedures related to the Notice action. FERC should ask PJM
                detailed questions relating to the extent of the PJM and PJM Members Committee review of the
                May 8, 2020 Notice to PJM Members before they started the 30-day Members Committee
                consultation clock, and ask PJM and the Members Committee to outline their specific procedures
                for dealing with Section 205 consultations in PJM. LS Power does not believe there were any
                                                                   3


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                On the substance, the TO Filing represents a concerted effort by the Sponsoring

         Transmission Owners to circumvent the PJM regional planning process as laid out in Amended

         and Restated Operating Agreement of PJM Interconnection, L.L.C. (“Operating Agreement”) by

         revising Tariff provisions to remove the ability of PJM Stakeholders to determine the scope of

         regional planning within the Operating Agreement. Under the TO Filing, the PJM Transmission

         Owners would have a veto right on any change in PJM regional planning criteria and on some

         regional planning decisions. The TO Filing continues the transition in PJM to move local and

         short-term planning to the forefront, while relegating regional planning to an afterthought. 12

                There should be no confusion that the TO Filing represents a significant grab by the

         Sponsoring Transmission Owners desperately seeking to avoid even the specter of competition




                checks on the TOA-AC actions by PJM or the Members Committee to ensure that the TOA-AC
                action was first consistent with the Tariff and CTOA requirements.
         12
                Since the issuance of Order No. 1000, there has been an increase in investment in projects
                planned locally by certain PJM Transmission Owners outside the regional planning process, i.e.
                Supplemental Projects, and a general decrease in investment in regionally planned projects. A
                chart prepared by AMP that reviews RTEPs from 2005-2019 show a trend in PJM of increasing
                investment in Supplemental Projects and a decreasing investment in regional projects.




                PJM has also planned an alarming number of immediate-need reliability projects, over 300
                projects between the years 2014-2019. While this is in part due to the unjust and unreasonable
                manner in which PJM implemented the immediate need reliability exception, it also reflects a
                shift from long-term to short-term planning, see PJM Interconnection, L.L.C., 171 FERC ¶
                61,212, at P 1 (2020), and the failure of the PJM planning process to require timely identification
                of Transmission Facilities reaching the end of life.
                                                                 4


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         for the billions in future transmission additions needed in PJM to address aging infrastructure. 13

         But it is those billions in end of life (“EOL”) projects that ratepayers have already incurred,

         projects that have regional benefits but are locally cost allocated and built as Supplemental

         Projects that led a broad coalition of PJM Members to approve with a super-majority (69%) vote

         changes to the Operating Agreement that place planning for EOL Transmission Facilities in

         PJM’s regional planning bucket rather than local planning. 14 PJM already undertakes EOL

         planning for those Transmission Owners that include EOL criteria in their Form No. 715

         planning criteria, 15 and the Stakeholder OA Filing would expand that EOL planning to all PJM

         Transmission Owners (for Transmission Facilities under PJM operational control).

                The dichotomy between the TO Filing and the Stakeholder OA Filing is clear. Under the

         TO Filing, incumbent PJM Transmission Owners would have a perpetual right to rebuild their

         existing transmission facilities, regardless of regional needs or benefits, and cost allocation for

         each such rebuild would be 100 percent to the local zone. In addition, under the TO Filing, the

         incumbent transmission owner would exclusively determine, through local planning, what

         Transmission Facilities are developed to address needs arising as a result of Transmission

         Facilities that have reached the end of their useful life, and the incumbent PJM Transmission


         13
                In a 2019 report, PJM noted that two-thirds of transmission assets in PJM are more than 40 years
                old and over one-third are more than 50 years old, while some lower-voltage transmission assets
                are approaching 90 years old. PJM Interconnection, L.L.C., “The Benefits of the PJM
                Transmission System,” at page 5 (released on Apr. 16, 2019), available at,
                https://www.pjm.com/-/media/library/reports-notices/special-reports/2019/the-benefits-of-the-
                pjm-transmission-system.pdf. PJM also noted in this same report and page that “these days,
                instead of expanding the grid to accommodate more and more consumer demand, transmission
                investment [in PJM] tends to be focused on aging infrastructure… and often, projects identified to
                solve one issue help address other system needs as well.”
         14
                See PJM Interconnection, L.L.C., Tariff Filing per 35.13(a)(2)(iii): End of Life Joint Stakeholder
                Proposal Filing, Docket No. ER20-2308-000 (filed July 2, 2020)(“Stakeholder OA Filing”).
         15
                As discussed below, all PJM Transmission Owners should include EOL criteria in their Form No.
                715 submissions, if they do not already, as Form No. 715 clearly covers such criteria.
                                                                5


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         Owner would in each case exclusively build and own those facilities. In essence, the TO Filing

         attempts to create a new federal right of first refusal in the Tariff for incumbent PJM

         Transmission Owners to build and own all new transmission in PJM addressing Transmission

         Facilities reaching the end of their operational life. 16 Indeed, the Applicability Section and new

         definitions in the TO Filing would create a right of first refusal that reaches even beyond EOL

         projects. The entirety of the Applicability Section would give the PJM Transmission Owners the

         exclusive right “to plan and to construct” all Transmission Facilities in PJM except those that the

         revised Attachment M-3 allows PJM to regionally plan, an affront to Order No. 1000. 17 Under

         Order No. 1000, the local planning process cannot override the regional planning process. The

         TO Filing provides that Attachment M-3 now defines the regional planning process, while

         adding back in a right of first refusal construct from pre-Order No. 1000 days.

                If these policy errors were not enough, the TO Filing has direct conflicts with the PJM

         Operating Agreement, in addition to conflicts with the requirements of Order No. 890, Order No.

         1000, Commission Orders in various proceedings, recent Commission show cause orders and

         appellate court precedent. The TO Filing claims to be laid squarely on the foundation of

         Commission precedent related to California (even though that precedent specifically noted that it

         does not apply in PJM), but then conflicts with the actual precedent by going further and greatly




         16
                As discussed below, the TO Filing essentially gives the incumbent transmission owner a veto
                over any regionally planned project that would incorporate needs arising from EOL Transmission
                Facilities.
         17
                Transmission Planning and Cost Allocation by Transmission Owning and Operating Public
                Utilities, Order No. 1000, 136 FERC ¶ 61,051 (2011)(“Order No. 1000”), order on reh’g, Order
                No. 1000-A, 139 FERC ¶ 61,132 (“Order No. 1000A”), order on reh’g, Order No. 1000-B, 141
                FERC ¶ 61,044 (2012), aff’d sub nom. S. C. Pub. Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir.
                2014)(“Order No. 1000”).
                                                              6


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         expanding the allegedly relevant California Orders. 18 The TO Filing also attempts to change the

         rules in PJM related to PJM’s regional planning of Form No. 715 projects, a category that is

         clearly under PJM Regional Planning in Schedule 6 of the Operating Agreement. The TO Filing

         would also undermine four years of stakeholder process related to Supplemental Projects and the

         changes to Manual 14B that decisively passed the PJM Markets and Reliability Committee in

         2019.

                 Thus, the TO Filing is wrong on the law and wrong on the policy. As such, if the AMPT

         and ODEC Motion to Dismiss is not granted, then the TO Filing it must be rejected on the

         merits, with prejudice. LS Power views this Section 205 filing as a blatant attempt to frustrate

         regional planning in PJM and further restrict transmission competition. The Commission must

         scrutinize every sentence of the TO Filing, especially the Applicability Section and the 10 new

         definitions proposed to be added to the PJM Tariff which would limit, confuse, rewrite, and

         conflict with definitions in the Operating Agreement. Conversely, the Stakeholder OA Filing

         would strengthen PJM’s regional planning role while ensuring that only the more efficient or

         cost-effective Transmission Facilities are built to replace, if necessary, Transmission Facilities

         reaching the end of useful life.

                 The TO Filing clearly is not the choice of the PJM Members. The PJM Members

         Committee—which represents the entire spectrum of PJM stakeholders (including the PJM

         Transmission Owners)— passed, by super-majority vote, the Stakeholder OA Filing, after PJM’s

         alternative proposal was shelved when it received only 35% of stakeholder support at a lower

         18
                 Cal. Pub. Utils. Comm’n, et al v. Pacific Gas & Elec., 164 FERC ¶ 61,161 (2018)(“California
                 Complaint Order”), order denying reh’g, 168 FERC ¶ 61,171, at P 7 n.19
                 (2019)(2019)(“California Complaint Rehearing Order”)(collectively, “the California Complaint
                 Proceeding”); see also S. Cal. Edison Co., 164 FERC ¶ 61,160 (2018) (“SCE Order”), order
                 denying reh’g, 168 FERC ¶ 61,170, at P 7 n.15 (2019)(“SCE Rehearing Order”)(collectively,
                 “California Orders”).
                                                               7


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         PJM Markets and Reliability Committee. The TO Filing supports an expansion of local planning

         while the PJM Members Committee supports, as the Commission does as well, strong regional

         planning. The Commission should reject the TO Filing as unjust and unreasonable, and in

         Docket No. ER20-2308-000 accept the Stakeholder OA Filing as just and reasonable.

         I.     FACTUAL BACKGROUND

                A.       PJM Stakeholder Process

                In December 2019, the PJM Members Committee passed an Issue Charge on

         Transparency and End of Life Planning. 19 The work was assigned to the Markets and Reliability

         Committee and the Issue Content was to “develop specific governing document language to

         establish criteria that will apply to all transmission projects that address end of life drivers on

         PJM Tariff transmission assets, address planning horizon requirements, and improve overall

         transparency, consistency, and clarity in the RTEP planning process.” 20 The Key Work

         Activities included:

                      a. Establish requirements for an EOL determination process;

                      b. Improve transparency in the TO EOL determination process such that Stakeholders can

                         confirm that EOL processes were followed (e.g., development or adoption of TO EOL

                         criteria, development of minimum requirements for EOL determinations, etc.);

                      c. Establish requirements for EOL replacement planning process in the RTEP plan,

                         including specification of the planning horizon requirements and;

                      d. Improve consistency by having PJM review, plan and ultimately approve as part of the

                         RTEP approved by the PJM Board EOL replacement projects.




         19
                A copy of the Issue Charge is available at https://pjm.com/-/media/committees-
                groups/committees/mrc/20191218-special-trans/20191218-item-01-issue-charge.ashx.
         20
                Id.
                                                                8


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         The Expected Deliverables included only 1 item: “Governing Document Changes as

         appropriate.”

                A group of Joint Stakeholders 21 developed a proposal, as a precursor to the Stakeholder

         OA Filing, that put PJM in charge of planning, through the regional planning process, to meet

         needs arising from Transmission Facilities reaching the end of their operational life. Given the

         integrated nature of the Transmission Facilities under PJM operational control, the changing

         resource mix and a multitude of other matters that impact the PJM region as a whole, the

         majority of PJM Stakeholders saw the benefit of regionally planning needs arising from

         Transmission Facilities reaching the end of operational life. The Joint Stakeholders developed

         revisions to the Operating Agreement that would require PJM Transmission Owners to notify

         PJM that Transmission Facilities were reaching the end of operational life, and then require PJM

         to determine how to address needs arising from those Transmission Facilities through its holistic

         regional planning process.

                PJM developed an alternative proposal (“PJM Proposal”) that was essentially the status

         quo but with the addition of a 5-year non-binding look ahead for Transmission Facilities

         reaching the end of their operational life, which would be confidential between the PJM

         Transmission Owner and PJM. Because of the short notice period, however, the PJM Proposal

         would have had the troubling effect of creating more Immediate Need Reliability Projects 22 in


         21
                As reflected in the Stakeholder OA Filing at footnote 4, the Joint Stakeholders were American
                Municipal Power, Inc. (“AMP”), ODEC, LS Power, the PJM Industrial Customer Coalition, Blue
                Ridge Power Agency, Delaware Municipal Electric Corporation, Inc., Public Power Association
                of New Jersey, Office of People’s Counsel for the District of Columbia, and the Delaware
                Division of the Public Advocate.
         22
                The Commission recently found that PJM did not comply with the criteria for designating a
                project as an Immediate Need Reliability Project, and thus required PJM to revise its criteria to
                increase transparency. PJM Interconnection, L.L.C., 171 FERC ¶ 61,212 (2020). That
                proceeding is ongoing.
                                                                 9


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         PJM and was shelved when it received only 35% of stakeholder support at a lower PJM Markets

         and Reliability Committee. 23 The Sponsoring Transmission Owners attended every meeting but

         neither collectively nor individually offered a proposal of their own in the PJM stakeholder

         process. Rather than participate fully in the stakeholder process and in an effort to short-circuit

         the PJM Stakeholder supported Operating Agreement changes that were moving to final

         consideration of approval or rejection by the PJM Members, 24 a secret group of Sponsoring

         Transmission Owners, with super-majority weighted TOA-AC voting rights, caused the TOA-

         AC Chair to improperly act by issuing a Notice, and a written proposal of a prospective Section

         205 filing, to both PJM and the PJM Members Committee on May 8, 2020. Prior to issuance of

         the Notice, purportedly on behalf of the TOA-AC, there was no notice of action, meeting notice,

         or consultation with the minority TOA-AC members related to the Members Committee notice

         or existence or the substance of the written proposal itself occurred, and therefore no opportunity

         whatsoever for the at large membership of the TOA-AC to discuss or deliberate the merits of the

         written proposal prior to its finalization. 25. On June 12, 2020, PJM, on behalf of the Sponsoring




         23
                The PJM Proposal only had the support of PJM Transmission Owners and the Financial
                Transmission Rights traders in PJM.
         24
                On May 12, 2020, the Joint Stakeholders provided the Stakeholder OA language to the PJM
                Board for review. The letter can be found at, https://www.pjm.com/-/media/committees-
                groups/committees/mc/2020/20200618/20200618-item-02-3a-letter-to-pjm-board-on-eol-
                transmission-planning.ashx.
         25
                LS Power’s affiliate became a signatory to the CTOA on May 1, 2020, and LS Power confirms
                the statements of AMP and ODEC that there was no notice of action, no notice of a meeting to
                discuss the potential notice to the PJM Members Committee and no notice that a written proposal
                existed, and no discussion of the substance of the written proposal with LS Power or any minority
                CTOA signatories prior to its issuance. The Notice therefore could not have represented an
                authorized action of the TOA-AC, and the action taken by the super-majority TOA-AC members
                on May 8, 2020 in their attempt to fulfill the action requirements of Section 9.1(a) of the OATT
                for 30-day advance notice to the Members Committee was unauthorized and clearly improper.
                                                               10


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         Transmission Owners, PJM used its discretion 26 to submit the TO Filing in this Docket. 27 The

         agenda for the June 18, 2020 Members Committee vote was properly posted on June 11, 2020,

         and the Stakeholder OA Filing language was before the Members Committee for final vote.

         Both PJM and the PJM Transmission Owners were aware of the upcoming Members Committee

         vote when the TO Filing was submitted to the Commission on June 12.

                On June 18, 2020, the PJM Member’s Committee passed, by super majority, the

         Stakeholders OA Filing. There were record levels of Stakeholder participation in the vote, and

         in the end, 94 PJM Members representing all PJM Sectors, including 2 PJM Transmission

         Owners, approved the revisions. 28

                The end of life planning process in the Stakeholder OA Filing sets a new and vastly

         improved standard for EOL planning. These revisions require PJM Transmission Owners to

         identify their EOL Look-ahead Program, 29 identify those Transmission Facilities expected to




         26
                Section 9.1(b) of the OATT stating “the Office of Interconnection may, but shall not be required
                to, make the Section 205 filing with FERC on behalf of the Transmission Owners.”
         27
                As noted above, on June 18, 2020 AMPT and ODEC filed a Motion to Dismiss the TO Filing for
                violating their contractual rights under the CTOA. See supra footnote 7.
         28
                The Members Committee voting report is available at: https://www.pjm.com/-
                /media/committees-groups/committees/mc/2020/20200618/20200618-voting-report.ashx.
         29
                The Stakeholder OA Filing defines EOL Look-Ahead Program to mean “Transmission Owner
                designed, specific program for transparently applying EOL Criteria to determine and to prioritize
                EOL Conditions and to make EOL Notifications for all Transmission Facilities. The EOL Look-
                ahead Program must cover a minimum of 10 years from the date of submission and be
                comprehensive and complete for the Transmission Facilities owned by the Transmission Owner.”
                                                               11


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         reach EOL Condition 30 during the CTOA mandated PJM 10 year planning horizon, 31 and to

         provide EOL Notification 32 at least six years in advance of facilities that will reach their EOL.

         Once PJM receives the EOL Notification, PJM incorporates it into the regional planning criteria

         to identify needs arising from the Transmission Facilities reaching the end of its useful life.

                B.      TO Filing

                Although the Sponsoring Transmission Owners assert that their proposal is based on the

         proposal that PJM offered in the stakeholder process described above, the TO Filing goes

         substantially beyond the PJM Proposal. PJM acknowledged its proposal could be implemented

         with no tariff or Operating Agreement changes at all. 33 In contrast, the TO Filing has 10 new

         definitions and multiple pages of new procedures that directly interact and override PJM’s role as

         regional planner.




         30
                The Stakeholder OA Filing defines EOL Condition to mean “the state of Transmission Facilities
                that are determined by a Transmission Owner, in accordance with the applicable EOL Look-
                ahead Program and EOL Criteria, to be such that it is not prudent to continue to maintain, repair
                or refurbish the Transmission Facilities and the Transmission Facilities are therefore projected to
                reach the end of operational life within the EOL Look-ahead Program period. End of operational
                life shall not be, for purposes of EOL Condition, determined by the Transmission Facilities’
                service life for accounting or depreciation purposes.”
         31
                CTOA Article 6.3.4 provides that PJM shall: “Conduct its planning for the expansion and
                enhancement of transmission facilities based on a planning horizon of at least ten years, or such
                longer period as may be required by the PJM Tariff or Operating Agreement, including the
                Regional Transmission Expansion Planning Protocol.”
         32
                The Stakeholder OA Filing defines EOL Notification to mean “the notification, binding on the
                Transmission Owner for PJM planning purposes, and documentation required in Operating
                Agreement, Schedule 6 to be given by Transmission Owners to the Office of the Interconnection
                and stakeholders declaring Transmission Facilities to have reached the end of operational life and
                for which the Office of Interconnection shall plan an EOL Project, if necessary. Any EOL
                Notification is subject to Operating Agreement, Schedule 6, section 1.5.8(p).”
         33
                See PJM EOL Planning Package Presentation at Special Markets and Reliability Committee
                session on May 15, 2020 at page 2, available at, https://www.pjm.com/-/media/committees-
                groups/committees/mrc/2020/20200515-special-trans/20200515-item-03-pjm-eol-package-
                follow-up-presentation.ashx.
                                                                12


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                Further, the TO Filing changes the title of Attachment M-3 from “Attachment M-3

         Additional Procedures for Planning Supplemental Projects” to add “And Asset Management

         Projects.” This change conflicts with the Operating Agreement which only recognizes

         Attachment M-3 as addressing Supplemental Projects. 34 Throughout the remainder of the

         revisions, the Sponsoring Transmission Owners change Supplemental Projects to Attachment M-

         3 Projects, notwithstanding that Schedule 6 of the Operating Agreement neither recognizes nor

         has any mechanism to include any project by that name in the regional planning process. The

         TO Filing, however, did not conform these changes to the Operating Agreement because

         amendments to the Operating Agreement would have required Stakeholder approval, 35 approval

         that the Sponsoring Transmission Owners could not obtain. Instead, during the June 1, 2020

         Transmission Owner conference on the soon to be filed TO Filing, outside counsel for the PJM

         Transmission Owners said that any conflict between the TO Filing and the Operating Agreement

         could be resolved by the Commission issuing a Show Cause Order, rather than through the

         stakeholder process.

                In the revisions themselves, straight out of the gate, the TO Filing makes clear its intent

         by writing a new right of first refusal into the PJM Tariff for PJM Transmission Owners nine

         years after the Commission mandated removal of such provisions. The TO Filing proposes:




         34
                See, e.g., Section 1.3(d) of the OA which provides, in part, “the Subregional RTEP Committees
                will provide sufficient opportunity to review and provide written comments to the Transmission
                Owners on any Supplemental Projects included in the Local Plan, in accordance with Additional
                Procedures for Planning of Supplemental Projects set forth in Tariff, Attachment M-3.”
         35
                The Sponsoring Transmission Owners would instead shift the burden to the Commission to
                require “conforming changes” to the OA. When asked about this at the June 1, 2020
                Transmission Owner webinar on the TO Filing, the outside counsel for the PM Transmission
                Owners responded that any conflict between the TO Filing and the Operating Agreement could be
                resolved by the Commission issuing a Show Cause Order, rather than the Members Committee
                reaching agreement on revisions to the Operating Agreement.
                                                              13


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                        (a) Applicability. Each Transmission Owner shall be responsible
                        for planning and constructing in accordance with Schedule 6 of
                        the Operating Agreement as provided in this Attachment M-3, to
                        the extent applicable, (i) Asset Management Projects, as defined
                        herein, (ii) Supplemental Projects, as defined in section 1.42A.02
                        of the Operating Agreement, and (iii) any other transmission
                        expansion or enhancement of Transmission Facilities that is
                        not planned by PJM to address one or more of the following
                        planning criteria:

                        1.      NERC Reliability Standards (which includes Applicable
                                Regional Entity reliability standards);
                        2.      Individual Transmission Owner planning criteria as filed in
                                FERC Form No. 715 and posted on the PJM website,
                                provided that the Additional Procedures for the
                                Identification and Planning of EOL Needs, set forth in
                                section (d), shall apply, as applicable;
                        3.      Criteria to address economic constraints in accordance with
                                section 1.5.7 of the Operating Agreement or an agreement
                                listed in Schedule 12-Appendix B;
                        4.      State Agreement Approach expansions or enhancements in
                                accordance with section 1.5.9(a)(ii) of the Operating
                                Agreement; or
                        5.      An expansion or enhancement to be addressed by the RTEP
                                Planning Process pursuant to section (d)(2) of this
                                Attachment M-3 in accordance with RTEP Planning
                                Process procedures in Schedule 6 of the Operating
                                Agreement.

         The additions to Attachment M-3 do a number of things, all inappropriate. It establishes a right

         of first refusal for a group of transmission owner self-defined projects categories outside of the

         Operating Agreement and then subjugates Schedule 6 of the Operating Agreement to that

         declaration. 36 Next, Attachment M-3(a)(iii) takes Operating Agreement’s intentionally

         undefined PJM planning criteria, which are referenced in the definition of Supplemental Projects

         in the Operating Agreement as “the following PJM criteria: system performance, operational


         36
                See specific language from the Applicability Section, “in accordance with Schedule 6 of the
                Operating Agreement as provided in this Attachment M-3,” which effectually writes in language
                that Attachment M-3 overrules the regional planning process.
                                                              14


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         performance or economic criteria, pursuant to a determination by the Office of the

         Interconnection,” and defines them in terms that allow the Sponsoring Transmission Owners to

         restrict the Operating Agreement’s “determination of the Office of the Interconnection” as to

         what is covered by PJM criteria. This is done by restricting “system reliability, operational

         performance” to “NERC Reliability Standards (which includes Applicable Regional Entity

         reliability standards).” The second clause takes Form No. 715 planning criteria, which are

         currently included in the Regional Transmission Expansion Plan criteria pursuant to Section 1.2

         of Schedule 6, and subjugates PJM’s planning of those facilities to Attachment M-3 section (d)

         and Attachment M-3(a)(ii)(2). Last, by declaring that the Transmission Owner shall be

         responsible for planning and constructing those projects that do not fit in defined categories, it

         restricts future changes to the Operating Agreement, by either giving the Transmission Owners

         an automatic right to build those projects, or a veto right on the change. To cement their grab to

         control all transmission planning, the TO Filing defines Attachment M-3 Projects, in part, as

         “(iii) any other expansion or enhancement of Transmission Facilities that is not excluded from

         this Attachment M-3 under any of clauses (1) through (5) of section (a).”

                As noted above, the TO Filing would add 10 definitions to Attachment M-3, which had

         no definitions previously because the only projects it covered, Supplemental Projects, were

         defined in the Operating Agreement. All projects appropriate for inclusion in the local or

         regional planning process that are not PJM planned fit within the Operating Agreement

         definition of Supplemental Project. The new definitions are designed to override the Operating

         Agreement definition of Supplemental Projects because it only covers what PJM does not plan

         whereas the new definitions would define what PJM could plan 37. In addition, many of the new


         37
                A key example of this “Applicability” restriction is the new definition of PJM Planning Criteria
                Need that also conflicts with the PJM Operating Agreement. “PJM Planning Criteria Need” shall
                                                                15


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         definitions are designed to put the Sponsoring Transmission Owners’ spin on Commission

         precedent and then insert that spin into the Tariff, put restrictions on the Operating Agreement by

         placing restrictive provisions in the Tariff, or define terms so broadly as to allow the PJM

         Transmission Owners to build anything they chose as a broadly-defined Attachment M-3 Project.

                 Finally, the TO Filing includes new procedures that dictate how PJM’s regional

         planning, which is conducted under Schedule 6, must interact with Attachment M-3 Projects,

         subordinating regional planning to local planning. Specifically, even if PJM determines that a

         regional need overlaps with an Attachment M-3 Project, the PJM Transmission Owner with the

         Attachment M-3 Project can reject PJM’s determination of a more efficient or cost-effective

         regional project and move forward with its locally planned project. 38

         II.    THE TO FILING IS UNJUST AND UNREASONABLE, CONFLICTS WITH THE
                OA, COMMISSION PRECEDENT AND SOUND POLICY AND MUST BE
                REJECTED

                As described above, the TO Filing takes a discrete Tariff addition, Attachment M-3,

         which was included in the Tariff in 2018 to address a Commission show clause action related to

         Order No. 890 principles for Supplemental Projects (which are defined in the Operating

         Agreement), 39 and uses it as a vehicle to provide the PJM Transmission Owners with the

         unilateral Tariff protected right to determine, in perpetuity, what Transmission Facilities are

         planned to address PJM’s extensive aging infrastructure problem. In doing so, the Sponsoring

         Transmission Owners build the foundation of their filing on incorrect assertions as to their rights,



                mean a need to plan a transmission expansion or enhancement of Transmission Facilities other
                than those reserved to each Transmission Owner in accordance with section (a).”
         38
                TO Filing at Attachment M-3(d)(2)(ii).
         39
                Monongahela Power Co., et al, 156 FERC ¶ 61,134 (2016)(The Commission issued a show cause
                order to determine whether the PJM transmission owners were complying with their Order No.
                890 obligations.).
                                                              16


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         to the exclusion of PJM Stakeholders rights, using expansive reading of Commission orders such

         that those orders are unrecognizable, and erroneous assertions as to their contractual rights.

         Each of these factors warrants a rejection of the TO Filing as unjust and unreasonable. As

         discussed below, some of the failings of the TO Filing are more fundamental and warrant the

         Commission rejecting the TO Filing outright as exceeding the TO Filing rights.

                 A.       PJM Transmission Owners Do Not Have Unilateral Rights To Make Section
                          205 Filings Related To Planning Matters

                 The Sponsoring Transmission Owners assert that their filing is made pursuant to Section

         9.1(a) of the PJM Tariff. Section 9.1 of the PJM Tariff does not provide PJM Transmission

         Owners the right to make collective filings related to region-wide PJM planning matters, even

         local planning matters. By its clear language, Section 9.1 is limited to “changes in or relating to

         the establishment and recovery of the Transmission Owners’ transmission revenue

         requirements or the transmission rate design under the PJM Tariff, and such filing rights shall

         also encompass any provisions of the PJM Tariff governing the recovery of transmission-

         related costs incurred by the Transmission Owners.” 40 The TO Filing does not address rate

         or rate design matters. 41 The entire focus of Section 9.1 is related to the recovery of rates, for

         existing assets, and cannot be read to cover filings related to which entity will plan and develop

         future assets.

                 The focus on revenue requirements and rate design is unsurprising as the provision arose

         out of the Transmission Owner and PJM settlement that itself arose out of the court


         40
                 PJM Tariff Section 9.1(a).
         41
                 The Applicability Section under Attachment M-3(a), Attachment M-3(d)(2), and new definitions
                 of PJM Planning Criteria, Attachment M-3 Project, Form No. 715 EOL Planning Criteria, RTEP
                 Planning Process, and EOL Need are particularly glaring in terms of the lack of relevance to rate
                 or rate design matters, in addition to their clear conflict with, and re-write of, the existing PJM
                 Operating Agreement.
                                                                 17


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         determination in Atlantic City Electric et al v. FERC. 42 In Atlantic City, the PJM Transmission

         Owners challenged the Commission’s requirement that they transfer rate related Section 205

         rights to PJM from the Transmission Owners. As the Court noted, the “utility petitioners

         contend that FERC exceeded its statutory authority by requiring the owners of transmission

         assets to cede their statutory right to file rate changes under section 205 of the Act.” 43 The Court

         focused on the fact that “Section 205 of the Federal Power Act gives a utility the right to file

         rates and terms for service rendered with its assets.” 44 Thus, the fact that transmission planning

         for future assets is not referenced at all in the entirety of Section 9.1, nor are PJM’s planning

         rules as set forth in the Operating Agreement, including Schedule 6, referenced among the

         multitude of provisions as also within the transmission owners’ unilateral filing rights is not

         surprising.

                The Consolidated Transmission Owner Agreement offers the Transmission Owners no

         additional filing rights. Article 7, which provides Transmission Owners with certain filing

         rights, addresses exclusively rate and rate design issues and is titled “Changes To Rate Design

         And Tariff Terms And Conditions; Distribution Of Revenues.” 45

                            Article 7.2.1 - Section 205 filings to change the PJM Regional
                            Rate Design or file for Joint Transmission Rates may only be made


         42
                295 F. 3d 1 (D.C. Cir. 2002).
         43
                Id. at 3.
         44
                Id. at 4 [emphasis added]. The Commission reiterated the rate related focus of Atlantic City Elec.
                In response to PJM’s Order No. 1000 compliance filing. In requiring PJM to clarify the scope of
                its OATT and agreements, the Commission required that “such clarification must include revision
                to any provision that could purport to preclude the section 205 filing rights of nonincumbent
                utilities without their consent, in a manner inconsistent with Atlantic City.” PJM Interconnection,
                L.L.C., 142 FERC ¶ 61,214, P 222 (2013).
         45
                Rate Design is defined in the CTOA as: “Rate Design shall mean the design of the rates to
                recover a Transmission Owner’s revenue requirement with respect to its Transmission Facilities
                or other amounts as authorized by FERC, including without limitation applicable incentives and a
                reasonable return.” This definition cannot expand rate design into transmission planning.
                                                                18


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                        by the Parties, acting collectively, pursuant to a filing approved in
                        accordance with Section 8.5.1 of this Agreement.

                        Article 7.3.1 - The Transmission Owners shall have the exclusive
                        and unilateral rights to file pursuant to Section 205 of the Federal
                        Power Act and the FERC’s rules and regulations thereunder for
                        any changes in or relating to the establishment and recovery of the
                        Transmission Owners’ transmission revenue requirements or the
                        PJM Regional Rate Design, and such filing rights shall also
                        encompass any provisions of the PJM Tariff governing the
                        recovery of transmission-related costs incurred by the
                        Transmission Owners.

         Article 7.3.4 references several provisions of the PJM Tariff as within the Transmission Owners’

         exclusive right, but there is no reference to transmission planning, local planning, and no

         reference to Schedule 6 at all.

                It is no surprise that transmission planning is not among the list of areas where the PJM

         Transmission Owners retained unilateral filing rights. Transmission planning is one of the core

         functions of an independent regional transmission organization. As the Commission held in

         Order No. 2000, “[w]e reaffirm the NOPR proposal that the RTO must have ultimate

         responsibility for both transmission planning and expansion within its region that will enable it to

         provide efficient, reliable and non-discriminatory service and coordinate such efforts with the

         appropriate state authorities.” 46 While local planning remains relevant in a regional transmission

         organization, it should be relevant only on a limited basis and based on specific needs of

         transmission owner that cannot be addressed at a regional level. As the Commission went on to

         state in Order No. 2000:

                        the RTO should have ultimate responsibility for both
                        transmission planning and expansion within its region. The
                        rationale for this requirement is that a single entity must coordinate
                        these actions to ensure a least cost outcome that maintains or
         46
                Regional Transmission Organizations, Order No. 2000, 89 FERC ¶ 61,284, at P 485, order on
                reh’g, Order No. 2000-A, (2000), aff’d sub nom., Pub. Util. Dist. No. 1. Of Snohomish County,
                Washington v. FERC, 272 F.3d 607 (D.C. Cir. 2001).
                                                              19


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                        improves existing reliability levels. In the absence of a single
                        entity performing these functions, there is a danger that separate
                        transmission investments will work at cross purposes and possibly
                        even hurt reliability. 47

         The TO Filing, especially the Applicability section, flips these requirements upside down,

         placing the PJM Transmission Owners largely in charge of declaring how and what PJM can

         plan on a regional basis and what the Transmission Owners will plan locally, and declaring the

         Transmission Owners the arbiter of any dispute as to which is better.

                Reading the PJM OATT to allow the PJM Transmission Owners any “unilateral right” to

         make Tariff filings to implement PJM-wide rules related to alleged “local” planning that

         implicate and conflict with the regional planning obligations of PJM is arbitrary and capricious,

         given that the PJM Tariff offers no support for the existence of that unilateral right. 48 It is not

         within the legal standard for reasoned decision-making to read the PJM Tariff as giving the PJM

         Transmission Owners any such unilateral right when neither the Tariff nor the CTOA provide

         any support for such a right, and granting Transmission Owners unilateral filing rights would

         conflict with the Commission requirements for minimum functions of a Regional Transmission

         Organization (“RTO”). 49




         47
                Id. at 486 [emphasis added].
         48
                To the extent that local planning requires transmission owner specific reforms, those reforms
                should be made on a transmission owner specific basis.
         49
                See 5 U.S.C. § 706(2)(A). Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co.,
                463 U.S. 29, 43 (1983) (“Normally, an agency rule would be arbitrary and capricious if the
                agency has relied on factors which Congress has not intended it to consider, entirely failed to
                consider an important aspect of the problem, offered an explanation for its decision that runs
                counter to the evidence before the agency, or is so implausible that it could not be ascribed to a
                difference in view or the product of agency expertise.” [emphasis added]); Tarpon Transmission
                Co. v. FERC, 860 F.2d 439 (D.C. Cir. 1988)(rejecting FERC’s interpretation of a tariff provision
                because the Commission failed to engage in reasoned decision-making to support its
                interpretation).
                                                                20


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                B.      PJM Planning Rules Are Set Forth In The Operating Agreement And The
                        TO Filing Infringes On Stakeholder Rights

                Consistent with the minimum functions of an RTO, PJM’s transmission planning rules

         are set forth in PJM’s Operating Agreement. The Sponsoring Transmission Owners have no

         unilateral rights to change the Operating Agreement or to make Tariff changes that would

         infringe upon Stakeholder rights with respect to the Operating Agreement. The PJM Operating

         Agreement is explicit in Section 18.6:

                        (a) Except as provided by law or otherwise set forth herein, this
                        Agreement, including any Schedule hereto, may be amended,
                        or a new Schedule may be created, only upon: (i) submission of
                        the proposed amendment to the PJM Board for its review and
                        comments; (ii) approval of the amendment or new Schedule by
                        the Members Committee, after consideration of the comments
                        of the PJM Board, in accordance with Operating Agreement,
                        section 8.4, or written agreement to an amendment of all Members
                        not in default at the time the amendment is agreed upon; and (iii)
                        approval and/or acceptance for filing of the amendment by FERC
                        and any other regulatory body with jurisdiction thereof as may be
                        required by law.

                Part of the effort to stop the Stakeholders from amending the Operating Agreement are a

         series of false or misleading assertions by the Sponsoring Transmission Owners and PJM itself,

         including an assertion, based on PJM statements, that Stakeholders cannot change the scope of

         PJM planning. This assertion is misguided as Section 18.6 shows. PJM regional planning is

         addressed in the Operating Agreement and the definition of Supplemental Projects, also in the

         Operating Agreement, merely catches any unaddressed needs. 50 Stakeholders hold exclusive

         rights to amend the Operating Agreement, as would be appropriate to retain the RTO’s minimum

         planning actions. Nothing in the CTOA or any other relevant PJM governing document places




         50
                The California Compliant Orders stated that Supplemental Projects were a product of PJM
                choice, not Commission mandate.
                                                             21


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         restrictions on the ability of PJM Stakeholders to define, or redefine, the scope of PJM regional

         planning. In response to the PJM Transmission Owners moving forward with billions in new

         end-of-life Supplemental Projects, PJM Stakeholders adopted a series of revisions to the

         Operating Agreement to confirm that end-of-life transmission planning would be undertaken as

         part of PJM’s regional planning and as not part of the Supplemental Project bucket so that PJM

         would “have ultimate responsibility for both transmission planning and expansion within its

         region.” 51 However, as noted above, in a race to implement preemptive Tariff revisions, the TO

         Filing would conflict with not just those prospective revisions, but with existing Operating

         Agreement regional planning requirements.

                        1.     The TO Filing Applicability Section Would Override The Operating
                               Agreement

                As described above, the proposed Applicability Section of Attachment M-3 provides that

         “Each Transmission Owner shall be responsible for planning and constructing . . .(iii) any other

         transmission expansion or enhancement of Transmission Facilities that is not planned by PJM to

         address one or more of the following planning criteria . . ..” Thus, even if planned by PJM, but

         not planned by PJM to address one of the 5 criteria in the Applicability Section, the

         Transmission Owners retain the right to build. And the five categories themselves restrict PJM

         regional planning, even for the facilities covered.

                Although PJM planning criteria covers “system performance, operational performance”

         among other things, the Attachment M-3 exclusion does not reference these criteria but instead it

         references exclusively “NERC Reliability Standards.” Likewise, although Form No. 715

         projects are excluded because they are PJM regionally planned under Schedule 6 of the



         51
                Order No. 2000 at P 486.
                                                               22


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         Operating Agreement, the TO Filing would make that PJM planning subject to the requirement

         that “the Additional Procedures for the Identification and Planning of EOL Needs, set forth in

         section (d), shall apply, as applicable[.]” In this regard, the Attachment M-3 revisions conflict

         with PJM regional planning under Schedule 6 with respect to both PJM criteria and Form No.

         715 criteria.

                 The Applicability Section is also conspicuous in what is missing. The Commission

         required in Order No. 1000 that both local and regional transmission planning processes plan for

         transmission needs driven by Public Policy Requirements. 52 Currently, PJM satisfies that

         requirement by identifying Public Policy Requirements and Public Policy Objects and

         incorporating them into PJM’s sensitivity studies, modeling and scenario analyses. 53 PJM also

         has the State Agreement Approach that permits individual states to request that PJM study

         particular public policy requirements and then voluntarily assume responsibility for a project

         needed to meet the public policy requirement (assuming the project does not qualify as a

         reliability or market efficiency project). 54 The Applicability Section only carves out State

         Agreement Approach project.

                 Because the proposed Applicability Section would limit the projects that PJM can plan to

         the five criteria in the Applicability Section, Stakeholders will be unable in the future to broaden

         public policy planning. This is a live issue as recently there have been questions about whether

         public policy planning is working in PJM, and whether there need to be improvements. If the




         52
                 Order No. 1000 at P 203.
         53
                 See PJM First Compliance Order at PP 75-76.
         54
                 Operating Agreement, Schedule 6 at Section 1.5.9.
                                                               23


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         TO Filing is approved, it ensures that any changes will require approval from the PJM

         Transmission Owners.

                 The Applicability Section also does not carve out Multi-Driver Projects, which are “a

         transmission enhancement or expansion that addresses more than one of the following:

         reliability violations, economic constraints or State Agreement Approach initiatives.” 55 As noted

         previously, the Applicability Section reserves to the PJM Transmission Owners the right to plan

         and construct all projects that are not planned by PJM to address specific criteria. Multi-Driver

         Projects are not included on the list, leaving ambiguity as to whether a PJM Transmission Owner

         could assert a right to plan and construct a Multi-Driver Project. For instance, the definition of a

         Multi-Driver Project uses different terms than are used in criteria 1-5 of the Applicability

         Section. While the Applicability Section uses the phrase, “NERC Reliability Standards,” the

         definition of Multi-Driver Project uses the phrase “reliability violations.” 56

                The TO Filing is unjust and unreasonable as the Applicability section conflicts with the

         existing requirements for PJM regional planning in Schedule 6 and would restrict PJM’s

         Stakeholders’ exclusive rights to amend the OA, including Schedule 6.

                        2.      The TO Filing Shifts RTEP Project Definitions From The Operating
                                Agreement To The Tariff

                The Operating Agreements includes definitions of the transmission project categories in

         PJM, from regional project categories to the sole local project category, Supplemental Projects. 57



         55
                Id. Definitions section.
         56
                Reliability project is not a defined term in the PJM Operating Agreement, rather reliability
                projects fall under the general definition of a RTEP Project. The TO Filing improperly attempts
                to create a Operating Agreement definition of reliability in Attachment M-3, rather than the PJM
                Operating Agreement.
         57
                See Operating Agreement Definitions for Regional RTEP Project, Subregional RTEP Project and
                Supplemental Project.
                                                               24


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         Schedule 6 of the Operating Agreements defines the planning committees and their

         responsibilities and the process for reviewing Local Plans and developing the RTEP.

         Attachment M-3, part of the PJM Tariff, includes merely “additional procedures for planning

         Supplement Projects” that supplement the planning process in Schedule 6 of the Operating

         Agreement. It is clear from the current opening of Attachment M-3 that it is subject to Schedule

         6 of the Operating Agreement: “This document provides additional details of the process that

         PJM and the PJM Transmission Owners will follow in connection with planning Supplemental

         Projects, as defined in section 1.42A.02 of the Operating Agreement, in accordance with

         Schedule 6 of the Operating Agreement.” 58

                The Operating Agreement defines those transmission addition project categories that are

         includable in the RTEP. The Operating Agreement has no mechanism to accommodate “Asset

         Management Projects” or “Attachment M-3 Project” as defined by the TO Filing. The Operating

         Agreement references only “any Supplemental Projects included in the Local Plan, in accordance

         with Additional Procedures for Planning of Supplemental Projects set forth in Tariff, Attachment

         M-3.” 59 Only Supplemental Projects are referenced in other parts of Schedule 6. The TO Filing

         would purport to bind the PJM RTEP to include additional categories of projects without

         Stakeholder agreement to amend the Operating Agreement in that regard.




         58
                Existing Attachment M-3 [emphasis added]. By adding “as provided in this Attachment M-3” to
                Attachment M-3(a), “Each Transmission Owner shall be responsible for planning and
                constructing in accordance with Schedule 6 of the Operating Agreement as provided in this
                Attachment M-3”, the TO Filing attempts to undo the current regime.
         59
                Operating Agreement, Schedule 6, Section 1.3(d).
                                                             25


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                         3.      Proposed Definitions For PJM Planning Criteria Need And
                                 Attachment M-3 Section (d) Conflicts With PJM Regional Planning
                                 Under The Operating Agreement

                 The TO Filing attempts to usurp regional planning by restricting the scope of PJM

         planning and allowing the PJM Transmission Owners to reject PJM’s regional determinations.

         The TO Filing adds a definition to the Tariff that restricts PJM Planning Criteria Need to a need

         to “plan a transmission expansion or enhancement of Transmission Facilities other than those

         reserved to each Transmission Owner in accordance with section (a).” Thus, where the only

         existing local planning category, Supplemental Projects, provides the Transmission Owners the

         right to construct only projects that are not part of PJM criteria, as determined by PJM, the TO

         Filing flips that definition to restrict PJM Planning Criteria Needs to only those needs defined by

         Attachment M-3. Even assuming for argument that the PJM Transmission Owners have

         unilateral rights to file Tariff changes related to local planning, they have no right to restrict

         Schedule 6 regional planning though those Tariff changes. The definition of “PJM Planning

         Criteria Need” inappropriately restricts Schedule 6 regional planning, resulting in the M-3

         revisions being unjust and unreasonable.

                 The TO Filing takes the restriction on regional planning a step further through the

         provisions of Attachment M-3 (d)(2) that purport to dictate the “Coordination of EOL Need

         Planning With PJM Planning Criteria Needs.” The sum and substance is that notwithstanding

         PJM’s regional planning role, the TO Filing dictates that PJM Transmission Owners can reject

         PJM’s determination at the regional level of the more efficient or cost effective project to address

         all RTEP needs, including EOL needs, simply by declaring that it has “determine[d] that the

         projected EOL Need is not met by the proposed Required Transmission Enhancement and

         determines that it will plan an Attachment M-3 Project to address the projected EOL Need or


                                                               26


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         propose a project to address the Form No. 715 EOL Planning Criteria.” 60 These veto rights

         conflict with Schedule 6, including the Commission’s requirement in 2019 that PJM remove

         competition exemptions for Form No. 715 PJM planned projects.

                Section 1.5.8(b) of Schedule 6 provides that PJM “shall publicly post on the PJM website

         all transmission need information, including violations, system conditions, and economic

         constraints, and Public Policy Requirements . . ..” The reference to “all transmission needs

         information is not restricted to simply PJM planned regional needs. In fact, Section 1.5.8(b)

         goes on to note “Such posting shall support the role of the Subregional RTEP Committees in the

         development of the Local Plans and support the role of the Transmission Expansion Advisory

         Committee in the development of the Regional Transmission Expansion Plan.”

                In Order No. 1000, the Commission expressed concern that the “existing requirements of

         Order No. 890 are inadequate to ensure that public utility transmission providers in each

         transmission region, in consultation with stakeholders, identify and evaluate transmission

         alternatives at the regional level that may resolve the region’s needs more efficiently or cost-

         effectively than solutions identified in the local transmission plans of individual public utility

         transmission providers.” 61 To remedy these concerns, the Commission placed an affirmative


         60
                Proposed Attachment M-3(d)(ii). The TO Filing added a restriction to the definition of
                Attachment M-3 Project that it is not a project to address Form No. 715 Planning Criteria, but
                then under Attachment M-3(d)(ii) provides for the possibility that a generic, locally planned and
                cost-allocated project could be proposed to address Form No. 715 EOL Planning Criteria, despite
                the fact that PJM plans Form No. 715 projects.
         61
                Order No. 1000 at P 78 [emphasis added]. The Commission said the existing requirements of
                Order No. 890 do not necessarily result in the development of a regional transmission plan that
                reflects the identification by the transmission planning region of the set of transmission facilities
                that are more efficient or cost-effective solutions for the transmission planning region, Order No.
                1000 at P 78, and expressing concern “that public utility transmission providers may not
                adequately assess the potential benefits of alternative transmission solutions at the regional level
                that may meet the needs of a transmission planning region more efficiently or cost-effectively
                than solutions identified by individual public utility transmission providers in their local
                transmission planning process.” Id. at P 81.
                                                                 27


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         obligation on public utility transmission providers such as PJM to regionally plan, if they did not

         already do so. 62

                 More specific to the issue of determining whether an RTEP Project, in whole or in part,

         can more efficiently or cost-effectively address or combine both the regional needs and the

         identified drivers for projects proposed in the local plan, Order No. 1000 required that the regional

         plan explore whether “the development of transmission facilities that span the service territories

         of multiple public utility transmission providers may obviate the need for transmission facilities

         identified in multiple local transmission plans while simultaneously reducing congestion across

         the region.” 63 In this regard, Order No. 1000 requires that PJM must evaluate, in consultation with

         stakeholders, alternative transmission solutions that might meet the needs of the transmission

         planning region more efficiently or cost-effectively than solutions identified by individual public

         utility transmission providers in their local transmission planning process. As the Commission

         concluded:

                         If the public utility transmission providers in the transmission
                         planning region [PJM] in consultation with stakeholders, determine
                         that an alternative transmission solution is more efficient or cost-
                         effective than transmission facilities in one or more local
                         transmission plans, then the transmission facilities associated with
                         that more efficient or cost-effective transmission can be selected in
                         the regional transmission plan for purposes of cost allocation. 64

         The TO Filing gives the individual Transmission Owners the right to make the decision to move

         forward with their local project, regardless of PJM’s decision.

                 PJM Manual 14B, Section 1.4.2.1 also provides that when a Supplemental Project may

         overlap with a regional need “PJM can consider proposals, including proposals in its open

         62
                 Id. at P 149 (noting that some regions may already meet the requirements).
         63
                 Id.
         64
                 Id. at P 148. (emphasis added.)
                                                                28


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         proposal window that more efficiently and cost-effectively address both the identified baseline

         need(s) and any related needs identified in the Attachment M-3 Process.” 65 Schedule 6, Section

         1.5.8 (d) provides that

                        The Office of the Interconnection shall post on the PJM website
                        and present to the Transmission Expansion Advisory Committee
                        for review and comment descriptions of the proposed
                        enhancements and expansions, including any proposed
                        Supplemental Projects or state public policy projects identified
                        by a state(s). . . . After consultation with the Transmission
                        Expansion Advisory Committee, the Office of the
                        Interconnection shall determine the more efficient or cost-
                        effective transmission enhancements and expansions for
                        inclusion in the recommended plan consistent with this
                        Operating Agreement, Schedule 6.

         Taking their effort to establish veto rights over PJM’s RTEP determinations one step further, the

         TO Filing would give the PJM Transmission Owners the same veto rights regarding the end of

         life projects planned by PJM itself under Transmission Owner Form No. 715 criteria which is

         part of the PJM planning criteria. Specifically, proposed Attachment M-3(d)(ii) allows a

         Transmission Owner to determine that the PJM identified project does not address the “projected

         EOL need . . . [and] propose a project to address the Form No. 715 EOL Planning Criteria.” The

         TO Filing hardwires this limitation on PJM Form No. 715 planning into the Tariff by purporting

         to exclude Form No. 715 planning criteria from the Applicability Section, but then adding

         “provided that the Additional Procedures for the Identification and Planning of EOL Needs, set

         forth in section (d), shall apply, as Applicable.” Those additional procedures allow the PJM

         Transmission Owner to reject PJM’s planned project as not meeting the transmission owner need



         65
                Manual 14B, Section 1.4.2.1, p. 26, available at
                https://www.pjm.com/~/media/documents/manuals/m14b.ashx. See also id. seat p. 24 (However,
                a Transmission Owner, or any other pre-qualified Designated Entity, may submit a project
                proposal for consideration in the proposal window to address a posted violation that would also
                address a related need identified in the Attachment M-3 Process.).
                                                                 29


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         and to itself plan a project to meet the Form No. 715 need outside the PJM planning process.

         The proposal of Transmission Owner veto rights to PJM planning of Form No. 715 projects

         would act as a replacement for former Operating Agreement Section 1.5.8(o) which the

         Commission required PJM to remove, along with problematic automatic local cost allocation. 66

         This addition means that the inclusion is not an exemption at all.

                        4.       Projects Addressing End Of Life Transmission Facilities And
                                 Relevant “Asset Management” Are Supplemental Projects Under The
                                 Existing Operating Agreement

                A fundamental flaw in the TO Filing is the assertion that transmission facilities needed to

         address end of life Transmission Facilities, or other asserted asset management needs, are not

         Supplemental Projects under the Operating Agreement definition and therefore new Tariff rules

         and definitions are necessary. 67 The TO Filing and its 10 new definitions is wholly unnecessary

         as under the currently effective definition of Supplemental Project, facilities needed to replace

         Transmission Facilities reaching the end of useful life are Supplemental Projects (unless they are

         planed as part of PJM’s regional planning in which case they are Regional RTEP Projects of

         Subregional RTEP Projects). Because end of life and other asserted “asset management”

         projects fit under the definition of Supplemental Projects in the Operating Agreement and are

         covered by the existing Attachment M-3 requirements, the TO Filing is unnecessary, a point PJM

         made in asserting that no Operating Agreement or Tariff changes were needed to implement its

         proposal. To get around this, the TO Filing conflates true “asset management” projects (such as

         repairs and component replacement) which are not currently part of planning, and should not be,


         66
                PJM Interconnection, L.L.C., 168 FERC ¶ 61,133, at P 14 (2019).
         67
                TO Filing at 3 (asserting that “asset management activities include projects required to maintain,
                repair, or replace transmission facilities, including those approaching the end of their useful lives,
                in order to maintain the Transmission Owner’s existing electric transmission system and meet
                regulatory compliance requirements.”).
                                                                 30


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         with building new transmission, at today’s industry standards and other actions to maintain

         system reliability. Instead, those are Supplemental Projects.

                That new transmission is an “enhancement or expansion” of the grid and thus a

         Supplemental Project should be unquestioned. In this regard, including such end of life

         replacement facilities in the newly defined “Asset Management Project” creates a confusing

         overlap of definitions and is unjust and unreasonable. As the PJM Board Letter notes, in

         discussing “End of Life Replacement Projects – Supplemental Projects” 68 the “other category or

         type of end of life replacement projects can be found in Supplemental Projects.” 69 The

         dictionary definition of “enhancement” would cover replacement projects to address aging

         infrastructure, whether there is an increase in transfer capability or not. Enhance is defined as “to

         increase or improve in value, quality, desirability, or attractiveness.” 70 The TO Filing reads

         “enhancement” completely out of the definition, arguing “even though they do not expand the

         capability of the transmission system (and hence are not Supplemental Projects under the PJM

         Tariff.)” 71 Even here they misrepresent the PJM governing documents as the definition of

         Supplemental Projects is in the Operating Agreement, not in the Tariff.

                The Transmission Owners have always treated projects to replace EOL facilities as

         Supplemental Projects when not covered by Form No. 715 criteria. PJM included this

         specification in Manual 14B, calling out a Supplemental Category of EOL replacement projects.

         For example, Section 1.4.1.5 provides:

                        1.4.1.5 Supplemental Project Planning


         68
                Board Letter at 6, attached to TO Filing as Exhibit 4.
         69
                Id. The Board was distinguishing the EOL Supplemental Projects with Form No. 715 projects.
         70
                https://www.merriam-webster.com/dictionary/enhance.
         71
                TO Filing at 3.
                                                                31


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                        Transmission Owner may identify a need associated with a transmission
                        expansion or enhancement not required to comply with the PJM
                        reliability, operational performance, FERC Form No. 715 or economic
                        criteria. The PJM Transmission Owners plan Supplemental Projects in
                        accordance with the Attachment M-3 Process. Projects planned through
                        the Attachment M-3 Process could include those that: (i) expand or
                        enhance the transmission system; (ii) address local reliability issues; (iii)
                        maintain the existing transmission system; (iv) comply with regulatory
                        requirements; or (v) implement Transmission Owner asset management
                        activities (which could include needs related to a transmission facility
                        approaching the end of its useful life, which, in accordance with good
                        utility practice, is not determined by the facility’s service life for
                        accounting or depreciation purposes.

         In addition, Section 1.5.4 identifies Supplemental Project Planning and states

                        The criteria driving the need for Supplemental Projects (which
                        could include criteria required to address end of useful life of
                        existing transmission facilities, and which, in accordance with
                        good utility practice, is not determined by the facility’s service life
                        for accounting or depreciation purposes) are provided by each
                        Transmission Owner consistent with the OATT Attachment M-3
                        process. 72

                As these sections note, any project that would be covered under the new proposal process

         PJM has already treated as a Supplemental Project, and thus no changes are needed at all to M-3.

         This is precisely the point PJM made in asserting that no Operating Agreement or Tariff changes

         were needed to implement its proposal.

                C.      The Individual Components Of The TO Filing Are Unjust And
                        Unreasonable

                Although the TO Filing as a whole is unjust and unreasonable, numerous individual

         components are unjust and unreasonable in their own right.

                        1.    The Applicability Section Violates Order No. 1000 And Cost Causation
                              Principles

                The proposed Applicability Section of the TO Filing runs afoul of several Order No.

         1000 requirements in large part because it stops PJM from conducting regional transmission


         72
                PJM Manual 14B at 30.
                                                                 32


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         planning by not allowing PJM, the regional planning entity, to consider and plan for all regional

         needs. Denying PJM the ability to plan for the retirement of Transmission Facilities prevents it

         from planning for a significant driver of transmission in PJM, which effectively prevents PJM

         from conducting regional planning that results in the more efficient or cost-effective solutions to

         the region’s needs.

                The TO Filing establishes a new right of first refusal and gives the PJM Transmission

         Owners a veto right on project selection. The Transmission Facilities in PJM are aging.

         Currently two-thirds of Transmission Facilities in PJM are more than 40 years old, and one-third

         between 40-50 years old. 73 In a 2019 report, PJM stated that as load growth has decreased as a

         predominant driver of new transmission facilities and been replaced by “aging infrastructure,

         grid resilience and the shift in generation resources. PJM further stated that

                        These days, instead of expanding the grid to accommodate more
                        and more customer demand, transmission investment tends to be
                        focused on aging infrastructure (some approach 90 years old) and
                        upgrades to ensure reliability, improve transfer capability, and
                        comply with local load-serving criteria. These system
                        enhancements help avoid equipment failure and blackouts, and
                        often, projects identified to solve one issue help address other
                        system needs as well. 74

         There is no question that the issue of Aging Infrastructure is a particular reliability and resource

         issue affecting the PJM region, as it has become a material and growing part of the PJM RTEP.

         Denying PJM the ability to plan for the retirement of Transmission Facilities prevents it from

         planning for a significant driver of transmission in PJM, which effectively prevents PJM from

         conducting regional planning that results in the more efficient or cost-effective solutions to the


         73
                Regional Transmission Expansion Planning: Planning the Future of the Grid, Today at page 4
                (2019), available at https://www.pjm.com/-/media/library/reports-notices/2019-rtep/regional-
                transmission-expansion-planning-planning-the-future-of-grid-today.ashx?la=en.
         74
                Id.
                                                              33


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         region’s needs. 75 The Sponsoring Transmission Owners are proposing to remove from the

         regional planning process one of the “particular reliability and resource issues affecting” the PJM

         region, aging infrastructure. The Sponsoring Transmission Owners’ proposal undermines the

         requirement that the geographic scope of the region, here PJM, be based on the particular

         reliability and resource issues affecting individual regions. In doing so it violates both Order No.

         890 and Order No. 1000 requirements that for the regional planning process reflect the particular

         reliability and resource issues affecting the Order No. 1000 region and its fundamental

         definition.

                In addition, Order No. 1000 required the removal of rights of first refusal. The TO Filing

         would add a new right of first refusal to a wide category of new projects referred to as

         “Attachment M-3 Project”. Additional violations of Order No. 1000 stem from the inclusion of a

         new right of first refusal in the Applicability Section and inhibiting the ability of PJM

         Stakeholders to improve the public policy planning process. 76

                In Order No. 1000, the Commission linked the requirement to remove a right of first

         refusal to whether the project has regional benefits. 77 If a project is allocated outside of the zone




         75
                In Order No. 890, the Commission explained that the “scope of a particular planning region
                should be governed by the integrated nature of the regional power grid and the particular
                reliability and resource issues affecting individual regions and sub-regions.” Order No. 890 at P
                527.
         76
                Attachment M-3(a)(4) is written to apply only to the existing State Agreement Approach for
                public policy projects in PJM, but if future designs related to Public Policy Requirements are
                devised, they would be omitted from Attachment M-3(a)(4). It should have referred to the PJM
                Operating Agreement definition of “Public Policy Requirements.” This is a clear violation of
                Order No. 1000 as Order No. 1000 was explicit that PJM must engage in public policy planning
                as part of its Order No. 1000-compliant planning process, not just through the State Agreement
                Approach. There have been no public policy projects approved to-date under the State
                Agreement Approach. The issue of how to improve the public policy planning process under
                Order No. 1000 is ripe for PJM Member review and reform.
         77
                Order No. 1000 at P 313.
                                                                34


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         where it is located, then there can be no right of first refusal for the project. 78 The Sponsoring

         Transmission Owners have not established that the projects resulting from the five criteria listed

         in the Applicability Section do not have regional benefits. To the contrary, PJM’s recent filing

         revising the cost allocation method for certain Form 715 projects demonstrates the opposite.

         There were several projects allocated outside of the zone where the project was located. 79

                Given that the Applicability Section of Attachment M-3 reserves to the PJM

         Transmission Owners the right to plan and construct Attachment M-3 Projects, Order No. 1000

         requires that Attachment M-3 Projects be allocated solely to the zone where the project is

         located. 80 There is no information in the record to justify allocating the costs of every

         Attachment M-3 Project solely to the zone where the project is located, especially related to the

         new categories of Applicability exceptions (i) and (iii). To the contrary, review of previous end

         of life projects in PJM indicates that some projects will have regional benefits, i.e. will benefit a

         transmission zone outside of the zone where the project is located. Exhibit A to this Protest is a

         list of $3.488 billion in examples of high-voltage Asset Management (as defined by the TO

         Filing) transmission line projects that have been approved to-date and that, based on LS Power’s

         analysis, could have regional benefits, but which were cost allocated to a single zone. The




         78
                Id. at P 430.
         79
                See PJM Interconnection, L.L.C., Compliance Filing, Docket No. ER15-1344-007 (filed on
                October 29, 2019).
         80
                In Order No. 1000-A, the Commission clarified that the term “regional” generally applies to any
                transmission facility the costs of which were allocated outside of a single transmission owner’s
                retail distribution service territory or footprint. Order No. 1000-A, 139 FERC ¶ 61,132 at P 430
                (“we clarify that if any costs of a new transmission facility are allocated regionally or outside of a
                public utility transmission provider’s retail distribution service territory or footprint, then there
                can be no federal right of first refusal associated with such transmission facility, except as
                provided in this order.”).
                                                                 35


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         nebulous Applicability Section (iii) catch-all right of first refusal and catch-all local cost

         allocation is also problematic related to cost causation and free-rider principles. 81

                Allocating the costs of a new Tariff definition Attachment M-3 Project or Asset

         Management Project that has regional benefits, solely to the transmission owner zone where the

         project is located, is inconsistent with long-standing cost allocation precedent that requires that

         beneficiaries of a project pay the cost of the project. Of particular relevance is the United States

         Court of Appeals for the District of Columbia Circuit (“Court” or “D.C. Circuit”) review of the

         Commission’s approval of a location-based cost allocation method for Form No. 715 projects,

         the same method that is expected to apply to Attachment M-3 Projects. 82 The court found that

         when significant benefits (as much as 43% in the projects reviewed by the Court) flowed to

         zones other than where the projects were located, such a cost allocation scheme:

                        does not amount to a quibble about ‘exacting precision,’ Midwest
                        ISO Transmission Owners, 373 F.3d at 1369, or a tempering of the
                        cost-causation principle in pursuit of ‘competing goals,’ S.C. Pub.
                        Serv. Auth. v. FERC, 762 F.3d 41, 88 (D.C. Cir. 2014). Rather, it
                        involves a wholesale departure from the cost-causation principle,
                        which would ‘shift a grossly disproportionate share of [the] costs’
                        of these high-voltage projects into a single zone. 83




         81
                El Paso Elec. Co. v. Fed. Energy Regulatory Comm'n, 832 F.3d 495, 505 (5th Cir. 2016)(FERC
                cannot meet its obligation to ensure just and reasonable rates by effectively assuring that many of
                the costs of new development will be imposed on only half of the utilities in the WestConnect
                region.).
         82
                Old Dominion Elect. Coop. v. FERC, 898 F.3d 1254 (D.C. Cir.), reh’g denied, 905 F.3d 671
                (D.C. Cir. 2018)(“ODEC v. FERC”). As the United States Court of Appeals for the District
                of Columbia Circuit stated, there is no prohibition against “PJM or its member utilities
                from amending the Tariff, the Operating Agreement, or PJM’s own planning criteria to
                address any problem of prodigal spending, to establish appropriate end-of-life planning
                criteria, or otherwise to limit regional cost sharing—as long as any amendment respects
                the cost-causation principle.”
         83
                Id. at 1262.
                                                                36


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                The court rejected the argument that the projects at issue were ‘local projects’ because

         they arose from an individual transmission owner’s planning criteria. 84 Further, the projects at

         issue were end of life projects. There should be no distinction from a cost causation perspective

         whether a project was an EOL project arising from Form No. 715 end of life criteria or end of

         life criteria that the transmission owner failed to include in its Form No. 715 criteria. The

         projects are the same. An example of this disjointed planning is telling. PJM’s upcoming

         immediate need window is for Dominion’s 3-mile portion of the Doubs-Goose Creek 500 kV

         transmission line as the end of life need was part of Dominions Form No. 715 criteria. At the

         same time, APS (FE) has included its 15-mile portion of the Doubs-Goose Creek 500 kV as a

         Supplemental Project. Both pieces are the same end of life project. 85 The Dominion portion will

         be cost allocated region-wide based on its regional benefits because Dominion’s end of life

         criteria are filed with its Form No. 715 criteria. The APS section will be cost allocated only to

         the zone in which the project is located because it is a Supplemental Project, notwithstanding that

         its benefits are identical. As the Court in ODEC found, cost causation principles prohibit

         treating one transmission facility differently than another based on how they were planned. This

         is particularly true when the facilities are part of the same end of life determination. 86 Only

         though consistent regional planning of end of life facilities will there be consistent cost

         allocation.

                The adjustment in cost allocation following the DC Circuit’s ODEC decision resulted in

         44 projects having their cost allocation corrected explicitly because they had regional benefits,



         84
                Id.
         85
                Because of the difference in planning, the Dominion portion of the line is subject to competition
                under Order No. 1000 but the APS portion is not.
         86
                The Transmission Facilities reviewed by the Court in ODEC were end of life facilities.
                                                                37


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         not local benefits. 87 PJM filed the revised cost allocation schedules for these 44 projects in

         Docket No. ER18-680. 88 These 44 projects were just the end of life projects addressed through

         Form No. 715 end of life planning, but clearly this shows that Asset Management Projects have

         regional benefits as clearly demonstrated by the 44 Form 715 EOL projects that required

         correction of cost allocation, due to their regional benefits. For end of life projects moved

         forward as Supplemental Projects, hundreds of projects, the only consumers paying for the

         facilities are those in the transmission owner’s zone in which the project was located regardless

         of beneficiaries. The cost allocation for Supplemental Projects was derived when they were

         intended to be purely local and of little consequence. 89 It was not designed for a wholesale

         rebuilding of the grid, or now for an expansive new definition of Attachment M-3 Projects. The

         TO Filing does not address cost allocation, notwithstanding that it is creating multiple new

         categories of projects, and its local planning emphasis will ensure that neither the optimal grid

         nor cost allocation consistent with cost causation principles are achieved.




         87
                Given the upheaval created at PJM due to the Form No. 715 Projects having to correct their cost
                allocation after the DC Circuit remand on the topic, this is another reason to ensure that the cost
                allocation to a single zone is appropriate for the TO Filing’s new definitions of Asset
                Management Project and Attachment M-3 Project. Each should be reviewed in accordance with
                cost causation principles. The TO Filing fails on this review. https://www.pjm.com/-
                /media/committees-groups/subcommittees/mss/2020/20200413/20200413-item-01-ferc-order-
                requiring-reallocations-and-refunds.ashx. The Commission clarified that the August 30, 2019
                order on Form 715 No. Order on Remand required PJM to rebill parties with interest back to May
                25, 2015. PJM Interconnection, L.L.C., 168 FERC ¶ 61,133, at P 2 (2019).
         88
                See PJM Interconnection, L.L.C., Compliance Filing, Docket No. ER18-680, Attachment A (filed
                on June 1, 2020).
         89
                See PSEG Companies Protest to the addition of the Supplemental Project category, PSEG sought
                confirmation that Supplemental Projects are of an exclusively local nature, requesting “that, for
                sake of clarity, PJM should be required to provide examples of projects that would fall within the
                ‘Supplemental’ category, such as reconductoring of circuits and wave trap replacements.” PSEG
                Companies, Motion to Intervene and Protest, filed January 7, 2008 in Docket No. OA08-32-000.
                                                                38


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                        2.      The Definitions In The TO Filing Are Unjust And Unreasonable

                In addition to the unjust and unreasonable nature of the Attachment M-3 Project

         definition referenced above, the additional proposed definitions are unjust and unreasonable. As

         discussed below, the definitions add certain definitions that already exist in the Operating

         Agreement, define RTEP processes contained in the OA in a manner not approved by

         Stakeholders, and include vague phrases that go beyond the limited nature of local planning.

                                a)      Planning For Needs Resulting From Retirement Of
                                        Transmission Facilities That Have Reached The End Of Their
                                        Useful Life Is Not “Asset Management”

                The definition for “Asset Management Project,” in addition to being improperly placed in

         the Tariff rather than the OA, is unjust and unreasonable as it is unreasonably broad and

         impermissibly vague. 90 The PJM Transmission Owners’ proposal is built on a false narrative

         that “asset management” includes completely replacing transmission facilities that have reached

         the end of their useful life. The definition provides:

                        shall mean any modification or replacement of a Transmission
                        Owner’s Transmission Facilities that results in no more than an
                        Incidental Increase in transmission capacity undertaken to perform
                        maintenance, repair, and replacement work, to address an EOL
                        Need, or to effect infrastructure security, system reliability, and
                        automation projects the Transmission Owner undertakes to
                        maintain its existing electric transmission system and meet
                        regulatory compliance requirements.

         The term “asset management” is not a defined term at FERC, NERC, or PJM. The phrase does

         not appear in the Federal Power Act, the Commission’s regulations, any Commission rulemaking

         that sets the standards for transmission planning or the NERC reliability standards. The phrase is

         not used in any of the PJM governing documents, including the PJM Tariff, Operating


         90
                See, e.g., Westar Energy, Inc., 131 FERC ¶ 61,183, at P 30 (2010)(rejecting a tariff revision as
                impermissibly vague because it “will lead to unnecessary disputes as to the interpretation of the
                provision.”).
                                                                39


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         Agreement, or CTOA. The TO Filing is improperly expanding management of assets by

         including “replacement work.” It is a made-up phrase that the transmission owners have used to

         confuse two disparate types of activities – the maintenance and care of existing transmission

         facilities (asset management), with the construction of entirely new transmission facilities when

         existing transmission facilities are retired (development of new assets). “Replacement work”

         falls into this latter category.

                   The TO Filing relies on the fact that the Commission referenced the phrase “asset

         management” in an order denying a complaint against Pacific Gas & Electric (“PG&E”) related

         to whether certain activities were subject to Order No. 890. 91 The PJM transmission owners

         have latched onto the phrase and the Commission’s decision in that proceeding as the basis for

         their proposal. But the PJM transmission owners misunderstand the Commission’s decision in

         the California Complaint Order as its holding is not as broad as the PJM transmission owners

         assert.

                   In the California Complaint Complaint, several state and local agencies brought a

         complaint against PG&E arguing that PG&E failed to comply with the transmission planning

         requirements of Order No. 890, which focus on transparency and Stakeholder participation,

         because roughly 80% of PG&E’s capital transmission expenditure was not reviewable by

         Stakeholders. 92 The Commission denied the complaint on the basis that the requirements of

         Order No. 890 do not apply to all “asset management projects and activities” in CAISO, only

         those that expand the grid. 93 The Commission used the phrase, asset management, as short-hand



         91
                   California Complaint Order at P 65.
         92
                   Cal. Pub. Utils. Comm’n, et al v. Pacific Gas & Elect., Complaint, Docket No. EL17-45-000
                   (Aug. 31, 2018).
         93
                   California Complaint Order at P 65.
                                                                40


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         for the activities at issue in that proceeding – “maintenance, repair and replacement work done

         on existing transmission facilities . . ..” 94

                 But “asset management” ends when the “asset” is retired. By way of example, if the

         utility asset were a truck, repairing that truck, replacing the transmission, or even the engine, is

         asset management. When the truck is put in the junk yard and a new truck is purchased, that is

         not “asset management” of the retired truck.

                 It is simply nonsensical to assert that “asset management” continues after that asset is

         retired. An asset may require “management” in terms of maintenance or repair, and a repair may

         involve replacing component parts of an existing transmission facility, but once the asset is

         retired, there is no asset to manage, the asset no longer exists.

                 What the TO Filing refers to as asset management is “rate base management” or more

         bluntly protection of their rate base. What may exist after a transmission asset is retired is a

         transmission need. Once the transmission asset is removed from planning models upon notice of

         its pending retirement, there could be a new reliability or economic transmission need, or both.

         Although the transmission owner owned the asset, there is no basis to assert that the transmission

         owner owns any transmission needs resulting following the retirement of an existing

         transmission facility, particularly in an integrated grid. Thus, it is misleading to think of a

         transmission facility needed following the retirement of an existing transmission facility as a

         “replacement work” or asset management. It is a new transmission facility meeting a new

         transmission need.

                 Furthermore, a new transmission facility is a new investment that binds ratepayers for 40

         years or more. The decision to invest in a new transmission facility must be judged just as the


         94
                 Id. at n.119.
                                                               41


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         original investment was 40-90 years prior – is it a prudent investment that will support the

         existing and future needs of the transmission grid? Simply rebuilding Transmission Facilities

         that were needed in the past is neither automatically prudent nor good policy. Furthermore,

         requiring that such a decision be made on a transmission owner by transmission owner basis as a

         local planning need is neither prudent nor good policy.

                What was also not at issue in the California Complaint proceeding is whether Order No.

         1000 allows transmission owners to preserve the exclusive authority to plan for what happens

         after the retirement of existing Transmission Facilities. As explained in this Protest, the TO

         Filing will give the PJM transmission owners the right to decide what project will replace a

         retiring Transmission Facilities. Under the TO Filing PJM is denied the opportunity to

         determine what, if any, regional needs may result from the retirement of an existing

         Transmission Facility and to plan for that need. PJM is also denied the opportunity to determine

         if a regional solution can meet the need more efficiently or cost-effectively than a local solution.

         At most, PJM can inform a transmission owner that PJM has identified an overlap between a

         regional need and the Transmission Owners’ determination of a need resulting from the

         retirement of an existing Transmission Facilities. Even then, however, the PJM transmission

         owners’ proposal gives the transmission owner discretion over whether PJM’s solution solves the

         need. Setting aside that such an outcome is contrary to the affirmative obligation to plan on a

         regional basis requirement in Order No. 1000, nothing in the California Complaint proceeding

         addresses the scope of Order No. 1000’s requirement to plan on a regional basis or whether

         transmission needs resulting from the retirement of an existing transmission facility are

         transmission needs reserved solely to incumbent transmission owners. 95


         95
                The Commission’s only Order No. 1000-related finding was that the Commission’s orders
                accepting CAISO’s compliance filings with Order Nos. 890 and 1000 did not “indicate[] that
                                                             42


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                Instead, PJM should be responsible for identifying if there is a regional need resulting

         from the retirement of an existing transmission facility and how the need should be met. It could

         be a new transmission facility is needed but should include different technology or operate at a

         higher voltage level. Perhaps load has shifted in the region or the grid topology is different now

         that it was 40 years ago. It could be that there is no need at all. PJM, as the region’s

         independent planner, should have the opportunity to determine whether there is a need and what

         solution meets the need as required by Order No. 1000.

                                b)      The Definition Of Attachment M-3 Project Is Unreasonably
                                        Vague

                The definition of Attachment M-3 Project provides that it means a new Asset

         Management Project that “significantly changes the impedance of Transmission Facilities.”

         Projects that do not significantly change the impedance would not be covered by the revisions

         and, in the Sponsoring Transmission Owners’ views, not be an Asset Management Project or a

         Supplemental Project. The definition of Supplemental Project in the Operating Agreement has

         no such restriction. What constitutes significantly changing the impedance also will be

         subjectively determined by individual Transmission Owner definitions, not determined by PJM

         uniformly. The TO Filing provides no information on how transparent or non-discriminatory

         standards for “significantly changes” will be established and enforced nor any basis why

         significant impedance changes only are beneficial to the local zone, as these Attachment M-3

         Project are locally cost allocated.




                CAISO would evaluate non-expansion transmission-related work.” California Complaint Order
                at P 70. Order No. 1000 is not referenced at all in the California Complaint Rehearing Order.
                                                              43


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                                c)      The Definition Of Incidental Increase Is Unjust and
                                        Unreasonable

                The definition of “incidental increase,” a key phrase in the proposed Attachment M-3

         revisions, is so expansive as to have no legitimate meaning. The TO Filing focuses on

         “incidental increase” because an incremental increase was the mechanism by which the CAISO

         rules determined whether a transmission addition was an “expansion” of the grid and thus met

         the CAISO planning standard. But the phrase “incremental increase” was not defined in the

         California Orders. Further, the focus on incidental increase ignores that in PJM, both PJM

         regional Planning and Supplemental Projects cover expansions and enhancements, such that

         incremental increase is not a relevant determinate if the transmission addition is an enhancement,

         as would be the case for every end of life replacement. The California Orders noted this

         distinction between PJM planning and CAISO planning in rejecting the Complainant effort to

         rely on the Commission’s PJM Orders. 96

                The definition is also entirely too expansive as to what would be considered an incidental

         increase. The definition of Asset Management Project includes any “replacement of a

         Transmission Owners Transmission Facilities that results in no more than an Incidental Increase

         in transmission capacity . . ..” The definition of Incidental Increase then provides:

                        “Incidental Increase” shall mean an increase in transmission
                        capacity achieved by advancements in technology and/or
                        replacements consistent with current Transmission Owner
                        design standards, industry standards, codes, laws or
                        regulations, which is not reasonably severable from an Asset
                        Management Project. A transmission project that results in more
                        than an Incidental Increase in transmission capacity is an
         96
                California Complaint Order at P 72. Furthermore, in the California Complaint Order, the
                Commission included a caveat that when “a transmission owner determines that it can address an
                RTO’s identified need by expanding the scope of an asset management project or activity to
                result in a capacity increase, such additional work would be incremental to the asset management
                project or activity and would represent an expansion of the transmission system.” Id. at PP 68-
                69. The Sponsoring Transmission Owners did not include this caveat in their filing.
                                                               44


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                        expansion or enhancement of Transmission Facilities. [emphasis
                        added]

         First, there is no definition of “advancements in technology” and whether it merely means more

         efficient equipment or the inclusion of new energy storage technology. Second, by asserting that

         “A transmission project that results in more than an Incidental Increase in transmission capacity

         is an expansion or enhancement of Transmission Facilities,” the TO Filing conflates expansions,

         which relate exclusively to increases in delivery potential with “enhancements,” which can mean

         new facilities that result in no capacity increase. There is no effort to reconcile or restrain

         “advancements in technology” with “no grid expansion” in the California Orders.

                Third, the definition includes no tangible or verifiable way to determine whether an

         increase is “incidental” or “not reasonably severable from an Asset Management Project” and

         leaves it completely up to the transmission owner’s discretion. It is a matter of the individual

         transmission owner’s current “design standards, industry standards, codes, laws or regulations . .

         ..” 97 It is unclear what is meant by a transmission owner’s design standards and whether a

         transmission owner could simply change its design standard to ensure that project results in only

         an “incidental increase.” 98 The definition of Incidental Increase is proposed to be different for

         every Transmission Owner in PJM and would not be applied consistently across PJM. This point

         alone raises many concerns.


         97
                Design and replacement standards across PJM can vary greatly. Attached is a link to a 6-hour
                video Education Day that PJM held on May 23, 2016 in the PJM transmission replacement senior
                task force that educated stakeholders that the design standards across PJM vary widely and
                materially. Transmission Owners throughout PJM outlined their various EOL planning processes
                and needs. See https://videos.pjm.com/media/0_ncpoxh4i.
         98
                Stakeholders noticed this flaw during the Sponsoring Transmission Owners’ June 2020 Webinar.
                When asked whether the definition was broad enough to include a transmission owner replacing a
                retiring 115 kV line with a 230 kV or 345 kV line, the answer was yes, that the intent was to
                include these transmission owner design standards. Building an entirely new line that doubles the
                operating limit of the retired line is hardly an “incidental increase.” This result would likely be
                inconsistent with Order No. 1000 and prior Commission precedent.
                                                                45


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               •   The Sponsoring Transmission Owners have not established how the Incidental Increase
                   definition would be administered in a fair and non-discriminatory manner.
               •   The proposed PJM definition would give individual PJM Transmission Owners discretion
                   to change their standards and determine which projects are subject to the regional
                   planning process and which ones are not.
               •   It would give individual PJM Transmission Owners discretion on what projects are
                   subject to regional cost allocation and which projects are not. Projects that are not an
                   Incidental Increase are locally cost allocated, and projects that are an Incidental Increase
                   are regionally planned.
               •   The Sponsoring Transmission Owners have not demonstrated that the Incidental Increase
                   definition appropriately establishes just and reasonable cost allocation for projects falling
                   under Incidental Increase definition versus those that do not. The application of the
                   definition of Incidental Increase would dictate whether an Asset Management Project is
                   eligible for regional cost allocation. In addition, the definition would vary from PJM
                   Transmission Owner to PJM Transmission Owner and the Sponsoring Transmission
                   Owners have not been established how this variation between the PJM Transmission
                   Owners would also respect cost causation principles. 99

               •   Transmission Owners have not put clear requirements and protections in their proposed
                   definition that Incidental Increase cannot expand the transmission grid. The Incidental
                   Increase definition is inconsistent with Order No. 890. In Order No. 890, the
                   Commission stated it “cannot rely on the self-interest of transmission providers to expand
                   the grid in a nondiscriminatory manner”. 100

                   In summary, the Sponsoring Transmission Owners have not established that the

         definition of Incidental Increase will not be used in a discriminatory manner or that it is

         consistent with the cost-causation principles. While LS Power disputes that the precedent in the

         California Orders supports the Sponsoring Transmission Owners’ definition of Incidental

         Increase, even if it did apply, the definition would be inconsistent with the California Orders and

         unjust and unreasonable. The TO Filing also does not address the flip-side of the California


         99
                   As the United States Court of Appeals for the District of Columbia Circuit stated, there is no
                   prohibition against “PJM or its member utilities from amending the Tariff, the Operating
                   Agreement, or PJM’s own planning criteria to address any problem of prodigal spending, to
                   establish appropriate end-of-life planning criteria, or otherwise to limit regional cost sharing—as
                   long as any amendment respects the cost-causation principle. ODEC v. FERC, 898 F.3d 1254 at
                   1263. The DC Circuit was clear that cost causation principles apply to both the PJM Operating
                   Agreement and PJM Tariff.
         100
                   Order No. 890 at P 422.
                                                                   46


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         Orders, i.e., that a project that results in an incremental increase in transmission capacity is

         subject to the planning process in CAISO’s TPP. 101 The Incidental Increase definition does not

         start with the premise in the California Orders that if the asset management project would affect

         the topology of the system or system capacity, then the asset management replacement is subject

         to the PJM regional planning process. 102 Instead, it carves out large potential increases to the

         system as “Incidental Increase,” which also impacts the “Asset Management” and Attachment

         M-3 Project definitions.”

                Even in the event that there is Incidental Increase under the robust definition proposed in

         the TO Filing, the resulting project is not regionally planned as in CAISO. Instead, it becomes

         an Attachment M-3 Project that falls to the incumbent PJM Transmission Owner and all costs are

         allocated to the local zone, under the broad definition of Asset Management Project, Subsection

         (i) as an Asset Management Project that affects the connectivity of Transmission Facilities that

         are included in the Transmission System, affects Transmission Facility ratings, or significantly

         changes the impedance of the Transmission Facilities. This is allowed because of the second

         part of the Asset Management definition does not have an Incidental Increase catch. This second

         part reads “or to effect infrastructure security, system reliability, and automation projects the

         Transmission Owner undertakes to maintain its existing electric transmission system and meet

         regulatory compliance requirements.” The current Operating Agreement definition of

         Supplemental Projects excludes projects needed for system reliability, but the phrase “system

         reliability” in the Asset Management definition then conflicts with the Operating Agreement



         101
                California Complaint Order at P 69.
         102
                Also note that the Attachment M-3 Project definition (i) says “significantly changes the
                impedance” versus California Orders “affect the topology of the system or system capacity”.
                There is no significance standard in the California Orders related to impedance or topology.
                                                               47


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         Supplemental Project exception, which then the TO Filing grabs under the new Asset

         Management and Attachment M-3 Project definitions. In any case, the TO Filing does not

         establish a just and reasonable cost allocation method for projects with an Incidental Increase

         such as a significant change in impedance as there has been no showing that they indeed only

         have local benefits.

                                d)     The Definition Of EOL Need Is Unjust And Unreasonable

                The definition of “EOL Need” lacks sufficient specificity to be just and reasonable. EOL

         Need is defined in the TO Filing as:

                        a need to replace a transmission line between breakers operating at
                        or above 100 kV or a transformer, the high side of which operates
                        at or above 100 kV and the low side of which is not connected to
                        distribution facilities, which the Transmission Owner has
                        determined to be near the end of its useful life, the replacement of
                        which would be an Attachment M-3 Project.

         The definition restricts EOL Needs to only transmission lines operating above 100 kV whether

         PJM Transmission Facilities or not, and transformers regardless of voltage that are not connected

         on the low side to distribution. This definition comes into play in Attachment M-3 Section

         (d)(2)(ii) and in the Applicability Section (a)(2) related to Form 715 projects. The application of

         the EOL Needs definition there could limit the regional planning process to only planning EOL

         Needs, which provides another backdoor right of first refusal on substations and any other non-

         line transmission equipment. This is inconsistent with Schedule 6 of the Operating Agreement,

         which already includes in Section 1.5.8(p) a well-defined limitation on competition related to in-

         kind substation equipment. Furthermore, adding this definition to the PJM Tariff limits the

         regional planning process in the Operating Agreement related to replacement of substations, a

         key driver for PJM regional needs ahead, and greatly expands the limitations in today’s PJM

         Operating Agreement but through the PJM Tariff.

                                                             48


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                 Further the EOL Need definition limits EOL Needs to just transmission lines, this also

         means that replacements of substations in PJM would no longer be subject to the regional

         planning process or cost allocation. There is no outright limitation on substation competition in

         the PJM Operating Agreement; the TO Filing has not established why a limitation on substation

         replacement or non-transmission Transmission Facilities such as fixed series capacitors should

         be limited to competition. The EOL Need definition, which would limit the regional planning

         process to transmission lines 100 kV or above, also runs afoul of appropriate cost causation

         principles. The TO Filing has not established why it is appropriate for replacement high voltage

         substations and non-transmission line Transmission Facilities to be locally cost allocated by

         restricting the EOL Need definition, and therefore regional cost allocation, to just transmission

         lines 100 kV and above. 103 In fact, courts have found no prohibition against “PJM or its member

         utilities from amending the Tariff, the Operating Agreement, or PJM’s own planning criteria to

         address any problem of prodigal spending, to establish appropriate end-of-life planning criteria,

         or otherwise to limit regional cost sharing—as long as any amendment respects the cost-

         causation principle.” 104

                 Restricting regional cost-sharing for high-voltage replacement substations must be

         consistent with the cost causation principle, and the TO Filing has not established that high-

         voltage EOL substation projects do not have regional benefits. There are many examples of

         regionally beneficial substations in PJM; there is no reason that end of life replacement

         substation projects, which under the ODEC precedent must be consistent with cost causation



         103
                 For instance, the following projects that involve replacing substations, s0468, s0764 , s0951.4,
                 and s1426.1, may have regional benefits. Together the projects represent $120 million in new
                 transmission investment.
         104
                 ODEC v. FERC, 898 F.3d 1254 at 1263.
                                                                 49


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         principles, would also not have regional benefits. 105 Project 9A, the largest market efficiency

         project in PJM history, is currently under development in both Maryland and Pennsylvania, and

         with benefits in numerous PJM transmission zones with clear regional benefits. With the recent

         project settlement, the Eastern Portion of 9A has essentially turned into a regional market

         efficiency substation only project. The 9A beneficiaries are below, as outlined in Maryland

         CPCN case 9471 and based on PJM Analysis Dated September 29, 2019:

                   PJM ZONE                          NLP NPV ($)                     % PER ZONE

                       AEP                           ($83,844,189)                          9.92%

                       APS                           ($60,259,292)                          7.13%

                       BGE                           ($106,852,669)                     12.65%

                      DAY                             ($9,392,909)                          1.11%

                      DOM                            ($406,173.109)                     48.08%

                      EKPC                            ($7,057,159)                          .84%

                      OVEC                             ($312,551)                           .04%

                      PEPCO                          ($170,915,031)                     20.23%

                      TOTAL                          ($844,806,909)                         100%



                As with the Incidental Increase, the EOL Need definition leaves complete discretion to

         the transmission owner to determine whether a facility is reaching the end of its useful life –

         “which the Transmission Owner has determined to be near the end of its useful life . . ..”

         Moreover, there is no time horizon included in the definition, just a vague reference to “near,”

         leaving the transmission owner’s discretion essentially unreviewable. In contrast, PJM


         105
                For examples, see Exhibit B attached to this Protest.
                                                                50


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         Stakeholders established language in Manual 14B that a transmission owner is required to use

         good utility practice when making an end of life determination and further specified that a

         transmission cannot use accounting definitions in making its determination. 106 Here, there is no

         reference to even “good utility practice,” or another standard such as reasonableness or

         transparency under Order No. 890. 107 The EOL Need definition undoes roughly a year or more

         of stakeholder process and resulting revisions to Manual 14B approved by the Markets and

         Reliability Committee. 108

                                e)      The Definitions of Transmission Facilities And Form 715
                                        Planning Criteria Are Inappropriately Included In The TO
                                        Filing

                  The definition for Form No. 715 EOL Planning Criteria is inappropriate because Form

         No. 715 planning criteria is defined by the Commission through Order No. 558 109 but the TO

         Filing restricts the scope of Form No. 715 EOL Planning Criteria to the limited definition of

         “EOL Needs” as defined by the TO Filing. As outlined above, this has clear inconsistencies with

         Section 1.5.8(p) of the Operating Agreement, and further limits competitive opportunities for

         Form 715 projects to the new definition of EOL Projects, also conflicting with the existing

         Schedule 6 which puts all Form 715 project into the regional planning process. Once a



         106
                Manual 14B, see https://www.pjm.com/-/media/committees-
                groups/committees/mrc/20181220/20181220-item-08b-transmission-replacement-process-
                manual-14b-revisions-presentation.ashx
         107
                ODEC provides a reasonable proposal in the stakeholder process, and even this 2017 concept
                related to reasonableness standard is dismissed. https://www.pjm.com/-/media/committees-
                groups/task-forces/trpstf/20171129/20171129-item-04-potential-end-of-life-definition.ashx
         108
                https://www.pjm.com/-/media/committees-groups/committees/mrc/20181220/20181220-item-
                08b-transmission-replacement-process-manual-14b-revisions-presentation.ashx
         109
                New Reporting Requirement Implementing Section 213(b) of the Federal Power Act and
                Supporting Expanded Regulatory Responsibilities under the Energy Policy Act of 1992, and
                Conforming and Other Changes to Form No. FERC-714, Order No. 558, 64 FERC 61,369 (1993)
                58 FR 52436, Oct. 8, 1993.
                                                              51


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         transmission owner files any end of life criteria as part of its Form No. 715 criteria, that criteria

         becomes PJM planning criteria, regardless of the nature of the Transmission Facilities to which it

         applies. In addition, the assertion in the Form No. 715 EOL Planning Criteria definition that “No

         Transmission Owner may be compelled to file a Form No. 715 EOL Planning Criteria not

         required to be filed pursuant to FERC regulations applicable to Form No. 715” is unnecessary

         given that only the Commission could “require” a party to make a filing mandated by the

         Commission.

                        3.       The Procedures For A Transmission Owner To Coordinate With PJM
                                 On EOL Needs Are Inconsistent With The Operating Agreement And
                                 Inconsistent With Order No. 1000

                Equally problematic is the Sponsoring Transmission Owners’ proposal to keep

         confidential from PJM Stakeholders, including state commissions, the Candidate EOL Needs

         List that identifies EOL Needs expected in the next five years. The proposal should be rejected

         because there is no justification for keeping this list a secret. It runs afoul of the Commission’s

         efforts to ensure that transmission planning is transparent and permits Stakeholder

         participation. 110 It is also inconsistent with Order No. 1000 in that the TO Filing would limit

         coordination between local and regional planning such that PJM will be unable to determine

         whether a regional solution is more efficient or cost-effective than a local solution. 111 The

         Sponsoring Transmission Owners’ proposal prevents EOL Needs from being posted during a

         110
                In Order No. 1000, the Commission stated that it was building on the requirement in Order No.
                890 that transmission providers participate in “a coordinated, open and transparent regional
                transmission planning process.” Order No. 1000 at P 1. See also Order No. 890 at P 488
                (requiring that transmission planning processes give stakeholders “a meaningful opportunity to
                engage in planning along with their transmission providers.”); Monongahela Power Co., el al,
                156 FERC 61,134 (2016)(establishing a show cause order to ensure that stakeholders have an
                opportunity to meaningfully participate in planning for Supplemental Projects).
         111
                Order No. 1000 requires transmission providers to participate in a regional planning process that
                creates a plan that identifies “transmission facilities that more efficiently or cost-effectively met
                the region’s reliability, economic and Public Policy Requirements.” See Order No. 1000 at P 11.
                                                                 52


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         competitive window as required by Schedule 6, Section 1.5.8(b) as discussed above, which

         ensures that no Stakeholder or non-incumbent developer will have the opportunity to propose a

         project that more efficient or cost-effectively meets the EOL Need, including a project that may

         meet the EOL Need and another need. In fact, the only role for PJM in the process is to review

         EOL Needs and alert a transmission owner if there is potential overlap between a regional need

         and an EOL Need. If PJM identifies a project that could meet the EOL Need and regional need,

         the transmission owner still has the opportunity to reject the potential project. This is not

         effective regional planning and it will not lead to just and reasonable rates. Finally, because the

         “candidates” list is nonbinding, the Transmission Owners can simply remove facilities from the

         list if a more efficient or cost-effective project is proposed. The non-binding nature of the

         transmission owner’s list of potential retirements/EOL Needs also impacts the accuracy of

         generation interconnection queue studies and BRA auctions.

                        4.      The Sponsoring Transmission Owners’ Proposal Conflicts With
                                PJM’s Role As The Order No. 1000 Planning Entity For The Region

                The Transmission Owners in PJM have designated PJM as their Order No. 1000 entity

         for regional planning purposes. The TO Filing, however, would stymie PJM from conducting

         regional planning consistent with Order No. 1000 by preventing PJM from considering certain

         needs during the regional planning process. Under Order No. 1000, transmission providers

         cannot reserve exclusively to the transmission owners planning for the region’s needs effectively

         precluding consideration of some of the region’s needs as part of the Order No. 1000-compliant

         planning process. The TO Filing would also prohibit Stakeholders from improving regional

         planning rules without Transmission Owner approval, while allowing Transmission Owners to

         establish new categories of projects reserved exclusively to the Transmission Owners. Thus, the

         TO Filing provides the Transmission Owners a right of first refusal for anything that they decide
                                                              53


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         to plan locally instead of regionally. Order No. 1000 does not permit this type of back door right

         of first refusal.

                 The TO Filing, and the PJM Board letter, assert that the CTOA supports this exclusion of

         regionally beneficial projects from the regional planning process. The CTOA does not, and any

         reading of it to do so would be inconsistent with the conclusion that there was no right of first

         refusal in PJM and would place the current CTOA as unjust and unreasonable. As noted above,

         Article 4.1.3 of the CTOA placed PJM in charge of regional planning. Article 6.3.4 provides

         that PJM shall: “Conduct its planning for the expansion and enhancement of transmission

         facilities based on a planning horizon of at least ten years, or such longer period as may be

         required by the PJM Tariff or Operating Agreement, including the Regional Transmission

         Expansion Planning Protocol.” Even this provision notes that the requirements for PJM regional

         planning as reflected in the CTOA could be enhanced by the Operating Agreement. The CTOA

         has no restriction on the regional planning mandate. The provision cited by Transmission

         Owners, Article 5.2, does not address planning at all and does not limit the scope of regional

         planning. The provision states:

                             5.2 Facility Rights Each Party shall have the right to build,
                             finance, own, acquire, sell, dispose, retire, merge or otherwise
                             transfer or convey all or any part of its assets, including any
                             Transmission Facilities, such right to include, but not be limited to
                             the right, individually or collectively, to terminate the relationship
                             with PJM in accordance with Section 3.2 or in connection with the
                             transfer to or creation of another entity (including a joint venture or
                             an ITC pursuant to Attachment U to the PJM Tariff) of the right to
                             own and/or operate its Transmission Facilities. PJM shall not
                             challenge any such sale, disposition, retirement, merger, or other
                             action under this Section 5.2 on the basis that they are a signatory
                             to this Agreement. 112



         112
                 CTOA Article 5.2 [emphasis added].
                                                                   54


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         The provision, by its terms, relates only to the Transmission Facilities brought into PJM, not to

         the planning of future facilities. The provision offers no support for the conclusion that it

         restricts PJM’s role as the regional planner.

                Article 5.6 is a basic reservation of rights provision and says merely that any rights not

         transferred to PJM are retained by the Parties to the agreement. Of course, since regional

         planning was transferred to PJM, the provision does nothing to answer the question as to whether

         the Sponsoring Transmission Owners have the unilateral right to hamstring PJM’s regional

         planning by restricting the most significant driver of transmission spend in PJM for the

         foreseeable future.

                To the extent that the Commission reads either of these provisions as granting incumbent

         transmission owners a perpetual right to locally plan and rebuilt the existing transmission system

         in perpetuity, the provisions are unjust and unreasonable. As discussed below, the TO Filing

         would give the Transmission Owners that right. Such a perpetual right to rebuild Transmission

         Facilities and burden consumers with the cost, without those consumers having the ability to

         reject the perpetual rebuild opportunity by amending regional planning, is contrary to the Federal

         Power Act and the Commission’s obligation to ensure just and reasonable rates. Order No. 1000

         recognized that the regional planning is an essential component of the Commission’s ability to

         determine just and reasonable rates.

                        5.      The TO Filing Would Expand The Scope Of Local Planning Contrary
                                To The Commission’s Goal Of Expanding Regional Planning

                The TO Filing elevates local planning over regional planning contrary to Commission

         precedent on transmission planning. The Commission has been on a steady march towards

         regional planning for two decades. In Order No. 888-A, the Commission encouraged

         transmission providers to engage in regional planning with transmission customers to “ensur[e]

                                                              55


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         that regional transmission needs are met efficiently.” 113 Later, in Order No. 890, the

         Commission took the next step of requiring participation in regional planning processes. 114 The

         Commission found that “[t]he coordination of planning on a regional basis will also increase

         efficiency through the coordination of transmission upgrades that have region-wide benefits, as

         opposed to pursuing transmission expansion on a piecemeal basis.” 115 Subsequently the

         Commission embarked on Order No. 1000, which significantly expanded the requirements for

         regional planning to include (1) an affirmative obligation to plan for reliability, economic and

         public policy needs; (2) a process for competitive selecting transmission projects to meet those

         needs; and (3) ex ante cost allocation methods for selected projects. 116

                Of particular relevance here is the affirmative obligation to plan on a regional basis. In

         Order No. 1000 the Commission “conclude[d] that it is necessary to have an affirmative

         obligation in these transmission planning regions to evaluate alternatives that may meet the

         needs of the region more efficiently or cost-effectively.” 117 Order No. 1000 required



         113
                Promoting Wholesale Competition Through Open Access Non-Discriminatory Transmission
                Services by Public Utilities; Recovery of Stranded Costs by Public Utilities and Transmitting
                Utilities, Order No. 888, FERC Stats. & Regs. ¶ 31,036 (1996), order on reh’g, Order No. 888-A,
                FERC Stats. & Regs. ¶ 31,048, at 30,311, order on reh’g, Order No. 888-B, 81 FERC ¶ 61,248
                (1997), order on reh’g, Order No. 888-C, 82 FERC ¶ 61,046 (1998), aff’d in relevant part sub
                nom. Transmission Access Policy Study Group v. FERC, 225 F.3d 667 (D.C. Cir. 2000), aff’d sub
                nom. New York v. FERC, 535 U.S. 1 (2002).
         114
                Preventing Undue Discrimination and Preference in Transmission Service, Order No. 890, 118
                FERC ¶ 61,119, at P 523 (The Commission required transmission providers “to coordinate with
                interconnected systems to (1) Share system plans to ensure that they are simultaneously feasible
                and otherwise use consistent assumptions and data and (2) identify system enhancements that
                could relieve congestion or integrate new resources.”), order on reh’g, Order No. 890-A, 121
                FERC ¶ 61,297(2007), order on reh’g and clarification, Order No. 890-B, 123 FERC ¶ 61,299
                (2008), order on reh’g, Order No. 890-C,126 FERC ¶ 61,228, order on clarification, Order No.
                890-D, 129 FERC ¶ 61,126 (2009).
         115
                Id. at P 524.
         116
                Order No. 1000 at PP 6-9.
         117
                Id. at P 80.
                                                               56


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         transmission providers to participate in a regional planning process that explores whether “the

         development of transmission facilities that span the service territories of multiple public utility

         transmission providers may obviate the need for transmission facilities identified in multiple

         local transmission plans while simultaneously reducing congestion across the region.” 118 The

         types of needs that transmission providers must plan for include (1) reliability, (2) economic and

         (3) Public Policy Requirements, and there is no carve out for certain drivers of those needs. For

         instance, there is no carve out for reliability needs driven by the retirement of existing

         transmission facilities. Through regional planning to meet the region’s needs, transmission

         providers can holistically plan to meet those needs resulting in more efficient or cost-effective

         solutions and therefore just and reasonable rates.

                On compliance, the Commission found that PJM complied with the regional planning

         requirements because PJM’s planning process, which is in the Operating Agreement,“culminates

         in the RTEP, a regional transmission plan that reflects PJM’s determination of the set of

         transmission facilities that more efficiently or cost-effectively meet the transmission needs of the

         PJM Region.” 119 The Sponsoring Transmission Owners’ proposal, however, would deprive PJM

         of its ability to holistically plan on a regional basis and determine whether a regional solution

         would more efficiently or cost-effectively meet the region’s needs because it prevents PJM from

         planning for any needs not listed in 1-5 of the Applicability Section.

                In particular, it denies PJM the opportunity to plan for needs resulting from the retirement

         of an existing transmission facility. While the proposal requires individual transmission owners

         to notify PJM when transmission facilities are reaching the end of their useful life, it reserves to


         118
                Order No. 1000 at P 81.
         119
                PJM First Compliance Order at P 65. The Commission also found that PJM region qualified as a
                planning region. Id. at P 30.
                                                              57


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         individual transmission owners the right to plan to replace the to-be-retired transmission

         facilities. In effect, PJM is precluded from determining, based on a holistic view of the regional

         transmission system, whether there is a need if a transmission facility is retired, what type of

         need there may be (i.e., reliability or economic with consideration of public policy

         requirements), and what transmission solution more efficiently or cost-effectively meets the

         need, including the potential for a transmission solution to solve multiple types of needs.

                     The only planning-related activity that PJM is permitted under this proposal is reviewing

         whether there is “a substantial electrical overlap” between a regional need and a projected end of

         life need. 120 Even if PJM does happen to find such an overlap, the proposal essentially allows a

         PJM transmission owner to veto PJM’s determination that a single solution would satisfy both a

         regional need and an end of life need. 121 Thus, if the PJM transmission owners’ proposal is

         approved, the RTEP will no longer reflect PJM’s determination of the set of transmission

         facilities that more efficiently or cost-effectively meet the transmission needs of the PJM Region,

         and instead will only reflect the set of transmission facilities that more efficiently or cost-

         effectively meet the transmission needs that the Sponsoring Transmission Owners allow PJM to

         plan. 122

                              6.    The Sponsoring Transmission Owners’ Proposal Denies PJM
                                    Stakeholders’ Role In Developing Transmission Project Categories

                     The TO Filing usurps the PJM Stakeholders’ recognized role in developing project

         definitions under the Operating Agreement. 123 Currently, all of the transmission project


         120
                     Proposed Attachment M-3, Section (d)(2)(i).
         121
                     Id. at Section (d)(2)(ii).
         122
                     This is the very self-interest that the Commission was concerned about in Order Nos. 888, 890
                     and 1000. See Order No. 888 at 31,682; Order No. 890 at P 524; Order No. 1000 at PP 254, 256.
         123
                     See Operating Agreement, Section 8.8 of the, “Powers of the Members Committee”.
                                                                   58


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         categories and other key planning terms and processes are defined in the Operating Agreement,

         including Supplemental Projects. 124 The Sponsoring Transmission Owners, however, propose to

         bypass the Operating Agreement, which can only be amended by the Members Committee, and

         insert into Attachment M-3 two new category of projects, Attachment M-3 Projects and Asset

         Management Projects, and restrict those projects to the PJM Transmission Owners.

                Only the Members Committee, which represents the various Stakeholder interests in

         PJM, has the authority to change those definitions, including adding, removing or modifying

         definitions and planning processes. 125 Specifically, Section 8.8 of the Operating Agreement

         grants the Members Committee authority to “amend any portion of [the Operating agreement],

         including the Schedules hereto, or create new Schedules, and file any such amendments or new

         Schedules with FERC or other regulatory body of competent jurisdiction.” Nowhere in the

         Operating Agreement or other governing documents are PJM or the PJM transmission owners

         granted unilateral authority to amend the Operating Agreement. 126 This is by design as it is




         124
                See Definitions Section of the Operating Agreement for the definitions of (1) Multi-Driver
                Projects; (2) Regional RTEP Project; (3) Immediate-need Reliability Projects; (4) Short-term
                Projects; (5) Long-lead projects; (6) Subregional RTEP Project; and (7) Economic-based
                Enhancements or Expansions. The Operating Agreement also defines other key planning terms,
                such as Local Plan.
         125
                See Pennsylvania-New Jersey-Maryland Interconnection, et al, 81 FERC ¶ 61,257 at 62,263
                (Nov. 25, 1997); see also Order No. 888, 61 FR 21540-01, 21596 (Principle One of the ISO
                Principles adopted in Order No. 888 states that “governance should be structured in a fair and
                non-discriminatory manner” and “independent of any individual market participant or any one
                class of participants (e.g. transmission owners or end-users).”) .
         126
                If PJM opts to move forward with a proposal that does not receive a two-thirds majority vote
                from the Members Committee, then PJM files it under Section 206 of the FPA. See, e.g., PJM
                Interconnection, L.L.C., Maintenance Adder Revisions to the Amended and Restated Operating
                Agreement, Docket No. EL19-8-000 at 19-20 (filed on Oct. 29, 2018)(noting that PJM made the
                filing under Section 206 of the FPA because “Operating Agreement changes must be approved by
                a two-thirds majority sector vote of the Members Committee” and therefore “PJM is not
                authorized to file the Operating Agreement changes under section 205 . . ..”).
                                                               59


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         meant to ensure that, as a Commission-approved independent system operator, PJM is

         independent from the transmission owners. 127

                Instead of following the process to amend the Operating Agreement, the Sponsoring

         Transmission Owners are proposing to circumvent the Operating Agreement, and by extension

         PJM Stakeholders, by amending and expanding the existing Attachment M-3 without also

         amending the Operating Agreement. A majority of Stakeholders have rejected the Sponsoring

         Transmission Owners’ limits on regional planning. The Member Committee vote demonstrates a

         clear preference by a majority of PJM Stakeholders for regional planning. 128 In spite of, or

         perhaps because of, the lack of Stakeholder support, the PJM transmission owners rushed

         forward with their self-interested proposal.

                D.      The Filing Demonstrates That Certain Transmission Owners Have Been
                        Violating the Requirements Of Form No. 715 With Regard To End Of Life
                        Planning Criteria

                FERC Form No. 715 requires transmitting utilities to file their transmission planning

         criteria. The Commission created Form No. 715 in response to Congressional action requiring

         “that information be submitted annually to the Commission by transmitting utilities which is




         127
                See Pennsylvania-New Jersey-Maryland Interconnection, et al, 81 FERC ¶ 61,257 at 62,263
                (Nov. 25, 1997); see also Order No. 888, 61 FR 21540-01 at 21596. Independent transmission
                planning is particularly important given the Commission’s recognition that it “could not rely on
                the self-interest of transmission providers to expand the grid in a not unduly discriminatory
                manner.” Order No. 1000 at P 17 (discussing the need for the transmission planning reforms
                adopted in Order No. 890).
         128
                The Commission has found that “stakeholder consensus is an important factor to be considered”
                when evaluating whether a proposal is just and reasonable. See, e.g., PJM Interconnection,
                L.L.C., 117 FERC ¶ 61,179, at P 43 (2006)(“The Commission continues to believe that the
                stakeholder process helps to resolve disputes between parties and is entitled to due
                weight. However, the Commission nevertheless must address each filing on its merits and be able
                to find the proposal just and reasonable.”).
                                                                60


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         adequate to inform 129 potential transmission customers, State regulatory authorities, and the

         public of potentially available transmission capacity and known constraints.” 130 In response, in

         Order No. 558, 131 the Commission created Form No. 715. 132

                In creating Form No. 715, the Commission’s intended that “transmitting utilities file the

         substantive criteria and planning procedures that they follow in the normal course of

         business,” 133 including system-specific planning criteria. 134 Form No. 715 includes three parts

         relevant to the Commission’s intent.

                       Part 4 of Form No. 715 requires transmission owners to “submit a
                        detailed description of the transmission planning reliability criteria used
                        to evaluate system performance for time frames an planning horizons
                        used in regional and corporate planning;”

                       Part 5 of Form No. 715 requires transmission owners to submit a
                        detailed description of the Respondent's transmission planning
                        assessment practices (including, but not limited to, how reliability
                        criteria are applied and the steps taken in performing transmission
                        planning studies); and

                       Part 6 of Form No. 715 Part transmission owners to submit a detailed
                        evaluation of the Respondent's anticipated system performance as




         129
                In the Notice of Proposed Rulemaking, the Commission interpreted the phrase “adequate to
                inform” as requiring the filing of the “fundamental information used and assumptions made by
                the transmitting utility to perform its planning and operating studies.” 58 FR at 17548
         130
                Pub. L. No. 102-486, 106 Stat. 2276 (1992) codified at 16 U.S.C. § 824l.
         131
                Order No. 558, 58 FR 52420.
         132
                18 C.F.R. § 141.300
         133
                Order No. 558, 58 FR at 52425 (The Commission's intention is that transmitting utilities file the
                substantive criteria and planning procedures that they follow in the normal course of business.)
         134
                Id. at 52433 (“In addition to their regional criteria, Respondents must submit system specific
                planning criteria. Unless Respondents make such criteria publicly available, a potential user of
                the system will have little idea of system specific criteria that might limit transmission
                availability. As stated above, the Commission's intention is that transmitting utilities file the
                substantive criteria and planning procedures that they follow in the normal course of business.”)
                                                                61


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                        measured against its stated reliability criteria using its stated assessment
                        practices. 135

                Once the transmission provider files its Form 715 criteria, PJM’s Order Nos. 890 and

         1000 compliant transmission planning process develops plans that meet all the needs arising the

         criteria in the Form No. 715. The Commission has said:

                        PJM sets forth a coordinated, open, and transparent process for the
                        consideration of needs driven solely by individual transmission owner
                        Form No. 715 local planning criteria and projects to address those needs.
                        Specifically, transmission needs driven solely by individual transmission
                        owner Form No. 715 local planning criteria are identified through PJM's
                        Order No. 890 and Order No. 1000-compliant transmission planning
                        process set forth in sections 1.5.1 through 1.5.6 of Schedule 6 of the
                        PJM Operating Agreement; such needs are subsequently posted for
                        review and comment; and descriptions of projects to address
                        transmission needs driven solely by individual transmission owner Form
                        No. 715 local planning criteria are posted for review and comment,
                        subject to further study, evaluation, and revision as based on comments
                        received. 136

                The TO filing demonstrates that many transmitting utilities in PJM have failed to file

         their end of life planning criteria in compliance with the requirement to file planning criteria on

         Form No. 715. This failure to file end of life planning in the Form 715 has resulted in PJM TOs

         building billions of new transmission outside of the PJM regional planning process required by

         Order Nos. 890 and 1000, including the competitive processes required.

                If End of Life planning is not part of PJM’s planning criteria through the EOL OA

         changes approved by Stakeholders, it should be filed on Form No. 715. End of life planning

         criteria defines the point at which infrastructure is at risk of failure, and continued maintenance

         and/or refurbishment of the infrastructure is no longer a valid option to extend the life of the

         facilities consistent with Good Utility Practice and transmission planning criteria. Under end of


         135
                https://www.ferc.gov/filing-form-no-715-annual-transmission-planning-and-evaluation-report.
         136
                PJM Interconnection, LLC, 162 FERC ¶ 61033 at P 22 (2018).
                                                           62


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         life criteria, there are two decision points; (1) the facility is nearing its end of life, and 2)

         continued maintenance and operation risks negatively impacting reliability of the transmission

         system. As is apparent from Supplemental Project spending for EOL projects, and the TO

         Filing, the TOs have criteria by which they make end of life determinations. Thus, their end of

         life criteria should have been filed with the Commission with the Form No. 715 because they are

         “transmission planning reliability criteria used to evaluate system performance for time frames

         and planning horizons used in regional and corporate planning, (Part 4 of Form 715), “part of

         transmission planning assessment practices” (Part 5 of Form 715), “anticipated system

         performance as measured against its stated reliability criteria using its stated assessment

         practices” (Part 6 of Form 715), and followed in the normal course of the TOs’ business.

                 The TO Filing, and other sources, demonstrate that the majority of the PJM transmitting

         utilities have not included their end of life criteria in their Form No. 715. The TO Filing says

         only “some” Transmission Owners have included end of life planning criteria in their FERC

         Form No. 715. 137 Similarly, the PJM Market Monitor confirmed that only “[s]ome Transmission

         Owners include end of life transmission projects in their Transmission Owner Form 715

         Planning Criteria.” 138

                 Only some TOs have filed their end of life criteria in Form No. 715. 139 Apparently

         certain TOs believe that a Transmission Owner can “chose[]” to include end of life replacement




         137
                 TO Filing at 14.
         138
                 2019 State of the Market Report for PJM, 2019, Monitoring Analytics, March 12, 2020, Volume
                 2 at 70.
         139
                 As a result of the Commission’s decision on Form No. 715 cost allocation, Dominion removed
                 from its Form No. 715 criteria its end of life criteria for Transmission Facilities below 230 kV.
                                                                 63


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         criteria in its FERC Form No. 715 140 even though the Commission’s Order implementing the

         Form No. 715 requirement did not address the requirement as voluntary. Further, by not

         including end of life planning criteria in its Form No. 715, the nonconforming Transmission

         Owners can avoid competition for end of life projects. Of course, if the Transmission Owner

         includes end of life criteria in Form No. 715, then PJM plans for end of life projects as part of its

         Order Nos. 890 and 1000 compliant transmission planning process. In that case, such projects

         would be planned by PJM and could be subject to competition. 141 By withholding end of life

         planning criteria from its Form No. 715 submission, the Transmission Owner can build end of

         life projects without competition as a Supplemental Project – end of life projects are a subset of

         Supplemental Projects. In 2019, the PJM RTEP listed 383 in Supplemental Projects including

         end of life projects. Since 1999, the PJM RTEP has included $37.6 billion in Supplemental

         Projects   With the ability to build such a significant level of transmission without competition,

         it is not surprising that the TOs have chosen not to include its end of life planning criteria in

         Form No. 715. 142




         140
                See May 27, 2020 PJM Letter to Stakeholders --End of Life Conditions and Replacement Projects
                at 6, including as Exhibit D to TO Filing.
         141
                In many instances, however, these projects are directly assigned to the transmission owner
                because they are reliability projects needed within three years or less and thus categorized as
                ‘immediate need reliability projects.’ Currently, PJM has no established practice requiring a
                transmission owner to advise PJM sufficiently in advance that a facility is reaching the end of its
                useful life, leaving it to the discretion of transmission owners who, because they will be assigned
                a project needed in three years or less, has an incentive to wait to inform PJM that a facility is
                reaching the end of it useful life.
         142
                See for example the Dominion example on page 6 of the Dominion presentation, available at,
                https://www.pjm.com/-/media/committees-groups/committees/pc/2020/20200512/20200512-
                item-12-dominion-planning-criteria-updates.ashx.
                                                                64


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         III.   CONCLUSION

                As set forth fully above, the Commission should reject the TO Filing as unjust and

         unreasonable and accept the Stakeholders Operating Agreement proposal filed in Docket No.

         ER20-2038. FurThesether the Commission should review the compliance by PJM Transmission

         Owners with including end of life criteria in their Form No. 715 filings.

                                                              Respectfully submitted,

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                                                             65


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                                              CERTIFICATE OF SERVICE
                 I hereby certify that I have this day served the foregoing document upon each person designated

         on the official service list compiled by the Secretary in this proceeding.

                 Dated at Washington, DC this 6th day of July 2020.

                                                           By: /s/ Christina Switzer




                                                                   66


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                                        Exhibit A




                                                  67


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                                                                                                                                                       Cost Estimate
UpgradeId   SubRegion      Description                                                                                        ProjectType    Voltage     ($million)  TransmissionOwner   State    Equipment                         Task
                           Rebuild the Jug - Kirk 345kV single circuit line as a double circuit line. One side will remain
                           345kV between Jug and Kirk 345/138kV stations while the other side will be strung as a new
s0555       West           138kV circuit to pick up new customers                                                             Supplemental 345/138         $41             AEP            OH      Transmission Line (Double Circuit) Rebuild
                         Rebuild the Corridor – Jug Street 345 kV line as a double circuit line with one side served at 345
s1191       West         kV and the other at 138 kV to provide a third source to Jug Street station.                          Supplemental 345/138         $28             AEP            OH      Transmission Line                 Rebuild
                         Rebuild and reconductor approximately 33.0 miles of the Armstrong – Homer City 345 kV Line,
s2054       Mid-Atlantic of wood pole construction                                                                            Supplemental    345         $138           PENELEC          PA      Transmission Line                 Rebuild
s0645       West         Reconductor 13 miles of the Kammer - West Bellaire 345 kV circuit                                    Supplemental    345          $20             AEP            OH      Transmission Line                 Reconductor
                         Replace underground submarine cables portion of the Brandon Shores - Riverside 230 kV
s1267       Mid-Atlantic circuits #2344 and #2345 with overhead conductors on towers                                          Supplemental    230         $236             BGE            MD      Transmission Line                 Replace
s0291       Mid-Atlantic Replace the V-2222 (Hillsdale to New Milford) circuit                                                Supplemental    230          $36             PSEG           NJ      Transmission Line                 Replace
                         Rebuild approximately 10 miles of an existing 230kV double circuit tower line extending from
s0569       Mid-Atlantic Burtonsville to Takoma substation                                                                    Supplemental    230          $34            PEPCO           MD      Transmission Line                 Replace
s0951.2     Mid-Atlantic Rebuild Brunner Island - South Manheim 230 kV (17.8 mi)                                              Supplemental    230          $31             PPL            PA      Transmission Line                 Rebuild
s0945.8     Mid-Atlantic Rebuild the Juniata - Cumberland 230 kV Line (14.2 mi)                                               Supplemental    230          $31             PPL            PA      Transmission Line                 Rebuild
s0232       Mid-Atlantic Rebuild Manor – Graceton 230 kV line                                                                 Supplemental    230          $28             PPL            PA      Transmission Line                 Rebuild
                         Rebuild line 23070 circuit between Cool Spring and Indian River 230 kV substations. All
                         structures, conductor, and static wire will be replaced with new steel poles, conductor, and
s1455       Mid-Atlantic OPGW                                                                                                 Supplemental    230          $28              DPL           DE      Transmission Line                 Rebuild
s1100       Mid-Atlantic Rebuild the existing Foxhill-Shawnee 230 kV line (Approximately 8.25 Miles).                         Supplemental    230          $25              PPL           PA      Transmission Line                 Rebuild
s0290       Mid-Atlantic Replace the J-2236 (New Milford to Maywood) circuit                                                  Supplemental    230          $23             PSEG           NJ      Transmission Line                 Replace
s0955.5     Mid-Atlantic Rebuild West Hempfield - Manor 2 230 kV line (9.1 mi)                                                Supplemental    230          $23              PPL           PA      Transmission Line                 Rebuild

s0819       Mid-Atlantic   Rebuild approximately 15.3 miles of the Red Lion - Cedar Creek 230 kV circuit '23030'             Supplemental     230          $21             DPL            DE      Transmission Line                 Rebuild
s0948.1     Mid-Atlantic   Rebuild Hummelstown - Middletown Junction #1 230 kV line (7 mi)                                   Supplemental     230          $19             PPL            PA      Transmission Line                 Rebuild
s0233       Mid-Atlantic   Rebuild Otter Creek – Conastone 230 kV line                                                       Supplemental     230          $19             PPL            PA      Transmission Line                 Rebuild
s0273       Mid-Atlantic   Rebuild Hosensack – Wescosville # 3 230 kV line                                                   Supplemental     230          $18             PPL            PA      Transmission Line                 Rebuild
s0948.2     Mid-Atlantic   Rebuild Hummelstown - Steelton 230 kV line (6.8 mi)                                               Supplemental     230          $18             PPL            PA      Transmission Line                 Rebuild
s0274       Mid-Atlantic   Rebuild Martins Creek – Siegfried # 2 230 kV line                                                 Supplemental     230          $16             PPL            PA      Transmission Line                 Rebuild
s1838.2     South          Re-conductor 230 kV Line No.227 Cochran Mill – Ashburn and Ashburn – Beaumeade line               Supplemental     230          $15           Dominion         VA      Transmission Line                 Reconductor
s0275       Mid-Atlantic   Rebuild Whitpain – Buxmont 230 kV line                                                            Supplemental     230          $13             PPL            PA      Transmission Line                 Rebuild
s0493       Mid-Atlantic   Reconductor the Susquehanna - Harwood 230 kV circuits #1 and #2                                   Supplemental     230          $11             PPL            PA      Transmission Line                 Reconductor
s1718       West           Rebuild Holloway-Nottingham-Knox 138 kV line                                                      Supplemental     138         $170             ATSI           OH      Transmission Line                 Rebuild
                           Rebuild the 62 mile College Corner – Jay 138 kV line as single circuit 138 kV. New conductor will
s2014       West           be 795 ACSR.                                                                                      Supplemental     138         $114             AEP             IN     Transmission Line                 Rebuild
                           Rebuild two 138kV transmission lines between Hillsboro and Hutchings Tap as double circuit
                           construction. Construct the 19-mile AEP segment from Middleboro to Hutchings Tap as a single
s1599.1     West           circuit line using 954 ACSR conductor.                                                            Supplemental     138         $113             AEP            OH      Transmission Line                 Rebuild
                           Rebuild aging double circuit 138 kV tower line between Brunot Island and Crescent substations
s0320       West           with 138 kV tower line.                                                                           Supplemental     138         $105              DL            PA      Transmission Line                 Rebuild
                           Rebuild the South Bluefield – Bland – Wythe 69kV line to 138kV operation. Re-route the Wythe
                           termination point into the Progress Park station and terminated into a single 138kV circuit
s1070       West           breaker. Rebuil                                                                                   Supplemental     138         $100             AEP            VA      Transmission Line                 Rebuild

                           Rebuild approximately 65 miles of 138 kV double circuit tower line between Twin Branch and
s1336       West           Robison Park stations using 795 ACSR overhead conductor (251 MVA rating).                          Supplemental    138          $99             AEP             IN     Transmission Line                 Rebuild
s2189       West           Rebuild ~27.8 miles of the existing Baileysville – Hales Branch 138kV circuit.                     Supplemental    138          $99             AEP           VA; WV   Transmission Line                 Rebuild
                           Rebuild the roughly 43 miles from the Twin Branch to Riverside station with double circuit
S1622.1     West           138kV 1033.5 ACSR (296 MVA rating).                                                                Supplemental    138          $94             AEP           IN; MI   Transmission Line                 Rebuild

s2201.1     West           Rebuild 43.4 miles single circuit line between Hillsboro – South Lucasville with 1033 ACSR.        Supplemental    138          $93             AEP            OH      Transmission Line                 Rebuild
                           Rebuild ~32 miles of the Delaware – Sorenson & Sorenson – Deer Creek 138kV double circuit
S1495.1     West           line using 795ACSR (257 MVA rating)                                                                Supplemental    138          $83             AEP             IN     Transmission Line                 Rebuild



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                       Rebuild West Mount Vernon-South Kenton 138kV Line between West Mount Vernon and North
s1201     West         Waldo (477ACSR).                                                                                Supplemental    138     $70       AEP     OH   Transmission Line   Rebuild
                       Rebuild the ~38.5 mile Jay – Allen 138 kV line from Pennville to the juncture west of Allen
s2021.3   West         station. This line is a single circuit 138 kV line using 795 ACSR.
                       Rebuild 54.4 miles of line between Harrison and Poston 138kV stations with 1033 ACSR (296
                                                                                                                       Supplemental    138     $70       AEP     IN   Transmission Line   Rebuild       I
s1487     West         MVA rating) and steel poles                                                                     Supplemental    138     $62       AEP     OH   Transmission Line   Rebuild
                       Rebuild ~19.8 miles of the Deer Creek – Delaware double circuit 138 kV line from structure 16
s1855.1   West         to structure 127
                       Rebuild the ~19 miles of the Delaware – Madison double circuit 138kV line utilizing double
                                                                                                                       Supplemental    138     $56       AEP     IN   Transmission Line   Rebuild       I
S1498.1   West         circuit 556.5 ACSR 26/7 (SN:204 SE:284 WN: 258 WE: 319)                                         Supplemental    138     $54       AEP     IN   Transmission Line   Rebuild
                       Rebuild the Carrollton-Sunnyside 138kV circuit. Install double-circuit steel poles with 6-wired

s1425     West
                       1234 ACSS/TW Yukon conductor. Future circuit rating = 335 MVA SN / 392 MVA SE (non-
                       conductor limited).                                                                             Supplemental    138     $50       AEP     OH   Transmission Line   Rebuild       l
                       Rebuild 16.5 miles of the Deer Creek - Makahoy 138 kV line using 795 ACSR Drake conductor.
                       Rebuild 3.9 miles of the Deer Creek - Makahoy 138 kV line as double circuit using 795 ACSR
                       Drake conductor west from Deer Creek. Operate as double circuit to allow for bringing the
s2092.1   West         Grant line into Deer Creek eliminating the 3 terminal line.                                      Supplemental   138     $46       AEP     IN   Transmission Line   Rebuild
                       Rebuild existing double circuit South Bend - New Carlisle 138 kV line asset with 795 ACSR (257
s1611.5
s2186
          West
          West
                       MVA rating), approximately 18.74 miles.
                       Rebuild the existing 138kV line with 19.4 miles of new 1033 ACSR.
                                                                                                                        Supplemental
                                                                                                                        Supplemental
                                                                                                                                       138
                                                                                                                                       138
                                                                                                                                               $45
                                                                                                                                               $42
                                                                                                                                                         AEP
                                                                                                                                                         AEP
                                                                                                                                                                 IN
                                                                                                                                                                 OH
                                                                                                                                                                      Transmission Line
                                                                                                                                                                      Transmission Line
                                                                                                                                                                                          Rebuild
                                                                                                                                                                                          Rebuild
                                                                                                                                                                                                        I

                       Rebuild the 29-mile Gable-Carrollton 138 kV circuit. Remove doublecircuit lattice towers with 6-
                       wired 200 kcmil CU. Install double-circuit steel poles with 6-wired 1234 ACSS/TW Yukon
s1859     West         conductor.                                                                                       Supplemental   138     $42       AEP     OH   Transmission Line   Rebuild
                       Rebuild the 138kV line from Waverly to Adams utilizing 1033.5 ACSR (296 MVA). The rebuild
                       will begin at structure 22 west of Waverly where the line changes to the Waverly-Ross line and
                       continue 24.3 miles to Adams Substation. The remaining 3.1-mile section from structure 22 to
                       Waverly is newer double ckt construction and was not identified for renewal at this time.
S1621.1   West         Remove old line after rebuild complete.                                                          Supplemental   138     $42      AEP      OH   Transmission Line   Rebuild
s0289     Mid-Atlantic Replace the M-1339-1 (Bergen to Saddle Brook) circuit                                            Supplemental   138     $37      PSEG     NJ   Transmission Line   Replace       i
s0821     Mid-Atlantic Rebuild the Church - Steele 138 kV circuit ' 13701'                                              Supplemental   138     $36       DPL     MD   Transmission Line   Rebuild
                       Rebuild 11.6 mile section of the Reusens-Altavista 138 kV line asset from Reusens to New
                       London. Approximately 5.5 miles consists of double circuit 138 kV construction and
                       approximately 6 miles consists of single circuit 138 kV construction between Reusens and New
s2192.1   West         London.                                                                                          Supplemental   138     $36      AEP      VA   Transmission Line   Rebuild
s0687     Mid-Atlantic Reconductor the N-1366 (Doremus Place - Newark Sw. 138 kV circuit)                               Supplemental   138     $36      PSEG     NJ   Transmission Line   Reconductor
                       Rebuild 12 miles of the Allen – Robison Park double circuit 138 kV line using 795 ACSR Drake
s2058
s0294
          West         conductor.
          Mid-Atlantic Replace the L-1364 (Kuller Road to Fairlawn) circuit
                                                                                                                        Supplemental
                                                                                                                        Supplemental
                                                                                                                                       138
                                                                                                                                       138
                                                                                                                                               $35
                                                                                                                                               $35
                                                                                                                                                        AEP
                                                                                                                                                        PSEG
                                                                                                                                                                 IN
                                                                                                                                                                 NJ
                                                                                                                                                                      Transmission Line
                                                                                                                                                                      Transmission Line
                                                                                                                                                                                          Rebuild
                                                                                                                                                                                          Replace
                                                                                                                                                                                                        I
s2201.2
s0288
          West         Rebuild 8.5 miles double circuit between Millbrook Park – South Lucasville with 1033 ACSR.
          Mid-Atlantic Replace the Bergen to East Rutherford portion of the R-1344 circuit
                                                                                                                        Supplemental
                                                                                                                        Supplemental
                                                                                                                                       138
                                                                                                                                       138
                                                                                                                                               $34
                                                                                                                                               $33
                                                                                                                                                        AEP
                                                                                                                                                        PSEG
                                                                                                                                                                 OH
                                                                                                                                                                 NJ
                                                                                                                                                                      Transmission Line
                                                                                                                                                                      Transmission Line
                                                                                                                                                                                          Rebuild
                                                                                                                                                                                          Replace
                                                                                                                                                                                                        I
s2190
s0292
          West
                       Rebuild approximately 15 miles of the AEP-owned portion of the 138 kV line between Fieldale
                       and Dan River stations (AEP/Duke ownership changes at the VA/NC border).
          Mid-Atlantic Replace the M-1339-3 (Saddle Brook to Fairlawn) circuit
                                                                                                                        Supplemental
                                                                                                                        Supplemental
                                                                                                                                       138
                                                                                                                                       138
                                                                                                                                               $32
                                                                                                                                               $31
                                                                                                                                                        AEP
                                                                                                                                                        PSEG
                                                                                                                                                                 VA
                                                                                                                                                                 NJ
                                                                                                                                                                      Transmission Line
                                                                                                                                                                      Transmission Line
                                                                                                                                                                                          Rebuild
                                                                                                                                                                                          Replace
                                                                                                                                                                                                        l


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                       Hanna-Newton Falls 138 kV Line * Rebuild/reconductor ~20 miles of the existing Hanna-Newton
                       Falls 138 kV Line with 795 ACSR (existing conductor 477 ACSR and 605 ACSR) Hanna 138 kV
                       Substation - Terminal equipment to be replaced includes: * Circuit breaker B4, CCVT's,
                       disconnect switches, line relaying, and line metering Newton Falls 138 kV Substation - Terminal
                       equipment to be replaced includes: * Substation conductor, disconnect switches, and line
                       relaying * Existing line rating: 169 MVA SN / 208 MVA SE * New line rating: 275 MVA SN / 333
s1801     West         MVA SE                                                                                          Supplemental   138       $29       ATSI     OH   Transmission Line                 Rebuild
                       Rebuild ~16.6 miles of the Baileysville-Bolt line with 795 ACSR conductor to 138 kV standards
                       (energized at 46 kV, 86 MVA rating). Existing ROW will be used when possible but supplemental
                       ROW may be needed in order to build to 138kV standards. ADSS will be installed on the new
S1497.1   West         line                                                                                            Supplemental   138       $26       AEP      WV   Transmission Line                 Rebuild
                       North Delphos – Rockhill 138kV: Rebuild 15.4 miles of double circuit 138kV line utilizing 1033
S1563.2   West         ACSR 1033 ACSR conductor (296 MVA rating)                                                       Supplemental   138       $25       AEP      OH   Transmission Line                 Rebuild       I
s0978     Mid-Atlantic Rebuild the 1404 and 1405 138 kV double circuit from Deepwater – Upper Pittsgrove (17.47 mi) Supplemental      138       $24       AEC      NJ   Transmission Line (Double Circuit) Rebuild
                       Rebuild two independent lines, less than 1/2 mile apart between Seaman and Adams, one
                       138kV and one 69kV, as a double circuit for approximately 8.5 miles using 1033.5 ACSR.
                       Remove old lines after rebuild complete. There will also need to be a short single ckt tap for
S1621.2   West         Lawshe 69kV.                                                                                   Supplemental    138       $23      AEP       OH   Transmission Line                 Rebuild
s1700     West         Angola-Eber-Vulcan 138 kV Three-Terminal Line Elimination Project                              Supplemental    138       $21      ATSI      OH   Transmission Line                 Rebuild
s0293     Mid-Atlantic Replace the S-1345 Athenia to East Rutherford                                                  Supplemental    138       $20      PSEG      NJ   Transmission Line                 Replace       j
s1479     West         Rebuild Lemoyne-Midway 138 kV line with 477 kcmil ACSS (24.5 miles)                            Supplemental    138       $19      ATSI      OH   Transmission Line                 Rebuild
                       Rebuild 16.62 miles of the Hocking-Poston 138 kV line with 1033 ACSR (296 MVA rating) on
s1323     West         steel poles.
                       Rebuild the 6 mile double circuit Benton Harbor 138kV extension with double circuit 138kV
                                                                                                                      Supplemental    138       $17       AEP      OH   Transmission Line                 Rebuild       I
S1622.2   West         1033.5 ACSR.                                                                                   Supplemental    138       $17       AEP      MI   Transmission Line                 Rebuild
s0782     West         Rebuild the Allen Junction - East Fayette (AJ - Lyons) 138 kV line                             Supplemental    138       $17       ATSI     OH   Transmission Line                 Rebuild       j
                       Rebuild the 5 mile double circuit Hickory Creek 138kV Extension with double circuit 138kV
S1622.3   West         1033.5 ACSR.                                                                                   Supplemental    138       $17       AEP      MI   Transmission Line                 Rebuild
                       Rebuild 5.8 miles of feeder between Warren and Nickel 138kV substations with 76 new
                       structures, hardware, and conductor. Capacity of the line will increase from 198MVA to
s1485     West         300MVA                                                                                         Supplemental    138       $15      DEOK      OH   Transmission Line                 Rebuild
s0822     Mid-Atlantic Rebuild the Hares Corner - Red Lion 138 kV circuit ' 13812 '                                   Supplemental    138       $12       DPL      DE   Transmission Line                 Rebuild
s1702     West         Lemoyne-Woodville-Fostoria 138 kV Four-Terminal Line Elimination Project                       Supplemental    138       $11      ATSI      OH   Transmission Line                 Rebuild       I
                       Rebuild the underground cable sections of Wescosville - Central Allentown #2 (1.3 mi) and
s0960     Mid-Atlantic Allentown - Central Allentown #1 & #2 (0.8 mi) 138 kV lines                                    Supplemental    138       $11       PPL      PA   Transmission Line (Underground) Rebuild
s1698     West         Richland-Wauseon-Midway 138 kV Three-Terminal Line Elimination Project                         Supplemental    138       $11       ATSI     OH   Transmission Line               Rebuild

                       Rebuild Seward-Glory-Piney 115 kV line: rebuild ~66 miles of 115 kV line using double circuit
s1672     Mid-Atlantic 230 kV construction, install 1033 ACSR conductor (six-wired) energized at 115 kV.               Supplemental   115      $200     PENELEC    PA   Transmission Line                 Rebuild
s1725.1   Mid-Atlantic Loop the Hunterstown – Lincoln (963) 115 kV line ~9 miles into Orrtanna substation              Supplemental   115       $31       ME       PA   Transmission Line                 Rebuild       j
                       Rebuild two single circuit 115kV wood h-frame circuits (110617/110618) as one double circuit
s2209     Mid-Atlantic steel pole line                                                                                 Supplemental   115       $21       BGE      MD   Transmission Line                 Rebuild
                       Reconductor the PPL portion (8.5 miles) of the Face Rock - Five Forks 115 kV tie-line as a 3-

s1154
s1391     South
                       conductor line with a modern high capacity conductor. Evaluate all lattice steel towers for
          Mid-Atlantic condition and determine structure member repair and remediation
                       Rebuild Hickory Grove (MEC), 115kV Line #31 (to be #1022), 8.25 miles
                                                                                                                       Supplemental
                                                                                                                       Supplemental
                                                                                                                                      115
                                                                                                                                      115
                                                                                                                                                $20
                                                                                                                                                $15
                                                                                                                                                          PPL
                                                                                                                                                        Dominion
                                                                                                                                                                   PA
                                                                                                                                                                   VA
                                                                                                                                                                        Transmission Line
                                                                                                                                                                        Transmission Line
                                                                                                                                                                                                          Reconductor
                                                                                                                                                                                                          Rebuild
                                                                                                                                                                                                                        l
s1399     South        Rebuild Mt. Jackson (SVEC), 115kV Line #128, 0.05 mile                                          Supplemental   115       $13     Dominion   VA   Transmission Line                 Rebuild       j
s0625     South        Redhouse Tap (Sugar Hill and Hancock) (SEC), 115 kV line 84, 5.2 miles                          Supplemental   115       $12     Dominion   VA   Transmission Line                 Rebuild

                                                                                                                                      Total    $3,488




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                                        Exhibit B




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         Atlantic City Electric Compan y (cont.)

          R uired Transmission Enhancements Annual Revenue R uirement Res nsible Custome s
                      Install 15 MVAR capacitor at                                    AEC (100%)
            b0281.2
                      Shi bottom 69 kV substation
                      lnstall 8 MVAR capacitors on                                    AEC (100%)
            b0281.3
                        the AE distribution s stem
                            Reconductor Landis -                                       AEC (100%)
             b0142
                              Minotola 138 kV
                           Reconductor Beckett -                                       AEC (100%)
             b0143
                               Paulsboro 69 kV
                                                                           Load-Ratio Share Allocation:
                                                                            AEC (1.66%) I AEP (14.16%)
                                                                            / APS (5.73%) I ATSI (7.88%)
                                                                                I BGE (4.22%) I ComEd
                          Install a new 500/230kV                             (13.31%)   / Dayton (2.11%) /
                       substation in AEC area. The                          DEOK (3.29%) I DL (1.75%) /
                        high side will be tapped on                             DPL (2.50%) / Dominion
                         the Salem - East Windsor                              (12.86%) I EKPC (1.87%) I
                         S00kV circuit and the low                           JCPL (3.74%) / ME (1.90%) I
                          side will be tapped on the                         NEPTUNE* (0.44%) I PECO
                         Churchtown - Cumberland                            (5.34%) I PENELEC (1.89%) /
                                230kV circuit.                             PEPCO (3.99%) I PPL (4.84%)
                                                                             I PSEG (6.26%) I RE (0.26%)
                                                                                   DFAX Allocation:
                                                                                  AEC (63.29%) I JCPL
                                                                                          36.71%
                                                                                  AEC (65.23%) I JCPL
                           Orchard -Cumber land-                             (25.87%)   I Neptune* (2.55%)
             b0210.l
                         Install second 230 kV line                                 I PSEG 6.35%)tt
                           Install a new 500/230kV
                         substation in AEC area, the
                         high side will be tapped on                              AEC (65.23%) I JCPL
                          the Salem - East Windsor                           (25.87%) / Neptune* (2.55%) /
             b0210.2
                          500kV circuit and the low                                  PSEG (6.35%)t t
                           side will be tapped on the
                         Churchtown - Cumberland
                                 230kV circuit.
           * Neptune Regional    Transmis  sion System, LLC
           **East Coast Power, L.L.C
           tCost allocations associated with Regional Facilities and Necessary Lower Voltage Facilities
                  associated with the project
           ttCost allocations associated with below 500 kV elements of the project

          The Annual Revenue Requirement associated with the Transmission Enhancement Charges are set
          forth and determined in Appendix A to Attachment H-1.




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         Atlantic City Electric Company (cont.)

         RI uired Transmission Enhancements Annual Revenue R, uirement &           nsible Custome s
                      Install 15 MVAR capacitor at
           b028 1.2 Shi bottom 69 kV substation                                        AEC (IOO%)
                      Install 8 MVAR capacitors on                                     AEC (100%)
           b0281.3
                        the AE distribution s stem
                            Reconductor Landis -                                       AEC (100%)
             b0142
                              Minotola 138 kV
                           Reconductor Beckett -                                       AEC (100%)
             b0143
                              Paulsboro 69 kV
                                                                           Load-Ratio Share Allocation:
                                                                            AEC (1.61%) / AEP (14.10%)
                                                                            I APS (5.79%) I ATSI (7.95%)
                                                                                I BGE (4.11%) / ComEd
                          Install a new 500/230kV                             (13.24%) I Dayton (2.07%) /
                       substation in AEC area. The                          DEOK (3.22%) I DL (1.73%) I
                        high side will be tapped on                             DPL (2.48%) / Dominion
                         the Salem - East Windsor                              (13.17%)   I EKPC (2.13%) I
             b0210
                         S00kV circuit and the low                           JCPL (3.71%) / ME (1.88%) I
                         side will be tapped on the                          NEPTUNE* (0.42%) I PECO
                         Churchtown - Cumberland                            (5.34%) I PENELEC (1.86%) I
                                230kV circuit.                              PEPCO (3.98%) I PPL (4.76%)
                                                                             / PSEG (6.19%) / RE (0.26%)
                                                                                   DFAX Allocation:
                                                                                       AEC 100%
                                                                                  AEC (65.23%) I JCPL
                          Orchard - Cumberlan d-                             (25.87%) /Neptune* (2.55%)
            b0210.l
                         Install second 230 kV line                                 / PSEG 6.35% t
                           Install a new 500/230kV
                        substation in AEC area, the
                         high side will be tapped on                              AEC (65.23%) I JCPL
                          the Salem - East Windsor                           (25.87%) / Neptune* (2.55%) I
            b0210.2       500kV circuit and the low                                  PSEG (6.35%)tt
                          side will be tapped on the
                         Churchtown - Cumberland
                                 230kV circuit.
          * Neptune Regional Transmission System, LLC
          **East Coast Power, L.L.C.
          tCost allocations associated with Regional Facilities and Necessary Lower Voltage Facilities
                  associated with the project
          t tCost allocations associated with below 500 kV elements of the project

          The Annual Revenue Requirement associated with the Transmission Enhancement Charges are set
          forth and determined in Appendix A to Attachment H-1.




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         Atlantic City Electric Company (cont.)

          R, uired Transmission Enhancements   Annual Revenue R, uirement Res nsible Customer(s
                      Install 15 MVAR capacitor at
           b0281 ·2   Shi bottom 69 kV substation                                 AEC (lOO%)
                      Install 8 MVAR capacitors on                                AEC (100%)
           b0281.3      the AE distribution s stem
                          Reconductor Landis -                                     AEC (100%)
            b0142
                             Minotola 138 kV
                          Reconductor Beckett -                                    AEC (100%)
            b0143
                              Paulsboro 69 kV
                                                                          Load-Ratio Share Allocation:
                                                                           AEC (1.72%) / AEP (14.18%)
                                                                          I APS (6.05%) I ATSI (7.92%)
                                                                               I BGE (4.23%) I ComEd
                          Install a new 500/230kV                           (13.20%) I Dayton (2.05%) /
                       substation in AEC area. The                        DEOK (3.18%) / DL (1.68%) /
                        high side will be tapped on                           DPL (2.58%) / Dominion
                         the Salem - East Windsor                            (12.56%) I EKPC (1.94%) I
            b0210                                                          JCPL (3.82%) / ME (1.88%) /
                         500kV circuit and the low
                         side will be tapped on the                        NEPTUNE* (0.42%) I OVEC
                        Churchtown - Cumberland                               (0.08%) I PECO (5.31%) I
                                230kV circuit.                              PENELEC (1.90%) / PEPCO
                                                                          (3.90%) I PPL (5.00%) / PSEG
                                                                                  6.15% I RE 0.25%
                                                                                  DFAX Allocation:
                                                                                      AEC 100%
                                                                                 AEC (65.23%) I JCPL
                         Orchard - Cumberland -                            (25.87%) I Neptune* (2.55%)
            b0210.l
                        Install second 230 kV line                                 / PSEG 6.35%)tt
                          Install a new 500/230kV
                        substation in AEC area, the
                        high side will be tapped on                             AEC (65.23%) I JCPL
                         the Salem - East Windsor                           (25.87%) I Neptune* (2.55%) /
            b0210.2
                         500kV circuit and the low                                PSEG (6.35%)tt
                         side will be tapped on the
                        Churchtown - Cumberland
                                230kV circuit.
          * Neptune Regional Transmission System, LLC
          **East Coast Power, L.L.C.
          tCost allocations associated with Regional Facilities and Necessary Lower Voltage Facilities
                 associated with the project
          ttCost allocations associated with below 500 kV elements of the project

          The Annual Revenue Requirement associated with the Transmission Enhancement Charges are
          set forth and determined in Appendix A to Attachment H-1.




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         Atlantic City Electric Company (cont.)

         Required Transmission Enhancements        Annual Revenue R~uirement     &~espons1.ble Customes
                                                                                                     r( )
                                                                               AEC (65.23%) I JCPL
                         Reconductor Union -                               (25.87%) I Neptune* (2.55%) I
            b0211
                         Corson 138kV circuit                                     PSEG (6.35%)
                                                                               AEC (65.23%) I JCPL
                         Substation upgrades at                            (25.87%) I Neptune* (2.55%) I
             0212
                        Union and Corson 138kV                                    PSEG (6.35%)

                       Install 50 MVAR capacitor                                   AEC (100%)
            b0214
                       at Cardiff230 kV substation

                         Monroe Upgrade New                                        AEC (100%)
            b0431
                          Freedom strand bus

                        Move the Monroe 230/69                                      AEC (100%)
            b0576
                           kV to Mickleton

                         Upgrade a strand bus at                                    AEC (100%)
            b0744
                             Mill 138 kV

                       Instal I 35 MVAR capacitor                                   AEC (100%)
            b0871
                          at Motts Farm 69 kV
                       Modify the existing EMS
                        load shedding scheme at
                       Cedar to additionally sense                                  AEC (100%)
            bl072
                         the loss of both Cedar
                        230/69 kV transformers
                       and shed load accordingl}'
                          Build a new Lincoln-                                      AEC (100%)
            bll27
                          Minitola 138 kV line

                       Upgrade the Corson sub T2                                    AEC (100%)
            bl 195.1            terminal

                       Upgrade the Corson sub Tl                                    AEC (100%)
            bll95.2             terminal




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         Baltimore Gas and Electric Company (cont.)

         Required Transmission Enhancements Annual Revenue Reauirement Resoonsible Customer<s)
                     Replace       the  existing
                     Northeast 230/115 kV
          b1253      transformer #3 with 500
                     MVA                                                               BGE(100 %)
                     Replace the Northeast 230
          b1253.l kV breaker '2317/315'                                                BGE (100%)
                     Revise reclosing on Windy
          bl253.2 Edge 115 kV breaker
                      '110515'                                                         BGE(100 %)
                     Revise reclosing on Windy
          bl253.3 Edge 115 kV breaker
                      '110516'                                                         BGE(100 %)
                      Revise reclosing on Windy
          bl253.4 Edge 115 kV breaker
                      '110517'                                                         BGE(100 %)
                                                                              APS (4.07%) /BGE (53.19%)
                                                                                I ComEd (3.71 %) I Dayton
                      Build a new 500/230 kV                                  (0.50%)   I Dominion (16.44%)
          b1254
                       substation (Emory Grove)                               / PENELEC (0.59%) / PEPCO
                                                                                          (21.50%)
                   Bundle the Emory- North
           bl254.l                                                                    BGE(100 %)
                   West 230 kV circuits
                   Rebuild existing Erdman
                   115 kV substation to a dual
           b1267   ring-bus configuration to
                   enable termination of new
                   circuits                                                           BGE(100 %)
                   Construct 115 kV double
                   circuit underground line
           bl267.l
                   from existing Coldspring
                   to Erdman substation                                               BGE (100%)
                   Replace Mays Chapel 115
           b1267.2 kV breaker '110515A '                                               BGE (100%)
                   Replace Mays Chapel 115
           bl267.3                                                                     BGE(100 %)
                   kV breaker '110579C '




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         Baltimore Gas and Electric Comp any (cont.)
                                                                            Responsible Customer(s)
         Required Transmission Enhancements Annual Revenue Requirement
                                                                            AEC (9.00%) I DPL (16.85%) /
                                                                            JCPL (9.64%) / ME (1.48%) /
                        Install a second                                      Neptune* (0.95%) / PECO
            b0497     Conastone - Graceton                                    (30.79%) I PPL (16.41%) /
                         230 kV circuit                                    ECP** (0.29%) I PSEG (14.07%)
                                                                                    I RE (0.52%)


                      Replace Conastone 230                                         BGE (100%)
           b0497.1        kV breaker #4




                      Replace Conastone 230                                         BGE (100%)
           b0497.2        kV breaker #7


                                                                            AEC (6.27%) I DPL (8.65 %) I
                       Replace wavetrap and                                JCPL (14.54%) / ME (10.59%) /
                          raise operating                                      Neptune* (1.37%) I PECO
            b0500.2       temperature on                                       (15.66%) I PPL (21.02%) /
                      Conastone - Otter Creek                              ECP** (0.57%) I PSEG (20.56%)
                       230 kV line to 165 deg                                         I RE (0.77%)
                                                                            AEC (1.72%) I AEP (14.18%) /
                                                                            APS (6.05%) I ATSI (7.92%) I
          i,-,
   y                   MAPP Project Install
                                                                           BGE (4.23%) I ComEd (13.20%)
                                                                                / Dayton (2.05%) I DEOK
                      new Hallowing Point -                                   (3.18%) I DL (1.68%) I DPL
                       Calvert Cliffs 500 kV                                (2.58%) I Dominion (12.56%) /
           b0512.33    circuit and associated                               EKPC (1.94%) I JCPL (3.82%) /
                         substation work at                                     ME (1.88%) /NEPT UNE*
                      Calvert Cliffs substation                            (0.42%) I OVEC (0.08%) I PECO
                                                                             (5.31 %) I PENELEC (1.90%) /
                                                                            PEPC O (3.90%) I PPL (5.00%) /
                                                                              PSEG (6.15%) I RE (0.25%)
           * Neptune Regional Transmission System, LLC




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                                      SCHED ULE12 -APPE NDIX

         (3)   Delmarva Power & Light Company
                                                                                    Customer(s)
          ~ecmired Transmission Enhancements Annual Revenue Requirement Responsible
                      Build new Red Lion -
           b0144.1 Milford - Indian River 230                                       DPL(10 0%)
                       kV circuit
                       Indian River Sub - 230 kV                                    DPL(10 0%)
           b0144.2
                       Terminal Position
                       Red Lion Sub - 230 kV                                        DPL(10 0%)
           b0144.3
                       Terminal Position
                       Milford Sub- (2) 230 kV                                      DPL (100%)
           b0144.4
                       Terminal Positions
                       Indian River - 138 kV
            b0144.5 Transmission Line to AT-                                        DPL(10 0%)
                       20
                       Indian River - 138 & 69
            b0144.6 kV Transmission Ckts.                                           DPL (100%)
                       Undergrounding
                       Indian River - (2) 230 kV                                    DPL (100%)
            b0144.7
                        bus ties
                       Re-rate Glasgow - Mt.
                        Pleasant 138 kV and North                                    DPL(l0 0%)
              b0148
                        Seaford - South Harrington
                        138kV
                        Complete structure work to
                        increase rating of                                           DPL(10 0%)
              b0149
                        Cheswold - Jones REA
                        138 kV
                        Replace disconnect switch
              b0221 on Edgewood-N. Salisbury                                         DPL (100%)
                        69kV
                        Keeny Sub - Replace                                          DPL (100%)
             b0241.1 overstressed breakers
                        Edgemo or Sub - Replace                                      DPL (100%)
             b0241.2
                        overstressed breakers
                        Red Lion Sub - Substation
                         reconfigure to provide for                             DPL (84.5%) / PECO
             b0241.3                                                                   (15.5%)
                         second Red Lion 500/230
                         kV transformer
                         Replace 1200 Amp disconnect
               b0261 switch on the Red Lion -                                         DPL(100%)
                         Revbold 138 kV circuit




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                                                                              Edison Company Zone
         (5) Mid-Atlantic Interstate Transmission, LLC for the Metropolitan
                                                                         Res nsible Customer s
         Re uired Transmission Enhancements Annual Revenue Re uirement
                    Reconductor the Collins -
           bl3      Cly-N ewber ry 115 kV
               66
                    (975) line 5 miles with 795
                     ACSR                                                      ME 100%
                     Reconductor 2.4 miles of
                     existing 556 and 795
                     ACSR from Harley
           b1727
                     Davidson to Pleasureville
                     115 kV with 795 ACSS to
                     raise the ratin s                                         ME 100%
                                                                    Load-Ratio Share Allocation:
                                                                    AEC (1.66%) I AEP (14.16%) /
                                                                    APS (5.73%) I ATSI (7.88%) /
                                                                         BGE (4.22%) / CornEd
                                                                      (13.31 %) / Dayton (2.11 %) /
                                                                    DEOK (3.29%) I DL (1.75%) /
                                                                        DPL (2.50%) / Dominion
                      Install a 500 MVAR SVC                           (12.86%) I EK.PC (1.87%) /
            b 1800    at the existing Hunterstown                    JCPL (3.74%) / ME (1.90%) /
                      500kV substation                               NEPTUNE* (0.44%) / PECO
                                                                    (5.34%) I PENELEC (1.89%) /
                                                                    PEPCO (3.99%) I PPL (4.84%)
                                                                     / PSEG 6.26%) / RE 0.26%)
                                                                            DFAX Allocation:
                                                                    APS    (0.01% ) / DPL (55.56%) /
                                                                     ME 44.42% I PSEG 0.0 I%
                                                                     AEC (6.47%) I AEP (2.58%) I
                                                                     APS (6.88%) I BGE (6.57%) I
                                                                        DPL (12.39%) / Dominion
                       Build a 250 MVAR SVC at                       (14.89%) I JCPL (8.14%) I ME
                       Altoona 230 kV                                 (6.21 %) / Neptune* (0.82%) /
                                                                     PECO (21.56%) I PPL (4.89%)
                                                                     / PSEG (8.18%) / RE (0.33%) /
                                                                              ECP** (0.09%




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                                        SCHE DULE 12-AP PEND IX

         (7) Mid-Atlantic Interstate Transmission, LLC for the Pennsylvania
                                                                                    Electric Company
             Zone

                                                  Annual Revenue   uirement         Ri    nsible Custome s
         R uired Transmission Enhancements
                                                                          AEC (1.66%) I AEP (14.16%) /
                                                                           APS (5.73%) I ATSI (7.88%) I
                       Build 500 kV substation                                    BGE (4.22%) / ComEd
                       in PENELEC - Tap the                                   (13.31 %) / Dayton (2.11 %) /
                       Keystone - Juniata and                               DEOK (3.29%) I DL (1.75%) /
                       Conemaugh - Juniata 500                                   DPL (2.50%) I Dominion
            b0284. l                                                           (12.86%) I EKPC (1.87%) I
                       kV, connect the circuits
                       with a breaker and half                              JCPL (3.74%) / ME (1.90%) /
                       scheme, and install new                               NEPTUNE* (0.44%) I PECO
                       400 MVAR capacitor                                   (5.34%) I PENELEC (1.89%) /
                                                                            PEPCO (3.99%) / PPL (4.84%)
                                                                             I PSEG 6.26% I RE 0.26%
                                                                            AEC (1.66%) / AEP (14.16%) /
                                                                            APS (5.73%) I ATSI (7.88%) I
                                                                                  BGE (4.22%) / ComEd
                                                                               (13.31%) I Dayton (2.11%) /
                    Replace wave trap and                                   DEOK (3.29%) I DL (1.75%) /
                    upgrade a bus section at                                     DPL (2.50%) / Dominion
            b0284.3 Keystone 500 kV - on the                                    (12.86%) I EKPC (1.87%) I
                    Keystone - Airydale 500                                   JCPL (3.74%) / ME (1.90%) /
                    kV                                                        NEPTUNE* (0.44%) I PECO
                                                                             (5.34%) I PENELEC (1.89%) /
                                                                            PEPCO (3.99%) I PPL (4.84%)
                                                                              I PSEG 6.26% I RE (0.26%
          * Neptun e Regional Transmission System, LLC
          ** East Coast Power, L.L.C.
          ***Hudson Transmission Partners, LLC




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                                                                                                         y Zone
               Mid-Atlantic Interstate Transmission, LLC for the Pennsylvania Electric Compan
               (cont.)

   Reciuired Transmission Enhancements                  Annual Revenue Requirement      Responsible Customer(s)
                Reconductor the New
     b1607      Baltimore - Bedford
                North 115 kV                                                             PENELE C (100%)
                 Construct a new 345/115
                 kV substation and loop
     b1608                                                                       APS (8.61%) / PECO (1.72%) I
                 the Mansfield - Everts
                 115 kV                                                              PENEL EC (89.67%)


 ~~
  .......
      bl609
               --Construct Four Mile
                 Junction 230/115 kV
                 substation. Loop the Erie
                 South - Erie East 230 kV
                 line, Buffalo
                 Road - Corry East and
                  Buffalo Road - Erie                                                 APS (4.86%) I PENEL EC
                  South 115 kV lines                                                         (95.14%)

                            Install a new 230 kV
                   bl610
                            breaker at Y eagertown                                        PENELE C ( I 00%)
                            Install a 345 kV breaker
                   b1713    at Erie West and relocate
                            Ashtabula 345 kV line                                         PENEL EC (100%)
                            Install a 75 MVAR cap
                   b1769    bank on the Four Mile
                            230 kV bus                                                    PENELEC (100%)
                            Install a 50 MVAR cap
                   bl770    bank on the Buffalo Road
                             115 kV bus                                                     PENELE C (100%)
                                                                                     AEC (6.47%) / AEP (2.58%) /

     ........... ,,,,,,
                                                                                     APS (6.88%) I BGE (6.57%) I I

      ......        b1802
                            Build a 100 MVAR Fast
                            Switched Shunt and 200
                                                                                        DPL (12.39%) / Dominio n
                                                                                     (14.89%) I JCPL (8.14%) / ME
                            MVAR Switched Shunt                                      (6.21%) /NEPTU NE* (0.82%)
                            at Mansfield 345 kV                                          I PECO (21.56%) I PPL
                                                                                      (4.89%) I PSEG (8.18%) / RE
                                                                                        (0.33%) I ECP** (0.09%)
                * Neptune Regional Transmission System, LLC
                **East Coast Power, L.L.C.




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          PPL Electric Utilities Corporation (cont.)

                                                   Annual Revenue Reauirement       Resoonsible Customer(s)
          Reauired Transmission Enhancements
                                                                           Load-Ratio Share Allocation:
                                                                           AEC (1.66%) I AEP (14.16%) /
                                                                            APS (5.73%) I ATSI (7.88%) I
                                                                           BGE (4.22%) I ComE d (13.31%)
                                                                               /Dayt on (2.11%) / DEOK
                                                                              (3.29%) I DL (1.75%) I DPL
                                                                            (2.50%) I Dominion (12.86%) I
                                                                           EKPC (1.87%) / JCPL (3.74%) /
                         Replace two wave traps at                             ME (1.90%) I NEPTUNE*
                          Juniata 500 kV - on the                              (0.44%) I PECO (5.34%) I
               b0284.2
                         two Junia ta-Ai rydal e 500                          PENELEC (1.89%) I PEPCO
                                     kV                                      (3.99%) I PPL (4.84%) / PSEG
                                                                                  (6.26%) I RE (0.26%)
                                                                                   DFAX Allocation:
                                                                            AEC (5.35%) I BGE (19.46%) I
                                                                             DL (0.25%) / JCPL (19.57%) /
                                                                                ME (6.75%) /NEP TUNE
                                                                               (2.17%) / PECO (20.81%) /
                                                                              PSEG (24.65%) / RE (0.99%)
                           Changes at Juniata 500 kV
               b0284.4              substation                                        PPL (100%)
                            Replace wavetrap at the
                b0293 .l Martins Creek 230 kV bus                                     PPL( l00% )
                               Raise the operating
                           temperature of the 2-1590
                b0293.2      ACSR to 140C for the
                            Martins Creek - Portland
                                  230 kV circuit                                      PPL( l00% )
                            Spare Juniata 500/230 kV
                 b0440              transformer                                        PPL (100%)
                             Build a new substation
                               with two 150 MVA
                              transformers between                               JCPL (4.55%) /Nept une*

     '......     b0468      Humm
                                    Dauphin and
                                    elstown 230/69 kV
                                   substations by
                                                                                 (0.37%) I PECO (1.79%) /
                                                                                 PENELEC (0.33%) / PPL
                                                                                (86.63%) I ECP** (0.18%) I
                                                                                PSEG (5.93%) I RE (0.22%)
                                 sectionalizing the
                             Middletown Junction -
                            New Lebanon 230 kV line
               * Neptu ne Regional Transmission System, LLC
               ** East Coast Power, L.L.C.
               *** Hudson Transmission Partners, LLC




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         PPL Electric Utilities Corporation (cont.)

                                              Annual Revenue Requirement         Responsible Customer(s)
         Required Transmission Enhancements
                     Rebuild Lycoming-Lo ck
                     Have n#l and
           b1533     Lycoming-Lo ck Haven #2
                     69kV lines                                                     PPL (100%)
                     Rebuild 1.4 miles of the
           bl534 Sunbury-Milton 69kV                                                 PPL (100%)
                                                                           AEC   (1.66%  ) I AEP (14.16%) /
                                                                           APS (5.73%) I ATSI (7.88%) /
                                                                                BGE (4.22%) I ComEd
                                                                             (13.31 %) / Dayton (2.11 %) /
            ~         Re-configure the                                     DEOK (3.29%) / DL (1.75%) /
                      Breinigsville 500 kV                                     DPL (2.50%) / Dominion
            bl601     substation with addition                                (12.86%) / EKPC (1.87%) /
                      two 500 kV circuit                                    JCPL (3.74% ) I ME (1.90%) /
                      breakers                                              NEPTUNE* (0.44%) / PECO
                                                                           (5.34%) I PENELEC (1.89%) /
                                                                           PEPCO (3.99%) I PPL (4.84%)
                                                                           I PSEG (6.26%) I RE (0.26 %)t
                      Re-configure the
                      Elimsport 230 kV
            bl602     substation to breaker and
                      half scheme and install 80
                      MVAR capacitor                                                 PPL (100%)

                      Install a 90 MVAR cap
            bl740     bank on the Frackville
                      230 kV bus #207973                                             PPL (100%)

                      Install a 3rd West Shore
            bl756
                      230/69 kV transformer                                          PPL( l00% )
                     Install a 230 kV motor-
                     operated air-break switch
             bl757 on the Clinton - Elimsport
                                                                                      PPL( l00% )
                      230 kV line
           * Neptune Regional Transmission System, LLC
           **East Coast Power, L.L.C.
           *** Hudson Transmission Partners, LLC




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         PPL Electric Utilities Corporation (cont.)

         & uired Transmission Enhancements         Annual Revenue & uirement      Res nsible Customer(s
                      Replace the CTs and
                      switch in SAKR Bay 3 to
          b           increase the rating of the
           2005
                      Millwood-South Akron
                      230 kV Line and of the
                      ratin in Ba 3                                                    PPL 100%
                                                                                  AEC (1.10%) I ECP**
                                                                           (0.37%) I HTP (0.37%) / JCPL
                      Install North Lancaster                                   (9.61%) I ME (19.42%) /
          b2006       500/230 kV substation                                    Neptune* (0.75%) I PECO
                      (below 500 kV portion)                                    (6.01 %) I PPL (50.57%) /
                                                                            PSEG 11.35% / RE 0.45%)
                                                                                    Load-Ratio Share
                                                                                       Allocation:
                                                                            AEC (1.72%) / AEP (14.18%)
                                                                           I APS (6.05%) I ATSI (7.92%)
                                                                                 I BOE (4.23%) I ComEd
                                                                              (13.20%) I Dayton (2.05%) I
                                                                           DEOK (3.18%) / DL (1.68%) /
                      Install North Lancaster                                   DPL (2.58%) / Dominion
           b2006.1    500/230 kV substation                                    (12.56%) I EKPC (1.94%) I
                      (500 kV portion)                                       JCPL (3.82%) / ME (1.88%) /
                                                                            NEPTUNE* (0.42%) I OVEC
                                                                                (0.08%) I PECO (5.31 %) /
                                                                             PENELEC (1.90%) / PEPCO
                                                                            (3.90%) I PPL (5.00%) / PSEG
                                                                                    6.15% I RE (0.25%
                                                                                    DFAX Allocation:
                                                                                        PPL 100%)
                    Construct a new 230/69
                    kV North Lancaster
                    substation. The sub will
           b2006.2
                    be supplied from the
                    SAKR-BERK 230kV
                    Line                                                             PPL 100%
                    Construct new 69/138 kV
                    transmission from North
           b2006.3 Lancaster 230/69 kV sub
                    to Brecknock and
                    Hone brook areas                                                 PPL 100%
          * Neptune Regional Transmission System, LLC
          ** East Coast Power, L.L.C.
          *** Hudson Transmission Partners, LLC




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         Public Service Electric and Gas Company (cont.)

                                                 Annual Revenue Ri uirernent         R!    nsible Custom s
         R! uired Transmission Enhancements
                                                                            AEC (0.23%) I BOE (0.97%) I
                      Expa nd existing Berge n                                 ComE d (2.32%) / Dayton
                                                                               (0.13%) I JCPL (1.17%) /
                      230 kV substation and
                                                                                 Neptu ne (0.07%) I HTP
                      reconfigure the Athen ia
                      230 kV substation to                                 (16.0 5%) I PENE LEC (2.97 %) I
                      breaker and a half schem e                           PEPC O (1 .04% ) I ECP (2.11 %) /
                                                                             PSEO (70.16%) I RE (2.78 %)
                                                                             AEC (0.23 %) I BOE (0.97%) /
                                                                               ComE d (2.32%) I Dayto n
                      Build second 230 kV                                       (0.13%) / JCPL (1.17%) /
                                                                                  Neptu ne (0.07 %) I HTP
           b 1304.3    underground cable from
                       Berge n to Athen ia                                  (16.05%) I PENE LEC (2.97%) /
                                                                           PEPC O (1.04%) / ECP (2.11 %) /
                                                                              PSEO (70.16%) I RE (2.78%)
                                                                              AEC (0.23%) I BOE (0.97%) /
                                                                                ComE d (2.32%) / Dayto n
                       Build secon d 230   kV                                    (0.13%) I JCPL (1.17%) /
                       undergroun  d cable  from                                  Neptu ne (0.07%) / HTP
            b1304.4    Huds on to South                                      (16.05%) I PENE LEC (2.97%) /
                        Waterfront                                          PEPC O (1.04%) / ECP (2.11 %) /
                                                                              PSEO 70.16 % I RE 2.78%




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         Public Service Electric and Gas Company (cont.)

         & uired Transmission Enhancements     Annual Revenue R uirement        &    nsible Custome s
                       Replace New Freedom
           bl 156.16 230 kV breaker '50H' with
                       63 kA                                                     PSEG 100%
                       Replace New Freedom
           bl156.  l 7 230 kV breaker '41H' with
                       63kA                                                      PSEG (100%
                       Replace New Freedom
           bl 156.18 230 kV breaker '51H' with
                       63 kA                                                     PSEG 100%
           bl     .1   Rebuild Camden 230 kV
              156 9 to 80 kA                                                     PSEG 100%)
            bl 156_20 Rebuild Burlington 230
                      kV to 80 kA                                                PSEG 100%
                      Reconductor the PSEG
                      portion of the Burlington -
            bl 197.1
                      Croydon circuit with 1590
                      ACSS                                                        PSEG 100%
                      Re-configure the
                      Lawrence 230 kV
                      substation to breaker and                            HTP (0.14%) I ECP (0.22%) /
                      half                                                 PSEG 95.83% I RE 3.81%
                      Build a new 69 kV
                      substation (Ridge Road)
                      and build new 69 kV
                      circuits from Montgomery
                      - Ridge Road - Penns
                      Neck/Dow Jones                                    PSEG 96.18% / RE 3.82%
                                                                        AEC (0.23%) I BGE (0.97%) /
                       Convert the existing                               ComEd (2.32%) / Dayton
                       'Dl304' and '01307' 138                            (0.13%) I JCPL (1.17%) /
                       kV circuits between                                 Neptune (0.07%) I HTP
            b1304.1
                       Roseland - Kearny -                             (16.05%) I PENELEC (2.97%) /
                       Hudson to 230 kV                                PEPCO (1.04%) / ECP (2.11 %) /
                       operation                                        PSEG 70.16% / RE 2.78%)




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         Publ ic Service Electric and Gas Com pany (cont.)

                                               Annual Revenue R uirement      R     nsible Custome s
         R uired Transmission Enhancements
                      Replace Bayonne 138 kV
          b2039       break er' l IP'                                          PSEG 100%
                      Reconductor the
                      Mickleton - Gloucester
                      230 kV parallel circuits
                      with double bundle                                   PSEG (61.11%) / PECO
                                                                            36.45% I RE 2.44%
                      conductor
                      Re-configure the
                      Brunswick 230 kV and 69
                      kV substations                                     PSEG 96.16% / RE 3.84%)
                      Construct Jacks on Rd. 69
                      kV substation and loop the
                      Ceda r Grov e - Hinchmans
                       Ave into Jackson Rd. and
           b2151       construct Hawthorne 69
                       kV substation and build 69
                       kV circuit from
                       Hinch mans Ave -
                                                                                PSEG 100%
                       Haw thorn e-Fai r Lawn
                       Reconfigure the Linden,
                       Bayway, North Ave, and
                       Passaic Valley S.C. 138
           b2159       kV substations. Construct
                       and loop new 138 kV
                        circuit to new airport                           PSEG (72.61 %) / HTP (24.49%)
                                                                                 / RE 2.90%
                        station
          *Neptune Regional Transmission System, LLC




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                                                                           and West Penn Power
         Monongahela Power Company, The Potomac Edison Company,
         Company, all doing business as Allegheny Power (cont.)
                                                                            nsible Customer(s
         R uired Transmission Enhancements Annual Revenue RI uirement Res
                                                                       AEC (1.02%) I APS (81.96%) I
                      Convert Ringgold -                               DPL (0.85%) / JCPL (1.75%) /
                      Catoctin 138 kV to 230                              ME (6.37%) / NEPTUNE*
           b0
              6753
                      kV                                               (0.15%   ) I PECO (3.09%) / PPL
                                                                        (2.24%) I PSEG (2.42%) / RE
                                                                            0.09% I ECP** 0.06%
                                                                       AEC (1.02%) I APS (81.96%) I
                      Convert Catoctin -                               DPL (0.85%) / JCPL (1.75%) /
                                                                          ME (6.37%) / NEPTUNE*
           b0675 .4 Carroll 138 kV to 230
                      kV                                               (0.15%) I PECO (3.09%) I PPL
                                                                         (2.24%) I PSEG (2.42%) / RE
                                                                            0.09% I ECP** 0.06%
                                                                       AEC (1.02%) I APS (81.96%) I
                                                                       DPL (0.85%) / JCPL (1.75%) /
                      Convert portion of                               ME (6.37%) / NEPTUNE*
                      Ringgold Substation                               (0.15%) I PECO (3.09%) I PPL
                       from 138 kV to 230 kV
                                                                        (2.24% ) I PSEG (2.42%) / RE
                                                                        (0.09%) I ECP** (0.06%)

                                                                          AEC (1.02%) I APS (81.96%) I
                                                                          DPL (0.85%) / JCPL (1.75%) /
                      Convert Catoctin                                    ME (6.37%) / NEPTUNE*
                      Substation from 138 kV                              (0.15%) I PECO (3.09%) I PPL
                      to 230 kV                                           (2.24%) I PSEG (2.42%) / RE
                                                                          (0.09%) I ECP** (0.06%)

                                                                          AEC (1.02%) I APS (81.96%) I
                                                                          DPL (0.85%) / JCPL (1.75%) /
                       Convert portion of                                 ME (6.37%) / NEPTUNE*
                       Carroll Substation from                            (0.15%) I PECO (3.09%) I PPL
                       138 kV to 230 kV
                                                                          (2.24%) I PSEG (2.42%) / RE
                                                                          (0.09%) I ECP** (0.06%)

                                                                          AEC (1.02%) / APS (81.96%) I
                       Convert Monocacy                                   DPL (0.85%) I JCPL (1.75%) /
                       Substation from 138 kV                               ME (6.37%) / NEPTUNE*
                       to 230 kV                                          (0.15%) I PECO (3.09%) I PPL
                                                                           (2.24%) I PSEG (2.42%) / RE
                                                                              0.09% I ECP** 0.06%
           *Neptune Regional Transmission System, LLC
           **East Coast Power, L.L.C.




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         Monongahela Power Company, The Potomac Edison Company, and West Penn Power
         Company, all doing business as Allegheny Power (cont.)
         R uired Transmission Enhancements Annual Revenue Ri uirernent     Res nsible Customer(s
                     Construct a 138 kV line
           b         between Buckhannon and
             1840                          kV
                     Weston        138
                     substations                                               APS 100%
                     Replace line trap at
                     Stonewall      on     the
           b1902
                     Stephenson 138 kV line
                     terminal                                                  APS 100%
                     Loop the Homer City-
                     Handsome Lake 345 kV
                     line into the Armstrong
                     substation and install a
                     345/138 kV transformer                             APS (67.86%) I PENELEC
                     atArmstron                                                  32.14%
                     Change the CT ratio at
                     Millville to improve the
           b1942
                     Millville - Old Chapel
                      138 kV line ratin s                                      APS 100%
                                                                       APS (41.06%) I DPL (6.68%) I
                      Convert       Moshannon                          JCPL (5.48%) / ME (10.70%) /
              964 substation to a 4 breaker                              Neptune* (0.53%) I PECO
                      230 kV ring bus                                     15.53% I PPL (20.02%)
                      Install a 44 MVAR 13 8
            b1965 kV capacitor at Luxor
                      substation                                               APS 100%
                      Upgrade the AP portion
                      of the Elrama - Mitchell
                      138 kV line by replace
            bl986 breaker risers on the
                      Mitchell 138 kV bus on
                      the Elrama terminal                                       APS (100%
                      Reconductor the Osage-
                      Collins Ferry 138 kV line
            bl987 with 795 ACSS. Upgrade
                      terminal equipment at
                      Osa e and Collins Ferr                                    APS 100%




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                                                              n Company, and West Penn Power
         Monongahela Power Company, The Potomac Ediso
                                                               .)
         Company, all doing business as Allegheny Power (cont
                                                              uirement &      nsible Custome s)
         & uired Transmission Enhancements Annual Revenue &
                                                                         Load-Ratio Share Allocation:
                                                                         AEC (1.61 %) / AEP (14.10%) I
                                                                         APS (5.79%) / ATSI (7.95%) I
                                                                        BGE (4.11%) / ComEd (13.24%)
                                                                             / Dayton (2.07%) I DEO K
                                                                           (3.22%) I DL (1.73%) / DPL
                                              As specified under the     (2.48%) / Dominion (13.17%) /
                                              procedures detailed in     EKPC (2.13%) / JCPL (3.71%) /
           b0    _ Build new 502 Junction
              347 3                           Attachment H-18B,              ME (1.88%) / NEPTUNE*
                      500 kV substation
                                              Section 1.b                    (0.42%) I PECO (5.34%) /
                                                                           PENELEC (1.86%) / PEPCO
                                                                          (3.98%) I PPL (4.76%) / PSEG
                                                                                  6.19% I RE 0.26%
                                                                                   DFAX Allocation:
                                                                                APS (65.36%) / PEPC O
                                                                                        34.64%
                                                                          Load-Ratio Share Allocation:
                                                                          AEC (1.61%) / AEP (14.10%) I
                                                                           APS (5.79%) / ATSI (7.95%) /
                                                                         BGE (4.11%) / ComEd (13.24%)
                                                                               / Dayton (2.07%) / DEO K
                                                                             (3.22%) I DL (1.73%) I DPL
                                               As specified under the      (2.48%) / Dominion (13.17%) /
                                                                          EKPC (2.13%) I JCPL (3.71%) /
            b0     .4 Upgrade Mead ow Broo k procedures detailed in
               347                             Attachment H-18B,              ME (1.88%) / NEPT UNE *
                       500 kV substation
                                               Section l.b                     (0.42%) I PECO (5.34%) /
                                                                             PENELEC (1.86%) I PEPCO
                                                                            (3.98 %) / PPL (4.76 %) / PSEG
                                                                                  (6.19% I RE 0.26%
                                                                                    DFAX Allocation:
                                                                                APS (40.83%) I Dominion
                                                                                         59.17%
           * Neptune Regional Transmission System, LLC




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                                                                                   Penn Power
         Monongahela Power Company, The Potomac Edison Company, and West
         Company, all doing business as Allegheny Power (cont.)
                                                                          R    nsible Customer(s)
         R uired Transmis.sion Enhancements Annual Revenue R uirement
                     Construct a 138 kV line
                     between Buckhannon and
           bl840                    138     kV
                     Weston
                     substat ions                                            APS 100%
                     Replace line trap at
                     Stonewall       on     the
           b1902 Stephenson 138 kV line
                     terminal                                                 APS 100%
                     Loop the Homer City-
                     Handsome Lake 345 kV
                      line into the Armstrong
                      substation and install a
                      345/138 kV transformer                           APS (67.86%) I PENELEC
                      at Armstron                                               32.14%
                      Change the CT ratio at
                      Millville to improve the
            bl942
                      Millville - Old Chapel
                       138 kV line ratin s                                    APS 100%)
                                                                      APS (41.06%) I DPL (6.68%) /
                       Convert       Moshan non                       JCPL (5.48%) I ME (10.70%) I
                       substation to a 4 breaker                        Neptune* (0.53%) / PECO
                       230 kV ring bus                                  (15.53% I PPL (20.02%
                      Install a 44 MVAR 138
             bl965    kV capacitor at Luxor
                      substation                                                     APS 100%
                      Upgrade the AP portion
                      of the Elrama - Mitchell
                      138 kV line by replace
             bl986
                      breaker risers on the
                      Mitchell 138 kV bus on
                      the Elrama terminal                                            APS 100%
                      Reconductor the Osage-
                       Collins Ferry 138 kV line
             b1987     with 795 ACSS. Upgrade
                       terminal equipment at
                       Osa e and Collins Ferr                                        APS 100%




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                                                                         Effective Date: January 1, 2018


         AEP Service Corporation on behalf of its Affiliate Companies (AEP Indiana Michigan
         Transmission Company, AEP Kentucky Transmission Company, AEP Ohio Transmission
         Company, AEP West Virginia Transmission Company, Appalachian Power Company, Indiana
         Michigan Power Company, Kentucky Power Company, Kingsport Power Company, Ohio
         Power Company and Wheeling Power Company) (cont.)

         R: uired Transmission Enhancements       Annual Revenue R: uirement     Res nsible Custome s
                     String a second 138 kV
           b0        circuit on the open tower
              840
                     position between Twin
                      Branch and East Elkhart                                          AEP 100%
                      Establish a new 138/69-
           b0S40_ 1 34.SkV        Station      to
                      interconnect the existing
                      34.SkV network                                                   AEP 100%
                      Replace Baileysville 138
           b0917      kV breaker 'P'                                                   AEP 100%
                      Replace Riverview 138 kV
           b0918                                                                       AEP 100%
                      breaker '634'
                      Replace Torrey 138 kV
           b0919                                                                       AEP 100%
                      breaker 'W'
                      Construct       a      new
                      345/ 138kV station on the
                      Marquis-Bixby 345kV line
                      near the intersection with                                  AEP (89.97%) / Dayton
                      Ross - Hi land 69kV                                                10.03%
                       Construct two 138kV
                       outlets to Delano 138kV
                       station and to Camp                                        AEP (89.97%) / Dayton
                       Sherman station                                                   10.03%
                       Convert Ross - Circleville                                 AEP (89.97%) I Dayton
                       69kV to 138kV                                                     10.03%
                       Install          138/69kV
                       transformer at new station
                       and connect in the Ross -                                  AEP (89.97%) I Dayton
                       Hi hland 69kV line                                                10.03%
                       Add a third delivery point
                       from AEP's East Danville
            bl033
                       Station to the City of
                       Danville.                                                       AEP 100%)




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                                                                                                  20.1.0
                                                                         Effective Date: January 1, 2018


         AEP Service Corporation on behalf of its Affiliate Companies (AEP Indiana Michigan
         Transmission Company, AEP Kentucky Transmission Company, AEP Ohio Transmission
         Company, AEP West Virginia Transmission Company, Appalachian Power Company, Indiana
         Michigan Power Company, Kentucky Power Company, Kingsport Power Company, Ohio
         Power Company and Wheeling Power Company) (cont.)

         Reauired Transmission Enhancements          Annual Revenue Requirement    Resoonsible Customer(s)
                       Reconductor the Conesville
                       East - Conesville Prep
                       Plant Tap 138 kV section of
           b1502
                       the Conesville - Ohio
                       Central to fix Reliability N-
                       1-1 thermal overloads                                              AEP (100%)
          ,,,,,,                                                                      AEP (93.61%) / ATSI
                                                                                  (2.99%) / ComEd (2.07%) /
      ~ bl659
                      Establish Sorenson 345/138
                      kV station as a 765/345 kV                                   HTP (0.03%) I PENELE C
                      station                                                      (0.31 %) / ECP** (0.03%) /
                                                                                  PSEG (0.92%) I RE (0.04%)
                     Replace Sorenson 138 kV
            bl659.l  breaker 'L 1'                                                       AEP (100%)
                     Replace Sorenson 138 kV
           b1659.2                                                                       AEP (100%)
                     breaker 'L2' breaker
                     Replace Sorenson 138 kV
           b1659.3                                                                        AEP (100%)
                     breaker 'Ml'
                     Replace Sorenson 138 kV
           b1659.4                                                                        AEP (100%)
                     breaker 'M2'
                     Replace Sorenson 138 kV
           bl659.5                                                                        AEP (100%)
                     breaker 'Nl'
                     Replace Sorenson 138 kV
           bl659.6                                                                        AEP (100%)
                     breaker 'N2'
                     Replace Sorenson 138 kV
           b1659.7 breaker 'O l'                                                          AEP (100%)
                     Replace Sorenson 138 kV
           bl659.8                                                                        AEP (100%)
                      breaker '02'
                      Replace Sorenson 138 kV
           bl659.9                                                                        AEP (100%)
                      breaker 'M'
                      Replace Sorenson 138 kV
            b1659.10 breaker 'N'                                                          AEP (100%)
          *Neptune Regional Transmission System, LLC




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                                       UNITED STATES OF AMERICA
                                              BEFORE THE
                                FEDERAL ENERGY REGULATORY COMMISSION

                                                          )
           American Transmission Systems, Inc., et al.,   )
           PJM Interconnection, L.L.C.                    )      Docket No. ER20-2046-000
                                                          )
                                                          )




                           ANSWER OF THE PJM TRANSMISSION OWNERS
                   TO PROTESTS AND COMMENTS AND MOTION FOR CONSOLIDATION




                July 21, 2020




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                                          UNITED STATES OF AMERICA
                                                 BEFORE THE
                                   FEDERAL ENERGY REGULATORY COMMISSION



                                                              )
           American Transmission Systems, Inc., et al.,       )
           PJM Interconnection, L.L.C.                        )         Docket No. ER20-2046-000
                                                              )
                                                              )

                             ANSWER OF THE PJM TRANSMISSION OWNERS
                     TO PROTESTS AND COMMENTS AND MOTION FOR CONSOLIDATION

                   Pursuant to Rule 213 of the Rules of Practice and Procedure of the Federal Energy

         Regulatory Commission (“Commission”), the PJM Transmission Owners (“Transmission

         Owners”) respectfully submit this answer to protests and comments, as well as the motion to

         consolidate or requests for additional procedures, filed on July 6, 2020, in the above referenced

         docket.

                   On June 12, 2020, the Transmission Owners, acting through the PJM Consolidated

         Transmission Owners Agreement (“CTOA”), filed proposed amendments to Attachment M-3 of

         the Open Access Transmission Tariff (“Tariff”) of PJM Interconnection L.L.C. (“PJM”). The

         proposed amendments expand the scope of the planning procedures set forth therein to

         encompass certain Transmission Owners’ asset management activities that would improve

         transparency and coordination in the planning to replace Transmission Facilities nearing the end




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         of their useful lives. 1 Seven parties or groups filed protests and comments. 2 Two parties filed

         comments in support of the Proposed Revisions, 3 and one party filed comments taking no

         position. 4 One party also requested consolidation of this proceeding with Docket No. ER20-

         2308-000, 5 in which PJM filed proposed amendments to the PJM Operating Agreement, while

         two parties requested additional procedures related to that docket. 6

                 The objections raised fail to provide any valid reason why the Commission should not

         approve the Proposed Revisions and find them just and reasonable. In addition, the protests, in

         many respects, assert positions that have no basis in law or fact. 7 Moreover, the Commission


                 1
                   PJM Interconnection, L.L.C., Amendments to Attachment M-3 to the PJM Interconnection,
         L.L.C. Open Access Transmission Tariff, Docket No. ER20-2046 (filed June 12, 2020). For ease of
         reference, this Answer refers to the initial filing as a whole as “Transmittal Letter” and the proposed
         amendments as “Proposed Revisions.” As used in this Answer, where a term is capitalized it is intended
         to have the meaning ascribed to it under the CTOA, Tariff, the Amended and Restated Operating Agreement
         Of PJM Interconnection, L.L.C. (“Operating Agreement”) or the Proposed Revisions.
                 2
                    American Municipal Power, Inc. (“AMP”), Old Dominion Electric Cooperative (“ODEC”),
         PJM Industrial Customer Coalition, Public Power Association of New Jersey, People’s Counsel for the
         District of Columbia, Delaware Division of the Public Advocate, West Virginia Consumer Advocate,
         Indiana Office of Utility Consumer Counselor, Blue Ridge Power Agency, and Central Virginia Electric
         Cooperative (collectively, the “Load Group”); Duquesne Light Company (“Duquesne”); LSP
         Transmission Holdings II, LLC (“LS Power”); New Jersey Board of Public Utilities (“NJBPU”); Office
         of the Ohio Consumers’ Counsel (“OCC”); Office of the People’s Counsel for the District of Columbia,
         Delaware Division of the Public Advocate, and ODEC (collectively, the “Interested Parties”); and Public
         Utilities Commission of Ohio’s Office of the Federal Energy Advocate (“Ohio FEA”).
                 3
                     Edison Electric Institute (“EEI”) and WIRES.
                 4
                     J-POWER USA Development Co., Ltd. (“J-POWER”).
                 5
                     Load Group at 39-40.
                 6
                    J-POWER at 5-6; NJBPU at 16 (suggesting that the Commission “coordinat[e] its approach” to
         the filings).
                 7
                   To the extent that this answer responds to protests and comments, the Transmission Owners
         respectfully request leave to answer pursuant to Rule 212. 18 C.F.R. § 385.212 (2020). The Commission
         allows otherwise prohibited answers when the movant demonstrates good cause. See, e.g., Morgan
         Stanley Capital Grp., Inc. v. N.Y. Indep. Sys. Operator, Inc., 93 FERC ¶ 61,017, at 61,036 (2000)
         (accepting an answer to an answer that was “helpful in the development of the record . . . .”). See also
         Carolina Power & Light Co., 97 FERC ¶ 61,048, at 61,278 (2001) (finding good cause to waive Rule 213
         when a pleading helped to ensure a complete and accurate record); N.Y. Indep. Sys. Operator, Inc., 91
         FERC ¶ 61,218, at 61,797 (2000) (allowing an answer to a protest considered “useful in addressing the
         issues arising in these proceedings.”); Cent. Hudson Gas & Elec. Corp., 88 FERC ¶ 61,138, at 61,381


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         should also reject the requests to consolidate this proceeding with the proceeding in Docket No.

         ER20-2308-000 or for additional procedures. Rather, the Commission should accept the

         Proposed Revisions without hearing, modification, or condition, effective on August 11, 2020, so

         that stakeholders can benefit from the improvements in transparency and coordination contained

         therein in the upcoming PJM transmission planning cycle.

         I.      INTRODUCTION AND EXECUTIVE SUMMARY

                 The Proposed Revisions will enhance transparency by extending the existing

         Commission-approved Attachment M-3 process to create new opportunities for stakeholder input

         into Transmission Owner asset management projects and activities, including the replacement of

         Transmission Facilities nearing the end of their useful lives (“EOL”), that go well beyond the

         procedures required by Commission regulations or precedents. The Proposed Revisions also

         provide PJM with new information that will enhance PJM’s ability to coordinate the regional

         expansion and enhancement planning responsibilities it agreed to undertake under the CTOA

         with the Transmission Owners’ programs to address EOL needs. The Proposed Revisions

         achieve these improvements without seeking to alter or interfere with PJM’s exercise of its

         transmission planning responsibilities. This is the crux of what troubles those objecting to the

         Proposed Revisions.

                 Protestors generally do not take issue with the Proposed Revisions’ carefully crafted and

         efficiently achieved improvements to stakeholder input into asset management programs and

         activities in PJM. Rather, the protestors’ objections largely ignore these benefits, but criticize

         the Proposed Revisions because they are not what the protestors prefer – an unprecedented, and




         (1999) (accepting an otherwise impermissible answer to a protest because it helped clarify complex
         issues).



                                                                3
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         ill-considered transformation of PJM from a Regional Transmission Operator (“RTO”) to, in

         effect, a region-wide operating utility managing local transmission planning and replacement in

         every zone in PJM. As PJM has repeatedly advised the protestors and other stakeholders, 8

         transferring responsibility to PJM for EOL and other asset management planning is unlawful,

         because it is beyond the responsibilities that have been transferred to PJM under the CTOA, and

         ill-advised, because Transmission Owners are best positioned to manage their assets to the

         benefit of their customers and in furtherance of fulfilling their obligation to provide reliable

         electric service in a cost effective and efficient manner. 9 Even if that were not the case,

         however, the protestors’ preference for different revisions to the process for addressing EOL

         needs in the region is beside the point. The Commission must address the Proposed Revisions in

         this docket and determine on the merits whether the reforms and improvements they represent

         are just and reasonable, not whether they are better or worse than some other proposal. 10 The

         Commission should accept the Proposed Revisions because, as demonstrated in the Transmittal

         Letter and explained below, the Proposed Revisions are just and reasonable and their acceptance

         by the Commission will enhance transparency for stakeholders and improve coordination

         between the Transmission Owners and PJM.

                The Commission’s consideration must start from the fact that extending the Order

         No. 890-compliant 11 open and transparent Attachment M-3 planning procedures applicable to



                8
                    See, e.g., Transmittal Letter, Exhibits D, E.
                9
                   The protestors’ proposal to strip the Transmission Owners of responsibility for EOL planning
         and shift that responsibility to PJM is pending in Docket No. ER20-2308. Its lawfulness and wisdom will
         be addressed there.
                10
                     See, e.g., Cities of Bethany v. FERC, 727 F.2d 1131, 1136 (D.C. Cir. 1984).
                11
                  See also Preventing Undue Discrimination and Preference in Transmission Service, Order No.
         890, 72 FR 12266 (March 15, 2007) (“Order No. 890”), FERC Stats. & Regs. ¶ 31,241, order on reh’g,
         Order No. 890-A, 73 FR 2984 (January 16, 2008), FERC Stats. & Regs. ¶ 31,261 (2007), order on reh’g,


                                                                    4
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         Supplemental Projects 12 to asset management projects is unprecedented and will likely make the

         asset management and EOL transmission planning process in PJM one of the most transparent

         and inclusive in the country. The Proposed Revisions will add to the Tariff meaningful

         opportunities for stakeholders to review and comment on (1) the criteria, assumptions, and

         models used to plan and identify asset management projects, (2) the asset management project

         needs identified by Transmission Owners and stakeholders; and (3) potential solutions to those

         needs. These proposed improvements are not a prerequisite for compliance with Commission

         requirements; to the contrary, the Commission has repeatedly found that asset management

         projects and activities that do not expand the transmission system (or result in only an incidental

         expansion) are not subject to the transmission planning requirements of Order No. 890. 13 In

         proposing revisions that exceed the Commission’s requirements, the Transmission Owners have

         offered unprecedented transparency into their asset management activities.

                 The only question the Commission must decide in this case is whether the Proposed

         Revisions themselves are just and reasonable. To make that determination the Commission must

         consider the Proposed Revisions on their own merits, and reject attempts to compare the

         Proposed Revisions to the different proposal that those protestors prefer. (Section II.A.1). The

         mere fact that these protestors simply prefer a different approach does not support a Commission



         Order No. 890-B, 123 FERC ¶ 61,299 (2008), order on reh’g and clarification, Order No. 890-C, 126
         FERC ¶ 61,228 (2009), order on clarification, Order No. 890-D, 129 FERC ¶ 61,126 (2009).
                 12
                   See PJM Operating Agreement, Section 1, Definitions S-T (defining “Supplemental Projects” as
         a transmission expansion or enhancement that is not required for compliance with certain PJM criteria).
         Capitalized terms used, but not defined, in this answer are defined in the Transmittal Letter, the PJM Tariff,
         or the CTOA.
                 13
                   S. Cal. Edison Co., 164 FERC ¶ 61,160 (2018) (“SCE Order”), order on reh’g, 168 FERC ¶
         61,170 (2019); Cal. Pub. Utils. Com’n v. Pac. Gas & Elec. Co., 164 FERC ¶ 61,161 (2018) (“PG&E
         Order”), order on reh’g, 168 FERC ¶ 61,171 (2019) (“PG&E Rehearing Order”) (collectively, the
         “California Orders”).



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         finding that the Proposed Revisions are unjust and unreasonable, nor do their preferences support

         rejection of the Proposed Revisions. (Section II.A.2). Further, these protestors’ assertions about

         costs and cost-savings projections for the replacement of EOL transmission facilities, intended to

         solicit support for their preferred proposal, are neither relevant nor accurate. Rather, those

         projections are speculative and unreliable, and they do not support rejection of the proposal to

         expand the open and transparent Attachment M-3 process that the Transmission Owners are

         poised to provide. (Section II.A.3).

                The enhancements to Attachment M-3 that the Transmission Owners propose expand the

         transparency that the existing Attachment M-3 already provides, adding certain asset

         management projects and activities to its coverage, even though that is not required by Order

         No. 890. (Section II.B). Protestors’ assertions that the Transmission Owners do not have the

         right to file tariff provisions governing asset management planning, including EOL projects, do

         not stand up against PJM’s history, its governing documents or prior Commission decisions. The

         Transmission Owners have retained their Section 205 rights to make such filings, including the

         exclusive right to propose modifications to Attachment M-3. Those rights are explicit in PJM’s

         governing documents, confirmed by multiple Commission decisions and acknowledged by PJM.

         The CTOA firmly establishes and reserves to Transmission Owners the rights and associated

         responsibilities to determine when, whether, and how to replace any of their transmission assets

         that are nearing the end of their useful lives, and other asset management functions, in the

         CTOA. (Section II.B.1).

                The Protestors incorrectly claim that the Commission’s holding in the California Orders

         that asset management projects and activities that do not expand the transmission system (or

         result in only an incidental expansion) are not subject to the transmission planning requirements




                                                              6
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         of Order No. 890 does not apply to the PJM Transmission Owners. Protestors’ objections,

         however, are based on geography, not reason. The Commission’s interpretation of Order No.

         890 obviously applies to all public utility transmission providers. Protestors mount various

         objections to the scope of the Proposed Revisions and several of the definitions employed.

         However, none of these objections has merit. The Proposed Revisions’ definitions appropriately

         expand the coverage of the Attachment M-3 process to create opportunities for stakeholder input

         into asset management and EOL project planning, are consistent with the language of the

         California Orders, and do not exceed the Transmission Owners’ retained planning

         responsibilities. (Section II.B.2).

                Complaints about the process set out in the Proposed Revisions to expand stakeholder

         input into EOL Needs planning and improve coordination between PJM planning and EOL

         Needs planning are similarly misplaced. Contrary to the protestors’ view, it is neither reasonable

         nor even possible to impose a uniform set of planning criteria for EOL Needs. Similarly,

         arguments against the contents or confidentiality of proprietary, five-year nonbinding projections

         of EOL Needs provided to PJM do not show how they interfere with EOL planning. In fact,

         stakeholders will have all the information needed to address a proposed EOL Need when that

         need is presented either under the expanded Attachment M-3 process or when PJM identifies an

         overlap project for possible inclusion in the Regional Transmission Expansion Plan (“RTEP”),

         which-ever occurs first. Moreover, PJM will have the information it needs to identify the type of

         replacement facilities likely to be addressed by a possible overlap project. Concerns about the

         non-binding nature of the projection of EOL Needs also fail to recognize that the condition of

         facilities can change, as can the appropriate timing for their replacement, demonstrating the




                                                             7
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         protesters’ lack of understanding of or disregard for industry-wide asset management practices.

         (Section II.B.3).

                Protestors make numerous unsupported assertions of the harms that the Proposed

         Revisions would cause to stakeholders and the regional transmission planning process. To be

         clear, contrary to many of these allegations, the Proposed Revisions are carefully crafted to “stay

         in the Transmission Owners’ lane” and avoid interfering with PJM’s regional planning

         responsibilities. The Proposed Revisions will not cause any of the protestors’ “parade of

         horribles:”

            •   The Proposed Revisions do not reduce stakeholder participation, (Section II.C.1);
            •   The Proposed Revisions do not change stakeholders’ ability to challenge the need for and
                prudence of an EOL project, (Section II.C.2);
            •   The Proposed Revisions do not give Transmission Owners the power to delay PJM
                planning decisions, or otherwise prevent PJM from moving forward with an RTEP
                project, (Section II.C.3);
            •   The Proposed Revisions do not change the RTEP Planning Process, (Section II.C.4);
            •   The Proposed Revisions do not have any impact on the allocation of cost responsibility
                for EOL projects under Schedule 12’s cost allocation rules, (Section II.C.5);
            •   The Proposed Revisions do not create a right of first refusal (“ROFR”) or otherwise limit
                proposal window opportunities, (Section II.C.6);
            •   The Proposed Revisions do not change the applicability of Attachment M-3 to
                Supplemental Projects or limit the types of Supplemental Projects to which Attachment
                M-3 applies, (Section II.C.7);
            •   The Proposed Revisions do not limit the authority of state commissions, nor limit access
                to information available to state commissions, (Section II.C.8);
            •   The Proposed Revisions do not interfere with or cause delays in the interconnection
                process, (Section II.C.9);
            •   The Proposed Revisions do not impose any requirement that Transmission Owners
                include EOL Planning Criteria in their FERC Form No. 715, nor is such change required.
                (Section II.C.10); and
            •   The Proposed Revisions do not impose unreasonable burdens on Transmission Owners,
                (Section II.C.11).



                                                             8
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                 Finally, the Commission should deny requests for further procedural process, such as

         consolidation of the instant case with Docket No. ER20-2308-000. (Section III). No additional

         process is necessary; the evidentiary record developed in this proceeding is sufficient for the

         Commission to find that the Proposed Revisions are just and reasonable and distinct from the

         legal and other controversial issues in Docket No. ER20-2308-000. Furthermore, consolidation

         would delay the timely implementation of enhanced processes and accompanying benefits in the

         upcoming transmission planning cycle that the Proposed Revisions will provide.

                 In sum, the Commission should accept the Proposed Revisions because they are just and

         reasonable. They go above and beyond the Commission’s requirements to provide new

         opportunities for stakeholder input into Transmission Owner asset management projects and

         activities that will benefit all stakeholders and will give PJM additional tools to facilitate

         coordinated regional transmission planning.

         II.     RESPONSE TO PROTESTS

                 A.       The Transmission Owners’ Proposal Submitted Pursuant to FPA Section 205
                          Must Be Considered on Its Own Merits, Without Regard to Comparisons to
                          a Different Proposal.

                          1.       The Transmission Owners Properly Exercised Their Rights Under
                                   Section 205 to File the Proposed Revisions.

                 Section 205 of the Federal Power Act (“FPA”) gives the Transmission Owners the right

         to file with the Commission changes to rates and terms for service rendered with their assets

         subject to agreements they have entered into regarding their Section 205 filing rights. 14 The

         Commission’s review of filed rates, tariffs, and contracts is limited to consideration of the




                 14
                    “Section 205 of the [FPA] gives a utility the right to file rates and terms for services rendered
         with its assets. . . . FERC [may not] prohibit public utilities from filing changes in the first instance.” Atl.
         City Elec. Co. v. FERC, 295 F. 3d 1, 9-10 (D.C. Cir 2002).


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         justness and reasonableness of a filer’s “confined proposal.” 15 As long as the Commission finds

         a proposed methodology to be just and reasonable, that methodology “need not be the only

         reasonable methodology.” 16 Stated another way, the Transmission Owners are not obligated to

         show – and the Commission is not required to find – that the Proposed Revisions are superior to

         any alternatives that an intervenor may prefer, but only that the Proposed Revisions are just and

         reasonable. 17 The Commission, therefore, is not “in a position to choose one solution package

         over the other” as some suggest, 18 because “[E]ven if an intervenor develops an alternative

         proposal, the Commission must accept a section 205 filing if it is just and reasonable, regardless

         of the merits of the alternate proposal.” 19




                 15
                    Advanced Energy Mgmt. All. v. FERC, 860 F.3d 656, 662 (D.C. Cir. 2017) (“When acting on a
         public utility’s rate filing under section 205, the Commission undertakes ‘an essentially passive and
         reactive role’ and restricts itself to evaluating the confined proposal.”) (quoting City of Winnfield v.
         FERC, 744 F.2d 871, 875-76 (D.C. Cir. 1984)).
                 16
                   Petal Gas Storage, L.L.C. v. FERC, 496 F.3d 695, 703 (D.C. Cir. 2007) (“FERC is not required
         to choose the best solution, only a reasonable one.”); Oxy USA, Inc. v. FERC, 64 F.3d 679, 692 (D.C. Cir.
         1995) (finding that the proposed changes “need not be the only reasonable methodology, or even the most
         accurate”).
                 17
                    Cities of Bethany v. FERC, 727 F.2d at 1136 (“FERC has interpreted its authority to review
         rates under [the FPA] as limited to an inquiry into whether the rates proposed by a utility are reasonable-
         and not to extend to determining whether a proposed rate schedule is more or less reasonable than
         alternative rate designs.”), cert. denied, 469 U.S. 917 (1984); Oxy USA, 64 F.3d at 692 (D.C. Cir. 1995).
                 18
                      NJBPU at 16.
                 19
                     PJM Interconnection, L.L.C., 127 FERC ¶ 61,197, at P 38 (2009). See e.g., Appalachian
         Power Co., 170 FERC ¶ 61,196, at P 70 (2020) (“Appalachian Power Order”) (“[A] stakeholder process
         does not supersede the PJM Transmission Owners’ right to file this proposal pursuant to section 205, nor
         the ability of the Commission to find that the proposal is just and reasonable.”). In 2018, the Commission
         stated:
                 [T]he Commission's charge under section 205 of the FPA is to determine whether a
                 proposal is just and reasonable and not unduly discriminatory. The courts have described
                 this role as essentially passive and reactive, restricted to evaluating the confined proposal.
                 The Commission need only find that the proposal is just and reasonable, not that it is the
                 only or even the most just and reasonable proposal. Thus, having found the [] Proposal to
                 be just and reasonable, the Commission was not required to consider whether protestors'
                 alternative proposals were superior.



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                 The Proposed Revisions are just and reasonable and the Commission should accept them.

         As discussed below, the Proposed Revisions effect a salutary expansion of the existing

         Attachment M-3 process that the Commission has ruled is just and reasonable 20 and provide new

         opportunities for stakeholder participation in the Transmission Owners’ processes for replacing

         Transmission Facilities nearing the end of their useful lives. Within this set of well-defined and

         focused-scope changes, the Proposed Revisions add more transparency, stakeholder input, and

         planning coordination to the existing Attachment M-3 process. The Commission should find that

         these changes are just and reasonable and, on that basis, should accept the Proposed Revisions.

                 As noted herein, the Proposed Revisions make no changes to the Operating Agreement,

         the process for preparation of the RTEP, or the transmission planning responsibilities of PJM.

         The Proposed Revisions are narrowly crafted to impact only the Transmission Owners’ planning

         responsibilities under the CTOA that the Commission has recognized. 21 Some intervenors’

         attempts to relitigate issues already settled by the Commission22 present no valid obstacle to

         approval of the Proposed Revisions. 23 None of these protestors show that the enhancements




         PJM Interconnection, L.L.C., 164 FERC ¶ 61,170, at P 28 (2018) (denying rehearing and declining to
         consider alternative proposals). See also S. Cal. Edison Co., 73 FERC ¶ 61,219 at 61,608 n.73 (1995)
         (“Having found the plan to be just and reasonable, there is no need to consider in any detail the alternative
         plans proposed by the Joint Protesters.”) (citing Cities of Bethany, 727 F.2d at 1136).
                  See Monongahela Power Co., 162 FERC ¶ 61,129 (2018) (“Monongahela Order”), reh’g and
                 20

         compliance, 164 FERC ¶ 61,217 (2018) (“Monongahela Rehearing Order”).
                 21
                      See Transmittal Letter at 5-9.
                 22
                      See, e.g., Load Group at 18-19; LS Power at 39-43; Interested Parties at 8-10.
                 23
                    These arguments collaterally attack the Commission’s prior decisions and should be
         disregarded. See, e.g., S. Co. Servs., Inc., 129 FERC ¶ 61,253, at P 37 (2009) (finding protesting parties’
         arguments to be collateral attacks on the prior-issued orders, and noting that protestors have not
         demonstrated “why the Commission should re-examine tariff language that it previously
         accepted . . . Collateral attacks on final orders and relitigation of applicable precedent, especially by
         parties that were active in the earlier case, impede the finality and repose in agency decisions that are
         essential to administrative efficiency, and are therefore strongly discouraged.”).



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         provided through the Proposed Revisions fundamentally change the Attachment M-3 process,

         rendering it unjust and unreasonable, or that specific components of the additional processes

         provided are defective and will not provide greater opportunities for input from stakeholders and

         state commissions. The Commission need not address arguments questioning its approval of the

         existing Attachment M-3 process, nor do the protests credibly question the benefits from

         increased input into EOL planning and coordination with PJM. Fundamentally, the protestors’

         objections reflect simply their preference for a different proposal, not a valid claim that the

         Proposed Revisions are unjust and unreasonable. As such, those objections have no bearing on

         the issues before the Commission in this proceeding.

                         2.       Section 205 Does Not Authorize the Commission to Change the
                                  Proposed Revisions to Adopt Protestors’ Preferences.

                 The protests express a preference that PJM plan EOL projects rather than Transmission

         Owners. Importantly, PJM, itself, has stated explicitly that it is not qualified to assume this

         responsibility and, under its governing documents, cannot accept it. 24 Moreover, the

         Commission cannot reject the Proposed Revisions simply because some protestors prefer their

         own approach. Likewise, Section 205 does not authorize the Commission to change the

         Proposed Revisions to adopt protestors’ preferences or to impose a new planning scheme of its

         own making. 25 Commission-directed changes to accommodate such changes would be beyond




                  See, e.g., Transmittal Letter, Exhibits D and E; PJM Interconnection, L.L.C., Comments of
                 24

         PJM Interconnection, L.L.C., Docket No. ER20-2308-000 (filed July 2, 2020) (“PJM ER20-2308
         Comments”).
                 25
                     NRG Power Mktg., LLC v. FERC, 862 F.3d 108, 115 (D.C. Cir. 2017) (describing how the
         Commission may not direct modifications that would result in an entirely different rate design than the
         filing utility’s proposal) (citing City of Winfield, 744 F.2d at 876 (D.C. Cir. 1984) and W. Res. v. FERC, 9
         F.3d 1568 (D.C. Cir. 1993)).



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         the Commission’s statutory authority. 26 When the same arguments were presented in prior

         litigation concerning the new Attachment M-3, the Commission rejected them and, accordingly,

         it should do so again in these proceedings. 27

                 The Load Group complains that the Proposed Revisions are not compatible with “Grid of

         the Future” planning it envisioned. The Load Group’s vision, however, reflects nothing more

         than their preference for PJM to assume responsibility for EOL planning instead of the

         Transmission Owners’ addressing EOL needs as part of their asset management processes. 28

         First, there is no cognizable standard under the FPA or the Commission’s regulations or

         precedents requiring the Transmission Owners to accede to this preference or enabling the

         Commission to grant it. Second, as PJM has recognized, PJM lacks authority and capability to

         address asset management. Third, the Load Group’s premise does not support its conclusion; the

         goal of forward-looking planning does not mean that all planning in the PJM Region must be

         performed exclusively by PJM. As discussed further below, 29 the Commission has recognized



                 26
                    NRG Power Marketing, 862 F.3d at 115-16 (holding that the Commission acted beyond the
         scope of its Section 205 authority where its “proposed modifications resulted in an ‘entirely different rate
         design’ than PJM’s proposal”).
                 27
                    See Monongahela Order at P 117 (rejecting protestors’ alternative proposal to revise the PJM
         Operating Agreement to require responses from transmission owners to stakeholder comments, further
         PJM involvement in planning for and selecting certain Supplemental Projects and EOL planning, and
         PJM review and approval of Local Plans) (citing Petal Gas Storage, L.L.C. v. FERC, 496 F.3d 695, 703
         (D.C. Cir. 2007) (“FERC is not required to choose the best solution, only a reasonable one.”); Oxy USA,
         Inc. v. FERC, 64 F.3d 679, 692 (D.C. Cir. 1995)).
                 28
                    See Load Group at 20 (arguing that EOL planning authority would be taken “away from PJM”
         and that “PJM should be responsible for planning the Grid of the Future”), 22, 36 (stakeholders would
         like the RTO to “centrally plan” transmission replacements for the “grid of the future”). Planning the grid
         of the future is not a legislative mandate, nor is it a requirement under Order No. 890 and Order No. 1000
         rulemakings. See Transmission Planning and Cost Allocation by Transmission Owning and Operating
         Public Utilities, Order No. 1000, FERC Stats. & Regs. ¶ 31,323 (2011) (“Order No. 1000”), order on
         reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g and clarification, Order No. 1000-B, 141
         FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014);
                 29
                      See infra at section II.B.1.



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         both in Order No. 890 and in PJM-specific orders that planning responsibility is appropriately

         shared between PJM, which focuses on regional planning of necessary expansions and

         enhancements to the transmission system, and the Transmission Owners, who meet local needs,

         including through asset management, i.e., maintaining, replacing and expanding zonal

         transmission infrastructure though asset management activities and Supplemental Projects. 30

         Transmission Owners are also engaged with state commissions, PJM and others to provide the

         infrastructure necessary to reliably support state policy objectives for distributed renewable

         generation, storage, microgrids, electrification of the transportation sector, development of

         significant offshore wind capacity, and other “Grid of the Future” technologies. 31 Finally, it is

         worth noting that PJM’s performance during the challenging COVID-19 pandemic illustrates

         that that the current allocation of planning responsibilities has performed well in preparing PJM

         to meet both expected and unexpected challenges to the PJM Transmission System. 32




                 30
                   Order No. 890, 72 FR 12266; Monongahela Order at 97; PG&E Order at 65-74; PG&E
         Rehearing Order at 18-59.
                 31
                     See, e.g., Unlocking the Benefits of Microgrids, EDISON ELEC. INST. (Feb. 2019),
         https://www.eei.org/issuesandpolicy/Energy%20Storage/Unlocking%20the%20Benefits%20of%20Micro
         grids.pdf; Electric Transportation Benefits Customers, Communities and the Environment, EDISON ELEC.
         INST.                                             (Sept.                                            2019),
         https://www.eei.org/issuesandpolicy/electrictransportation/Documents/Electric_Transportation_Benefits_
         Customers_and_Communities.pdf. The Commission is also considering these issues, recently announcing
         a technical conference to discuss whether transmission, interconnection, and merchant transmission facility
         frameworks in RTOs/ISOs will be suited accommodate the anticipated growth in offshore wind. See Notice
         of Technical Conference, Docket No. AD20-18-000 (issued June 17, 2020). See also Eastern Wind
         Integration Transmission Study, NAT’L RENEWABLE ENERGY LAB. 94 (Feb. 2011),
         https://www.nrel.gov/docs/fy11osti/47078.pdf (“[I]t is a near certainty that significant new transmission
         would be necessary to accommodate the much higher amounts of wind generation” potentially to be
         developed in the eastern United States).
                 32
                   In fact, over the past decade, the PJM grid has seen significant reliability enhancements while
         incorporating a more diverse resource mix of intermittent and baseload generation along with the lowest
         energy prices since the RTO was created two decades ago.



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                           3.      Other Concerns Raised by Protestors Are Not Relevant to the
                                   Commission’s Consideration of the Proposed Revisions.

                 Protestors raise several additional untrue or misleading concerns that are also irrelevant to

         the Commission’s consideration of the Proposed Revisions. The Commission should disregard

         them.

                 The Load Group expresses concern with the cost of replacing aging transmission

         facilities. 33 But claims of big cost increases are not relevant to the planning required to address

         individual EOL Needs that may be identified when a Transmission Facility is nearing the end of

         its useful life. Rather, the Load Group’s arguments are a thinly disguised attempt by the Load

         Group to advocate its own alternative solution that is not before the Commission in this case.

         Providing increased opportunities for stakeholders’ input into EOL replacement decisions will

         have a beneficial impact on project timing and selection and there is no reason to expect that it

         will increase costs. 34 Moreover, the cost figures that the Load Group presents illustrate nothing

         more than the unremarkable, but well-understood, fact that the demand for electric power

         increased substantially in the years following World War II, driving a significant build-out of the

         transmission system. 35 Now, over 50 years later, these facilities are reaching the end of their

         useful lives and many likely need to be replaced. The Load Group’s concern with the cost of




                 33
                      See Load Group at 34.
                 34
                     See generally Load Group at 4-6. The Load Group’s attempt to project the cost of EOL
         projects through 2028 based on “[t]rending . . . cost data” is at best speculative, and the Commission
         should not give evidentiary weight to this projection. For example, the Load Group does not purport to
         take into account the multiple considerations that go into the decision to replace Transmission Facilities.
         Moreover, the Tatum affidavit employs a simple linear projection of Transmission Facility replacement
         cost that, as is well known, very sensitive to the selection of the data points upon which the projection is
         based. See Load Group at 4-5, Affidavit of E. Tatum at 6 (“Tatum Aff.”) (attached to Load Group).
                  See, e.g., The Changing Structure of the Electric Power Industry: An Update, ENERGY INFO.
                 35

         ADMIN. (Dec. 1996), https://www.eia.gov/electricity/archive/056296.pdf.



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         replacing this aging infrastructure is beyond the scope of this proceeding and is properly

         addressed elsewhere. 36

                 The Load Group’s speculation about cost savings 37 has also been shown to be

         unreliable. 38 It assumes that all EOL replacements would be subject to Order No. 1000 proposal

         windows and all EOL replacements would be replaced by substantially cheaper alternatives,

         which is not necessarily the case. 39 Its sweeping macro projections fail to address the process by

         which individual Transmission Facility replacements are planned. However, that is precisely

         what the Proposed Revisions seek to do: provide expanded opportunities for stakeholder input

         regarding the decision to replace individual facilities using a process that the Commission has

         already found to be just and reasonable.




                 36
                    See also Appalachian Power Order at P 62 (rejecting claims that concerns with the prudency of
         investments to eliminate CIP-014-02 facilities must be considered in a Section 205 proceeding to assess
         whether the procedures under which such facilities are planned are just and reasonable since “the
         currently effective cost recovery process provides sufficient safeguards against these concerns [and] the
         costs are subject to the normal prudency review before the Commission”).
                 37
                      See Load Group at 7-8; Tatum Aff. at A10.
                 38
                    The 30% savings factor suggest by the Load Group is taken from a defective analysis using
         insufficient data reported in a whitepaper authored by the Brattle Group that LS Power sponsored. The
         analytical shortcomings were recently explained in a whitepaper report. Dr. Emma Nicholson, et al.,
         Building New Transmission: Experience To-Date Does not Support Expanding Solicitations,
         CONCENTRIC ENERGY ADVISORS, (June 2019), https://ceadvisors.com/wp-
         content/uploads/2019/06/CEA_Order1000report_final.pdf (“Concentric Report”).
                 39
                    The Concentric Report finds that the methodology used in the Brattle whitepaper to estimate
         cost savings is “flawed” and “should not be relied upon for decision-making purposes.” Id. at 15; see
         generally, id. at 14-24. As a threshold concern, it is not possible to draw conclusions about final project
         costs and cost savings with a data set in which only one project has been placed in service and the others
         have been canceled or are at various stages of development. Id. at 14-15. The Concentric Report’s close
         examination of the assumptions and methodology applied to upper and lower bound savings estimates
         prepared by Brattle show fatal defects, such as reliance on cherry-picked projects, inconclusive cost data,
         and inaccurate data about cost overruns. The conclusions drawn, the Concentric Report finds, are
         “inaccurate and as such, provide no basis to expand the scope of competitive solicitations in FERC-
         jurisdictional ISOs/RTOs.” Id. at 38.



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                 Some protestors complain that the Transmission Owners did not follow the PJM

         stakeholder process or allege that they violated the CTOA. 40 These accusations, which

         misunderstand the PJM governance process and reflect protestors’ preference for a different

         process, are baseless. 41 The Transmission Owners participated fully in the stakeholder process,

         raising each of their legal, factual and responsibility concerns well before the initial stakeholder

         votes on the proposal supported by the Load Group, LS Power and others. 42 When these

         concerns went unacknowledged, the Transmission Owners pivoted to address the reasonable

         substantive concerns raised by stakeholders in a lawful manner consistent with PJM governing

         documents. 43 Transmission Owners “consult[ed] with PJM and the PJM Members Committee

         beginning no less than thirty (30) days prior” to the submission of the Proposed Revisions, as the

         CTOA and the PJM Tariff require. 44 Only three comments were submitted to the Transmission


                 40
                      See, e.g., Interested Parties at 13-14; LS Power at 10.
                 41
                    See Am. Transmission Sys., PJM Interconnection, L.L.C., Answer of Indicated Transmission
         Owners to Motion to Dismiss, Docket No. ER20-2046-000 (filed June 25, 2020) (“Indicated
         Transmission Owner Answer”). The answer responds to misguided assertions that a vote of the TOA-AC
         was required to vote on a notice prior to submission of the Attachment M-3 Filing, and walks through the
         process and governing documents to show procedures and process had been followed and were indeed
         consistent with past practice.
                 42
                   See Indicated PJM Transmission Owners’ Statement of Legal and Contractual Issues and
         Reservation of Rights (Apr. 20, 2020) (submitted to PJM Markets and Reliability Committee),
         https://www.pjm.com/-/media/committees-groups/committees/mrc/2020/20200430/20200430-item-08-
         pjm-to-legal-statement-and-reservation-of-rights.ashx. The legal and substantive deficiencies with the
         Load Group-LS Power Proposal will be addressed in Docket ER20-2308-000.
                 43
                    Contrary to the allegations spun by the LS Power at 3 n.11, the Transmission Owners’ actions
         leading to filing the Proposed Revisions with the Commission complies fully with the stakeholder
         process. See Indicated Transmission Owner Answer. Moreover, it is not unlawful anticompetitive
         conduct for competitors to cooperate and reach agreements in pursuit of governmental action, such as the
         submission to the Commission and its approval of the Proposed Revisions. Rather, it has long been held
         that such activity is protected by the First Amendment under the Noerr-Pennington doctrine. See E. R.R.
         Presidents’ Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961); United Mine Workers of Am.
         v. Pennington, 381 U.S. 657 (1965).
                 44
                    See CTOA § 7.3.2; OATT § 9.1(b). A notice to the Members Committee issued on May 7,
         2020 initiated the consultation and solicited comments on the proposal. See Notice of Transmission
         Owners Consultation with the Members Committee Regarding Proposed Amendments to Attachment M-


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         Owners Agreement-Administrative Committee (“TOA-AC”). 45 The Transmission Owners’

         consultation and adoption of the Proposed Revisions for filing complied with section 9.1 of the

         PJM Tariff and section 7.62 of the CTOA. Contrary to Protestors’ complaints, the consideration

         of changes to the PJM Tariff provisions governing the Transmission Owners retained

         responsibilities under these provisions are an equally valid and appropriate part of the PJM

         governance and stakeholder process.

                 B.      The Attachment M-3 Amendments Expand Stakeholder Transparency and
                         Meaningful Opportunities for Participation and Are Just and Reasonable.

                 While the protests focus largely on alternatives preferred by some stakeholders or

         challenge the right of the Transmission Owners to file the Proposed Revisions, few, if any, are

         critical of the benefits that the Proposed Revisions would bring to the planning of asset

         management projects, including EOL Projects, in PJM. 46 The right of the Transmission Owners

         to file to expand the coverage of Attachment M-3 to asset management projects, including those

         addressing EOL Needs, is well grounded in PJM’s governing agreements as well as Commission

         precedent. As discussed above, the Commission must consider the merits of the changes

         proposed, rather than whether those changes could do something more or different that might be



         3 of the PJM Tariff (May 7, 2020), https://www.pjm.com/-/media/committees-
         groups/committees/mc/2020/20200528/20200528-informational-posting-proposed-amendments-to-
         attachment-m-3-of-the-pjm-tariff.ashx.
                 45
                   Only the Organization of PJM States, Inc. (“OPSI”), which has not intervened in this case,
         commented on the substantive provisions of the proposal. OPSI’s comments sought access to Candidate
         EOL Needs List. As noted below in section II.C.8, state commissions’ access to this information is not
         changed by the Proposed Revisions. The remaining two comments are nearly identically worded and do
         not address the substance of the proposal. See Comments of OPSI (June 9, 2020); Comments of the Joint
         Consumer Advocates (June 9, 2020) and Comments of ODEC, AMP, PJM ICC, and LS Power (June 9,
         2020) (materials for the June 10, 2020 CTOA-AC meeting), https://www.pjm.com/committees-and-
         groups/committees/toa-ac.aspx.
                 46
                    See, e.g., Interested Parties at 19 (urging the Commission to reject the Proposed Revisions and
         accept the Joint Stakeholder Proposal); LS Power at 8, 65 (same). Of the nineteen pages of the Interested
         Parties’ protest, only three pages address the merits of the Proposed Revisions.



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         preferred by the protestors. Thus, the Commission should accept the Proposed Revisions based

         on their specific and salutary benefits and the absence of any well-founded objection.

                         1.       The Transmission Owners Retain the Right to File Procedures for
                                  Planning EOL and Other Asset Management Projects.

                 LS Power, the Load Group, and other protestors claim that the Transmissions Owners do

         not have the right to file the Proposed Revisions because, they contend, PJM should plan EOL

         Projects and any procedures governing that planning should be in the Operating Agreement. 47

         While that may be their preference, that is inconsistent with the PJM governing documents and

         prior Commission has rulings. Asset management projects, which include EOL planning, are not

         required to be regionally planned projects and may be planned under procedures filed and

         administered by transmission owners. 48 In PJM, the Transmission Owners retained the

         responsibility for planning the retirement and replacement of their Transmission Facilities, unless

         a Transmission Owner voluntarily files Form No. 715 EOL Planning Criteria or a PJM Planning

         Criteria Need must also be addressed by the replacement. Where the Transmission Owners

         retained the right to plan Transmission Facilities, they have the right to file the procedures under

         which those Transmission Facilities will be planned. 49




                 47
                    LS Power at 13-16, 21-32; Load Group at 11-16; Interested Parties at 15. Specifically,
         protestors object to the Applicability section and several of the definition sections of the Proposed
         Revisions, including “Asset Management Project,” “EOL Need” and “Incidental Increase.”
                 48
                     In fact, in the California Orders, the Commission found that asset management projects and
         activities that do not expand the transmission system (or result in only incidental expansion) need not
         even be planned through an Order No. 890-compliant transmission planning process. SCE Rehearing
         Order at PP 48-49, 55; PG&E Rehearing Order at PP 7, 49, 55.
                 49
                   It is not disputed that the Transmission Owners have the exclusive right to modify Attachment
         M-3. The existing text provides: “Modifications. This Attachment M-3 may only be modified under
         section 205 of the Federal Power Act if the proposed modification has been authorized by the PJM
         Transmission Owners Agreement-Administrative Committee in accordance with section 8.5 of the
         Consolidated Transmission Owners Agreement.” PJM Tariff, Att. M-3.



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                 In approving Attachment M-3, the Commission specifically recognized that the

         Transmission Owners retained the responsibility to plan Supplemental Projects, which are

         expansions or enhancements of the Transmission System not required to satisfy PJM regional

         planning criteria:

                 The record in this proceeding indicates that the planning for Supplemental Projects
                 is done almost entirely by the PJM Transmission Owners, with PJM playing a
                 relatively minor role in which it reviews the proposed Supplemental Projects only
                 to ensure that they do not have adverse reliability impacts. 50

         On rehearing, the Commission confirmed that even though Supplemental Projects expand or

         enhance Transmission Facilities and thus are subject to Order No. 890’s transmission planning

         requirements, transmission owners participating in an RTO are not required to have the RTO

         perform all planning for local or Supplemental Projects:

                 When transmission owners participate in an RTO, the Commission did not require
                 them to allow the RTO to do all planning for local or Supplemental Projects.
                 Rather, the Commission recognized RTO planning processes may focus principally
                 on regional problems and solutions, not local planning issues that may be addressed
                 by individual transmission owners. 51

         Since the Transmission Owners did not transfer Supplemental Project planning responsibility to

         PJM, the Commission concluded that “it is just and reasonable for the PJM Transmission

         Owners to establish the process for planning these transmission projects and to initiate under

         section 205 any proposed revisions.” 52 Indeed, in Monongahela Power Co., the Commission

         rejected arguments very similar, if not identical, to the argument made by protestors here to the




                 50
                      Monongahela Power Order at P 97.
                 51
                      Monongahela Rehearing Order at P 13 (quotations omitted).
                 52
                    Id. at P 14. See also Appalachian Power Order at PP 57-59 (affirming the Transmission
         Owners’ right to add planning procedures for a subset of Supplemental Projects (i.e., CIP-014 Mitigation
         Projects) as Attachment M-4 to the PJM Tariff).



                                                                20
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         effect that PJM, not the Transmission Owners, should plan EOL and Supplemental Projects

         under procedures set forth in the Operating Agreement. 53

                 As noted in the Transmittal Letter, the Transmission Owners similarly did not transfer to

         PJM planning responsibility for asset management projects, including EOL projects to replace

         transmission facilities. 54 Before the creation of PJM, the Transmission Owners, like other public

         utilities around the country, were responsible for planning expansions to and replacements of

         their transmission facilities to serve load. When PJM was formed the Transmission Owners only

         transferred to PJM the responsibility to prepare the RTEP to plan for the “enhancement and

         expansion” of the PJM Transmission System. 55 The focus of PJM’s role on planning for the

         expansion of the transmission system it operates was confirmed in 2006, when PJM became a

         party to the CTOA, under provisions that remain in force today. 56


                 53
                      Monongahela Order at PP 30-31, 117 (rejecting arguments that PJM should plan EOL
         projects). See Initial Comments of American Municipal Power, Inc., Monongahela Power Co., Docket
         No. EL16-71-000 at 9-10 (October 25, 2016) (“As discussed below, as part of the PJM stakeholder
         process to address aging infrastructure[,] . . . it has become apparent that each TO has some process,
         documented or not, to determine which facilities are no longer economically efficient to maintain. There
         is no reason these processes cannot be documented and published and the resulting projects be
         categorized as baseline [PJM-planned RTEP] projects pursuant to either individual TO or PJM
         criteria. . . . AMP believes this goal can be achieved through modifications to the PJM Operating
         Agreement . . . .”) (emphasis added). See also LS Power at 26-30; Load Group at 16-19.
                 54
                      Transmittal Letter at 7-9.
                 55
                     PJM Interconnection, L.L.C., 81 FERC ¶ 61,257 at 62,236, 62,266, 62,275 (1997) (“November
         1997 Order”); see Atl. City Elec. Co., Filing of the PJM Supporting Companies, Docket No. ER97-3189,
         et al. at Attachment F, Transmission Owners Agreement dated as of June 2, 1997 at § 2.3.7 (“Original
         TOA”), Amended and Restated Operating Agreement Of PJM Interconnection, L.L.C., Schedule 6, § 1.1
         (filed June 2, 1997) (“This Regional Transmission Expansion Planning Protocol shall govern the process
         by which the Members shall rely upon the Office of the Interconnection to prepare a plan for the
         enhancement and expansion of the Transmission Facilities in order to meet the demands for firm
         transmission service in the PJM Control Area.”).
                 56
                   Transmittal Letter at 9 n.32. In approving the CTOA, the Commission noted, “the
         Consolidated TO Agreement largely tracks the [superseded] Agreements and will be beneficial to all
         market participants to the extent it provides a single articulation of the parties’ respective rights and
         obligations.” PJM Interconnection L.L.C. and the PJM Transmission Owners, 114 FERC ¶ 61, 283, at
         P 10 (2006). See also CTOA, § 9.22.



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                 The CTOA only transferred to PJM the responsibility to prepare a “Regional

         Transmission Expansion Plan.” 57 The RTEP is the plan “for the enhancement and expansion of

         the Transmission System in order to meet the demands for firm transmission service in the PJM

         Region.” 58 PJM accepted the responsibility to prepare the RTEP for that stated purpose,

         agreeing in the CTOA to “[c]onduct its planning for the expansion and enhancement of

         transmission facilities.” 59

                 This was a limited transfer of planning responsibilities. The Transmission Owners

         retained all other responsibilities relating to transmission planning and transmission asset

         management. The Transmission Owners specifically retained “the right to build, acquire, sell,

         dispose, retire, merge or otherwise transfer or convey all or any part of its assets, including any

         Transmission Facilities . . . .” 60 Each Transmission Owner also retained the responsibility to

         “physically operate and maintain all Transmission facilities that it owns.” 61 The right and

         responsibility to decide when a Transmission Facility must be “retire[d]” due to its age or

         condition, and to decide what to “build” in place of that facility, i.e., the right and responsibility

         to plan and implement EOL projects, thus remained with the Transmission Owners. 62 If there



                 57
                     CTOA, § 4.1.4 (emphasis added). See also id., at §§ 6.3.3 (PJM to administer the RTEP
         Protocol), 6.3.4 (PJM to “[c]onduct its planning for the expansion and enhancement of transmission
         facilities based on a planning horizon of at least ten years, or such longer period as may be required”)
                 58
                   Section 1.22 of the CTOA incorporates the definition of the RTEP from the Tariff. The quoted
         language is from Tariff § 1.37A (emphasis added).
                 59
                    CTOA, § 6.3.4 (emphasis added). In the California Orders the Commission clearly
         distinguished between transmission enhancement and asset management activities, including EOL
         planning, which does no more than incidentally increase transmission capacity. SCE Order at P 33;
         PG&E Order at P 68.
                 60
                      Original COA § 2.2.3 (emphasis added); CTOA, § 5.2.
                 61
                      Id., § 4.5
                  The only limitations on these rights to which the Transmission Owners agreed are to provide
                 62

         PJM with “reasonable advance notice” prior to permanently taking Transmission Facilities out of service,


                                                                  22
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         were any ambiguity on this score – which there is not – it is removed by section 5.6 of the

         CTOA, where each Transmission Owner expressly reserves for itself all “[r]ights not specifically

         transferred . . . to PJM pursuant to [the CTOA] or any other agreement . . . .” 63 The

         Transmission Owners’ CTOA counterparty, PJM, agrees. 64

                 As in the case of Supplemental Projects, the Transmission Owners’ contractual right to

         determine when, whether, and how to replace facilities that have reached the end of their useful

         lives carries with it the right to make Section 205 filings to govern how and when Transmission

         Owners receive stakeholder input, as well as measures to facilitate coordination of EOL Needs

         with PJM responsibilities. 65 That is precisely what the Proposed Revisions do. 66

                 The Commission’s rulings on the Transmission Owners’ retained planning and filing

         rights also dispose of LS Power’s arguments that the CTOA and Section 9 of the PJM Tariff do


         CTOA § 4.4, and coordinating planned outages, which would likely be necessary where a Transmission
         Facility is replaced. Id., § 4.8.
                 63
                   Id., § 5.6. (“Except as otherwise provided in this Agreement, each Party retains its rights
         pursuant to the Federal Power Act and the FERC’s rules and regulations thereunder.”). In an appeal from
         the November 1997 Order, the court of appeals ruled that when the Transmission Owners joined PJM
         “there was no transfer of ownership or even physical operation of their facilities . . . [and] each of the
         [transmission owners] retained both ownership and physical control of their facilities[.]” Atl. City Elec.
         Co., 295 F.3d at 6.
                 64
                    See, e.g., Transmittal Letter at Exhibit D. PJM recognizes that planning asset management
         projects and activities requires extensive knowledge about the material conditions of assets, the risks of
         failure and any mitigating factors, and local operational issues, and it is the Transmission Owners and not
         PJM that have the specialized knowledge of their systems and their customers needed to cost-effectively
         manage their assets. See id. at Exhibit C.
                 65
                    Monongahela Rehearing Order at P 14. See also CTOA, § 5.4 (“Except as otherwise provided
         in this Agreement, each Party retains its rights pursuant to the Federal Power Act and the FERC’s rules
         and regulations thereunder.”).
                 66
                    Nothing in the Proposed Revisions prevents PJM from fully exercising planning
         responsibilities under Schedule 6. See Load Group at 23 (asserting that the Proposed Revisions
         “prohibit[] PJM from complying with FERC Rules[,]” including Section 35.43(k)), 30 (asserting
         Transmission Owners “do not have a perpetual right to rebuild”; erroneously characterizing asset
         management and EOL activities as transmission expansions and enhancements subject to Section
         35.43(k)). As noted supra, at § II.C.3, the Proposed Revisions were carefully designed to govern only
         Transmission Owner planning activity.



                                                                 23
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         not grant the Transmissions Owners the right to file the Proposed Revisions. 67 Moreover, LS

         Power’s cramped reading of the court’s Atlantic City decision is also belied by the actual words

         the court used when it held that Commission public utilities retained the rights given to them by

         Congress: “Section 205(d) provides that a public utility may file changes to rates, charges,

         classification, or service at any time upon 60 days notice.” 68 That right is not limited to rates and

         rate design as LS Power alleges, but includes, as the Commission has explained, the right to file

         processes and procedures governing stakeholder input into the retained planning decisions

         regarding their assets. 69

                 LS Power and the Load Group try to distinguish “expansion” from “enhancement” in an

         effort to diminish the impact of the Commission’s Monongahela holding. 70 But that effort fails

         since in the PG&E Rehearing Order the Commission drew no distinctions between the two

         terms, regarding both as encompassing non-incidental increases in transmission capacity. The

         Commission added emphasis to both terms in quoting the Operating Agreement definition of

         Supplemental Project to point out that the definition “shows that activities that expand the grid

         are an element of the definition of Supplemental Projects.” 71 The Commission concluded that

         “replacements of assets” fall within its definition of asset management projects and accordingly




                 67
                      LS Power at 16-20.
                 68
                      Atl. City Elec. Co., 295 F. 3d at 10.
                 69
                    LS Power’s arguments that the Proposed Revisions do not fall within the Transmission Owners’
         rate design authority under CTOA § 7.3.1 are also undermined by its own (but incorrect) argument at 37-
         38 that the Proposed Revisions do have an impact on the cost allocation of Attachment M-3 Projects.
                 70
                      LS Power at 45; Load Group at 29-30.
                  PG&E Rehearing Order at P 58-59 (quoting Operating Agreement, OA Definitions S – T
                 71

         (“Supplemental Project”)).



                                                                 24
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         are not subject to Order No. 890’s transmission planning requirements, and thus remained with

         the transmission owners. This same distinction is reflected in the CTOA. 72

                           2.     The Attachment M-3 Order No. 890-Compliant Process Will Be
                                  Expanded to Cover Asset Management Projects, Including EOL
                                  Needs.

                 Attachment M-3, as approved by the Commission in the Monongahela Rehearing Order,

         establishes Order No. 890-compliant procedures for obtaining and considering stakeholder input

         into Transmission Owner planning of Supplemental Projects. 73 However, since asset

         management projects and activities do not expand or enhance Transmission Facilities,

         Attachment M-3 does not currently require Transmission Owners to apply the Attachment M-3

         stakeholder process to asset management projects and activities, including EOL Projects. 74 If the

         Commission accepts the Proposed Revisions, however, that would change.

                 The Proposed Revisions would apply the Order No. 890 template of

         assumptions/needs/potential solutions input and review to any Transmission Owner identified

         asset management need where the solution could have an impact on PJM’s modeling of the




                 72
                     CTOA, §§ 4.1.4, 6.34. See also Schedule 6, § 1.1. LS Power at 7 argues that because the PJM
         Markets and Reliability Committee “decisively passed” the PJM Manual 14B, which addresses EOL
         Need project planning, the PJM Transmission Owners are “attempt[ing] to change the rules in PJM
         related to PJM’s regional planning of Form No. 715 projects.” See id. at 28-32. But, manuals are not
         filed with the Commission and must yield to filed tariffs and Commission precedent. See Midwest Indep.
         Transmission Sys. Operator, Inc., 122 FERC ¶ 61,172, at P 490 (2008) (“To the extent the Business
         Practice Manuals contain greater detail than the tariff[,] . . . the greater detail supplements the tariff and
         does not override the tariff.”); PacifiCorp, 70 FERC ¶ 61,322 at 61,984-85 (1995) (holding that the
         region’s reliability council need not file documents that simply “recommend[ ]” operating practices, but
         must file those that require transmission procedures). Also, there is nothing in the Proposed Revisions
         that is inconsistent with Manual 14B. See supra at n.121.
                 73
                      Monongahela Rehearing Order at P 41.
                 74
                    Although not required to do so, many Transmission Owners already use the Attachment M-3
         process to obtain stakeholder input into asset management projects, including EOL Projects. When they
         do so, projects emerging from the process are included in the Local Plan as Supplemental Projects, even
         though such projects do not expand or enhance Transmission Facilities.



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         Transmission System, even though a potential solution to that need would not expand

         Transmission Facilities. This increase in transparency and opportunity for stakeholder input

         goes beyond what the Commission has required of transmission-owning public utilities whether

         part of an RTO or not, and beyond what the Commission has found to be a just and reasonable

         approach for receiving stakeholder input in asset management planning activities, such as

         Southern California Edison’s transmission maintenance and compliance review process. 75

                 The protests, however, largely ignore or belittle this significant expansion of

         transparency. There is little, if any, direct criticism of the overall impact of expanding

         Attachment M-3 to include certain asset management projects and activities. The protesting

         parties complain that they did not get everything they would prefer – full assumption by PJM of

         responsibility for EOL Project planning 76 – rather than concede the clear benefits of the

         Proposed Revisions.

                 The Proposed Revisions achieve this significant expansion of opportunities for

         meaningful stakeholder input into asset management project planning in a straight-forward and

         efficient manner. There are no changes to the procedures or processes set forth in Attachment

         M-3 (which the Commission previously approved). As can be seen from the marked version of

         the Proposed Revisions, there are very few changes to section (c) which constitutes the existing

         text of Attachment M-3. The only language changes proposed are those to expand its coverage

         and clarify three provisions. 77


                 75
                      SCE Order at P 40.
                 76
                      See, e.g., Load Group at 7, 20; LS Power at 43; Interested Parties at 8-10.
                 77
                    Each of the three clarifying changes facilitate stakeholder input and take nothing away from the
         existing requirements. Section (c)(1) will now specify that when the Transmission Expansion Advisory
         Committee considers Attachment M-3 projects, it is subject to Attachment M-3. Section (c)(5) adds a
         procedure to require posting of the projects selected in the Local Plan, thus clearly initiating a stakeholder
         comment period on the Solutions proposed to be included in the Local Plan, an improvement to the


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                 While failing to acknowledge the expansion of opportunities for meaningful stakeholder

         input under Attachment M-3, several protests did criticize some of the definitions utilized to

         achieve it. 78 Again, these criticisms have nothing to do with the Proposed Revisions and just

         represent the protestors’ preferred alternative. Both LS Power and the Load Group criticize the

         definition of “Asset Management Project” because that definition employs the approach the

         Commission took in the California Orders. 79 In other words, they do not claim the definition is

         inaccurate; rather, they assert that the California Orders are not applicable to PJM.

                 This claim is unfounded. There is no legal dispute that Order No. 890 applies to PJM,

         and the California Orders define the scope of Order No. 890. PJM agrees. 80 There is no factual

         dispute that the Transmission Owners, like the transmission owners in California Independent

         System Operator (“CAISO”), engage in “maintenance, compliance, work on infrastructure at the

         end-of-useful life, and infrastructure security . . . to maintain [their] existing electric transmission

         system[s] and meet regulatory compliance requirements.” 81 The California Orders are also clear

         that asset management includes replacing aging transmission facilities. 82 Moreover, as the

         protests concede, there is no question that the Transmission Owners, like their CAISO

         counterparts, engage in “replacement work to address an EOL Need.” 83 Finally, there is no


         current text. Section (c)(7) clarifies that Transmission Owners may use the Attachment M-3 process even
         if not required to do so to receive input, also improving the current text. The Load Group at 39 criticizes
         this third change, but its criticism is based on a misreading of the new language. It only addresses
         projects that are subject neither to Order No. 890 nor the expanded coverage of Attachment M-3, and
         does not expand Transmission Owner planning authority.
                 78
                      LS Power at 31, 39-43; Load Group at 24-30.
                 79
                      LS Power at 31, 39-43; Load Group at 24-30.
                 80
                      PJM ER20-2308 Comments at 3; Transmittal Letter Exhibits C, D and E.
                 81
                      SCE Order at P 32; PG&E Order at P 67.
                 82
                      SCE Order at P 33; PG&E Order at P 68.
                 83
                      Proposed Revisions, § (b)(i).



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         question that when asset management involves EOL replacement work where there is no need to

         expand transmission capacity, the replacement facilities could nonetheless result in an

         “incidental increase” in transmission capacity for various reasons (discussed below) that “is not

         reasonably severable from the asset management project or activity.” 84 Thus, efforts to

         distinguish the Commission’s words simply because they were written in the context of

         agreements and tariffs of the CAISO utilities must fail. The Commission’s words describing

         asset management projects and activities apply equally to AEP, PPL Electric or any other

         Transmission Owner, including AMP, ODEC and Silver Run Electric. 85

                 The Load Group complains that the definition of Asset Management Project is “virtually

         unlimited.” 86 Maintaining the performance, reliability and security of a complex transmission

         system with thousands of miles of lines and hundreds of substations inherently involves

         numerous activities and equipment, this fact has no practical impact on the operation of the

         Proposed Revisions. Thus, the operative provisions in section (c) apply only to “Attachment M-

         3 Projects” and only to Asset Management Projects that affect PJM modeling of the transmission

         system are included in this definition. 87 Attachment M-3 Projects are the types of projects that

         could have an impact on stakeholder needs or affect other pending projects in PJM and are

         appropriately included in the Attachment M-3 process.



                 84
                      Id.
                 85
                   Silver Run Electric, LLC, a corporate affiliate of LS Power, is the newest Transmission Owner
         in PJM. PJM Interconnection, L.L.C., Letter Order Accepting Revisions to the PJM Consolidated
         Transmission Owners Agreement for Silver Run Electric, LLC, Docket No. ER20-1132-000 (issued Apr.
         3, 2020).
                 86
                      Load Group at 2.
                 87
                    As noted in the Transmittal Letter at 13, in engineering terms, this is expressed as “projects that
         affect the connectivity of Transmission Facilities or significantly affect Transmission Facility ratings or
         impedance.”



                                                                  28
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                LS Power, while recognizing that the Attachment M-3 Project definition limits the scope

         of projects that must be planned under Attachment M-3, complains that the limiting language

         provides too much discretion since it will be determined by “individual Transmission Owners

         definitions” 88 and not determined by PJM uniformly. This complaint is groundless. First, the

         defining language, “projects that affect the connectivity of Transmission Facilities or

         significantly affect Transmission Facility ratings or impedance,” is uniform, applies to all

         Transmission Owners, and is not – as alleged by LS Power – confined to local zonal impacts.

         Moreover, under the California Orders, asset management projects are not subject to Order No.

         890’s transmission planning requirements, so any application of the definition language to

         exclude an asset management project cannot be unjust and unreasonable. If there is any concern

         that the definition Attachment M-3 Project will not be applied uniformly, stakeholders will have

         ample opportunity to raise those concerns given that under the Proposed Revisions Asset

         Management Projects will now be subject to stakeholder scrutiny under Attachment M-3.

                Protestors also attack the definition of “Incidental Increase” as too expansive or giving

         Transmission Owners too much discretion. 89 The Transmission Owners did not create that

         definition. It comes directly from the California Orders. 90 Again, these attacks are based upon

         the untenable assumption that there is one interpretation of Order No. 890 that applies in

         California and another interpretation, much more to the protestors’ liking, that applies in PJM.

         There is only one interpretation of Order No. 890 and it applies consistently to all public utilities.




                88
                     LS Power at 43; Load Group at 28-29.
                89
                     LS Power at 27-30; Load Group at 44-48.
                90
                     SCE Order at P 33; PG&E Order at P 68.



                                                               29
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         The plain language of the Proposed Revisions, however, demonstrates that the protestors’

         complaints about the definition of Incidental Increase are unfounded.

                Under the California Orders, Order No. 890 applies to projects that expand or enhance

         Transmission Facilities. In PJM that could be either a PJM-planned RTEP project or a

         Transmission Owner-planned Supplemental Project under Attachment M-3. Under the Proposed

         Revisions, the definition “Incidental Increase” serves one purpose: to distinguish the types of

         projects not formerly covered under Attachment M-3 from those already covered. The definition

         follows the California Orders’ finding that the broad category of “asset management project or

         activity” could include increases in transmission capacity: “[T]here may also be instances in

         which a [transmission owner’s] asset management project or activity may result in an increase in

         transmission capacity that is not incidental . . . .” 91 To distinguish activities subject to Order No.

         890’s transmission planning requirements from those that are not, the Commission noted that

         Order No. 890 was intended to address “undue discrimination in expansion of the transmission

         grid.” 92 However, under the Proposed Revisions, both projects that expand and enhance the grid

         and projects that do not are subject to Order No. 890-compliant procedures. Projects in the

         former group will be subject to Attachment M-3 as Supplemental Projects; those in the latter

         group will be subject to Attachment M-3 as Asset Management Projects. Thus, LS Power‘s and

         the Load Group’s complaints about the definition of “Incidental Increase” are pointless.

         Regardless of whether an asset management project results in an Incidental Increase in the

         capacity of the Transmission System, stakeholders will still be able to provide input into the

         planning of projects covered by the Proposed Revisions.



                91
                     Id. at P 69.
                92
                     Id. at P 66 (citing Order No. 890 at PP 57-58, 421-422) (emphasis omitted).



                                                                  30
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                 Even if the complaints about the definition of Incidental Increase made a material

         difference, those complaints are misplaced. First, whether one calls the description in the

         California Orders a definition of Incidental Increase or not, the definition in the Proposed

         Revisions comes directly from the identical paragraphs 33 of the SCE Order and 68 of the PG&E

         Order, and the 1940s aging transformer example these orders describe. If the protesters are

         concerned that the definition is too vague or open-ended, their problem is not with the Proposed

         Revisions, but with Commission precedents. 93

                         3.      The Attachment M-3 Amendments Will Improve Coordination
                                 Between EOL Needs and PJM Planning Under Schedule 6.

                 The Proposed Revisions substantially enhance transparency and coordination of EOL

         planning in PJM. As discussed in the Transmittal Letter, the Proposed Revisions require

         Transmission Owners to (1) document and annually present their EOL Planning Criteria,

         including such criteria applicable to projects that are not currently subject to Attachment M-3;

         (2) create for PJM a five-year projection of EOL Needs to facilitate PJM’s planning and

         anticipation of situations in which a PJM Planning Criteria Need and an EOL Need could be

         addressed by a single project; and, (3) where such situations that are identified, submit single

         project through the RTEP Planning process, including soliciting proposals under section 1.5.8 of

         Schedule 6 (i.e., PJM’s Order No. 1000 proposal window process). Finally, the Proposed

         Revisions impose on Transmission Owners the requirement to document any decision to proceed

         with an EOL Project 94 where PJM has selected a project through the RTEP Planning Process that


                 93
                    PJM agrees that the meaning of the words “incidental increase” from the California Orders are
         clear and can be applied in PJM. See PJM ER20-3208 Comments at 16-17; Transmittal Letter, Exhibit D
         at 7-8 and Exhibit E at 20.
                 94
                   In the case of an identified EOL Need of a Transmission Owner with a Form No 715 EOL
         Planning Criteria, the Transmission Owner must document its decision to propose that PJM plan a
         separate project to address that EOL Need. Proposed Revisions, § (d)(2)(iii).



                                                                31
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         PJM believes addresses the EOL Need. These enhancements to EOL planning transparency and

         coordination are not enough for some protestors; they want nothing less than a forced

         confiscation of the planning and ownership rights retained by the Transmission Owners’ when

         each joined PJM. 95 The Proposed Revisions, on the other hand, reflect the measured and lawful

         EOL planning approach suggested by PJM in the stakeholder process.

                Many EOL Needs can be addressed without requiring expansion or enhancement of

         Transmission Facilities and thus are not currently subject to Attachment M-3 since the resultant

         project would not be a Supplemental Project. Many of these EOL Needs will now be subject to

         Attachment M-3 under the Proposed Revisions. The first step in that Attachment M-3 process is

         the development, documentation and annual presentation of EOL Planning Criteria, 96 which

         normally occurs as part of the Attachment M-3 Assumptions Meeting process. 97 This

         implements PJM’s recommendations: “Annual presentation of the details of TO EOL Program

         promoting transparency and understanding.” 98 Several protestors complain, however, that the

         Transmission Owners will not be required to adopt uniform EOL Needs Planning Criteria 99 or

         that PJM will not be establishing the EOL Needs Planning Criteria. 100 As noted in the

         Transmittal Letter, it makes no sense to require uniform EOL Planning Criteria given that each

         Transmission Owner’s transmission system reflects differing customer requirements, engineering

         approaches and decisions, technical standards, economic judgments, risk assessments and



                95
                     See, e.g., LS Power at 16-24; Load Group at 11-16.
                96
                     Proposed Revisions, § (d)(1)(i), (ii).
                97
                     Attachment M-3, § 2. See Proposed Revisions, § (c)(2).
                98
                     Transmittal Letter, Exhibit E at 6.
                99
                     See e.g., Ohio FEA at 9-10; OCC at 12.
                100
                      See e.g., LS Power at 26-30; Load Group at 15.



                                                                 32
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         prioritizations, local needs, operating conditions, system designs and topologies that have driven

         its development over time. 101 What is new is that stakeholders will now be given an opportunity

         to review and comment on these differences. Since these criteria must be presented annually to

         stakeholders, the Proposed Revisions provide an important opportunity for stakeholders to

         provide their views on each Transmission Owner’s EOL planning criteria.

                 The second significant revision involves greater coordination with the RTEP Planning

         Process through the requirement that Transmission Owners provide PJM with a Candidate EOL

         Needs List. This is a five-year non-binding projection of each Transmission Owner’s EOL

         Needs identified under its documented Attachment M-3 EOL Planning Criteria. 102 Despite what

         several protestors’ desire, 103 Transmission Owners must be permitted to make updates and

         modifications to their EOL Candidate Needs List since numerous factors affect Transmission

         Owner asset management activities. These can include weather, materials condition,

         maintenance programs, work scheduling priorities and the timing and availability of capital.

         Making this list “binding,” as PJM pointed out, risks unnecessarily accelerating expenditure or,

         at worse, a “run-to-failure” scenario: “Transmission Owners also need the flexibility to both

         expedite replacement projects to avoid run-to-failure scenarios and to delay replacement projects

         when condition assessments indicate that the continued operation of the facilities can be done

         without jeopardizing reliability.” 104 Nor is there any benefit to PJM of a projection of more than

         five years. As PJM informed stakeholders, “requiring each Transmission Owner to provide

         advance notice of its potential end of life facilities (i.e., “candidates”) five years forward at the


                 101
                       Transmittal Letter, Exhibit E at 17.
                 102
                       Id. at 17-18; Proposed Revisions, § (d)(1)(iii).
                 103
                       See, e.g., LS Power at 53; NJBPU at 8-9; Load Group at 39.
                 104
                       Transmittal Letter, Exhibit D at 5-6.



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         start of an annual RTEP cycle is appropriate because it aligns with PJM’s planning process.” 105

         Although some protestors prefer to see a longer projection of EOL Needs, 106 PJM made it clear

         that “[t]here is little value to PJM to attempt to identify end of life facilities ten years forward

         because of the uncertainty of any determination made that far ahead and, such an advance notice

         would not be utilized in PJM’s five-year forward planning process.” 107

                 Several protestors object to the provision limiting the availability of the Candidate EOL

         List to PJM. 108 These objections are without merit. First, the purpose of the list is to provide

         PJM with information to identify possible overlaps with PJM Planning Criteria Needs, such as a

         reliability or economic project. It is not intended to be a forecast of Transmission Owner

         spending on EOL Projects. Indeed, it cannot be such a forecast because, until the EOL Needs are

         identified and reviewed with stakeholders through Attachment M-3, a Transmission Owner

         cannot identify the solutions to those needs, let alone their costs. Moreover, because of the

         nature of the determination of potential EOL Needs five years in the future, the Candidate EOL

         List is inherently uncertain and subject to change based on unforeseen events and the success or

         lack thereof of maintenance programs. In addition, the precise timing of the replacement of a

         transmission line or transformer depends on a Transmission Owner’s capital budgets, resource

         availability and synergistic efficiencies in scheduling work. 109



                 105
                       Id., Exhibit D at 5.
                 106
                       LS Power at 11 n.29.
                 107
                       Transmittal Letter, Exhibit D at 5.
                 108
                    See, e.g., NJBPU at 7-8; LS Power at 52. Contrary to LS Power’s unsupported assertions,
         nothing in the Proposed Revisions limits state commission access to information from Transmission
         Owners within their respective jurisdictions. See infra Section II.C.8.
                 109
                     Transmission outages are often required to replace a transmission line or other equipment.
         These must be coordinated with PJM. CTOA, § 4.8. Moreover, transmission outages are market
         sensitive information and are posted on OASIS only after formal notice is provided. Id., § 4.8.6.



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                 Second, these complaints ignore the fact the Proposed Revisions require Transmission

         Owners to identify specific EOL Needs at the “Needs Meeting” stage of the Attachment M-3

         process. All the information stakeholders need to participate in Order No. 890-compliant

         transmission planning will be provided to them when a Transmission Owner presents the EOL

         Need at the Needs Meeting under the Attachment M-3 process. 110 Stakeholders will be

         presented with the EOL Need based on the Attachment M-3 EOL Planning Criteria presented at

         the Assumptions Meeting. Under Attachment M-3, they will have a full opportunity to submit

         comments and identify related transmission needs for Transmission Owner consideration. This

         will occur before a proposed solution is presented at the Solutions Meeting.

                 Protestors’ arguments against the confidentiality of the Candidate EOL Needs List are

         also inconsistent with the Commission-approved process under Attachment M-3 that

         transmission needs not be identified before Transmission Owners receive comments first on the

         criteria, assumptions, methodology, and models that will be used to identify transmission needs

         at the Need Meeting. Under the Proposed Revisions the Attachment M-3 framework will govern

         the development of EOL Needs to which Solutions are proposed.

                 In the event that PJM identifies a possible overlap between an EOL Need on the

         Candidate EOL Needs List and PJM Planning Criteria Needs 111 before that EOL Need is

         presented at the Attachment M-3 Needs Meeting, stakeholders will be apprised of the EOL Need



                 110
                    The Ohio FEA at 11-12 is concerned that Transmission Owners can prevent PJM from
         identifying an overlap project by objecting to its inclusion. There is no such right built into the Proposed
         Revisions. See Ohio FEA at 11-12. While the contents of the Candidate EOL Needs List can vary as
         EOL Needs are reexamined and updated, if an EOL Need is on the list, it will be available to PJM to
         determine if could be addressed by an overlap project. While Transmission Owners are required to
         consult with PJM, there is no veto over selection of confirmed EOL Need for inclusion in an overlap
         project.
                 111
                       See Proposed Revisions, § (d)(2), discussed supra, at section II.B.3.



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         at the same time as the overlapping PJM Planning Criteria Need is identified to stakeholders

         under the RTEP Planning procedures set out in Schedule 6 of the Operating Agreement. The

         overlap need will be subject to all of the Order No. 890 and Order No. 1000-compliant planning

         rules and procedures under Schedule 6, including where appropriate, the opening of a proposal

         window.

                 The Proposed Revisions thus present a transparent process, fully compliant with Order

         No. 890 for EOL Needs and other asset management needs even though Order No. 890’s

         transmission planning requirements do not apply to asset management projects and activities.

         Indeed, the disclosure that will occur with respect to EOL Needs and other asset management

         needs not only goes far beyond anything required by Order No. 890, but also exceeds anything

         approved by the Commission in other regions, when submitted on a voluntary basis. 112 The

         protestors have identified no requirement or need for additional disclosure of tentative EOL

         Needs years in advance, particularly given the confidentiality concerns underlying the EOL Need

         projections.

                 LS Power complains that the definition of “EOL Need” is too vague in that it gives the

         transmission owner too much discretion to determine when a facility it owns and maintains needs

         replacement. 113 LS Power is again complaining about a fact it would prefer to ignore: each

         Transmission Owner, including LS Power’s affiliate Silver Run Electric, has retained in section

         5.2 of the CTOA the right and responsibility to decide when to retire its facilities, subject to




                 112
                     See SCE Order at P 40. Since there is no need to disclose the Candidate EOL Needs List,
         there is no reason to consider disclosure under either Critical Energy Infrastructure Information or non-
         disclosure agreement protections.
                 113
                       LS Power at 50-51.



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         reasonable notice to PJM. 114 LS Power’s claim that the Good Utility Practice standard is absent

         from the definition ignores the obligation that each Transmission Owner assumed in section 4.5

         of the CTOA to operate and maintain its Transmission Facilities in accordance with applicable

         reliability standards and Good Utility Practice. 115 Moreover, the definition employs the term,

         “end of its useful life.” That is not an accounting term, but rather the term used by the

         Commission to describe asset management activities that apply to decisions driven by physical

         condition. 116

                 LS Power’s concerns with the limitation of EOL Needs to transmission lines and

         transformers not connected to distribution 117 misapprehends Zonal transmission planning. Under

         the Proposed Revisions, EOL Needs are defined as “a need to replace a transmission line

         between breakers operating at or above 100 kV or a transformer, the high side of which operates

         at or above 100 kV and the low side of which is not connected to distribution facilities, which the

         Transmission Owner has determined to be near the end of its useful life, the replacement of

         which would be an Attachment M-3 Project.” 118 This definition reflects substantial experience

         and practicality regarding the types of facilities likely to be addressed by an overlap with a PJM

         Planning Criteria Need. Contrary to LS Power’s insinuations, they are not a “back door” ROFR

         or an attempt to expand the exemption from competition of substation equipment in section

         1.5.8(p) of Schedule 6. For example, it is highly unlikely that a Transmission Owner would be

         able to retire a transformer connected to end-users it is required to serve in favor of some other



                 114
                       See CTOA, § 4.4.
                 115
                       Original TOA, §§ 2.3.3, 4.5 (emphasis added).
                 116
                       SCE Order at PP 32-33.
                 117
                       LS Power at 48.
                 118
                       Proposed Revisions, § (b)(5).



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         project identified by PJM in response to its planning criteria. Of course, under the Proposed

         Revisions any issues LS Power has with how a Transmission Owner is determining an “EOL

         Need” can be raised when the Transmission Owner presents its Attachment M-3 EOL Planning

         Criteria to stakeholders at the annual Attachment M-3 Assumptions Meeting – another one of the

         improvements in the EOL planning process included in the Proposed Revisions. 119

                 Finally, once PJM selects a RTEP project (a “Required Transmission Enhancement”) to

         address both an EOL Need and a PJM Planning Criteria Need, the Transmission Owner that

         identified the EOL Need will not plan an Attachment M-3 Project to address that need unless its

         determines that the RTEP project will not address that need. 120 But first, the Transmission

         Owner must present documentation to PJM and stakeholders on the reasons why it has decided

         that the EOL Need is not addressed. 121 Under the CTOA, Transmission Owners are responsible

         for maintaining their transmission facilities in accordance with Good Utility Practice. 122

         Transmission Owners also bear primary responsibility for providing safe and reliable service to

         end-use customers in their Zones, as well as liability that could arise from equipment failure.

         This is not a responsibility that has been, or should be, transferred to PJM. Notwithstanding LS




                 119
                     See Proposed Revisions, § (c). Both the Load Group and LS Power claim that certain
         definitions are unnecessary or duplicative. However, these definitions apply to the additions to
         Attachment M-3 to be added by the Proposed Revisions and contrary to LS Power at 39, duplicate no
         other definitions in the PJM Tariff or Operating Agreement, except in the case of “Transmission
         Facilities,” which, given that Attachment M-3 applies to Transmission Owner planning, appropriately
         refers to the CTOA definition.
                 120
                    See Proposed Revisions, § (d)(2). If the EOL Need was identified pursuant a Transmission
         Owner’s Form No. 715 EOL Planning Criteria, the Transmission Owner will not plan the project to
         address that need, but it may request PJM plan a separate project to address that need.
                   See Proposed Revisions, § (d)(2)(ii). This process is comparable to that set out in PJM Manual
                 121

         14B. See Transmittal Letter at 19 (citing PJM Manual 14B, § 1.4.2.2).
                 122
                       CTOA, § 4.5.



                                                               38
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         Power’s objection, 123 since Transmission Owners bear this responsibility, it is reasonable for

         Transmission Owners to retain the ability to fulfil their obligations to their customers and state

         commissions. 124 However, it also is reasonable, as provided in the Proposed Revisions, for

         Transmission Owners to document and explain their decisions to PJM and stakeholders in the

         interest of greater transparency.

                 C.         The Attachment M-3 Amendments Make No Changes to PJM Planning
                            Responsibility or Processes, Cost Allocation or the Recovery of Transmission
                            Costs

                 Protestors make numerous claims that the Proposed Revisions will cause a laundry list of

         harms to the stakeholder process and PJM transmission planning. 125 These claims are all

         specious. Although some of the protestors’ “parade of horribles” appear to result from a

         misreading of the Proposed Revisions, most appear grounded in the protestors’ preference for

         PJM to assume these planning responsibilities. 126 As explained above, this is not a valid

         objection, since the Commission must judge the Proposed Revisions on their own merits, not in

         comparison to another proposal. 127 The Proposed Revisions are carefully crafted to “stay in the

         Transmission Owners’ lane” and not alter or interfere with PJM’s ability to carry out its planning

         responsibilities. Protestors’ major claims regarding the alleged harms caused by the Proposed

         Revisions are addressed and rebutted below.




                 123
                       LS Power at 16, 26.
                 124
                     A Transmission Owner’s decision to proceed with an EOL project is, of course, still subject to
         any applicable state siting requirements and a prudency challenge at the time it seeks to recover the costs
         of the project.
                 125
                       See, e.g., LS Power at 7, 15, 18, 19-20; Load Group at 15-16, 21-24; Ohio FEA 7-12.
                 126
                       See e.g., Load Group at 21; LS Power at 43.
                 127
                       See supra section II.A.2.



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                            1.      There Is No Reduction to the Level Of Stakeholder Participation.

                 Several of the protestors claim that the Proposed Revisions would reduce the level of

         stakeholder input into the planning of projects to address EOL Needs. 128 In fact, the opposite is

         true. Nothing in the Proposed Revisions limits or reduces stakeholder opportunities for input. 129

         To the contrary, the Proposed Revisions extend the Order No. 890-compliant provisions of

         Attachment M-3 to Asset Management Projects, including annual review of Transmission

         Owners’ EOL criteria. 130 Additionally, stakeholders will have opportunities for input into the

         planning of projects that address both a Transmission Owner EOL Need and a PJM Planning

         Criteria Need, as these “overlap projects” are submitted for review under Schedule 6 of the

         Operating Agreement by the TEAC or relevant Subregional RTEP Committee. 131 Since

         opportunities for stakeholder input under Attachment M-3 in its current form are just and

         reasonable, the expansion of those opportunities under the Proposed Revisions is also just and

         reasonable.




                 128
                       See NJBPU at 4-5; Load Group at 15-16; LS Power at 58-60. Cf. Ohio FEA at 8-12.
                 129
                    The NJBPU at 9 complains about the notice and minimum ten-day period added to the
         Attachment M-3 procedure permit stakeholders to comment on the Local Plan before the ten-day period
         for the Transmission Owner to consider comments on the selected Solutions. Prior to this addition, there
         was no provision for any notice to stakeholders when the comment period on the Local Plan began or any
         minimum period for submitting comments. Moreover, the ten-day period is consistent with the other
         minimum comment periods the Commission approved in Attachment M-3. The Commission found that
         the comments periods included in Attachment M-3 were “appropriately calibrated, given the PJM
         Transmission Owners’ stated objective of aligning the Supplemental Projects planning process with
         PJM’s RTEP process.” Monongahela Rehearing Order at P 46.
                 130
                       Proposed Revisions, §§ (b)(1), (2), (d)(1)(i).
                 131
                       See Operating Agreement, Schedule 6, § 1.3.



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                             2.      There Is No Change In The Ability of Stakeholders To Question The
                                     Need For An EOL Project or To Challenge Its Prudence.

                  A primary focus of numerous protests appears to be on controlling the overall costs of

         EOL projects. 132 Nothing in the Proposed Revisions will alter, let alone diminish, appropriate

         opportunities to question the costs or necessity of any specific EOL project. Indeed, if anything

         they will increase those opportunities since EOL projects will now be considered under

         Attachment M-3 regardless of whether those projects expand or enhance Transmission

         Facilities. 133

                  As discussed above, generalized concerns about the cost of replacing aging infrastructure

         are outside the scope of specific planning procedure proposals under Order No. 890 and

         containing transmission costs is not an appropriate goal of the PJM planning process. 134 The

         protestors here make the very same claims that the Commission rejected in the California

         Orders. 135 There the Commission held that “concern about self-interest as a cause of imprudent

         investment” were not the subject of the Order No. 890 planning requirements:




                  132
                        Load Group at 24, 32; Ohio FEA at 9-13; OCC at 7-8, 11-12; Interested Parties at 16-17; NJBPU
         at 3.
                  133
                        See supra § II.B.2,3.
                  134
                        See supra § II.A.3. Also, as discussed above the generalized concerns raised are without merit.
                  135
                     PG&E Rehearing Order at P 34 (highlighting that complainants did not focus on planning that
         optimizes the non-discriminatory transmission access of customers, “but rather on what Complainants
         view as the potential for self-interested conduct that accompanies ‘investing billions of dollars annually in
         [asset management projects] with no opportunity for third party review of the cost and need for the
         projects’”).



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                In Order No. 890, the Commission stated that . . . “the planning obligations
                included in [Order No. 890] do not address whether or how investments identified
                in a transmission plan should be compensated.” Complainants’ concerns focus
                directly on compensation in rates for investments that the Commission stipulated is
                not part of the transmission planning process and therefore is not encompassed by
                the requirement set forth in section 28.2 of the pro forma OATT that transmission
                providers plan for network customer needs. 136

         The Commission similarly rejected the claims that prudency concerns are relevant in approving

         the planning of CIP-014-02 mitigation facilities under Attachment M-4. 137

                The primary and most appropriate forum to raise concerns about the prudence of

         transmission investment is the formula rate proceeding or Section 205 cost recovery filing of an

         individual Transmission Owner, not the Attachment M-3 planning process. Each of the

         Transmission Owner formula rate protocols included in Attachment H of the PJM Tariff

         expressly incorporates prudence matters into the review of formula rate updates and provides

         opportunities for customers and other interested parties to seek information relevant to prudency

         from the Transmission Owner. 138 Alternatively, if a Transmission Owner has in place a stated

         rate for Network Integrated Transmission Service, no costs of a replacement facility may be

         recovered without a Section 205 filing. PJM has no role in approving transmission investment

         outside the RTEP Planning Process and stakeholder efforts to reinterpret the Attachment M-3

         process as a preliminary prudency review are misguided. Thus, concerns raised about excessive

         spending on Transmission Facility replacement are beyond the scope of this proceeding and are

         “better addressed elsewhere.” 139



                136
                      Id. (footnotes omitted), quoting Order No. 890 at P 438.
                137
                      Appalachian Power Order at P 62.
                138
                     See, e.g., PJM Tariff, Attachment H-8H, §§ V(D)(f), VI(A)(1)(h),(i); Attachment H-28B,
         §§ III(A)(5), IV(C)(1)(c)(v), (D)(3).
                139
                      Order No. 890 at P 453.



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                 However, even if the cost of asset management activities were an issue in this

         proceeding, protestors cannot show that the Proposed Revisions do anything to diminish their

         opportunities to raise those concerns. Stakeholders will have at least the same opportunity they

         had before to raise the need for a project at the Attachment M-3 Needs meeting and to challenge

         whether a proposed solution addresses a need at the Solutions meeting. Nothing in the Proposed

         Revisions curtails those opportunities and protestors fail to point to any specific provision that

         does.

                           3.      The Proposed Revisions Provide No Veto Or Delaying Power Over
                                   PJM Planning Decisions.

                 LS Power misreads section (d)(2)(ii) of the Proposed Revisions as giving a Transmission

         Owner the ability to prevent PJM from moving forward with an RTEP project designed to

         address both an EOL Need and a PJM Planning Criteria Need. 140 This provision does nothing of

         the sort. As discussed above, section (d)(2)(ii) only establishes a requirement that a

         Transmission Owner document why it has determined it must go ahead with an EOL project (or,

         if the Transmission Owner has EOL criteria in its Form No. 715, propose one to PJM). Such a

         determination by a Transmission Owner would not prevent PJM from proceeding with the

         transmission enhancement that it selected. Section (d)(2)(ii) simply imposes on a Transmission

         Owner that decides to move forward with a project to address an EOL need a requirement to

         explain its decision, nothing more. The burden would be on the Transmission Owner, not PJM,

         to explain why it has concluded that an EOL Project is needed in addition to the transmission

         enhancement PJM has selected.          And in no case can the Transmission Owner stop PJM from

         proceeding with the RTEP project. This increases transparency and, like all other provisions in



                 140
                       LS Power at 16, 26-27.



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         the Proposed Revisions, its reach is confined to the Transmission Owners. It imposes no

         obligations or limitations on PJM.

                            4.       There Is No Change to Form No. 715 Project Planning.

                Protestors also assert that the Proposed Revisions modify the Form 715 criteria planning

         process, 141 even though section (a)(2) expressly acknowledges that Form 715 planning has been

         transferred to PJM. In order to improve transparency, the Proposed Revisions do impose certain

         obligations on Transmission Owners with Form No. 715 EOL Planning Criteria. These include

         the obligation to document such criteria and present them to stakeholders annually, 142 and to

         provide PJM with a Candidate EOL Needs List. 143 Finally, if a Form No. 715 Transmission

         Owner believes that an overlap project selected by PJM does not address its identified EOL

         Need, it may propose, but not plan, a separate project addressing that need. This last provision

         does not change PJM’s planning responsibilities with respect to Form No. 715 planning criteria,

         nor do any of the other sections of the Proposed Revisions that create new Transmission Owner

         obligations.

                            5.       There Is No Change in the Schedule 12 Cost Allocation Rules.

                Several protesters assert that the Proposed Revisions would have an impact on the

         allocation of cost responsibility for EOL Projects. 144 This assertion is incorrect. There is

         nothing in the Proposed Revisions that changes existing cost allocation rules in Schedule 12 of

         the PJM Tariff. Neither the costs of Supplemental Projects nor the costs of Asset Management

         Projects are allocated under Schedule 12. Thus, those projects are not currently selected in the


                141
                      NJBPU at 14-15; Load Group at 1, 39; LS Power at 51-52, 62.
                142
                      Proposed Revisions, § (d)(1)(i), (ii).
                143
                      Id., § (d)(1)(iii).
                144
                      See, e.g., NJBPU at 10-15; LS Power at 32-38; OCC at 13-16.



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         regional plan for purposes of cost allocation. The costs of Supplemental Projects will continue to

         be assigned to the zone of the constructing Transmission Owner. 145 The costs of EOL Projects

         that are not included in the RTEP will continue to be assigned to the zone of the loads

         responsible for the facilities being replaced. 146 An EOL Need that is addressed by an overlap

         project will be subject to the cost allocation rules applicable to the PJM Planning Criteria Need

         that the project satisfies. This is not a change in the cost allocation rules, but a correct

         application of the existing provisions of Schedule 12 in circumstances where a separate EOL

         project will be not be constructed. As the Commission held in Approving Attachment M-4,

         since no change is proposed to the currently effective cost allocation methodology, claims

         regarding the cost allocation of Attachment M-3 Projects are beyond the scope of this

         proceeding. 147

                 LS Power cites the recent decision of the court of appeals in Old Dominion Electric

         Cooperative v. FERC 148 to argue that the costs of certain Supplemental Projects and EOL

         Projects should be allocated under Schedule 12 just because they are similar to the projects

         planned by PJM in response to Form No. 715 Transmission Owner planning criteria. 149 These

         contentions are similarly beyond the scope of this proceeding. 150 Form No. 715 projects are


                 145
                       PJM Tariff, Schedule 12, § (a)(3).
                 146
                       Id., § (b)(xiii).
                 147
                       Appalachian Power Order at P 61.
                 148
                       898 F.3d 1254 (D.C. Cir.), reh’g denied, 905 F.3d 671 (D.C. Cir. 2018) (“ODEC”).
                 149
                       LS Power at 36-38.
                 150
                     Moreover, LS Power is incorrect in asserting that the Proposed Revisions create “multiple new
         categories of projects.” LS Power at 38. While the Proposed Revisions do employ some new descriptive
         definitions, the activities described, EOL projects and other asset management projects and activities,
         have been the mainstay of public utility maintenance since the beginning of the industry. The
         Transmission Owners also take issue with LS Power’s conjecture that the cost allocation rules for
         Supplemental Projects were intended to be purely local and of little consequence. Those rules, which
         have been in place in one form or another since the formation of PJM as an independent entity, are based


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         planned by PJM and the Commission ruled that projects proposed in response to Form No. 715

         planning criteria are included in the RTEP and thus subject to the cost allocation rules of

         Schedule 12. 151 Nothing in the Proposed Revisions changes this. EOL Projects and

         Supplemental Projects planned by individual Transmission Owners were not at issue in ODEC

         and are not included in the RTEP, except for informational purposes.

                           6.      There is No Right of First Refusal

                Several protestors are concerned that the Proposed Revisions would limit opportunities

         for Order No. 1000 proposal window project solicitation under section 1.5.8(c) of Schedule 6. 152

         LS Power believes that the Proposed Revisions are a backdoor attempt to restore a ROFR for

         incumbent Transmission Owners prohibited by Order No. 1000. LS Power’s concerns are

         unjustified, notwithstanding their repetition. 153 The Proposed Revisions expand, not contract,

         opportunities for non-incumbent participation in the RTEP.

                LS Power starts by claiming that the applicability section of the Proposed Revisions is a

         ROFR. 154 However, as discussed below, that section simply describes the transmission

         expansion and enhancement planning responsibilities that PJM and the Transmission Owners

         agree have been transferred to PJM. 155 Contrary to LS Power’s view, the phrase in the Operating

         Agreement definition of Supplemental Project, “pursuant to a determination by the Office of the

         Interconnection,” is not a general delegation to PJM to expand its planning authority beyond



         not on geography or consequence, but on who does the planning, PJM or the Transmission Owner, and
         are consistent with Order No. 1000. Order No. 1000 at P 564.
                151
                      PJM Interconnection, L.L.C., 171 FERC ¶ 61,013, at P 40 (2020).
                152
                      See, e.g., NJBPU at 2-3; Interested Parties at 17-18; OCC at 16.
                153
                      See LS Power at 6, 13-14, 33-36, 48, 53-54.
                154
                      LS Power at 14-16.
                155
                      See Transmittal Letter, Exhibit D at 4-8; supra section II.B.1.



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         what was transferred under the CTOA, but rather it is a simple reference to the fact that the

         Operating Agreement describes the process under which PJM fulfills the planning

         responsibilities that the Transmission Owners transferred to it in the CTOA. The listing in

         section (a) of the planning responsibilities that were not transferred, but were retained by the

         Transmission Owners, in no way constitutes a ROFR to build an expansion or enhancement that

         PJM determines to be needed to satisfy its RTEP planning criteria. Nor do the Proposed

         Revisions impose a ROFR on the planning of expansions and enhancements to address

         “operational performance.” 156 Such projects have always been considered Reliability Projects

         planned by PJM, as confirmed by Schedule 12 of the PJM Tariff, which assigns the costs of

         operational performance projects as Reliability Projects. 157 Nothing in the Proposed Revisions

         gives the Transmission Owners a ROFR for such projects.

                LS Power also claims that the definition of Attachment M-3 Project is a ROFR because

         its third clause covers any expansion or enhancement of Transmission Facilities that PJM does

         not plan. 158 Yet this provision does nothing more than clarify that any Transmission Owner-

         planned project that expands or enhances Transmission Facilities will be subject to Attachment

         M-3. This is not a ROFR; it simply reinforces the Transmission Owners’ commitment that when

         they plan expansions or enhancements, they do so in compliance with Order No. 890, as the

         Commission required. 159



                156
                      LS Power at 14-15.
                157
                      PJM Tariff, Schedule 12, § (b)(i)(A)(2)(a).
                158
                      LS Power at 15.
                159
                    Monongahela Power Co., 156 FERC ¶ 61,134, at P 15 (2016). Section II.C.4, supra,
         addressed LS Power’s blatant mischaracterization of the Proposed Revisions, § (a)(2). The Proposed
         Revisions assign additional transparency and coordination obligations to Transmission Owners with Form
         No. 715 EOL Planning Criteria, but make no change to PJM’s planning responsibilities for planning Form
         No. 715 projects. Section II.C.3, supra, corrected LS Power’s mischaracterization of the Proposed


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                 LS Power’s next ROFR claim is based on its view that since Form 715 Projects and

         Supplemental Projects could have similar regional benefits, under Order No. 1000 there should

         be no ROFR applicable to Supplemental Projects. 160 This argument, too, is wrong. LS Power

         misquotes Order No. 1000. Paragraph 313 of Order No. 1000 bans ROFRs for projects “selected

         in a regional transmission plan for purposes of cost allocation.” Supplemental Projects are not

         selected in the regional plan for purposes of cost allocation, 161 but rather their costs are assigned

         to the zone of the constructing Transmission Owner. While Form No. 715 Projects are planned

         by PJM and selected in the RTEP, the Commission has already decided that Transmission

         Owners retain planning responsibility for Supplemental Projects, 162 and nothing in the Proposed

         Revisions changes that. The definition of Attachment M-3 Projects does expand the coverage of

         Attachment M-3 to include Asset Management Projects, but these projects are not and never

         have been subject to Order Nos. 890’s and 1000’s transmission planning requirements. Nor are

         they selected in the regional plan for purposes of cost allocation, and thus, they cannot be subject

         to Order No. 1000’s requirement to eliminate a federal ROFR.




         Revisions, § (d)(2)(ii) as a veto power over PJM RTEP overlap projects. To reiterate, nothing in the
         Proposed Revisions gives a Transmission Owner the power to veto a PJM-planned RTEP project.
                 160
                    LS Power at 34-35; see also id. at 55-58 (arguing that the Proposed Revisions “elevates local
         planning over regional planning,” contrary to Order No. 1000).
                 161
                     Contrary to LS Power at 55-57, planning responsibility in PJM is not based on geographic
         impact, but on whether planning responsibility has been transferred to PJM or retained by the Transmission
         Owners, see supra, section II.B.1. LS Power’s characterization of recent Commission seminal orders as a
         “steady march toward regional planning,” LS Power at 55, ignores the Commission’s post-Order No. 1000
         determinations in the California Orders that Order No. 890 does not extend to asset management projects
         and activities and in Monongahela Power Co. that the Transmission Owners retain responsibility for
         planning Supplemental Projects.
                 162
                       See supra at II.B.1.



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                 LS Power next claims that the Proposed Revisions create a ROFR by permitting

         Transmission Owners to veto project selection. 163 Not only does LS Power not cite the specific

         sections of the Proposed Revisions that create this “veto” power, but also it fails to explain how a

         ROFR (the right to build a project) can be a right to prevent a project from being built. It also

         wrongly asserts that the Transmission Owners gave themselves a blanket ROFR over Public

         Policy Projects. 164 Again, no such ROFR exists. As LS Power recognized, PJM includes public

         policy in all of its RTEP project planning. 165 Where public policy is the sole project driver, it is

         addressed either through a Transmission Owner-planned Supplemental Project or a State

         Agreement Approach project. 166 The latter is specifically referenced in the Operating Agreement

         definition of “Supplemental Project” and section (a)(4) of the Proposed Revisions. 167

                 In sum, the Proposed Revisions create no ROFR and seek no change to PJM’s Order

         No. 1000 proposal window project selection rules, except to the extent that they expand

         opportunities to solicit project proposals where in PJM’s judgment an EOL Needs project may




                 163
                       LS Power at 33.
                 164
                       Id. at 23.
                 165
                      Id. See PJM Interconnection L.L.C., 142 FERC ¶ 61,214 at PP 109-12 (2013) (“By
         incorporating public policy requirements and initiatives at the assumptions stage of the RTEP process and
         as part of its enhancement and expansion studies, PJM considers how public policy requirements and
         initiatives contribute to transmission system needs.”); see, e.g., Operating Agreement, Schedule 6,
         § 1.4(a) (“The Regional Transmission Expansion Plan shall consolidate the transmission needs of the
         region into a single plan which is assessed on the bases of . . . and (iv) considering federal and state Public
         Policy Requirements.”). LS Power’s assertion without any reference that “there is a live issue about
         whether public policy planning is working in PJM,” LS Power at 23, is beyond the scope of this
         proceeding.
                 166
                       Operating Agreement, Schedule 6, § 1.5.9(a).
                 167
                    LS Power also claims that Multi-Driver Projects have been excluded from section (a) of the
         Proposed Revisions. LS Power at 24. Multi-Driver Projects, which are planned by PJM under section
         1.5.10 of Schedule 6, must include at least two of PJM’s exiting project drivers, e.g., reliability and
         economic, and are thus already covered by section (a). Further, the definition of “Supplemental Project”
         under the Operating Agreement does not include Multi-Driver Projects.



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         also be addressed by a project addressing a PJM Planning Criteria Need. 168 Where PJM

         identifies such an overlap, non-incumbents will have the opportunity, consistent with section

         1.5.8 of Schedule 6, to submit proposals to address the overlapping need.

                           7.      There Is No Change in the Applicability of Attachment M-3 to
                                   Supplemental Projects.

                LS Power claims that the definition of Attachment M-3 Project in the Proposed Revisions

         limits the type of Supplemental Projects that are covered by Attachment M-3. 169 LS Power

         simply misreads the definition. The relevant text of the definition reproduced below shows that

         only Asset Management Projects are so limited:

                “Attachment M-3 Project” means (i) an Asset Management Project that affects the
                connectivity of Transmission Facilities that are included in the Transmission
                System, affects Transmission Facility ratings or significantly changes the
                impedance of Transmission Facilities; (ii) a Supplemental Project; or (iii) any other
                expansion or enhancement of Transmission Facilities that is not excluded from this
                Attachment M-3 under any of clauses (1) through (5) of section (a). 170

         All Supplemental Projects remain covered by Attachment M-3.

                           8.      There Is No Change to the Authority of State Commissions or Their
                                   Access to Transmission Owner Planning Data.

                Protests by parties representing state commissions and state consumer advocates object

         that the Candidate EOL Needs List and other EOL planning information is not explicitly made

         available to state commissions. 171 Nothing in the Proposed Revisions affects state agency access



                168
                   LS Power at 9 also attacked the PJM proposal presented in the recent stakeholder process as
         creating more Immediate Need Reliability Projects. Regardless of the merits of that attack, the
         Commission should be assured that nothing in the Proposed Revisions has any impact on the creation of
         Immediate Need projects nor are they affected by the Immediate Need project reforms recently ordered
         by the Commission, since they make no changes in any PJM planning under Schedule 6. See PJM
         Interconnection, L.L.C., 171 FERC ¶ 61,212 (2020).
                169
                      LS Power at 43.
                170
                      Proposed Revisions, § (b)(2).
                171
                      NJBPU at 8-9; Protest at 9-11; OCC at 8-11.



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         to information regarding their jurisdictional Transmission Owners. Moreover, the Transmission

         Owners remain committed to fulfilling any and all obligations that exist under local laws and

         regulations for providing such asset management data to state commissions and siting agencies.

         The PJM Tariff, however, is not the appropriate mechanism to manage state political/legal

         processes associated with information regarding asset management activities. In addition to any

         state and local process, state agencies are welcome to participate in the Attachment M-3 planning

         process and benefit from the proposed increases in transparency.

                            9.    There Is No Impact on the Interconnection Process.

                J-POWER’s comments are focused entirely on its concerns with the PJM interconnection

         process. 172 It takes no position on the Proposed Revisions, 173 but urges the Commission to

         establish additional procedures to obtain information regarding the Proposed Revisions and the

         stakeholder proposal filed by PJM in Docket No. ER20-2308-000. J-POWER describes

         substantial growth and concomitant delays in the interconnection process, and asks the

         Commission to require the Transmission Owners and PJM to provide information regarding the

         interaction between EOL planning procedures and the interconnection study process. 174

                Nothing in the Proposed Revisions purports to have or will have an impact on the

         interconnection process. The interconnection process is managed by PJM, as Tariff

         administrator, not the Transmission Owners. While Transmission Owners perform the



                172
                      See generally, J-POWER. LS Power at 53 also raises a concern regarding the interconnection
         process based on the non-binding nature of the Candidate EOL Needs List. However, since the Candidate
         EOL Needs List does not now exist and thus had no impact on the interconnection queue, the addition of
         the list, even if non-binding, should improve PJM’s ability to manage the interconnection process. In
         addition, the requirement that EOL Needs projects be presented through the transparent Attachment M-3
         Process will also aid interconnection planning.
                173
                      J-POWER at 3.
                174
                      Id. at 5.



                                                               51
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         engineering studies supporting that process, the additional procedures proposed to address EOL

         planning will not affect the Transmission Owners’ performance of these studies. Additionally,

         the Proposed Revisions do not create additional EOL Needs that must be addressed by

         Transmission Owners as planners. Those needs are a product of customer demands, physical

         conditions and other factors that will not change with the Commission’s approval of the

         Proposed Revisions. 175 Accordingly, the Commission should find that J-POWER’s concerns

         with the interconnection process are beyond the scope of this proceeding. For the same reason,

         the Commission should reject J-POWER’s request for additional procedures to address issues

         that are not presented by the Proposed Revisions. 176

                          10.     There Is No Change to the Obligation of Transmission Owners to
                                  Include EOL Criteria in Their Form 715 Filings, Nor Is Any Such
                                  Change Required.

                Section (b)(7) of Attachment M-3 preserves a Transmission Owners’ right to decide

         whether to include EOL Planning Criteria in its Form No. 715 consistent with the Commission’s

         regulations. LS Power, however, asserts Transmission Owners are required to include EOL

         Planning Criteria in Form No. 715 consistent with its view that all EOL planning should be

         transferred to PJM. 177 LS Power’s assertion is not only wrong, it is undeniably beyond the scope



                175
                     Under the RTEP Planning Process, interconnection requests are evaluated based on the PJM
         baseline analysis approved each year by the PJM Board. That baseline includes PJM Board-approved
         RTEP projects as well as any transmission projects resulting from the Attachment M-3 process prior to
         the Board review. See PJM Manual 14B, § 2.1 at p. 34 (“This baseline system, without any criteria
         violations, is then used for subsequent interconnection queue studies.”). Asset Management Projects
         included in the Attachment M-3 process by the Proposed Revisions will similarly be included in the
         baseline upon which PJM studies interconnection requests. EOL Needs on the Candidate EOL Needs
         List that are not submitted for stakeholder review either through Attachment M-3 or the RTEP Planning
         Process, cannot be included in the baseline and thus can have no impact on interconnection planning
         studies.
                176
                      J-POWER Protest at 5-6. See infra n.190.
                177
                      LS Power at 60-62.



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         of this proceeding. Form No. 715 has been required since 1993. There is no requirement that

         Form No. 715 include transmission owner EOL planning criteria. A simple examination of the

         purpose of Form No. 715 confirms this.

                Form No. 715 was adopted to address the requirements of Section 213(b) of the FPA to

         require “transmitting utilities” to provide potential transmission customers, state commissions,

         and the public with information concerning potentially available transmission capacity and

         known constraints. 178 It was adopted to serve two purposes: to alert potential transmission

         customers and others of (i) the availability of transmission capacity for the desired transmission

         service and (ii) to establish the procedure that a transmission provider will follow in assessing

         whether capacity exists or needs to be expanded to provide the new service. 179 The only

         information relevant to such potential customers seeking new transmission service would be the

         procedure employed to expand the Transmission Facilities if capacity is unavailable. That has

         nothing to do with EOL Criteria, which are designed to assess whether existing facilities

         providing existing transmission service need to be replaced. 180

                In PJM, of course, transmission service is provided by PJM, not individual Transmission

         Owners. 181 The PJM Tariff lays out the procedures for requesting new transmission service and




                178
                    New Reporting Requirement Implementing Section 213(b) of the Federal Power Act and
         Supporting Expanded Regulatory Responsibilities Under the Energy Policy Act of 1992, and Conforming
         and Other Changes to Form No. FERC-714, 58 Fed. Reg. 52422 (Oct. 8, 1993). See also 16 U.S.C.
         § 824l(b).
                179
                    New Reporting Requirement Implementing Section 213(b) of the Federal Power Act and
         Supporting Expanded Regulatory Responsibilities Under the Energy Policy Act of 1992, and Conforming
         and Other Changes to Form No. FERC-714, 58 Fed. Reg. 52425 (Oct. 8, 1993).
                180
                   Maintaining the facilities to provide existing transmission service is one of a Transmission
         Owner’s obligations under the CTOA. See CTOA, § 4.5.
                181
                      Id., § 4.1.1.



                                                              53
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         how the costs will be assessed. 182 Moreover, in the California Orders, the Commission

         distinguished asset management projects and activities from transmission expansion planning.

         Identifying the need to expand Transmission Facilities was one of the key purposes of Form No.

         715. LS Power’s allegations are nothing more than a product of its wishful thinking rather than

         sound interpretation of the Commission’s regulations.

                           11.         There Is No Change to Duquesne’s Rights as a Transmission Owner.

                Duquesne raises concerns that the Proposed Revisions go too far and interfere with

         Transmission Owners’ rights to manage their assets, particularly to address local needs, and

         gives PJM too much control over planning responsibilities.183 The Proposed Revisions give PJM

         no oversight role in asset management. The decision to identify an EOL Need remains

         exclusively with the Transmission Owner. Each Transmission Owner develops and applies its

         own Attachment M-3 EOL Criteria. Additionally, while the Transmission Owner does receive

         input into its criteria presented annually184 and the needs identified under those criteria at the

         Attachment M-3 Needs Meeting, 185 the Transmission Owner remains the final decision maker on

         EOL Planning Criteria and projects. 186 Also, as noted above, 187 the Candidate EOL Needs List

         that each Transmission Owner would prepare is non-binding. The Transmission Owner retains




                182
                      See, e.g., PJM Tariff, §§ 17-25, 32, 200-237.
                183
                      Duquesne at 7-8, 10.
                184
                      Proposed Revisions, § (d)(1)(ii).
                185
                      Id., § (c)(3).
                186
                    Order No. 890 was designed to foster input into transmission owner planning decisions, not
         supplant transmission owner decision making or require “co-planning.” See Order No. 890 at 12267-68.
                187
                      See supra § II.B.3.



                                                                   54
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         the right to update the list based on its determination of the condition of its assets and its asset

         management activities. 188

                 Duquesne is also concerned that if it identifies a better solution than an overlap project

         after the project is identified by PJM and posted for consideration in the RTEP, it will not be able

         to implement that solution. 189 Even after PJM has identified and posted an overlap need such

         that a single solution may address both an RTEP Criteria Need and an EOL Need, the

         Transmission Owner will have the opportunity to participate fully in the development of the

         RTEP and can propose the solution to the EOL Need that it believes to be the most efficient and

         cost effective.

                 Duquesne also questions the necessity of including EOL Needs in Attachment M-3,

         citing the additional burden on Duquesne of compliance. The Transmission Owners appreciate

         concerns about the additional burdens they are proposing to undertake. However, the benefits

         the Proposed Revisions provide – addressing concerns raised by PJM during the stakeholder

         process and opening the process to receive additional stakeholder input on EOL and other

         significant asset management decisions – outweighs the additional burdens. In addition, since

         the Commission has already approved Attachment M-3, extending its reach to Asset

         Management Projects is the most efficient process to expand transparency.




                 188
                    The Duquesne at 8 is also concerned with the additional burden of justifying a decision to
         proceed with an EOL project that it thinks is necessary once PJM identifies an overlap RTEP project.
         While this may add some administrative burden, it is not a new burden. A similar obligation with respect
         to overlaps with Supplemental Projects is currently included in PJM Manual 14.B, § 1.4.2.2.
                 189
                       Duquesne at 8-9.



                                                                55
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         III.    CONSOLIDATION OR FURTHER PROCESS IS NOT NEEDED FOR THE
                 COMMISSION TO FIND THE PROPOSED REVISIONS ARE JUST AND
                 REASONABLE AND WOULD UNREASONABLY DELAY IMPLEMENTATION.

                 The Load Group requests that, if the Commission does not reject the Proposed Revisions

         “outright,” it consolidate these proceedings with the proceedings in Docket ER20-2308. 190 As

         explained above, protestors’ criticisms of the Proposed Revisions are without merit, misplaced or

         just legally or factually wrong. As explained below, the Load Group’s efforts to amend the

         Operating Agreement and oppose the Proposed Revisions does not justify consolidation of

         proceedings, and their request should be denied.

                 The Commission generally considers consolidation only when a trial-type evidentiary

         hearing is required to resolve common issues of law and fact, and where consolidation will

         ultimately result in greater administrative efficiency. 191 Here, the Transmission Owners are




                 190
                    Load Group at 10; 39-40 (citations omitted). The NJBPU at 16 suggests that the Commission
         should “coordinate its review of these proceedings” but does not move to consolidate. See id. at 2, 15-16.
         This recommendation is vague and the Commission should not consider it. Further, arguing that
         coordination is warranted because the Proposed Revisions arose from the same PJM stakeholder process
         inappropriately disregards the confined scope of a Section 205 review. See supra § II.A.2. J-POWER
         suggests that the Commission could “ensure that it has a full record regarding the issues” addressed in this
         docket and Docket ER20-2308, by “requesting additional information from the Transmission Owners and
         PJM or by initiating paper hearing procedures.” J-POWER Protest at 5; see generally id. at 5-6. For the
         reasons explained in section II.C.9, supra, concerns with “the ability of PJM to manage its
         interconnection process” raise issues that are outside the scope of this proceeding, and consequently, such
         procedures to gather such additional information are neither warranted, relevant nor appropriate. Such
         further process would not be an effective use of administrative resources and would unnecessarily delay
         implementation of planning enhancements proposed for PJM’s upcoming planning cycle.
                 191
                     See, e.g., Midcontinent Indep. Sys. Operator, Inc., 170 FERC ¶ 61,241, at P 43 (2020)
         (denying LS Power’s motion to consolidate, explaining that “[i]n general, the Commission formally
         consolidates matters only if a trial-type evidentiary hearing is required to resolve common issues of law
         and fact, and if consolidation will ultimately result in greater administrative efficiency”); Tenn. Gas
         Pipeline Co., L.L.C., 156 FERC ¶ 61,156, at P 16 (2016) (denying request to consolidate proceedings
         where no hearing was required); Midcontinent Express Pipeline, LLC, 124 FERC ¶ 61,089, at P 27 (2008)
         (denying a motion to consolidate two certificate proceedings where no hearing was required); Startrans
         IO, L.L.C., 122 FERC ¶ 61,253, at P 25 (2008) (“In general, the Commission consolidates matters only if
         a trial-type evidentiary hearing is required to resolve common issues of law and fact and consolidation
         will ultimately result in greater administrative efficiency.”).



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         entitled to a determination under Section 205 that the Proposed Revisions are just and

         reasonable. The fact that a proposal to amend the Operating Agreement is also pending before

         the Commission at the same time does not demand consolidation of the two dockets. As

         explained above, the issue before the Commission in this proceeding is confined to the

         examination of whether the Proposed Revisions are just and reasonable. 192 The Operating

         Agreement amendments at issue in Docket No. ER20-2308 that PJM filed, but which it opposes,

         are not before the Commission in this proceeding. Rather, the issues in that proceeding concern

         PJM’s right to file Operating Agreement amendments that violate the Transmission Owners’

         rights to decide when and how to retire and replace their transmission facilities and whether

         provisions through which PJM would make those decisions are just and reasonable.

                 Contrary to what the protestors would like the Commission to think, the two proceedings

         are entirely distinct. The Load Group does not describe a specific need for or even identify the

         issues that they believe support their consolidation requests, nor have they asserted that trial-type

         procedures are needed develop an evidentiary record required for the resolution of this case.

                 Consolidation would serve no purpose other than to delay timely resolution and delay the

         benefits stakeholders would realize in the upcoming planning cycle that the enhanced

         Attachment M-3 processes will provide. 193 If approved on the normal 60-day notice schedule, 194

         the Attachment M-3 Amendments could bring immediate benefits to the upcoming RTEP



                 192
                    See PJM Interconnection, L.L.C., 164 FERC ¶ 61,073, at P 44 (2018) (denying AMP’s motion
         to consolidate because “[t]he fact that there are other proceedings with issues related to the issues PJM
         seeks to address in the instant filing does not limit the Commission’s ability to render a decision on this
         filing”).
                 193
                    United Gas Pipeline Co., 34 FERC ¶ 61,282, at 61,503 (1986) (finding that consolidation of
         two distinct matters “would necessarily delay, and might in fact effectively deny” the benefits of a new
         rate schedule).
                 194
                       Transmittal Letter at 2.



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         planning cycle. That opportunity is lost, however, if this proceeding is consolidated with the

         Stakeholder Proposal.

                 Further, the Stakeholder Proposal proceeding presents a different set of unique issues and

         challenges for resolution that are unrelated to the substantive transmission planning objectives to

         be achieved through the Proposed Revisions. The Transmission Owners submit that the

         Proposed Revisions should not be held hostage to a controversy over whether it was appropriate

         in the first place for PJM to file the Stakeholder Proposal or the manner in which it filed it, let

         alone the underlying legal infirmities and substantive deficits in the Stakeholder Proposal. 195 A

         Commission decision on the Proposed Revisions does not require resolution of the substantive

         planning problems inherent in the Stakeholder Proposal, 196 and they would not provide an

         efficient administrative solution or an expedient resolution of common issues that the

         Commission has found appropriate for consolidation in other cases. The Commission should

         deny the motion for consolidation and accept the Transmission Owners’ Proposed Revisions.




                 195
                    See Transmittal Letter, Exhibits D and E; see also PJM Interconnection, L.L.C., Motion of the
         Indicated Transmission Owners for Summary Rejection, Docket No. ER20-2308-000 (filed July 21,
         2020).
                 196
                       See PJM ER20-2308 Comments.



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         IV.    CONCLUSION

                None of the protests or other comments submitted in this proceeding presents any reason

         why the Commission should not find the Proposed Revisions just and reasonable. Accordingly,

         the Transmission Owners respectfully request that the Commission accept the Proposed

         Revisions to the PJM Tariff without hearing, modification or condition, and allow these changes

         to become effective sixty (60) days from the date of the Transmittal Letter, as requested therein.



                                                  Respectfully submitted,

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                                    On behalf of the PJM Transmission Owners




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                                         CERTIFICATE OF SERVICE


                I hereby certify that a copy of the foregoing was served this 21st day of July 2020 upon

         each person designated on the official service list compiled by the Secretary in this proceeding.




                                                                 /s/ Abraham F. Johns III
                                                                  Abraham F. Johns III




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                                     UNITED STATES OF AMERICA
                                            BEFORE THE
                              FEDERAL ENERGY REGULATORY COMMISSION


             PJM Interconnection, L.L.C.                    )
                                                            )
             American Transmission Systems,                 )            Docket No. ER20-2046-000
                   Incorporated, et al                      )

                           MOTION FOR LEAVE TO ANSWER AND LIMITED ANSWER
                                OF LSP TRANSMISSION HOLDINGS II, LLC

                  Pursuant to Rules 212 and 213 of the Rules of Practice and Procedure of the Federal

         Energy Regulatory Commission (“FERC” or “Commission”), 1 LSP Transmission Holdings II,

         LLC (“LS Power”) requests leave to submit this limited answer (“Limited Answer”) to the

         Sponsoring Transmission Owners’ 2 answer (“TO Answer”) filed in this docket on July 21,

         2020. 3 The Sponsoring Transmission Owners continue to downplay concerns about the cost

         allocation problems raised by their proposed revisions to Attachment M-3 of the PJM Open

         Access Transmission Tariff (“PJM Tariff”) filed in this docket on June 12, 2020 (“TO Filing”). 4

                  Under the TO Filing, although no cost allocation methodology was filed, it is presumed

         that the transmission owners propose that projects identified through Attachment M-3 will be

         allocated solely to the zone where the project is located, as is currently the case for Supplemental

         Projects. Cost allocation for Supplemental Projects, and to the extent applicable to the new


         1
                  18 C.F.R. §§ 385.212 and .213 (2020).
         2
                  For purposes of this Limited Answer, the sponsoring PJM Transmission Owners are referred to as
                  the “Sponsoring Transmission Owners.” “PJM Transmission Owners” refers to the transmission
                  owners in PJM generically, and is used only to refer to the transmission owners collectively.
         3
                  Answer of the PJM Transmission Owners to Protests and Comments and Motion for
                  Consolidation, Docket No. ER20-2046-000 (filed on July 21, 2020). PJM filed the revisions
                  under Section 205 of the Federal Power Act on behalf of the PJM Transmission Owners.
         4
                  PJM Interconnection, L.L.C., “Amendments to Attachment M-3 to the PJM Interconnection,
                  L.L.C. Open Access Transmission Tariff,” Docket No. ER20-2046-000 (filed on June 12, 2020).



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         Attachment M-3 transmission project cost categories and definitions (including, but not limited

         to, each new proposed definition: Asset Management Project, Attachment M-3 Project,

         Incidental Increase, Applicability, EOL Need, and PJM Planning Criteria Need), undergoes no

         analysis as to whether new Attachment M-3 project categories have regional benefits, i.e.,

         benefits more than one zone. The TO Filing includes no evidence that allocating the costs of end

         of life projects, as set forth in its new categories and definitions (including, but not limited to,

         each new proposed definition: Asset Management Project, Attachment M-3 Project, Incidental

         Increase, Applicability, EOL Need, and PJM Planning Criteria Need), solely and exclusively to

         the zone where the project is located is consistent with cost allocation principles and is just and

         reasonable.

                 Each new Attachment M-3 definition and its resulting cost allocation must be established

         as just and reasonable. The Sponsoring Transmission Owners have not. LS Power provided

         evidence in its Protest, filed on July 6, 2020 (“LS Power Protest”), that at least some of the

         projects that would be identified pursuant to Attachment M-3, whether Supplemental Projects or

         the proposed new categories and definitions, are likely to have regional benefits. 5 LS Power

         submits, as part of this Limited Answer, Pterra, LLC’s (“Pterra”) analysis of nineteen previously-

         approved Supplemental Projects that were put forward to address end of life Transmission

         Facilities. 6 The Pterra Analysis demonstrates that although each of the nineteen Supplemental



         5
                 Protest of LSP Transmission Holdings II, LLC, Docket No. ER20-2046-000 (filed on July 6,
                 2020).
         6
                 LS Power submitted the Pterra Analysis as Exhibit 3 to its comments in support of PJM’s July 2,
                 2020 filing in Docket No. ER20-2308-000 of revisions approved by a supermajority of PJM
                 Stakeholders to planning for Transmission Facilities reaching the end of their useful life
                 (“Stakeholder Filing”). LSP Transmission Holdings II, LLC and Central Transmission, LLC
                 Comments in Support of Stakeholder Approved Section 205 Filing, Docket No. ER20-2308-000
                 (filed on July 23, 2020). For convenience, it is also attached to this Limited Answer as Exhibit A.
                                                                 2


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         Projects (with specific Asset Management and Aging Infrastructure drivers) have regional

         benefits, if the existing cost allocation methodology is applied to end of life projects in the

         categories included in the TO Filing, each project would be allocated to a single zone, a clear

         violation of cost causation principles. 7 These cost allocation issues cannot be avoided. 8

         Allowing every end of life project to automatically be allocated to a single zone is inconsistent

         with cost causation principles and court precedent related to free ridership, leads to unjust and

         unreasonable rates, and thus violates the Federal Power Act. 9 The TO Filing is fatally flawed

         and must be rejected on this basis alone.

         I.     MOTION FOR LEAVE TO ANSWER

                LS Power requests leave to file a limited answer to the TO Answer filed in this docket.

         The Commission generally prohibits answers to answers, unless otherwise ordered by the

         decisional authority, except when specifically authorized by Rule 213 of the Commission’s

         Rules of Practice and Procedure. The Commission accepts answers in circumstances where

         doing so will clarify the issues and otherwise assist the Commission in its decision-making. 10

         This Answer provides additional information that that will assist the Commission in carrying out




         7
                See, e.g., KN Energy, Inc. v. FERC, 968 F.2d 1295, 1300 (D.C. Cir. 1992) (At its core, the cost-
                causation principle requires that “all approved rates reflect to some degree the costs actually
                caused by the customer who must pay them.”); Midwest ISO Transmission Owners v. FERC, 373
                F.3d 1361, 1368 (D.C. Cir. 2004)(courts evaluate compliance with the cost causation principle by
                “comparing the costs assessed against a party to the burdens imposed or benefits drawn by that
                party.”); Illinois Commerce Commission v. FERC, 576 F.3d 470, 477 (D.C. Cir. 2009)(the
                Commission must have “an articulable and plausible reason” to believe that the benefits are at
                least roughly commensurate with costs); Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254,
                1262 (D.C. Cir. 2018)(“ODEC v. FERC”), reh’g denied, 905 F.3d 671 (D.C. Cir. 2018).
         8
                ODEC v. FERC, 898 F.3d at 1262.
         9
                16 U.S.C. §§ 824d, 824e.
         10
                See, e.g., Midcontinent Indep. Sys. Operator, Inc., 158 FERC 61,128, at P 5 (2017); Va. Elec. &
                Power Co., 124 FERC ¶ 61,207, at P 22 (2008).
                                                               3


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         its duty to assess whether the TO Filing is just and reasonable. Therefore, LS Power requests

         that the Commission accept the following Limited Answer to the TO Answer.

         II.    LIMITED ANSWER

                The TO Filing proposes to revise Attachment M-3 of the PJM Tariff, which currently sets

         out the planning process for Supplemental Projects, to create new categories and definitions of

         new locally-cost allocated projects (including, but not limited to, each new proposed definition:

         Asset Management Project, Attachment M-3 Project, Incidental Increase, Applicability, EOL

         Need, and PJM Planning Criteria Need). If approved, any project that is not planned by PJM

         under the criteria in the Applicability section (which is inconsistent with Schedule 6 of the

         Operating Agreement) will be categorized as an “Attachment M-3 Project.” LS Power raised the

         numerous problems with the project categories and definitions in its Protest. Relevant to this

         Limited Answer is the fact that the proposed project categories and definitions include entirely

         new transmission facilities that presumably the TO Filing anticipates will be allocated solely to

         the zone(s) where the project is located, although the TO Filing does not address cost allocation

         or establish that each of these new proposed definitions and project categories only have local

         zone benefits. 11 For each of these new proposed definitions, Asset Management Project,

         Attachment M-3 Project, Incidental Increase, Applicability, EOL Need and PJM Planning

         Criteria Need, the cost causation analysis and free ridership analysis is missing and devoid.

                For instance, the definition of Asset Management Projects goes beyond recognizing that a

         PJM Transmission Owner is responsible for maintaining and repairing its existing transmission

         assets to giving a PJM Transmission Owner a right of first refusal to construct an entirely new




         11
                Schedule 12 of the PJM OATT does not contain any references to the proposed project
                categories.
                                                              4


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         transmission facility when existing Transmission Facilities are retired. The only restriction on

         the definition of Asset Management Projects – if the replacement results in “more than an

         Incidental Increase in transmission capacity” then it is not an Asset Management Project – is not

         an effective limitation because the definition of Incidental Increase is so expansive as to have no

         legitimate meaning. Under the TO Filing, an Asset Management Project resulting in Incidental

         Increase as defined by the transmission owner itself could become an Attachment M-3 Project,

         which would have exclusively local cost allocation, regardless of beneficiaries. 12 Similarly, the

         definition of EOL Need is not sufficiently specific and creates a backdoor right of first refusal on

         substations and any other non-line transmission equipment, even though substations in PJM

         today are clearly regionally cost allocated. 13

                In its Protest, in addition to raising concerns regarding this overly expansive definitions,

         LS Power raised the issue of how the costs of any new transmission facilities will be allocated. 14

         As confirmed by the TO Answer, the Sponsoring Transmission Owners believe it is sufficient to

         simply declare that these are local projects that have always been planned by transmission




         12
                See LS Power Protest at 44-48. The TO Filing does not explain how a project that creates an
                “Incidental Increase” from “advancements in technology and/or replacements consistent with
                current Transmission Owner design standards, industry standards, codes, laws or regulations . . . ”
                only has local zone benefits. There is no regional cost allocation methodology provided for an
                Attachment M-3 Project that “affects the connectivity of Transmission Facilities that are included
                in the Transmission System, affects Transmission Facility ratings or significantly changes the
                impedance of Transmission Facilities” or that result from Incidental Increase, even though the
                Sponsoring Transmission Owners freely acknowledged that an Incidental Increase might include
                upgrades from 115kV to 345 kV to account for “current Transmission Owner design standards.”
                The TO Filing similarly does not explain how the PJM Planning Criteria Need definition does not
                have regional beneficiaries, and how the vague catch-all definition of Attachment M-3 Project of
                “(iii) any other expansion or enhancement of Transmission Facilities that is not excluded from
                this Attachment M-3 under clauses (1) through (5) of section (a)” does not have regional
                beneficiaries.
         13
                See id. at 48-49.
         14
                See id. at 35-38.
                                                                5


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         owners and that that is the end of the cost allocation inquiry. 15 But recent cost allocation

         precedent makes it clear that it is not the end of the inquiry under cost causation principles. In

         ODEC v. FERC, the Court stated that “the cost-causation principle focuses on project benefits,

         not on how particular planning criteria were developed.” 16 Thus, for the Commission to accept

         the TO Filing, there must be evidence in the record that the cost allocation methodology

         applicable to the new project categories is just and reasonable. 17 This is especially true as the

         DC Circuit case specifically related to end of life projects in PJM.

                Long-standing cost allocation precedent requires that costs be allocated roughly

         commensurate with the benefits received from that project. 18 Recent cost allocation precedent is

         illustrative in this proceeding. In ODEC v. FERC, the Court vacated a Commission Order

         accepting a single zone cost allocation method, the same cost allocation that would be used for

         an Attachment M-3 Project or Asset Management Project, for an entire category of transmission

         projects, including some end of life projects. 19 The Court found the failure to analyze regional

         benefits violated the cost causation principle. 20 The TO Filing suffers the same fatal flaw that

         the Court, and ultimately the Commission, recognized. 21 As discussed in the LS Power Protest

         and shown in the Pterra Analysis, some projects in the proposed Attachment M-3 Project

         category likely will have regional benefits. This is consistent with the revised cost allocation for




         15
                TO Answer at 44-45.
         16
                898 F.3d at 1262.
         17
                16 U.S.C. §§ 824d, 824e.
         18
                See, supra footnote 7.
         19
                Indeed the two particularly projects at issue in that case were end of life projects.
         20
                Id.
         21
                PJM Interconnection, L.L.C., 168 FERC ¶ 61,133 (2019).
                                                                  6


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         44 projects following the Commission’s rejection of a single zone cost allocation for end of life

         projects planned under Form No. 715. 22 The TO Filing presents no evidence to the contrary.

                A separate but related flaw is that the TO Filing does not address concerns over free

         ridership. As courts and the Commission have recognized, the free ridership problem is an

         important one. 23 In El Paso Elec. Co. v. FERC, the Fifth Circuit Court of Appeals remanded a

         Commission Order accepting a cost allocation methodology that would have only allocated costs

         to half the utilities in the WestConnect region regardless of the fact that other utilities would

         benefit. 24 As demonstrated in the Pterra Analysis, it is likely that projects included under the

         Attachment M-3 Project category will have regional benefits but, under the presumed cost

         allocation method, all of the costs will be allocated to only one zone. The other zones that

         benefit will pay nothing. This permits utilities that benefit to escape responsibility for paying for

         those benefits, i.e. free ride on the investment of another zone. Unlike the situation addressed by

         the Court in El Paso Elec., it is the effort to circumvent the regional cost allocation methodology

         that creates the free rider issue. Applying the regional cost allocation method would mitigate the

         free rider problem. The Pterra Analysis demonstrates this fact. The regional cost allocation

         methodology cannot be utilized through the M-3 revisions.




         22
                See PJM Interconnection, L.L.C., Compliance Filing, Docket No. ER18-680, Attachment A (filed
                on June 1, 2020). LS Power also noted that the EOL Needs definition is limited to transmission
                lines and thus excludes substations. LS Power Protest at 49. However, as LS Power pointed out
                in Protest, Project 9A, a market efficiency project currently under development, has become
                essentially a substation project and the project has regional benefits. Id. at 49-50.
         23
                See, e.g., El Paso Elec. Co. v. FERC, 832 F.3d 495, 505-506 (5th Cir. 2016); Order No. 1000 at
                534 (“Transmission services create an opportunity for free ridership because the nature of power
                flows over an interconnected transmission system does not permit a public utility transmission
                provider to withhold service from those who benefit from those services but have not agreed to
                pay for them.”).
         24
                832 F.3d at 505-506.
                                                                7


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                LS Power now has evidence that some Attachment M-3 Projects and Asset Management

         Projects are likely to have regional benefits. The attached Pterra Analysis shows that nineteen

         Supplemental Projects that are also aging infrastructure replacement projects located throughout

         PJM have regional benefits. 25 Pterra’s Analysis demonstrates that when the current single zone

         cost allocation is analyzed against PJM’s region-wide dfax method for numerous end of life

         replacement projects, the error in cost allocation can be 100%, and there are specific examples 26

         of 100 percent cost allocation to zones with no (zero percent) benefit. 27 Eight Supplemental

         Projects relating to Asset Management Projects and Attachment M-3 Projects had costs

         erroneously allocated by more than 70%, and ten by more than the 47%, which the D.C. Circuit

         found violative of cost causation in ODEC v. FERC. 28 This Analysis of nineteen projects

         highlights the potential extent of the free-rider problem in PJM. The Analysis of projects

         identical to ones that would be implicated under the new Asset Management and Attachment M-

         3 Project definitions also showed that at least $361 million of the total cost of $779 million being

         misallocated. Hardly, a quibbling over benefits.

                The Pterra Analysis also demonstrates that a project’s voltage level is a not an accurate

         predictor of whether a project will have regional benefits. For instance, the Pterra Analysis

         shows that, under a dfax analysis, project s0782, a rebuild of a 138 kV line, the zone where the




         25
                Pterra’s analysis is consistent with the analysis of end of life beneficiaries for projects planned by
                PJM under Form No. 715.
         26
                See projects S0645, S0233, S0555 in Exhibit A that are 100% cost allocated to the AEP and PPL
                zones, but the zones receive zero percent of the benefits.
         27
                Ill. Commerce Comm’n vs. FERC, 576 F.3d at 476. The Commission is “not authorized to
                approve a pricing scheme that requires a group of utilities to pay for facilities from which its
                members derive no benefits or benefits that are trivial in relation to the costs to be shifted to its
                members.”
         28
                ODEC v. FERC, 898 F.3d at 1262.
                                                                   8


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         project is located receives 72.54% of the benefits while another zone receives 27.46% of the

         benefits.

                 As LS Power noted in its Protest, aging infrastructure is a growing driver of investment in

         new transmission in PJM. 29 The chart below represents the projected investment in asset

         replacement projects for just one transmission owner, although the proposed investments are

         through an affiliate. 30




         29
                 LS Power Protest at 4-5.
         30
                 See 2019 AEP Fact Book at Slide 100 from an AEP presentation at the 54th EEI Financial
                 Conference (Nov. 10-12, 2019), available at
                 https://www.aep.com/Assets/docs/investors/eventspresentationsandwebcasts/2019Factbook_All%
                 20Sections_FINAL.pdf. It is unclear how the AEP Transco is permitted to participate in
                 Supplemental Projects, which by definition are projects needed solely by the existing
                                                                 9


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         Many of the facilities to be replaced will be high-voltage projects that are known to have

         regional benefits. 31 The TO Filing applies local zone cost allocation to all Asset Management

         and Attachment M-3 Projects, regardless of voltage and its cost allocation is also inconsistent

         with higher voltage (at or above double circuit 345 kV) regional cost allocation frameworks

         today in PJM.

                PJM has aging infrastructure needs at all voltage levels, even at or above 345 kV and as

         high as 765 kV. These future needs would be captured and presumably locally allocated under

         the TO Filing. For instance, there are transmission facilities operating at 765 kV in the AEP

         zone that likely will need to be replaced in the next five to ten years that are being planned now.

         A good example is the Kammer-Mountaineer 765 kV project that is currently under discussion.

         The project’s benefits are spread widely throughout the region, and the local AEP zone only

         benefits 16.75% from such rebuild. 32 This is a clear violation of the cost causation principle and

         permits other zones to avoid their share of hundreds of millions, if not billions, in costs. As the

         Court in ODEC v. FERC stated succinctly, “Application of the cost-causation principle is simple

         here, because this critical point is undisputed: high-voltage power lines produce significant

         regional benefits within the PJM network, yet the amendment categorically prohibits any cost




                transmission owner, or how the AEP Transco anticipates $4.7 billion in local and asset
                replacement projects for facilities it does not own. LS Power observes no protections in the TO
                Filing against the transmission owners retiring plant in regulated utilities, but rebuilding the asset
                in a new Transco. PJM Transmission Owners argue that Atlantic City precedent applies to the
                replacement and rebuilding of entirely new facilities. LS Power strongly disagrees. However, it
                is a new level of Atlantic City hyperbole to argue that these exclusive regulated utility CTOA
                rights, if they exist, apply to projects rebuilt in new utility Transcos.
         31
                ODEC v. FERC, 898 F.3d at 1260.
         32
                See Exhibit A at Page 2.
                                                                  10


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         sharing for high-voltage projects like those at issue here.” 33 The same is no less true here related

         to the Attachment M-3 Project, Asset Management Project, Applicability Section, EOL Need,

         and PJM Planning Criteria Need definitions and project categories, as well as due to the

         improper filing of this proposal amendment through the PJM Tariff with no means to regionally

         cost allocate regionally beneficial projects. The TO Filing has not been shown to be just and

         reasonable and must be rejected.

         III.   CONCLUSION

                LS Power respectfully requests that the Commission accept this Limited Answer and

         issue an order rejecting the TO Filing.

         July 29, 2020
                                                       Respectfully submitted,

                                                       By: /s/ Michael R. Engleman
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                                                       Christina Switzer
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                                                       Counsel for LSP Transmission
                                                       Holdings II, LLC




         33
                898 F.3d at 1260.
                                                              11


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                                          CERTIFICATE OF SERVICE

                I hereby certify that I have this day served the foregoing document upon each person

         designated on the official service list compiled by the Secretary in this proceeding.

                Dated at Washington, DC this 29th day of July.



                                                       By: /s/ Christina Switzer




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                                        Exhibit A




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Pterra LLC was engaged by Central Transmission to evaluate the cost allocation of selected                                                                                                              SUMMARY
Supplemental Projects as Required Transmission Enhancements applying the cost allocation
methodology as specified in PJM OATT Schedule 12.                                                                                                                   Projects with Regional Benefits and Not De Minimus                          19

                                                                                                                                                                    Total of Estimated Cost of Projects Reallocated ($mil)                     $779
                                                                                                                                                                             Total Estimated Costs Re‐allocated ($mil)                         $393
                                                                                                                                                                       Total Re‐Allocation Exclusively Related to DFAX                         $361
                                                                      PJM Data                                                                                        Pterra Re‐Allocation of Supplementary Projects as Required Transmission Enhancements

                                                                                                                    Cost         Transmission Owner                                                                                                          Amount of Re‐
                                                                                                                                                          Reallocation by DFAX Method                                                     % DFAX Costs Re‐
Upgrade ID                      Selected Supplemental Projects*                           Type of Project         Estimate     and Zone to which 100%                                             Reallocation by Load Ratio Share                            allocated in
                                                                                                                                                               (see Legend below)                                                            allocated
                                                                                                                   ($mil)         of Cost is allocated                                                                                                          millions
                                                                                                                                                            DAYTON (14.83%) / DEOK
                                                                                          Lower Voltage
s0645        Reconductor 13 miles of the Kammer ‐ West Bellaire 345 kV circuit                                $       20.00             AEP               (26.55%) / DL (50.00%) / EKPC                                                       100.00%        $       20.00
                                                                                             Facility
                                                                                                                                                                     (8.63%)
                                                                                          Lower Voltage
s0233        Rebuild Otter Creek – Conastone 230 kV line                                                      $       18.50             PPL                 BGE (5.00%) / ME (95.00%)                                                         100.00%        $      18.50
                                                                                             Facility
             Rebuild the Jug ‐ Kirk 345kV single circuit line as a double circuit line.
             One side will remain 345kV between Jug and Kirk 345/138kV                    Lower Voltage
s0555                                                                                                         $       41.00             AEP               DEOK (94.99%) / OVEC (5.01%)                                                        100.00%        $      41.00
             stations while the other side will be strung as a new 138kV circuit to          Facility
             pick up new customers
                                                                                                                                                                                              AEC (1.67%) / AEP (14.53%) / APS (5.75%)
                                                                                                                                                                                              / ATSI (7.81%) / BGE (4.07%) / ComEd
                                                                                                                                                                                              (12.94%) / Dayton (2.02%) / DEOK
             Replace Jacksons Ferry 765/500 kV 500 MVA Transformer #1 and                                                                                                                     (3.47%) / DL (1.77%) / DPL (2.59%) /
s1382        138kV Circuit Breaker ‘R1’, ‘P’, and ‘P2’ with 3000A 63kA Circuit            Regional Facility   $       27.00             AEP                             ‐‐                    Dominion (13.40%) / EKPC (1.36%) / JCPL         85.47%         $      23.08
             Breakers                                                                                                                                                                         (3.74%) / ME (1.98%) / NEPTUNE (0.43%)
                                                                                                                                                                                              / OVEC (0.06%) / PECO (5.38%) / PENELEC
                                                                                                                                                                                              (1.81%) / PEPCO (3.72%) / PPL (4.80%) /
                                                                                                                                                                                              PSEG (6.45%) / RE (0.26%)

                                                                                                                                                                                         AEC (1.67%) / AEP (14.53%) / APS (5.75%)
                                                                                                                                                                                         / ATSI (7.81%) / BGE (4.07%) / ComEd
                                                                                                                                                                                         (12.94%) / Dayton (2.02%) / DEOK
                                                                                                                                                           AEC (32.40%) / DPL (17.60%) /
                                                                                                                                                                                         (3.47%) / DL (1.77%) / DPL (2.59%) /
                                                                                                                                                         JCPL (16.66%) / NEPTUNE (3.50%)
s0473        Replace static wire at New Freedom ‐ East Windsor ‐ Deans 500 kV             Regional Facility   $       20.00             PSEG                                             Dominion (13.40%) / EKPC (1.36%) / JCPL              85.01%         $      17.00
                                                                                                                                                            / PPL (6.56%) / PSEG_RECO
                                                                                                                                                                                         (3.74%) / ME (1.98%) / NEPTUNE (0.43%)
                                                                                                                                                                      (23.28%)
                                                                                                                                                                                         / OVEC (0.06%) / PECO (5.38%) / PENELEC
                                                                                                                                                                                         (1.81%) / PEPCO (3.72%) / PPL (4.80%) /
                                                                                                                                                                                         PSEG (6.45%) / RE (0.26%)
                                                                                                                                                           AEC (13.45%) / DPL (50.00%) /
                                                                                          Lower Voltage                                                  JCPL (5.69%) / NEPTUNE (0.37%) /
s0286        Replace the New Freedom 500‐4 transformer phase 1 and phase 2                                    $       10.20             PSEG                                                                                                  82.17%         $        8.38
                                                                                             Facility                                                       PECO (12.67%) / PSEG_RECO
                                                                                                                                                                     (17.83%)
             Rebuild and reconductor approximately 33.0 miles of the Armstrong            Lower Voltage
s2054                                                                                                         $      138.00           PENELEC            ATSI (72.54%) / PENELEC (27.46%)                                                     72.46%         $      99.99
             – Homer City 345 kV Line, of wood pole construction                             Facility
                                                                                          Lower Voltage                                                  BGE (50%) / JCPL (3%) / ME (19%)
s0232        Rebuild Manor‐Graceton 230 kV                                                                    $       27.69             PPL                                                                                                   72.00%         $       19.94
                                                                                             Facility                                                               / PPL (28%)
                                                                                                                                                           AEC (27.10%) / JCPL (11.46%) /
             Replace New Freedom 500/230 kV transformers #2 & 3, and                      Lower Voltage
s0472                                                                                                         $       38.50             PSEG                PECO (25.52%) / PSEG_RECO                                                         64.08%         $      24.67
             associated SL&P equipments                                                      Facility
                                                                                                                                                                     (35.92%)
             Replace the Deans 500‐1 and 500‐3, 500/230 kV transformers and               Lower Voltage                                                  AEC (50.00%) / NEPTUNE (1.33%)
s0298                                                                                                         $       48.00             PSEG                                                                                                  51.33%         $       24.64
             associated equipment                                                            Facility                                                          / PSEG_RECO (48.67%)
                                                                                          Lower Voltage                                                  JCPL (30.34%) / NEPTUNE (8.17%)
s0659        Replace failed Branchburg 500‐3 Transformer‐Phase C                                              $         8.25            PSEG                                                                                                  38.52%         $        3.18
                                                                                             Facility                                                          / PSEG_RECO (61.48%)
             Replace underground submarine cables portion of Brandon Shores‐              Lower Voltage
s1267                                                                                                         $      236.00             BGE                   BGE (71%) / ME (29%)                                                            29.00%         $       68.44
             Riverside 230 kV circuits                                                       Facility
                                                                                          Lower Voltage
s0782        Rebuild the Allen Junction‐ East Fayette (AJ‐Lyons) 138 kV line                                  $       16.70             ATSI             ATSI (72.54%) / PENELEC (27.46%)                                                     27.46%         $        4.59
                                                                                             Facility
                                                                                          Lower Voltage
s0945.8      Rebuild the Juniata ‐ Cumberland 230 kV Line (14.2 mi)                                           $       30.60             PPL                ME (24.69%) / PPL (75.31%)                                                         24.69%         $        7.56
                                                                                             Facility
                                                                                          Lower Voltage
s0955.5      Rebuild West Hempfield ‐ Manor 2 230 kV line (9.1 mi)                                            $       22.70             PPL                BGE (20.00%) / PPL (80.00%)                                                        20.00%         $        4.54
                                                                                             Facility
             Install two single phase 500/230 kV transformers at Waugh Chapel
                                                                                          Lower Voltage                                                   BGE (84.18%) / PEPCO_SMECO
s0384        substation as a result of a BGE spare equipment requirement (not a                               $       14.70             BGE                                                                                                   15.82%         $        2.33
                                                                                             Facility                                                               (15.82%)
             PJM PRA spare transformer)
                                                                                          Lower Voltage
s0819        Rebuild 15.3 miles of Red Lion‐ Cedar Creek 230 kV circuit                                       $       20.80             DPL                   AEC (12%) / DPL (88%)                                                           12.00%         $        2.50
                                                                                             Facility
             Rebuild the Corridor – Jug Street 345 kV line as a double circuit line
                                                                                          Lower Voltage                                                   AEP (92.13%) / DEOK (7.48%) /
s1191        with one side served at 345 kV and the other at 138 kV to provide a                              $       28.00             AEP                                                                                                    7.87%         $        2.20
                                                                                             Facility                                                             OVEC (0.39%)
             third source to Jug Street station.
                                                                                          Lower Voltage                                                  AEC (0.61%) / PECO (4.39%) / PPL
s0275        Rebuild Whitpain – Buxmont 230 kV line                                                           $       12.53             PPL                                                                                                    5.00%         $        0.63
                                                                                             Facility                                                               (95.00%)




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Pterra LLC was engaged by Central Transmission to evaluate the cost allocation of selected                                                                                              SUMMARY
Supplemental Projects as Required Transmission Enhancements applying the cost allocation
methodology as specified in PJM OATT Schedule 12.                                                                                                       Projects with Regional Benefits and Not De Minimus                         19

                                                                                                                                                       Total of Estimated Cost of Projects Reallocated ($mil)                     $779
                                                                                                                                                             Total Estimated Costs Re‐allocated ($mil)                            $393
                                                                                                                                                          Total Re‐Allocation Exclusively Related to DFAX                         $361
                                                                 PJM Data                                                                                 Pterra Re‐Allocation of Supplementary Projects as Required Transmission Enhancements

                                                                                                         Cost       Transmission Owner                                                                                                            Amount of Re‐
                                                                                                                                             Reallocation by DFAX Method                                                    % DFAX Costs Re‐
Upgrade ID                    Selected Supplemental Projects*                      Type of Project     Estimate   and Zone to which 100%                                           Reallocation by Load Ratio Share                                allocated in
                                                                                                                                                  (see Legend below)                                                           allocated
                                                                                                        ($mil)       of Cost is allocated                                                                                                            millions


                                                                                                                                                                              AEC (1.67%) / AEP (14.53%) / APS (5.75%)
                                                                                                                                                                              / ATSI (7.81%) / BGE (4.07%) / ComEd
                                                                                                                                            AEP (16.75%) / APS (5.77%) / ATSI
                                                                                                                                                                              (12.94%) / Dayton (2.02%) / DEOK
                                                                                                                                            (21.63%) / BGE (5.33%) / DAYTON                                                Project Not included in Summary
                                                                                                                                                                              (3.47%) / DL (1.77%) / DPL (2.59%) /
Discussion                                                                                                                                     (3.35%) / DEOK (13.23%) / DL                                             Calculations, but provides illustration of
             KAMMER‐MOUNTAINEER 765KV                                              Regional Facility                       AEP                                                Dominion (13.40%) / EKPC (1.36%) / JCPL
stages                                                                                                                                        (8.53%) / DVP (15.50%) / EKPC                                            the significant regional benefits of 765kV
                                                                                                                                                                              (3.74%) / ME (1.98%) / NEPTUNE (0.43%)
                                                                                                                                                 (5.25%) / OVEC (0.32%) /                                                         replacement projects
                                                                                                                                                                              / OVEC (0.06%) / PECO (5.38%) / PENELEC
                                                                                                                                                  PEPCO_SMECO (4.34%)
                                                                                                                                                                              (1.81%) / PEPCO (3.72%) / PPL (4.80%) /
                                                                                                                                                                              PSEG (6.45%) / RE (0.26%)


Assumptions
‐ De Minimus DFAX = 0.01
‐ Directional Flow 50/50 Positive/Negative unless values are known
‐ Transactions and zonal loads are per PJM 2020 filing
‐ All projects selected will be designated as Reliability Projects

* Projects in red are operating below 200 kV




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   Document Content(s)
   Final Limited Answer ER20-2046.PDF........................................1




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                                          UNITED STATES OF AMERICA
                                                 BEFORE THE
                                   FEDERAL ENERGY REGULATORY COMMISSION


                 American Transmission Systems, Incorporated, )              Docket No. ER20-2046-000
                 PJM Interconnection, L.L.C.                  )



                                   MOTION FOR LEAVE TO ANSWER AND ANSWER
                                             OF THE LOAD GROUP

        I.         INTRODUCTION AND OVERVIEW

                       On July 21, 2020, the PJM Transmission Owners (“PJM TOs”) submitted an Answer to

             Protest and Comments and Motion for Consolidation (“TOs’ Answer”) in the above-referenced

             proceeding. With the exception of a few pages of their Answer that address a motion to consolidate,

             the TOs’ Answer is impermissible and should be rejected as such. In the event the Commission

             does not reject the TOs’ Answer to Protests and Comments, and in order to correct misstatements

             of fact and law in the TOs’ Answer, American Municipal Power, Inc. (“AMP”), Old Dominion

             Electric Cooperative (“ODEC”), the PJM Industrial Customer Coalition, Office of the People’s

             Counsel for the District of Columbia, Delaware Division of the Public Advocate, Indiana Office

             of Utility Consumer Counselor, Blue Ridge Power Agency, and Public Power Association of New

             Jersey (collectively, the “Load Group”) hereby seek leave to respond to the TOs’ Answer. This

             Motion and Response are submitted pursuant Rules 212 and 213 of the Commission’s Rules of

             Practice and Procedure, 18 C.F.R. §§ 385.212, 213 (2020).

                       At issue in this proceeding is the PJM TOs’ filing pursuant to Federal Power Act section

             2051 to modify Attachment M-3 of the PJM Interconnection, L.L.C. (“PJM”) Open Access


             1
                 16 U.S.C. § 824d (2020).
                                                              1



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         Transmission Tariff (“Tariff”) (the “TOs’ Proposal”).2             The TOs’ Proposal would modify

         Attachment M-3 so that, instead of PJM remaining responsible for regional transmission planning,

         the PJM TOs would have authority to plan all new transmission projects including those that

         expand or enhance the Transmission System,3 with limited exceptions. The TOs’ Proposal also

         includes a new, broad category of projects -- Asset Management Projects – which would include

         projects “for maintenance activities and new transmission that replaces existing Transmission

         Facilities that are not expansions or enhancements of the Transmission System.4

                    While the PJM TOs maintain that their June 12 Filing in this proceeding was within their

         reserved rights, that is not the case.5 The TOs also maintain that their Proposal “improves

         transparency and coordination in the planning to replace Transmission Facilities nearing the end

         of their useful lives.”6 However, as discussed in more detail in the Load Group Protest, the PJM

         TOs’ Proposal does not offer any such improvements in transparency and coordination in planning

         for end of life Transmission Facilities. Quite to the contrary, the PJM TOs’ Proposal is unjust and

         unreasonable for the reasons detailed in Load Group Protest, including that the TOs’ Proposal:

                    (1)    exacerbates the increased costs of replacing aging infrastructure;

                    (2)    violates the Consolidated Transmission Owners Agreement (“CTOA”) and FERC

                           precedent by taking away from PJM its regional transmission planning duties;



         2
           The PJM TOs’ filing was submitted June 12, 2020 in this proceeding, Accession No. 20200612-5124.
         (“June 12 Filing”).
         3
          “Transmission System” is defined as “the facilities controlled or operated by the Transmission Provider
         within the PJM Region that are used to provide transmission service under Tariff, Part II and Part III.” PJM
         Tariff, I. Common Service Provisions.
         4
             TOs’ Proposal, Exhibit A at Paragraph (b)(1).
         5
             See Load Group Protest at 11-16.
         6
             Id. at 1-2.
                                                              2



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                (3)     limits the scope of PJM’s Regional Transmission Expansion Plan (“RTEP”)

                        process by claiming the PJM TOs retained the responsibility to plan for the

                        retirement and replacement (including expansion and enhancement) of their

                        Transmission Facilities, as well as the new and broadly defined Asset Management

                        Projects, and relegating PJM’s planning responsibility to only Transmission

                        Facilities that the PJM TOs are not reserving for themselves in their proposed

                        revisions to Attachment M-3;

                (4)     limits stakeholder participation in regional planning, which is inconsistent with

                        Commission rulings;

                (5)     increases the likelihood of cost allocation disputes and unreasonable cost

                        allocations by characterizing their new Asset Management Project category as a

                        type of Supplemental Project, which will be allocated zonally despite having

                        regional benefits;

                (6)     limits opportunities for competitive transmission planning under Order No. 1000;

                        and

                (7)     impedes the regional and holistic development of the “Grid of the Future.”

                For all of these reasons, the Commission should reject the PJM TOs’ Proposal outright.

         Alternatively, if the Commission does not reject the TOs’ Proposal filing outright, the Commission

         should consolidate the TOs’ Proposal with a Joint Stakeholders Proposal pending in Docket No.

         ER20-2308-000. In that proceeding, PJM submitted on July 2, 2020, a filing under FPA section

         205 to modify the PJM Operating Agreement, Schedule 6, which governs PJM’s Regional

         Transmission Expansion Planning Protocols (“RTEP”). Unlike the TOs’ Proposal, which resulted



                                                         3



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         from their unilateral decision to submit changes to Attachment M-3,7 the proposal reflected in

         PJM’s July 2 filing was developed through PJM’s Consensus Based Issue Resolution (“CBIR”)

         stakeholder process and was supported by a sector-weighted supermajority of PJM members.

         (Hence, PJM referred to the filing as the “Joint Stakeholders Proposal.”)

                 The Joint Stakeholders Proposal “seeks to increase transparency and competition in the

         planning of Transmission Facilities to replace aging transmission infrastructure by having PJM, as

         the regional transmission organization (“RTO”), plan the replacement projects after a PJM TO

         indicates that a Transmission Facility8 can no longer be cost-effectively maintained and must be

         replaced. Because the Joint Stakeholders Proposal is within the bounds of the PJM governing

         documents and provides a just and reasonable process for planning end of life Transmission

         Facilities in a manner that complies with the Commission’s precedent, the Commission should

         adopt the Joint Stakeholders Proposal. At the very least, the Commission should consider these

         proposals together.

                 In support of this filing, the Load Group states as follows:



       II.   MOTION FOR LEAVE TO ANSWER



         7
           The TOs’ June 12 Filing in this proceeding resulted from actions by certain Sponsoring TOs (or a group
         thereof) that were outside the terms of the CTOA with respect to the provision of notice. Therefore, on
         June 18, 2020, AMP Transmission, LLC, and ODEC submitted a joint Motion to Dismiss Filing, Without
         Prejudice, and Suspend Procedural Schedule Until Ruling on Motion to Dismiss and Motion for Shortened
         Answer Period. The motion remains pending before the Commission.
         8
          The PJM Operating Agreement defines “Transmission Facilities” as “facilities that: (i) are within the PJM
         Region; (ii) meet the definition of transmission facilities pursuant to FERC’s Uniform System of Accounts
         or have been classified as transmission facilities in a ruling by FERC addressing such facilities; and (iii)
         have been demonstrated to the satisfaction of the Office of the Interconnection to be integrated with the
         PJM Region transmission system and integrated into the planning and operation of the PJM Region to serve
         all of the power and transmission customers within the PJM Region.” PJM Operating Agreement, Common
         Service Provisions, Definitions S-T.
                                                              4



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                   The Load Group respectfully requests leave to answer the TOs’ Answer. Rule 213(a)(2) of

         the Commission’s Rules of Practice and Procedure normally prohibits answers to answers, unless

         such answers have been authorized by the decisional authority.9 However, the Commission

         exercises its discretion to grant motions for leave to submit answers when doing so will clarify the

         issues, assist in the Commission’s decision-making processes, or otherwise ensure an accurate and

         complete record.10 As explained in further detail below, the TOs’ Answer includes misleading

         arguments, further confuses the issues, and fails to demonstrate that the proposed revisions to

         Attachment M-3 are just and reasonable. Accordingly, the Commission should disregard the TOs’

         Answer. However, if the Commission accepts the TOs’ Answer, then it should grant leave to

         accept this answer thereto in order to clarify the issues in this proceeding, assist in the

         Commission’s decision-making process, and ensure a complete decision-making record.

        III.       ANSWER

                   A. The PJM TOs Did Not Have Authority to File Their FPA Section 205 Proposal to
                      Amend the PJM Tariff.

                   The Load Group Protest demonstrated that the PJM TOs’ Proposal exceeds the TOs’

         authority to unilaterally file to revise the PJM Tariff.11 Significantly, the PJM TOs’ exclusive and

         unilateral right to file FPA section 205 filings is limited to those relating to “the establishment and

         recovery of the Transmission Owners’ transmission revenue requirements or the transmission rate

         design under the PJM Tariff, and such filing rights shall also encompass any provisions of the PJM




         9
             18 C.F.R. § 385.213(a)(2) (2019).
         10
           See, e.g., PJM Interconnection, L.L.C., 145 FERC ¶ 61,035, at P 32 (2013); Wisconsin Pub. Serv. Corp.,
         144 FERC ¶ 61,093, at P 27 (2013); Iberdrola Renewables, Inc., et al., 137 FERC ¶ 61,185, at P 17 (2011);
         and Virginia Elec. and Power Co., 125 FERC ¶ 61,391, at P 26 (2008).
         11
              Load Group Protest at 10-16.
                                                            5



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         Tariff governing recovery of transmission-related costs incurred by the Transmission Owners.”12

         The Tariff specifies that the TOs can “only file under Section 205 to change the transmission rate

         design for the PJM region pursuant to a filing approved in accordance with Section 8.5.1 of the

         CTOA.13 Quite simply and clearly, the PJM TOs’ authority to unilaterally submit changes to the

         Tariff stops at the authority to make filings to recover their costs of transmission ownership.14 The

         Load Group has explained that the PJM TOs’ June 12 Filing in this proceeding exceeds their

         unilateral filing authority and should be rejected on that basis alone.15

                    In their Answer, the PJM TOs first generally cite to the precedent of Atlantic City Elec. Co.

         v. FERC.16 The TOs state their “right to file with the Commission changes to rates and terms for

         service rendered with their assets subject to agreements they have entered into regarding their

         Section 205 filing rights.”17 As cited above and discussed in detail in the Load Group Protest, the

         PJM Tariff and CTOA limit the TOs’ right to make unilateral revisions to the Tariff, and do not

         extend to the transmission planning matters contemplated in the TOs’ Proposal. Thus, reference

         to the Atlantic City case does nothing to help the TOs’ argument; rather, it actually proves the Load

         Group’s position.

                    Next, the TOs seek to make their prohibited filing permissible, by citing the Commission’s

         policy and precedent that in acting on a FPA section 205 filing, the Commission need only

         determine that their filing is just and reasonable, not that it is superior to any alternatives that an


         12
              Id., citing PJM Tariff Section 9.1(a).
         13
              Id., citing PJM Tariff Section 8.5.1(e).
         14
              Id.
         15
              Id. at 10-16.
         16
              Atlantic City Elec. Co. v FERC, 295 F.3d 1, 9-10 (D.C. Cir. 2002) (“Atlantic City”).
         17
              TOs’ Answer at 9 (emphasis added).
                                                                6



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         intervenor may prefer.18 Of course, the Commission’s authority to consider a FPA section 205

         filing and the precedent for how it must go about doing so has nothing at all to do with the issue

         at hand, which is whether or not the TOs have the authority in the first place to submit the FPA

         section 205 filing to revise Attachment M-3 to the PJM Tariff. The TOs have said nothing in their

         Answer to remedy the fact that their June 12 Filing is an impermissible exercise of their limited

         right to make unilateral FPA section 205 filings to revise the PJM Tariff. Therefore, the Load

         Group reiterates its request that the Commission reject the PJM TOs’ impermissible June 12 Filing.

                   B. The PJM TOs’ FPA Section 205 Proposal Is Unjust and Unreasonable and Should
                      be Rejected.

                           1. The increased costs of replacing aging transmission infrastructure would
                              be exacerbated under the TOs’ Proposal and demonstrates that the TOs’
                              Proposal is not just and reasonable.

                   In their Answer, the PJM TOs characterize the Joint Stakeholders Proposal as “ill-advised,”

         arguing that the PJM TOs “are best positioned to manage their assets to the benefit of their

         customers and in furtherance of fulfilling their obligation to provide reliable electric service in a

         cost effective and efficient manner.”19 The PJM TOs also postulate that only they, not PJM or

         other stakeholders, “have the specialized knowledge of their systems and their customers needed

         to cost-effectively manage their assets.”20 Aside from these conclusory statements, nowhere in

         either their Answer or in their Proposal do the PJM TOs actually demonstrate their exclusive and

         innate ability to provide the cost-efficient management of the PJM transmission grid that they

         claim. But even if they had such “specialized knowledge,” nothing in the Joint Stakeholders

         Proposal will diminish this expertise or the ability to exercise it. Once a TO has made the decision


         18
              TOs’ Answer at 9-11.
         19
              TOs’ Answer at 4.
         20
              TOs’ Answer at n. 64.
                                                            7



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         that a Transmission Facility has reached the end of its operational life, based on the TO’s

         “specialized knowledge” and expertise, planning that replacement will be the responsibility of

         PJM under the Joint Stakeholder Proposal. This planning process will be consistent with the

         current PJM RTEP process, in which the PJM TOs, as well as any other stakeholders, are able to

         offer their “specialized knowledge” for the benefit of PJM and all stakeholders, that has been

         employed for years.

                   The PJM TOs claim that “big cost increases are not relevant to the planning”21 of EOL

         Projects. From the PJM TOs’ perspective, the dramatic increase in transmission spending in the

         PJM region is “nothing more than . . . unremarkable” and concerns regarding the “costs of

         replacing this aging infrastructure [are] beyond the scope of this proceeding.”22 Perhaps most

         telling, for the PJM TOs, “containing transmission costs is not an appropriate goal of the PJM

         planning process.”23 That is patently not the case: under Order No. 1000, questions of cost go to

         the very heart of determining if a proposed transmission planning process is just and reasonable.24

         And while the PJM TOs attempt to dismiss the potential savings from the Joint Stakeholders

         Proposal as “unreliable,”25 the Brattle Report26 provides detailed support for the cost benefits of


         21
              TOs’ Answer at 15.
         22
              TOs’ Answer at 15-16.
         23
              TOs’ Answer at 41.
         24
            Transmission Planning and Cost Allocation by Transmission Owning and Operating Public Utilities,
         Order No. 1000, FERC Stats. & Regs. ¶ 31,323 at P 78 (2011), order on reh’g, Order No. 1000-A, 139
         FERC ¶ 61,132, order on reh’g, Order No. 1000-B, 141 FERC ¶ 61,044 (2012)(“Order 1000”).(For
         example, Order No. 1000 focuses on an evaluation of regional transmission alternatives to resolve
         transmission needs more “cost-effectively than solutions identified in the local transmission plans of
         individual public utility transmission providers.”)
         25
              TOs’ Answer at 16.
         26
           Johannes P. Pfeifenberger, et al., Cost Savings Offered by Competition in Electric Transmission
         Experience to Date and the Potential for Additional Customer Value, THE BRATTLE GROUP (April
         2019),                                          available                                      at:
                                                           8



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         addressing EOL Projects through the PJM RTEP process, rather than as Supplemental Projects.

                   At the end of the day, the only refutation that the PJM TOs can muster is that the Load

         Group’s estimates might be “unreliable”27 and that the potential savings to consumers that the Joint

         Stakeholders Proposal offers might be higher than what is actually realized. That is because a TO-

         prepared study acknowledges savings of over seven percent in the PJM region if policies similar

         to those in the Joint Stakeholders Proposal were implemented.28 Seven percent may not sound

         like much, but considering the amount of Supplemental Project spending in PJM in the last few

         years, seven percent is substantial. At the January 10, 2019 Transmission Expansion Advisory

         Committee (“TEAC”) meeting, PJM presented a slide the illustrating that in 2018 over eighty

         percent (80%) of Supplemental Project costs totaling $4.61 billion, proposed by PJM TOs were

         associated with EOL drivers.29 Seven percent of $4.61 billion is $322,270,000. At the May 12,



         https://brattlefiles.blob.core.windows.net/files/15987_brattle_competitive_transmission_report_final_with
         _data_tables_04-09-
         2019.pdf#:~:text=Cost%20Savings%20Offered%20by%20Competition%20in%20Electric%20Transmissi
         on,Michael%20Hagerty%20Simon%20Levin%20Wren%20Jiang%20April%202019 (“Brattle Report”).
         27
              TOs’ Answer at 16.
         28
            Dr. Emma Nicholson, et al., Building New Transmission: Experience To-Date Does not Support
         Expanding Solicitations, CONCENTRIC ENERGY ADVISORS (June 2019), https://ceadvisors.com/wp-
         content/uploads/2019/06/CEA_Order1000report_final.pdf, p 12; stating that “updated project cost
         estimates for PJM incumbent TOs exceeded initial cost estimates by 7.0%” for the years 2014-2017. Even
         assuming the seven percent estimate, which the Commission should not, that still equates to over $1.2
         billion in savings. As the old saw goes, “[a] billion here, a billion there, and pretty soon you're talking
         about real money.” See, e.g., Senator Everett Dirksen. In a response to the TO-prepared study, Brattle
         found its "criticisms are based on inappropriate and misleading cost comparisons, a misrepresentation of
         the available transmission cost data and facts, and a misunderstanding of our analysis." Moreover, Brattle
         demonstrated that its methodology, relying on a project's initial cost estimates, are the best basis for
         comparison of estimated cost savings from competitive solicitations.

         29
           PJM Interconnection, L.L.C., Jan. 10, 2019 Transmission Expansion Advisory Committee, 2018 Project
         Statistics,        https://www.pjm.com/-/media/committees-groups/committees/teac/20190110/20190110-
         project-statistics-2018.ashx, p. 10. This figure includes all Supplemental Projects classified as “Equipment
         Material Condition, Performance and Risk” and Supplemental Projects classified under “Multiple Drivers”
         with the exception of those listed as “Operational Flexibility and Efficiency/Customer Service.”
                                                              9



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         2020 TEAC meeting, RTEP statistics for 2019 were presented with EOL drivers totaling only

         $2.137 billion, or approximately sixty-three percent of Supplemental Project costs for that year.30

         Seven percent of $2.137 billion is $149,590,000.

                    Without question, EOL needs are the primary driver of Supplemental Project costs, and

         with Supplemental Projects accounting for the majority of transmission costs for four of the

         previous five years,31 EOL needs represent the largest portion of growth in a ratepayer’s

         transmission bill. Moreover, these spending patterns are unlikely to decrease, and will almost

         certainly increase, in the near to mid-term, as PJM has noted that “[t]wo-thirds of all system assets

         in PJM are more than 40 years old; over one-third are more than 50 years old.”32 In other words,

         much of the PJM transmission grid will reach EOL status in the coming decade.

                    The Brattle Report finds that “[h]aving a larger share of transmission investments

         developed through competitive processes would yield significant customer savings.”33 Brattle

         reached this conclusion through rigorous analysis, not “speculation.”34                For example, in



         30
            PJM Interconnection, L.L.C., May 12, 2020 Transmission Expansion Advisory Committee, 2019 Project
         Statistics, https://www.pjm.com/-/media/committees-groups/committees/teac/2020/20200512/20200512-
         item-10-2019-project-statistics.ashx (“May 12 TEAC Presentation”), p. 6. This figure includes all
         Supplemental Projects classified as “Equipment Material Condition, Performance and Risk” and
         Supplemental Projects classified under “Multiple Drivers” with the exception of those listed as
         “Infrastructure Resilience/Customer Service,” “Operational Flexibility and Efficiency/Customer Service,”
         “Operational Flexibility and Efficiency/ Infrastructure Resilience,” and “Operational Flexibility and
         Efficiency/ Infrastructure Resilience/Customer Service.”
         31
            This statistic alone does not recognize the vast difference in Supplemental Project versus Baseline
         spending. In three of the last five years, Supplemental Project spending has been at least twice the amount
         of Baseline spending and in 2018 it was more than three times the amount. Since 2015 Supplemental
         Project spending has totaled $19.951 billion compared to Baseline spending of $9.923 billion. See, May
         12 TEAC Presentation, p. 3.
         32
            PJM Interconnection, L.L.C., The Benefits of the PJM Transmission System (April 16, 2019),
         https://www.pjm.com/-/media/about-pjm/newsroom/fact-sheets/the-value-of-transmission.ashx, p 5.
         33
              Brattle Report at 45.
         34
              TOs’ Answer at 16.
                                                             10



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         demonstrating a twenty-two percent (22%) savings in historical cost escalation for Baseline and

         Network projects in PJM, Brattle compares the Latest TO Cost Estimate over the Initial TO Cost

         Estimate minus one.35 In other words, Brattle uses the PJM TOs’ own numbers to determine its

         findings. And when Brattle finds potential savings of twenty to thirty percent (20%-30%) through

         increased competition, it is not based on hollow platitudes of cost-efficiency, but rather is grounded

         in “the experience with competitive projects in the U.S. to date” and “consisten[cy] with savings

         achieved with similar competitive transmission processes in Canada, the U.K., and Brazil.”36

                    If anything, Brattle’s 20-30% estimates of cost savings are conservative when compared to

         the experience of competitive transmission in PJM. Based on Brattle’s analysis of already-

         completed projects’ selected proposal cost (including necessary incumbent upgrades) compared to

         the lowest-cost solution offered by an incumbent in the initial proposal window, and assuming a

         range of cost escalation between zero and the historical average cost escalation of transmission

         projects in PJM (+22%), Brattle concludes that competitive bidding could have potentially saved

         ratepayers a staggering sixty to seventy percent – by far the greatest potential for savings of any

         of the regions analyzed.37

                    Order No. 1000 directs the RTO, PJM, in consultation with stakeholders, to “identify and

         evaluate transmission alternatives at the regional level that may resolve the region’s needs more

         efficiently or cost-effectively than solutions identified in the local transmission plans of individual

         public utility transmission providers.”38 Order No. 1000 envisions a transmission planning



         35
              Brattle Report, figure 24.
         36
              Brattle Report, p. 1.
         37
              Brattle Report, Figure 19.
         38
              Order No. 1000 at P 78 (emphasis added).
                                                           11



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         “process” that “evaluates the various alternatives available to determine a set of solutions that meet

         the system’s needs more efficiently or cost-effectively than other proposed solutions.”39 Order No.

         1000 concludes that “it is necessary to have an affirmative obligation”40 in the RTO planning

         process to not only consider costs, but seek out the most cost-effective solutions for a region’s

         transmission needs. Contrary to the protestations of the PJM TOs, transmission costs are indeed

         “relevant,” and containing costs is “an appropriate goal” of a transmission planning process; in

         fact, doing so is an Order No. 1000 requirement.

                   Given the evidence provided by the Brattle Report and the mandates of Order No. 1000,

         any just and reasonable transmission planning process must include competition among different

         transmission solutions as a tool to mitigate costs. Unfortunately, not only does the PJM TOs’

         Proposal fail to do this, it moves decidedly in the opposite direction. By adding EOL Needs into

         the Attachment M-3 criteria, the TOs’ Proposal undermines PJM’s administration of Schedule 6

         of its Operating Agreement by granting solely to the PJM TOs the ability to unilaterally remove

         from PJM’s (and stakeholders’) review EOL projects if a PJM TO “determines that the projected

         EOL Need is not met by the proposed Required Transmission Enhancement and determines that it

         will plan an Attachment M-3 Project to address the projected EOL Need.”41 This provision will

         effectively allow PJM TOs to evade the PJM regional planning process, contrary to Order No.

         1000, and will prevent PJM and its stakeholders from enjoying the benefits of competition

         demonstrated in the Brattle Report. Because the planning process offered in the PJM TOs’

         Proposal will not only fail to mitigate, but likely exacerbate, the costs associated with EOL


         39
              Order No. 1000 at P 79 (emphasis added).
         40
              Order No. 1000 at P 80.
         41
              Proposed Attachment M-3(d)(ii).
                                                           12



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         replacement while undermining PJM’s authority to regionally plan its transmission system, it is

         not just and reasonable.

                           2. The TOs’ Proposal to amend Attachment M-3 of the Tariff violates the
                              CTOA and FERC precedent by transferring regional planning duties from
                              PJM to the TOs

                   In their Answer, the PJM TOs argue that the CTOA “firmly establishes and reserves to

         Transmission Owners the rights and associated responsibilities to determine when, whether, and

         how to replace any of their transmission assets that are nearing the end of their useful lives.”42

         Given the PJM TOs’ reliance on the CTOA for their June 12 Filing and their Answer, it is worth

         carefully examining what that agreement actually does and does not require.

                   Article 2 of the CTOA defines four purposes and objectives of the CTOA:

                   (i) facilitate the coordination of planning and operation of their respective
                   Transmission Facilities within the PJM Region;
                   (ii) transfer certain planning and operating responsibilities to PJM;
                   (iii) provide for regional transmission service pursuant to the PJM Tariff and
                   subject to administration by PJM; and
                   (iv) establish certain rights and obligations that will apply to the [PJM TOs] and
                   PJM.43

         While the PJM TOs may characterize this as “limited transfer of planning responsibilities,”44 a

         plain text reading makes clear that the CTOA envisions coordinated planning between PJM and

         the PJM TOs to ensure a regional approach to transmission service, and that to effectuate this

         regional planning and operation, obligations would be placed on the PJM TOs and certain

         responsibilities would be transferred to PJM. In other words, a proposal such as the one offered

         by the PJM TOs, which unilaterally removes significant areas of regional coordination and



         42
              TOs’ Answer at 6.
         43
              CTOA Article 2 (emphasis added).
         44
              TOs’ Answer at 22.
                                                          13



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         planning responsibility from PJM, is wholly incompatible with the purposes and objectives of the

         CTOA. The Joint Stakeholders Proposal, on the other hand, acknowledges and builds on that

         careful balance of rights and responsibilities between PJM and its TOs.

                   The PJM TOs argue that under the CTOA, they, and they alone, “retained the responsibility

         for planning the retirement and replacement of their Transmission Facilities.”45 But that is not

         what the CTOA says. Section 4.1.4 of the CTOA directs each PJM TO “transfer to PJM, pursuant

         to this Agreement and in accordance with the Operating Agreement, the responsibility to prepare

         a Regional Transmission Expansion Plan”46 In other words, the CTOA requires that PJM, as the

         regional planner in charge of the RTEP, have a role in addressing EOL needs along with other

         planning responsibilities. While the CTOA does not define the term “Regional Transmission

         Expansion Plan,” the Tariff defines it as “the plan prepared by the Office of the Interconnection

         pursuant to Operating Agreement, Schedule 6 for the enhancement and expansion of the

         Transmission System.”47 The CTOA also recognizes this assignment of responsibility, stating that

         the “Regional Transmission Expansion Planning Protocol shall mean Schedule 6 of the Operating

         Agreement.”48

                   The PJM TOs also claim that the CTOA and the Tariff grant them the exclusive “right to

         file the procedures under which those Transmission Facilities will be planned.”49 This is not so,

         but even if it were accurate, it is irrelevant. Section 18.6 of the Operating Agreement is clear that

         it is the PJM Members Committee that retains the right to amend the Operating Agreement,


         45
              TOs’ Answer at 19.
         46
              CTOA § 4.1.4 (emphasis added).
         47
              Tariff § 1 (emphasis added).
         48
              CTOA § 1.23.
         49
              TOs’ Answer at 19.
                                                          14



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         “including any Schedule hereto.”50 The process for amending the Operating Agreement includes

         three steps: submission of the changes to the PJM Board for review, but not approval; (ii) a vote

         of the Members Committee using the procedures described in Section 8.4 of the Operating

         Agreement, including sector-weighted voting if necessary; and, (iii) approval by the

         Commission.51 The Joint Stakeholders Proposal has cleared the first two requirements, and now

         awaits approval by this Commission.

                   The PJM TOs insist that CTOA Section 5.6 reserves for them “all ‘[r]ights not specifically

         transferred . . . to PJM pursuant to [the CTOA] or any other agreement.’”52 However, by using a

         boilerplate reservation of rights provision to prohibit changes properly approved through the

         Operating Agreement, the PJM TOs overplay their hand. The PJM TOs fail to identify any specific

         “right” to regional planning because, as explained above, that role has been properly transferred

         to PJM and, through the Operating Agreement, to PJM Members. And as noted above, a sector-

         weighted majority of the more than 1,000 PJM Members, not just the dozen or so PJM Members

         that supported the TOs’ Proposal, that retain the right to amend the Operating Agreement.

                   Finally, the PJM TOs assert that Supplemental Projects are “different” and that the CTOA

         affords the PJM TOs the “contractual right to determine when, whether, and how to replace

         facilities that have reached the end of their useful lives carries with it the right to make Section

         205 filings to govern how and when Transmission Owners receive stakeholder input, as well as




         50
              Operating Agreement § 18.6.
         51
            It is important to note that Section 18.6 states that “[i]f and as necessary, the Members Committee may
         file with FERC … any amendment to this Agreement or to its Schedules,” making clear that the right to
         amend the Operating Agreement rests not with PJM but the Members themselves.
         52
              TOs’ Answer at 23.
                                                            15



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         measures to facilitate coordination of EOL Needs with PJM responsibilities.”53 Yet the term

         “Supplemental Projects” never appears in the CTOA. And while the Tariff lays out the process

         for reviewing Supplemental Projects and addresses cost allocation and certain public policy

         projects that are not part of the RTEP, it says nothing about any possible contractual rights of the

         PJM TOs to “determine when, whether, and how to replace facilities.” TOs have the right to retire

         facilities.54 Instead it is the Operating Agreement that defines Supplemental Projects, and under

         the Operating Agreement amending or revising that definition remains the right of PJM Members.

                           3. The TOs’ Attachment M-3 Proposal Unjustly and Unreasonably Limits the
                              Scope of PJM’s RTEP Process.

                                    a. The TOs’ rights are limited to existing transmission facilities, not
                                       planning future facilities.

                   The TOs’ Answer confirms the unreasonable overreach of their proposal to expand the

         Attachment M-3 planning process to authorize the PJM TOs, not PJM, to plan for all new

         transmission projects that expand or enhance the Transmission System, with limited exceptions.55

         As the Load Group discussed in its Protest, the TOs’ planning authority is not unfettered. Instead,

         the Commission accepted the PJM TOs’ Attachment M-3 on the basis that it applied to local

         Supplemental Project planning.56 The PJM TOs baldly assert that they “retained the responsibility

         for planning the retirement and replacement of their Transmission Facilities, unless a Transmission

         Owner voluntarily files Form No. 715 EOL Planning Criteria or a PJM Planning Criteria Need



         53
              TOs’ Answer, p. 23.
         54
           CTOA, Section 5.2. Per its planning authority under OA Schedule 6, PJM will take any such reliability
         impacts of retirement into account in transmission planning.
         55
           The limited exception to the PJM TOs’ expanded authority over transmission planning in PJM is for
         projects to address NERC Reliability Standards, State Public Policies, TO FERC Form 715 criteria, or
         projects to relieve economic constraints (Market Efficiency Projects). See Load Group Protest at 1-2.
         56
              See Load Group Protest at 18-19.
                                                           16



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         must also be addressed by the replacement.” The TOs further state, “[w]here the Transmission

         Owners retained the right to plan Transmission Facilities, they have the right to file the procedures

         under which those Transmission Facilities will be planned.”57 The PJM TOs’ disregard for the

         Commission’s orders limiting the scope of the PJM TO’s planning authority over Supplemental

         Projects must be rejected in order to maintain the Commission’s division of authority for TOs to

         plan local Supplemental Projects and PJM to plan for regional transmission expansions and

         enhancements, consistent with Order Nos. 890 and 1000,58 as well as the requirement in Order No.

         2000 that “the RTO must have ultimate responsibility for both transmission planning and

         expansion within its region that will enable it to provide efficient, reliable and non-discriminatory

         service and coordinate such efforts with the appropriate state authorities.”59

                    In support of their attempted power-grab over regional planning, the PJM TOs cite to the

         Commission’s Orders approving PJM Tariff Attachment M-3.60 Apparently, the PJM TOs believe

         that because the Commission approved Attachment M-3, and Attachment M-3 allows the TOs to

         plan Supplemental Projects, then any project category they create to fit the definition of a



         57
              TOs’ Answer at 19.
         58
            See Monongahela Power Co., et al., 162 FERC ¶ 61,129 at PP 6-7 (2018) (describing the requirement in
         Order No. 890 for transmission-owning members of an RTO to participate in an Order No. 890-compliant
         transmission planning process, and PJM’s explanation that its transmission planning procedures comply
         with Order No. 890 for its TOs, and Supplemental Projects would be “developed under the local
         transmission owner planning processes” then “incorporated into the PJM planning process in a manner
         consistent with Order No. 890.” Id. (citations omitted); see also Preventing Undue Discrimination and
         Preference in Transmission Service, Order No. 890, 118 FERC ¶ 61,119, at P 440; order on reh’g, Order
         No. 890-A, 121 FERC ¶ 61,297(2007), order on reh’g and clarification, Order No. 890-B, 123 FERC ¶
         61,299 (2008), order on reh’g, Order No. 890-C,126 FERC ¶ 61,228, order on clarification, Order No.
         890-D, 129 FERC ¶ 61,126 (2009).
         59
           Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶ 31,089, at 31,163 (1999),
         order on reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000), aff’d sub nom. Pub. Util. Dist.
         No. 1 v. FERC, 272 F.3d 607 (D.C. Cir. 2001) (“Order No. 2000”); see also 18 C.F.R. § 35.34(k)(7) (2018).
         60
              Id. at 20.
                                                            17



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         Supplemental Project can be planned by the TOs, not PJM. But the Attachment M-3 Orders do

         not grant the PJM TOs such unbounded and unilateral authority over transmission planning in

         PJM. Even the passage from the Attachment M-3 Order that the PJM TOs cite in their Answer

         makes this clear. The Commission stated as follows:

                   When transmission owners participate in an RTO, the Commission did not require
                   them to allow the RTO to do all planning for local or Supplemental Projects.
                   Rather, the Commission recognized RTO planning processes may focus principally
                   on regional problems and solutions, not local planning issues that may be
                   addressed by individual transmission owners.61

         While the PJM TOs apparently focus only on the first sentence of the above-quoted discussion in

         the Attachment M-3 Order, the Commission must not lose sight of the emphasized sentence which

         clarifies the Commission’s requirement and continued expectation that regional planning remain

         with PJM, the RTO. As explained in the Load Group Protest, the TOs’ Proposal is per se unjust

         and unreasonable because it expands the PJM TOs’ authority to plan transmission projects well

         beyond local Supplemental Projects.62 The TOs’ Proposal includes definitions for “Attachment

         M-3 Planning Criteria” and “PJM Planning Criteria” that extend the TOs authority beyond simply

         local Supplemental Projects, and which actually modify the RTEP, which is clearly beyond the

         TOs’ authority. The Commission should reject the PJM TOs’ attempt to escape the Commission’s

         clear delegation of regional planning authority to PJM. Instead, the Commission should look to

         the substance of what the PJM TOs propose (regional transmission planning for EOL), as opposed

         to the form of their proposal (regional transmission planning labeled as a Supplemental Project).

                   Further, the PJM TOs’ planning authority is limited to existing facilities, not planning

         future facilities. Their argument regarding rights retained in the CTOA does not dictate a different


         61
              TOs’ Answer at 20, citing Monongahela Power Co., et al., 164 FERC ¶ 61,217 at P 13 (emphasis added).
         62
              Load Group Protest at 64-65 (citations omitted).
                                                                 18



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         result.63     As the Load Group previously explained, there is a distinction between original

         transmission facilities that were planned decades ago, and regional planning responsibility for

         expansions and enhancements. The planning authority for EOL projects that replace original

         facilities at the end of their operational lives falls squarely within PJM’s planning responsibility

         because PJM, not the PJM TOs, has planning responsibility for non-local expansions and

         enhancements.64 The PJM TOs’ Proposal exceeds the PJM TOs’ authority by broadening their

         exclusive control over planning to include “any other transmission expansion or enhancement of

         Transmission Facilities that is not planned by PJM to address one or more” of a limited list of PJM

         planning criteria.65

                                    b. The PJM TOs’ claims of improved coordination between EOL
                                       Needs and PJM Planning under Operating Agreement Schedule 6
                                       are incorrect and do not remedy their impermissible proposal to
                                       usurp PJM’s planning authority.

                    The PJM TOs repeat their claim that their proposed Attachment M-3 amendments will

         “substantially enhance transparency and coordination of EOL planning in PJM.”66 The TOs’

         Proposal does not simply provide greater transparency for projects that would not be subject to

         Attachment M-3, as the PJM TOs represent; it is actually a fundamental and impermissible change

         in the responsibility for planning expansions and enhancements from PJM to the PJM TOs. As

         the Load Group detailed in its Protest, the PJM TOs’ Proposal revises the very scope of the PJM


         63
              See TOs’ Answer at 22-23.
         64
           See Load Group Protest at 31-33 (“CTOA Section 4.1, entitled ‘Rights and Responsibilities Transferred
         to PJM’ clearly transfers to PJM the responsibility for transmission planning for expansions and
         enhancements to the Transmission System. Specifically, CTOA Section 4.14 transfer to PJM the
         responsibility to prepare the RTEP which is . . . “the plan prepared by PJM pursuant to Operating
         Agreement, Schedule 6 for the enhancement and expansion of the Transmission System . . .”).
         65
              See id., citing TOs’ Proposal at Exhibit A, Paragraph (a).
         66
              TOs’ Answer at 31-39.
                                                                19



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         TOs’ planning authority as compared to PJM’s.67               The Applicability provision of existing

         Attachment M-3 specifies the coordinated approach to transmission planning: it “provides

         additional details of the process that PJM and the PJM Transmission Owners will follow in

         connection with planning Supplemental Projects. . .”68 Under the PJM TOs’ Proposal, this

         coordinated approach would be written out of Attachment M-3, it would provide that

                    [e]ach Transmission Owner shall be responsible for planning and constructing in
                    accordance with Schedule 6 of the Operating Agreement as provided in this
                    Attachment M-3, to the extent applicable, (i) Asset Management Projects . . . (ii)
                    Supplemental Projects . . . and (iii) any other transmission expansion or
                    enhancement of Transmission Facilities that is not planned by PJM to address one
                    or more of the following criteria . . .”69 Further, the PJM TOs’ Proposal would
                    define a PJM Planning Criteria Need as “a need to plan a transmission expansion
                    or enhancement of Transmission Facilities other than those reserved to each
                    Transmission Owner in accordance with section (a) [above].”70

                    The PJM TOs’ Proposal is not about transparency or “improved coordination between EOL

         Needs and PJM Planning Under Schedule 6,”71 as the PJM TOs would have the Commission

         believe.      Instead, it is the TOs’ attempt to use a Tariff provision that was based on the

         Commission’s FPA section 206 investigation and approved for the specific, limited category of

         locally planned transmission facilities, to swallow the Commission’s general policy directives

         regarding the RTO as regional transmission planner. Even if they were true, which the PJM TOs

         have not demonstrated to be so, the TOs’ claims of improved coordination do nothing to remedy

         or justify their impermissible attempt to seize planning authority from PJM.




         67
              Load Group Protest at 20.
         68
              See Load Group Protest at 20, citing PJM Tariff. Attachment M-3, Applicability.
         69
              TOs’ Proposal, Exhibit A at Paragraph (a).
         70
              Id.
         71
              TOs’ Answer at 20.
                                                              20



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                                    c. The TOs’ Proposal limits the potential for stakeholder participation
                                       in regional planning contrary to Commission orders.

                    In response to concerns that their proposal will reduce the potential for stakeholder

         participation in regional planning as required by the Commission in Order Nos. 890 and 1000,72

         the PJM TOs claim that “there is no reduction to the level of stakeholder participation” and that

         “[n]othing in the Proposed Revisions limits or reduces stakeholder opportunities for input.”73 The

         PJM TOs note that the existing opportunities for stakeholders to participate in the Needs meeting

         and Solutions meeting will not be curtailed by their Proposal, and contend that “protesters fail to

         point to any specific provision that does.”74

                    While the TOs’ Proposal maintains the Assumptions and Needs meetings set forth in the

         existing Attachment M-3, that is far from the end of the story. The TOs’ Proposal includes an

         entirely new Attachment M-3, section d, titled “Additional Procedures for the Identification and

         Planning of EOL Needs.”75 As the Load Group stated in its Protest, this provision:

                  would introduce a veil of secrecy that does not currently exist, making the
                  Attachment M-3 process non-compliant with the requirements of Order No. 890 and
                  Order No. 1000. Specifically, and mystifyingly for the purpose of increasing
                  transparency, the TO Proposal only requires Transmission Owners to provide to PJM,
                  and then only on a confidential basis, up to five years of project replacements that a
                  Transmission Owner has identified. Creating secret lists as part of the Attachment
                  M-3 process certainly does not increase transparency; rather, it creates opportunities

         72
            See Load Group Protest at 35 (“In short, Order No. 890 requires that transmission planning ‘not [be]
         limited to the mere exchange of information and then review of transmission provider plans after the fact.’
         Instead, stakeholders must have ‘a meaningful opportunity to engage in planning along with their
         transmission providers.’”) (Order No. 890 at PP 454, 488); (“Order No. 1000 requires transmission
         providers ‘to evaluate, in consultation with stakeholders, alternative transmission solutions that might meet
         the needs of the transmission planning region more efficiently or cost-effectively than solutions identified
         by individual public utility transmission providers in their local transmission planning process.’ This
         requirement applies equally to baseline RTEP projects and Local Plans, including Supplemental Projects.”)
         (citing Order No. 1000 at PP 6, 148) (emphasis added).
         73
              TOs’ Answer at 40.
         74
              Id. at 43.
         75
              TOs’ Proposal, Exhibit A, Section (d).
                                                              21



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                  for abuse. Secret transmission projects do not comply with the openness and
                  transparency requirement of Order Nos 890 and Order No. 1000.76

         Thus, the Load Group has clearly and specifically demonstrated that the TOs’ Proposal curtails

         stakeholders’ ability to participate meaningfully in the transmission planning process.

                    Further, the PJM TOs have failed to justify their proposal to keep the Candidate EOL Needs

         List secret. The PJM TOs assert that: (1) arguments over the confidentiality of the EOL Needs do

         not show how those provisions interfere with EOL planning;77 (2) arguments against the

         confidentiality of the Candidate EOL Needs List are “inconsistent with the Commission-approved

         process under Attachment M-3 that transmission needs need not be identified before Transmission

         Owners receive comments first on the criteria, assumptions, methodology, and models that will be

         used to identify transmission needs at the Need Meeting;”78 and (3) “the protestors have identified

         no requirement or need for additional disclosure of tentative EOL Needs years in advance,

         particularly given the confidentiality concerns underlying the EOL Need projections.”79 The PJM

         TOs then summarily claim that since the existing Attachment M-3 stakeholder input provisions

         are just and reasonable, “the expansion of those opportunities under the Proposed Revisions is also

         just and reasonable.”80 Even if true, none of these makes the secret list reasonable or consistent

         with the requirement for open, coordinated and transparent transmission planning. As the Load

         Group explained in its Protest, the secrecy of transmission planning information violates the

         Commission’s requirements for openness and transparency in transmission planning. The PJM



         76
              Load Group Protest at 35-36 (citations omitted).
         77
              TOs’ Answer at 8.
         78
              Id. at 35.
         79
              Id. at 36.
         80
              Id. at 40.
                                                                 22



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         TOs have not explained why the information cannot be made public, or why measures such as a

         non-disclosure agreement would not suffice.81

                   Moreover, the PJM TOs’ contention that it would be inconsistent with Attachment M-3 to

         provide transparency and openness for their Candidate EOL Needs List before they receive

         comments on the criteria, assumptions, methodology, and models, defies logic. Under their

         Proposal, the PJM TOs will: (1) develop documentation for their Attachment M-3 EOL Planning

         Criteria and/or Form 715 EOL Planning Criteria; (2) delineate and present those criteria at least

         once annually; and (3) provide a Candidate EOL Needs List on a confidential basis to PJM, based

         on the PJM TO’s Attachment M-3 EOL Planning Criteria and/or Form 715 EOL Planning

         Criteria.82 Apparently, the PJM TOs plan to skip the requirement to share their criteria with

         stakeholders and receive comments on these criteria before developing their EOL Needs List. This

         sort of after-the-fact sharing of needs, based on undefined criteria that will not be shared with

         stakeholders, is the very practice the Commission rejected and directed be remedied in the Show

         Cause proceedings that resulted in Attachment M-3.83 The Commission should not approve the




         81
            The Load Group notes that the circumstances here are distinct from those at issue in the PJM TOs’
         confidential Attachment M-4 Tariff provisions, where the Commission found that disclosure of information
         regarding CIP-014 Mitigation Projects would be inappropriate in light of the reliability standard, even with
         a non-disclosure agreement process. Appalachian Power Co., 170 FERC ¶ 61,196 at P 68 (2020).
         82
              TOs’ Proposal, Exhibit A, proposed Attachment M, section (d)(1)(i) through (iii).
         83
           See Monongahela Power Co., et al., 162 FERC ¶ 61,129 at P 77 (“Based on this evidence, we find that
         the PJM Transmission Owners are implementing the transmission planning process for Supplemental
         Projects in a manner that is inconsistent with Order No. 890’s transparency principle. The record indicates
         that, in practice, the PJM Transmission Owners are providing transmission planning information, including
         models, criteria, and assumptions, that is inadequate to allow stakeholders to replicate their planning
         studies, as Order No. 890 requires. In addition, we find that this information is often provided too late in
         the transmission planning process for stakeholders to participate before the PJM Transmission Owners have
         taken significant steps toward developing Supplemental Projects. “
                                                               23



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         PJM TOs’ attempt to maintain secretive transmission planning practices in a different guise. A

         transmission planning process that is not open and transparent is not just and reasonable.

                           4. The Commission should adhere to its determination that the rulings
                              regarding asset management activities in the California Orders are limited
                              to those proceedings.

                   The PJM TOs continue to rely on the Commission’s orders in specific proceedings

         regarding a FPA section 206 complaint and a FPA section 205 proceeding involving Participating

         Transmission Owners (“PTOs”) in the California ISO, despite the Commission’s explicit

         statements that those circumstances were not comparable to PJM.84 The Load Group Protest

         detailed the fallacy of the TOs’ position.85 The inapplicability of the California Orders86 to EOL

         planning in PJM was also demonstrated in the Supporting Comments of the Joint Stakeholders in

         Docket No. ER20-2308-000.87 Without repeating those discussions in their entirety, the following

         key distinctions are fatal to the PJM TOs’ attempt to justify their Proposal on the basis of the

         California Orders:

                  There is no definition of “asset management” in PJM, and the TOs’ Proposal does not
                   provide such definition.

                  The Commission specifically rejected arguments seeking to align the CAISO PTO asset
                   management activities with Supplemental Project planning in PJM.88




         84
              TOs’ Answer at 27-31.
         85
              Load Group Protest at 25-30.
         86
           References herein to the “California Orders” include the following: California Pub. Utils. Comm’n v.
         Pac. Gas and Elec. Co., 164 FERC ¶ 61,161 (2018) (“PG&E Order”), order on reh’g, 168 FERC ¶ 61,171
         (2019) (“PG&E Rehearing Order”); S. California Edison Co., 164 FERC ¶ 61,161 (2018) (“SoCal Ed
         Order”), order on reh’g, 168 FERC ¶ 61,170 (2019) (“SoCal Ed Rehearing Order”).
         87
           Supporting Comments of the Joint Stakeholders, submitted in Docket No. ER20-2308-000, at 10-11, 50-
         57.
         88
           SoCal Ed Order at P 67 (“Based on the information in the record, we find that the specific asset
         management projects and activities at issue here do not, as a general mater expand the CAISO grid.”); see
                                                            24



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                   The Commission has already determined that “[i]n light of the specific criteria set forth in
                    the definition of Supplemental Projects in the PJM Tariff, there is no basis to conclude that
                    based on their definition, Supplemental Projects in many cases are identical to asset
                    management projects.”89

                   In the California Orders, the Commission addressed “the specific asset management
                    projects and activities at issue” as “items such as maintenance, compliance, work on
                    infrastructure at the end-of-useful life, and infrastructure security.”90 The PJM TOs’ Asset
                    Management Project proposal far exceeds the activities at issue in the California Orders.91

                   The TOs’ Proposal for Incidental Increase includes items such as “replacements” and TO-
                    specific standards as increases in capacity which would take a project out of consideration
                    as an enhancement, which is beyond the incidental increase at issue in the California
                    Orders.92

                   The TOs are wrong in their claim that “under the California Orders, Order No. 890 applies
                    to projects that expand or enhance Transmission Facilities.” The California Orders
                    specifically did not address “enhancements,” which are a fundamental element of
                    Supplemental Projects in PJM.93

         The Commission should reject the PJM TOs’ attempt to ignore the Commission’s limited

         applicability of the California Orders and instead find that: (1) the California Orders do not apply

         beyond those specific cases; and (2) even if the California Orders did provide precedent, the TOs’

         Proposal goes well beyond any reasonable application of the California Orders.




         also id. at P 73 (“[T[he scope of this proceeding is therefore limited to whether PG&E’s self-approval of
         asset management projects and activities violates the requirements of Order No. 890.”)
         89
              PG&E Rehearing Order at P 59.
         90
              SoCal Ed Order at P 33.
         91
              See Load Group Protest at 27-28.
         92
              See id. at 28-29.
         93
           See id. at 29-30; see also Joint Stakeholders’ Comments in Docket No. ER20-2038-000 at 53-54 (“The
         CAISO has ‘clarified that the CAISO’s TPP addresses expansion and reinforcement of the transmission
         system, as opposed to enhancements . . .’).
                                                             25



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                              5. The Attachment M-3 Proposal increases the likelihood of cost allocation
                                 disputes, and unjust and unreasonable cost allocations.

         In its Protest, LS Power raised the concern that the TOs’ Proposal will likely result in unreasonable

         allocation of Asset Management Projects and other new categories of projects that will result from

         the TOs’ Proposal, and an increase in disputes over cost allocation.94 LS Power explained that

         because the TOs’ Proposal adds new categories of costs to Attachment M-3, the costs associated

         with these projects would be subject to the existing, zonal Attachment M-3 cost allocation.95 The

         Attachment M-3 zonal cost allocation would apply despite the fact that some of the Transmission

         Facilities planned and constructed pursuant to the TOs’ Proposal will confer regional benefits.

         This is a significant concern and a likely source of future disputes because, pursuant to the opinion

         of the U.S. Court of Appeals for the D.C. Circuit in Old Dominion Elec. Coop. v. FERC, 898 F.3d

         1254 (D.C. Cir. 2018), zonal allocation of projects that likely confer regional benefits violates the

         cost causation principle.96

                    LS Power has now provided an analysis by Pterra, LLC that proves this point. The Pterra

         analysis, included with LS Power’s Answer filed in this proceeding on July 29, 2020, demonstrates

         that although nineteen Supplemental Projects (with specific Asset Management and Aging

         Infrastructure drivers) analyzed have regional benefits, “if the existing cost allocation methodology

         is applied to end of life projects in the categories included in the TO [June 12] Filing, each project

         would be allocated to a single zone, a clear violation of cost causation principles.”97


         94
              See Protest of LSP Transmission Holdings II, LLC, filed in this proceeding on July 6, 2020 at 36-38.
         95
          Id. at 35 (“Given that the Applicability Section of Attachment M-3 reserves to the PJM Transmission
         Owners the right to plan and construct Attachment M-3 Projects, Order No. 1000 requires that Attachment
         M-3 Projects be allocated solely to the zone where the project is located.”) (citations omitted).
         96
              Id. at 36-38.
         97
              LS Power Answer at 1-2 (citations omitted).
                                                               26



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                    The Commission should reject the TOs’ insistence that such cost allocation matters are

         irrelevant here. Instead, the Commission should find the TOs’ Proposal is unjust and unreasonable

         because it does not ensure that when EOL replacement Transmission Facilities that confer regional

         benefits are not zonally cost allocated, resulting in Attachment M-3 violating principles of cost

         causation.

                               6. The PJM TOs’ response regarding the “Grid of the Future” is without
                                  merit.

                    The Load Group noted in its Protest that “the TOs’ Proposal would take significant

         planning authority away from PJM, at a critical time when PJM should be responsible for planning

         the Grid of the Future and to the detriment of transmission customers whose interests in non-

         discriminatory access to transmission the Commission sought to protect in Order No. 890 and

         Order No. 1000.”98 In response, the TOs diminish the importance of such planning for the future,

         and argue yet again against PJM serving as the regional transmission planner for all transmission

         projects. Contrary to the PJM TOs’ characterization, the Load Group has not argued that PJM must

         be responsible for “all planning in the PJM Region.”99 Instead, the Load Group urged the

         Commission to honor its determinations that PJM, as the RTO, must retain its planning authority

         for regional transmission even while permitting the TOs to continue to exercise authority over

         local planning.

                    The PJM TOs’ claim that “[p]lanning the grid of the future is not a legislative mandate, nor

         is it a requirement under Order Nos. 890 and Order No. 1000 rulemakings,”100 misses the point.




         98
              Load Group Protest at 20.
         99
              TOs’ Answer at 13.
         100
               Id. at n. 28.
                                                            27



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         The issue is whether the TO Proposal, which would enshrine a fiefdom approach to transmission

         facility replacement, is just and reasonable when evaluated relative to the needs being placed on

         the grid going forward. The TOs’ “you can’t make me” position contributes to a finding that the

         TOs’ Proposal is not just and reasonable. The Commission should reject the PJM TOs’ attempt to

         expand their authority over transmission planning in PJM in a manner that will undermine, not

         advance, the grid’s ability to accommodate future demands.

                     C. The Commission Should Reject the PJM TOs’ Request That the Commission
                        Ignore the Pending Joint Stakeholders Proposal.

                     As discussed above, both the TOs’ Proposal and the Joint Stakeholders Proposal address

         planning for Transmission Facilities that have reached the end of their operational lives. The TOs

         insist, however, that the Commission should deny the Load Group’s motion to consolidate the two

         proceedings. The PJM TOs argue that “the two proceedings are entirely distinct.”101 The Load

         Group agrees that the actual proposals are entirely distinct. However, the two different proposals

         address the same issue: who should plan EOL transmission projects that have regional benefits.

         As the Commission has done in other instances where there are pending, competing proposals to

         address the same issue, the proceedings here should be consolidated or, in the very least,

         considered together. The TOs’ attempt to confine this proceeding to only their filing might work

         to their benefit, but is illogical. Further, there is no merit to the PJM TOs’ argument that

         considering these related filings together “would serve no purpose other than to delay timely

         resolution and delay the benefits stakeholders would realize in the upcoming planning cycle that

         the enhanced Attachment M-3 processes will provide.”102 The PJM Joint Stakeholders Proposal



         101
               TOs’ Answer at 57.
         102
               Id.
                                                           28



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         was submitted close enough in time to the TOs’ Proposal that they can be taken up together – the

         Comment Date for each filing has already passed, and initial responsive pleadings as well as some

         responsive pleadings have been submitted. Both proceedings will soon be ripe for a decision by

         the Commission. There is no reason the Commission should rule on the TOs’ Proposal in a vacuum

         while the Joint Stakeholders Proposal remains pending.

                To be clear, this is not an instance where an FPA section 205 filing has been submitted and

         an intervenor, protester, or commenter has requested that the Commission consider their

         alternative proposal. The Load Group of course submits that its proposal should be accepted as

         just and reasonable, and the TOs’ Proposal must be rejected as beyond their authority and

         otherwise unjust and unreasonable. However, beyond the protest in this proceeding, there is a

         competing FPA section 205 filing that has been submitted by PJM in Docket No. ER20-2308-000.

         Just as the TOs insist that they are “entitled to a determination under Section 205 that the Proposed

         Revisions are just and reasonable,” so too are the Joint Stakeholders entitled to a determination

         that the Joint Stakeholders Proposal is just and reasonable. What the PJM TOs actually want, as

         evidenced by their rush to submit their unilateral filing without the required notice and with full

         knowledge of the ongoing CBIR process to address the very issues addressed by their filing, is a

         procedural bar to the Commission meaningfully considering the Joint Stakeholders Proposal.

         There is no justification for the Commission to allow the TOs to do so. Instead, the two filings

         should be taken up together for decision by the Commission, whether through formal consolidation

         or otherwise.

                Consolidation or joint consideration of the two dockets would follow the approach the

         Commission took in the Attachment M-3 proceeding, Docket No. EL16-761.                   There, the



                                                          29



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         Commission initially issued the Order to Show Cause.103 The PJM TOs submitted a response to

         the Order to Show Cause Order, but then in another proceeding, Docket No. ER17-179-000, PJM

         and the TOs jointly submitted revisions to the Tariff to add Attachment M-3, which they offered

         “in conjunction” with the Show Cause Order proceeding.104 The Commission did not formally

         consolidate the proceedings, but issued a single order where it first addressed the TOs’ response

         to the Show Cause Order, then addressed the Docket No. ER17-179-000 filing.105 In the same

         manner, it makes sense here to take up the two related yet competing FPA section 205 proposals

         submitted in this proceeding and Docket No. ER20-2308-000 at once and together.

      IV.       CONCLUSION

                   WHEREFORE, the Joint Stakeholders respectfully request that the Commission: (1) grant

         leave to accept this Answer; (2) reject the TOs’ June 12 Filing or, in the alternative, consider the

         TOs’ Proposal together with the Joint Stakeholders Proposal; and (3) grant such further relief as

         the Commission may deem appropriate.




         103
               PJM Interconnection, L.L.C., 156 FERC ¶ 61,134 (2016) (“Show Cause Order”).
         104
               PJM and the TOs’ filings were submitted on October 25, 2016, in Docket No. ER17-179-000.
         105
            Monongahela Power Co., et al., 162 FERC ¶ 61,129 (2018); order on reh’g and compliance, 164 FERC
         ¶ 61,217 (2018).
                                                            30



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                                                    Respectfully submitted,

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         Dated: July 31, 2020




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                                          CERTIFICATE OF SERVICE

                I hereby certify that on this 31st day of July, 2020, I have caused a copy of the foregoing

         to be served upon each person designated on the Official Service List in this proceeding.



                                                                      Adrienne E. Clair




                                                         33



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                                       172 FERC ¶ 61,136
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Neil Chatterjee, Chairman;
                               Richard Glick, Bernard L. McNamee,
                               and James P. Danly.

        PJM Interconnection, L.L.C.                                  Docket No. ER20-2046-000
        American Transmission Systems Inc.


                          ORDER ACCEPTING PROPOSED TARIFF REVISIONS

                                         (Issued August 11, 2020)

                 On June 12, 2020, PJM Interconnection, L.L.C. (PJM) filed, on behalf of the PJM
         Transmission Owners (PJM TOs),1 pursuant to section 205 of the Federal Power Act
         (FPA), section 35.13 of the Rules and Regulations of the Commission, and section 9.1(a)
         of the PJM Open Access Transmission Tariff (Tariff), proposed revisions to Attachment
         M-32 of the PJM Tariff (Attachment M-3 Revisions Filing)3 to (1) identify and include
         Asset Management Projects within the existing planning procedures of Attachment M-3
         of the PJM Tariff, and (2) include procedures for the identification and planning for end-
         of-life needs (EOL Needs).4


                1
                 PJM filed the proposed revisions pursuant to Order No. 714, on behalf of PJM
         TOs, as provided by the Consolidated Transmission Owners Agreement (CTOA). See
         Elec. Tariff Filings, 124 FERC ¶ 61,270 (2008) (Order No. 714); PJM Rate Schedules,
         TOA-42 § 4.1.3 PJM Tariff, 0.0.0 (“Each Party shall transfer to PJM … responsibility for
         administering the PJM Tariff”).
                2
                 Currently, Attachment M-3 provides additional details of the process that PJM
         and the PJM TOs will follow in connection with planning Supplemental Projects, as
         defined in the Operating Agreement, in accordance with Schedule 6 of the Operating
         Agreement. PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attachment M-3, 0.1.0.
                3
                    PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attachment M-3, 1.0.0.
                4
                 “EOL Need” is defined as a need to replace a transmission line between breakers
         operating at or above 100 kV or a transformer the high side of which operates at or above
         100 kV and the low side of which is not connected to distribution facilities, which the
         Transmission Owner has determined to be near the end of its useful life, the replacement


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         Docket No. ER20-2046-000                                                               -2-

                In this order, we accept the Attachment M-3 Revisions Filing, effective August 12,
         2020, as requested.

         I.     Background

                A.       PJM Consolidated Transmission Owners Agreement

                The PJM TOs5 entered into the Consolidated Transmission Owners Agreement
         (CTOA)6 to: “(i) facilitate the coordination of planning and operation of their respective
         Transmission Facilities within the PJM Region; (ii) transfer certain planning and
         operating responsibilities to PJM; (iii) provide for regional transmission service pursuant
         to the PJM Tariff and subject to administration by PJM; and (iv) establish certain rights
         and obligations that will apply to the Parties and PJM.” 7.

                Article 4 of the CTOA contains the Parties’ commitments to PJM which, in turn,
         permit PJM to fulfill the objectives of the CTOA. Article 4.1 lists the Parties’ rights and
         responsibilities transferred to PJM. Under Article 4.1.4 of the CTOA, the PJM TOs agree
         to “transfer to PJM … the responsibility to prepare a Regional Transmission Expansion
         Plan [RTEP] and to provide information reasonably requested by PJM to prepare the
         [RTEP] and shall otherwise cooperate with PJM in such preparation.”8 Further, under
         Article 4.5 of the CTOA, each Party “shall operate and maintain its Transmission

         of which would be an Attachment M-3 project. PJM Intra-PJM Tariffs, OATT ATT
         M-3, OATT Attachment M-3, 1.0.0.
                5
                 Transmission Owner is defined as a member that owns or leases with rights
         equivalent to ownership transmission facilities and is a signatory to the CTOA. Taking
         transmission service is not sufficient to qualify a member as a Transmission Owner. PJM
         Intra-PJM Tariffs, T-U-V, OATT Definitions – T – U - V, 20.0.0.
                6
                   The CTOA is made by and among the PJM TOs (hereinafter referred to
         collectively as Parties and individually as a Party. See PJM Interconnection, L.L.C., 114
         FERC ¶ 61,283 (2006) (accepting CTOA revisions to include PJM). The CTOA is
         defined as a certain Consolidated Transmission Owners Agreement dated as of December
         15, 2005, by and among the Transmission Owners and by and between the Transmission
         Owners and PJM Interconnection, L.L.C. on file with the Commission, as amended from
         time to time. PJM, Intra-PJM Tariffs, C-D, OATT Definitions – C-D, 25.0.0.
                7
                    PJM Rate Schedules, TOA-42, Article 2.
                8
                 PJM Rate Schedules, TOA-42, Article 4 Parties’ Commitments (0.0.0), TOA-42,
         4.1 Rights and Responsibilities Transferred to PJM (0.0.0); TOA-42 4.1.4 Planning
         Information (0.0.0).



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         Facilities in accordance with: (i) the terms of this Agreement; (ii) applicable reliability
         principles, guidelines, and standards of the Applicable Regional Reliability Council and
         NERC; (iii) the PJM Manuals; (iv) the direction of PJM consistent with this Agreement;
         and (v) Good Utility Practice.”9

                Article 5 of the CTOA describes the Parties’ retained rights over their respective
         transmission facilities. Article 5.2 states that each Party “shall have the right to build,
         finance, own, acquire, sell, dispose, retire, merge or otherwise transfer or convey all or
         any part of its assets, including any Transmission Facilities.”10 Article 5.6, however,
         reserves to the TOs rights not specifically granted to PJM.11

                Article 6 addresses PJM’s rights and commitments to permit PJM to fulfill the
         objectives and purposes of the CTOA. Article 6.3.1 requires PJM to “Direct the
         operation and coordinate the maintenance of the Transmission Facilities of the Parties in
         accordance with: (i) the Operating Agreement; (ii) the PJM Tariff; (iii) Good Utility
         Practice; and (iv) NERC and Applicable Regional Reliability Council operation and
         planning standards, principles and guidelines.”12 Article 6.3.4 contains a provision
         stating that PJM’s obligation under the agreement is to “[c]onduct its planning for the
         expansion and enhancement of transmission facilities ….”13

                  Article 7 of the CTOA contains the Parties’ rate and rate design rights. Article
         7.2.1 provides for changes to the regional rate design and terms and conditions.
         Specifically, “Section 205 filings to change the PJM Regional Rate Design or file for
         Joint Transmission Rates may only be made by the Parties, acting collectively, pursuant
         to a filing approved in accordance with Section 8.5.1 of this Agreement. …” Article
         7.3.1 further provides that the Transmission Owners shall have the exclusive and

                9
                 PJM Rates Schedules, TOA-42, Article 4 Parties’ Commitments (0.0.0), TOA-
         42, 4.5 Operation and Maintenance (0.0.0).
                10
                  PJM Rates Schedules, TOA-42, Article 5 Parties’ Retained Rights (0.0.0), TOA-
         42, 5.2 Facility Rights (0.0.0).
                11
                  PJM Rates Schedules, TOA-42, Article 5 Parties’ Retailed Rights (0.0.0), TOA-
         42, 5.6 Reservation of Rights (0.0.0).
                12
                   PJM Rates Schedules, TOA-42, Article 6 PJM’s Rights and Commitments
         (0.0.0), TOA-42 6.3 Obligations of PJM under this Agreement (0.0.0), TOA-42 6.3.1
         (0.0.0).
                13
                   PJM Rates Schedules, TOA-42, Article 6 PJM’s Rights and Commitments
         (0.0.0), TOA-42 6.3 Obligations of PJM under this Agreement (0.0.0), TOA-42, 6.3.4
         (0.0.0).



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         unilateral rights to file pursuant to Section 205 of the FPA and the FERC’s rules and
         regulations thereunder for any changes in or relating to the establishment and recovery of
         the Transmission Owners’ transmission revenue requirements or the PJM Regional Rate
         Design, ….”14 Additionally, Article 7.3.3 states that “nothing in this Section 7.3 is
         intended to limit the rights of any Party or other person to oppose such a Section 205
         filing pursuant to Section 206 or any other applicable provision of the [FPA], or to limit
         the right of any Party or other person to make filings under Section 206 of the [FPA].”15

                B.    PJM RTEP Planning Criteria

                Under PJM’s RTEP process, PJM plans for the expansion and enhancement of
         transmission facilities in PJM to meet system reliability, operational performance, or
         economic criteria. PJM’s RTEP reliability planning criteria includes PJM planning
         procedures, NERC Reliability Standards, Regional Entity reliability principles and
         standards, and individual PJM TO local planning criteria as filed with the Commission in
         FERC Form No. 715.16

               PJM TOs plan Supplemental Projects17 to meet local needs in their respective
         zones. Supplemental Projects are planned through the Order No. 890 compliant
         procedures set forth in Attachment M-3. For instance, PJM TOs are required to provide
         the models used in developing their local plans and enable stakeholder participation to


                14
                   PJM Rates Schedules, TOA-42 Article 7, Changes To Rate Design And Tariff
         Terms (0.0.0), TOA-42, 7.2 PJM Regional Rate Design and Joint Transmission (0.0.0),
         TOA-42 7.2.1 (0.0.0); and TOA-42 7.3 Filing of Transmission Rates and Rate Design
         (0.0.0), TOA-42 7.3.1 (0.0.0.).
                15
                 PJM Rates Schedules, TOA-42 Article 7, Changes To Rate Design And Tariff
         Terms (0.0.0), TOA-42, 7.3 Filing of Transmission Rates and Rate Design (0.0.0).
                16
                   PJM, Intra-PJM Tariffs, Operating Agreement, Schedule 6, § 1.2(e) (2.0.0).
         Form No. 715 is the Annual Transmission Planning and Evaluation Report that a
         transmitting utility that operates integrated transmission facilities at or above 100
         kilovolts must file with the Commission on or before April 1 of each year.
                17
                   PJM, Intra-PJM Tariffs, Operating Agreement, Section I, Definitions S-T
         (defining a “Supplemental Project” as “a transmission expansion or enhancement that is
         not required for compliance with the following PJM criteria: system reliability,
         operational performance or economic criteria, pursuant to a determination by the Office
         of the Interconnection and is not state public policy project pursuant to Operating
         Agreement, Schedule 6, section 1.5.9(a)(ii)”). See Appalachian Power Co., 170 FERC
         ¶ 61,196, at P 1 (2020).



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         review and comment on their plans. Additionally, Supplemental Projects do not qualify
         for region-wide cost allocation under Schedule 12 of the PJM Tariff.18

                C.       Order No. 890

                 In Order No 890, the Commission reformed the pro forma open access
         transmission tariff to clarify and expand the obligations of transmission providers to
         ensure that transmission service is provided on a basis that is just, reasonable and
         not unduly discriminatory or preferential. Among other things, in Order No. 890, the
         Commission directed all transmission providers to develop a transmission planning
         process that satisfied nine transmission planning principles: (1) coordination;
         (2) openness; (3) transparency; (4) information exchanges; (5) comparability; (6) dispute
         resolution; (7) regional participation; (8) economic planning studies; and (9) cost
         allocation for new projects.19 The Commission explained that, collectively, these
         principles would reduce “opportunities for undue discrimination in transmission
         planning” by requiring transmission providers to facilitate the timely and meaningful
         input and participation of stakeholders in the development of transmission plans.20 The
         Commission further explained that doing so would help to avoid “after-the-fact”
         litigation by stakeholders regarding “transmission plans that were developed in the first
         instance without their input.”21

                D.       PJM Attachment M-3 Supplemental Projects

                On August 26, 2016, the Commission, pursuant to section 206 of the FPA,
         established a proceeding to determine whether the PJM TOs were complying with their
         Order No. 890 obligations related to openness, transparency, and information exchange
         with respect to planning Supplemental Projects.22 PJM filed, on behalf of the PJM TOs,
         pursuant to section 205 of the FPA, an amendment to Attachment M-3 and a revision to
         Schedule 6 of the PJM Operating Agreement in response to the Show Cause Order. On

                18
                     PJM Intra-PJM Tariffs, Schedule 12, OATT Schedule 12, 12.0.0, (14.0.0).
                19
                  Preventing Undue Discrimination and Preference in Transmission Service,
         Order No. 890, 118 FERC ¶ 61,119, at P 444, order on reh’g, Order No. 890-A, 121
         FERC ¶ 61,297 (2007), order on reh’g, Order No. 890-B, 123 FERC ¶ 61,299 (2008),
         order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on clarification, Order No.
         890-D, 129 FERC ¶ 61,126 (2009).
                20
                      Id. P 425.
                21
                      Id. PP 425, 454.
                22
                     Monongahela Power Co., 156 FERC ¶ 61,134 (2016) (Show Cause Order).



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         February 15, 2018, Commission determined that the PJM TOs had not demonstrated that
         their filing was just and reasonable,23 and pursuant to section 206 the Commission
         established a just and reasonable set of tariff provisions which now comprises the Order
         No. 890-compliant Attachment M-3 process, and on September 26, 2018, the
         Commission accepted the current Attachment M-3 planning process.24

                E.       California Orders

                 In a series of orders, the California Orders, the Commission found that Order
         No. 890’s transmission planning requirements do not apply to a transmission owner
         “asset management project or activity” even if the project or activity results in an
         “incidental increase in transmission capacity.”25 The Commission in the California
         Orders stated that although California Independent System Operator Corporation
         (CAISO) transmission owners’ definitions of asset management projects and activities
         varied slightly, “they all encompass the maintenance, repair, and replacement work done
         on existing transmission facilities as necessary to maintain a safe, reliable, and compliant
         grid based on existing topology.”26 The Commission noted that, in some instances, an
         asset management project or activity may result in an incidental increase in transmission
         capacity that is not reasonably severable from the asset management project or activity.
         However, the Commission found that an incidental increase in transmission capacity that
         is a function of advancements in technology of the replaced equipment, and is not
         reasonably severable from the asset management project or activity, would not render the
         asset management project or activity in question a transmission expansion that is subject
         to the transmission planning requirements of Order No. 890.27

                The Commission in the California Orders also recognized that there may also be
         instances in which a transmission owner’s asset management project or activity may



                23
                     Monongahela Power Co., 162 FERC ¶ 61,129 (2018).
                24
                     Monongahela Power Co., 164 FERC ¶ 61,217 (2018) (Attachment M-3 Order).
                25
                  So. Cal. Edison Co, 164 FERC ¶ 61,160, at P 33 (2018); Cal. Pub. Util.
         Comm’n v. Pac. Gas & Elec. Co., 164 FERC ¶ 61,161, at P 68 (2018) [hereinafter
         California Orders].
                26
                 So. Cal. Edison Co, 164 FERC ¶ 61,160 at n.55; Cal. Pub. Util. Comm’n v. Pac.
         Gas & Elec. Co., 164 FERC ¶ 61,161 at n.119.
                27
                 So. Cal. Edison Co, 164 FERC ¶ 61,160 at P 33; Cal. Pub. Util. Comm’n v. Pac.
         Gas & Elec. Co., 164 FERC ¶ 61,161 at P 68.



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         result in an increase in transmission capacity that is not incidental.28 For example, where
         a transmission owner determines that it can address a CAISO-identified transmission
         need by expanding the scope of an asset management or activity to result in a capacity
         increase the additional work would not be incidental to but would be incremental to the
         asset management project or activity and would represent an expansion of the CAISO
         grid.29 Such expansions would need to be planned under an Order No. 890-compliant
         transmission planning process.

         II.    Filing Summary

                 PJM TOs state the existing provisions of Attachment M-3 provide only for the
         planning of Supplemental Projects30 and that the proposed revisions expand the
         applicability of Attachment M-3.31 Specifically, the PJM TOs state the proposed
         revisions require each PJM TO to present its criteria for assessing whether a need exists
         to replace an existing transmission facility for stakeholder input at least annually. The
         PJM TOs state their filing seeks to achieve two goals. First, by expanding the scope of
         the Attachment M-3 process, the PJM TOs state the filing will enhance transparency and
         the opportunity for stakeholder review of EOL Needs. Second, the PJM TOs state the
         proposed revisions will better coordinate the Transmission Owners’ end of useful life
         asset management activities with PJM’s planning to address RTEP32 planning criteria.
         The PJM TOs note that the filing also increases transparency regarding the process that
         the PJM TOs use to evaluate the need to replace transmission facilities and provide PJM
         up to five years of projected replacements that a Transmission Owner has identified (on a
         confidential basis).33


                28
                     Cal. Pub. Util. Comm’n, 164 FERC ¶ 61,161 at PP 68, 72.
                29
                So. Cal. Edison Co, 164 FERC ¶ 61,160 at P 34; Cal. Pub. Util. Comm’n, 164
         FERC ¶ 61,161, at P 69 (2018).
                30
                     PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attachment M-3, 0.1.0.
                31
                  PJM TOs do not address or modify any Tariff provisions related to the cost
         allocation provisions of Schedule 12 of the PJM Tariff.
                32
                   RTEP is defined as the plan prepared by the Office of the Interconnection
         pursuant to Operating Agreement, Schedule 6 for the enhancement and expansion of the
         Transmission System in order to meet the demands for firm transmission service in the
         PJM Region. PJM, Intra-PJM Tariffs, OATT Definitions – R - S, OATT Definitions – R
         - S, 23.0.0.
                33
                     PJM TOs Transmittal at 11.



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               The PJM TOs propose revisions to add numerous definitions related to the
         expanded applicability of the existing Attachment M-3 provisions.34

                Asset Management Projects are defined as “any modification or replacement of a
         [TO]’s Transmission Facilities that results in no more than an Incidental Increase in
         transmission capacity undertaken to perform maintenance, repair, and replacement work,
         to address an EOL Need, or to effect infrastructure security, system reliability, and
         automation projects the [TO] undertakes to maintain its existing electric transmission
         system and meet regulatory compliance requirements.”

               An EOL Need is defined as “a need to replace a transmission line between
         breakers operating at or above 100 kV or a transformer, the high side of which operates at
         or above 100 kV and the low side of which is not connected to distribution facilities,
         which the [TO] has determined to be near the end of its useful life, the replacement of
         which would be an Attachment M-3 Project.”

                Attachment M-3 Projects are defined as “(i) an Asset Management Project that
         affects the connectivity of Transmission Facilities that are included in the Transmission
         System, affects Transmission Facility ratings or significantly changes the impedance of
         Transmission Facilities; (ii) a Supplemental Project; or (iii) any other expansion or
         enhancement of Transmission Facilities that is not excluded from this Attachment M-3
         …. ‘Attachment M-3 Project’ does not include a project to address Form No. 715 EOL
         Planning Criteria.”

               Form No. 715 EOL Planning Criteria is defined as “planning criteria filed by a
         [TO] in FERC Form No. 71535 to address EOL Needs. No Transmission Owner may be
         compelled to file a Form No. 715 EOL Planning Criteria not required to be filed pursuant
         to FERC regulations applicable to Form No. 715.”

               Incidental Increase is defined as “an increase in transmission capacity achieved by
         advancements in technology and/or replacements consistent with current Transmission
         Owner design standards, industry standards, codes, laws or regulations, which is not
         reasonably severable from an Asset Management Project. A transmission project that



                34
                     Attachment M-3 Revisions Filing, Exh. A, (b) Definitions.
                35
                   Form No. 715 is the Annual Transmission Planning and Evaluation Report that
         any transmitting utility that operates integrated transmission facilities at or above 100
         kilovolts must file with the Commission on or before April 1 of each year. See 18 C.F.R.
         § 141.300 (2019). PJM Interconnection, L.L.C., 168 FERC ¶ 61,133 (2019).




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         results in more than an Incidental Increase in transmission capacity is an expansion or
         enhancement of Transmission Facilities.”36

                PJM TOs state the proposed revisions for Attachment M-3 Projects revise the
         existing planning process for Supplemental Projects, and as noted above, an Attachment
         M-3 Project does not include a project to address Form No. 715 EOL Planning Criteria.
         Instead, the proposed revisions require that each PJM TO develop documentation for its
         EOL Planning Criteria, present its EOL Planning Criteria at least once annually, and
         annually provide PJM a Candidate EOL Needs List comprising a non-binding five-year
         projection of its EOL Needs. PJM TOs note that the proposed revisions to Attachment
         M-3 include additional provisions for the identification and planning of EOL Needs
         pursuant to the Attachment M-3 EOL Planning Criteria and/or the Form No. 715 EOL
         Planning Criteria, and coordination with the existing PJM RTEP planning processes in
         the PJM Operating Agreement.

                The PJM TOs have proposed a mechanism to address the possible situation of any
         potential electrical overlap between an Attachment M-3 Project that is designed to
         address an EOL Need that a PJM TO plans under the expanded Attachment M-3 process
         and a transmission project that PJM plans and selects in the RTEP process. Specifically,
         the PJM TOs propose that if PJM determines that a transmission project that is a more
         efficient and cost-effective solution to a regional need in PJM’s RTEP would also address
         a PJM TO’s EOL Need, and the PJM TO disagrees with PJM’s determination that its
         EOL Need is met by the selected RTEP transmission project, then the PJM TO may
         decide to continue to develop the Attachment M-3 Project. However, the PJM TO must
         provide PJM and stakeholders with its rationale for developing the Attachment M-3
         Project that addresses the EOL Need notwithstanding PJM’s determination that the RTEP
         transmission project would address the EOL Need.37

                The PJM TOs contend that section 4 of the CTOA, which states that PJM
         “[c]onduct its planning for the expansion and enhancement of transmission facilities,”
         limits PJM’s planning responsibilities to only transmission projects that expand or
         enhance transmission facilities, and that the PJM TOs retain responsibility for planning
         and constructing their own transmission facilities.38 The PJM TOs also note that their
         role was to address the needs unique to their Transmission Zones and to maintain and
         build their transmission facilities consistent with the findings in Atlantic City Electric


                36
                     Attachment M-3 Revisions Filing, Exh. A, (b) Definitions.
                37
                     PJM TOs Transmittal at 18.
                38
                  Id. at 7-8 (citing PJM Interconnection L.L.C., 114 FERC ¶ 61,283, at P 10
         (2006); PJM Rates Schedules, 6.3.4, TOA-42 6.3.4, 0.0.0.



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         Co., v. FERC.39 Moreover, the PJM TOs state that the Commission already has found
         that asset management activities are not subject to the transmission planning
         requirements of Order No. 890.40 However, PJM TOs state that they have agreed to
         include these requirements in Attachment M-3 to (1) increase the transparency of PJM
         TO asset management activities and projects and (2) improve coordination of the PJM
         TOs’ planning for certain Asset Management Projects to address EOL Needs with the
         development of the RTEP.

               The PJM TOs request an effective date of August 12, 2020 in anticipation of
         preparation activities for the 2021 planning year.

         III.   Notice and Interventions

                Notice of the PJM TOs’ filing was published in the Federal Register, 85 Fed.
         Reg. 36,842 (June 18, 2020), with interventions and protests due on or before July 6,
         2020. Appendix A to this order lists the entities that filed notices of intervention, timely-
         filed motions to intervene, and out of time motions to intervene.

             Comments were filed by LS Power, Load Group,41 NJ BPU, Interested Parties,42
         WIRES, J-POWER, OCC, Ohio FEA, Duquesne, and EEI.




                39
                   Id. at 7-8 (citing Atlantic City Electric Co., v. FERC, 295 F.3d 1, 6 (D.C. Cir.
         2002) (“there was no transfer of ownership or even physical operation of their facilities . .
         . [and] each of the [transmission owners] retained both ownership and physical control of
         their facilities[.]”).
                40
                  Id. at 3 (citing Calif, Publ. Util. Comm’n., 164 FERC ¶ 61,161, reh’g denied,
         168 FERC ¶ 61,171, at P 7, n.19 (2019); So. Calif. Edison Co., 164 FERC ¶ 61,160
         (2018), reh’g denied, 168 FERC ¶ 61,170, at P 7 n.15 (2019)).
                41
                  Load Group includes: American Municipal Power, Inc., Old Dominion Electric
         Cooperative, PJM Industrial Customer Coalition, Public Power Association of New
         Jersey, People’s Counsel for the District of Columbia, Delaware Division of the Public
         Advocate, West Virginia Consumer Advocate, Indiana Office of Utility Consumer
         Counselor, Blue Ridge Power Agency, and Central Virginia Electric Cooperative.
                42
                 Interested Parties’ includes: Office of the Peoples Counsel for the District of
         Columbia, Delaware Division of the Public Advocate, and Old Dominion Electric
         Cooperative.



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               On June 18, 2020, AMPT and ODEC (collectively, Movants) filed a motion to
         dismiss the Attachment M-3 Revisions Filing (Motion). On June 26, 2020, the Indicated
         PJM TOs filed an answer.43

                On July 21, 2020, PJM filed a limited answer, and the PJM TOs filed an answer to
         the protests and comments. On July 29, 2020, LS Power filed an answer, and on July 31,
         2020, the Load Group filed an answer. On August 3, 2020, PJM TOs filed a motion for
         leave to answer and limited answer to LS Power and Load Group. On August 5, 2020,
         J-Power and NJ BPU filed answers to the PJM TOs’ July 21, 2020 answer.

                A.        Motion to Dismiss

                Movants contend that the Attachment M-3 Revisions Filing should not have been
         made because the PJM TOs did not adhere to the procedural requirements of the
         CTOA.44 While Movants agree that on May 7, 2020, pursuant to section 9.1(b) of the
         PJM Tariff, the PJM TOs initiated consultation with PJM and with the PJM Members
         Committee by providing notice of the proposed revisions, Movants contend that the
         CTOA-Administrative Committee (Administrative Committee)45 failed to hold a meeting
         and take a formal vote before initiating the consultation process.46 Movants state that
         section 8.547 of the CTOA provides “any action taken by the Administrative Committee

                43
                  The Indicated Transmission Owners are: American Electric Power Corporation;
         Dayton; Duke Energy Corporation; East Kentucky Power Cooperative; Exelon
         Corporation; FirstEnergy Service Company; PPL Electric Utilities Corporation; Public
         Service Electric and Gas Company; and Virginia Electric and Power Company.
                44
                     Motion at 2.
                45
                   The Administrative Committee shall have the authority to propose policies and
         recommendations to PJM as to any matters relating to the Parties’ Transmission
         Facilities; provided, however, that PJM shall not be required to adopt such policies or
         recommendations and that the Administrative Committee shall not exercise any control
         over functions and responsibilities transferred to PJM pursuant to this Agreement, the
         PJM Tariff or the Operating Agreement. PJM Rate Schedules, 8.1, TOA-42 8.1 Duties
         and Responsibilities (0.0.0).
                46
                     Id. at 3.
                47
                  Subject to the limitations of section 9.7.1(a), any action taken by the
         Administrative Committee shall require a combination of the concurrence of the
         representatives’ Individual Votes of the representatives of those Parties entitled to vote on
         such matters and Weighted Votes as specified in this section 8.5. PJM Rate Schedules,
         8.5, TOA-42 8.5 Manner of Acting, 1.0.0.



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         shall require a combination of the concurrence of the representatives’ Individual Votes of
         the representatives of those Parties entitled to vote on such matters.”48 Accordingly,
         Movants contend that the notification to commence the consultation process should have
         been preceded by a vote, and because no vote was taken by the Administrative
         Committee prior to providing notice to PJM and the PJM Members Committee that the
         PJM TOs contemplated a filing pursuant to section 205 of the FPA, Movants request that
         the Attachment M-3 Revisions Filing be dismissed.49

                 In the alternative, Movants request that the Commission suspend the date for
         intervention and comments during the pendency of this motion, and issue a deficiency
         letter requiring that the PJM TOs refile the proposed revisions once they have cured any
         deficiency in the meeting and voting requirements of the CTOA.50

                 In answer to the Motion, Indicated PJM TOs contend that nothing in the CTOA or
         the Tariff requires the Administrative Committee to take a formal vote to issue a notice to
         initiate consultation regarding a potential section 205 filing.51 Indicated PJM TOs
         contend that, unless exempted, all that the CTOA and the Tariff require is that
         consultation take place beginning at least 30 days prior to the filing,52 and that notice of
         initiation of consultation is not a formal action of the Administrative Committee that
         requires approval through the voting process set forth in the CTOA.53 Indicated PJM
         TOs maintain that since neither the CTOA nor the Tariff explicitly require an
         Administrative Committee notice or vote before consultation commences on a proposed
         section 205 of the FPA filing, the Commission should decline to impose such a
         requirement.54

                Indicated PJM TOs contend that section 7.3.255 of the CTOA and section 9.1(b) of
         the Tariff states that any such changes must be in accordance with section 8.5.1 of the

                48
                     Id. at 4 (citing PJM, Rate Schedules, 8.5, TOA-42 8.5 Manner of Acting, 1.0.0).
                49
                     Id. at 5-6.
                50
                     Id. at 8-9.
                51
                     Indicated PJM TOs Answer at 3-4.
                52
                     Id. at 5.
                53
                     Id.
                54
                     Id. at 7.
                55
                 Section 7.3.2 of the CTOA states, “The Transmission Owners shall consult with
         PJM and the PJM Members Committee beginning no less than thirty (30) days prior to


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         CTOA, which requires approval of a two-thirds majority of individual Transmission
         Owner votes and votes weighted by net transmission investment, and that pursuant to
         section 9.1(b) of the Tariff, before making such a filing the Transmission Owners “shall
         consult with PJM and the PJM Members Committee beginning no less than 30 days prior
         to any [such] [s]ection 205 filing.”56

                Indicated PJM TOs contend that both requirements in connection with the
         proposed revisions were satisfied.57 Specifically, they assert that PJM TOs began the
         consultation process on May 7, 2020, when, at their request, PJM issued notice of
         consultation process and a June 10, 2020 meeting, and the Administrative Committee
         authorized the submission of the FPA section 205 filing.

                Indicated PJM TOs further contend that the action referred to in section 8.5 of the
         CTOA is an authorization for the submission of an FPA section 205 filing, and that the
         notice required to start that consultation process is ministerial.58 Indicated PJM TOs
         contend that under Movants’ reading, every preliminary step that may lead to an
         Administrative Committee vote would itself be an Administrative Committee action
         requiring an Administrative Committee vote, and such an interpretation of the CTOA is
         simply not workable.59




         any section 205 filing hereunder, but neither PJM (except as provided for in Section 7.6)
         nor the PJM Members Committee shall have any rights to veto or delay the Transmission
         Owners’ section 205 filing hereunder; provided that the Transmission Owners may file
         with less than a full 30 day advance consultation in circumstances where imminent harm
         to system reliability or imminent severe economic harm to electric consumers requires a
         prompt section 205 filing; provided further that the Transmission Owners shall provide as
         much advance notice and consultation with PJM and the PJM Members Committee as is
         practicable in such circumstances and no such filing shall be made with less than 24
         hours’ advance notice.” PJM Rate Schedules, 7.3, TOA-42 7.3 Filing of Transmission
         Rates and Rate Design (0.0.0).
                56
                 Id. at 4 (citing PJM, Rate Schedules, 7.3.2, TOA-42 7.3.2, 0.0.0; PJM, Intra-
         PJM Tariffs, 9.1, OATT 9.1 Rights of the Transmission Owners, 2.1.0).
                57
                     Id.
                58
                     Id. at 7.
                59
                     Id.



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                B.       Pleadings

                         1.    PJM CTOA

                 In support of the Attachment M-3 Revisions Filing, WIRES and EEI argue that the
         CTOA leaves the responsibilities of planning for Asset Management or EOL Need
         projects to the PJM TOs.60 EEI claims that only Transmission Owners have the
         specialized knowledge necessary to plan for asset replacement, including EOL
         determinations, and that the sole responsibility for decisions about when and how to
         replace an asset lies with the Transmission Owner. WIRES also argues that the
         Attachment M-3 Revisions Filing appropriately recognizes the rights and responsibilities
         of all Transmission Owners as asset owners and the role of Regional Transmission
         Organizations/Independent System Operators (RTOs/ISOs) as regional planners.

                 Conversely, Ohio FEA, LS Power, and Load Group argue that PJM is in the best
         position to plan for Asset Management or EOL Need projects.61 Ohio FEA asserts that
         PJM is in the best position to identify a cost-effective solution to replace a transmission
         facility for an EOL Need or to identify the intersection of a potential EOL Need and a
         regional planning need. LS Power asserts that, if the Attachment M-3 Revisions Filing is
         accepted, it would stymie PJM from conducting regional transmission planning by
         allowing Transmission Owners to exclusively reserve certain planning activities for the
         region’s needs while also prohibiting stakeholders from improving regional planning
         rules. Further, LS Power argues the sections of the CTOA on which the PJM TOs rely
         upon to support their filing, do not limit the scope of regional planning. LS Power argues
         that these provisions only pertain to transmission facilities that were brought into PJM as
         a result of a transmission owner joining PJM, not future facilities. Load Group states that
         the PJM TOs conflate certain sections of the CTOA as support for the view that they may
         conduct transmission planning essentially as they see fit absent a specific PJM RTEP
         criterion; however, Load Group explains that this section addresses operation and
         maintenance, not transmission planning. Load Group argues the Attachment M-3
         Revisions Filing goes well beyond what the Commission permitted in approving
         Attachment M-3.

                 LS Power argues that PJM TOs’ reliance on section 9.1 of the PJM Tariff and the
         court’s determination in Atlantic City v. FERC, is misplaced. LS Power states that while
         both the PJM Tariff and Atlantic City v. FERC established certain FPA section 205 filing
         rights for Transmission Owners regarding rates and revenue requirements, both remained



                60
                     WIRES Comment at 4-5; EEI Comment at 5.
                61
                     Ohio FEA comments at 8; LS Power Protest at 53; Load Group Protest at 17-18.



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         silent on transmission planning.62 Rather, LS Power offers that transmission planning is
         one of the core functions of an RTO or ISO. LS Power adds that Order No. 2000 found
         that RTOs/ISOs “have ultimate responsibility for both transmission planning and
         expansion within its region…”63 As such, LS Power states, accepting the Attachment
         M-3 Revisions Filing, would grant PJM TOs unilateral filing rights for transmission
         projects for which the RTOs/ISOs should hold responsibility.64

                Duquesne argues that the Attachment M-3 Revisions Filing imposes several new
         mandatory obligations on Transmission Owners, including requiring Asset Management
         Projects to be included and subject to stakeholder comment in the Attachment M-3
         process, that encroach upon Duquesne’s right under the CTOA. Duquesne asserts that
         asset management activities do not expand the transmission system and are not subject to
         the transmission planning requirements of Order No. 890, consistent with the
         Commission’s findings in the California Orders. Duquesne argues that the proposal
         fundamentally deviates from this allocation of responsibility, noting that PJM would be
         required to look for overlap with EOL Need projects to determine if the EOL Need could
         be met by an RTEP project, even though EOL Need projects are Asset Management
         Projects required to meet local needs.65 Finally, Duquesne argues that the proposal is an
         improper attempt to circumvent the process to amend the CTOA and is therefore unjust
         and unreasonable.66

                Interested Parties and Load Group argue that the Attachment M-3 Revisions Filing
         was filed in violation of the CTOA.67 Interested Parties contend the Attachment M-3
         Revisions Filing arrived at the Commission by short-circuiting the stakeholder process
         and violating the very agreement that provides for certain Transmission Owner section
         205 filing rights. Interested Parties assert that the PJM TOs ignored various provisions of


                62
                 LS Power Protest at 17-19 (citing PJM Tariff section 9.1(a); Atl. City Elec., et al
         v. FERC 295 F. 3d 1 (D.C. Cir. 2002)).
                63
                  LS Power Protest at 19-20 (citing Reg’l Transmission Organs., Order No. 2000,
         89 FERC ¶ 61,284, at P 485, order on reh’g, Order No. 2000-A, (2000), aff’d sub nom.,
         Pub. Util. Dist. No. 1. Of Snohomish Cty., Wash. v. FERC, 272 F.3d 607 (D.C. Cir.
         2001)).
                64
                     Id. at 19-20 (citations omitted).
                65
                     Duquesne Protest at 4-8.
                66
                     Id. at 9-11.
                67
                     Interested Parties Protest at 15-16; Load Group Protest at 11-13.



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         the CTOA in their rush to circumvent the stakeholder process.68 Load Group asserts that
         section 9.1(a) of the Tariff specifies that the PJM TOs can “only file under Section 205 to
         change the transmission rate design for the PJM Region pursuant to a filing approved in
         accordance with Section 8.5.1 of the CTOA.” Load Group emphasizes that the PJM
         TOs’ authority ends there, as PJM’s regional transmission planning process, with the
         exception of the local transmission planning process for Supplemental Projects, is set
         forth in Schedule 6 to the PJM Operating Agreement.

                 Ohio FEA states that the Commission should eliminate any ambiguity regarding
         the scope of PJM’s authority that results in no or a deficient review of Transmission
         Owner transmission investment proposals and confirm PJM’s responsibility to equip
         itself with the required expertise to function comprehensively and effectively as a
         regional planner.69

                         2.      PJM Joint Stakeholder Proposal

                Load Group recommends that the Commission reject the Attachment M-3
         Revisions Filing and instead approve the proposal developed and approved by a super-
         majority of PJM Members filed in Docket No. ER20-2308-000 (Joint Stakeholder
         Proposal).70 Load Group explains that stakeholders seek to have PJM use all of its tools
         and insights to centrally plan, on a regional and cost effective basis, for new transmission
         expansions and enhancements that are required to replace transmission facilities that have
         reached the end of their operational lives for the grid of the future.

                Interested Parties argue that approval of the Joint Stakeholder Proposal is
         consistent with established Commission preference for a stakeholder vetted and approved
         approach.71 Interested Parties contend it provides for the transparency and meaningful
         participation Order No. 890 requires and will allow PJM to meet its regional transmission
         planning obligations under Order No. 1000.72 Interested Parties further contend that the

                68
                     Interested Parties Protest at 15.
                69
                     Ohio FEA Comments at 9.
                70
                     Load Group Protest at 36-37.
                71
                     Interested Parties Protest at 12-13.
                72
                   Id. at 16 (citing Transmission Planning & Cost Allocation by Transmission
         Owning & Operating Pub. Utils., Order No. 1000, 136 FERC ¶ 61,051 (2011) (Order
         No. 1000), order on reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g &
         clarification, Order No. 1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub.
         Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014).



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         Joint Stakeholder Proposal is just and reasonable and should be accepted because it
         adheres to and furthers these long established Commission policy goals.73

                          3.      EOL Terms and Process

                Regarding the Attachment M-3 Revisions Filing’s provisions on notifications and
         forecasts for future EOL Need projects, Ohio FEA supports the identification of EOL
         projects through the PJM TOs’ proposed 5-year forecast and their incorporation into
         PJM’s transmission planning framework. Additionally, Ohio FEA states that five years
         represents the minimum notification time that would be necessary for a project to be
         incorporated into the RTEP.74

                 Load Group and LS Power argue that the definitions governing the expanded
         Attachment M-3 process are vague and, therefore, are unjust and unreasonable.
         Specifically, Load Group argues the following definitions in the Attachment M-3
         Revisions Filing are unjust and unreasonable: Asset Management Project, Attachment
         M-3 Project, Form No. 715 EOL Planning Criteria, EOL Need, Attachment M-3 EOL
         Planning Criteria, Candidate EOL Needs List, and PJM Planning Criteria.75 LS Power
         argues that the definitions that underlie the Attachment M-3 Revisions Filing are unjust
         and unreasonable. LS Power states that the definition of “asset management” is not
         defined by the Commission, North American Electric Reliability Corporation (NERC), or
         PJM. LS Power notes that the California Orders stated that “asset management” is
         “maintenance, repair and replacement work done on existing transmission facilities.”
         LS Power states that this definition does not apply to retiring transmission facilities that
         will be governed by the revisions for EOL drivers.76 LS Power argues that the proposed
         definition of “EOL Need” in the Attachment M-3 Revisions Filing, by only applying to
         transmission facilities greater than 100 kV, provides another backdoor right of first
         refusal (ROFR) on substations and any other non-line transmission equipment. Further,
         LS Power notes, the definition of “EOL Need” limits EOL Needs to just transmission
         lines, meaning that replacements of substations in PJM would no longer be subject to the
         regional planning process or cost allocation.77



                73
                     Id. at 18.
                74
                     Ohio FEA Comments at 11-12.
                75
                     Load Group Protest at 38.
                76
                     LS Power Protest at 39-42 (citations omitted).
                77
                     Id. at 48-51.



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                Load Group claims the Attachment M-3 Revisions Filing’s reliance on the
         California Orders is misplaced and those orders do not apply to the breadth of projects
         under consideration in these proposed tariff revisions. 78 Further, Load Group argues the
         Commission made it clear in the California Orders that its determination was based on
         the specific circumstances of those proceedings, so the Commission should not import
         and impose those determinations in this proceeding. Though the PJM TOs claim their
         proposal is consistent with the California Orders, Load Group states the Attachment M-3
         Revisions Filing goes well beyond the California Orders, including the PJM TOs’
         proposed definition for Asset Management Projects and conflates the Commission’s
         guidance on incidental increases to transmission system capacity.

                LS Power and Load Group also protest the PJM TOs’ proposed definition of
         “Incidental Increase.”79 LS Power notes that while the term “Incidental Increase” was the
         mechanism by which the California Orders determined whether a transmission project
         was an “expansion” of the transmission system, the Attachment M-3 Revisions Filing
         ignores PJM’s transmission planning structure in which both regional planning and
         Supplemental Projects cover expansions and enhancements. LS Power argues PJM TOs’
         proposed definition conflates expansions, which relate exclusively to increases in
         delivery potential with “enhancements,” which can mean new facilities that result in no
         capacity increase. Due to this lack of clarity on the PJM TOs’ proposed definition for
         “Incidental Increase,” LS Power argues, it will be applied discriminatorily across the PJM
         region since Transmission Owners’ design standards differ. Load Group states the
         proposed definition of Incidental Increase is unjust and unreasonable as it is unreasonably
         broad and susceptible to manipulation through a modification of Transmission Owner
         design standards and it seeks to apply an interpretation of a Commission Order that is
         explicitly inapplicable to PJM.

                Ohio FEA, Load Group, LS Power, NJ BPU, and OCC argue that the Attachment
         M-3 Revisions Filing should be more transparent than as-filed.80 Ohio FEA argues that
         the proposal could be strengthened such that stakeholders may provide input when the
         Transmission Owners are developing their planning criteria and not just on the final
         decisions made utilizing such criteria. Load Group warns that having these critical
         planning provisions in Attachment M-3 to the PJM Tariff as opposed to the Operating
         Agreement, gives the PJM TOs control and veto authority over adding additional regional
         planning categories to the PJM RTEP. NJ BPU states that under the Attachment M-3
         Revisions Filing, stakeholders will only have ten days to review and provide input on

                78
                     Load Group Protest at 24-30.
                79
                     LS Power Protest at 44-48; Load Group Protest at 38-39.
                80
                  Ohio FEA Comments at 6-10; Load Group Protest at 21-22; LS Power Protest
         at 4; NJ BPU Protest at 4-9; OCC Protest at 8-12.



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         EOL Needs projects. OCC states that the proposal is fundamentally deficient because it
         fails to include all Asset Management Projects within the scope of the transmission
         planning process and fails to provide for any regulatory oversight of the selection and
         cost of projects.

                LS Power, NJ BPU, and OCC argue that the Attachment M-3 Revisions Filing, by
         permitting PJM TOs to provide PJM, and only PJM, a Candidate EOL Needs List
         comprising the non-public confidential, non-binding projection of up to five years of
         EOL Needs, deprives stakeholders (including consumer advocate groups) the necessary
         transparency to avoid undue discrimination.81 LS Power states the Attachment M-3
         Revisions Filing’s proposal to share the Candidate EOL Needs List with PJM, and not
         stakeholders or state commissions, should be rejected because there is no justification for
         keeping this list a secret and is inconsistent with the Commission’s efforts to ensure that
         transmission planning is transparent and permits stakeholder participation.

                 LS Power argues that the Attachment M-3 Revisions Filing represents an effort by
         PJM TOs to circumvent PJM’s regional transmission planning processes by removing the
         ability of PJM Stakeholders to determine the scope of regional planning within the
         Operating Agreement. LS Power asserts the impact of the Attachment M-3 Revisions
         Filing would continue the transition in PJM to move local and short-term planning to the
         forefront, while relegating regional planning to an afterthought.82 Similarly, Interested
         Parties argue the Attachment M-3 Revisions Filing is not the product of an extensive
         stakeholder process but is rather a deliberate series of actions designed to avoid and
         ignore input from other PJM Members and stakeholders.83

                Ohio FEA supports identification of Transmission Owner EOL projects that also
         overlap with PJM RTEP projects.84 However, Ohio FEA contends that in order to
         strengthen this requirement, and avoid duplication of projects, the PJM TOs should not
         be permitted to proceed with a project that overlaps with a PJM RTEP project. Ohio
         FEA argues that if PJM TOs object to the findings of the RTEP planning process as it
         pertains to their project candidates, the PJM TOs will be under no obligation to abide by
         the findings. Ohio FEA contends that to facilitate meaningful improvement in the
         planning process, Transmission Owners must be bound by the findings based upon the
         information they provided.


                81
                     LS Power Protest at 52-53; NJ BPU Protest at 7-8; OCC Protest at 8-12.
                82
                     LS Power Protest at 4.
                83
                     Interested Parties Protest at 13-16.
                84
                     Ohio FEA comments at 7, 11-12.



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                 LS Power argues that the Attachment M-3 Revisions Filing, if accepted, would
         conflict with existing Operating Agreement transmission planning requirements.
         Specifically, LS Power argues the following: (1) the proposed tariff revisions do not
         respect PJM’s existing provisions related to transmission projects driven by Public Policy
         Requirements or Multi-Driver transmission projects; (2) inappropriately expands the
         definition of Supplemental Projects without corresponding revisions to Schedule 6 of the
         Operating Agreement; (3) effectively establishes Transmission Owner veto rights to
         PJM’s determination of projects that can be included in PJM’s Order No. 1000-compliant
         transmission planning process; and (4) since EOL or Asset Management Projects qualify
         as Supplemental Projects under the existing Operating Agreement, the Attachment M-3
         Revisions Filing is unnecessary.85

                          4.     Expanded Attachment M-3 Impacts

                Ohio FEA supports that Asset Management and EOL projects be vetted through
         the Attachment M-3 process. However, Ohio FEA contends that more should be done to
         align the PJM regional transmission planning process with the Attachment M-3 process
         due to the recent escalation in transmission investment driven primarily by Transmission
         Owners’ projects that occur independent of RTEP review.86

                 Interested Parties argue that the Attachment M-3 Revisions Filing completely
         avoids the non-binding, ten-year look-ahead and replaced the required six-year
         notification of EOL Need status with a voluntary five-year notice that would only be
         shared with PJM.87 Rather than enhancing transparency to allow stakeholders to better
         align their own commercial and regulatory activities with the changing topography of the
         grid, Interested Parties contend, the Attachment M-3 Revisions Filing creates a black box
         around transmission planning into which only the Transmission Owner and PJM may
         look. Furthermore, Interested Parties contend, it is not entirely clear what PJM would do
         with its increased “transparency,” as Attachment M-3 Revisions Filing still leaves the
         vast majority of EOL planning to the Transmission Owner.88 Interested Parties contend
         only when there is a related PJM reliability open window violation and the EOL need can
         be combined with a PJM open window reliability violation and the EOL Need project is




                85
                     LS Power Protest at 21-32 (internal citations omitted).
                86
                     Ohio FEA Comments at 5-6 & 7-8.
                87
                     Interested Parties Protest at 8-9.
                88
                     Id. at 8.



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         over 200 kV and the EOL project relates only to poles and wires (i.e., no substation
         equipment, including transformers) would PJM plan the EOL project.89

                Interested Parties, Load Group, and LS Power contend that the Attachment M-3
         Revisions Filing undermines the Commission’s policy goals regarding regional
         transmission planning as articulated in Order Nos. 890, 1000, and 2000.90 Interested
         Parties argue it would significantly reduce transparency and limit meaningful stakeholder
         participation, contrary to the requirements of Order No. 890. Interested Parties argue
         because of the prevalence of EOL projects in the PJM footprint, allowing the
         Transmission Owner to address them through the Attachment M-3 Process all but
         guarantees that PJM will be unable to develop the type of regional planning envisioned
         under Order No. 1000. Load Group also suggests that the proposed applicability
         provision limits PJM’s ability to add additional regional transmission planning categories
         to the PJM RTEP absent PJM TOs’ approval to modify the Tariff, which Load Group
         explains would prevent PJM from independently making changes to the RTEP and is the
         exact opposite of the spirit and letter of Order No. 2000. LS Power states, the
         Commission found in Order No. 1000 that, “it is necessary to have an affirmative
         obligation in these transmission planning regions to evaluate alternatives that may meet
         the needs of the region more efficiently or cost-effectively.”91 Given the Commission’s
         statement in Order No. 1000, LS Power argues that the Attachment M-3 Revisions Filing
         would deprive PJM of its ability to holistically plan on a regional basis and determine
         whether a regional solution would more efficiently or cost-effectively meet the region’s
         needs.

                LS Power argues that the Attachment M-3 Revisions Filing elevates local planning
         over regional planning contrary to Commission precedent on transmission planning.
         Specifically, LS Power argues that the Attachment M-3 Revisions Filing is inconsistent
         with Order No. 888-A’s guidance that encouraged transmission providers to engage in
         regional planning with transmission customers to “ensur[e] that regional transmission
         needs are met efficiently.”92 LS Power further states the Attachment M-3 Revisions
         Filing conflicts with the Commission’s finding in Order No. 890 that, “[t]he coordination
         of planning on a regional basis will also increase efficiency through the coordination of
         transmission upgrades that have region-wide benefits, as opposed to pursuing
         transmission expansion on a piecemeal basis.” LS Power adds that the impacts of the

                89
                     Id. at 8-9.
                90
                     Interested Parties Protest at 16-18; Load Group Protest at 24; LS Power Protest
         at 55-58.
                91
                     Order No. 1000 at P 80.
                92
                     LS Power Protest at 55 (citations omitted).



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         Attachment M-3 Revisions Filing would create a perpetual right to locally plan and
         rebuild the existing transmission system in perpetuity.

                LS Power and NJ BPU argue that EOL Need transmission projects developed
         under the expanded Attachment M-3 process should be subject to competitive solicitation
         windows.93 LS Power asserts that the real-world impacts of the Attachment M-3
         Revisions Filing is to institute a new ROFR in the PJM Tariff nine years after the
         Commission mandated the removal of ROFRs. The NJ BPU asserts the Attachment M-3
         Revisions Filing, by not permitting EOL Need projects to be subject to competition,
         creates preferential treatment for the PJM TOs and likely results in a failure to consider
         more efficient or cost-effective solutions for these projects and runs counter to the
         Commission’s findings in Order No. 1000.

                         5.     Attachment M-3 Supplemental Projects

                 Interested Parties, OCC, and LS Power make arguments opposing EOL Need
         projects being developed under the expanded Attachment M-3 process compared to the
         existing Attachment M-3 Supplemental Projects process.94 Interested Parties argue EOL
         projects are often addressed as either Supplemental Projects or FERC Form 715 criteria
         projects, minimizing any effective oversight by either PJM or stakeholders. Rather than
         addressing these deficiencies, Interested Parties argue, the PJM TO Proposal compounds
         them, unlawfully expanding the reach of its Supplemental Projects Attachment M-3
         Process. LS Power states that as is apparent from Supplemental Project spending for
         EOL projects, and the Attachment M-3 Revisions Filing, Transmission Owners have
         criteria by which they make EOL Need determinations. LS Power states by withholding
         EOL Need planning criteria from its Form No. 715 submission, a Transmission Owner
         can build EOL Need projects without competition as a Supplemental Project – EOL Need
         projects are a subset of Supplemental Projects.

                 Load Group notes that the proposed revisions of the Attachment M-3 Revisions
         Filing are not limited to modifications to the Supplemental Project planning process in
         Attachment M-3 and includes expansive modifications to Attachment M-3. Load Group
         also states the Attachment M-3 Revisions Filing explicitly limits PJM’s flexibility to
         improve its structure and operations to meet demand by restricting the PJM planning
         criteria. Load Group argues that the PJM TOs cannot turn Attachment M-3 into an




                93
                     Id. at 13-14; NJ BPU Protest at 2-3 (citations omitted).
                94
                     Interested Parties Protest at 4; OCC Protest at 16; LS Power Protest at 62-64.



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         expansive catchall that allows the PJM TOs to declare whatever they choose to be an
         “Attachment M-3 Project” absent defined PJM criteria.95

                         6.     Cost Causation Principles

                LS Power and NJ BPU both contend that the Attachment M-3 Revisions Filing is
         inconsistent with cost causation principles. LS Power states that, if accepted, the
         Attachment M-3 Revisions Filing would violate the long-standing cost allocation
         precedent that requires that beneficiaries of a project pay the cost of the project.96
         NJ BPU argues that the Attachment M-3 Revisions Filing violates cost causation
         principles. Specifically, NJ BPU argues the court’s findings in ODEC v. FERC which
         stated “the cost-causation principle, by allocating project costs consistent with project
         benefits”97 signaled that the Attachment M-3 Revisions Filing is not consistent with this
         principle since EOL Need projects that PJM TOs develop under the expanded
         Attachment M-3 process will receive local cost allocation to the transmission zone where
         the project is located.

                 NJ BPU offers the example of PSEG’s Metuchen-Trenton-Burlington Project
         (MTB Project) which addressed end-of-life transmission needs. NJ BPU states that the
         MTB Project received proper cost allocation under PJM’s Order No. 1000-compliant
         RTEP process, but had the MTB Project been developed under the Attachment M-3
         Revisions Filing, it would have only received local cost allocation. NJ BPU concludes
         that since the PJM TOs failed to address the cost causation principles in their filing, they
         have not meet the FPA section 205 filing burden.98

                         7.     Miscellaneous

                J-POWER claims that it does not take a position on the proposed revisions or an
         alternate proposal, but instead urges the Commission to request additional information
         regarding the process for EOL transmission replacements to avoid creating additional
         roadblocks for merchant generators trying to interconnect to the PJM system.99



                95
                     Load Group Protest at 13-15.
                96
                 LS Power Protest at 35-36 (citing Old Dominion Elect. Coop. v. FERC, 898
         F.3d 1254 (D.C. Cir.), reh’g denied, 905 F.3d 671 (D.C. Cir. 2018) [hereinafter ODEC].
                97
                     ODEC, 898 F.3d 1254 at 1263.
                98
                     NJ BPU Protest at 10-15.
                99
                     J-POWER Comment at 1.



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                 OCC states that the instant proposal lacks recommendations of effective regulation
         of costs to protect consumers because it does not provide for any timely review of the
         need for and cost of proposed Supplemental Projects including Asset Management and
         EOL projects. OCC notes that even if the Commission were to require PJM to be
         responsible for determining the most cost effective solution for reliability concerns driven
         by end-of-life considerations, that solution will not necessarily guarantee a cost-efficient
         transmission grid and PJM’s independent and timely review of the estimated costs of
         those projects is necessary. OCC states that the Commission should require a third party
         or PJM to review Supplemental Projects for a demonstration of need to maintain
         reliability and costs.100

                C.       Responsive Pleadings

                 In their limited answer, PJM responds to J-Power’s concerns. Specifically, PJM
         states the Commission’s acceptance of the Attachment M-3 Revisions Filing is not
         anticipated to affect interconnection costs. PJM explains that the Attachment M-3
         Revisions Filing merely provides more transparency to an existing process to avoid
         uncertainty when PJM develops the RTEP. PJM states J-Power’s concerns pertain to
         interconnection issues which are beyond-the-scope of this proceeding.101

                 In their answer, the PJM TOs respond to several arguments made in the pleadings.
         First, the PJM TOs state that the Attachment M-3 Revisions Filing must be considered on
         its own merits.102 The PJM TOs argue that the Commission is under no obligation to
         determine whether the Attachment M-3 Revisions Filing is superior to other proposals
         offered by the pleadings and that the Commission only needs to determine whether the
         instant proposal is just and reasonable. The PJM TOs note that the Commission is not
         authorized, per section 205, to change the Attachment M-3 Revisions Filing to adopt
         protestors’ alternatives, some of which, the PJM TOs assert, are beyond-the-scope of this
         proceeding.103


                100
                      OCC Protest at 13-16.
                101
                      PJM Limited Answer at 2-4.
                102
                   PJM TOs Answer at 9-11 (citing Cities of Bethany v. FERC, 727 F.2d at 1136
         (“FERC has interpreted its authority to review rates under [the FPA] as limited to an
         inquiry into whether the rates proposed by a utility are reasonable and not to extend to
         determining whether a proposed rate schedule is more or less reasonable than alternative
         rate designs.”), cert. denied, 469 U.S. 917 (1984); Oxy USA, 64 F.3d at 692 (D.C. Cir.
         1995)).
                103
                   Id. at 12-14, 16-17 (citing NRG Power Marketing, 862 F.3d at 115-16 (holding
         that the Commission acted beyond the scope of its section 205 authority where its


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                 Second, the PJM TOs reiterate that the Attachment M-3 Revisions Filing has been
         shown to be just and reasonable as it enhances transparency and opportunities for
         stakeholder input. In response to arguments by LS Power and the Load Group regarding
         the PJM TOs’ rights to file changes, the PJM TOs claim that since the PJM TOs did not
         turn over the responsibility for Supplemental Projects to PJM, the PJM TOs maintain the
         right to propose revisions under section 205. The PJM TOs note that the Commission
         rejected similar arguments in the Attachment M-3 Order.104 In response to protestors’
         arguments regarding the PJM TOs responsibilities under the CTOA, the PJM TOs argue
         that the transfer of certain transmission planning responsibilities to PJM was limited and
         the PJM TOs retained “the right to build, acquire, sell, dispose, retire, merge or otherwise
         transfer or convey all or any part of its assets, including any Transmission Facilities.”105

                In further support that the Attachment M-3 Revisions Filing is just and reasonable,
         the PJM TOs challenge LS Power and the Load Group’s arguments regarding definitions
         contained in the Attachment M-3 Revisions Filing. The PJM TOs argue that the
         proposed definition of “Asset Management Project” is consistent with the Commission’s
         findings in the California Orders and note that Order No. 890 requirements do not apply
         to “Asset Management Projects”.106 Similarly, the PJM TOs argue that the Attachment
         M-3 Revisions Filing’s proposed definition of “Incidental Increase” is consistent with
         Commission precedent.107 In response to concerns from several protestors that the PJM
         TOs will not adopt uniform EOL Needs Planning Criteria, the PJM TOs argue that
         stakeholders will be able to review and comment on EOL Needs Planning Criteria
         annually so there is no need for uniformity across the PJM TOs.108 Regarding protestors’
         objections to the provisions limiting EOL Candidate Needs List to PJM only, the PJM
         TOs argue the protestors ignore that under the Attachment M-3 Revisions Filing, the PJM




         “proposed modifications resulted in an ‘entirely different rate design’ than PJM’s
         proposal”).
                104
                      Id. at 19-21 (citing Attachment M-3 Order at P 14).
                105
                   Id. at 21-23 (citing PJM Rates Schedules, TOA-42, 5.2, TOA-42, 5.2 Facility
         Rights, 1.0.0).
                106
                      Id. at 25-26.
                107
                      Id. at 27-31.
                108
                      Id. at 32-34.



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         TOs will have to review EOL Needs during the Attachment M-3 process and that the
         EOL Candidate Needs List is not a forecast of costs and is subject to changes.109

                The PJM TOs counter protestors’ assertions regarding the process by which PJM
         and a specific PJM TO will coordinate on electrically overlapping transmission projects.
         PJM reiterates that the specific PJM TO responsible for the EOL Need project in
         question, must present documentation to PJM and stakeholders on the reasons why it has
         decided that the EOL Need is not addressed. Moreover, PJM TOs explain, since the
         CTOA requires each PJM TO to maintain their facilities consistent with Good Utility
         Practice, it is reasonable for each PJM TO to retain the ability to fulfil their obligations to
         their customers and state commissions.110

                Finally, the PJM TOs argue that the Attachment M-3 Revisions Filing makes no
         changes to PJM planning responsibilities, cost allocation or recovery of costs.
         Specifically, PJM TOs argue that nothing in the Attachment M-3 Revisions Filing
         reduces the opportunities for stakeholders to review and comment on EOL Need projects.
         PJM TOs further note that stakeholders will have at least the same opportunity they had
         before to raise the need for a project at the Attachment M-3 Needs meeting and to
         challenge it.111 In response to LS Power’s concerns that the Attachment M-3 Revisions
         Filing – effectively – permits PJM TOs “veto” power over certain transmission projects,
         PJM TOs note there is nothing in their filing that permits an individual PJM TO to block
         PJM from developing a transmission project. Similarly, the PJM TOs argue, there are no
         changes to several other matters raised by protestors such as ROFR, FERC Form No. 715
         transmission planning, the applicability of Attachment M-3 to Supplemental Projects, the
         authority of state commissions to access transmission planning data, or the
         interconnection process. The PJM TOs add that nothing in the Attachment M-3
         Revisions Filing will impact Duquesne’s rights as a party under the CTOA.112 Regarding
         the arguments about cost allocation and recovery of costs, the PJM TOs argue those
         issues are beyond-the-scope of this proceeding. The PJM TOs note that the court’s




                109
                      Id. at 35-37.
                110
                 Id. at 38-39 (citing PJM Rates Schedules, TOA-42 4.5 Operation and
         Maintenance, 1.0.0).
                111
                      Id. at 41-43.
                112
                      Id. at 44, 46-55.



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         decision in ODEC v. FERC did not address projects developed under the Attachment M-3
         process.113

                In its answer, LS Power argues it now has evidence that some Attachment M-3
         Projects and Asset Management Projects are likely to have regional benefits, including
         Supplemental Projects that are also aging infrastructure replacement projects located
         throughout PJM that have regional benefits.114 LS Power states that while Supplemental
         Projects are allocated to the individual zone, the PJM TOs have provided no evidence
         that proposed revisions to Attachment M-3 results in a cost allocation that is just and
         reasonable.115 LS Power contends that for the Commission to accept the TO Filing, there
         must be evidence in the record that the cost allocation methodology applicable to the new
         project categories is just and reasonable.116

                In their answer, the Load Group argues that the Attachment M-3 Revisions Filing
         exceeds the authority to file section 205 filing under both the CTOA and the Tariff. The
         Load Group further contends that the Attachment M-3 Revisions violate the CTOA and
         FERC precedent by transferring regional planning duties from PJM to the PJM TOs,
         limiting the scope of the PJM RTEP. The Load Group argues that the PJM TOs’ claims
         of improved coordination between EOL Needs and PJM Planning under Operating
         Agreement Schedule 6 do not remedy their proposal to transfer PJM’s planning authority.
         The Load Group further contends that the Commission should reject the PJM TOs’
         attempt to ignore the Commission’s limited applicability of the California Orders and
         instead find that: (1) the California Orders do not apply beyond those specific cases; and
         (2) even if the California Orders did provide precedent, the TOs’ Proposal goes well
         beyond any reasonable application of those orders.

                In their answer to LS Power’s and Load Group’s answer, the PJM TOs argue that
         LS Power’s arguments regarding cost allocation and cost responsibility assignment
         rules constitutes a collateral attack on the Commission’s findings during PJM’s Order
         No. 1000 compliance proceeding.117 The PJM TOs contend that LS Power’s reliance on
         ODEC is misplaced since the Attachment M-3 Revisions Filing only pertains to

                113
                   Id. at 44-45 (citing ODEC v. FERC, 898 F.3d 1254 (D.C. Cir., 2018), reh’g
         denied, 905 F.3d 671).
                114
                      LS Power Answer at 2-3.
                115
                      Id.
                116
                      Id. at 6.
                117
                   PJM TOs Answer at 5 (citing PJM Interconnection, L.L.C., 142 FERC
         ¶ 61,214, at 354, 416-46 (2013)).



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         transmission planning.118 In response to LS Power’s arguments regarding certain
         transmission projects having regional benefits but their costs are only allocated to the
         zone in which the transmission projects are located, the PJM TOs assert that the evidence
         LS Power relies on is not relevant to this proceeding since it relates to cost allocation.119
         The PJM TOs finally respond to Load Group’s assertions regarding filing rights by
         arguing that Load Group’s views are misinterpretations of the Tariff, CTOA, or the
         Attachment M-3 Revisions Filing. Specifically, the PJM TOs state that Load Group’s
         reading of these documents ignores the PJM TOs’ rights to make changes to Attachment
         M-3 through the CTOA and falsely holds that the PJM TOs seek to extend their planning
         rights beyond local projects.120

                 In their answer, J-Power contests PJM’s assertions on the Attachment M-3
         Revisions Filing’s impacts on interconnection costs. Specifically, J-Power states, for
         example, a scenario where an EOL Need project could result in the installation of
         facilities that could negate the need for transmission upgrades that have been identified as
         necessary to accommodate an interconnection request.121 J-Power asserts that the
         Commission should not dismiss J-Power concern’s since transmission planning and
         interconnection processes are complex matters. Accordingly, J-Power states, the
         Commission should consider the Attachment M-3 Revisions Filing’s impacts on
         interconnection costs.122

                 In their answer, NJ BPU contests the PJM TOs’ assertions that the Commission
         need not consider whether the Attachment M-3 Revisions Filing is superior to other
         proposals. NJ BPU reiterates that, rather, the PJM TOs have not shown that the
         Attachment M-3 Revisions Filing is just and reasonable.123 Furthermore, NJ BPU argues
         that the PJM TOs’ claims that cost allocation issues are beyond-the-scope of this
         proceeding are incorrect. NJ BPU states that the PJM TOs must demonstrate the
         Attachment M-3 Revisions Filing is just and reasonable. By not addressing the cost
         allocation arguments protestors made, the PJM TOs failed to meet the burden of showing
         the Attachment M-3 Revisions Filing is just and reasonable.


                118
                      PJM TOs Answer at 7-8.
                119
                      Id. at 9.
                120
                      Id. at 10-13.
                121
                      J-Power Answer at 2-3.
                122
                      Id. at 4-5.
                123
                      NJ BPU Answer at 4-5.



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                 Additionally, in their answer, NJ BPU argues that the PJM TOs’ reliance on the
         California Orders is misplaced since the California Orders do not apply here. NJ BPU
         states that the transmission planning activities pursuant to the Attachment M-3 Revisions
         Filing extend beyond those discussed in the California Orders. Specifically, NJ BPU
         states the record in the California Orders demonstrates that asset management activities
         did not include replacements of transmission facilities.124 Further, NJ BPU states, the
         definition of “incidental increase” is not applicable here since upgrades to existing
         transmission facilities raise a host of questions regarding impacts which can be
         reasonably severed.125

         IV.    Determination

                A.        Procedural Matters

                          1.     Intervention and Pleadings

                Pursuant to Rule 214 of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.214 (2019), the notice of intervention and timely, unopposed motions to
         intervene serve to make the entities that filed them parties to this proceeding.

                Pursuant to Rule 214(d) of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.214(d) (2019), we grant the late-filed motions to intervene of Long
         Island Lighting Company, a subsidiary of the Long Island Power Authority, the Illinois
         Commerce Commission, and NEET given their interest in the proceeding, the early stage
         of the proceeding, and the absence of undue prejudice or delay.

                Rule 213(a)(2) of the Commission’s Rules of Practice and Procedure, 18 C.F.R.
         § 385.213(a)(2) (2019), prohibits an answer to a protest unless otherwise ordered by the
         decisional authority. We accept the answers as they have provided information that
         assisted us in our decision-making process.

                          2.     Motion to Dismiss

                We deny the motion to dismiss. At issue in this proceeding is a filing made
         pursuant to section 205 of the FPA, section 7.3.2 of the CTOA, and section 9.1(b) of the
         Tariff. Both section 7.3.2 of the CTOA and section 9.1(b) of the Tariff require that
         before making a filing pursuant to section 205 of the FPA, the TOs “shall consult with
         PJM and the PJM Members Committee beginning no less than thirty (30) days prior: to

                124
                 Id. at 8, n. 44 (citing Cal. Pub. Utils. Comm’n v. Pac. Gas & Elec. Co., 164
         FERC ¶ 61,161 at P 44).
                125
                      Id. at 9-10.



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         any [such] Section 205 filing.”126 The PJM TOs complied with this requirement as they
         began the consultation process with a notice issued on May 7, 2020, and did not file until
         June 12, 2020.

                 Movants contend that the CTOA requires two votes under section 8.5,127 the first
         to initiate the consultative process and the second to approve the change after the
         consultative process. However, section 8.5 of the CTOA does not require a vote to
         initiate the consultative process. Section 8.5 sets out the voting procedures necessary for
         the PJM TOs to make the section 205 filing with the Commission. Neither section 7.3.2
         of the CTOA nor section 9.1(b) of the Tariff require any formal prerequisite for initiating
         the consultation with PJM and the PJM Members Committee. As the Indicated PJM TOs
         point out, this has been a long-standing understanding of these provisions. 128 Indeed,
         initiating the consultation prior to the formal vote ensures that the PJM TOs may consider
         the opinions of PJM and the Members Committee prior to the formal vote on the proposal
         under section 8.5 of the CTOA.

                B.       Substantive Matters

                We accept the proposed Attachment M-3 Revisions Filing effective August 12,
         2020, as requested. As discussed below, we find that this filing is within the filing rights
         reserved by the PJM TOs and also is just and reasonable and not unduly discriminatory or
         preferential.

                         1.    Proposed Revisions Are Within the Transmission Owners’
                               Exclusive Retained Responsibilities

                  The protesters contend the PJM TOs do not have exclusive filing rights to make
         this filing, particularly with respect to the EOL projects, and that the PJM stakeholders
         maintain rights under the Operating Agreement to make filings related to EOL projects.
         As discussed below, given the specific facts and circumstances before us, we find that the



                126
                 PJM, Rate Schedules, 7.3.2, TOA-42, 7.3.2, 0.0.0; PJM, Intra-PJM Tariffs, 9.1,
         OATT 9.1 Rights of the Transmission Owners, 2.1.0.
                127
                   Section 8.5 of the CTOA provides the manner of action; specifically, “any
         action taken by the Administrative Committee shall require a combination of the
         concurrence of the representatives’ Individual Votes of the representatives of those
         Parties entitled to vote on such matters and Weighted Votes as specified in this Section
         8.5.” PJM, Rate Schedules, 8.5, TOA-42, 8.5 Manner of Acting, 1.0.0.
                128
                      PJM TOs Answer to Motion to Dismiss at 8-9.



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         planning activities addressed by the Attachment M-3 Revisions Filing are within the
         exclusive rights and responsibilities retained by the PJM TOs under the CTOA.

                  Under the CTOA and the Tariff, the PJM TOs retain all rights that they have not
         specifically granted to PJM.129 Under the CTOA, the PJM TOs agree to “transfer to PJM
         . . . the responsibility to prepare a Regional Transmission Expansion Plan and to provide
         information reasonably requested by PJM to prepare the Regional Transmission
         Expansion Plan and shall otherwise cooperate with PJM in such preparation.”130
         Pursuant to the CTOA, PJM is limited to “[c]onduct[ing] its planning for the expansion
         and enhancement of transmission facilities.”131 The PJM TOs specifically retain the right
         to “maintain” their transmission facilities132 and generally reserve all rights not
         specifically granted to PJM.133

                Asset Management Projects do not fit within the categories of projects the CTOAs
         have transferred to PJM. These projects do not fall under regional planning under the
         Operating Agreement as they relate solely to maintenance of existing facilities,134 and
         they do not “expand” or “enhance” the PJM grid as the CTOA requires for planning
         transferred to PJM. They are solely projects that maintain the existing infrastructure by
         repairing or replacing equipment. These projects therefore fall within the category of
         rights not specifically granted to PJM and therefore reserved to the PJM TOs.

               Our interpretation of the CTOA is consistent with the California Orders, in which
         the Commission concluded that it was appropriate to define “asset management” as

                129
                   See Atlantic City Elec. Co. v. FERC, 295 F.3d 1, 10 (D.C. Cir. 2002).
         (“[N]othing in section 206 sanctions denying petitioners their right to unilaterally file rate
         and term changes. . . . Of course, utilities may choose to voluntarily give up, by contract,
         some of their rate-filing freedom under section 205.”).
                130
                      PJM, Rate Schedules, TOA-42 4.1.4 Planning Information (0.0.0).
                131
                      Id., TOA-42, 6.3.4 (0.0.0).
                132
                      Id., TOA-42, 4.5 Operation and Maintenance (0.0.0).
                133
                  Id., TOA-42, Article 5 Parties’ Retailed Rights (0.0.0), TOA-42, 5.6
         Reservation of Rights (0.0.0).
                134
                   Asset Management Projects do not fall under the categories for which PJM
         plans under the Operating Agreement: PJM planning procedures, NERC Reliability
         Standards, Regional Entity reliability principles and standards, and individual PJM TO
         local planning criteria as filed with the Commission in FERC Form No. 715. PJM, Intra-
         PJM Tariffs, Operating Agreement, Schedule 6, § 1.2(e) (2.0.0).



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         activities that “encompass the maintenance, repair, and replacement work done on
         existing transmission facilities as necessary to maintain a safe, reliable, and compliant
         grid based on existing topology,” even if these projects result in an “incidental increase in
         transmission capacity that is not reasonably severable from the asset management or
         activity.”135 The Commission explained that an incidental increase in transmission
         capacity could be associated with, for example, the replacement of an aging 1940-vintage
         transformer at the end of its useful life with a modern transformer, which could be of
         higher capacity. We find that the PJM TOs’ proposed revisions in this proceeding are
         consistent with the type of projects and activities that the Commission found were
         appropriately considered transmission owner asset management projects in the California
         Orders.

                 Protesters contend that end of life criteria do not qualify as “maintenance” of
         facilities under the CTOA since the criteria envisions replacement, not repair of facilities.
         However, as the Commission found in Cal. Pub. Util. Comm’n., “these asset management
         projects and activities include maintenance, repair, and replacement work, and
         infrastructure security, system reliability, and automation project.”136 We find that the
         PJM TOs’ proposal to designate these types of projects as “asset management” is just and
         reasonable.137

                  Moreover, the CTOA does more than just reserve maintenance to the PJM TOs, it
         grants to PJM only the right to plan for “expansion” and “enhancement” of the grid as
         part of the RTEP. As discussed above,138 the PJM TOs did transfer to PJM the
         responsibility to plan for criteria included in Form No. 715, and a PJM TO may
         voluntarily include end of life criteria in its Form No. 715. However, the PJM TOs have
         not transferred to PJM planning responsibility for end of life criteria that are not included
         in Form No. 715.139 The PJM TOs, therefore, did not transfer the planning responsibility
         for all end of life criteria to PJM.


                135
                 So. Cal. Edison Co, 164 FERC ¶ 61,160 at P 33; Cal. Pub. Util. Comm’n., 164
         FERC ¶ 61,161 at P 68.
                136
                      Cal. Pub. Util. Comm’n, 164 FERC ¶ 61,161 at P 67.
                137
                   Replacement activities are a logical extension of the decision that it is no longer
         cost-effective to perform maintenance on a transmission facility.
                138
                      Supra P 8.
                139
                     As previously noted, Form No. 715 is the Annual Transmission Planning and
         Evaluation filed by the individual transmission owners, and is not limited to EOL Needs,
         e.g. storm hardening. “Where a Transmission Owner has included end of useful life
         criteria in its Form No. 715, projects required to satisfy those criteria will continue to be


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                 Some protestors argue that the Commission should reject the PJM TOs’
         Attachment M-3 Revisions Filing and instead accept a proposal put forth by the Joint
         Stakeholders. However, the Joint Stakeholders’ proposal is not before us here and does
         not alter the FPA section 205 filing rights of the PJM TOs. As discussed herein, we find
         the PJM TOs’ Attachment M-3 Revisions Filing just and reasonable and need not
         determine whether proposed alternatives are more or less reasonable. And, again, in this
         instance, the alternatives mentioned here consist of a filing made in a different
         proceeding, not this proceeding.

                         2.    Proposed Revisions Expand the Existing Just and Reasonable
                               Attachment M-3 Process

                 Having found above that certain planning activities remain the sole responsibility
         of the PJM TOs, we find the revisions proposed in the instant filing are just and
         reasonable, given the specific facts and circumstances presented here, because they
         maintain the existing just and reasonable Attachment M-3 process and provide greater
         transparency into certain planning activities. The Commission previously found the
         Attachment M-3 process for Supplemental Projects just and reasonable and compliant
         with Order No. 890.140 Having found the existing Attachment M-3 planning process
         consistent with the Order No. 890 planning principles, we find the proposed revisions,
         which expand the applicability of existing Attachment M-3 Tariff provisions, likewise
         just and reasonable. In addition to expanding the applicability of the existing Attachment
         M-3 to include Asset Management Projects, the proposed revisions also include a process
         for the identification and planning for EOL Needs. Significantly, the proposed revisions
         provide for coordination of EOL Needs with the PJM RTEP planning criteria needs. This
         provides PJM and stakeholders with increased opportunities to review and comment on
         EOL Need transmission projects, and thus provides greater transparency.

                We agree with the PJM TOs that where the transmission projects developed under
         the expanded Attachment M-3 process result in only incidental expansions of the
         transmission system, such asset management activities are not subject to Order No. 890
         transmission planning principles.141 This is consistent with the finding in the California
         Orders that the Order No. 890 planning principles apply only to transmission projects

         planned through PJM’s regional transmission planning process; the Proposed Revisions
         do not bring them into the Attachment M-3 process.” PJM TOs Transmittal at 4 n.10.
                140
                      Attachment M-3 Order, 164 FERC ¶ 61,217 at P 59.
                141
                   We make no determination here as to whether EOL Needs or any of these Asset
         Management Projects, and in particular specific replacement activities, are subject to the
         transmission planning requirements of Order No. 890, as the PJM TOs proposed to
         include these types of projects in the Order No. 890 planning process in Attachment M-3.



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         involving grid expansion, and where Supplemental Projects result in only incidental
         expansions of the transmission system, do not apply to asset management activities.

                Protesters raise concerns that the majority of transmission planning in PJM is
         occurring outside the purview of the PJM RTEP process. We find these arguments to be
         beyond the scope of this specific FPA section 205 proceeding.

                       3.     Cost Causation Concerns

                 Protesters raise concerns that the proposed revisions result in a cost allocation that
         is not consistent with cost causation. The cost allocation provisions of Schedule 12 of the
         PJM Tariff assign cost responsibility for Required Transmission Enhancements.142 The
         proposed revisions to Attachment M-3 include no revisions to Schedule 12 of the PJM
         Tariff, and propose no changes to cost allocation. Since this FPA section 205 filing
         proposes no change to cost allocation, that issue is beyond the scope of this
         proceeding.143

         The Commission orders:

               The Attachment M-3 Revisions Filing is hereby accepted for filing, effective
         August 12, 2020, as discussed in the body of this order.

         By the Commission.

         (SEAL)



                                                         Nathaniel J. Davis, Sr.,
                                                           Deputy Secretary.


                142
                  Required Transmission Enhancements are defined as “enhancements and
         expansions of the Transmission System that (1) a [RTEP] developed pursuant to
         Operating Agreement, Schedule 6 or (2) any joint planning or coordination agreement
         between PJM and another region or transmission planning authority set forth in Tariff,
         Schedule 12-Appendix B (‘Appendix B Agreement’) designates one or more of the
         Transmission Owner(s) to construct and own or finance.” PJM, Intra-PJM Tariffs,
         OATT Definitions – R - S, OATT Definitions – R - S, 18.2.0.
                143
                  See ANR Pipeline Co. v. FERC, 771 F.2d 507, 514 (D.C. Cir. 1985) (finding
         the Commission cannot revise an “unchanged part” of a rate under section 4 of the
         Natural Gas Act, the counterpart to section 205 of the Federal Power Act).



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         Docket No. ER20-2046-000                                                         - 35 -

                                      Appendix A – Intervenors


          American Electric Power Service Corporation
          American Municipal Power, Inc.
          AMP Transmission, LLC (AMP)
          Blue Ridge Power Agency
          Buckeye Power, Inc.
          Calpine Corporation
          The Dayton Power and Light Company
          Delaware Division of the Public Advocate
          Dominion Energy Services, Inc.
          Duke Energy Corporation
          Duquesne Light Company (Duquesne)
          East Kentucky Power Cooperative, Inc.
          Edison Electric Institute (EEI)
          EDP Renewables North America LLC
          Exelon Corporation
          GridLiance Holdco LP
          Hudson Transmission Partners, LLC
          Illinois Commerce Commission (out of time)
          Indiana Office of Utility Consumer Counselor
          ITC Interconnection LLC
          J-POWER USA Development Co., Ltd. (J-POWER)
          Long Island Lighting Company, a subsidiary of the Long Island Power Authority (out of time)
          LSP Transmission Holdings II, LLC (LS Power)
          Monitoring Analytics, LLC
          Neptune Regional Transmission System, LLC
          New Jersey Board of Public Utilities (NJ BPU)
          New Jersey Division of Rate Counsel
          North Carolina Electric Membership Corporation
          NRDC/FERC Project
          NRG Power Marketing LLC
          Office of the Ohio Consumers' Counsel (OCC)
          Office of the People's Counsel for the District of Columbia
          Old Dominion Electric Cooperative (ODEC)
          Pennsylvania Public Utility Commission




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         Docket No. ER20-2046-000                                                        - 36 -

          PJM Industrial Customer Coalition
          PJM Interconnection, L.L.C.
          PPL Electric Utilities Corporation
          Public Power Association of New Jersey.
          Public Service Electric and Gas Company
          Public Utilities Commission of Ohio’s Office of the Federal Energy Advocate (Ohio FEA)
          Rockland Electric Company
          Southern Maryland Electric Cooperative, Inc.
          WIRES
          NextEra Energy Transmission MidAtlantic Indiana, Inc (NEET), (out of time)




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   Document Content(s)
   ER20-2046-000.DOCX........................................................1




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                                           UNITED STATES OF AMERICA
                                                  BEFORE THE
                                    FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                                   )                Docket No. ER20-2046-000



                                              REQUEST FOR REHEARING
                                             OF THE PROTESTING PARTIES

                    On August 11, 2020, the Federal Energy Regulatory Commission (“FERC” or

         “Commission”) issued an order (“August 11 Order” or “Order”) approving a new transmission

         planning process in PJM Interconnection, L.L.C. (“PJM”) proposed by a group of PJM

         Transmission Owners in the above-referenced proceeding (“TO Proposal”).1 Pursuant to section

         313 of the Federal Power Act (“FPA”)2 and Rule 713 of the Rules of Practice and Procedure of

         the Commission,3 the Protesting Parties identified herein (“Protesting Parties”) hereby seek

         rehearing of the August 11 Order.

                    The Protesting Parties appreciate the importance of transmission planning for PJM

         Transmission Facilities that are approaching the end of their useful lives. In fact, a supermajority

         of PJM Members voted in support of a different transmission planning proposal, also filed with

         the Commission, to address the very issue of planning for new Transmission Facilities to replace

         existing Transmission Facilities at the end of life (“EOL”).4 The August 11 Order errs, however,

         in finding that the TO Proposal is just and reasonable. As demonstrated herein, the August 11

         Order is arbitrary and capricious and does not reflect reasoned decision-making because it fails to



         1
             PJM Interconnection, L.L.C, 172 FERC ¶ 61,136 (2020) (hereinafter “August 11 Order” or “Order”).
         2
             16 U.S.C. § 825l.
         3
             18 C.F.R. § 385.713.
         4
             PJM Interconnection, L.L.C., FERC Docket No. ER20-2308-000.
                                                                  1


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         recognize that the TO Proposal does not simply encompass a planning process for maintenance

         projects that could have some minor incidental increases in capacity. Rather, the TO Proposal that

         the Commission approved in the August 11 Order is a fundamental and unlawful shift in

         transmission planning responsibility from the Regional Transmission Organization (“RTO”), PJM,

         to the PJM Transmission Owners (“PJM TOs”). Specifically, the TO Proposal

                         empowers the TOs with unilateral authority and exclusive responsibility to propose
                          revisions related to transmission planning;
                         unlawfully restricts PJM’s role as the regional planner;
                         unlawfully provides the TOs with veto authority over future planning
                          methodologies;
                         unjustly and unreasonably limits the participation rights of PJM stakeholders in
                          regional transmission planning; and
                         unjustly and unreasonably limits transparency and coordination in planning and
                          constructing transmission projects.
         The August 11 Order fails to engage protesters’ arguments concerning the division of planning

         authority between PJM and the TOs.

                  The August 11 Order errs in applying orders governing planning in the California

         Independent System Operator (“CAISO”) region to PJM. The August 11 Order did not provide a

         reasoned explanation for departing from Order No. 2000 principles and other precedent that

         establishes the predominance of regional planning. The August 11 Order further errs by not

         addressing the record evidence demonstrating that the TO Proposal would categorically and

         arbitrarily prohibit regional cost allocation for projects that provide regional benefits.

                  The August 11 Order does not demonstrate that the TO Proposal is just and reasonable.

         Not only is the Order’s decision to accept the TO Proposal not supported by substantial evidence,

         the TO Proposal is contrary to the plain language of the governing documents upon which it is

         based.    The August 11 Order fails to reconcile the TO Proposal’s conflicts with regional

         transmission planning protocols and procedures established in the PJM Operating Agreement.

                                                           2


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         Procedurally, the August 11 Order errs in denying the Motion to Dismiss the TO Proposal and errs

         in failing to adjudicate the motion to consolidate the TO Proposal in Docket No. ER20-2046 with

         the related proposal in Docket No. ER20-2308 that received supermajority stakeholder support.

         The August 11 Order also errs in finding that including End of Life Criteria in FERC Form No.

         715 is voluntary.

                For those reasons, and as discussed more fully herein, the Protesting Parties request

         rehearing of the August 11 Order. For purposes of this rehearing request, the Protesting Parties

         are comprised of the following:

                American Municipal Power, Inc. (“AMP”)

                AMP Transmission, LLC (“AMPT”)

                Blue Ridge Power Agency

                Delaware Division of the Public Advocate (“Delaware Public Advocate”)

                District of Columbia Office of People’s Counsel (“DC OPC”)

                Indiana Office of Utility Consumer Counsel (“Indiana OUCC”)

                LSP Transmission Holdings II, LLC (“LS Power”)

                New Jersey Division of Rate Counsel (“NJ Rate Counsel”)

                Old Dominion Electric Cooperative (“ODEC”)

                PJM Industrial Customer Coalition (“PJMICC”)

                Public Power Association of New Jersey (“PPANJ”)

                The Public Utilities Commission of Ohio’s Office of The Federal Energy Advocate

                West Virginia Consumer Advocate




                                                        3


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         I.         BACKGROUND

                    On June 12, 2020, the PJM TOs, pursuant to section 205 of the FPA,5 Section 35.13 of the

         Commission’s Rules and Regulations, Section 9.1(a) of the PJM Open Access Transmission Tariff

         (“Tariff”),6 and acting through the PJM Consolidated Transmission Owners Agreement

         (“CTOA”), proposed significant modifications to Attachment M-3 of the Tariff (the TO Proposal),

         which effectively created a new Attachment M-3. The PJM TOs proposed in the June 12 filing to

         create a new, expansive application of the transmission planning procedures in Attachment M-3

         that would authorize the PJM TOs, rather than PJM, to plan for all new transmission projects that

         expand or enhance the Transmission System 7 with the limited exception of projects to address

         NERC Reliability Standards, State Public Policies, Transmission Owner FERC Form 715 criteria,8

         or projects to relieve economic constraints (Market Efficiency Projects).

                    The new Attachment M-3 also adds new categories of projects to the Attachment M-3

         transmission planning process under an umbrella label of “Attachment M-3 Projects” that include

         “Asset Management Projects,” Supplemental Projects, and any other expansion or enhancement

         not planned by PJM. Asset Management Projects cover maintenance activities and entirely new

         Transmission Facilities that replace existing Transmission Facilities that are not expansions or

         enhancements of the Transmission System.9 The described purpose of an Asset Management



         5
             16 U.S.C. § 824d (2020).
         6 As discussed infra, Section 9.1(a) does not grant the PJM TOs a unilateral right to file a Section 205 filing that alters
         the regional transmission planning in PJM.
         7
           "Transmission System" is defined as “the facilities controlled or operated by the Transmission Provider within
         the PJM Region that are used to provide transmission service under Tariff, Part II and Part III.” PJM Tariff, I.
         Common Service Provisions.
         8
          The TO Proposal does include new requirements as part of the Attachment M-3 planning process for FERC Form
         715 Projects. See, for example, TO Proposal at Exhibit A, Paragraph (d).
         9
             TO Proposal Exhibit A at Paragraph (b)(1).
                                                                     4


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         Project is virtually unlimited and could encompass any maintenance or new transmission

         replacement for any aging infrastructure drivers, security, reliability, automation, or to meet

         regulatory compliance requirements.10        To determine whether a transmission-related project

         (whether maintenance or new transmission) is an expansion or enhancement of the Transmission

         System, the PJM TO must determine whether the project will result in an Incidental Increase,

         which is a new term included in the new Attachment M-3.11 Specifically, an Incidental Increase

         is an increase in transmission capacity that results from updated technology or replacements to

         meet Transmission Owner design standards, industry standards, codes, laws or regulations.12

                     The TO Proposal includes other definitions that create limits on regional planning,

         including EOL Need, PJM Planning Criteria Need, and Form 715 EOL Planning criteria. For

         instance, the definition of EOL Need is limited to transmission lines, thereby excluding substations

         and creating the opportunity for the PJM TOs to resort to a new right of first refusal.13 As newly

         defined in Attachment M-3, PJM Planning Criteria Need also limits PJM’s regional planning

         process to only those needs defined in the Applicability section of new Attachment M-3.

                     The TO Proposal was made pursuant to a unilateral FPA Section 205 filing to modify the

         PJM Tariff without requesting any modifications to the PJM Operating Agreement or any other

         governing documents. The August 11 Order accepted the new Attachment M-3, effective August

         12, 2020.




         10
              Id.
         11
              Id. at Paragraph (b)(3).
         12
              Id.
         13
              LS Power Protest at 48.
                                                           5


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         II.        STATEMENT OF ISSUES/SPECIFICATIONS OF ERRORS

                    The Protesting Parties respectfully submit that the August 11 Order is arbitrary and

         capricious, does not reflect reasoned decision-making, is insufficiently supported, and results in a

         transmission planning outcome that is unjust, unreasonable, unduly discriminatory, and

         preferential. Due to the specific errors identified herein and the Order’s general failure to engage

         arguments and evidence contrary to the TO Proposal,14 the Order should be modified on rehearing

         and the TO Proposal should be rejected.

                    In compliance with Rules 713(c)(1) and (2) of the Commission’s Rules of Practice and

         Procedure, 18 C.F.R. §§ 385.713(c)(1), 385.713(c)(2)(2020), the Protesting Parties respectfully

         provide the following specifications of error and statement of issues:


         1.         Whether the August 11 Order’s holding that section 8.5 of the CTOA15 does not require a
                    vote prior to the CTOA Administrative Committee (“TOA-AC”) initiating a consultative
                    process is arbitrary, capricious and contrary to the plain language of the CTOA and ignores
                    contractual rights of PJM TOs who are parties to the CTOA?
                    Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Iberdrola
                    Renewables v. FERC, 597 F.3d 1299, 1304 (2010) (“If a contract is not ambiguous,
                    extrinsic evidence cannot be used as an aid to interpretation.” Consol. Gas Transmission
                    Corp. v. FERC, 771 F.2d 1536, 1544 (D.C.Cir.1985). “[I]f the intent of the parties on the
                    particular issue is clearly expressed in the document, ‘that is the end of the matter.’ ” Nat'l
                    Fuel Gas Supply Corp. v. FERC, 811 F.2d 1563, 1572 (D.C.Cir.1987) (quoting Chevron
                    U.S.A., Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 842, 104 S.Ct. 2778, 81
                    L.Ed.2d 694 (1984)).

         2.         Whether the August 11 Order is arbitrary and capricious because it approved the PJM TOs’
                    overreach into regional planning matters?
                    Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020);
                    Administrative Procedure Act, 5 U.S.C. § 706(2)(A); Nor Am Gas Transmission, 148 F.3d
                    1158, 1165 (1998)(quoting KN Energy Inc. v. FERC, 968 F.2d 1295, 1303 (D.C. Cir.
                    1992)(“It is the duty of a reviewing court to make sure that an agency ‘engage[s] the

         14
              See May 21 Order, Glick Dissent at P 1.
         15
           Section 8.5 of the CTOA provides the manner of action; specifically, “any action taken by the Administrative
         Committee shall require a combination of the concurrence of the representatives’ Individual Votes of the
         representatives of those Parties entitled to vote on such matters and Weighted Votes as specified in this Section 8.5.”
         PJM, Rate Schedules, 8.5, TOA-42, 8.5 Manner of Acting, 1.0.0.
                                                                   6


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                 arguments raised before it.’); Atl. City Elec., et al v. FERC, 295 F.3d 1 (D.C. Cir. 2002);
                 Reg’l Transmission Organs., Order No. 2000, 89 FERC 61,284, at P 485, order on reh’g,
                 Order No. 2000-A, aff’d sub nom., Pub. Util. Dist. No. 1 of Snohomish City, Wash. v.
                 FERC, 272 F.3d 607 (D.C. Cir. 2001); Midwest Indep. Transmission, Sys. Operator, Inc.,
                 115 FERC ¶ 61,108, at P 22 (2006) (quoting Columbia Gas Transmission Corp., 27 FERC
                 ¶ 61,089 at 61,166 (1984)); S. California Edison Co. Local Transmission Planning Within
                 the California Indep. Sys. Operator Corp., 164 FERC ¶ 61,160, at P 10 (2018); Nat’l Cable
                 & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981-982 (2005)
                 (“Unexplained inconsistency is. . . a reason for holding an interpretation to be an arbitrary
                 and capricious change from agency practice under the Administrative Procedure Act.”)
                 (citing Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 436 U.S. 29, 46-57
                 (1983)); United Mun. Distribs. Group v. FERC, 732 F.2d 202, 210 (D.C. Cir. 1984) (“[A]n
                 agency must conform to its prior practice and decisions or explain the reason for its
                 departure from such precedent.”); Panhandle Eastern Pipe Line Co. v. FERC, 196 F.3d
                 1273, 1275 (D.C. Cir. 1999) (“As we have repeatedly reminded FERC, if it wishes to depart
                 from its prior policies, it must explain the reasons for its departure.”); Greater Boston
                 Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir. 1970)(“[A]n agency changing its
                 course must supply a reasoned analysis indicating that prior policies and standards are
                 being deliberately changed, not casually ignored, and if an agency glosses over or swerves
                 from prior precedents without discussion it may cross the line from the tolerably terse to
                 the intolerably mute.”).

         3.      Whether the August 11 Order is arbitrary and capricious by ignoring the plain language of
                 the TO Proposal and failing to address arguments that the definitions do not support a
                 finding that the TO Proposal is within the TOs’ authority?
                 Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); 5 U.S.C. §
                 706(2); Motor Vehicle Mfrs. Ass’n. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983);
                 Burlington Truck Lines, Inc. v. United States, 371 U.S. 156 (1962); New England Power
                 Generators Ass’n v. FERC, 881 F.3d 202 (D.C. Cir. 2018); Emera Maine v. FERC, 854
                 F.3d 662 (D.C. Cir. 2017); West Deptford Energy, LLC v. FERC, 766 F.3d 10 (D.C. Cir.
                 2014).

         4.      Whether the August 11 Order erred in finding that “Asset Management Projects” are
                 consistent with the type of projects and activities that the Commission found were
                 appropriately considered transmission owner asset management projects in the California
                 Orders?16
                 Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Motor
                 Vehicle Manufacturer’s Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)
                 (stating that an agency acts arbitrarily and capriciously when it fails to “consider an
                 important aspect of the problem”); see also KeySpan-Ravenswood, LLC v. FERC, 348 F.3d
                 1053, 1056 (2003) (explaining that “unless an agency answers objections that on their face

         16
           References herein to the “California Orders” include the following: California Pub. Utils. Comm’n v. Pac. Gas
         and Elec. Co., 164 FERC ¶ 61,161 (2018), order on reh’g, 168 FERC ¶ 61,171 (2019); S. California Edison Co.,
         164 FERC ¶ 61,161 (2018), order on reh’g, 168 FERC ¶ 61,170 (2019).

                                                                 7


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                appear legitimate, its decision can hardly be said to be reasoned”) (internal alterations,
                quotes and citation omitted).

         5.     Whether the August 11 Order is arbitrary and capricious for applying erroneous rulings
                regarding Order No. 890 to the PJM TOs’ Asset Management Projects?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Preventing
                Undue Discrimination and Preference in Transmission Service, Order No. 890, 118 FERC
                ¶ 61,119, order on reh’g, Order No. 890-A, 121 FERC ¶ 61,297 (2007), order on reh’g,
                Order No. 890-B, 123 FERC ¶ 61,299 (2008), order on reh’g, Order No. 890-C, 126 FERC
                ¶ 61,228, order on clarification, Order No. 890-D, 129 FERC ¶ 61,126 (2009).

         6.     Whether the Commission erred in finding that incidental expansions of the transmission
                system are not subject to Order No. 890?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Preventing
                Undue Discrimination and Preference in Transmission Service, Order No. 890, 118 FERC
                ¶ 61,119, order on reh’g, Order No. 890-A, 121 FERC ¶ 61,297 (2007), order on reh’g,
                Order No. 890-B, 123 FERC ¶ 61,299 (2008), order on reh’g, Order No. 890-C, 126 FERC
                ¶ 61,228, order on clarification, Order No. 890-D, 129 FERC ¶ 61,126 (2009).

         7.     Whether the August 11 Order is arbitrary and capricious for finding that the California
                Orders apply to the new Attachment M-3 process?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); See, e.g.,
                ABM Onsite Servs.-W., Inc. v. Nat’l Labor Relations Bd., 849 F.3d 1137, 1142 (D.C. Cir.
                2017) (“[A]n agency’s unexplained departure from precedent is arbitrary and capricious.”);
                ANR Pipeline Co. v. FERC, 71 F.3d 897, 901 (D.C. Cir. 1995) (“[W]here an agency departs
                from established precedent without a reasoned explanation, its decision will be vacated as
                arbitrary and capricious.”)

         8.     Even if the California Orders can appropriately be considered for the new Attachment M-
                3, whether the Commission erred by failing to consider the specific provisions of the new
                Attachment M-3 that render it unjust and unreasonable?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Motor
                Vehicle Manufacturer’s Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)
                (stating that an agency acts arbitrarily and capriciously when it fails to “consider an
                important aspect of the problem”); see also KeySpan-Ravenswood, LLC v. FERC, 348 F.3d
                1053, 1056 (2003) (explaining that “unless an agency answers objections that on their face
                appear legitimate, its decision can hardly be said to be reasoned”) (internal alterations,
                quotes and citation omitted).

         9.     Whether the August 11 Order’s acceptance of the TO Proposal’s prohibition of PJM or
                PJM Members from ever expanding the PJM regional planning criteria absent TO
                acquiescence fails to provide a reasoned explanation for the Commission’s departure from
                its prior ruling in Order 2000 that “the RTO must have ultimate responsibility for both
                transmission planning and expansion within its region that will enable it to provide
                efficient, reliable and non-discriminatory service and coordinate such efforts with the
                appropriate state authorities”?

                                                        8


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                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); 18 C.F.R.
                § 35.34(k)(7) (2018); Regional Transmission Organizations, Order No. 2000, FERC Stats.
                & Regs. ¶ 31,089, at 31,163 (1999), order on reh’g, Order No. 2000-A, FERC Stats. &
                Regs. ¶ 31,092 (2000), aff’d sub nom. Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607 (D.C.
                Cir. 2001) (affirming that “the RTO must have ultimate responsibility for both transmission
                planning and expansion within its region”). See, e.g., Weyerhaeuser Co. v. Ross-Simmons
                Hardwood Lumber Co., 549 U.S. 312 (2007); Motor Vehicle Manufacturer’s Ass’n, 463
                U.S. 29; N.J. Bd. of Pub. Utils. v. FERC, 744 F.3d 74 (3d Cir. 2014); KeySpanRavenswood,
                LLC v. FERC, 348 F.3d 1053 (D.C. Cir. 2003); Canadian Ass’n of Petrol. Producers v.
                FERC, 254 F.3d 289 (D.C. Cir. 2001); KN Energy, Inc. v. FERC, 968 F.2d 1295 (D.C. Cir.
                1992); NorAm Gas Transmission Co. v. FERC, 148 F.3d 1158 (D.C. Cir. 1990); Union
                Elec. Co. v. FERC, 890 F.2d 1193 (D.C. Cir. 1989); ISO New England Inc., 158 FERC ¶
                61,138 (2017), pet. for review pending, D.C. Cir. No. 17-1110; ISO New England Inc., 145
                FERC ¶ 61,095 (2013).

         10.    Whether the Commission erred by failing to provide a reasoned explanation for its
                departure from precedent that establishes the predominance of regional planning?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Motor
                Vehicle Mfs. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983) (“an agency rule would
                be arbitrary and capricious if the agency . . . failed to consider an important aspect of the
                problem); NorAm Gas Transmission Co. v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1998)
                (“In previous cases, we have rejected agency orders when the Commission neglected to
                deal with an important part of the problem…”)(citing Laclede Gas Co. v. FERC, 997 F.2d
                936, 945-48 (D.C. Cir. 1993)); North Carolina Util. Comm'n v. FERC, 42 F.3d 659 (D.C.
                Cir. 1994).

         11.    Whether the August 11 Order is arbitrary and capricious and contrary to record evidence
                in its dismissal of the cost allocation issues?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); KN Energy,
                Inc. v. FERC, 968 F.2d 1295, 1300 (D.C. Cir. 1992)(At its core, the cost causation principle
                requires that “all approved rates reflect to some degree the costs actually caused by the
                customer who must pay them.”); Illinois Commerce Commission v. FERC, 576 F.3d 470,
                477-478 (7th Cir. 2009); El Paso Elec. Co. v. FERC, 832 F.3d 495, 505 (5th Cir. 2016);
                Transmission Planning and Cost Allocation by Transmission Owning and Operating
                Public Utilities, Order No. 1000, 136 FERC ¶ 61,051 at P 622 (2011), order on reh’g,
                Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g, Order No. 1000-B, 141 FERC ¶
                61,044 (2012), aff’d sub nom. S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014);
                ODEC v. FERC, 898 F.3d 1254.

         12.    Whether the August 11 Order’s failure to adjudicate the motion to consolidate Docket Nos.
                ER20-2046 and ER20-2308 is arbitrary and capricious, and does not reflect reasoned
                decision-making?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); Motor
                Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983); South Carolina
                Pub. Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014); Sacramento Mun. Util. Dist. v.
                                                        9


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                FERC, 616 F.3d 520 (D.C. Cir. 2010); Midwest ISO Transmission Owners v. FERC, 373
                F.3d 1361 (D.C. Cir. 2004); TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1 (D.C.
                Cir. 2015); Cal. Indep. Sys. Op. Corp., 94 FERC ¶ 61,147 (2001); Pacific Gas & Elec. Co.,
                106 FERC ¶ 61,036 (2004); Seminole Elec. Coop., Inc., 149 FERC ¶ 61,210 (2014); San
                Diego Gas & Elec. Co. v. Sellers of Energy and Ancillary Services et al., 135 FERC ¶
                61,177 (2011).
         13.    Whether the Commission ignored record evidence demonstrating the TO Proposal conflicts
                with, and limits, the scope of regional transmission planning as set forth in the Operating
                Agreement?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); NorAm Gas
                Transmission Co. v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1990) (The Court remanded a
                Commission decision where the Commission failed to give serious consideration to an
                argument raised in the proceeding.).

         14.    Whether the Commission erred in finding that including End of Life Criteria in Form No.
                715 is voluntary?
                Answer: Yes. PJM Interconnection, L.L.C. et al., 172 FERC ¶ 61,136 (2020); 5 U.S.C. §
                706(2)(A); Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981-
                982 (2005)(“Unexplained inconsistency is. . . a reason for holding an interpretation to be
                an arbitrary and capricious change from agency practice under the Administrative
                Procedure Act.”) (citing Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 436
                U.S. 29, 46-57 (1983)); United Mun. Distribs. Group v. FERC, 732 F.2d 202, 210 (D.C.
                Cir. 1984)(“[A]n agency must conform to its prior practice and decisions or explain the
                reason for its departure from such precedent.”); Greater Boston Television Corp. v. FCC,
                444 F.2d 841, 852 (D.C. Cir. 1970) (“[A]n agency changing its course must supply a
                reasoned analysis indicating that prior policies and standards are being deliberately
                changed, not casually ignored, and if an agency glosses over or swerves from prior
                precedents without discussion it may cross the line from the tolerably terse to the
                intolerably mute.”); CPUC v. FERC, 879 F.3d 966, 978 (9th Cir. 2018) (The Commission
                “merely asserted that it had the authority to grant incentive adders. . . . . . . the orders on
                review were a departure from Order 679’s terms and the longstanding policy it
                incorporates. Without any acknowledgment or explanation of that departure, the orders
                were arbitrary and capricious.”).


         III.   ARGUMENT

                A Commission order will be reversed on review if it is arbitrary or capricious, reflects an

         abuse of discretion, is not otherwise in accordance with law, or is not supported by substantial




                                                          10


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         evidence.17        In order to satisfy its obligation to engage in reasoned decision-making, the

         Commission must examine the relevant data and articulate a rational connection between the facts

         found and the choices made.18 The Commission must reach its conclusion through decision-

         making that is “reasoned, principled, and based upon the record.” 19 Under the FPA, FERC’s

         factual findings are determinative so long as they are supported by substantial evidence. 20 The

         “substantial evidence” standard “requires more than a scintilla, but can be satisfied by something

         less than a preponderance of the evidence.”21 Substantial evidence is “relevant evidence” that “a

         reasonable mind might accept as adequate to support a conclusion.”22 Additionally, to avoid an

         arbitrary and capricious decision or one that does not reflect reasoned decision-making, the

         Commission must consider all important aspects of the problem at issue. 23 It is “well established

         that the Commission must ‘respond meaningfully to the arguments raised before it.’” 24




         17
           South Carolina Pub. Serv. Auth. v. FERC, 762 F.3d 41, 55 (D.C. Cir. 2014); Sacramento Mun. Util. Dist. v. FERC,
         616 F.3d 520, 528 (D.C. Cir. 2010).
         18
           Sacramento, 616 F.3d at 528; Midwest ISO Transmission Owners v. FERC, 373 F.3d 1361, 1368 (D.C. Cir. 2004)
         (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, (1983)).
         19
           New Eng. Power Generators Ass’n v. FERC, 881 F.3d 202, 210-11 (D.C. Cir. 2018); West Deptford Energy, LLC,
         766 F.3d 10, 20 (D.C. Cir. 2014); ExxonMobil Oil v. FERC, 487 F.3d 945, 953 (D.C. Cir. 2007); see New York v.
         FERC, 535 U.S. 1, 36 (2002); see also Transmission Access Policy Group v. FERC, 225 F.3d 667, 705, 716 (D.C.
         Cir. 2000) (citing Associated Gas Distributors v. FERC, 824 F.2d 981, 1021 (D.C. Cir. 1987)); Colo. Interstate Gas
         Co. v. FERC, 146 F.3d 889, 893 (D.C. Cir. 1998).
         20
              Section 313(b) of the FPA, 16 U.S.C. § 825l(b).
         21
           See N.J. Bd. of Pub. Utils. v. FERC, 744 F.3d 74, at 97 (3d Cir. 2014) (NJBPU) (quoting La. PSC v. FERC, 522
         F.3d 378, 395 (D.C. Cir. 2008)).
         22
           NJBPU, 744 F.3d 74, at 97 (3d Cir. 2014) (quoting Mars Home for Youth v. NLRB, 666 F.3d 850, 853 (3d Cir.
         2011)).
         23
           See e.g. Motor Vehicle Mfs. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983) (“an agency rule would be arbitrary
         and capricious if the agency . . . failed to consider an important aspect of the problem); NorAm Gas Transmission Co.
         v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1998) (“In previous cases, we have rejected agency orders when the
         Commission neglected to deal with an important part of the problem…”) (citing Laclede Gas Co. v. FERC, 997 F.2d
         936, 945-48 (D.C. Cir. 1993)); North Carolina Util. Comm'n v. FERC, 42 F.3d 659 (D.C. Cir. 1994).
         24
              TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1, 12 (D.C. Cir. 2015).
                                                                  11


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                     The August 11 Order is arbitrary and capricious because it is neither the product of

         reasoned decision-making nor based on substantial evidence. The specific errors in the August 11

         Order are detailed below.

                     A.      The Commission erred in denying the ODEC/AMPT Motion to Dismiss.
                             (Statement of Error #1)

                     ODEC and AMPT moved to dismiss the TO Proposal because the PJM TOs failed to

         establish that the TOA-AC complied with provisions of the CTOA prior to initiating action,

         thereby violating the CTOA and the rights of the transmission owning parties to the CTOA. The

         August 11 Order denied the motion to dismiss. In doing so, the Commission noted that movants

         argued that CTOA section 8.5 requires a vote for the TOA-AC to initiate the consultative process

         that is required prior to making a section 205 filing with the Commission.25 Notwithstanding the

         clear language requiring a vote before TOA-AC action, the Commission incorrectly found,

         “section 8.5 of the CTOA does not require a vote to initiate the consultative process.” 26 Without

         explanation or reference to the actual contract language, the Commission asserted that section 8.5

         of the CTOA “sets out the voting procedures necessary for the PJM TOs to make the section 205

         filing with the Commission.”27 The Commission also accepted certain PJM TOs’ argument that it

         “has been a long-standing understanding of these provisions” to not have a vote prior to the TOA-

         AC initiating a consultative process.28 The August 11 Order’s holding that section 8.5 of the

         CTOA does not require a vote prior to the TOA-AC initiating a consultative process is arbitrary,




         25
              August 11 Order at P 79.
         26
              Id. at P 78.
         27
              Id.
         28
              Id.
                                                          12


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         capricious and contrary to the plain language of the CTOA and ignores contractual rights of PJM

         TOs who are parties to the CTOA.

                    The August 11 Order is simply wrong that section 8.5 of the CTOA does not require a vote

         to initiate the consultative process required prior to the PJM TOs making a FPA section 205 filing.

         Section 8.5, as its title implies, governs all manner of acting of the TOA-AC, including but not

         limited to the voting procedures for the PJM TOs to make a FPA section 205 filing. CTOA section

         8.5 specifically states that, subject to the limitations of Section 9.7.1(a), which are not relevant

         here, “any action taken by the Administrative Committee shall require a combination of the

         concurrence of the representatives’ Individual Votes of the representatives of those Parties entitled

         to vote on such matters and Weighted Votes as specified in this Section 8.5.” 29 Contrary to the

         August 11 Order’s implication, there is no limitation in CTOA section 8.5 to voting on FPA section

         205 filings. In fact, section 8.5.1 identifies the actions of the TOA-AC that require two-thirds

         majority, including modification of the CTOA, termination of a party to the CTOA, development

         of comments and recommendations for the Regional Transmission Expansion Plan, approval of

         assignment of the CTOA and, “[a]pproval of changes in or relating to Joint Transmission Rate or

         the PJM Regional Rate Design, or any provisions governing the recovery of transmission-related

         costs incurred by the Transmission Owners.” 30 By contrast, CTOA section 8.5.2 requires a vote

         supported by a simple majority of the votes cast at a meeting for “[a]ction by the Administrative

         Committee on any matter other than those specified in Section 8.5.1….” 31




         29
              CTOA section 8.5. [emphasis added].
         30
              Id. at section 8.5.1. [emphasis added].
         31
              Id. at section 8.5.2. [emphasis added].
                                                              13


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                    The initiation of consultation with the PJM Members Committee was an action taken by

         the TOA-AC. The May 7, 2020 Notice states “the CTOA Administrative Committee hereby

         initiates consultation with the PJM Members Committee with regard to proposed changes to

         Attachment M-3 of the PJM Tariff (“Proposed Attachment M-3 Amendments”).”32 Although the

         Notice unequivocally states that the TOA-AC is initiating the required consultation, the TOA-AC

         held no meeting nor took any vote authorizing the TOA-AC to initiate such action. The Movants

         were given no prior notice that the TOA-AC would send notice or otherwise take Committee action

         that could be construed as being taken on behalf of all PJM Transmission Owners, including the

         Movants.

                    Given the clear and plain language in CTOA section 8.5.2 that requires a vote prior to any

         action of the TOA-AC, the fact that CTOA section 7.3.2 requires the PJM TOs to consult with

         PJM and the PJM Members Committee but does not reference a voting requirement prior to the

         initiation of consultation is irrelevant. The Commission’s reference to section 7.3.2 appears to

         confuse actions that the Transmission Owners (a defined term under the CTOA) may take, with

         the separate and distinct requirements for actions taken by the CTOA “Administrative Committee”

         (another defined term under the CTOA). Although it may be true that under section 7.3.2 one or

         more “Transmission Owners” could have initiated consultation with stakeholders, that is not the

         issue raised here. Instead, a group of Transmission Owners pushed the TOA-AC to take official

         Administrative Committee action without following the required contractual formalities. Section

         7.3.2 provides no exception for meeting the very specific requirements of Article 8.




         32
              A copy of the Notice is attached to the Motion to Dismiss as Exhibit 1.
                                                                    14


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                 Also irrelevant is the PJM TOs’ assertion that there was a long-standing understanding that

         the TOA-AC would not vote prior to initiating consultation with PJM and the Members Committee

         as it is contrary to the clear and plain language of the CTOA. “[I]f the intent of the parties on the

         particular issue is clearly expressed in the document, ‘that is the end of the matter.’”33 Such is the

         case here. The contract's plain language settles this matter - the TOA-AC must take a vote before

         the TOA-AC takes any action. Having breached their contractual obligations to other transmission

         owners, the Notice of Consultation from the TOA-AC to stakeholders was a nullity. The

         Commission’s decision to ignore the breach notwithstanding the unambiguous contract language

         was therefore arbitrary and capricious. Further, the Commission’s reliance on past practice to

         override the express contract language is also arbitrary and capricious. “If a contract is not

         ambiguous, extrinsic evidence cannot be used as an aid to interpretation.”34

                 In addition to not holding a vote prior to initiating consultation, actions taken through the

         TOA-AC ran afoul of several other CTOA requirements regarding TOA-AC procedures,

         including: that all meetings of the Administrative Committee are to be “open to entities that are

         signatories to the Operating Agreement and to personnel of PJM, and all matters upon which the

         representatives vote shall be open to such entities and to such personnel” (CTOA section 8.4.4);

         that notice be provided at least ten days prior to the meeting (CTOA section 8.4.1); that the notice

         include an agenda “sufficient to notify the representatives of the substance of the matters to be

         considered at the meeting” (CTOA section 8.4); and, that notice of all meetings be provided over

         the PJM website at the same time as it is provided to the representatives (CTOA section 8.4.1).



         33
           Nat'l Fuel Gas Supply Corp. v. FERC, 811 F.2d 1563, 1572 (D.C.Cir.1987) (quoting Chevron U.S.A., Inc. v. Natural
         Res. Def. Council, Inc., 467 U.S. 837, 842, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)).
         34
           Iberdrola Renewables v. FERC, 597 F.3d 1299, 1304 (2010). See also, Consol. Gas Transmission Corp. v. FERC,
         771 F.2d 1536, 1544 (D.C.Cir.1985).
                                                                15


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         The TOA-AC violated every one of the above enumerated requirements by issuing the Notice on

         behalf of the TOA-AC without noticing or holding a meeting, simply because a handful of

         transmission owners with sufficient votes to compel such action asked that the Committee chair

         take that action. The PJM TOs filing offered no contractual exception that would allow a handful

         of Transmission Owners to convince the TOA-AC to take official action without following the

         required contractual formalities.35 The Commission’s assertion that initiating the consultation

         prior to the formal vote “ensures that the PJM TOs may consider the opinions of PJM and the

         Members Committee prior to the formal vote on the proposal under section 8.5 of the CTOA” also

         misses the point. It is ODEC, AMPT and other transmission owning parties to the CTOA whose

         contractual rights were violated by the Indicated PJM TOs’ breach of the CTOA. The Commission

         cannot simply waive those contractual rights by observing that other parties received appropriate

         notice.36 The Commission’s failure to acknowledge the contractual violation and reject the PJM

         TOs’ inappropriate filing causes irreparable harm to ODEC, AMPT and any other minority

         Transmission Owner whose contractual rights were infringed.




         35
            As a Party to the CTOA, it is also unclear why PJM accepted the Notice notwithstanding that contractual
         requirements had not been met.
         36
           Given the nature of the PJM TOs’ filing, money damages for the contract breach cannot address the harm suffered,
         nor can the Commission return ODEC, AMPT and other Transmission Owners whose rights were violated back to
         their pre-breach position if the Commission’s arbitrary determination that no rights were violated is overturned upon
         judicial review.
                                                                  16


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                    B.       The August 11 Order arbitrarily and capriciously approved the TO Proposal’s
                             overreach into Regional Planning. (Statement of Error #2)

                             1.      The Commission erred as a matter of law in finding that the PJM TOs
                                     have unilateral authority to propose revisions related to transmission
                                     planning.

                    In Paragraph 81 of the August 11 Order, the Commission concluded that the Attachment

         M-3 revisions are within the PJM TOs’ exclusive rights and responsibilities.37 This finding is

         erroneous as a matter of law as it is both contrary to PJM’s governing documents and fails to

         address the arguments raised by the Load Group or other protesting parties.38 PJM’s Tariff

         provides the PJM TOs with limited filing rights outside of PJM’s stakeholder process. In reaching

         its conclusion, the Commission failed to address arguments raised by the Protesting Parties

         establishing that the Tariff does not provide the PJM TOs authority to submit a unilateral Section

         205 filing that restricts the scope of PJM region-wide planning by expanding the scope of exclusive

         Transmission Owner planning in Attachment M-3 beyond Supplemental Projects. Without

         supporting its finding through defensible and definitive Tariff references demonstrating that the

         PJM TOs have a specifically provided right to make unilateral FPA Section 205 filings to alter and

         expand the scope of the transmission planning provisions in Attachment M-3 or to restrict the

         scope of PJM transmission planning as set forth in the Operating Agreement, the Commission had

         no statutory basis to accept the proposed revisions. As such, the Order accepting the FPA Section

         205 Filing is arbitrary and capricious.




         37
              August 11 Order at P 81.
         38
           Courts review the Commission’s decisions to ensure that the Commission responds to the argument before it. See,
         e.g., Administrative Procedure Act, 5 U.S.C. § 706(2)(A); Nor Am Gas Transmission, 148 F.3d 1158, 1165
         (1998)(quoting KN Energy Inc. v. FERC, 968 F.2d 1295, 1303 (D.C. Cir. 1992) (“It is the duty of a reviewing court
         to make sure that an agency ‘engage[s] the arguments raised before it.’). The Commission’s failure to address
         arguments that the PJM TOs do not have a unilateral right to make a FPA Section 205 Filing that alters transmission
         planning in PJM is not reasoned decision-making. Id.
                                                                 17


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                  The Protesting Parties fully set forth the restrictions on the PJM TOs’ FPA Section 205

         filing rights under the PJM Tariff.39 As the Protesting Parties established, Sections 9.1 and 9.2 of

         the PJM Tariff set out the voluntary divide between the limited unilateral Section 205 filing rights

         retained by the PJM TOs and the broader Section 205 filing rights granted to PJM, and as it relates

         to the PJM Operating Agreement, PJM stakeholders.

                  The Tariff language in Section 9.1 demonstrates that the PJM TOs’ unilateral Section 205

         filing rights are limited to rate matters, specifically “changes in or relating to the establishment

         and recovery of the Transmission Owners’ transmission revenue requirements or the transmission

         rate design under the PJM Tariff, and such filing rights shall also encompass any provisions of the

         PJM Tariff governing the recovery of transmission-related costs incurred by the Transmission

         Owners.”40 None of the subsections within Section 9.1 reference transmission planning. Section

         9.2 grants PJM Section 205 filing rights over all other “changes in or relating to the terms and

         conditions of the PJM Tariff.”41 The revisions in the TO Proposal are undisputedly related to




         39
           See LS Power Protest at 17-19 (citing PJM Tariff section 9.1(a); Atl. City Elec., et al v. FERC, 295 F.3d 1 (D.C.
         Cir. 2002)); id. at 19-20 (citing Reg’l Transmission Organs., Order No. 2000, 89 FERC 61,284, at P 485, order on
         reh’g, Order No. 2000-A, aff’d sub nom., Pub. Util. Dist. No. 1 of Snohomish City, Wash. v. FERC, 272 F.3d 607
         (D.C. Cir. 2001)); id. at 19-20.
         40
            PJM Tariff Section 9.1(a) [emphasis added]. See also Atlantic City et al v. FERC, 295 F.3d 1 (D.C.
         Cir.2002)(holding that the Commission cannot require a transmission owner to cede their statutory right to file “rates
         and terms for service rendered with its assets”).
         41
            Previous transmission planning and cost allocation filings provide good examples of how PJM and the PJM
         transmission owners use their separate filing rights – PJM files revisions to the transmission planning process and the
         PJM transmission owners file the related cost allocation provisions. See PJM Interconnection, L.L.C, “Compliance
         Filing,” Docket No. ER13-198 (filed on Oct. 25, 2012)(PJM submitted revisions to the planning process detailed in
         Schedule 6 of the Operating Agreement.); see PJM Transmissions Owners, “PJM Open Access Transmission Tariff
         Revisions to Modify Cost Allocation for PJM Required Transmission Enhancements,” Docket No. ER13-90 (Oct. 11,
         2012)(The PJM transmission owners submitted the filing to ensure that the costs of new transmission facilities are
         allocated consistent with the principles in Order No. 1000).
                                                                  18


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         transmission planning, and significantly impact the scope of the regional planning process, 42 and

         not the recovery of a transmission owner’s costs of transmission ownership. 43

                    In order for a utility or other person to revise an existing tariff under Section 205, it must

         have a right to do so. It is obvious that the Commission would not permit a stakeholder to

         unilaterally file under FPA Section 205 to revise a utility’s tariff - only the utility may do so. To

         determine otherwise would allow an end-run around FPA Section 206, which requires that the

         Commission, whether on its own motion or based on a complaint, first determine that the existing

         rate is unjust, unreasonable, unduly discriminatory or preferential before establishing the just and

         reasonable rate.44 The Commission cited no evidence that Section 9.1 of the PJM Tariff, nor any

         other provision of the PJM Tariff gives the PJM TOs unilateral FPA Section 205 filing rights to

         alter transmission planning in PJM, particularly the right to establish planning provisions that alter

         the scope of the regional planning process. Although the Commission asserts that “[u]nder the

         CTOA and the Tariff, the PJM TOs retain all rights that they have not specifically granted to

         PJM”45 the Commission cites no specific provisions of either the CTOA or Tariff that it contends

         provide the PJM TOs with unilateral filing rights. Further, because the Tariff specifically limits

         the areas over which the PJM TOs have a unilateral FPA Section 205 filing right, to the extent that

         it could be alleged that under the CTOA the PJM TOs granted themselves additional rights,46 the



         42
           As discussed in later sections of this Request for Rehearing, the Applicability section in Attachment M-3 shifts from
         PJM the authority to define the scope of regional planning in addition to altering PJM’s existing regional planning
         process.
         43
              Neither the PJM TOs nor PJM asserted that the TO Proposal related to rate matters set forth in Section 9.1(a).
         44
              16 U.S.C. 824e.
         45
              August 11 Order at P 82.
         46
            See PJM Interconnection, L.L.C., 142 FERC ¶ 61,214 at P 189 (2013) (finding that “the negotiation that led to the
         provisions at issue here were among parties with the same interest, namely, protecting themselves from competition
         in transmission development.”).
                                                                    19


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         Tariff must prevail. The August 11 Order wholly failed to establish a basis in the Tariff for the

         PJM TOs to have made a unilateral filing to change the PJM Tariff. 47 As such, the Commission

         had no authority under FPA Section 205 to approve it, rendering the August 11 Order arbitrary

         and capricious.48

                    Allowing the Attachment M-3 revisions to go into effect notwithstanding the lack of

         specific tariff language authorizing the filing also puts ratepayers at substantial risk of irreparable

         harm. There is no effective way for the Commission to make ratepayers whole if the August 11

         Order is vacated on review for the likely billions of dollars of transmission additions built under

         the expanded Attachment M-3 provisions in the interim. The August 11 Order fails ratepayers by

         approving a revision to the PJM Tariff, opposed by the majority of PJM members, with no

         identifiable right for the PJM TOs to have made the offered filing in the first instance.

                             2.      The Commission’s reading of the CTOA and Operating Agreement
                                     essentially removes the term “enhancement.”

                    Throughout the August 11 Order, the Commission correctly referred to “enhancements”

         and “expansions” when discussing PJM’s planning responsibilities except the Commission never

         actually considered the term “enhancements” in its analysis. To support its determination that

         Asset Management Projects, a category that includes entirely new transmission facilities, are not

         within PJM’s planning responsibility, the Commission pointed to its decisions in the California

         Orders.49 The California Orders, however, focused on whether certain activities, including the



         47
           The changes to Attachment M-3 also impact PJM’s transmission planning process as set forth in the Operating
         Agreement. The PJM transmission owners have no filing rights to revise the PJM transmission planning process.
         48
           The Commission is a “creature of statute” and has “only those authorities conferred upon it by Congress.” Atlantic
         City Elec. Co. v. FERC, 295 F.3d 1 at 8 (D.C. Cir. 2002) (quoting Michigan v. EPA, 268 F.3d 1075, 1081
         (D.C.Cir.2001)). “In the absence of statutory authorization for its act, an agency’s ‘action is plainly contrary to law
         and cannot stand.’” Id.
         49
              August 11 Order at P 84.
                                                                  20


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         replacement of existing transmission facilities, “expand” the transmission grid. 50 Applying that

         precedent, the Commission concluded that “Asset Management Projects” do not expand the grid.

         Nowhere does the Commission actually discuss whether end of life projects “enhance” the grid.

         Only by ignoring the term “enhancements” could the Commission reach the conclusion that “Asset

         Management Projects” do not fit within the categories of projects that the CTOA transferred to

         PJM.51

                     The Commission cannot simply read out of PJM governing documents the word

         “enhancement.”52 When interpreting a tariff, the Commission has stated that:

                     In construing what a tariff means, certain general principles apply. One looks first
                     to the four corners of the entire tariff, considers the entire instrument as a whole,
                     giving effect so far as possible to every word, clause and sentence, and attributes
                     to the words used the meaning which is generally used, understood, and accepted.53

         Applying the Commission’s rule here requires the Commission to give meaning to the term,

         “enhancement.” The common definition of “enhancement” is “to increase or improve in value,

         quality, desirability, or attractiveness.” 54 While not all replacement Transmission Facilities

         “expand” the transmission system, many clearly “increase or improve” the value or quality of the

         Transmission System. There is value in replacing aging infrastructure. A new Transmission

         Facility necessarily improves the quality of the Transmission System by making it more reliable

         and efficient. The Commission’s example in the California Orders – “the replacement of an aging

         1940-vintage transformer at the end of its useful life with a modern transformer, which could be



         50
              Id.
         51
              Id. at P 83.
         52
              See LS Power Protest at 31.
         53
           Midwest Indep. Transmission, Sys. Operator, Inc., 115 FERC ¶ 61,108, at P 22 (2006)(quoting Columbia Gas
         Transmission Corp., 27 FERC ¶ 61,089 at 61,166 (1984)) [emphasis added].
         54
              Merriam Webster Dictionary Definition of Enhancement. See also LS Power Protest at 31.
                                                                 21


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         of higher capacity”55 – supports a finding that “enhancements” include end of life projects. The

         Commission’s failure to give full meaning to the term enhancement is arbitrary and capricious and

         not the result of reasoned decision-making.56

                             3.      The August 11 Order ignored that the TO Proposal shifts responsibility
                                     for determining the scope of regional planning from the PJM
                                     Stakeholders to the TOs.

                    The Commission’s approval of the TO Proposal inexplicably ignored the fact that it shifts

         control over the scope of regional transmission planning from the PJM stakeholders to the PJM

         TOs. Protesters explained how the new Applicability section in Attachment M-3 reserves to the

         PJM TOs control over “any other transmission expansion or enhancement of Transmission

         Facilities that is not planned by PJM to address . . .” the planning criteria laid out in clauses (1)

         through (5) of the same section.57 Yet the Commission did not address these arguments.58 Instead,

         the Commission made a general statement that “the planning activities addressed by the

         Attachment M-3 Revisions Filing are within the exclusive rights and responsibility retained by the

         PJM TOs under the CTOA.”59

                    The Operating Agreement can only be amended by the Members Committee, a committee

         of stakeholders that represent various sectors of PJM.60 Specifically, Section 8.8 of the Operating

         Agreement states that the Members Committee has the authority to amend any portion of the


         55
           S. California Edison Co. Local Transmission Planning Within the California Indep. Sys. Operator Corp., 164 FERC
         ¶ 61,160, at P 10 (2018).
         56
           Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (an agency must “articulate a
         satisfactory explanation for its action including a rational connection between the facts found and the choice made.”).
         57
              See LS Power Protest at 58-60; Load Group Protest at 21-22.
         58
           While the Commission summarized the issue at Paragraph 4 of the August 11 Order in the summary section of the
         Order, it did not address it in the substantive section of the August 11 Order.
         59
              August 11 Order at P 81.
         60
           See Pennsylvania-New Jersey-Maryland Interconnection, 81 FERC 61,257 (1997); see also Order No. 888, 61 FR
         21,257.
                                                                   22


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         Operating Agreement. PJM highlighted this fact in its Order No. 1000 compliance filing, stating:

         “PJM’s stakeholder process requires that all proposed amendments to the Schedule 6 planning

         process are fully vetted for endorsement before all stakeholders at the Markets and Reliability

         Committee (“MRC”) and Members Committee (“MC”) prior to filing . . ..”61 As LS Power stated

         in its Protest, the division of filing rights is consistent with the Commission’s rules requiring PJM

         to be independent and no one interest dominate. 62

                    In addition, in support of its determination, the Commission narrowly interpreted the

         definition of Asset Management Projects to “not fall under regional planning under the Operating

         Agreement as they relate solely to maintenance of existing facilities, and they do not ‘expand’ or

         ‘enhance’ the PJM grid as the CTOA requires for planning transferred to PJM.”63 The TO Proposal

         is broader than simply adding Asset Management Projects to Attachment M-3. Section (i) of the

         definition of Attachment M-3 Project also includes Asset Management Projects that materially

         impact the impedance of Transmission Facilities, which by its very definition are regional in nature

         and impact all of PJM. It now includes any project not planned by PJM to meet the specific criteria

         listed in the Applicability section as well as certain projects resulting from a transmission

         provider’s Form No. 715 criteria. The Commission cannot rely on the same rationale it used for

         Asset Management Programs – that they are not expansions or enhancements – to find that the

         definition of Attachment M-3 Projects are within the PJM TOs’ exclusive planning authority

         because the definition clearly includes “any other expansion or enhancement of Transmission




         61
              PJM Interconnection, L.L.C., Order No. 1000 Compliance Filing at 20 (filed Oct. 25, 2012).
         62
           LS Power Protest at 60 (citing Pennsylvania-New Jersey-Maryland Interconnection, et al, 81 FERC ¶ 61,257 at
         62,263 (1997); Order No. 888, 61 FR 21540-01 at 21596).
         63
              August 11 Order at P 83.
                                                                   23


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         Facilities . . ..”64 The definition also includes projects that significantly impact the impedance of

         existing regionally beneficial Transmission Facilities or affects Transmission Facility ratings in

         PJM. “Impedance changes” and “affecting transmission facility ratings” are evidence of regional

         benefits.65 The Commission must evaluate the entire proposal before it and address all the

         arguments raised.66

                             4.       The August 11 Order inexplicably allows the PJM TOs to insert a new
                                      Right of First Refusal.

                    The August 11 Order allows the PJM TOs to insert a new right of first refusal in the PJM

         Tariff contrary to Order No. 1000, ignoring the Commission’s long-established finding that a right

         of first refusal does not exist in the PJM Tariff or CTOA.67 Order No. 1000 required transmission

         providers to eliminate from Commission jurisdiction tariff and agreements rights of first refusal

         for an incumbent transmission provider with respect to transmission facilities selected in the

         regional transmission plan for purposes of cost allocation.68 In Order No. 1000-A, the Commission

         clarified that there can be no right of first refusal for a project if any costs of the project are

         allocated regionally or outside of a transmission provider’s retail distribution service territory or

         footprint, or in the case of an RTO such as PJM, outside the transmission provider’s zone. 69

                    On compliance with Order No. 1000, PJM asserted that the PJM Tariff did not include a

         right of first refusal in favor of the incumbent transmission owners in PJM, while the PJM TOs


         64
              Attachment M-3 (b)(2)(i) and Attachment M-3(b)(2)(iii) [emphasis added].
         65
              See, e.g., Tampa Elec. Co., et al, 148 FERC ¶ 61,172, at P 138 (2014).
         66
            Motor Vehicle Mfrs. Assn of the U. S., Inc. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983) (“FERC must
         articulate a satisfactory explanation for its action including a rational connection between the facts found and the
         choice made”); NorAm Gas Transmission Co. v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1990) (holding that an agency
         has a duty to consider the seriously-pleaded contentions of a party and failure to do so is arbitrary and capricious).
         67
              PJM Interconnection, L.L.C., 147 FERC ¶ 61,128 (2014) (“PJM Order 1000 Rehearing Order”).
         68
              Order No. 1000 at PP 258, 318.
         69
              Order No. 1000-A at P 430.
                                                                    24


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         argued that Section 4.2.1 of the CTOA granted them a right of first refusal to build reliability

         projects.70 The Commission found that certain provisions were ambiguous and therefore required

         their removal but found that Section 4.2.1 of the CTOA did not include a right of first refusal and

         permitted it to remain in the PJM Tariff.71 Thus, the status quo prior to the PJM TO Proposal was

         that neither the PJM Tariff nor the CTOA included a right of first refusal.

                    As explained above, the new Applicability section in Attachment M-3 gives each

         transmission owner responsibility for planning and constructing all transmission expansions or

         enhancements that are not needed for the five criteria listed in the same section, thus creating a

         new right of first refusal in the PJM Tariff that limits PJM’s ability to create new categories of

         regional projects.72 LS Power raised the issue in its Protest but the Commission did not address it

         in the determination section of the August 11 Order. 73 Because the Commission permitted the

         PJM TOs to add a new right of refusal without explanation and contrary to Order No. 1000 the

         August 11 2020 Order is arbitrary and capricious and not the result of reasoned decision-making.74

         70
           PJM Interconnection, L.L.C., “Compliance Filing,” Docket No. ER13-189-000 at 49 (filed on Oct. 25, 2012) (citing
         Primary Power v. PJM Interconnection, L.L.C., 140 FERC ¶ 61,054 (July 19, 2012)(finding the PJM TOs did not
         have a right of first refusal for economic projects); PJM Transmission Owners, “Compliance Filing,” Docket No.
         ER13-195-000 at 5-6 (Oct. 25, 2012)(citing Section 4.2.1 of the CTOA).
         71
           PJM Order 1000 Rehearing Order at P 129, n.250. See also Brief for the Federal Energy Regulatory Commission
         as Respondent Brief, American Transmission System, Inc. et al v. Federal Energy Regulatory Commission, No. 14-
         1085 at 15-16 (D.C. Cir. Dec. 4, 2015) (summarizing the Commission’s decision in the rehearing order as
         “reaffirm[ing] that Transmission Owners’ cited provision in the Transmission Owners Agreement and the PJM
         Operating Agreement are not properly read as rights of first refusal and are not entitled to Mobile Sierra
         protection.” The Brief also address Primary Power and explain that the “Commission, however, specifically rejected
         Transmission Owners’ assertion that Primary Power upheld their interpretation of section 4.2.1 as a right of first
         refusal for non-economic (i.e. reliability or operational) projects. Id. P 223, JA 75. While Primary Power found the
         section 4.2.1 obligation to build inapplicable to economic projects (i.e. projects that reduce energy costs), id. (citing
         Primary Power, 140 FERC ¶ 61,052 P 60), the Commission did not find it constituted a right of first refusal for non-
         economic projects. Id. Rather, the Commission pointed to its finding in Order No. 1000 that an obligation to build
         does not create a corresponding right of first refusal. Id. (citing Order No. 1000 P 261).”)
         72
              Attachment M-3 (a).
         73
           LS Power Protest at P 6, 13-15. The Commission referenced LS Power arguments in Paragraphs 44 and 46, but
         then failed to provide a substantive response.
         74
           Administrative Procedure Act, 5 U.S.C. § 706(2)(A); Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs.,
         545 U.S. 967, 981-982 (2005) (“Unexplained inconsistency is. . . a reason for holding an interpretation to be an
                                                                   25


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                     C.      The August 11 Order ignores the plain language of the TO Proposal and fails
                             to meaningfully address arguments that the definitions do not support a
                             finding that the TO Proposal is within the TOs’ authority. (Statement of Error
                             #3)

                     The August 11 Order held that Asset Management Projects “do not fall under regional

         planning under the Operating Agreement as they relate solely to maintenance of existing facilities,

         and they do not ‘expand’ or ‘enhance’ the PJM grid as the CTOA requires for planning transferred

         to PJM.”75 The August 11 Order further elaborates that the CTOA “grants to PJM only the right

         to plan for ‘expansion’ and ‘enhancement’ of the grid as part of the RTEP.”76 Thus, the

         Commission concedes that, with the exception of Supplemental Projects, which are limited and

         local, transmission projects that expand or enhance the grid are rightfully planned by PJM through

         the RTEP. Despite this acknowledgement, however, the Commission did not examine or evaluate

         any of the numerous new definitions or other provisions in the TO Proposal to determine whether

         they include transmission planning for projects that expand or enhance the Transmission System

         that are not Supplemental Projects. Rather, the August 11 Order relies solely on a conclusory

         statement that all of the proposed revisions in the TO Proposal that “expand the applicability of

         the existing Attachment M-3 to include Asset Management Projects,” are “just and reasonable,

         given the specific facts and circumstances presented here….” 77 This finding appears to be based


         arbitrary and capricious change from agency practice under the Administrative Procedure Act.”) (citing Motor Vehicle
         Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 436 U.S. 29, 46-57 (1983)); United Mun. Distribs. Group v. FERC, 732
         F.2d 202, 210 (D.C. Cir. 1984) (“[A]n agency must conform to its prior practice and decisions or explain the reason
         for its departure from such precedent.”); Panhandle Eastern Pipe Line Co. v. FERC, 196 F.3d 1273, 1275 (D.C. Cir.
         1999)(“As we have repeatedly reminded FERC, if it wishes to depart from its prior policies, it must explain the reasons
         for its departure.”); Greater Boston Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir. 1970) (“[A]n agency
         changing its course must supply a reasoned analysis indicating that prior policies and standards are being deliberately
         changed, not casually ignored, and if an agency glosses over or swerves from prior precedents without discussion it
         may cross the line from the tolerably terse to the intolerably mute.”).
         75
              August 11 Order at P 83.
         76
              Id. at P 86.
         77
              Id. at P 88.
                                                                  26


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         upon two assertions: (1) the Commission previously found Attachment M-3 to be just and

         reasonable and since the TO Proposal expands the applicability of Attachment M-3 to Asset

         Management Projects, it is also just and reasonable; and (2) the TO Proposal includes a “process

         for the identification and planning for EOL Needs” that “provide[s] for coordination of EOL Needs

         with the PJM RTEP planning criteria needs” thereby providing “increased opportunities to review

         and comment on EOL Need transmission projects, and thus provides greater transparency.” 78 But

         the Commission did not provide any explanation of how these two points contradict the Joint

         Protestors’ position that other definitions and new provisions in Attachment M-3, in addition to

         “Asset Management Projects” go beyond the PJM TOs’ authority.

                    In addition to arguing that the proposed modifications to Attachment M-3 unlawfully

         modify the RTEP as set forth in the Operating Agreement or are otherwise beyond the PJM TOs’

         authority, the Load Group’s Protest identified and described the shortcomings of the new

         definitions and other provisions in the TO Proposal as follows:

                   The new “applicability” section not only dramatically expands the applicability of the
                    Attachment M-3 process but also explicitly limits PJM’s flexibility to improve its structure
                    and operations to meet demands by restricting the PJM planning criteria.79 The
                    “applicability” provision gives the PJM TOs authority to plan both Supplemental Projects
                    and “any other transmission expansion or enhancement of Transmission Facilities that is
                    not planned by PJM to address one or more” of a limited list of PJM planning criteria,
                    including: NERC Reliability Standards, State Agreement Approach expansions or
                    enhancements,80 Transmission Owner FERC Form 715 criteria provided they meet the


         78
              Id.
         79
              Load Group Protest at 13-14; LS Power Protest at 23-24.
         80
              See LS Power Protest at 23 wherein LS Power argued:

                    The Applicability Section is also conspicuous in what is missing. The Commission required in Order
                    No. 1000 that both local and regional transmission planning processes plan for transmission needs
                    driven by Public Policy Requirements. Currently, PJM satisfies that requirement by identifying
                    Public Policy Requirements and Public Policy Objects and incorporating them into PJM’s sensitivity
                    studies, modeling and scenario analyses. PJM also has the State Agreement Approach that permits
                    individual states to request that PJM study particular public policy requirements and then voluntarily
                    assume responsibility for a project needed to meet the public policy requirement (assuming the
                                                                     27


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                    Additional Procedures as set for in the new section (d) of Attachment M-3, or projects to
                    relieve economic constraints.81 The Commission failed to explain how this provision, that
                    authorizes the PJM TOs to plan for expansions or enhancements of the Transmission
                    System that are not Supplemental Projects, is consistent with its finding that the TO
                    Proposal is just and reasonable.

                   The proposed definition of “Attachment M-3 Project” is unjust, unreasonable and unlawful
                    because it confers authority for transmission planning beyond local Supplemental Projects
                    to the Transmission Owners82 by including Asset Management Projects that affect
                    Transmission Facility ratings or significantly change the impedance of regional
                    Transmission Facilities and “any other expansion or enhancement of Transmission
                    Facilities that is not excluded from this Attachment M-3 under any of clauses (1) through
                    (5) of section (a).”83

                   The proposed definition of “Incidental Increase” is unjust and unreasonable as it is
                    unreasonably broad and susceptible to manipulation through unfettered modifications to
                    Transmission Owner design standards.84 The definition also references “advancements in
                    technology” but there is no limitation on the phrase.85 It could refer to more efficient
                    equipment, replacement from lower voltage to regionally beneficial higher voltage
                    facilities, or the inclusion of new energy storage technology. 86

                   The proposed definition of “EOL Need” is unjust and unreasonable because by including
                    a “test” for regional planning of transmission lines operating at or above 100 kV or a
                    transformer, it is not limited to local Supplemental Projects and, thus, unlawfully confers
                    authority for transmission planning to the PJM TOs.87 The EOL Need definition also
                    creates a test that will limit regional planning, by creating a backdoor right of first refusal
                    on substations and anything else that is not a replacement transmission line or
                    transformer.88

                   The proposed definition of “Candidate EOL Needs List” is unjust and unreasonable


                    project does not qualify as a reliability or market efficiency project). The Applicability Section only
                    carves out State Agreement Approach project.

         81
              Load Group Protest at 13-14, citing Attachment M-3 at Paragraph (a); LS Power Protest at 26
         82
           Load Group Protest at 13-14, citing Monongahela Power Co., 156 FERC ¶ 61,134 at P 13 (2016); 162 FERC ¶
         61,129; order on reh’g, 164 FERC ¶ 61,217 (2018).
         83
              Id. at 38, citing Attachment M-3 at Paragraph (b)(2).
         84
              Id. at 38, citing Attachment M-3 at Paragraph (b)(3).
         85
              LS Power Protest at 45.
         86
              Id.
         87
              Load Group Protest at 39, citing Attachment M-3 at Paragraph (b)(5).
         88
              LS Power Protest at 48-49.
                                                                      28


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                    because it is not transparent in contravention of Order No. 890 requirements. 89 More
                    specifically, the list is shared only with PJM and only updated annually, although a
                    Transmission Owner may change its projections of candidates on the list at any time.
                    Stakeholders other than PJM are not privy to the Candidate EOL Needs List.

                   The proposed definition of “Form No. 715 EOL Planning Criteria” is unjust, unreasonable
                    and unlawful because it modifies the RTEP and, thus exceeds the authority of the
                    Transmission Owners to modify the Operating Agreement through a unilateral FPA
                    Section 205 filing.90

                   The proposed definition of “PJM Planning Criteria” is unjust and unreasonable because it
                    applies only to needs to plan transmission expansions or enhancements other than those
                    reserved to each Transmission Owner in the “applicability” section, which confers
                    authority for transmission planning beyond local Supplemental Projects to the PJM TOs
                    and modifies the RTEP, which is beyond the PJM TOs’ authority.91

                   The revisions to Paragraph C(7) expand the use of Attachment M-3 to other undefined
                    “Transmission Projects,” and, thus, is unjust and unreasonable because it confers authority
                    to the PJM TOs to use the Attachment M-3 transmission planning process beyond local
                    Supplemental Projects.92

                    The Commission did not explain why the new project category definitions above and

         modifications to Attachment M-3 that reserve to the PJM TOs’ authority to plan transmission that

         is not limited to either: (i) local Supplemental Projects or (ii) Transmission Facilities that do not

         expand or enhance the Transmission System is consistent with its finding that the TO Proposal is

         just, reasonable and lawful. The Commission made no effort to reconcile its holding that the TO

         Proposal is just and reasonable with the actual words included in proposed Attachment M-3. In

         fact, other than summarizing the definitions in a preliminary section of the Order, the Commission

         does not refer to any new provision of Attachment M-3 in the TO Proposal at all. The Commission

         also abjectly failed to explain how allowing the PJM TOs to reserve transmission planning rights


         89
              Load Group Protest at 39, citing Attachment M-3 at Paragraph (d)(1)(iii).
         90
              Id. at 39, citing proposed Attachment M-3 at Paragraph (b)(7); LS Power Protest at 51-52.
         91
            Load Group Protest at 39, citing proposed Attachment M-3 at Paragraph (b)(9); LS Power Protest at 26 (also
         discussing interaction between the coordination of EOL Need Planning with PJM planning criteria needs.
         92
              Load Group Protest at 39.
                                                                    29


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         to themselves that are not Supplemental Projects but expand or enhance the Transmission System

         is consistent with the August 11 Order’s conclusions that transmission planning for expansions

         and enhancements to the Transmission System are within the RTEP and PJM’s planning authority.

         The lack of explanation, or even acknowledgement of any new term other than “Asset

         Management Projects” is far from sufficient to demonstrate a “rational connection between the

         facts found and the choice made.” 93

                    The August 11 Order also failed to respond meaningfully to evidence and arguments

         offered by the Load Group and others demonstrating that, rather than improving coordination and

         increasing transparency, the TO Proposal will undermine PJM’s ability to develop the RTEP, will

         reduce transparency in the planning process, and will exacerbate issues with the generation

         interconnection queue, among other negative consequences.

                    The Load Group argued that the revisions to Attachment M-3 are the antithesis of

         increasing a coordinated planning approach. Specifically, the Load Group noted that whereas the

         existing Attachment M-3 described the tariff section as providing “additional details of the process

         PJM and the PJM Transmission Owners will follow in connection with planning Supplemental

         Projects . . .”94 as part of a coordinated planning approach, the revised version deletes the reference

         to PJM and coordination and states only that “[e]ach Transmission Owner shall be responsible for

         planning and constructing” transmission projects as described therein. In other words, the




         93
           FERC v. Elec. Power Supply Ass'n, 577 U.S. ___, 136 S.Ct. 760, 782 (2016) (quoting Motor Vehicle Mfrs. Ass'n of
         the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).
         94
              PJM Tariff, Attachment M-3, Applicability.
                                                                 30


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         revisions literally change the process from one involving both PJM and the PJM TOs to just the

         PJM TOs.95

                    The Load Group also argued that the new definition of “Incidental Increase” will likely

         dramatically reduce coordination between PJM and the PJM TOs. The inclusion of replacements

         that result from changes to “Transmission Owner design standards” in the definition of “Incidental

         Increase” authorizes any PJM TO to add any new transmission to meet updated standards that are

         developed exclusively by the individual TO and do not have any review, approval process or other

         regulatory oversight. The example provided was that if a PJM TO changes its design standard to

         require 1/0 copper to be replaced with 795 ACSR conductor (the new standard) at 69 kilovolts, it

         would increase the line carrying capability by 4-5 times (likely more than the incidental increase

         the Commission envisioned). It would also significantly increase the volume of transmission

         replacement projects for which the PJM TO would have sole planning authority. The Commission

         did not address the argument that this definition’s broad, non-quantifiable and apparently self-

         policing nature makes it likely that far more transmission projects will be removed from PJM-

         facilitated open, transparent and coordinated transmission planning.

                    Similarly, several parties argued that the secret “Candidate EOL Needs List” reduces both

         coordination and transparency. For example, the New Jersey Board of Public Utilities (“NJBPU”)

         argued that the “transmission planning process is not open and devoid of discrimination when

         everyone except for PJM and the Transmission Owner are shut out.” 96 One of the bases for the

         NJBPU’s argument is that the “number of projects opened to some form of stakeholder review will



         95
            See LS Power Protest at 14, footnote 36. See specific language from the Applicability Section, “in accordance with
         Schedule 6 of the Operating Agreement as provided in this Attachment M-3,” which effectually writes in language
         that Attachment M-3 provides the authority for the regional planning process.
         96
              Protest of the New Jersey Board of Public Utilities at 8.
                                                                      31


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         be a small percentage of the overall projects identified on the Transmission Owners’ EOL

         Candidate Needs Lists.” The NJBPU correctly noted that a PJM TO need only disclose information

         about an EOL Need if there is an identified overlap between the projected EOL Need and a PJM

         Planning Criteria Need and only after PJM consults with the PJM TO first and meets several other

         conditions. The NJBPU stated that there are “no temporal limits on the time it could take to satisfy

         the consultation or other conditions, thus creating an uncertain delay before stakeholders might

         review this narrow subset of projects.”97 The Commission did not address the NJBPU’s conclusion

         that the TO Proposal falls short of Order No. 890’s requirements to afford the necessary

         transparency to avoid undue discrimination.

                    J-Power presented arguments that the negative consequences of the TO Proposal could

         extend beyond transmission planning. J-Power argued that the proposed transmission planning

         changes will necessarily impact the timing and results of interconnection studies by adding

         uncertainty to the transmission planning process, which will “put additional pressure on an already

         overtaxed interconnection study system.98 The uncertainty is created by the PJM TOs’ ability to

         propose but then remove EOL Projects from its plan at any time. This uncertainty will have

         negative impacts on PJM’s ability to prepare the RTEP as well.

                    The August 11 Order makes no mention of any of these arguments, let alone responds

         meaningfully to the evidence and arguments that the TO Proposal will decrease coordination

         between the transmission planning being done by the PJM TOs and PJM, will reduce transparency

         in transmission planning, and will have negative implications even beyond transmission planning

         in PJM. Rather, without any explanation, the Commission asserts that the TO Proposal’s inclusion


         97
              Id.
         98
              Comments of J-Power USA Development Co., LTD. (“J-Power Comments”) at 5.
                                                              32


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         of “a process for the identification and planning for EOL Needs” provides for “coordination of

         EOL Needs with the PJM RTEP planning criteria needs.” 99 The August 11 Order is arbitrary and

         capricious and not the result of reasoned decision-making.

                    D.       The Commission erred in finding that “Asset Management Projects” are
                             consistent with the type of projects and activities that the Commission found
                             were appropriately considered transmission owner asset management projects
                             in the California Orders. (Statement of Error #4)

                     In the August 11 Order, the Commission determined that “Asset Management Projects do

         not fit within the categories of projects the CTOAs have transferred to PJM,” and that its

         interpretation “is consistent with the California Orders, in which the Commission concluded that

         it was appropriate to define ‘asset management’ as activities that ‘encompass the maintenance,

         repair, and replacement work done on existing transmission facilities as necessary to maintain a

         safe, reliable and compliant grid based on existing topology,’ even if these projects result in an

         ‘incidental increase in transmission capacity that is not reasonably severable from the asset

         management or activity.’”100

                    The Commission’s finding that its conclusion regarding the CTOA is consistent with the

         conclusion in the California Orders ignores critical distinctions between the two proceedings –

         distinctions the Commission itself recognized but has now abandoned without explanation or

         justification. One such distinction that the Commission erred by failing to address in the August

         11 Order is the difference in the scope of the RTO/ISO’s authority over transmission planning as

         compared to the transmission owners’ authority. In the California Orders, the Commission noted

         that the CAISO’s Transmission Planning Process (“TPP”) did not indicate that the CAISO would


         99
              August 11 Order at P 88.
           August 11 Order at P 84, citing So. Cal. Edison Co, 164 FERC ¶ 61,160 at P 33; Cal. Pub. Util. Comm’n., 164
         100

         FERC ¶ 61,161 at P 68.
                                                              33


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         evaluate non-expansion transmission-related work.101 In the August 11 Order, the Commission

         failed to address the Load Group’s demonstration that the PJM TOs’ proposal to drastically limit

         PJM’s flexibility and role in transmission planning is contrary to the Operating Agreement. The

         Load Group explained that PJM’s authority over transmission planning as the independent RTO

         was carefully crafted in the Operating Agreement in support of competitive markets.102

         Specifically, in defining Supplemental Projects as a “transmission expansion or enhancement that

         is not required for compliance with the following PJM criteria,” 103 “PJM criteria” is not defined,

         nor are “system reliability, operational performance or economic criteria.”104 The Load Group

         further explained that these undefined terms reflect the flexibility afforded PJM and its

         stakeholders as to the regional criteria that PJM should address. PJM’s authority over transmission

         planning as the independent RTO is also reflected in the fact that Supplemental Projects require a

         determination by the PJM Office of the Interconnection – not the TOs – regarding whether a

         proposed Supplemental Project does not meet any of the referenced PJM criteria. 105

                     In the August 11 Order, the Commission summarily addressed these violations of the

         Operating Agreement with a finding that Asset Management Projects “do not fall under regional

         planning under the Operating Agreement as they relate solely to maintenance of existing facilities

         . . .”106 The error in the Commission’s determination that Asset Management Projects relate solely

         to maintenance is discussed Section III.B.3, above. However, the Commission also erred by failing



         101
               Cal. Pub. Util. Comm’n., 164 FERC ¶ 61,161 at P 70.
         102
               Load Group Protest at 13-14; see also August 11 Order at P 58.
         103
               Id. at 14, citing Operating Agreement, Schedule 6, 1.2(3).
         104
               Id. at 14, citing Operating Agreement, Section 1, Definitions.
         105
               Id., citing Operating Agreement, Schedule 6, Section 1.5.6(n).
         106
               August 11 Order at P 82.
                                                                     34


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         to address the Load Group’s demonstration that the TO Proposal violates the Operating

         Agreement, which is a critical distinction between PJM and the CAISO. The Commission’s failure

         to address these arguments is a failure to engage in reasoned decision making.107

                     E.       The Commission erred by applying an erroneous ruling regarding Order No.
                              890 to the TO Proposal regarding Asset Management Project planning.
                              (Statement of Errors #5, #6, #7 and #8)

                     In the California Orders, the Commission acknowledged that Order No. 890 did not define

         “transmission planning.”108 Yet, over a decade after the Final Rule was adopted, the Commission

         has narrowed the scope of Order No. 890109 by announcing that it applies only to expansion of the

         transmission grid.110 On rehearing in the California Orders, the Commission rejected

         demonstrations that it erred in narrowly interpreting Order No. 890 such that projects that do not

         expand the transmission grid are not subject to the requirements of Order No. 890.111 Instead, the

         Commission maintained its position that Order No. 890 applies only to projects that expand the

         transmission grid.112 The Commission’s determination in the California Orders, which it has now


         107 See, e.g., Motor Vehicle Manufacturer’s Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (stating

         that an agency acts arbitrarily and capriciously when it fails to “consider an important aspect of the problem”); see
         also KeySpan-Ravenswood, LLC v. FERC, 348 F.3d 1053, 1056 (2003) (explaining that “unless an agency answers
         objections that on their face appear legitimate, its decision can hardly be said to be reasoned”) (internal alterations,
         quotes and citation omitted).

         108
               Cal. Pub. Util. Comm’n, 164 FERC ¶ 61,161 at P 66.
         109
            Preventing Undue Discrimination and Preference in Transmission Service, Order No. 890, 118 FERC ¶ 61,119,
         order on reh’g, Order No. 890-A, 121 FERC ¶ 61,297 (2007), order on reh’g, Order No. 890-B, 123 FERC ¶ 61,299
         (2008), order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on clarification, Order No. 890-D, 129 FERC ¶
         61,126 (2009).
         110
             Cal. Pub. Util. Comm’n, 164 FERC ¶ 61,161 at P 66 (“ . . . the transmission planning reforms that the Commission
         adopted in Order No. 890 were intended to address concerns regarding undue discrimination in grid expansion.
         Accordingly, to the extent that PG&E asset management projects and activities do not expand the grid, they do not
         fall within the scope of Order No. 890, regardless of whether they are capitalized in PG&E’s transmission rate
         base.”)(citations omitted).
         111
            See California Pub. Utils. Comm’n v. Pac. Gas and Elec. Co., 168 FERC ¶ 61,171 at PP 10-15 (the Commission
         explained that Complainants asserted that the Commission made six specific errors in the Order on Complaint with
         respect to application of Order No. 890 that warrant granting their request for rehearing).
         112
               Id. at PP 19-35.
                                                                    35


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         blindly applied to the PJM TOs’ planning for Asset Management Projects under their expanded

         Attachment M-3, is in error and should be reversed on rehearing of the August 11 Order. Even if

         the Commission does not grant rehearing of its narrowed scope of Order No. 890 in general, it

         should grant rehearing of that determination as applied to the new Attachment M-3 at issue in this

         proceeding.

                         1. The Commission erred in finding that incidental expansions of the
                            Transmission System are not subject to Order No. 890.

                    In the August 11 Order, the Commission applied its narrow view of Order No. 890 to the

         TOs’ proposed Asset Management Projects and revisions to Attachment M-3, and found that “. . .

         where the transmission projects developed under the expanded Attachment M-3 process result in

         only incidental expansions of the transmission system, such asset management activities are not

         subject to Order No. 890 transmission planning principles.”113                    Petitions for review of the

         California Orders are currently pending before the U.S. Court of Appeals for the Ninth Circuit.114

         The Load Group agrees with arguments made on rehearing of the California Orders that the

         Commission erred in its new-found limitation of the scope of Order No. 890 to only projects that

         expand the transmission system.115 More specifically, the Load Group agrees with arguments on

         rehearing of the California Order that the Commission’s narrow scope for Order No. 890 as

         announced in the California Orders is in error, including the following errors: (1) the Commission

         incorrectly found that the PJM Show Cause order did not address whether non-grid expansion




         113
               August 11 Order at P 89 (citations omitted).
         114
            CPUC, et al. v. FERC, Case No. 19-72886 and Northern California Power Agency, Case No. 19-72925. Both cases
         have been stayed pending settlement discussions. See Order issued April 22, 2020 in U.S. Court of Appeals for the
         Ninth Circuit, Case Nos. 19-72925¸et al.
         115
            See, e.g., Request for Rehearing filed by the California Public Utilities Commission, et al., in Docket No. EL17-
         45-001.
                                                                    36


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         projects now characterized as “asset management” projects must go through an Order No. 890-

         compliant transmission planning process;116 (2) the Commission’s narrow scope for Order No. 890

         is inconsistent with requirements in the Energy Policy Act of 2005; 117 (3) the Commission’s ruling

         “violates longstanding Commission policy regarding the need for coordinated and transparent

         transmission planning, and it perpetuates undue discrimination that Order No. 890 sought to

         eradicate;118 (4) the Commission violated its statutory obligation to remedy undue discrimination;

         (5) the ruling will result in unjust and unreasonable rates; and (6) the Commission failed to consider

         the fact that asset management projects require transmission planning and, therefore, must be

         included in a transmission planning process that complies with Order No. 890.119

                     To the extent the Commission’s determination regarding the scope of Order No. 890 as set

         forth in the California Orders is modified or vacated, the Commission’s reliance on the California

         Orders in this proceeding must also be modified or vacated. On rehearing of the August 11 Order,

         the Commission should reconsider the arguments raised against narrowing the scope of Order No.

         890 such that it applies only to transmission projects that expand the transmission system, and

         reverse its finding in the August 11 Order that non-grid expansion projects under the new

         Attachment M-3 are not subject to the requirements of Order No. 890. In any event, given the

         Commission’s reliance in the August 11 Order on its finding in the California Orders, if the

         California Orders are modified or vacated, the Load Group reserves its right to further challenge

         the Commission’s determination in this proceeding that Order No. 890 is limited to grid-expanding

         projects.


         116
               Id. at pp 14, 18-21.
         117
               Id. at 14, 22-24.
         118
               CPUC v. FERC, 168 FERC ¶ 61,171 at P 12.
         119
               See id. at PP 10-15.
                                                            37


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                          2. The August 11 Order is arbitrary and capricious for finding that the
                             California Orders apply to the new Attachment M-3 process.

                     In protests to the new Attachment M-3, the Load Group and others demonstrated that the

         rulings regarding asset management activities in the California Orders are limited to those

         proceedings and even if the California Orders did serve as precedent, the new Attachment M-3

         goes well beyond any reasonable application of the California Orders. 120 In the August 11 Order,

         the Commission summarily “agreed with the PJM TOs that where the transmission projects

         developed under the expanded Attachment M-3 process result in only incidental expansions of the

         transmission system, such asset management activities are not subject to Order No. 890

         transmission planning principles.”121 The only reasoning offered by the Commission is that it “is

         consistent with the findings in the California Orders that the Order No. 890 planning principles

         apply only to transmission projects involving grid expansion, and where Supplemental Projects

         result in only incidental expansions of the transmission system, do not apply to asset management

         activities.”122 The Commission’s application of the California Orders to the new Attachment M-

         3 is arbitrary and capricious because it unreasonably departs from Commission precedent without

         explanation, ignores arguments put forth in this proceeding, and is otherwise unreasonable.

                     First, the Commission’s findings in the August 11 Order are internally inconsistent. On

         the one hand, the Commission relies on its previous finding that the Attachment M-3 planning

         process is consistent with Order No. 890 and finds that having done so, the new Attachment M-3

         is “likewise just and reasonable.” 123 On the other hand, and in order to bless the shift of planning


         120
           See Load Group Protest at 25-30, citing Supporting Comments of the PJM Joint Stakeholders in Docket No. ER20-
         2308-000 at 10-11, 50-57.
         121
               August 11 Order at P 89.
         122
               Id. at P 89.
         123
               Id. at P 88.
                                                               38


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         responsibility for Asset Management Projects from PJM to the TOs, the Commission insists that

         the changes reflected in the new Attachment M-3 “are not subject to Order No. 890 transmission

         planning principles.”124 For the reasons discussed above and in the Load Group’s prior pleadings,

         the new Attachment M-3 is not just and reasonable and is not consistent with Order No. 890. At

         the very least, the Commission must address its prior finding that the PJM TOs are required to

         conduct local transmission planning in a manner that complies with Order No. 890, and address

         the fact that the August 11 Order relieves them of this obligation. 125 The August 11 Order is

         arbitrary and capricious for failing to explain this departure from the Commission’s Show Cause

         Orders.126

                     Second, if left unaddressed, the August 11 Order could be interpreted to vacate or at least

         severely limit the findings in the Show Cause Orders with respect to planning for Supplemental

         Projects in PJM. The August 11 Order finds that relieving the PJM TOs of the requirement to

         comply with Order No. 890 for “such asset management activities” “is consistent with the finding

         in the California Orders that the Order No. 890 planning principles apply only to transmission

         projects involving grid expansion, and where Supplemental Projects result in only incidental

         expansions of the transmission system, do not apply to asset management activities.” 127 The

         Commission’s reference to Supplemental Projects in the context of the California Orders and

         incidental expansions of the transmission system is unclear, at best. The Commission did not make



         124
               Id. at P 89.
         125
               See Monongahela Power Co., 162 FERC ¶ 61,129 at P 72, 74.
         126
             See, e.g., ABM Onsite Servs.-W., Inc. v. Nat’l Labor Relations Bd., 849 F.3d 1137, 1142 (D.C. Cir. 2017) (“[A]n
         agency’s unexplained departure from precedent is arbitrary and capricious.”); ANR Pipeline Co. v. FERC, 71 F.3d
         897, 901 (D.C. Cir. 1995) (“[W]here an agency departs from established precedent without a reasoned explanation,
         its decision will be vacated as arbitrary and capricious.”)
         127
               August 11 Order at P 89 [emphasis added].
                                                                 39


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         any rulings in the California Orders regarding PJM Supplemental Projects that result in only

         incidental expansions of the transmission system. Quite to the contrary, the Commission was

         adamant in the California Orders that its rulings regarding CAISO Participating Transmission

         Owner (“PTO”) asset management activities were not aligned with Supplemental Project planning

         in PJM and that the Commission had not made a determination regarding non-grid expanding

         Supplemental Projects. The Commission clarified that “[t]he question whether asset management

         projects and activities that do not increase the capacity of the grid must go through an Order No.

         890-compliant transmission planning process was not at issue in the February 15 PJM Order.”128

         The Commission also determined that “[i]n light of the specific criteria set forth in the definition

         of Supplemental Projects in the PJM Tariff, there is no basis to conclude that based on their

         definition, Supplemental Projects in many cases are identical to asset management projects.” 129 It

         makes no sense for the Commission to now state in the August 11 Order that “where Supplemental

         Projects result in only incidental expansions of the transmission system,” the requirements of

         Order No. 890 do not apply. Such a finding is directly at odds with the Commission’s findings in

         the Show Cause Orders that transmission planning for Supplemental Projects must comply with

         Order No. 890. Moreover, as the new Attachment M-3 has been designed, Asset Management

         Projects are not Supplemental Projects. Notwithstanding the Load Group’s disagreement with the

         notion that Asset Management Projects are not Supplemental Projects, there is no reasonable

         explanation for the Commission to vacate its prior findings which required planning for

         Supplemental Projects to comply with Order No. 890, in this proceeding which addresses a new

         category of projects that the PJM TOs designed to be separate and apart from Supplemental


         128
               Cal. Pub. Utils. Comm’n v. Pac. Gas and Elec. Co., 168 FERC ¶ 61,171 at P 54 (2019).
         129
               Id. at P 59; see also S. California Edison Co., 164 FERC ¶ 61,161 at P 67 (2018).
                                                                    40


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         Projects. The August 11 Order could be interpreted as finding that where Supplemental Projects

         do not expand the transmission system, there is no requirement to comply with Order No. 890

         transmission planning principles, which is a finding directly contrary to the Show Cause Orders.

                     Third, the Commission’s exception to its own findings in the August 11 Order warrants

         rehearing. The Commission determined that “where transmission projects developed under the

         expanded Attachment M-3 process result in only incidental expansions of the transmission system,

         such asset management activities are not subject to Order No. 890 transmission planning

         principles”130 and accepts the new Attachment M-3 as filed.             However, in a footnote the

         Commission creates a gaping hole in its finding. The Commission states as follows:

                     We make no determination here as to whether EOL Needs or any of these Asset
                     Management Projects, and in particular specific replacement activities, are subject
                     to the transmission planning requirements of Order No. 890, as the PJM TOs
                     proposed to includes these types of projects in the Order No. 890 planning process
                     in Attachment M-3.131

         The very issue in this proceeding is whether the new Attachment M-3 provisions for planning to

         address EOL Needs, Asset Management Projects and specific replacement activities must

         comply with Order No. 890 and, if so, whether the TO Proposal does so. The Commission has

         specifically declined to address these issues, instead relying on its summary determination that

         the new Attachment M-3 expands the Order No. 890-compliant planning process. On rehearing,

         the Commission should address demonstrations put forth by the Load Group and others that the

         proposed definitions and planning for EOL Needs, Asset Management Projects and other

         provisions in the new Attachment M-3 must comply with Order No. 890, and fail to do so.




         130
               August 11 Order at P 89.
         131
               Id. at note 141.
                                                             41


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                  Fourth, the August 11 Order is arbitrary and capricious because it ignores the fact that

         PJM’s transmission planning, pursuant to its governing documents, includes not only expansions

         but also enhancements.132 The Commission failed to address this critical distinction between

         transmission planning in the CAISO and PJM transmission planning. As the Load Group

         demonstrated in pleadings, Supplemental Projects in PJM include “expansions and

         enhancements,” while the CAISO transmission planning process does not make provision for

         “enhancements.” Indeed, the CAISO “clarifie[d] that the CAISO’s TPP addresses ‘expansion’

         and ‘reinforcement’ of the transmission system, as opposed to ‘enhancement’ as reflected in the

         Commission-approved TCA that sets forth the respective roles and responsibilities of the CAISO

         and PTOs.”133 There is no discussion in the California Orders of how “enhancements” should

         be treated for purposes of asset management, and the August 11 Order failed to address

         demonstrations that because of this distinction, the California Orders do not apply to transmission

         planning in PJM.

                  Fifth, the Commission’s application of the California Orders departs from the

         Commission’s consistent precedent, reinforced in the California Orders, that transmission

         planning and compliance with Order No. 890 will be determined on an RTO-specific basis.134

         Even if the Commission determined that the California Orders apply here, which they specifically

         do not, the Commission still must undertake an analysis of the specific proposals in the new



         132
           The PJM Operating Agreement defines Supplemental Project to include transmission expansions or enhancements.
         PJM Operating Agreement, Definitions S-T.
         133
           Initial Post-Technical Conference Comments of the California Independent System Operator Corporation, Docket
         No. EL20-45-000, et al., at 4-5 (May 31, 2018).
         134
             See S. California Edison Co., 164 FERC ¶ 61,160 at P 37 (2018) (“We are also not persuaded by Protesters’
         assertions that the transmission planning practices in other RTOs/ISOs are instructive here . . .whether or not other
         transmission planning regions are considering asset management projects and activities through their regional
         transmission planning process does not, in and of itself, determine whether Order No. 890 requires them to do so.”).
                                                                  42


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         Attachment M-3, as opposed to simply relying on the California Orders as the basis for accepting

         the new Attachment M-3.               Simply including the phrase, “given the specific facts and

         circumstances presented here” without more does not amount to an analysis of the unique features

         and structures of PJM. The Commission’s failure to do more is arbitrary and capricious.135

                     F.     The August 11 Order fails to provide a reasoned explanation for the
                            Commission’s departure from Order No. 2000. (Statement of Error #9)

                     Order No. 2000 is one of the seminal orders of electric restructuring. 136 Among other

         things, it codifies minimum characteristics and functions that a transmission entity must satisfy in

         order to be considered an RTO. The Commission's stated goal of Order No. 2000 was to “promote

         efficiency in wholesale electricity markets and to ensure that electricity consumers pay the lowest

         price possible for reliable service.” 137 This was achieved by establishing essential, minimum

         functions of an RTO, of which transmission planning and expansion is one of eight. In Order No.

         2000, the Commission concluded, “the RTO must have ultimate responsibility for both

         transmission planning and expansion within its region that will enable it to provide efficient,

         reliable and non-discriminatory service and coordinate such efforts with the appropriate state

         authorities.”138 This requirement is memorialized in the Commission’s Rules at Section 35.43(k).

                     Another essential function of an RTO is an “open architecture” policy to allow the RTO


         135
            Motor Vehicle Manufacturer’s Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (stating that an
         agency acts arbitrarily and capriciously when it fails to “consider an important aspect of the problem”); see also
         KeySpan-Ravenswood, LLC v. FERC, 348 F.3d 1053, 1056 (2003) (explaining that “unless an agency answers
         objections that on their face appear legitimate, its decision can hardly be said to be reasoned”) (internal alterations,
         quotes and citation omitted).
         136
            18 C.F.R. § 35.34(k)(7) (2018); Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶
         31,089, at 31,163 (1999), order on reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000), aff’d sub nom.
         Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607 (D.C. Cir. 2001) (affirming that “the RTO must have ultimate
         responsibility for both transmission planning and expansion within its region”).
         137
               Id.
         138
            18 C.F.R. § 35.34(k)(7) (2018); Order No. 2000 (affirming that “the RTO must have ultimate responsibility for
         both transmission planning and expansion within its region”).
                                                                   43


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         the flexibility to improve its structure and operations to meet demands. 139 Specifically, the “open

         architecture” rule requires that “any proposal to participate in a RTO must not contain any

         provision that would limit the capability of the RTO to evolve in ways that would improve its

         efficiency, consistent with the requirements in paragraphs (j) and (k) of this section.” 140 Further,

         under this rule, RTOs must have the ability to “evolve with respect to its organizational design,

         market design, geographic scope, ownership arrangements, or methods of operational control, or

         in other appropriate ways if the change is consistent with the requirements of this section.”141

                     Several protestors raised the argument that the TO Proposal’s addition of the

         “applicability” provision to Attachment M-3, which gives the TOs exclusive authority to plan both

         Supplemental Projects and “any other transmission expansion or enhancement of Transmission

         Facilities that is not planned by PJM to address one or more” of a truncated list of PJM planning

         criteria,142 unlawfully limits PJM’s ability to add new regional planning categories to the PJM

         RTEP absent TO approval to modify the tariff, thus preventing PJM from independently making

         changes to the RTEP deemed necessary.143 The TO Proposal puts the TOs in complete control of

         future transmission planning and, thus, preempts open architecture and PJM’s ability to evolve in

         direct contravention of the spirit and letter of Order No. 2000 and the Commission’s rules for

         RTOs.

                     The Commission references the arguments made regarding the violation of Order No. 2000

         in its summary of the arguments but makes no further mention of either the requirements of Order



         139
               See id. § 35.34(l).
         140
               Id.
         141
               Order 2000.
         142
               Attachment M-3 at Paragraph (a).
         143
               Load Group Protest at 23-24; LS Power Protest at 19-20.
                                                                   44


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         No. 2000 or the arguments regarding the same. The August 11 Order does not even attempt to

         provide a reasoned explanation for the Commission’s departure from Order No. 2000’s

         requirement that RTOs have open architecture and an ability to evolve. The August 11 Order fails

         to consider all important aspects of the problem at issue,144 engage in reasoned decision-making,145

         or respond meaningfully to the arguments raised before it.146 Therefore the August 11 Order is

         arbitrary and capricious.

                    G.       The August 11 Order does not provide a reasoned explanation for the
                             Commission’s departure from precedent that establishes the predominance of
                             regional planning. (Statement of Error #10)

                    Contrary to Commission precedent, the TO Proposal allows the PJM TOs to control

         through the local planning process aspects of the regional planning process. Certain definitions

         and provisions in Attachment M-3 allow the PJM TOs to veto regional projects in some instances.

         Protesters detailed these limitations at length in their pleadings and explained how they prevent

         PJM from carrying out its responsibility to conduct regional planning and produce a regional

         plan.147 Together, these limitations prevent PJM from conducting effective regional planning

         consistent with Order No. 1000. The August 11 Order, however, arbitrarily and capriciously

         ignored evidence and arguments that PJM will no longer meet it regional planning obligations

         under Order No. 1000.148


         144
            See e.g. Motor Vehicle Mfs. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983) (“an agency rule would be arbitrary
         and capricious if the agency . . . failed to consider an important aspect of the problem); NorAm Gas Transmission Co.
         v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1998) (“In previous cases, we have rejected agency orders when the
         Commission neglected to deal with an important part of the problem…”) (citing Laclede Gas Co. v. FERC, 997 F.2d
         936, 945-48 (D.C. Cir. 1993)); North Carolina Util. Comm'n v. FERC, 42 F.3d 659 (D.C. Cir. 1994).
         145
            Sacramento, 616 F.3d at 528; Midwest ISO Transmission Owners v. FERC, 373 F.3d 1361, 1368 (D.C. Cir. 2004)
         (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, (1983)).
         146
               TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1, 12 (D.C. Cir. 2015).
         147
               LS Power Protest at 56-58; Load Group Protest at 21.
         148
               See August 11 Order at P 49.
                                                                      45


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                    In Order No. 1000, the Commission adopted “reforms [that] work together to ensure that

         public utility transmission providers in every transmission planning region, in consultation with

         stakeholders, evaluate proposed alternative solutions at the regional level that may resolve the

         region’s needs more efficiently or cost-effectively than solutions identified in the local

         transmission plans of individual public utility transmission providers.” 149 The region’s needs

         include all transmission needs. In Paragraph 52 of Order No. 1000-A the Commission found that

         effective transmission planning means that the region “considers all transmission needs of all

         transmission customers. . ..”150 The Commission made a similar statement in Paragraph 60, stating

         that, “[a]s an initial matter, we note that, based on our expertise and knowledge of the industry, we

         do not consider it to be speculation or conjecture to conclude that regional transmission planning

         is more effective if it results in a transmission plan, is open and transparent, and considers all

         transmission needs.”151 The D.C. Circuit also described Order No. 1000 as requiring transmission

         planning for all transmission needs.152 Order No. 1000 simply does not tolerate PJM having only

         partial rights to plan for transmission facilities needed in the PJM region.153

                    On compliance with Order No. 1000, the Commission found that PJM complied with the

         regional planning requirements because PJM’s planning process “culminates in the RTEP, a

         regional transmission plan that reflects PJM’s determination of the set of transmission facilities




         149
               Order No. 1000-A at P 102.
         150
               Id. at P 52 [emphasis added].
         151
               Id. at P 60 [emphasis added].
         152
               S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41 (citing Order No. 1000-A at PP 50, 60, and 98) [emphasis added].
         153
            Indeed, the Transmittal Letter that PJM submitted as part of its Order No. 1000 compliance filing highlights the
         replacement of an aging transmission facility as evidence of the success of PJM’s regional planning process. PJM
         Interconnection, L.L.C., “Compliance Filing,” Docket No. ER13-198-000 at 11 (Oct. 25, 2012).
                                                                   46


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         that more efficiently or cost-effectively meet the transmission needs of the PJM Region.” 154 There

         were no limitations at the time on PJM’s ability to consider different types of needs. Nothing in

         the August 11 Order explains why PJM should now be prohibited from considering a fundamental

         driver of transmission in PJM. Protesters described at length how aging infrastructure is and will

         continue to be a significant driver of new transmission facilities in PJM over the next decade.155

                    The Commission pointed to the CTOA in support of its determination that the PJM TOs

         have the exclusive right to revise Attachment M-3. But, the CTOA existed at the time that the

         Commission evaluated whether the PJM TOs and PJM complied with the requirements of Order

         No. 1000 and it has remained unchanged since then. The regional planning requirements of Order

         No. 1000 also have not changed. Without explanation, the Commission read into the CTOA

         limitations on PJM’s ability to plan on a regional basis for “all transmission needs.” There is no

         justification for reading the CTOA as a bar to PJM’s ability to identify and evaluate whether there

         are more efficient or cost-effective solutions to the region’s needs. Doing so puts PJM out of

         compliance with Order No. 1000 and prevents PJM from engaging in transmission planning for

         all the transmission needs in the PJM Region and producing a regional transmission plan as is

         required for each Order No. 1000 Region under Order No. 1000. Order No. 1000’s requirements

         apply equally to all Order No. 1000 regions, regardless of whether the region is an RTO or not.

                    The Load Group provided substantial evidence that the majority of transmission planning

         in PJM is occurring outside the purview of the PJM RTEP process.156 Specifically, the Load Group

         demonstrated that the PJM Region has experienced severe imbalance in PJM transmission



         154
               PJM First Compliance Order at P 65.
         155
               See, e.g., LS Power Protest at 33; Load Group Answer at 10.
         156
               Load Group Protest at 4-6.
                                                                   47


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         planning as compared to PJM TO-only transmission planning, with the latter undertaking the vast

         majority of new transmission investment (over 76 percent of the project expenses within the PJM

         RTEP planned as Supplemental Projects ($6.5 billion)) as opposed to regionally planned projects

         ($2.0 billion). The largest component of the spending on Supplemental Projects in 2018 was on

         projects that were claimed to be necessary due to EOL conditions. The Load Group explained that

         projects based on claims of EOL conditions were not subject to regional planning pursuant to the

         PJM RTEP.157 However, the Commission summarily dismissed the evidence that the majority of

         transmission planning in PJM is occurring outside the purview of the PJM RTEP process as beyond

         the scope of this proceeding.158

                     The dismissal of the evidence and arguments regarding the fact that the majority of

         transmission planning is occurring outside of the RTEP misses the point and misunderstands the

         TO Proposal. As noted above, in order to comply with Order No. 1000, RTOs must have effective

         transmission planning that “considers all transmission needs of all transmission customers. . ..”159

         But the evidence shows that already, PJM is not planning the majority of Transmission Planning

         needed in the PJM region. The TO Proposal will eviscerate the RTEP, which the Commission has

         accepted as the “regional transmission plan that reflects PJM’s determination of the set of

         transmission facilities that more efficiently or cost-effectively meet the transmission needs of the

         PJM Region.”160 The Commission’s failure to consider all important aspects of a problem at




         157
            See 2019 Project Statistics presented at the May 12, 2020 PJM Transmission Expansion Advisory Committee,
         available at: https://www.pjm.com/~/media/committees-groups/committees/teac/2020/20200512/20200512-item-10-
         2019-project-statistics.ashx.
         158
               August 11 Order at P 90.
         159
               Id. at P 52.
         160
               PJM First Compliance Order at P 65.
                                                             48


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         issue161 and respond meaningfully to the arguments raised before it162 renders the August 11 Order

         arbitrary and capricious.

                    H.       The August 11 Order’s summary dismissal of the cost allocation issues
                             associated with the TO Proposal is arbitrary and capricious and contrary to
                             substantial record evidence. (Statement of Error #11)

                             1.      The Commission’s refusal to consider whether there is a just and
                                     reasonable cost allocation method applicable to the new project
                                     categories is arbitrary and capricious and contrary to law.

                    Numerous protestors pointed out that the PJM Tariff does not provide a just and reasonable

         cost allocation method applicable to the new project categories of high voltage transmission

         created by the TO Proposal.163 The August 11 Order did not substantively address this concern.

         Instead, the Commission found that, because the TO Proposal did not include any changes to

         Schedule 12, cost allocation issues were beyond the scope of this proceeding.164                                 The

         Commission’s dismissal of the cost allocation issues for new project categories is arbitrary and

         capricious.

                    The Commission cannot avoid evaluating whether the cost allocation method applicable to

         the new project categories is just and reasonable. FPA Section 205 requires that “[a]ll rates and

         charges made, demanded or received by any public utility for or in connection with transmission .


         161
            See e.g. Motor Vehicle Mfs. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983) (“an agency rule would be arbitrary
         and capricious if the agency . . . failed to consider an important aspect of the problem); NorAm Gas Transmission Co.
         v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1998) (“In previous cases, we have rejected agency orders when the
         Commission neglected to deal with an important part of the problem…”) (citing Laclede Gas Co. v. FERC, 997 F.2d
         936, 945-48 (D.C. Cir. 1993)); North Carolina Util. Comm'n v. FERC, 42 F.3d 659 (D.C. Cir. 1994).
         162
               TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1, 12 (D.C. Cir. 2015).
         163
            LS Power Protest at 36-38; Load Group Answer at 26-27; Protest of the New Jersey Board of Public Utilities at
         10-15.
         164
             August 11 Order at P 91. In support of its determination that cost allocation issues are beyond the scope of the
         proceeding, the Commission cited ANR Pipeline Co. v. FERC, 771 F.2d 507 (D.C. Cir.1985), The Commission
         implied that protestors were asking the Commission to revise cost allocation provisions included in Schedule 12.
         August 11 Order at P 91 n.143. To be clear, protestors argued that the TO Proposal must be rejected because of the
         absence of a just and reasonable cost allocation method in Schedule 12 that applies to the new project categories. Id.
         (citing ANR Pipeline Co. v. FERC, 771 F.2d 507, 514 (D.C. Cir. 1985)).
                                                                  49


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         . . shall be just and reasonable . . ..”165 The TO Proposal adds entirely new project categories166 to

         the PJM Tariff, the costs of which will be allocated entirely to the zone where the project is located

         regardless of whether other zones benefit. The Commission has a duty under Section 205 to

         evaluate the TO Proposal, including the applicable cost allocation method, to ensure that rates

         resulting from that proposal are just and reasonable.167

                    The Commission also included a vague reference to the existing cost allocation provision

         of Schedule 12 for Required Transmission Enhancements, implying that that somehow addressed

         protestors’ concerns. First, it is difficult to deduce the Commission’s reasoning as the new project

         categories do not meet the definition, which the Commission quotes in a footnote, of Required

         Transmission Enhancements.168 Furthermore, Required Transmission Enhancements are not the

         only project category referenced in Schedule 12. Subsection (a)(iii) of Schedule 12 applies to

         transmission facilities that are not eligible for cost responsibility assignment, including, among

         other types of projects, Local Upgrades and Supplemental Projects. Nowhere does Schedule 12




         165
               16 U.S.C. 824d(a).
         166
             See new Project Categories of Attachment M-3 Project (i), Attachment M-3 Project (iii), Asset Management
         Project, PJM Criteria Need, Candidate EOL Needs List, EOL Need, and Applicability. Just and reasonable cost
         allocation should have been established for each new Project Category definition.
         167
            See Protest of the New Jersey Board of Public Utilities at 10. Furthermore, the applicable cost allocation method
         determines whether the need underlying the project will be in PJM’s competitive process.
         168
               Required Transmission Enhancements are defined in the PJM Tariff to mean:
                    Enhancements and expansions of the Transmission System that (1) a Regional Transmission
                    Expansion Plan developed pursuant to Operating Agreement, Schedule 6 or (2) any joint planning
                    or coordination agreement between PJM and another region or transmission planning authority set
                    forth in Tariff, Schedule 12- Appendix B (“Appendix B Agreement”) designates one or more of the
                    Transmission Owner(s) to construct and own or finance. Required Transmission Enhancements
                    shall also include enhancements and expansions of facilities in another region or planning authority
                    that meet the definition of transmission facilities pursuant to FERC’s Uniform System of Accounts
                    or have been classified as transmission facilities in a ruling by FERC addressing such facilities
                    constructed pursuant to an Appendix B Agreement cost responsibility for which has been assigned
                    at least in part to PJM pursuant to such Appendix B Agreement.
                                                                    50


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         address the cost allocation of regionally beneficial enhancements or expansions included under

         Attachment M-3’s catchall provision – section (a)(iii).

                    A review of Commission precedent demonstrates the arbitrariness of the Commission’s

         position that it is not required to consider cost allocation issues.                    In Order No. 1000, the

         Commission held that “. . . there is a fundamental link between cost allocation and planning, as it

         is through the planning process that benefits, which are central to cost allocation, can be

         assessed.”169 The Commission also has routinely considered new project categories and their

         applicable cost allocation methods together. For instance, in 2013 the PJM TOs filed proposed

         revisions to the cost allocation method in Schedule 12 for interregional projects between PJM and

         the Southeastern Regional Transmission Planning region (“SERTP”). 170 PJM separately filed the

         proposed interregional project category, including the criteria used to identify and evaluate

         interregional projects.171 Because of the interdependency of the planning process and cost

         allocation method, the Commission accepted and suspended the proposed interregional cost

         allocation subject to the outcome of the related compliance proceeding. 172 The Commission’s

         failure to address cost allocation issues when considering a fundamental change to transmission



         169
            Order No. 1000 at P 559 [emphasis added]. See also Order No. 1000 at PP 499-500 (One of the Commission’s
         goals in Order No. 1000 was to “establish[] a closer link between transmission planning and cost allocation [to] ensure
         that rates for Commission-jurisdictional service appropriately account for benefits associated with new transmission
         facilities.”)
           PJM Transmission Owners, “PJM Open Access Transmission Tariff Revisions to Modify Cost Allocation for PJM
         170

         Required Transmission Enhancements,” Docket No. ER13-1927 (July 10, 2013).
         171
               PJM Interconnection, L.L.C., “Compliance Filing,” Docket No. ER13-1936 (July 10, 2013).
         172
           PJM Interconnection, L.L.C., Duquesne Light Company, 145 FERC ¶ 61,291, at P 31 (2013). Specifically, the
         Commission found that:
                    proposed interregional cost allocation method is thus interdependent with the separate PJM
                    Compliance Filing and the SERTP Sponsors Compliance Filings. We therefore cannot find that the
                    PJM Transmission Owners’ interregional cost allocation proposal is consistent with the
                    requirements of Order No. 1000, absent a comprehensive evaluation of all the related pending Order
                    No. 1000 interregional compliance proposals . . ..
                                                                   51


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         planning in the PJM footprint is arbitrary and capricious and not the result of reasoned decision-

         making.

                          2.       The Commission impermissibly failed to consider evidence that the
                                   existing cost allocation method applicable to projects resulting from
                                   Attachment M-3 will result in unjust and unreasonable rates.

                 The PJM TOs had the burden of demonstrating that the TO Proposal will result in a just

         and reasonable cost allocation method. However, there is no record evidence that the existing cost

         allocation method is just and reasonable as applied to the new project categories because the PJM

         TOs offered none. There is substantial record evidence establishing that there will be projects

         included in Attachment M-3 that have regional benefits that will be allocated to a single

         transmission zone contrary to cost allocation precedent. Applying the existing cost allocation

         method to every Attachment M-3 project, including higher voltage transmission facilities that are

         known to have significant regional benefits, thereby allocating all costs to a single zone is

         inconsistent with long-standing cost causation principles and precedent and ultimately leads to

         unjust and unreasonable rates.

                 Cost allocation principles require that the beneficiaries of a project pay the cost of the

         project in a manner that is roughly commensurate with the benefits received from the project.173

         A recent cost allocation decision, ODEC v. FERC, is particularly relevant in this proceeding. In

         ODEC, the Court vacated a Commission Order that accepted a single zone cost allocation method

         as unjust and unreasonable - the same method that would apply to projects approved through



         173
            See, e.g., KN Energy, Inc. v. FERC, 968 F.2d 1295, 1300 (D.C. Cir. 1992)(At its core, the cost causation principle
         requires that “all approved rates reflect to some degree the costs actually caused by the customer who must pay
         them.”); Illinois Commerce Commission v. FERC, 576 F.3d 470, 477-478 (7th Cir. 2009); El Paso Elec. Co. v. FERC,
         832 F.3d 495, 505 (5th Cir. 2016); Transmission Planning and Cost Allocation by Transmission Owning and
         Operating Public Utilities, Order No. 1000, 136 FERC ¶ 61,051 at P 622 (2011), order on reh’g, Order No. 1000-A,
         139 FERC ¶ 61,132, order on reh’g, Order No. 1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub. Serv.
         Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014).
                                                                 52


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         Attachment M-3. The Court noted that projects known to “produce significant regional benefits

         within the PJM network . . .,” i.e., high-voltage projects, would be categorically prohibited from

         being eligible for cost sharing, and thus, the cost allocation method was unjust and unreasonable.174

         The Court stated that “the cost-causation principle prevents regionally beneficial projects from

         being arbitrarily excluded from cost sharing – a necessary corollary to ensuring that the costs of

         such projects are allocated commensurate with their benefits.” 175

                     LS Power offered ample evidence that there will be projects identified through the new

         Attachment M-3 process that will have significant regional benefits. First, LS Power provided an

         analysis of 19 previously-approved Supplemental Projects that were put forward to address

         Transmission Facilities reaching the end of their useful life.176 The analysis demonstrated that the

         19 end of life projects have significant regional benefits.177 The DFAX portion of the cost

         allocation method found 100% of the costs being misallocated for three projects. For three other

         projects, the DFAX portion of the cost allocation method resulted in roughly 80% of the costs

         being misallocated. By way of comparison, for the Element-Cunningham project, one of the

         projects at issue in ODEC v. FERC, the complaining transmission owner received 47% of the

         benefits.178 For the other project at issue, the Cunningham-Dooms project, the complaining

         transmission owner received 43% of the benefits of the project.179 Just two project examples, both

         high voltage transmission projects resulting from local planning criteria, led to the vacatur of the



         174
               ODEC v. FERC, 898 F.3d at 1260.
         175
               Id. at 1263.
         176
               Exhibit A of LS Power Limited Answer.
         177
               Id.
         178
               ODEC v. FERC, 898 F.3d 1254 at 1261.
         179
               Id.
                                                             53


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         cost allocation provisions for the entire category of Form No. 715 projects. The Commission

         ignored the 10 examples presented in the record with even greater misallocation than the two

         examples from ODEC vs. FERC. Together, the 19 projects total $779,000,000 and more than half,

         $393,000,000, would be reallocated to other zones under the regional cost allocation methodology.

         If the Commission requires further evidence, protestors also pointed to the forty-four projects that

         PJM had to reallocate following the Commission’s Order on Remand from ODEC v. FERC, many

         of which were also related to aging infrastructure needs.180 The Commission’s failure to address

         arguments and substantial evidence of the misallocation of transmission costs is arbitrary and

         capricious.

                     In addition, a review of the new project categories and consideration of the types of projects

         that would be approved under the new categories demonstrates that the TO Proposal is not just,

         reasonable or compliant with Order No. 1000 because there is not a just and reasonable cost

         allocation method applicable to the EOL projects under the existing PJM Tariff.

                     Incidental Increase. The definition of Incidental Increase gives each PJM TO discretion to

         determine what is an Incidental Increase, which could result in high voltage transmission

         replacements through, for instance, updating “Transmission Owner design standards.” As

         discussed above, the Commission has found that higher voltage transmission facilities are known

         to have “significant regional benefits” and as such should be eligible for regional cost allocation. 181

         Yet, under the Incidental Increase definition, the Transmission Facility would be categorically

         excluded from regional cost allocation contrary to ODEC v. FERC.182 Similarly, an in-kind


         180
            See LS Power Protest at 37-38 (citing PJM Interconnection, L.L.C., Compliance Filing, Docket No. ER18-680,
         Attachment A (filed on June 1, 2020)); New Jersey Board of Public Utilities Protest at 13-15.
         181
               ODEC v. FERC, 898 F.3d at 1260-61.
         182
               Id. at 1261.
                                                              54


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         replacement of a substation also could be categorized as an Attachment M-3 Project because it

         may have only an Incidental Increase. In-kind replacements of substations, however, are eligible

         for regional cost allocation under Section 1.5.8(p) of the Operating Agreement and as Form No.

         715 projects. The Commission should not have ignored this contradiction in cost allocation

         methodologies.

                    Asset Management Project. The definition of an Asset Management Project is even

         broader in scope than the definition of Incidental Increase and may include infrastructure security

         projects and system reliability projects.183 There is no record evidence in this proceeding that

         infrastructure security projects and system reliability projects only benefit the zone where the

         project is located. Accordingly, the Commission's refusal to address the cost allocation issues

         results in a methodology found to be unjust and unreasonable. 184

                    Attachment M-3 Projects. Attachment M-3 Projects under Part (i) of the definition clearly

         have regional benefits as it is “an Asset Management Project that affects the connectivity of

         Transmission Facilities that are included in the Transmission System, affects Transmission Facility

         ratings or significantly changes the impedance of Transmission Facilities.”185




         183
            For instance, there is an ongoing PJM stakeholder process to address additional CIP 14 Projects that could be
         regionally allocated and regional planned. A broad reading of Asset Management Projects qualifying under the second
         prong of Asset Management definition along with Attachment M-3 Definition (i) could result in regionally-beneficial
         Asset Management/ Attachment M-3 Projects with Incidental Increase from advancing under Attachment M-3, but
         limited to local cost allocation.
         184
               ODEC v. FERC, 898 F.3d at 1260-61.
         185
            Transmission Facilities is defined by the PJM Operating Agreement as: “facilities that: (i) are within the PJM
         Region; (ii) meet the definition of transmission facilities pursuant to FERC's Uniform System of Accounts or have
         been classified as transmission facilities in a ruling by FERC addressing such facilities; and (iii) have been
         demonstrated to the satisfaction of the Office of the Interconnection to be integrated with the PJM Region transmission
         system and integrated into the planning and operation of the PJM Region to serve all of the power and transmission
         customers within the PJM Region.”
                                                                  55


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                    It also is possible that there could be the replacement of transmission lines operating at 765

         kV, which would clearly have significant regional benefits under ODEC v. FERC.186 The

         examples in Exhibit A of the LS Power Limited Answer also show that there are projects driven

         by the need to replace aging infrastructure that benefit more than one transmission zone.187

                    Part (iii) of the definition of Attachment M-3 Project is a catch all phrase that includes “any

         other expansion or enhancement of Transmission Facilities that is not excluded from this

         Attachment M-3 under any of clauses (1) through (5) of section (a).” The definition essentially

         limits regional cost allocation to only projects that result from clauses (1) through (5) of section

         (a) of the Applicability Section. There is no evidence in this proceeding that only those projects

         under Attachment M-3 Project (iii) have regional benefits. The definition also leaves open the

         possibility that there are projects planned by PJM pursuant to criteria not listed in clauses (1)

         through (5) of the Applicability Section that are not eligible for regional cost allocation. 188

                    EOL Need. While the preceding definitions are broad and encompass projects with

         regional benefits, the definition of EOL Needs is unreasonably limited. An EOL Need is defined

         as “a need to replace a transmission line between breakers operating at or above 100 kV or a

         transformer, the high side of which operates at or above 100 kV and the low side of which is not

         connected to distribution facilities, which the Transmission Owner has determined to be near the

         end of its useful life, the replacement of which would be an Attachment M-3 Project.” Under the


         186
               898 F.3d at 1260-61.
         187
            For example, a future replacement of the AEP Kammer-Mountaineer 765kV line was shown to have local benefits
         of only 16.75 percent to the local AEP Zone under the new Attachment M-3 Project (i) definition, but 100% cost
         allocation to AEP zone. The other free-riding zones would be APS (5.77%), ATSI (21.63%), BGE (5.33%),
         DAYTON (3.35%), DEOK (13.23%), DL (8.53%), DVP (15.50%), EKPC (5.25%), OVEC (.32%), PEPCO-SMECO
         (4.34%).
         188
            For instance, a future proposal could put PJM in charge of planning a new category of projects, such as a new
         category of public policy projects, but those projects would not be eligible for regional cost allocation because they
         are not planned pursuant to clauses (1) through (5) of section (a). See LS Power Protest at 23-24.
                                                                  56


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         TO Proposal, a PJM TO identifies its EOL Needs and provides a list of its EOL Needs to PJM.

         PJM may determine during a regional planning cycle that there is a substantial overlap between an

         EOL Need and a “PJM Planning Criteria Need” or that a Required Transmission Enhancement

         would more efficiently or cost-effectively address the EOL Need. PJM conducts regional planning

         “for the enhancement and expansion of the Transmission Facilities . . . in the PJM Region.” 189

         Transmission Facilities are defined in the Operating Agreement and the definition is not limited to

         the facilities defined in EOL Needs. The definition of EOL Needs therefore limits, without

         explanation, projects that could otherwise be eligible for regional cost allocation, including some

         Form No. 715 projects. The definition also excludes without explanation substations, a category

         of projects that are currently eligible for regional cost allocation. 190     Had the Commission

         considered the record evidence demonstrating that the TO Proposal would categorically and

         arbitrarily prohibit from regional cost allocation projects with regional benefits, it undoubtedly

         would have rejected the proposal.

                    The Commission’s failure to consider the record evidence demonstrating that the TO

         Proposal would categorically and arbitrarily prohibit from regional cost allocation projects with

         regional benefits is arbitrary and capricious.

                    I.       The August 11 Order’s failure to adjudicate the Motion to Consolidate Docket
                             Nos. ER20-2046 and ER20-2308 Is Arbitrary, Capricious, and Does Not
                             Reflect Reasoned Decision-making. (Statement of Error #12)

                    On July 6, 2020, the Load Group filed a protest to the PJM Transmission Owners’ June 12

         filing.      In their protest, the Load Group included a Motion to Consolidate and asked the

         Commission to consolidate the TO Proposal in Docket No. ER20-2046 with the Joint Stakeholder


         189
               Operating Agreement at Section 1.1 of Schedule 6.
         190
               LS Power Protest at 49.
                                                                   57


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         Proposal in ER20-2308.191 The Load Group explained that consolidation is appropriate where the

         proceedings involve common issues of law and fact.192

                     On July 21, 2020, the TOs filed an answer to the protests, comments, motion for

         consolidation, and requests for additional procedures.                 In their Answer, the TOs expressly

         answered the Load Group’s Motion to Consolidate. 193 The TOs argued that the motion should be

         denied and the “fact that a proposal to amend the Operating Agreement is also pending before the

         Commission at the same time does not demand consolidation of the two dockets.” 194

                     On July 31, 2020, the Load Group filed a Motion for Leave to Answer and Answer to the

         Transmission Owners’ Answer to the Load Group’s Protest. In their July 31 Answer, the Load

         Group reiterated their request for the Commission to consolidate Docket Nos. ER20-2046 and

         ER20-2308 if the Commission does not outright reject the TOs’ June 12 filing in ER20-2046.195

                     The Load Group’s Motion to Consolidate, the TOs’ July 21 Answer requesting denial of

         that motion, and the Load Group’s July 31 Answer created a dispute and controversy that was ripe

         for consideration and adjudication by the Commission. In the August 11 Order, the Commission

         indicated it accepted all the answers in this proceeding, which includes the PJM TOs’ July 21

         Answer and the Load Group’s July 31 Answer. 196 However, the August 11 Order did not even

         acknowledge the pending Motion to Consolidate and associated dispute, let alone adjudicate the




         191
               See Load Group Protest, Docket No. ER20-2046, at 39-40.
         192
           See id. at 40 (citing Cal. Indep. Sys. Op. Corp., 94 FERC ¶ 61,147 at 61,558 (2001); Pacific Gas & Elec. Co., 106
         FERC ¶ 61,036 at P 20 (2004); Seminole Elec. Coop., Inc., 149 FERC ¶ 61,210 at P 29 (2014)).
         193
               PJM Transmission Owners July 21 Answer, Docket No. ER20-2046, at 56-58.
         194
               Id. at 57.
         195
               See Load Group July 31 Answer, Docket No. ER20-2046, at p. 3.
         196
            August 11 Order at P 77 (accepting all answers otherwise prohibited because they assisted the Commission in its
         decision-making process).
                                                                 58


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         Motion to Consolidate. Such failure to engage the Motion to Consolidate is arbitrary and

         capricious and does not reflect reasoned decision-making.197 To avoid such an arbitrary and

         capricious decision, the Commission must consider all important aspects of a problem at issue198

         and respond meaningfully to the arguments raised before it.199 Here, the Commission did not

         merely overlook an insignificant argument; the August 11 Order entirely failed to adjudicate a

         contested motion that raised important procedural issues regarding the underlying proceeding and

         a closely related proceeding.

                    The August 11 Order’s unstated rejection of the Motion to Consolidate Docket Nos. ER20-

         2046 and ER20-2308 is unjust and unreasonable because it fails to account for the practical

         consequences of not consolidating the two proceedings. Acceptance of the TO Proposal in Docket

         No. ER20-2046 constitutes a tacit endorsement of procedural gaming by the TOs. As explained

         in this proceeding and in Docket ER20-2308, a group of Joint Stakeholders developed a proposal

         during the PJM stakeholder process (which resulted in PJM’s July 2 filing of the Joint Stakeholder

         Proposal) well in advance of the TOs’ unilateral decision to make their June 12 filing.200

         Stakeholders developed an End of Life (“EOL”) problem statement and issue charge before the

         PJM Planning Committee in the fall of 2019.201 As stakeholders closed in on finalizing their EOL


         197
           See Midwest ISO Transmission Owners v. FERC, 373 F.3d 1361, 1368 (D.C. Cir. 2004) (quoting Motor Vehicle
         Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, (1983)).
         198
            See e.g. Motor Vehicle Mfs. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983) (“an agency rule would be arbitrary
         and capricious if the agency . . . failed to consider an important aspect of the problem); NorAm Gas Transmission Co.
         v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1998) (“In previous cases, we have rejected agency orders when the
         Commission neglected to deal with an important part of the problem…”) (citing Laclede Gas Co. v. FERC, 997 F.2d
         936, 945-48 (D.C. Cir. 1993)); North Carolina Util. Comm'n v. FERC, 42 F.3d 659 (D.C. Cir. 1994).
         199
               TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1, 12 (D.C. Cir. 2015).
         200
            See LS Power Protest, Docket No. ER20-2046 at 9; Load Group July 31, 2020 Answer Docket No. ER20-2046 at
         3-4.
         201
             See Supporting Comments of the Joint Stakeholders, Docket No. ER20-2308, at 2-3 (filed July 23, 2020). The
         history of the Joint Stakeholder Proposal is described on pages 2-7 of the Joint Stakeholders’ supporting comments in
         Docket No. ER20-2308.
                                                                  59


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         proposal, the TOs in early May 2020 posted the required 30-day notice to indicate their intent to

         modify PJM Tariff Attachment M-3 to instead address EOL planning issues unilaterally. 202 On

         May 21, 2020, the Joint Stakeholder Proposal was ready for a vote among PJM Members and

         received supermajority support, sending a clear signal where the majority of the stakeholders stood

         with respect to EOL planning issues.203 Despite the May 21 vote on the Joint Stakeholder Proposal,

         the PJM TOs disregarded the PJM stakeholder process and the will of PJM stakeholders and

         proceeded to make their unilateral Section 205 filing on June 12.204 Subsequently, PJM, on behalf

         of a supermajority of PJM stakeholders, submitted the Joint Stakeholder Proposal on July 2, 2020.

         As a result, the Commission received dueling Section 205 filings addressing the same issues

         around EOL planning.

                     Consolidation is appropriate when two proceedings involve common legal issues and facts

         and where “consolidation will ultimately result in greater administrative efficiency.” 205 The

         August 11 Order fails to consider that the proposals in ER20-2046 and ER20-2308 address

         common issues of law and fact. Both Section 205 filings address procedures and planning for

         transmission facilities reaching their end of life.              The TO Proposal proposed revisions to

         Attachment M-3 of the PJM Tariff to identify certain asset management projects and to include

         planning procedures for end of life needs (EOL Needs).206 The Joint Stakeholder Proposal would

         revise the Operating Agreement to require PJM TOs to notify PJM that Transmission Facilities



         202
               Supporting Comments of the Joint Stakeholders, Docket No. ER20-2308, at 5-6.
         203
               Id. at 5-6.
         204
               Id. at 6-7.
         205
             San Diego Gas & Elec. Co. v. Sellers of Energy and Ancillary Services et al. , 135 FERC ¶ 61,177, at P 45 (2011)
         (citing e.g., Sw. Power Pool, Inc., 125 FERC P 61,001, at P 26 (2008); Startrans IO L.L.C., 122 FERC P 61,306, at P
         64 (2008); PP&L Resources, Inc., 90 FERC P 61,203, at 61,653 (2000)).
         206
               See August 11 Order at P 1.
                                                                 60


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         were reaching the end of operational life, and then require PJM to determine how to address needs

         arising from those Transmission Facilities through PJM’s regional planning process. 207 Both

         filings address whether a large and growing group of transmission projects in the PJM region “will

         be regionally or locally planned, will be open to competition or reserved to incumbent

         Transmission Owners, and [whether PJM] will use an open, transparent and coordinated process

         or a balkanized, piecemeal and opaque process.” 208

                    Both filings also raise important legal procedural issues governing the overlapping FPA

         Section 205 filing rights in two separate PJM governing documents – the Tariff and the Operating

         Agreement. Acceptance of the TOs’ Section 205 filing endorses the development of unilateral

         proposals without any regard to the stakeholder process and will further encourage preemptive

         unilateral filings by the TOs, resulting in a proliferation of dueling Section 205 proposals. As in

         this proceeding, parties that are unhappy with the proposals flowing out of the stakeholder process

         will “race to FERC” to ensure their proposal is filed in advance of any stakeholder proposal with

         which they disagree (even if the stakeholder proposal received supermajority support) in order for

         the 60-day clock in FPA Section 205 to run out first on their proposal. 209 As a result, affected

         parties (including the Commission) will need to incur more time and resources attendant to

         litigating two separate, but related Section 205 proposals.

                    Despite their common facts and legal issues, the August 11 Order concluded that “the Joint

         Stakeholders’ proposal is not before us here and does not alter the FPA section 205 filing rights of




         207
               See LS Power Protest, Docket No. ER20-2046 at 9.
         208
               Supporting Comments of the Joint Stakeholders, Docket No. ER20-2308, at 7.
         209
            Section 205(d) requires 60 days’ notice prior to a change in rates. 16 U.S.C. § 824d(d). Section 205(g) allows a
         proposed rate to take effect after 60 days even if the Commission does not issue an order on that proposed rate. 16
         U.S.C. § 824d(g).
                                                                  61


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         the PJM TOs.”210 The August 11 Order asserted that the Commission need not determine in this

         proceeding whether a filing in another proceeding is more just and reasonable. 211 However, the

         Joint Stakeholders were not asking FERC to compare the June 12 filing to the Joint Stakeholder

         Proposal and select the more just and reasonable proposal.212 Moreover, the Joint Stakeholder

         Proposal was before the Commission, and although the proposal was filed in a separate docket,

         the Commission was briefed and made aware of the Joint Stakeholder Proposal in this docket. The

         August 11 Order failed to acknowledge that Docket Nos. ER20-2046 and ER20-2308 address

         common facts (i.e., EOL planning), common legal substantive issues (i.e., the scope and authority

         of PJM’s planning compared to the Transmission Owners), and common legal procedural issues

         (i.e., the overlapping Section 205 rights in PJM governing documents – the Tariff and the

         Operating Agreement).            Narrowly addressing only the TO Proposal and disregarding the

         information on the Joint Stakeholder Proposal in ER20-2308 (that was raised in ER20-2046) was

         unjust and unreasonable. Because “the Commission does not regulate in a vacuum,” 213 the August

         11 Order’s failure to adjudicate the Motion to Consolidate and consider the impact of the Joint

         Stakeholder Proposal in ER20-2308 on the Transmission Owners’ proposal in ER20-2046 was

         arbitrary and capricious and does not reflect reasoned decision-making.

                     J.       The Commission ignored record evidence demonstrating that the TO Proposal
                              conflicts with and limits the RTEP in the Operating Agreement. (Statement of
                              Error #13)

                     Parties in the proceeding raised detailed concerns over the ways in which the new

         definitions and procedures in the TO Proposal infringe on, and conflict with, the definitions and


         210
               August 11 Order at P 87 (emphasis added).
         211
               Id. at P 87.
         212
               Id. at P 87.
         213
               See ISO New England Inc., at 158 FERC ¶ 61,138 at P 68 (2017).
                                                                 62


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         regional planning procedures set forth in the Operating Agreement. Nowhere in the August 11

         Order did the Commission address the specific concerns raised by parties regarding the conflicts

         between the revised Attachment M-3 and the existing regional planning process. Instead, the

         Commission summarily concluded in Paragraph 88 that the revisions are just and reasonable and

         “provide[] greater transparency.”214 It is arbitrary for the Commission to ignore the arguments and

         evidence before it and to not address the issues raised by protestors.215

                     The revisions included in Attachment M-3 shift authority to determine the scope of regional

         planning from PJM and the Members Committee to the PJM TOs. Although the regional planning

         process exists in the Operating Agreement, the new definitions in Attachment M-3 essentially

         write into the PJM Tariff limitations on the regional planning process. This in turn limits

         stakeholders’ ability to revise the regional planning process while at the same time increasing the

         PJM TOs’ authority over the regional planning process. 216 This is a significant issue and one the

         Commission should have addressed in the August 11 Order as the consolidation of authority over

         regional planning is contrary to Commission precedent. 217

                     The most egregious revision is the new Applicability section, which significantly expands

         the PJM transmission owners’ authority over transmission planning in the PJM region and conflicts

         with Order No. 1000.218 Under section (a)(iii), the PJM transmission owners “shall be responsible

         for planning and constructing . . . any other transmission expansion or enhancement of

         Transmission Facilities that is not planned by PJM to address . . .” the criteria listed in clauses (1)


         214
               August 11 Order at P 88.
         215
            NorAm Gas Transmission Co. v. FERC, 148 F.3d 1158, 1165 (D.C. Cir. 1990)(The Court remanded a Commission
         decision where the Commission failed to give serious consideration to an argument raised in the proceeding.).
         216
               See, e.g., Load Group Protest at 15.
         217
               See, e.g., Order No. 1000 at PP 6-9; Order No. 2000, 89 FERC ¶ 61,284 at P 485.
         218
               See, e.g., LS Power Protest at 53.
                                                                   63


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         through (5) of section (a). In addition, the new phrase, “PJM Planning Criteria Need,” similarly

         restricts the criteria that PJM can plan to planning for needs “. . . other than those reserved to each

         Transmission Owner in accordance with section (a).”

                     Prior to the Attachment M-3 revisions, PJM stakeholders, through the Members

         Committee, could revise the regional planning process to include new categories of projects and

         planning criteria, the only limitation being the definition of Supplemental Projects. Now the

         Members Committee cannot propose revisions without the PJM transmission owners making

         corresponding changes to the Applicability Section of Attachment M-3.219 If the Members

         Committee were to create a new category of regional projects without corresponding changes to

         the PJM Tariff, the PJM transmission owners could assert responsibility over the construction and

         operation of the new projects by way of Attachment M-3, section (a)(iii).

                     The TO Proposal also gives the PJM TOs a new veto right over projects planned to meet

         Form No. 715 criteria. The veto right does not exist in Schedule 6 of the Operating Agreement.

         Specifically, section (d) of Attachment M-3, coupled with the definition of Form No. 715 EOL

         Planning Criteria, give the PJM TOs the right to veto end of life projects planned by PJM pursuant

         to the regional planning process. Attachment M-3 achieves this by allowing TOs to determine that

         a PJM identified project does not address the “projected EOL need . . . [and] propose a project to

         address the Form No. 715 EOL Planning Criteria.” Thus, while section (a)(2) of Attachment M-3

         appears to grant PJM the ability to plan for an individual transmission owner’s Form No. 715

         planning criteria, it is limited by reference to section (d) of Attachment M-3. Those additional




         219
               See, e.g., LS Power Protest at 58-60.
                                                             64


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         procedures allow TOs to reject the PJM planned project as not meeting the TO’s need and to

         instead plan a project to meet the Form No. 715 need outside the PJM planning process. 220

                     Prior to the TO Proposal, the Operating Agreement contained all the relevant transmission

         planning definitions, including the definition of Supplemental Projects. Going forward, the

         relevant planning definitions will be split between the Operating Agreement and Attachment M-

         3. This creates inconsistencies between the two. For instance, the Operating Agreement defines

         “Local Plan” and includes procedures for review of Local Plans by the PJM Transmission

         Expansion Advisory Committee (“TEAC”) as well as for the incorporation of Local Plans in the

         RTEP. Under the definition of Local Plan, only Supplemental Projects and Subregional RTEP

         projects are included in the Local Plan. There is no reference to Attachment M-3 Projects or Asset

         Management Projects.              Yet section (c) of Attachment M-3 requires the TEAC to review

         Attachment M-3 Projects and anticipates the inclusion of Attachment M-3 Projects in the Local

         Plan, which is then integrated with the RTEP. Similarly, section (d) provides for how and to what

         extent that EOL planning can be incorporated into PJM’s regional planning process. This is a

         prime example of how Attachment M-3 extends beyond “local” planning and reaches into the

         regional planning process in conflict with the Operating Agreement terms.221 Furthermore, the

         Operating Agreement is also explicit that the PJM Board does not approve Supplemental Projects

         or the Local Plan, however, it is unclear whether the PJM Board must approve Asset Management

         Projects and/or Attachment M-3 Projects as there is no exception for these projects in the Operating

         Agreement.




         220
               Id. at 26-27.
         221
               See, e.g., LS Power Protest at 25.
                                                             65


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                     There also is inconsistency over whether PJM or PJM TOs are responsible for planning for

         “system reliability.”222          Supplemental Projects are defined as “a transmission expansion or

         enhancement that is not required for compliance with the following PJM criteria: system reliability

         . . ..”223 In contrast, Attachment M-3 section (a)(3) narrowly defines PJM’s responsibility for

         reliability planning to “NERC Reliability Standards (which includes Applicable Regional Entity

         reliability standards).”224 The Commission’s failure to address these and other inconsistencies

         between the Operating Agreement and the TO Proposal Attachment M-3 is arbitrary and

         capricious.

                     K.       The Commission erred in finding that including End of Life Criteria in Form
                              No. 715 is voluntary. (Statement of Error #14)

                              1.       The PJM TOs do not have unilateral filing rights to revise the regional
                                       planning process for Form No. 715 Projects.

                     As an initial matter, and as discussed in Section B.1. above, the PJM TOs do not have

         exclusive unilateral filing rights to file changes to the scope and procedures for regional

         transmission planning in PJM, which includes planning for Form No. 715 projects. There is no

         question that PJM, not the TOs, is responsible for planning for Form No. 715 criteria. Both the

         Operating Agreement and PJM Tariff acknowledge that PJM is responsible for planning for an

         individual transmission owner’s Form No. 715 criteria. 225 The Commission also acknowledged in

         Paragraph 86 of the August 11 Order that the PJM TOs “did transfer to PJM the responsibility to

         plan for criteria included in Form No. 715 . . ..” 226



         222
               See, e.g., LS Power Protest at 47-48.
         223
               Operating Agreement, Definitions S-T.
         224
               Operating Agreement, Definition Section, Supplemental Project [emphasis added].
         225
               Operating Agreement, Schedule 6, Section 1.2.
         226
               August 11 Order at P 86.
                                                                  66


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                     The TO Proposal, however, alters PJM’s planning for Form No. 715 criteria by reserving

         to the PJM TOs the authority to veto PJM’s regional solution.227 Specifically, Attachment M-3

         section (d) coupled with the definition of Form No. 715 EOL Planning Criteria, gives the PJM

         TOs the right to determine that a PJM identified project does not address the “projected EOL need

         . . . [and] propose a project to address the Form No. 715 EOL Planning Criteria.” Thus, while

         Attachment M-3 section (a)(3) appears to recognize PJM’s authority to plan to Form No. 715

         planning criteria, it is limited by reference to section (d) of Attachment M-3. In other words,

         Attachment M-3 allows TOs to reject the PJM planned project as not meeting the TO’s need and

         to instead plan a project to meet the Form No. 715 need outside the PJM planning process. 228 The

         Commission had no basis to accept the TO Proposal’s alteration of planning for Form No. 715

         criteria, as the PJM TOs do not have authority to do so.

                              2.        The August 11 Order misinterpreted the Form No. 715 filing
                                        requirement as voluntary, thereby creating cost allocation issues.

                     The Commission concluded without discussion that a TO “may voluntarily include end of

         life criteria in its Form No. 715.” 229 The Commission provided no citation for this broad

         determination.230 Nothing in the statute underlying Form No. 715 nor the rulemaking creating the

         Form No. 715 filing requirement supports the Commission’s determination that compliance with

         Form No. 715 is voluntary. Nor is there any precedent to support the conclusion that a TO may

         choose to simply not include planning criteria in its mandatory Form No. 715 filing if the criteria




         227
               Attachment M-3 (d)(2).
         228
               See, e.g., LS Power Protest at 26-27.
         229
               August 11 Order at P 86.
         230
               Pub. L. No. 102-486, 106 Stat. 2276 (1992) codified at 16 U.S.C. § 824l.
                                                                    67


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         meet the requirements set forth in Order No. 558.231 The Court’s discussion in ODEC v. FERC,

         addressed this very issue, finding that the Form No. 715 filing is not voluntary:

                    Moreover, Form 715 is not limited to projects with purely local benefits. To the
                    contrary, it implements Section 213(b) of the Federal Power Act, which requires
                    utilities to inform FERC of all “potentially available transmission capacity and
                    known constraints.” 16 U.S.C. § 824l(b). In addition, under FERC regulations,
                    utilities must submit “a detailed description of the transmission planning reliability
                    criteria used to evaluate system performance.” New Reporting Requirement
                    Implementing Section 213(b) of the Federal Power Act, 58 Fed. Reg. 52,420,
                    52,421 (Oct. 8, 1993) (Form No. 715 Reporting Requirement Order); see 18 C.F.R.
                    § 141.300(a). Neither the statute nor the implementing regulation limits reportable
                    criteria to those involving projects with only local benefits.232

         The August 11 Order is a wholesale departure from the requirements of set out in the Form No.

         715 Reporting Requirement Order and the ODEC. Without explanation of that departure, the

         August 11 Order is arbitrary and capricious.233 Because the requirements of Form No. 715

         substantially conflict with the Tariff revisions in the TO Proposal, the Commission’s failure to

         substantively address the issue does not comport with reasoned decision-making.

                    The Commission also failed to address the evidence included in LS Power’s Protest

         establishing that end of life criteria must be included in a transmission owner’s Form No. 715. 234

         LS Power’s evidence demonstrated not only the substance of the Form No. 715 requirement as it


         231
               Order No. 558, 58 FR 52420.
         232
               ODEC v. FERC, 898 F.3d at 1262-1263.
         233
             5 U.S.C. § 706(2)(A); Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981-982
         (2005)(“Unexplained inconsistency is. . . a reason for holding an interpretation to be an arbitrary and capricious change
         from agency practice under the Administrative Procedure Act.”) (citing Motor Vehicle Mfrs. Ass’n v. State Farm Mut.
         Auto. Ins. Co., 436 U.S. 29, 46-57 (1983)); United Mun. Distribs. Group v. FERC, 732 F.2d 202, 210 (D.C. Cir. 1984)
         (“[A]n agency must conform to its prior practice and decisions or explain the reason for its departure from such
         precedent.”); Greater Boston Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir. 1970) (“[A]n agency changing
         its course must supply a reasoned analysis indicating that prior policies and standards are being deliberately changed,
         not casually ignored, and if an agency glosses over or swerves from prior precedents without discussion it may cross
         the line from the tolerably terse to the intolerably mute.”); CPUC v. FERC, 879 F.3d 966, 978 (9th Cir. 2018) (The
         Commission “merely asserted that it had the authority to grant incentive adders. . . . . . . the orders on review were a
         departure from Order 679’s terms and the longstanding policy it incorporates. Without any acknowledgment or
         explanation of that departure, the orders were arbitrary and capricious.”).
         234
               LS Power Protest at 61-63.
                                                                   68


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         relates to the new Attachment M-3 project categories, but also the impact of the failure of some

         transmission owners to include end of life criteria in their Form No. 715 filings. The consequence

         of the Commission’s determination that it is at the discretion of individual PJM TOs whether to

         include end of life planning criteria in their Form No. 715 filing goes to the very heart of the D.C.

         Circuit’s determination in ODEC v. FERC. In that case, the Court found that end of life projects

         included in Form No. 715 criteria have regional benefits and cannot be arbitrarily excluded from

         regional cost allocation. Yet, the August 11 Order allows an identical category of projects, planned

         for identical reasons, and known to result in the need for regionally beneficial projects, 235 to be

         treated differently for cost allocation purposes.236

                              3.      The Commission erred in approving revisions to Attachment M-3
                                      section (d) that impose new procedures for regional planning contrary
                                      to Order No. 1000.

                    The TO Proposal impermissibly includes planning procedures for Form No. 715 projects.

         As noted above, the regional planning process is located in the Operating Agreement, controlled

         by the Members Committee. The TO Proposal revises PJM’s regional planning process by

         introducing new procedures that PJM must undertake while conducting the regional planning

         process.237 The TO Proposal adds a requirement that in planning for Form No. 715 Projects, PJM

         must consider a TO’s “EOL Needs” and engage in a back and forth over the potential solution. It


         235
               See PJM Interconnection, L.L.C., Compliance Filing, Docket No. ER18-680, Attachment A (filed on June 1, 2020).
         236
            LS Power at 37. LS Power included in its Protest an example of a project located in two zones but treated differently
         for purposes of cost allocation. Dominion is responsible for a 3-mile portion of the Doubs-Goose Creek 500 kV
         transmission line as the end of life need was part of Dominions Form No. 715 criteria. At the same time, APS (FE)
         has included its 15-mile portion of the Doubs-Goose Creek 500 kV as a Supplemental Project. Both pieces are the
         same end of life project. The Dominion portion will be cost allocated region-wide based on its regional benefits
         because Dominion’s end of life criteria are filed with its Form No. 715 criteria. The APS section will be cost allocated
         only to the zone in which the project is located because it is a Supplemental Project, notwithstanding that its benefits
         are identical.
         237
            See Attachment M-3, Applicability (a)(iii)(2). “2. Individual Transmission Owner planning criteria as filed in
         FERC Form No. 715 and posted on the PJM website, provided that the Additional Procedures for the Identification
         and Planning of EOL Needs, set forth in section (d), shall apply, as applicable.”
                                                                   69


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         also authorizes the TOs to reject the PJM planned solution, an opportunity that does not currently

         exist in Operating Agreement Schedule 6. Revised Attachment M-3 leaves open the possibility

         that a project planned to address a transmission owner’s Form No. 715 planning criteria is

         categorized as an Asset Management Project. Although Attachment M-3 section (a)(2) purports

         to exclude criteria filed in a PJM TO’s Form No. 715, the procedures in Attachment M-3 section

         (d) apply. As explained above, the procedures in Attachment M-3 section (d) give the PJM TOs

         the right to reject the PJM planned solution. If a TO rejects the PJM planned solution, then it could

         propose an alternative local solution that meets the definition of an Asset Management Project.

         This result is inconsistent with the Operating Agreement, which requires PJM plan to meet Form

         No. 715 criteria, including the EOL criteria that some PJM TOs include in their Form No. 715.

         This simply does not square with the Commission’s determination that the revisions to Attachment

         M-3 are exclusively the authority of the PJM TOs and the Commission offers no explanation for

         the inconsistency. The Commission’s failure to address this inconsistency renders the decision

         arbitrary and capricious.




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         IV.    CONCLUSION

                WHEREFORE, for the foregoing reasons, the Protesting Parties request that the

         Commission grant rehearing of the August 11 Order and reject the TO Proposal in its entirety.

                                                  Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

                I hereby certify that I have on this date caused a copy of the foregoing document to be

         served on each person included on the official service list maintained for this proceeding by the

         Commission’s Secretary, by electronic mail or such other means as a party may have requested,

         in accordance with Rule 2010 of the Commission’s Rules of Practice and Procedure, 18 C.F.R. §

         385.2010.

         Dated this the 10th day of September, 2020.


                                              /s/ Lisa G. McAlister
                                                 Lisa G. McAlister




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                                    UNITED STATES OF AMERICA
                                           BEFORE THE
                             FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                               )                Docket No. ER20-2046
                                                                   )
         American Transmission Systems,                            )
           Incorporated, et al.                                    )

                                       REQUEST FOR REHEARING
                                               OF THE
                                 NEW JERSEY BOARD OF PUBLIC UTILITIES

                 Pursuant to Section 313(a) of the Federal Power Act (“FPA”) and 18 C.F.R. § 385.713, the

         New Jersey Board of Public Utilities (“Board” or “NJBPU”) requests rehearing of the Order of the

         Federal Energy Regulatory Commission (“Commission”) accepting the PJM Transmission

         Owners’ end of useful life planning revisions to the PJM Open Access Transmission Tariff

         (“Tariff”), which issued on August 11, 2020 in the above-referenced proceeding.1                        The

         Commission’s acceptance of the Tariff revisions is unjust and unreasonable for violating the Order

         890 transparency principles. Moreover, the Commission’s decision to ignore cost concerns is

         reversible error. Finally, the Commission erred for arbitrarily applying reasoning from California

         to the PJM region. On these grounds, the Board now requests rehearing of the Order.

             I. BACKGROUND
                 On June 12, 2020, PJM Interconnection, L.L.C. (“PJM”) filed proposed amendments to the

         PJM Open Access Transmission Tariff (“Tariff”) on behalf of the PJM Transmission Owners,

         pursuant to section 2105 of the Federal Power Act (“FPA”). 2 The Tariff amendments expand

         Attachment M-3 to include a new class of projects broadly referred to “asset management



         1
           PJM Interconnection, L.L.C., Order Accepting Proposed Tariff Revisions, 172 FERC 61,136 (Aug. 11, 2020)
         (“August 11 Order”).
         2
           American Transmission Systems, Inc., Amendments to Attachment M-3 to the PJM Interconnection, L.L.C. Open
         Access Transmission Tariff, Docket No. ER20-2046 (June 12, 2020) (“TO Filing”).



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         projects,” which include projects at the end of their useful service lives – or end of life projects.

         The Board protested those Tariff amendments and filed an Answer urging the Commission to

         reject the amendments on the grounds that they hindered competition, lacked the required level of

         transparency under Order 890, and violate the cost-causation principle.3 Notwithstanding the

         Board’s protest and others, the Commission issued an Order accepting the Transmission Owners’

         revisions as just and reasonable on August 11, 2020.4

                 The Board is deeply troubled by rising transmission costs, driven by unchecked

         Transmission Owner investment.            Across the entire PJM region, spending on transmission

         infrastructure has steadily increased since 2006.5 After transmission spending remained between

         approximately $1.7 billion and $3.7 billion from 2005 to 2009, it rose to approximately $8 billion

         in 2018.6 Transmission owners invested approximately $69.6 billion in baseline and supplemental

         projects from 2005 through 2019.7 New Jersey has been particularly hard hit. For example, over

         a third of PJM’s total $55.6 billion in transmission between 2015 and 2019 occurred in New

         Jersey.8 PSE&G ratepayers faced transmission rate increases of 124% from 2013 to 2017.9 Those

         transmission rates have only continued to rise in the last three years. 10 So far in 2020, baseline




         3
           American Transmission Systems, Inc., and PJM Interconnection, L.L.C., Motion to Leave for Answer and Answer
         of the New Jersey Board of Public Utilities, Docket No. ER20-2046 (Aug. 5, 2020); American Transmission
         Systems, Inc., and PJM Interconnection, L.L.C., Protest of the New Jersey Board of Public Utilities, Docket No.
         ER20-2046 (July 6, 2020).
         4
           Order Accepting Proposed Tariff Revisions,
         5
           August 11 Order.
         6
           See 2019 Project Statistics, Transmission Expansion Advisory Committee, at 3 (May 12, 2020).
         7
           Calculation done using data from 2019 Project Statistics, Transmission Expansion Advisory Committee, at 3 (May
         12, 2020).
         8
           Calculations done using data from PJM Interconnection L.L.C., PJM Update to ISAC at 14 (Jan. 28, 2019).
         9
           Summary of PJM Transmission Rates and Charges, Ken Rose for American Municipal Power (Sep. 21, 2017), at
         19, available at: https://www.amppartners.org/Assets/AMP_Rose_Transmission.pdf.
         10
            See 2020 Transmission Formula Rate Annual Update, PSE&G (Jan. 17, 2020), available at
         https://www.pjm.com/markets-and-operations/billing-settlements-and-credit/formula-rates.aspx.



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         and Supplemental Projects are nearly neck-to-neck, with $31.1 billion approved in baseline

         projects and $28.8 billion approved in Supplemental Project planning.11

                 A significant portion of this transmission spending is tied to Supplemental Projects,

         planned under Attachment M-3 of the Tariff. In New Jersey, PSE&G alone has been responsible

         for more than $9 billion in investment in Supplemental Projects.12 Across the entire PJM zone in

         2019, $3.4 billion was invested in Supplemental Project planning while only $1.46 billion was

         invested in baseline project planning.13 The prior year, those numbers were $6.7 billion compared

         to a mere $2.1 billion.14 An important trend that is visible in that data from 2005 to 2019 is that

         in 2005, in general, more baseline projects than Supplemental Projects were planned; whereas by

         2019, that was, in general, reversed.15 By increasing the number of projects planned under

         Attachment M-3, these numbers will continue to be skewed. This means that, in general, fewer

         projects are likely to be planned with the benefit of competition.

                 The sheer number of transmission projects that will be affected by these end of life Tariff

         revisions makes this matter especially important. By PJM’s own admission, end of life projects in

         2019 represented approximately a quarter of all projects driven by Transmission Owner criteria

         violations.16 PJM has reported that “[t]wo-thirds of all system assets in PJM are more than 40

         years old; over one-third are more than 50 years old.”17 In 2019, EOL end of life conditions formed

         the largest category of spending for supplemental projects within PJM.18 That same year, spending


         11
            See “Annual Approved RTEP Projects,” Planning, found at: https://pjm.com/planning.aspx.
         12
            Inquiry Regarding the Commission’s Electric Transmission Incentives Policy, Initial Comments of the New Jersey
         Board of Public Utilities and the New Jersey Division of Rate Counsel at 17, Docket No. PL19-3 (June 26, 2019)
         (“Initial Comments of the NJ Parties”).
         13
            2019 Project Statistics, Transmission Expansion Advisory Committee, at 3 (May 12, 2020).
         14
            2019 Project Statistics, Transmission Expansion Advisory Committee, at 3 (May 12, 2020).
         15
            See, generally, See Mark Sims, PJM RTEP Update at 2, PJM (May 18, 2020).
         16
            See Mark Sims, PJM RTEP Update, PJM (May 18, 2020).
         17
            PJM, The Benefits of the PJM Transmission System at 5 (April 16, 2019), available at https://www.pjm.com/-
         /media/about-pjm/newsroom/fact-sheets/the-value-of-transmission.ashx.
         18
            PJM Transmission Expansion Advisory Committee, 2019 Project Statistics at 6 (May 12, 2020).



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         for supplemental projects within PJM was approximately $3.4 billion, compared with $1.45 billion

         for baseline projects.19 Of the money spent on baseline projects, $243 million was to address end

         of life criteria violations in 2019.20 These numbers speak for themselves.



              II. SPECIFICATION OF ERRORS
                  Pursuant to Rule 713(c)(1) of the Rules of Practice and Procedure of the Commission,21

         the Board submits the following specification of errors with respect to the August 11 Order:

              1. The August 11 Order unjustly and unreasonably fails to uphold Order 890 planning
                 principles.

              2. The Commission erred for failing to address cost concerns.

                      1. The Commission may not simply ignore the cost consequences of a Section 205
                         Filing.

                      2. It is arbitrary and capricious to violate the cost causation principle.


              3. The August 11 Order arbitrarily applies reasoning in the California Orders to PJM.

              III. STATEMENT OF ISSUES
                  Pursuant to Rule 713(c)(2) of the Rules of Practice and Procedure of the Commission,22

         the Board submits the following statement of issues with respect to the August 11 Order.


              1. Whether the August 11 Order unjustly and unreasonably fails to uphold Order 890 planning
                 principles. Preventing Undue Discrimination & Preference in Transmission Serv., Order
                 No. 890, 118 FERC ¶ 61,119 (“Order No. 890”); Monongahela Power Company, 162 ¶
                 61,129 (2018); Monongahela Power Company, et al., 156 FERC 61,134 (2016). PJM
                 Interconnection, L.L.C., 171 FERC ¶ 61,212 (2020).

              2. Whether the Commission erred in failing to consider cost. PPL Wallingford Energy LLC
                 v. FERC, 419 F.3d 1194, 1198 (D.C. Cir. 2005). Penn. Water & Power Co. v. Federal
                 Power Com., 343 U.S. 414, 418 (1952).

         19
            Id. at 3.
         20
            Id. at 5.
         21
            18 C.F.R. § 385.713(c)(1).
         22
            18 C.F.R. § 385.713(c)(2).



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                      1. Whether the Commission may simply ignore the cost consequences of a Section
                         205 Filing. 16 U.S.C. § 824d. Ala. Elec. Coop. Inc. v. FERC, 684 F.2d 20, 27 (D.C.
                         Cir. 1982). El Paso Elec. Co. v. FERC, 832 F.3d 495, 502 (5th Cir. 2016). Old
                         Dominion Elec. Coop. v. FERC, 898 F.3d 1254, 1256 (D.C. Cir. 2018).

                      2. Whether it is arbitrary and capricious to violate the cost causation principle.
                         Transmission Planning and Cost Allocation by Transmission Owning and
                         Operating Public Utilities, Order No. 1000, 136 FERC ¶ 61,051 (2011). Old
                         Dominion Elec. Coop. v. FERC, 898 F.3d 1254, 1256 (D.C. Cir. 2018).

              3. Whether the Commission arbitrarily applied reasoning in the California Orders to PJM.
                 Southern California Edison Co., 164 FERC ¶ 61,160 at P 37 (2018); Cal. Pub. Util.
                 Comm’n v. Pac. Gas & Elec. Co., 164 FERC ¶ 61,161, at P 68 (2018).

              IV. REQUEST FOR REHEARING
                 The Board seeks rehearing of the August 11 Order on the following grounds. First, the

         August 11 Order unjustly and unreasonably fails to uphold Order 890 transparency principles.

         Second, the Commission erred in failing to consider cost. Finally, the Commission arbitrarily

         applied the California Orders to PJM.

                      1. The August 11 Order Unjustly And Unreasonably Fails To Uphold Order 890
                         Planning Principles.
                 The August 11 Order unjustly and unreasonably fails to uphold Order 890 transmission

         planning principles. The transmission planning principles established in Order 890 were meant to

         reduce “‘opportunities for undue discrimination in transmission planning’ by requiring

         transmission providers to facilitate the timely and meaningful input and participation of

         stakeholders in the development of transmission plans.”23                In Order 890, the Commission

         concluded that inadequate transparency increases opportunity for undue discrimination.24 Indeed,


         23
            Monongahela Power Co., 162 FERC ¶ 61,129 at P 5 (2018) (“Monongahela”), order on reh’g and compliance,
         164 FERC ¶ 61,217 (2018) (citations omitted).
         24
            Preventing Undue Discrimination & Preference in Transmission Serv., Order No. 890, 118 FERC ¶ 61,119 at P
         51 (“Order No. 890”), order on reh’g, Order No. 890-A, 121 FERC ¶ 61,297 (2007), order on reh’g, Order No. 890-
         B, 123 FERC ¶ 61,299 (2008), order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on clarification, Order
         No. 890-D, 129 FERC ¶ 61,126 (2009).



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         the Commission has acknowledged that “[w]e cannot rely on the self-interest of transmission

         providers to expand the grid in a non-discriminatory way.”25 Thus, the transparency principles are

         intended to avoid “after-the-fact” litigation by stakeholders over transmission projects that were

         developed and planned without their input.26

                 The Commission has previously deemed inadequately transparent planning processes to be

         unjust and unreasonable and ordered that they be modified.27 In 2016, the Commission issued a

         Show Cause Order regarding PJM’s planning process for Supplemental Projects because of

         concerns that, as implemented, the transmission planning process was not providing stakeholders

         with opportunity for early and meaningful input and participation in the transmission planning

         process, as required by Order No. 890.28 The Commission specifically identified evidence that,

         in violation of those transparency principles, (1) a significant amount of planning was occurring

         before the need for projects was brought to PJM and (2) PJM Transmission Owners were

         identifying and developing projects before stakeholders had an opportunity to meaningfully

         participate in the process.29 In that Order, the Commission ordered the PJM Transmission Owners

         to demonstrate their compliance with Order 890 transparency principles.30

                 Upon review of the Transmission Owners’ compliance filing, the Commission found that

         the current process was unjust and unreasonable because it violated Order 890’s coordination and

         transparency principles.31 Specifically, the Commission found that the Transmission Owners were

         providing planning information such as models, criteria, and assumptions too late in the planning


         25
            Order 890 at P 422.
         26
            Order 890 at P 471.
         27
            Monongahela at P79-82 (2018) (finding that the local planning process for supplemental projects failed to provide
         stakeholders with meaningful opportunities to participate, and therefore violated FERC’s transmission planning
         principles).
         28
            See, e.g., Monongahela Power Company, et al., 156 FERC 61,134 at P 1 (2016) (“Show Cause Order”).
         29
            Show Cause Order at P 13.
         30
            Id.
         31
            Monongahela at P 70.



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         process.32 As a result, stakeholders were unable to meaningfully comment on these projects before

         significant steps had been taken toward developing Supplemental Projects.33 When it comes to

         aging infrastructure, the Commission rejected the PJM Transmission Owners’ argument that

         transparency is pointless when the “most obvious solution” is to rebuild aging infrastructure.34

         The Commission held that Order 890’s transparency principles are, in part, to prevent undue

         discrimination by ensuring that stakeholders can advocate for alternative solutions – not merely

         replacement of aging infrastructure by the incumbent utility.35

                 Here, the Transmission Owners’ amendments unjustly and unreasonably violate Order

         890’s transparency requirements. Stakeholders are unable to meaningfully participate in end of

         life planning and are unable to fully evaluate alternative solutions. In fact, much like the

         Commission identified in its 2016 Show Cause Order, a significant amount of planning for end of

         life projects occurs before stakeholders are able to participate. The Transmission Owners are only

         required to share end of life lists with PJM.36 The Candidate Need Lists, which identify end of life

         needs expected in the next five years, are not directly provided to state commissions.37 Moreover,

         stakeholders’ ability to replicate results will likely be impacted because they will not be presented

         with the same information as PJM. Despite these plain issues with the Transmission Owners’

         proposed amendments, the Commission accepted them.

                 The lack of transparency over end of life projects, which constitute a major portion of all

         transmission planning in the PJM region, is contrary to the Commission’s goals of utilizing Order




         32
            Monongahela at P 77.
         33
            Monongahela at P 77.
         34
            Monongahela at P 79.
         35
            Monongahela at P 79.
         36
            TO Filing, Exhibit A, Attachment M-3 § (d)(2)(i).
         37
            The Transmission Owners require state commissions to seek the information from them, which indicates an
         unwillingness to directly provide transparency to state commissions.



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         890 to ensure that alternative solutions are explored and avoiding after-the-fact litigation.38 As

         stakeholder participation is necessary to create the best solution, the lack of stakeholder input will

         hinder the development of best solutions and increase after-the-fact litigation for a large number

         of projects. That result is unjust and unreasonable. Ensuring that alternative solutions are fully

         explored lies at the heart of Order 890’s transmission planning principles; and it is critically

         important when such a large percentage of transmission projects will be affected.

                    In conclusion, the Commission’s finding that Order 890’s transparency principles do not

         apply is unjust and unreasonable because it will result in increased discrimination by hindering

         meaningful participation, and thereby increase after-the-fact litigation, for a significant number of

         projects. The Commission’s explanation that this result is somehow offset by the “incidental”

         expansions caused by these projects – which in and of itself is questionable – is simply not a good

         enough reason for allowing such broad discrimination. For that reason, the Commission must

         grant rehearing of the Order.

                         2. The Commission Erred In Failing To Consider Cost.
                    The Commission erred by failing to consider cost. With respect to cost allocation, the

         August 11 Order finds “that issue is beyond the scope of this proceeding,” because the proposed

         Tariff revisions “propose no changes to cost allocation.”39 As described below, this decision is

         arbitrary and capricious, as it ignores the rate consequences of the tariff revisions, and because it

         will result in rates that violate the cost-causation principle.




         38
              Monogahela at P 79 (“[T]he most obvious solution will not always be the best solution.”).
         39
              Order accepting Tariff Revisions at P 91.



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                                       1. The Commission May Not Simply                          Ignore      the   Cost
                                          Consequences of a Section 205 Filing.
                  The Commission may not simply ignore the cost consequences of a party’s section 205

         filing. The Commission has a statutory obligation to ensure that transmission rates remain just,

         reasonable, and not unduly discriminatory or preferential.40 Here, the Commission held that cost

         allocation was beyond the scope of this proceeding, because “[t]he proposed revisions to

         Attachment M-3 include no revisions to Schedule 12 of the PJM Tariff, and propose no changes

         to cost allocation.”41 The cost consequences of the instant filing cannot be summarily overlooked

         where the Commission is required to accept just and reasonable rates. For this reason, this

         Commission must grant rehearing.

                 The Federal Power Act gives FERC jurisdiction over facilities that transmit electricity in

         interstate commerce.42 The FPA requires the Commission to ensure that utilities charge “just and

         reasonable” rates.43 “Consideration of costs reflects the understanding that reasonable regulation

         ordinarily requires paying attention to the advantages and disadvantages of agency decisions.”44

         Where the Commission ignores the cost consequences of its actions, thereby inadvertently creating

         unjust and unreasonable rates, it acts in an arbitrary and capricious manner.45

                 The Commission did not address cost, finding it to be beyond the scope of the proceeding.46

         This failure to address cost was in error.            While the Commission correctly noted that the

         amendments do not expressly amend Schedule 12 of the tariff, dealing with cost allocation, the




         40
            16 U.S.C. § 824d.
         41
            August 11 Order at P 91.
         42
            See 16 U.S.C. § 824(b)(1); 42 U.S.C. § 7172(a)(1)(B).
         43
            16 U.S.C. § 824d(a).
         44
            Michigan v. EPA, 576 U.S. 743, 753 (2015) (emphasis in original); see also Advanced Energy Mgmt. All. v.
         FERC, 860 F.3d 656, 662 (D.C. Cir. 2017) (approving of the Commission’s consideration of costs of a new capacity
         market).
         45
            See El Paso Elec. Co. v. FERC, 832 F.3d 495, 502 (5th Cir. 2016); see also ODEC, 898 F.3d at 1260.
         46
            August 11 Order at P 91.



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         Commission cannot simply ignore the fact that the amendments to attachment M-3 will surely

         increase the number of projects that will receive local cost allocation pursuant to Schedule 12.

         That effect impacts ratepayers in the State of New Jersey.                    That effect is something the

         Commission is obligated to consider.47

                 It is more than a little arbitrary and capricious for the Commission to assume that because

         the M-3 revisions make no changes to Schedule 12, there are no cost consequences to the M-3

         tariff revisions. For instance, the Metuchen-Trenton-Burlington, a Form 715 transmission project,

         line project’s costs have been allocated according to DFAX methodology, rather than to the local

         zone.48 Under the Attachment M-3 amendments, the MTB project, because it addresses end of life

         criteria, could be planned in accordance with other supplemental projects under Attachment M-3

         and subsequently have costs allocated locally, an outcome that this Commission has already

         rejected.49 A project planned under Attachment M-3 receives local cost allocation under Schedule

         12 of the tariff. Projects which could be planned under the revisions to attachment M-3, however,

         are not limited to projects that solely benefit local customers, and may have regional benefits.

         While the M-3 amendments do not change the underlying costs of projects, they have an impact

         on who will ultimately pay for those projects.                The Commission must consider the cost

         consequences of accepting the M-3 amendments, or must explain why it is not required to do so.

                 While the Attachment M-3 amendments may not amend Schedule 12 on their face, they

         clearly control which type of cost allocation under Schedule 12 a project will receive. Therefore,

         the cost implications of the amendments cannot be fairly divorced from the amendments to M-3




         47
            See Pub. Serv. Comm’n v. FERC, 397 F.3d 1004, 1008 (D.C. Cir. 2005) (The Commission is obliged to “respond
         meaningfully to the arguments raised before it.”).
         48
            PJM Interconnection L.L.C., 171 FERC ¶ 61,013 at P 18 (2020).
         49
            Id. at P 20 (rejecting arguments raised by Long Island Power Authority and Neptune that the MTB project should
         not be included in regional cost allocation as it was needed solely to address PSEG end of life criteria).



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         planning criteria. The D.C. Circuit has stated that nothing prevents PJM from “amending the

         Tariff, the Operating Agreement, or PJM's own planning criteria . . . to establish appropriate end-

         of-life planning criteria . . .as long as any amendment respects the cost-causation principle.”50 In

         ODEC, the D.C. Circuit recognized a fact that the Commission has chosen to ignore in its August

         11 order: changes to planning criteria, including end-of-life planning criteria, may have some

         effect on costs, and because of that, any changes to planning criteria must comport with the cost-

         causation principle. The Commission’s refusal to even consider the cost consequences of the

         Attachment M-3 amendments was arbitrary and capricious. The amendments to Attachment M-3

         will localize costs of addressing the region-wide problem of transmission assets reaching their end

         of life. Facilities that confer regional benefits are just as susceptible to wear out over time, and

         require replacement, as facilities that confer local benefits. By accepting the tariff amendments,

         the Commission has decided to localize costs to address end of life concerns, no matter who

         benefits; this is arbitrary and capricious, and violates the cost-causation principle.

                    As protesters stated in this proceeding, end of life considerations are likely to be the main

         driver of transmission development within the PJM zone for the foreseeable future.                     The

         Attachment M-3 amendments localize costs for transmission projects. The Commission was

         obligated to consider this likely outcome under the just and reasonable standard. Because the

         Commission failed to consider the cost consequences of the Tariff amendments, its Order is

         arbitrary and capricious.




         50
              Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254, 1263 (D.C. Cir. 2018) (hereinafter ODEC).



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                                      2. It Is Arbitrary and Capricious To Violate The Cost Causation
                                         Principle.
                 It is arbitrary and capricious to violate the cost-causation principle. Among other things,

         Order 1000 requires regulated entities to include in their tariffs a formula “for allocating the costs

         of new transmission facilities selected in the regional transmission plan for purposes of cost

         allocation.”51 The formula must satisfy the Commission’s six general cost allocation principles,

         the first of which is the cost-causation principle.52 Order 1000’s fifth cost allocation principle

         requires a transparent method for determining benefits and identifying beneficiaries for both

         regional and interregional cost allocation.53 Each RTO, as a regulated entity, must show, through

         compliance filings, that its cost-allocation formula is consistent with the six specified principles.54

                 PJM maintains a Regional Transmission Expansion Plan (“RTEP”) that complies with

         Order 1000’s regional planning requirements and cost allocation principles.55 Schedule 12 of the

         Tariff addresses the cost-sharing requirements of Order 1000.56 RTEP planning includes reliability

         projects such as Regional Facilities, Necessary Lower Voltage Facilities, and Lower Voltage

         Facilities. PJM allocates cost responsibility for these RTEP projects pursuant to the cost allocation

         method that the Commission accepted as part of PJM’s Order 1000 compliance filing.57 For

         Regional Facilities and Necessary Lower Voltage Facilities, costs are allocated pursuant to a

         hybrid cost allocation method in which 50% of the costs of those facilities are allocated on a load-

         ratio share basis and the other 50% are allocated to the transmission owner zones based on the




         51
            Order 1000 at P 558.
         52
            Id. at P 622.
         53
            Id. at P 665-67.
         54
            Id. at P 603.
         55
            Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254, 1256 (D.C. Cir. 2018) (hereinafter ODEC).
         56
            Id. at 1256.
         57
            PJM Interconnection L.L.C., 171 FERC ¶ 61,013 at P 7 (2020).



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         solution-based distribution factor (DFAX) method.58 All of the costs of Lower Voltage Facilities

         are allocated using the solution-based DFAX method.59

                 In ODEC, the court considered the Commission’s approval of a Tariff amendment

         requiring allocation of the costs of projects included in the RTEP to satisfy only Form 715 planning

         criteria entirely to the zone of the utility that filed the criteria, “[n]otwithstanding” other provisions

         of Schedule 12.60 Petitioners challenged that the cost allocation violated the cost causation

         principle established in Order 1000.61 The court agreed, finding the Commission acted arbitrarily

         and capriciously in approving the tariff amendment.62 The court remanded the matter for further

         proceedings.63

                 On remand, the Commission rejected the tariff amendment.64 PJM was ordered to make a

         compliance filing and to refile assignment of cost responsibility for Form No. 715 projects that

         were previously allocated incorrectly.65 In its compliance filing, PJM explained that it reviewed

         the cost responsibility assignments for 443 Form No. 715 transmission projects and determined

         that revisions were needed for only 44 projects, the so-called “Remand Projects.”66 Of the 44

         Remand Projects, PJM proposed cost allocation revisions for 11 Regional Facilities and 33 Lower

         Voltage Facilities.67 Included among those projects is the PSE&G MTB Project. In that filing,

         the MTB project’s cost was allocated using the DFAX methodology, not exclusively to the local




         58
            Id.
         59
            Id.
         60
            ODEC 898 F.3d at 1259.
         61
            Id.
         62
            Id. at 1264
         63
            Id.
         64
            PJM Interconnection, L.L.C., 168 FERC ¶ 61,133 at P 2 (2019).
         65
            Id. at P28-31.
         66
            PJM Interconnection L.L.C., 171 FERC ¶ 61,013 at P 12 (2020).
         67
            Id. at 13.



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         zone comprised of solely New Jersey ratepayers.68 The Commission accepted the compliance

         filing, including the reallocation of the MTB Project.69 The Remand Projects were thus reallocated

         to align with the cost causation principle of Order 1000.

                 In ODEC, the court was noted that individual market participants “should not have free

         rein to impose unjustified costs on an entire region by unilaterally adopting overly ambitious

         planning criteria.”70 However, the court explained that its holding did not prevent PJM or its

         member utilities “from amending the Tariff, the Operating Agreement, or PJM's own planning

         criteria to address any problem of prodigal spending, to establish appropriate end-of-life planning

         criteria, or otherwise to limit regional cost sharing—as long as any amendment respects the cost-

         causation principle.”71

                 Here, the Commission has accepted Tariff revisions that will likely result in local cost

         allocation for some high-voltage transmission systems and, in doing so, has violated its own

         principle. The August 11 Order offers no reasoned explanation for this departure, instead simply

         asserting that cost is outside the scope of the proceeding. That assertion is an inadequate

         explanation. The Commission has an obligation to ensure just and reasonable rates. The

         Commission cannot simply ignore the cost-causation principle because the cost impact results

         from amendments to planning criteria, rather than cost allocation criteria. The amendments to

         attachment M-3 will have some impact on costs, and the Commission must consider those impacts,

         as required by the D.C. Circuit’s opinion in ODEC. An agency may not change its policy without

         supplying a reasoned analysis indicating why such a policy change is appropriate.72 In the August



         68
            See id. at P 18.
         69
            Id. at P 37.
         70
            ODEC, 898 F.3d at 1263
         71
            Id. (emphasis added).
         72
            See Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983).



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         11 Order, the Commission ignored the cost-causation principle altogether, without explaining why

         consideration of the principle was not required. The Commission’s lack of analysis on the cost-

         causation issue represents an arbitrary change in from the policy reaffirmed by the D.C. Circuit in

         ODEC. Accordingly, the Commission must grant rehearing and dispose of the cost issues raised

         by the M-3 amendments.

                      3. The Commission Acted Arbitrarily In Applying Reasoning In the California
                         Orders To The PJM Zone.
                 The Commission acted arbitrarily in applying the reasoning from the California Orders73

         to the instant proceeding. The California Orders were limited by their terms to the facts before

         the Commission in those proceedings. With respect to PG&E, the Commission found that “the

         specific asset management projects and activities at issue here do not, as a general matter, expand

         the CAISO grid,” and the Commission came to this conclusion “[b]ased on the information in the

         record.”74 In that same proceeding, the Commission rejected arguments analogizing the CAISO

         participating transmission owners’ asset management activities to Commission orders regarding

         PJM’s Supplemental project planning.75 “In light of the specific criteria set forth in the definition

         of ‘Supplemental Projects in the PJM Tariff, there is no basis to conclude that based on their

         definition, Supplemental Projects are in many cases identical to asset management projects.”76

         Finally, in the Southern California Edison order, the Commission was unpersuaded by arguments

         that various practices in other non-CAISO ISOs/RTOs would be instructive.77



         73
            So. Cal. Edison Co., 164 FERC ¶ 61,160, at P 33 (2018); Cal. Pub. Util. Comm’n v. Pac. Gas & Elec. Co., 164
         FERC ¶ 61,161, at P 68 (2018) [hereinafter California Orders]
         74
            Cal. Pub. Util. Comm’n v. Pac. Gas & Elec. Co., 164 FERC ¶ 61,161, at P 67 (2018); see also id. at P 73 (“the
         scope of this proceeding is therefore limited to whether PG&E’s self-approval of asset management projects and
         activities violates the requirements of Order No. 890.”).
         75
            Id. at P 51-59.
         76
            Id. at P 59.
         77
            See Southern California Edison Co., 164 FERC ¶ 61,160 at P 37 (2018) (“We are also not persuaded by
         Protesters’ assertions that the transmission planning practices in other ISOs/RTOs are instructive here.”)



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                 In the California Orders, the Commission made clear that its determination was based on

         specific facts before it in those proceedings. The Commission even rejected analogies to practices

         in other RTOs/ISOs.78 Quite ironically, the Commission now relies on the California Orders in

         justifying amendments to the PJM Tariff.79 In the California Orders, this Commission rejected

         comparisons to practices in the PJM territory as inapposite to the CAISO territory. 80 The

         Commission specifically stated that there is no basis to conclude that, based on the definition of

         PJM Supplemental Projects, they are identical to asset management projects. Turning that holding

         on its head, and importing reasoning from the CAISO territory into the PJM zone without further

         analysis as to why such an importation was proper, was an arbitrary and capricious.81

                 Even if the California Orders did apply to the instant case, they do not support the

         definition of “Asset Management Project” adopted by the PJM Transmission Owners because the

         projects at issue here are not the same as the projects at issue in California. The Transmission

         Owner Proposal defines “Asset Management Project” as “any modification or replacement of a

         Transmission Owner’s Transmission Facilities that results in no more than an Incidental Increase

         in transmission capacity undertaken to perform maintenance, repair and replacement work, to

         address an EOL need, or to effect infrastructure security, system reliability, and automation

         projects the Transmission Owner undertakes to maintain its existing electric transmission system

         and meet regulatory compliance requirements.”82                   The participating transmission owners’



         78
            See id.; see also PG&E, 164 FERC ¶ 61,161 at P 51-59.
         79
            August 11 Order at P 84 (“Our interpretation of the CTOA is consistent with the California Orders”).
         80
            See Southern California Edison Co., 164 FERC ¶ 61,160 at P 37 (2018) (“We are also not persuaded by
         Protesters’ assertions that the transmission planning practices in other ISOs/RTOs are instructive here.”); see also
         PG&E, 164 FERC ¶ 61,161 at P 51-59.
         81
            See State Farm 463 U.S. at 42 (an agency has an obligation to supply a reasoned analysis for a change in policy);
         see also Nat’l Fed’n of Fed. Employees v. FLRA, 412 F.3d 119, 124-25 (D.C. Cir. 2005) (remanding Federal Labor
         Relations Authority decision because agency had departed from its precedent regarding interference with the right to
         assign work); City of Anaheim v. FERC, 723 F.2d 656, 659 (9th Cir. 1984).
         82
            TO Proposal, Exhibit A at ¶ (b)(1).



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         definition of “asset management” to refer to the “activities to maintain a safe, reliable, and

         compliant grid, based on existing grid topology” and that they include “operations and

         maintenance and capital expenditure activities.”83 The term “Incidental Increase” in the TO

         Proposal includes an increase in transmission “achieved by advancements in technology and/or

         replacements consistent with current Transmission Owner design standards, industry standards,

         codes, laws or regulations which is not reasonably severable from an Asset Management

         project.”84

                    The definition included in the Transmission Owner proposal is broader than the specific

         asset management activities at issue in the California Orders. In other words, while the words in

         the California Orders and the PJM Transmission Owners’ proposal are the same, the concepts and

         projects at issue are different. The Commission’s analysis equates PJM supplemental projects

         with CAISO asset management activities, a position it has rejected in the past, based solely on

         what the project is called, rather than the technical realities of each project. Giving the same

         project a different name, and then according that same project different legal treatment as a result

         of the different name is arbitrary and capricious. For instance, a specific asset management project

         under the Attachment M-3 amendments may add capacity to the grid based so long as this is based

         on Transmission Owner design standards. These standards are developed exclusively by the

         applicable Transmission Owner, without any review or regulatory oversight.                 Updated

         Transmission Owner design standards could become a vehicle for substantial increases in grid

         capacity, which would be shielded from the regional planning process and stakeholder oversight

         by virtue of the Transmission Owner definition of “Incidental Increase” and “Asset Management

         Project.”       In the California Orders, the Commission was confronted with specific asset


         83
              PG&E, 164 FERC ¶ 61,161 at P 46.
         84
              TO Proposal, Exhibit A at ¶ (b)(3).



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         management activities discussed at a technical conference, and concluded that these did not

         increase the capacity of the grid beyond an incidental amount. The M-3 amendments here, while

         borrowing a term from the California Orders, include a much broader definition of asset

         management project. Accordingly, the Commission’s discussion of a differently-defined category

         of asset management activities in the CAISO zone is inapposite to this specific Transmission

         Owner proposal.

                The Commission’s reliance on the California Orders’ reasoning to support the expanded

         M-3 definitions was arbitrary and capricious because, while it uses the same words, the concepts

         and projects are completely different. By analogizing to orders which, by their terms, are

         inapplicable to PJM or other RTO territories, and furthermore include a definition of “asset

         management” unique to the CAISO territory, the Commission committed reversible error. For this

         reason, the Commission must grant rehearing and explain why it has decided to apply the

         California Orders to PJM despite the terms of those orders limiting their applicability.




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                                                CONCLUSION

                For the foregoing reasons, the Board urges the Commission to grant its application for

         rehearing, and to reject the M-3 amendments.



         NEW JERSEY BOARD OF PUBLIC                 GURBIR S. GREWAL
         UTILITIES                                  ATTORNEY GENERAL OF NEW JERSEY

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                                           CERTIFICATE OF SERVICE
                I hereby certify that, on this 10th day of September 2020, I have caused the foregoing
         document to be served upon each party designated on the official service list compiled by the
         Secretary in this proceeding, by email.
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                                      173 FERC ¶ 62,021
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION


         PJM Interconnection, L.L.C.                                 Docket No. ER20-2046-001
         American Transmission Systems Inc.


               NOTICE OF DENIAL OF REHEARINGS BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                            (October 13, 2020)

                Rehearings have been timely requested of the Commission’s August 11, 2020
         order issued in this proceeding. PJM Interconnection, L.L.C., 172 FERC ¶ 61,136
         (2020). In the absence of Commission action on the requests for rehearing within
         30 days from the date the requests were filed, the requests for rehearing (and any timely
         requests for rehearing filed subsequently)1 may be deemed denied. 16 U.S.C. § 825l(a);
         18 C.F.R. § 385.713; Allegheny Def. Project v. FERC, 964 F.3d 1 (D.C. Cir. 2020)
         (en banc).

                As provided in 16 U.S.C. § 825l(a) (2018), the rehearing requests of the above-
         cited order filed in this proceeding will be addressed in a future order to be issued
         consistent with the requirements of such section. As also provided in 16 U.S.C. § 825l(a),
         the Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper. As provided in 18 C.F.R. § 385.713(d), no answers to the
         rehearing request will be entertained.




                                                       Nathaniel J. Davis, Sr.,
                                                         Deputy Secretary.




                1
                 See San Diego Gas & Elec. Co. v. Sellers of Energy & Ancillary Servs. Into
         Mkts. Operated by Cal. Indep. Sys. Operator & Cal. Power Exch., 95 FERC ¶ 61,173
         (2001).



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                       IN THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT

          American Municipal Power, Inc.                 )
          Delaware Division of the Public Advocate       )
          District of Columbia Office of the People’s    )
             Counsel                                     )                      20-1449
                                                                       Case No. ______
          Indiana Office of Utility Consumer             )
             Counselor                                   )
          LSP Transmission Holdings II, LLC              )
          New Jersey Division of Rate Counsel            )
          Old Dominion Electric Cooperative              )
          PJM Industrial Customer Coalition              )
          The Public Utilities Commission of Ohio’s      )
             Office of the Federal Energy Advocate       )
          West Virginia Consumer Advocate                )
                            Petitioners,                 )
                                 v.                      )
          Federal Energy Regulatory Commission,          )
                           Respondent.                   )

                                    PETITION FOR REVIEW

                Pursuant to Section 313 of the Federal Power Act, 16 U.S.C. § 825l, and Rule

         15(a) of the Federal Rules of Appellate Procedure (“FRAP”), American Municipal

         Power, Inc., Delaware Division of the Public Advocate (“Delaware Public

         Advocate”), District of Columbia Office of the People’s Counsel (“DC OPC”),

         Indiana Office of Utility Consumer Counselor (“Indiana OUCC”), LSP

         Transmission Holdings II, LLC (“LS Power”), New Jersey Division of Rate Counsel

         (“NJ Rate Counsel”), Old Dominion Electric Cooperative (“ODEC”), PJM

         Industrial Customer Coalition (“PJMICC”), The Public Utilities Commission of

         Ohio’s Office of The Federal Energy Advocate, and West Virginia Consumer


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         Advocate (collectively, “Petitioners”) hereby petition the Court for judicial review

         of the following orders issued by Respondent, Federal Energy Regulatory

         Commission (“Commission”):

                1. PJM Interconnection, L.L.C. and American Transmission Systems Inc.,
                   Order Accepting Proposed Tariff Revisions, Docket No. ER20-2046-000,
                   172 FERC ¶ 61,136 (August 11, 2020) (“August 11 Order”); and

                2. PJM Interconnection, L.L.C. and American Transmission Systems Inc.,
                   Notice of Denial of Rehearings by Operation of Law and Providing for
                   Further Consideration, Docket No. ER20-2046-001, 173 FERC ¶ 62,021
                   (October 13, 2020) (“Denial Notice”).

         Copies of the August 11 Order and the Denial Notice are attached hereto as Exhibit

         A and Exhibit B, respectively. The jurisdiction and venue of this Court are

         established by Federal Power Act (“FPA”) Section 313(b), 16 U.S.C. § 825l(b).

                In the August 11 Order, the Commission accepted a filing by PJM

         Interconnection, L.L.C. (“PJM”) and certain PJM Transmission Owners to revise

         Attachment M-3 of the PJM Open Access Transmission Tariff (“Tariff”) to include

         new categories of transmission projects and new planning procedures.            On

         September 10, 2020, Petitioners timely sought rehearing of the Commission’s

         August 11 Order. On October 13, 2020, the Commission issued the Denial Notice

         indicating that the Petitioners’ request for rehearing may be deemed denied by

         operation of law. See 16 U.S.C. § 825l(a) (2018); 18 C.F.R. § 385.713 (2019);




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         Allegheny Def. Project v. FERC, 964 F.3d 1 (D.C. Cir. 2020) (en banc). Petitioners

         are thereby aggrieved by the Commission’s rulings in the above-referenced orders.

                                      Respectfully submitted,


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                                      173 FERC ¶ 61,225
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION


         Before Commissioners: James P. Danly, Chairman;
                               Neil Chatterjee and Richard Glick.


         PJM Interconnection, L.L.C.                                Docket No. ER20-2046-001
         American Transmission Systems Inc.


                      ORDER ADDRESSING ARGUMENTS RAISED ON REHEARING

                                       (Issued December 17, 2020)

                 On August 11, 2020, the Commission accepted revisions to Attachment M-3
         of the PJM Interconnection, L.L.C. (PJM) Open Access Transmission Tariff (Tariff)
         to (1) identify and include Asset Management Projects within the existing planning
         procedures of Attachment M-3 of the PJM Tariff, and (2) include procedures for the
         identification and planning for end-of-life (EOL) needs (Attachment M-3 Revisions).1

                The New Jersey Board of Public Utilities (New Jersey Board), parties that
         protested the proposed Attachment M-3 Revisions (collectively, Protesting Parties),2


                1
                   PJM Interconnection, L.L.C., 172 FERC ¶ 61,136 (2020) (August 2020 Order);
         see PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0). PJM filed the
         proposed revisions pursuant to Order. No. 714, on behalf of PJM Transmission Owners,
         as provided by the Consolidated Transmission Owners Agreement (CTOA). See Elec.
         Tariff Filings, 124 FERC ¶ 61,270 (2008) (Ord. No. 714); PJM, Rate Scheds. TOA-42
         § 4.1.3 PJM Tariff (0.0.0) (“Each Party shall transfer to PJM . . . responsibility for
         administering the PJM Tariff”).
                2
                 The Protesting Parties include American Municipal Power, Inc. (AMP), AMP
         Transmission, LLC, Blue Ridge Power Agency, Delaware Division of the Public
         Advocate, District of Columbia Office of People’s Counsel, Indiana Office of Utility
         Consumer Counsel, LSP Transmission Holdings II, LLC, New Jersey Division of Rate
         Counsel, Old Dominion Electric Cooperative, PJM Industrial Customer Coalition, Public
         Power Association of New Jersey, The Public Utilities Commission of Ohio’s Office of
         the Federal Energy Advocate, and West Virginia Consumer Advocate.



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         and Duquesne Light and Power Company (Duquesne) requested rehearing of the
         August 2020 Order.

                Pursuant to Allegheny Defense Project v. FERC,3 the rehearing requests filed in
         this proceeding may be deemed denied by operation of law. However, as permitted by
         section 313(a) of the FPA,4 we are modifying the discussion in the August 2020 Order
         and continue to reach the same result in this proceeding, as discussed below.5

         I.     Background

                A.       Attachment M-3 for Supplemental Projects

                On August 26, 2016, the Commission, pursuant to section 206 of the FPA,6
         established a proceeding to determine whether the PJM Transmission Owners were
         complying with their Order No. 890 obligations related to openness, transparency, and
         information exchange with respect to planning Supplemental Projects.7 On October 25,


                3
                    964 F.3d 1 (D.C. Cir. 2020) (en banc).
                4
                  16 U.S.C. § 825l(a) (“Until the record in a proceeding shall have been filed in
         a court of appeals, as provided in subsection (b), the Commission may at any time, upon
         reasonable notice and in such manner as it shall deem proper, modify or set aside, in
         whole or in part, any finding or order made or issued by it under the provisions of this
         chapter.”).
                5
                  Allegheny Def. Project, 964 F.3d at 16-17. The Commission is not changing
         the outcome of the August 2020 Order. See Smith Lake Improvement & Stakeholders
         Ass’n v. FERC, 809 F.3d 55, 56-57 (D.C. Cir. 2015).
                6
                    16 U.S.C. § 824e.
                7
                   Monongahela Power Co., 156 FERC ¶ 61,134 (2016) (Show Cause Order); see
         Preventing Undue Discrimination & Preference in Transmission Serv., Order No. 890,
         118 FERC ¶ 61,119, at P 444, order on reh’g, Order No. 890-A, 121 FERC ¶ 61,297
         (2007), order on reh’g, Order No. 890-B, 123 FERC ¶ 61,299 (2008), order on reh’g,
         Order No. 890-C, 126 FERC ¶ 61,228, order on clarification, Order No. 890-D,
         129 FERC ¶ 61,126 (2009). A Supplemental Project is defined as a transmission
         expansion or enhancement that is not required for compliance with the following PJM
         criteria: system reliability, operational performance or economic criteria, pursuant to a
         determination by the Office of the Interconnection and is not state public policy project
         pursuant to Operating Agreement, Sched. 6, section 1.5.9(a)(ii). PJM, Intra-PJM Tariffs,
         OA Definitions S – T (17.0.0).



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         2016, PJM and the PJM Transmission Owners, pursuant to section 205 of the FPA,8 filed
         revisions to the PJM Tariff to include Attachment M-3,9 and a revision to Schedule 6 of
         the PJM Amended and Restated Operating Agreement of PJM (Operating Agreement) in
         response to the Show Cause Order.10 On February 15, 2018, the Commission determined
         that the PJM Transmission Owners had not demonstrated that their filing was just and
         reasonable,11 and pursuant to section 206 of the FPA the Commission established a just
         and reasonable set of Tariff provisions for an Order No. 890-compliant Attachment M-3
         planning process. On September 26, 2018, the Commission accepted the Tariff
         provisions for the Attachment M-3 planning process.12

                B.       Attachment M-3 Revisions

                 On June 12, 2020, the PJM Transmission Owners filed the instant Attachment M-3
         Revisions to include additional projects under the planning process described in
         Attachment M-3.13 The PJM Transmission Owners explained that the definition of
         Supplemental Project does not include Asset Management Projects and they made this
         filing to clarify that Asset Management Projects would for the first time be planned
         according to Order No. 890 principles.

                 Specifically, the Attachment M-3 Revisions require each PJM Transmission
         Owner to present its criteria for assessing whether a need exists to replace an existing
         transmission facility for stakeholder input at least annually. The PJM Transmission
          Owners stated that the Attachment M-3 Revisions achieve two goals. First, by
         expanding the scope of the Attachment M-3 process, the PJM Transmission Owners
         stated that the filing will enhance transparency and the opportunity for stakeholder




                8
                    16 U.S.C. § 824d.
                9
                    PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (0.1.0).
                10
                     PJM, Intra-PJM Tariffs, Sched. 6, OA Sched. 6 (0.0.0).
                11
                     Monongahela Power Co., 162 FERC ¶ 61,129 (2018) (Attachment. M-3 Order).
                12
                 Monongahela Power Co., 164 FERC ¶ 61,217 (2018) (Attachment M-3
         Compliance Order).
                13
                   PJM Transmission Owners did not include or modify any Tariff provisions
         related to the cost allocation provisions of Schedule 12 of the PJM Tariff.



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         review of EOL Needs.14 Second, the PJM Transmission Owners stated that the
         Attachment M-3 Revisions will better coordinate the transmission owners’ end of life
         asset management activities with PJM’s planning to address Regional Transmission
         Expansion Plan (RTEP) planning criteria.15 The PJM Transmission Owners noted that
         the filing also increases transparency regarding the process that the PJM Transmission
         Owners use to evaluate
         the need to replace transmission facilities and provides PJM up to five years of projected
         replacements that a Transmission Owner has identified (on a confidential basis).16

                C.       August 2020 Order

                In the August 2020 Order, the Commission accepted the PJM Transmission
         Owners’ Attachment M-3 Revisions based on a finding that the PJM Transmission
         Owners retained responsibilities under the CTOA related to EOL planning.17
         Specifically, the Commission found that:

                         Under the CTOA and the Tariff, the PJM [Transmission
                         Owners] retain all rights that they have not specifically
                         granted to PJM. Under the CTOA, the PJM [Transmission
                         Owners] agree to “transfer to PJM . . . the responsibility to
                         prepare a Regional Transmission Expansion Plan and to

                14
                  EOL Need is defined as a need to replace a transmission line between breakers
         operating at or above 100 kV or a transformer the high side of which operates at or above
         100 kV and the low side of which is not connected to distribution facilities, which the
         Transmission Owner has determined to be near the end of its useful life, the replacement


         of which would be an Attachment M-3 project. PJM, Intra-PJM Tariffs, OATT ATT.
         M-3, OATT Attach. M-3 (1.0.0).
                15
                   RTEP is defined as the plan prepared by the Office of the Interconnection
         pursuant to Operating Agreement, Schedule 6 for the enhancement and expansion of the
         Transmission System in order to meet the demands for firm transmission service in the
         PJM Region. PJM, Intra-PJM Tariffs, OATT Definitions – R - S, OATT Definitions – R
         - S, 23.0.0.
                16
                     PJM Transmission Owners Transmittal at 11.
                17
                  August 2020 Order, 172 FERC ¶ 61,136. The Commission denied a motion to
         dismiss that contended that the Attachment M-3 Revisions should not have been made
         because the PJM Transmission Owners did not adhere to the procedural requirements of
         the CTOA. Id. PP 78-79.



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                         provide information reasonably requested by PJM to prepare
                         the Regional Transmission Expansion Plan and shall
                         otherwise cooperate with PJM in such preparation.” Pursuant
                         to the CTOA, PJM is limited to “[c]onduct[ing] its planning
                         for the expansion and enhancement of transmission
                         facilities.” The PJM [Transmission Owners] specifically

                         retain the right to “maintain” their transmission facilities and
                         generally reserve all rights not specifically granted to PJM.18
                         (Citations omitted)

                The Commission further found:

                         Asset Management Projects do not fit within the categories of
                         projects the CTOAs have transferred to PJM. These projects
                         do not fall under regional planning under the Operating
                         Agreement as they relate solely to maintenance of existing
                         facilities, and they do not “expand” or “enhance” the PJM
                         grid as the CTOA requires for planning transferred to PJM.
                         They are solely projects that maintain the existing
                         infrastructure by repairing or replacing equipment. These
                         projects therefore fall within the category of rights not
                         specifically granted to PJM and therefore reserved to the PJM
                         [Transmission Owners].19 (Citations omitted)

                The Commission found its conclusions consistent with Atl. City Elec. Co. v.
                20
         FERC, which held that “nothing in section 206 sanctions denying petitioners their right
         to unilaterally file rate and term changes.”21 The Commission also found its conclusion

                18
                      August 2020 Order, 172 FERC ¶ 61,136 at P 82.
                19
                   Id. P 83. Asset Management Projects are defined as “any modification or
         replacement of a Transmission Owner’s Transmission Facilities that results in no more
         than an Incidental Increase in transmission capacity undertaken to perform maintenance,
         repair, and replacement work, to address an EOL Need, or to effect infrastructure
         security, system reliability, and automation projects the Transmission Owner undertakes
         to maintain its existing electric transmission system and meet regulatory compliance
         requirements.” PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0),
         § (b) 1.
                20
                     295 F.3d 1, 10 (D.C. Cir. 2002).
                21
                     August 2020 Order, 172 FERC ¶ 61,136 at P 82.



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         consistent with its Southern California Edison Co.,22 and California Public Utilities
         Commission v. Pacific. Gas & Electric Co.23 orders (hereinafter, California Orders).
         The Commission stated that:

                         “[its] interpretation of the CTOA is consistent with the
                         California Orders, in which the Commission concluded that it
                         was appropriate to define “asset management” as activities
                         that “encompass the maintenance, repair, and replacement
                         work done on existing transmission facilities as necessary to
                         maintain a safe, reliable, and compliant grid based on existing
                         topology,” . . . and “that the [Attachment M-3 Revisions] in
                         this proceeding are consistent with the type of projects and
                         activities that the Commission found were appropriately
                         considered transmission owner asset management projects in
                         the California Orders.”24

         II.    Discussion

               As discussed below, we disagree with the arguments on rehearing and sustain the
         August 2020 Order. While we are modifying the discussion in the August 2020 Order,
         we continue to reach the same result in this proceeding.

                The PJM Transmission Owners filed an answer to the requests for rehearing. Rule
         713(d) of the Commission’s Rules of Practice and Procedure prohibits an answer to a
         request for rehearing.25 Accordingly, we reject the PJM Transmission Owners’ answer.




                22
                     164 FERC ¶ 61,160, at P 33 (2018).
                23
                     164 FERC ¶ 61,161, at P 68 (2018).
                24
                  August 2020 Order, 172 FERC ¶ 61,136 at P 84 (citing So. Cal. Edison Co, 164
         FERC ¶ 61,160 at P 33; Cal. Pub. Util. Comm’n v. Pac. Gas & Elec. Co., 164 FERC
         ¶ 61,161 at P 68).
                25
                     18 C.F.R. § 385.713(d)(1) (2020).



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                A.       Motion to Dismiss

                         1.      Rehearing Argument

                The Protesting Parties contend that the Commission erred in denying the motion to
         dismiss.26 The Protesting Parties state that the CTOA requires a vote prior to any action
         of the Administrative Committee, and the initiation of consultation with the PJM
         Members Committee was an action taken by the Administrative Committee.27

                         2.      Commission Determination

                Section 8.5 of the CTOA states in pertinent part: “any action taken by the
         Administrative Committee shall require a combination of the concurrence of the
         representatives’ Individual Votes of the representatives of those Parties entitled
         to vote on such matters and Weighted Votes as specified in this Section 8.5.”28
         Section 7.3.2 of the CTOA provides that “[t]he Transmission Owners shall
         consult with PJM and the PJM Members Committee beginning no less than
         30 days prior to any Section 205 filing.”29

                The Protesting Parties contend that, prior to notifying PJM, the CTOA requires
         a vote by the Administrative Committee.30 We disagree with Protesting Parties’
         interpretation of the CTOA. Section 7.3.2 imposes the requirement that the PJM
         Transmission Owners notify PJM 30 days prior to making a section 205 filing with
         the Commission. However, section 7.3.2 does not impose a requirement of a vote




                26
                     Protesting Parties Reh’g Req. at 12 (Statement of Errors 1).
                27
                     Id. at 12-13.
                28
                PJM, Rates Scheds., TOA-42, 8.5 Manner of Acting (1.0.0) ((future citations to
         the CTOA may omit PJM, Rate Scheds).
                29
                   PJM, Rates Scheds., TOA-42, 7.3.2 (0.0.0). The same provision can be found
         in section 9.1(b) of the PJM Tariff which provides that “[t]he Transmission Owners
         shall consult with PJM and the PJM Members Committee beginning no less than 30 days
         prior to any Section 205 filing.” PJM, Intra-PJM Tariffs, 9.1, OATT 9.1 Rights of the
         Transmission Owners (2.1.0).
                30
                     Protesting Parties Reh’g Req. at 13.



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         before initiating such a consultation.31 It is true that section 8.5.2 of the CTOA requires
         a majority vote of the members present at a quorum before taking action “on any matter
         other than those specified in [s]ection 8.5.1.” However, section 7.3.2, the section
         specifically dealing with consultation, does not require a vote prior to consultation.
         Therefore, we do not find that such consultation is the type of “matter” that requires a
         vote by the quorum. Consultation ordinarily would be an administrative matter, rather
         than the type of final action requiring a vote. And, as the PJM Transmission Owners
         point out, their course of conduct over the years has been to have the Administrative
         Committee Chair post the consultation pursuant to their authority under the CTOA,
         without requiring a vote.32 Indeed, as the Commission found, this interpretation is logical
         as consulting with PJM prior to voting allows the PJM Transmission Owners to “consider
         the opinions of PJM and the Members Committee prior to the formal vote on the proposal
         under section 7.3.2 of the CTOA.”33 Finally, while the voting requirements in the CTOA
         are designed to protect the rights of individual PJM Transmission Owners against actions
         taken without sufficient consensus, we agree with the PJM Transmission Owners that a
         vote prior to initiating the consultative process is not required by the CTOA because that
         consultation requirement exists to allow consideration of concerns and the interests of
         parties other than transmission owners, who do not participate in that vote. Accordingly,
         we disagree with the rehearing arguments on this issue.

                B.     Attachment M-3 Revisions FPA Section 205 Filing Rights

                       1.     Rehearing Requests

                The Protesting Parties contend that the Commission cites to no evidence that
         section 9.1 of the PJM Tariff, nor any other provision of the PJM Tariff or CTOA provide
         the PJM Transmission Owners with unilateral filing rights to alter transmission planning




                31
                  See PJM, Rates Scheds., TOA-42 8.5.1 Action by Two-thirds Majority (1.0.0);
         TOA-42 7.3.2 (0.0.0) (vote required for section 205 filing); TOA-42 7.6.4 (0.0.0)
         (resolving disputes among members); TOA-42 8.4 Meetings (0.0.0) (vote required to
         change agenda).
                32
                  Answer of the Indicated Transmission Owners to Mot. to Dismiss, Docket
         No. ER20-2046-000, at 7-8 (Jun. 25, 2020); TOA-42 8.3.2 Duties of the Officers (0.0.0)
         (the Chair shall “cause notices of meetings to be distributed”).
                33
                  PJM, Rates Scheds., TOA-42 7.3.2 (0.0.0); see August 2020 Order, 172 FERC
         ¶ 61,136 at P 79.



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         in PJM, particularly the right to establish planning provisions that alter the scope of the
         regional planning process.34

                         2.     Commission Determination

                Prior to the PJM Transmission Owners’ filing in this proceeding, Asset
         Management Projects and EOL Projects were not subject to PJM’s RTEP planning
         process or the Order No. 890 planning process in Attachment M-3. In their filing,
         the PJM Transmission Owners voluntarily proposed to include Asset Management
         Projects and EOL Projects as part of the Order No. 890 process approved by the
         Commission in Monongahela Power Co.35

                Contrary to the argument made by the Protesting Parties, the Commission in
         the August 2020 Order did not expand the planning rights of the PJM Transmission
         Owners into areas reserved for PJM planning. The Commission explained how the
         CTOA reserved filing rights for planning of Asset Management Projects to the PJM
         Transmission Owners.36 Under the PJM Operating Agreement and the prior version of
         Attachment M-3, Asset Management Projects and EOL Projects were not specifically
         addressed. These projects either were developed by the individual transmission owner
         or adhered to the planning criteria for Supplemental Projects.37 The PJM Transmission
         Owners made their filing to clarify that Asset Management Projects and EOL Projects
         would be planned under Order No. 890 planning principles as described in Attachment
         M-3.38 The Attachment M-3 Revisions therefore do not restrict PJM’s current planning


                34
                     Protesting Parties Reh’g Req. at 17 (Statement of Errors 2).
                35
                     Attachment M-3 Compliance Order, 164 FERC ¶ 61,217.
                36
                     Id.; August 2020 Order, 172 FERC ¶ 61,136 at PP 81-87.
                37
                   See PJM Interconnection, L.L.C., 154 FERC ¶ 61,097, at P 8 n.13 (Dominion
         project to address end of useful life initially submitted as a Supplemental Project), order
         on reh’g, 157 FERC ¶ 61,191 (2016), rev’d sub nom., Old Dominion Elec. Coop. v.
         FERC, 898 F.3d 1254, reh'g denied, 905 F.3d 671 (D.C. Cir. 2018).
                38
                  While there were no planning procedures to address EOL Needs prior to the
         Attachment M-3 Revisions, individual transmission owners, at times, filed projects at
         the end of their useful life as Supplemental Projects, demonstrating that planning for
         EOL Needs was within the PJM Transmission Owners’ retained responsibilities. See
         PJM Interconnection, L.L.C., 154 FERC ¶ 61,097 at P 8 n.13, order on reh’g, 157 FERC
         ¶ 61,191, rev’d sub nom., Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254 (D.C. Cir.
         2018), reh'g denied, 905 F.3d 671.



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         responsibilities, but, in fact, enhanced the transparency of the planning process for Asset
         Management Projects and EOL Projects.

                 As the Commission found in the August 2020 Order, the filing came within
         the filing rights reserved to the PJM Transmission Owners per the CTOA. Pursuant
         to Atlantic City, PJM can exercise only those rights transferred to it by the PJM
         Transmission Owners.39 Under the CTOA, the PJM Transmission Owners agreed
         only to “transfer to PJM . . . the responsibility to prepare a Regional Transmission
         Expansion Plan.”40 PJM is limited to “[c]onduct[ing] its planning for the expansion and
         enhancement of transmission facilities.”41 The Commission found that Asset
         Management Projects are similar to Supplemental Projects and, therefore, not approved
         by the PJM Board.42 Given the specific definition of Asset Management Projects,
         including EOL Projects, in Attachment M-3 of the PJM Tariff, Asset Management
         Projects maintain, rather than enhance the grid. In addition, as pointed out in the
         August 2020 Order, the PJM Transmission Owners specifically retained the right to
         “maintain” their transmission facilities43 and, with respect to EOL Projects, determine
         when to “retire” facilities.44

               The Commission’s determination here is consistent with its precedent on the scope
         of RTO planning. In Order No. 890, the Commission found that RTO planning processes
         should focus “on regional problems and solutions, not local planning issues that may be

                39
                  Under the CTOA, the PJM Transmission Owners specifically reserved all rights
         not specifically granted to PJM. PJM, Rate Schedules, TOA-42, Art. 5 Parties’ Retailed
         Rights (0.0.0), TOA-42, 5.6 Reservation of Rights (0.0.0).
                40
                     PJM, Rates Scheds., TOA-42 4.1.4 Planning Information (0.0.0).
                41
                     PJM, Rates Scheds., TOA-42, 6.3.4 (0.0.0).
                42
                   August 2020 Order, 172 FERC ¶ 61,136 at P 83; see PJM, Intra-PJM Tariffs,
         OA Sched. 6 Sec 1.6, OA Schedule 6 Sec 1.6 Approval of the Final Regional Trans.
         (4.0.0) (“the PJM Board shall approve the [RTEP] in accordance with the requirements
         of Operating Agreement, Schedule 6”); OA Schedule 6 Sec 1.5 Procedure for
         Development of the Regi. (24.0.0), § 1.5.6 (n) (“Certain Regional RTEP Project(s) and
         Subregional RTEP Project(s) may not be required for compliance with the following PJM
         criteria: system reliability, market efficiency or operational performance, pursuant to a
         determination by the Office of the Interconnection. These Supplemental Projects shall be
         separately identified in the RTEP and are not subject to approval by the PJM Board.”).
                43
                     PJM, Rate Scheds., TOA-42, 4.5 Operation and Maintenance (0.0.0).
                44
                     PJM, Rates Scheds., TOA-42 5.2 Facility Rights (1.0.0).



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         addressed by individual transmission owners.”45 The Commission found that when the
         individual transmission owners perform this planning, they also must comply with Order
         No. 890.46 In Monongahela Power Co., the Commission found, specifically with respect
         to PJM, that “[t]he PJM Transmission Owners have primary responsibility for planning
         Supplemental Projects and, therefore, retain the filing rights to make modifications to
         these provisions.”47 The Commission went on to explain, as it did in the August 2020
         Order:

                           [u]nlike the RTEP transmission projects, for which the PJM
                           Transmission Owners have ceded planning to PJM as part of
                           establishing an RTO, the PJM Transmission Owners remain
                           responsible for planning Supplemental Projects, and we find
                           that it is just and reasonable for the PJM Transmission
                           Owners to establish the process for planning these
                           transmission projects and to initiate under section 205 any
                           proposed revisions.48

         The Commission made similar findings in Appalachian Power Co.49 in finding that
         the PJM Transmission Owners had reserved the right to plan and file procedures for
         Supplemental Projects designed to mitigate the risk associated with critical transmission
         stations and substations identified pursuant to NERC reliability standard CIP-014-2.

                 As the Commission found in the August 2020 Order, it treated the PJM
         Transmission Owners’ proposal in this case consistently with its recent decisions in the
         California Orders. In the California Orders, the Commission determined that “asset
         management” projects do not fall under Order No. 890 planning principles and therefore
         do not have to go through the Order No. 890 process. While that issue is not present in
         this case, as the PJM Transmission Owners voluntarily have included Asset Management
         Projects under their Order No. 890 protocols, the Commission found that the definition of
         “asset management” projects in the California Orders supported its determination that
         the Asset Management Projects in the PJM Transmission Owners’ proposal fell under the
         filing rights that the PJM Transmission Owners retained. In the California Orders, the
         Commission found that “asset management” projects “do not, as a general matter, expand

                45
                     Ord. No. 890, 118 FERC ¶ 61,119 at P 440.
                46
                     Id.
                47
                     Attachment M-3 Compliance Order, 164 FERC ¶ 61,217 at P 13.
                48
                     Id. P 14.
                49
                     170 FERC ¶ 61,196, at P 59 (2020).



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         the California Independent System Operator (CAISO) grid. Rather, these asset
         management projects and activities include such items as maintenance, compliance,
         work on infrastructure at the end-of-useful life, and infrastructure security, that SoCal
         Edison undertakes to maintain its existing electric transmission system and meet
         regulatory compliance requirements.”50 The Asset Management Projects included in
         Attachment M-3 Revisions in this proceeding are consistent with this definition as they
         do not expand the PJM grid, but encompass maintenance and replacement of
         infrastructure.51

                 The Protesting Parties argue that “[t]he California Orders, however, focused on
         whether certain activities, including the replacement of existing transmission facilities,
         ‘expand’ the transmission grid.”52 The Protesting Parties contend that the Commission,
         erred by failing to recognize that transmission projects to address EOL Needs may be
         enhancements to the transmission system.53 The Protesting Parties continue, “[n]owhere
         does the Commission actually discuss whether EOL projects ‘enhance’ the grid. Only
         by ignoring the term ‘enhancements’ could the Commission reach the conclusion that
         ‘Asset Management Projects’ do not fit within the categories of projects that the CTOA
         transferred to PJM.”54 The Protesting Parties argue that even if the California Orders did
         apply to the instant case, they do not support the definition of Asset Management Project
         adopted by the PJM Transmission Owners because the projects at issue in the Attachment
         M-3 Revisions are not the same as the projects at issue in the California Orders.55 The
         Protesting Parties also argue that distinctions exist between the CAISO and PJM such
         that the California Orders should not apply in PJM. They claim that the Commission
         failed to address the Protesting Parties’ demonstration that the Attachment M-3 Revisions
         violate the PJM Operating Agreement, which is a critical distinction between PJM and
         the CAISO.56




                50
                     S. Cal. Edison Co., 164 FERC ¶ 61,160 at P 32.
                51
                     August 2020 Order, 172 FERC ¶ 61,136 at P 84.
                52
                     Protesting Parties Reh’g Req. at 20-21.
                53
                     Id. at 21.
                54
                     Id.
                55
                     Protesting Parties Reh’g Req. at 33 (Statement of Errors 4).
                56
                     Protesting Parties Reh’g Req. at 34-35.



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                Any replacement of a project with newer, more modern equipment may provide
         some enhanced capability, but we do not find that qualifies all replacement projects as
         within the province of PJM’s planning.57 The term enhancement in the CTOA is part of
         the phrase “expansion and enhancement” which we interpret to mean projects that modify
         or revise the grid itself.58 As the Commission recognized in California Public Utilities
         Commission,59 the replacement of a vintage 1940’s transformer with a modern
         replacement could be considered an enhancement, particularly if the new equipment
         would be of higher capacity. Nonetheless, the Commission found that, as long as that
         new equipment resulted in no more than incremental increase in transmission capacity,
         the project would still be best characterized as an asset management replacement.60 As
         such, the modernization of equipment would not be considered an enhancement
         subjecting such replacement to a different planning structure than repair or maintenance.

                Moreover, the Commission did not read out of the CTOA the term
         “enhancement,” as the Protesting Parties argue.61 Asset Management Projects, as defined
         by the Attachment M-3 Revisions, are not enhancements of the grid as they merely
         replace worn out equipment. As discussed above, enhancements and expansions of the
         transmission system are developed through the RTEP developed pursuant to
         Operating Agreement, Schedule 6.62


                57
                   See August 2020 Order, 172 FERC ¶ 61,136 at P 83 (Asset Management
         Projects “do not ‘expand’ or ‘enhance’ the PJM grid as the CTOA requires for planning
         transferred to PJM” and “are solely projects that maintain the existing infrastructure by
         repairing or replacing equipment”); id. P 84 (“[o]ur interpretation of the CTOA is
         consistent with the California Orders, in which the Commission concluded that it was
         appropriate to define ‘asset management’ as activities that ‘encompass the maintenance,
         repair, and replacement work done on existing transmission facilities as necessary to
         maintain a safe, reliable, and compliant grid based on existing topology,’ even if these
         projects result in an ‘incidental increase in transmission capacity that is not reasonably
         severable from the asset management or activity’”).
                58
                     PJM, Rates Scheds., TOA-42 6.3.4 (0.0.0).
                59
                  S. Cal. Edison Co., 164 FERC ¶ 61,160 at P 32; Cal. Pub. Utilities Comm'n,
         164 FERC ¶ 61,161 at P 68 (using as an example the replacement of a transformer at
         the end of its useful life).
                60
                     Cal. Pub. Utilities Comm'n, 164 FERC ¶ 61,161 at P 68.
                61
                     Protesting Parties Reh’g Req. at 21.
                62
                  PJM, Intra-PJM Tariffs, OA Sched. 6 Sec 1.5, OA Schedule 6 Sec 1.5 Procedure
         for Development of the Regi (24.0.0), § 1.5.6 Development of the Recommended


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                 Under Atlantic City, the PJM Operating Agreement cannot confer on PJM
         authority not granted by the PJM Transmission Owners. While the Commission has
         authority under FPA section 206 to revise the PJM Operating Agreement,63 as the Court
         of Appeals for the District of Columbia Circuit found in Atlantic City, “nothing in
         section 206 sanctions denying petitioners their right to unilaterally file rate and term
         changes” unless they agreed to do so.64 The Protesting Parties’ argument that the PJM
         Tariff does not confer filing rights regarding planning to the PJM Transmission Owners65
         is backwards. The question under Atlantic City is not whether the PJM Tariff accorded
         filing rights to the PJM Transmission Owners, but whether the PJM Transmission
         Owners conferred filings rights on PJM through the CTOA. PJM agrees that Asset
         Management Projects and EOL Projects are outside the scope of PJM’s planning
         authority based on the CTOA and other PJM governing documents.66

                In any event, the Attachment M-3 Revisions here are consistent with the PJM
         Operating Agreement. As explained above, the PJM Operating Agreement limits PJM’s
         planning to developing an RTEP based on PJM planning procedures, NERC Reliability
         Standards, Regional Entity reliability principles and standards, and the individual
         Transmission Owner FERC filed planning criteria as filed in FERC Form No. 715 as
         PJM planning criteria.67 As previously noted, the PJM Operating Agreement further
         recognizes that PJM does not plan Supplemental Projects.68 Indeed, Supplemental
         Projects under the PJM Operating Agreement may go beyond maintenance and
         replacement to include projects that expand and enhance the transmission “that is not

         Regional Transmission Expansion Plan; § 1.5.7 Development of Economic-based
         Enhancements or Expansions; §1.5.9 State Agreement Approach.
                63
                     See, e.g., Advanced Energy Mgmt. All. v. FERC, 860 F.3d 656 (D.C. Cir. 2017).
                64
                     Atlantic City Electric Co. v. FERC, 295 F.3d 1 (D.C. Cir. 2002).
                65
                     Protesting Parties Reh’g Req. at 18, 39.
                66
                   Cmts. of PJM Interconnection, L.L.C., Docket No. ER20-2308-000, at 8-11
         (July 2, 2020).
                67
                  PJM, Intra-PJM Tariffs, OA Sched. 6 Sec 1.2 Conformity with NERC and Other
         Applic. (2.0.0), § 1.2 (e).
                68
                  PJM, Intra-PJM Tariffs, OA Schedule 6 Sec 1.5 Procedure for Development of
         the Regi (24.0.0), § 1.5.6 (n) (“These Supplemental Projects shall be separately identified
         in the RTEP and are not subject to approval by the PJM Board.”). Planning for
         Supplemental Projects was included in Attachment M-3, and is included in the
         Attachment M-3 Revisions.



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         required for compliance with the following PJM criteria: system reliability, operational
         performance or economic criteria, pursuant to a determination by the Office of the
         Interconnection and is not state public policy project pursuant to Operating Agreement,
         Sched. 6, section 1.5.9(a)(ii).”

                The Protesting Parties’ make a number of claims that the Attachment M-3
         Revisions effected a “shift of planning responsibility for Asset Management Projects
         from PJM to the TOs.”69 But Asset Management Projects always have been within the
         province of the PJM Transmission Owners who have planned these projects on their
         own or as Supplemental Projects. The Attachment M-3 Revisions effectuated no change
         in planning, only further clarification of the process used to plan these projects. We
         therefore find no inconsistency between the PJM Transmission Owners’ proposal for
         Asset Management Projects and the PJM Operating Agreement.

                C.       Planning for EOL Needs Retained by PJM Transmission Owners

                         1.     Rehearing Request

               The Protesting Parties argue that the Commission’s approval of the Attachment
         M-3 Revisions ignored the fact that it shifts control over the scope of regional
         transmission planning from the PJM stakeholders to the PJM Transmission Owners.70

                         2.     Commission Determination

                As discussed above, the PJM Transmission Owners’ proposal does not shift
         responsibility for planning Asset Management Projects from PJM to the PJM
         Transmission Owners for the very reason that PJM never had this planning responsibility.
         The filing merely provides that these projects would be planned according to Order No.
         890 principles, making more transparent the procedures the PJM Transmission Owners
         would use to plan these projects.

                D.       Role of PJM in Transmission Planning

                         1.     Rehearing Request

              The Protesting Parties contend that the Commission erred in failing to address
         arguments that the Attachment M-3 Revisions limit the flexibility and role of PJM in




                69
                     Protesting Parties Reh’g Req. at 38-39 (Statement of Errors 5, 6, 7, & 8).
                70
                     Protesting Parties Reh’g Req. at 22.



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         transmission planning and are contrary to the PJM Operating Agreement.71 In support,
         the Protesting Parties point to the PJM Operating Agreement definition of Supplemental
         Project, as “a transmission expansion or enhancement that is not required for compliance
         with the following PJM criteria: system reliability, operational performance or economic
         criteria, pursuant to a determination by the Office of the Interconnection . . . .”72 The
         Protesting Parties state that system reliability, operational performance or economic
         criteria are not defined and provide PJM flexibility as to the regional criteria that PJM
         should address.73

                          2.      Commission Determination

                 As discussed above, the PJM Operating Agreement cannot confer planning
         authority to PJM that is not explicitly provided in the CTOA. Also, the PJM Operating
         Agreement’s delineation of PJM’s planning responsibility is consistent with our
         interpretation of the limits included in the CTOA. The PJM Operating Agreement limits
         PJM’s planning to those projects that are transmission expansions and meet the RTEP
         planning criteria. Specifically, PJM’s Tariff defines the RTEP as limited to enhancement
         and expansion of the transmission system as does the CTOA.74 Moreover, the PJM
         Operating Agreement limits PJM’s planning role to certain specified regional planning
         activities, none of which includes maintenance or asset management:

                          [t]he Regional Transmission Expansion Plan planning criteria
                          shall include, Office of the Interconnection planning
                          procedures, NERC Reliability Standards, Regional Entity
                          reliability principles and standards, and the individual
                          Transmission Owner FERC filed planning criteria as filed in
                          FERC Form No. 715, and posted on the PJM website.75


                71
                     Id. at 34.
                72
                     PJM, Intra-PJM Tariffs, S–T, OA Definitions S – T (17.0.0).
                73
                     Protesting Parties Reh’g Req. at 34.
                74
                   PJM, Intra-PJM Tariffs, OATT Definitions – R - S, OATT Definitions – R - S
         (24.0.0) (“Regional Transmission Expansion Plan defined as “the plan prepared by the
         Office of the Interconnection pursuant to Operating Agreement, Schedule 6 for the
         enhancement and expansion of the Transmission System in order to meet the demands
         for firm transmission service in the PJM Region”).
                75
                 PJM, Intra-PJM Tariffs, OA Sched. 6 Sec 1.2, OA Sched. 6 Sec 1.2 Conformity
         with NERC and Other Applic (2.0.0).



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                The phrase “system reliability, operational performance or economic criteria” in
         the definition of Supplemental Projects refers to the planning performed by PJM pursuant
         to the PJM Operating Agreement, and does not serve to expand the role of PJM planning
         beyond that conferred by the CTOA.

                E.       Attachment M-3 Revisions are Limited to Incidental Expansions

                         1.     Rehearing Requests

                The Protesting Parties and the New Jersey Board contend that the Commission did
         not address whether Asset Management Projects at issue in this proceeding must comply
         with Order No. 890, and instead determined that “where transmission projects developed
         under the expanded Attachment M-3 process result in only incidental expansions of the
         transmission system, such asset management activities are not subject to Order No. 890
         transmission planning principles, and are inconsistent with the Attachment M-3 Order.76
         The Protesting Parties contend that the Commission applied an invalid interpretation of
         Order No. 890 to the PJM Transmission Owners’ proposal.77 The Protesting Parties
         essentially challenge on rehearing the Commission’s interpretation of Order No. 890 in
         the California Orders as not applicable to Asset Management Projects in this proceeding.

                 The Protesting Parties state that they disagree with the California Orders.
         They note that the California Orders are subject to review in the United States court
         of Appeals for the Ninth Circuit. The Protesting Parties state that to the extent the
         Commission’s determination in this proceeding (Docket No. ER20-2046) regarding
         the scope of Order No. 890 as set forth in the California Orders is modified or vacated,
         the Commission’s reliance on the California Orders in this proceeding must also be
         modified or vacated.78

                         2.     Commission Determination

                 The Commission did not address whether Asset Management Projects at issue
         in this proceeding must comply with Order No. 890. Such a finding was unnecessary,




                76
                  Protesting Parties Reh’g Req. at 38 (citing August 2020 Order, 172 FERC
         ¶ 61,136 at P 89); New Jersey Board Reh’g Req. at 5.
                77
                     Protesting Parties Reh’g Req. at 35.
                78
                 Protesting Parties Reh’g Req. at 36 (citing Cal. Pub. Utils. Comm’n. v. FERC,
         Case No. 19-72886 and N. Cal. Power Agency, Case No. 19-72925).



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         because the Attachment M-3 Revisions included Asset Management Projects in the
         Attachment M-3 Tariff which the Commission already had found just and reasonable.79
         While the August 20 Order agreed with the finding in the California Orders that asset
         management projects are not subject to Order No. 890 transmission planning principles,80
         that statement was dicta and was not necessary to the approval of the Attachment M-3
         Revisions, and the Protesting Parties’ attack on the California Orders would not
         invalidate the Commission’s acceptance of the Attachment M-3 Revisions.

                Moreover, the Commission did not base its determination to accept the
         Attachment M-3 Revisions on the requirements of Order No. 890. Rather, the
         Commission based its determination on the planning rights reserved by the PJM
         Transmission Owners in the CTOA and in the PJM Operating Agreement. As pointed
         out earlier, Order No. 890 supports the Commission’s reading of the CTOA, as Order
         No. 890 found that RTO planning focuses “on regional problems and solutions, not local
         planning issues that may be addressed by individual transmission owners.”81 Therefore,
         the requirement that the planning of local projects comply with Order No. 890 was a
         necessary component in the establishment of an RTO.

                F.       Right of First Refusal in Violation of Order No. 1000

                         1.      Rehearing Request

                 The Protesting Parties contend that the Attachment M-3 revisions improperly
         reinsert a right of first refusal in violation of Order No. 1000.82 They contend that
         the new Applicability section in Attachment M-3 gives each transmission owner
         responsibility for planning and constructing all transmission expansions or enhancements
         that are not needed for the five criteria listed in the same section, thus creating a new

                79
                  See August 2020 Order, 172 FERC ¶ 61,136 at n.141 (“We make no
         determination here as to whether EOL Needs or any of these Asset Management Projects,
         and in particular specific replacement activities, are subject to the transmission planning
         requirements of Order No. 890, as the PJM [Transmission Owners] proposed to include
         these types of projects in the Order No. 890 planning process in Attachment M-3”).
                80
                     Id. P 89.
                81
                     Order No. 890, 118 FERC ¶ 61,119 at P 440.
                82
                  Protesting Parties Reh’g Req. at 24 (citing Transmission Planning & Cost
         Allocation by Transmission Owning & Operating Pub. Utils., Order No. 1000, 136 FERC
         ¶ 61,051, at P 253 (2011), order on reh’g, Order No. 1000-A, 139 FERC ¶ 61,132, order
         on reh’g and clarification, Order No. 1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub nom.
         S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41 (D.C. Cir. 2014)).



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         right of first refusal in the PJM Tariff that limits PJM’s ability to create new categories
         of regional projects.83

                          2.      Commission Determination

                 We do not find that the Attachment M-3 Revisions creates a new federal right of
         first refusal. As we explained earlier, this filing is limited to those transmission projects
         that PJM cannot plan for as the PJM Transmission Owners retained the planning rights
         for these projects. The five criteria listed in Attachment M-3 Revisions84 that delineate
         the border between transmission owner transmission planning and PJM transmission
         planning are consistent with the criteria in the CTOA and PJM Operating Agreement,
         which define the planning responsibilities of PJM. While the elimination of any federal
         right of first refusal applies to PJM-planned regional and interregional transmission
         facilities, the requirement to eliminate any federal right of first refusal does not apply to
         the transmission projects at issue here because they are not regional or interregional
         transmission facilities planned by PJM.85

                G.        Order No. 2000

                          1.      Rehearing Request

               The Protesting Parties contend that the August 2020 Order is at odds with the
         Order No. 2000 requirement that the RTO must have ultimate responsibility for both


                83
                     Id. at 25.
                84
                   See PJM, Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (a)
         ((1) NERC Reliability Standards (which includes Applicable Regional Entity reliability
         standards); (2) Individual Transmission Owner planning criteria as filed in FERC Form
         No. 715 and posted on the PJM website; (3) criteria to address economic constraints in
         accordance with section 1.5.7 of the Operating Agreement or an agreement listed in
         Sched. 12-App. B; (4) State Agreement Approach expansions or enhancements in
         accordance with section 1.5.9(a)(ii) of the Operating Agreement; (5) an expansion or
         enhancement to be addressed by the RTEP Planning Process pursuant to section (d)(2)
         of this Attachment M-3 in accordance with RTEP Planning Process procedures in
         Schedule 6 of the Operating Agreement).
                85
                   Order No. 1000, 136 FERC ¶ 61,051 at P 253 (explaining that the requirement
         to remove provisions from Commission-jurisdictional tariffs and agreements that
         grant incumbent transmission providers a federal right of first refusal applies only to
         transmission facilities that are selected in a regional transmission plan for purposes of
         cost allocation).



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         transmission planning and expansion within its region that will enable it to provide
         efficient, reliable and non-discriminatory transmission service.86

                           2.    Commission Determination

                 The August 2020 Order does not violate Order No. 2000. Order No. 2000
         recognized that joining an RTO was voluntary and the Court in Atlantic City concluded
         that the Commission could not, under FPA section 206, require the transmission owners
         to cede their filing rights to PJM. Order No. 2000 also provided general guidance as
         to planning. It required that the RTO (1) encourage market-motivated operating and
         investment actions for preventing and relieving congestion, and (2) accommodate efforts
         by state regulatory commissions to create multi-state agreements to review and approve
         new transmission facilities, coordinated with programs of existing Regional Transmission
         Groups (RTGs) where necessary.87 But beyond those two categories, Order No. 2000
         provided the RTO participants with “considerable flexibility in designing a planning and
         expansion process that works best for its region.”88 Order No. 2000 also required that the
         RTO provide service under a tariff that is consistent with or superior to the Commission's
         pro forma tariff,89 and as noted above, the division of responsibility in the CTOA and the
         PJM Operating Agreement is consistent with the general division of responsibility in
         Order No. 890.

                H.         Attachment M-3 Revisions are Just and Reasonable

                The Protesting Parties argue that the Commission did not adequately respond to
         the issues raised in the protest that the Attachment M-3 Revisions were not just and
         reasonable.90 The Protesting Parties argue that the Attachment M-3 Revisions go beyond
         the responsibilities retained by the CTOA and affect the regional planning responsibilities



                86
                  Protesting Parties Reh’g Req. at 43 (citing Reg’l Transmission Orgs., Order
         No. 2000, FERC Stats. & Regs. ¶ 31,089 (1999) (cross-referenced at 89 FERC ¶ 61,285),
         order on reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000) (cross-
         referenced at 90 FERC ¶ 61,201), aff’d sub nom. Pub. Util. Dist. No. 1 of Snohomish
         Cty. v. FERC, 272 F.3d 607 (D.C. Cir. 2001)). (Statement of Errors 9).
                87
                     Order No. 2000, FERC Stats. & Regs. ¶ 31,089 at 31,163-64.
                88
                     Id.
                89
                     Id.
                90
                     Protesting Parties Reh’g Req. at 26 (Statement of Errors 3).



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         subject to the PJM Operating Agreement.91 The Protesting Parties include a list of
         specific provisions they deem unjust and unreasonable.

                          1.      Any Other Transmission Expansion and Enhancement

                 The Protesting Parties claim the “applicability” section, related definitions of
         “Attachment M-3 Project,” and “PJM Planning Criteria” provisions unjustly and
         unreasonably expand the applicability of the Attachment M-3 process and limit PJM’s
         flexibility to improve its structure and operations to meet demands by restricting the
         PJM planning criteria.92 The applicability provision of the Attachment M-3 Revisions,
         approved by the Commission in the August 2020 Order states:

                          Each Transmission Owner shall be responsible for planning
                          and constructing in accordance with Schedule 6 of the
                          Operating Agreement as provided in this Attachment M-3,
                          to the extent applicable, (i) Asset Management Projects,
                          as defined herein, (ii) Supplemental Projects, as defined
                          in section 1.42A.02 of the Operating Agreement, and
                          (iii) any other transmission expansion or enhancement
                          of Transmission Facilities that is not planned by PJM to
                          address one or more of the following planning criteria:

                          1.    NERC Reliability Standards (which includes
                          Applicable Regional Entity reliability standards);

                          2.      Individual Transmission Owner planning criteria as
                          filed in FERC Form No. 715 and posted on the PJM website,
                          provided that the Additional Procedures for the Identification
                          and Planning of EOL Needs, set forth in section (d), shall
                          apply, as applicable;

                          3.     Criteria to address economic constraints in accordance
                          with section 1.5.7 of the Operating Agreement or an
                          agreement listed in Schedule 12-Appendix B;

                          4.    State Agreement Approach expansions or
                          enhancements in accordance with section 1.5.9(a)(ii) of the
                          Operating Agreement; or


                91
                     Id. at 27, 45, 62 (Statement of Errors 10, 13).
                92
                     Id. at 27.



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                          5.    An expansion or enhancement to be addressed by the
                          RTEP Planning Process pursuant to section (d)(2) of this
                          Attachment M-3 in accordance with RTEP Planning Process
                          procedures in Schedule 6 of the Operating Agreement.93

         The Protesting Parties assert that the Commission failed to explain how this provision,
         which authorizes the PJM Transmission Owners to plan for expansions or enhancements
         of the Transmission System that are not Supplemental Projects, is consistent with its
         finding that the Attachment M-3 Revisions are just and reasonable.94

                We continue to find this applicability provision is consistent with the
         responsibilities of the PJM Transmission Owners under the PJM Operating Agreement,
         which details the planning responsibilities of PJM,95 leaving the planning responsibility
         for other transmission projects with the PJM Transmission Owners. Moreover, the
         applicability section of Attachment M-3 does not define the planning authority the PJM
         Transmission Owners retain and the authority they transferred to PJM. Rather, the
         planning reserved to the PJM Transmission Owners is defined by the CTOA, and the
         PJM Transmission Owners cannot expand on their authority through this revision to
         Attachment M-3.

                The Protesting Parties in particular contend that the Attachment M-3 Revisions
         include planning for Attachment M-3 Projects96 that affect Transmission Facility ratings
         or significantly change the impedance of Transmission Facilities when such projects are

                93
                     PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (a).
                94
                     Id. at 28.
                95
                  The PJM Operating Agreement limits PJM’s planning to developing an RTEP
         based on Office of Interconnection planning procedures, NERC Reliability Standards,
         Regional Entity reliability principles and standards, and the individual Transmission
         Owner FERC filed planning criteria as filed in FERC Form No. 715, and posted on the
         PJM website. PJM, Intra-PJM Tariffs, OA Sched. 6 Sec 1.2 Conformity with NERC and
         Other Applic. (2.0.0), § 1.2 (e).
                96
                   Attachment M-3 Projects are defined as (i) an Asset Management Project that
         affects the connectivity of Transmission Facilities that are included in the Transmission
         System, affects Transmission Facility ratings or significantly changes the impedance of
         Transmission Facilities; (ii) a Supplemental Project; or (iii) any other expansion or
         enhancement of Transmission Facilities that is not excluded from this Attachment M-3
         under any of clauses (1) through (5) of section (a). “Attachment M-3 Project” does not
         include a project to address Form No. 715 EOL Planning Criteria. PJM Intra-PJM
         Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (b) 2.



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         expansions and enhancements that provide regional benefit, conferring transmission
         planning authority beyond the scope of planning for Supplemental Projects.97 As
         discussed above, the Attachment M-3 Revisions do not reserve to the PJM Transmission
         Owners projects to address impedance that are planned by PJM pursuant to the PJM
         Operating Agreement. The only impedance projects the PJM Transmission Owners
         would plan are those they have reserved as they are not based on PJM Planning Criteria
         in the Operating Agreement.

                 The Protesting Parties also maintain that the phrase “any other transmission
         expansion or enhancement” improperly reserves to the PJM Transmission Owners the
         right to plan beyond Supplemental Projects. We disagree that this filing expands the
         authority of the PJM Transmission Owners or infringes on PJM’s planning authority. As
         discussed above, Attachment M-3 Revisions reserves to the PJM Transmission Owners
         only those projects that PJM does not plan under the RTEP. The Attachment M-3
         Revisions include planning for transmission facilities that are not part of the RTEP but
         are developed based on Order No. 890 local transmission planning.

                          2.      Incidental Increase

                 The Protesting Parties argue that the definition of Incidental Increase in the
         Attachment M-3 Revisions is unreasonably broad as it is susceptible to manipulation
         through unfettered modifications to Transmission Owner design standards.98 They
         further argue the definition also references “advancements in technology” but there is no
         limitation on the phrase, so it could refer to more efficient equipment, replacement from
         lower voltage to regionally beneficial higher voltage facilities, or the inclusion of new
         energy storage technology.

                The Attachment M-3 Revisions define an Incidental Increase as follows:

                          an increase in transmission capacity achieved by
                          advancements in technology and/or replacements consistent
                          with current Transmission Owner design standards, industry
                          standards, codes, laws or regulations, which is not reasonably
                          severable from an Asset Management Project. A transmission
                          project that results in more than an Incidental Increase in




                97
                     Protesting Parties Reh’g Req. at 23-24.
                98
                     Id. at 28.



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                         transmission capacity is an expansion or enhancement of
                         Transmission Facilities.99

                We find that this definition is appropriate as it limits incidental increases in two
         ways. First, the increase has to be the result of technological or other change related to
         the equipment itself, such as improved transformers as in the example above. Second,
         the change under no circumstances can result in more than an incidental increase in
         transmission capacity. Even if the Protesting Parties are correct that the definition might
         be subject to manipulation, the second part of the definition protects against any project
         that more than incidentally increases transmission capacity and would be planned by
         PJM, and therefore would not fall under the Attachment M-3 Revisions definition.

                         3.     Definition of EOL Need

                 The Protesting Parties argue the definition of “EOL Need” is unjust and
         unreasonable because it includes a “test” for regional planning of transmission lines
         operating at or above 100 kV or a transformer. They argue that it is not limited to local
         Supplemental Projects and, thus, unlawfully confers authority for transmission planning
         to the PJM Transmission Owners.100 The Protesting Parties contend that EOL Need
         definition also creates a test that will limit regional planning, by creating a backdoor right
         of first refusal on substations and anything else that is not a replacement transmission line
         or transformer. EOL Need is defined as:

                         a need to replace a transmission line between breakers
                         operating at or above 100 kV or a transformer, the high side
                         of which operates at or above 100 kV and the low side of
                         which is not connected to distribution facilities, which the
                         Transmission Owner has determined to be near the end of its
                         useful life, the replacement of which would be an Attachment
                         M-3 Project.101

                We find this definition is just and reasonable and does not restrict PJM’s
         legitimate planning responsibilities as conveyed by the CTOA. This definition limits
         the PJM Transmission Owners to replacing transmission lines or transformers near the
         end of their useful lives which, as discussed above, is the maintenance of facilities the
         PJM Transmission Owners reserved under the CTOA.


                99
                     PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (b) 3.
                100
                      Protesting Parties Reh’g Req. at 28.
                101
                      PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0).



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                         4.     Candidate EOL Needs List

                 The Protesting Parties contend that the definition of “Candidate EOL Needs List”
         is unjust and unreasonable because it is not transparent in contravention of Order No. 890
         requirements.102 Under the Attachment M-3 Revisions, each PJM Transmission Owner
         will provide to PJM annually a Candidate EOL Needs List comprising its non-public
         confidential, non-binding projection of up to five years of EOL Needs that it has
         identified under the Transmission Owner’s processes for identification of EOL Needs
         documented under section (d)(1)(i) of the Attachment M-3 Revisions.103 We do not find
         that the provision of a non-binding, confidential list to PJM is unjust and unreasonable.
         The Attachment M-3 Revisions provide that prior to actually planning the project,
         stakeholders will be involved and that would be sufficient under Order No. 890, even if
         Order No. 890 did apply to these projects.104 Providing such a list to PJM in advance will
         help PJM’s own five-year planning process, and the Protesting Parties have cited to no
         provision of Order No. 890 or other Commission requirement that every such non-
         binding list must be shared with stakeholders.

                         5.     Form No. 715 EOL Planning Criteria

                The Protesting Parties contend the proposed definition of “Form No. 715 EOL
         Planning Criteria” is unjust, unreasonable and unlawful because it modifies the RTEP
         and, thus exceeds the authority of the PJM Transmission Owners to modify the Operating
         Agreement through a unilateral FPA Section 205 filing.105 Form No. 715 EOL Planning
         Criteria is defined as “planning criteria filed by a Transmission Owner in FERC Form
         No. 715 to address EOL Needs.”106

                 The Protesting Parties do not explain how this definition modifies the RTEP or
         in any way exceeds the PJM Transmission Owners’ reserved planning rights. This is a
         definition of the current PJM Transmission Owners’ right to include end of life criteria in
         its Form No. 715 filing with the Commission. Once an EOL Project is included in Form


                102
                      Protesting Parties Reh’g Req. at 28-29.
                103
                      PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (b) 6.
                104
                   As noted earlier, the Commission’s position in the California Orders is that
         Order No. 890 does not apply to asset management activities, including end of life
         projects.
                105
                      Protesting Parties Reh’g Req. at 29.
                106
                      PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (b) 8.



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         No. 715, PJM plans the project under the current Operating Agreement and this definition
         effects no change to that process.

                         6.     No Limitations on Meetings

                 The Protesting Parties contend that the revisions to Paragraph (c) 7 of Attachment
         M-3 expand the use of Attachment M-3 to other undefined “Transmission Projects,” and,
         thus, are unjust and unreasonable because they confer authority to the PJM Transmission
         Owners to use the Attachment M-3 transmission planning process beyond local
         projects.107 Attachment M-3 Revisions, Paragraph (c) 7 is entitled “No Limitation on
         Additional Meetings and Communications or Use of Attachment M-3 For Other
         Transmission Projects” and it merely indicates that the PJM Transmission Owners are
         free to schedule additional meetings with stakeholders on Attachment M-3 Projects as
         well as other transmission projects.108

                We find that this provision merely provides for additional transparency to
         stakeholders, which does nothing to expand transmission owners’ planning rights beyond
         those they reserved in the CTOA.

                         7.     Decrease in Coordination

               The Protesting Parties argue that the Commission erred in not responding to
         arguments that the Attachment M-3 Revisions will decrease coordination between the
         PJM Transmission Owners and PJM, will reduce transparency in transmission planning,
         and will have negative implications even beyond transmission planning in PJM.109

                We find that these arguments do not render the Attachment M-3 Revisions unjust
         and unreasonable. This filing did not decrease coordination because PJM previously did
         not plan these EOL Projects. The PJM Transmission Owners have not transferred this
         planning authority to PJM. As we found in the August 2020 Order, the Attachment M-3
         Revisions ensure transparency for these projects pursuant to the procedures established in
         Order No. 890.110




                107
                      Protesting Parties Reh’g Req. at 29.
                108
                      PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (c) 7.
                109
                      Protesting Parties Reh’g Req. at 30-32.
                110
                      August 2020 Order, 172 FERC ¶ 61,136 at P 88.



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                          8.       Interconnection Studies Impact

                 The Protesting Parties argue that the Commission failed to address arguments
         that the proposed transmission planning changes will necessarily impact the timing and
         results of interconnection studies by adding uncertainty to the transmission planning
         process.111 As PJM explained, the interconnection process will not be affected by this
         filing.112 We thus agree with the PJM Transmission Owners that this concern is beyond
         the scope of this proceeding.113 Further, as noted above, we find that the Attachment M-3
         Revisions add transparency to asset management activities that the PJM Transmission
         Owners had been conducting.

                I.        Form No. 715 Filing Requirement

                The Protesting Parties contend that the Commission erred in interpreting the Form
         No. 715 filing requirement as voluntary.114 They argue that Attachment M-3 Revisions,
         section (d) coupled with the definition of Form No. 715 EOL Planning Criteria, gives the
         PJM Transmission Owners the right to determine that a PJM-identified project does not
         address the “projected EOL need. . . [and] propose a project to address the Form No. 715
         EOL Planning Criteria.”115

                We disagree. The Attachment M-3 Revisions effect no change in the treatment of
         Form No. 715 filings. PJM will continue to plan for all transmission projects to address
         Form No. 715 planning criteria. The Attachment M-3 Revisions are very clear that
         “‘Attachment M-3 Project’ does not include a project to address Form No. 715 EOL
         Planning Criteria.”116 The Commission pointed out that a PJM Transmission Owner
         “may voluntarily include end of life criteria in its Form No. 715.”117 This statement
         reflected the current tariff provisions under which PJM Transmission Owners may
         include end of life criteria in their Form No. 715 in which case PJM will continue to plan

                111
                 Protesting Parties Reh’g Req. at 32 (citing Cmts. of J-Power USA
         Development Co., LTD at 5).
                112
                      PJM Limited Answer, Docket No. ER20-2046-000 (July 21, 2020).
                113
                      PJM Transmission Owner Answer to Protest at 52.
                114
                      Protesting Parties Reh’g Req. at 66 (Statement of Errors 14).
                115
                      Id. at 67.
                116
                      PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (b)(2).
                117
                      August 2020 Order, 172 FERC ¶ 61,136 at P 86.



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         for all EOL Projects. But a PJM Transmission Owner may choose not to include end of
         life criteria in its Form No. 715 in which case the transmission project will be planned
         under the Attachment M-3 Revisions.

                Nothing in paragraph (d) of Attachment M-3 Revisions changes PJM’s
         responsibility to address Form No. 715 planning criteria. Under paragraph (d)(2)(ii) of
         Attachment M-3 Revisions, if (1) PJM determines that a substantial electrical overlap
         exists between a PJM proposed Required Transmission Enhancement project and a
         projected EOL Need, including a transmission project to address a Form No. 715
         planning criteria, such that one project can resolve both issues, and (2) if a PJM
         Transmission Owner determines that the projected EOL Need is not met by the PJM’s
         proposed Required Transmission Enhancement, the PJM Transmission Owner has
         the right to “plan an Attachment M-3 Project to address the projected EOL Need or
         propose a project to address the Form No. 715 EOL Planning Criteria,” together with
         documentation of the reasons for its determination.118 The important distinction here is
         between the right to “plan” an Attachment M-3 Project and the ability to only “propose”
         a transmission project to address a Form No. 715 planning criteria. PJM will still plan
         transmission projects to address Form No. 715 planning criteria and if it disagrees with
         the PJM Transmission Owner’s justification, PJM may determine that a single project
         resolves both the PJM Planning Criteria and the end of life criteria.

                J.    No Revisions to the Cost Allocation Provisions of Schedule 12 of the
                      PJM Tariff

                      1.     Rehearing Request

               The Protesting Parties and the New Jersey Board contend that the August 2020
         Order errs in not providing a reasoned explanation for departing from Commission
         precedent on regional planning and cost allocation. They argue that this restriction from
         regional cost allocation for projects that provide regional benefits is inconsistent with
         the United States Court of Appeals for the D.C. Circuit (D.C. Circuit) order in Old
         Dominion.119


                118
                    PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), §
         (d)(2_(ii) (emphasis added).
                119
                    Protesting Parties Reh’g Req. at 49 (Statement of Errors 11); New Jersey Board
         Reh’g Req. at 11 (citing Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254, reh’g
         denied, 905 F.3d 671 (remanding order accepting PJM Transmission Owner proposed
         revisions to Schedule 12 of the PJM Tariff to allocate one 100% of costs for reliability
         projects that are included in the PJM RTEP solely to address individual transmission
         owner Form No. 715 local planning criteria to the transmission zone of the transmission
         owner whose Form No. 715 local planning criteria underlie each project); PJM


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                The New Jersey Board posits that while the Attachment M-3 Revisions may not
         amend Schedule 12 on their face, they clearly control which type of cost allocation these
         projects will receive under Schedule 12 of the PJM Tariff. Therefore, the New Jersey
         Board argues that the cost implications cannot be fairly divorced from the Attachment M-
         3 Revisions.120

                 The New Jersey Board states that the D.C. Circuit has stated that nothing prevents
         PJM from “amending the Tariff, the Operating Agreement, or PJM's own planning
         criteria . . . to establish appropriate end-of-life planning criteria . . .as long as any
         amendment respects the cost-causation principle.”121 Because changes to planning
         criteria, including EOL planning criteria, may have some effect on costs, the New Jersey
         Board argues that any changes to planning criteria must comport with the cost-causation
         principle.

                         2.     Commission Determination

                 In the August 2020 Order, the Commission stated that the cost allocation
         provisions of Schedule 12 of the PJM Tariff assign cost responsibility for Required
         Transmission Enhancements,122 and that the Attachment M-3 Revisions included no
         revisions to Schedule 12 of the PJM Tariff and cost allocation. The Commission found
         that since this FPA section 205 filing proposes no change to cost allocation, that issue is
         beyond the scope of this proceeding.123


         Interconnection, L.L.C., 168 FERC ¶ 61,133 (2019), reh’g denied, 171 FERC ¶ 61,012
         (2020) (order on remand rejecting the PJM Transmission Owner revisions to Schedule 12
         of the PJM Tariff)).
                120
                      New Jersey Board Reh’g Req. at 9, 14.
                121
                      Id. at 11 (citing Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254 at 1263).
                122
                  Required Transmission Enhancements are defined as “enhancements and
         expansions of the Transmission System that (1) a [RTEP] developed pursuant to PJM
         Operating Agreement, Schedule 6 or (2) any joint planning or coordination agreement
         between PJM and another region or transmission planning authority set forth in Tariff,
         Schedule 12-App. B (‘Appendix B Agreement’) designates one or more of the
         Transmission Owner(s) to construct and own or finance.” PJM, Intra-PJM Tariffs,
         OATT Definitions – R - S, OATT Definitions – R - S (18.2.0).
                123
                  See ANR Pipeline Co. v. FERC, 771 F.2d 507, 514 (D.C. Cir. 1985) (finding
         the Commission cannot revise an “unchanged part” of a rate under section 4 of the
         Natural Gas Act, the counterpart to section 205 of the Federal Power Act); Appalachian
         Power Co., 170 FERC ¶ 61,196 at P 61 (where the filing did not propose changes to


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                 The New Jersey Board claims that cost allocation must be considered because the
         filing controls which type of cost allocation transmission projects planned pursuant to the
         Attachment M-3 Revisions will receive under Schedule 12 of the PJM Tariff. First, we
         do not agree that simply because a filing has a tangential relationship to cost allocation,
         the Commission can amend the cost allocation provisions under section 205 of the FPA.
         Second, as discussed earlier, the Attachment M-3 Revisions have not changed the current
         planning for any facilities; transmission projects planned pursuant to the Attachment M-3
         Revisions currently are planned by the Transmission Owners and the Attachment M-3
         Revisions merely regularizes and enhances the transparency of that planning.

                 While the D.C. Circuit in Old Dominion indicated that nothing prevents PJM from
         amending the PJM Tariff, the PJM Operating Agreement, or PJM's own planning criteria
         to establish appropriate end-of-life planning criteria as long as any amendment respects
         the cost-causation principle, the D.C. Circuit’s dicta was related to the planning for
         transmission projects to address Form No. 715 planning criteria, which are within PJM’s
         planning responsibility and stands for the proposition that any amendment to the planning
         criteria for these projects must respect the court’s ruling, and the Commission found
         that the cost allocation provisions in Schedule 12 of the PJM Tariff would apply to
         transmission projects to address Form No. 715 planning criteria.124 The decision did not
         expand the scope of the Commission’s authority under section 205 of the FPA to enable
         the Commission to revise the unchanged cost allocation provisions of Schedule 12 of the
         PJM Tariff.

                K.       Duquesne Arguments Regarding Allocation of Transmission Owner
                         Planning Responsibility

                         1.    Rehearing Request

                 Duquesne contends that the August 2020 Order fails to address its concern that the
         Attachment M-3 Revisions reflect a fundamental deviation from the existing allocation
         of responsibility between PJM’s regional planning responsibilities and an individual
         transmission owner’s local planning responsibilities.125 Specifically, Duquesne requests
         that the Commission address its contention that under the Attachment M-3 Revisions,
         PJM would be required to look for electrical overlap with EOL Need projects to
         determine if the EOL Need could be met by a regional transmission enhancement project,

         Schedule 12, issues related to assignment of cost responsibility for Attachment M-4 are
         beyond the scope of the proceeding).
                124
                    PJM Interconnection, L.L.C., 168 FERC ¶ 61,133 at P 27 (order on remand
         rejecting the PJM Transmission Owner revisions to Schedule 12 of the PJM Tariff).
                125
                      Duquesne Reh’g Req. at 3.



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         and as such the Attachment M-3 Revisions infringe on Duquesne’s rights as a
         transmission owner.126

                          2.        Commission Determination

                 First, we note that under the provisions of the CTOA, Duquesne agreed to the
         filing provisions when the other transmission owners reach the required consensus to
         submit a tariff revision.127 Second, we cannot find these additional planning procedures
         unjust and unreasonable. The Attachment M-3 Revisions require only that PJM and
         the Transmission Owner “consult” in the event that PJM identifies a single solution to
         address a validated PJM Planning Criteria Need and address a projected EOL Need.128
         But the provision in question does not permit PJM to prevent the PJM Transmission
         Owner from building its project. It permits the PJM Transmission Owner to construct
         the project as long as the PJM Transmission Owner provides documentation to PJM and
         stakeholders on the rationale supporting its determination at the next appropriate meeting
         of the Transmission Expansion Advisory Committee or subregional RTEP Committee.129
         We find that the PJM Transmission Owners’ Attachment M-3 Revisions, in agreeing to
         provide this additional process within the RTEP, are consistent with the CTOA and
         reasonable.

                L.        Consolidation Not Appropriate

                          1.        Rehearing Request

                The Protesting Parties argue that the Commission erred in not addressing the
         motion to consolidate the proposed Attachment M-3 Revisions with proposed revisions
         to the PJM Operating Agreement developed in the PJM Stakeholders Proposal filed in
         Docket No. ER20-2308-000.130




                126
                      Id. at 3-4.
                127
                 PJM, Rates Scheds., TOA-42 Art. 3, TOA-42 Article 3 – Participation in this
         Agreement (0.0.0); TOA-42 8.5.1 Action by Two-thirds Majority (1.0.0).
                128
                      PJM Intra-PJM Tariffs, OATT ATT M-3, OATT Attach. M-3 (1.0.0), § (d)(2).
                129
                  Of course, in any proceeding to recover the cost of such a project, the PJM
         Transmission Owner would be subject to a prudency challenge.
                130
                      Protesting Parties Reh’g Req. at 57 (Statement of Errors 12).



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                      2.     Commission Determination

                 The Commission generally considers consolidation only when a trial-type
         evidentiary hearing is instituted to resolve common issues of law and fact, and where
         consolidation will ultimately result in greater administrative efficiency.131 Here, the
         Commission found that a hearing was not required and that consolidation was not
         necessary to resolve the issues in this proceeding. The issues in this proceeding related
         to the PJM Transmission Owners’ authority to file the Attachment M-3 Revisions and
         whether those provisions were just and reasonable. The Commission concluded that the
         PJM Transmission Owners had the right to make the filing at issue this proceeding and
         that the Attachment M-3 Revisions were just and reasonable.

         The Commission orders:

               In response to the requests for rehearing, the August 2020 Order is hereby
         modified and the result sustained, as discussed in the body of this order.

         By the Commission. Commissioner Clements is not participating.

         (SEAL)




                                                       Kimberly D. Bose,
                                                          Secretary.




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                   See Startrans IO, L.L.C., 122 FERC ¶ 61,253, at P 25 (2008); Midcontinent
         Indep. Sys. Operator, Inc., 170 FERC ¶ 61,241, at P 43 (2020).



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